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                                                                           EXECUTION VERSION

                                                                                 Deal CUSIP: 81753HAE1
                                                                          New Money CUSIP: 81753HAF8
                                                                     Initial Exchange CUSIP: 81753HAG6




                                SUPER-PRIORITY TERM LOAN AGREEMENT


                                         Dated as of June 22, 2020

                                                  among

                                      DAWN INTERMEDIATE, LLC,
                                             as Holdings,

                                     SERTA SIMMONS BEDDING, LLC,
                                           as the Top Borrower,

                                 THE OTHER BORROWERS PARTY HERETO,

                              THE FINANCIAL INSTITUTIONS PARTY HERETO,
                                              as Lenders,

                                                   and

                                      UBS AG, STAMFORD BRANCH
                                          as Administrative Agent




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                                                      Partnerships For U.S. Federal Income Tax Purposes)
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                                                      Not Partnerships For U.S. Federal Income Tax Purposes)




                                                                                        IV



Confidential                                                                                                                                                      SSB LCM 00002028
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                                       Partnerships For U.S. Federal Income Tax Purposes)
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                                       Partnerships For U.S. Federal Income Tax Purposes)




                                                          V



Confidential                                                                                          SSB LCM 00002029
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                                             SUPER-PRIORITY TERM LOAN AGREEMENT

                        SUPER-PRIORITY TERM LOAN AGREEMENT, dated as of June 22, 2020 (this "Agreement"), by
               and among Dawn Intermediate, LLC, a Delaware limited liability company (" Dawn Intermediate" or
               "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company ("SSB" or the "Top
               Borrower"), National Bedding Company L.L.C., an lllinois limited liability company (" National Bedding"), and
               SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers, the Lenders from
               time to time party hereto, UBS AG, Stamford Branch (" UBS"), in its capacities as administrative agent and
               collateral agent for the Lenders (in such capacities and together with its successors and assigns, the
               "Administrative Agent").

                                                                 RECITALS

                         A.      On the Closing Date, immediately prior to giving effect to the Exchange Transactions, (i)
               certain Lenders held collectively $992,292,703.97 of the outstanding principal amount of ''Initial Term Loans"
               under, and as defined in, that certain First Lien Term Loan Agreement, dated as of November 8, 2016, among,
               inter alios, Holdings, the Borrowers, UBS, as administrative agent and collateral agent and the lenders from lime
               to time party thereto (the "Existing First Lien Credit Agreement" and such Lenders in such capacity, the
               "Exchanging First Lien Lenders", and such "Initial Term Loans" held by such Lenders, the "Relevant Existing
               First Lien Loans"), and (ii) certain Lenders held collectively $299,027,231.08 of the outstanding principal
               amount of"lnitial Loans" under, and as defined in, that certain Second Lien Term Loan Agreement, dated as of
               the November 8, 2016, among, inter altos, Holdings, the Borrowers, Goldman Sachs Bank USA, as
               administrative agent and collateral agent and the lende rs from time to time party there to (the "Existing Second
               Lien Credit Agreement" and, together with the Existing First Lien Credit Agreement, the "Existing Credit
               Agreements" and such Lenders in such capacity, the "Exchanging Second Lien Lenders", and, together with the
               Exchanging First Lien Lenders, the "Exchanging Existing Lenders", and such "Initial Loans", the "Relevant
               Existing Second Lien Loans", and, together with the Relevant Existing First Lien Loans, the "Relevant Existing
               Loans").

                        B.       On the Closing Date, each Exchanging Existing Lender (x) sold, in an open market purchase
               and sale transaction, its Relevant Existing Loans to the Top Borrower and/or SSB Manufacturing (collectively,
               the " Purchasing Borrowers") in exchange for consideration consisting of a new Class of term loans issued
               he reunder (such Indebtedness, the "Initial Exchange Term Loans"), as further described in the Open Market
               Purchase and Cashless Exchange Agreement and the immediately succeeding Recital (such transactions, the
               "Exchange Transactions"), (y) provided their consent to the amendments and other modifications to the Existing
               First Lien Credit Agreement as described in Amendment No. I to First Lien Term Loan Agreement, dated as of
               the Closing Date, by and among the Loan Parties (as defined below) and the lenders party thereto (the "Existing
               First Lien Credit Agreement Amendment") and (z) provided their consent to the amendment and other
               modifications to the Existing Second Lien Credit Agreement as described in Amendment No. 1 to Second Lien
               Term Loan Agreement, dated as of the Closing Date, by and among the Loan Parties (as defined below) and the
               lenders party thereto (the "Existing Second Lien Credit Agreement Amendment").

                       C.       Pursuant to the Exchange Transactions, each Exchanging First Lien Lender and each
               Exchanging Second Lien Lender shall receive Initial Exchange Term Loans as consideration for its assignment
               and sale of its Relevant Existing Loans the amount of Initial Exchange Term Loans specified therefor in the
               Exchange Agreement.

                       D.       The Borrowers have requested that the Existing Le nders extend under this Agreement an
               aggregate principal amount equal to $200,000,000 (the " New Money Term Loans") and certain of the Existing
               Lenders have agreed to make available the New Money Term Loans on the Closing Date.




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                       E.       The Borrowers and the Guarantors have agreed to secure all of their Obligations under the Loan
               Documents by granting to the Administrative Agent, for the benefit of the Adm inistrative Agent and the other
               Secured Parties, a security interest in and lien upon the Collateral.

                       F.      The Borrowers' and the Guarantors' business is a mutual and collective enterprise and the
               Borrowers and the Guarantors believe that the loans and other financial accommodations to the Borrowers under
               this Agreement will enhance the financial position of the Borrowers to the mutual advantage of the Borrowers
               and the Guarantors.

                        G.       Each Borrower acknowledges on behalf of itself and its subsidiaries that the Borrowers and
               their subsidiaries will receive substantial direct and indirect benefits by reason of the making of loans and other
               fmancial accommodations to the Borrowers as provided in the Agreement.

                       H.        The Lenders are willing to extend such credit to the Borrowers on the terms and subject to the
               conditions set forth herein. Accordingly , the parties hereto agree as follows:

                                                                   ARTICLE 1

                                                                 DEFINITIONS

                        Section 1.01.     Defmed Terms. As used in this Agreement, the following terms have the meanings
               specified below:

                        "ABL Credit Agreement" means the ABL Credit Agreement, dated as of November 8, 2016, among,
               inter alias, Holdings, the Borrowers, UBS, as administrative agent and collateral agent, and the lenders from
               time to time party thereto.

                     "ABL Credit Agreement Collateral Agent" has the meaning set forth m the ABL Intercreditor
               Agreement.

                         "ABL Facilitv " means the credit facility pursuant to the ABL Credit Agreement and one or more debt
               facilities or other financing arrangements (including indentures) providing for loans and/or commitments or
               other long-term indebtedness that replace or refinance such credit facility, including any such replacement or
               refinancing facility (including any indenture) that increases or decreases the amount permitted to be borrowed
               thereunder or alters the maturity thereof and whether by the same or any other agent, trustee, lender or group of
               lenders, and any amendments, supplements, modifications, extensions, renewals, restatements, amendments and
               restatements or refundings thereof or any such credit facilities or other debt facilities (including under indentures)
               that replace or refinance such credit faci lity or other Indebtedness.

                        "ABL Incremental Debt" has the meaning given to "Incremental Loans" in the ABL Credit Agreement
               (or any equivalent term under any ABL Facility).

                        "ABL Intercreditor Agreement" means the ABL lntercreditor Agreement attached as Exhibit G-1 , dated
               as of November 8, 2016, among, inter alias, the ABL Credit Agreement Collateral Agent, as agent for the ABL
               Claimholders referred to therein, the Administrative Agent, as agent for the Tenn Lenders (by virtlle of the
               execution and delivery of a Joinder Agreement (as defined therein), the First Lien Administrative Agent, as agent
               for the First Lien Claimholders referred to therein, the Second Lien Collateral Agent, as agent for the Second
               Lien Claimholders referred to therein, and the Loan Parties from time to time party thereto.

                       "ABL Prioritv Collateral" has the meaning set forth in the ABL Intercreditor Agreement.

                       "ABR" when used in reference to any Loan or Borrowing, refers to whether such Loan, or the Loans
               comprising such Borrowing, bear interest at a rate determined by reference to the Alternate Base Rate.




                                                                         2


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                       "Acceptable Intercreditor Agreement" means:

                              (a)      with respect to any Inde btedness that is secured on a pari passu basis ·with the Initial
                       Term Loans, a First Lien Intercreditor Agreement;

                               (b)      with respect to any Indebtedness that is secured on a part passu basis with the Liens
                       securing the ABL Facility, (i) with respect to the ABL Credit Agreement, the ABL Intercreditor
                       Agreement or (ii) with respect to any other ABL Facility pennitted hereunder, an intercreditor
                       agreement substantially consistent with the ABL Intercreditor Agreement or another intercreditor
                       agreement the terms of which are reasonably acceptable to the Top Borrower and the Required Lenders
                       (which acceptance of the Required Lenders may be evidenced by Direction of the Required Lenders);

                                (c)     with respect to the Second Lien Credit Agreement, the First Lien/Second Lien
                       Intercreditor Agreement; and/or

                                (d)     with respect to any Inde btedness, any other intercreditor or subordination agreement
                       or arrangement (which may take the fonn of a "waterfall" or similar provision), as applicable, the terms
                       of which are reasonably acceptable to the Top Borrower and the Required Lenders (which acceptance
                       of the Required Lenders may be evidenced by a Direction of the Required Lenders),

                       "ACH" means automated clearing house transfers.

                        "Actual Liquidity" means, as of any date of determination, the sum of (i) the actual amount of
               unrestricted US Bank Cash of the Loan Parties, (ii) the actual amount of unrestricted Canadian Bank Cash of the
               Loan Parties, (iii) amounts available for borrowing under the ABL Credit Agreement and (iv) the amount of any
               outstanding Borrowing Request

                       "Ad Hoc Group of Term Lenders" shall mean each of the Initial Lenders that made a New Money Tenn
               Loan to the Borrowers on the Closing Date and is represented by the Specified Lender Advisors.

                       "Administrative Agent" has the meaning assigned to such term in the preamble to this Agreement

                       "Administrative Questionnaire" means a customary administrative questionnaire in the form provided
               by the Administrative Agent

                       "Advent" means Advent International Corporation.

                        "Adverse Proceeding" means any action, suit, proceeding (whether administrative, judicial or
               otherwise), governmental investigation or arbitration (whether or not purportedly on behalf of Holdings, the Top
               Borrower or any of its Restricted Subsidiaries) at law or in equity, or before or by any Governmental Authority,
               domestic or foreign (including any Environmental Claim), whether pending or, to the knowledge of Holdings,
               the Top Borrower or any of its Restricted Subsidiaries, threatened in writing, against or affecting Holdings, the
               Top Borrower or any of its Restricted Subsidiaries or any property of Holdings, the Top Borrower or any of its
               Restricted Subsidiaries.

                         "Affected Financial Institution" means (a) any EEA Financial Institution or (b) any UK Financial
               Institution.

                        "Affiliate" means, as applied to any Person, any other Person directly or indirectly Controlling,
               Controlled by, or under common Control with, that Person. No Person shall be an "Affiliate" solely because it
               is an unrelated portfolio company of the Sponsor and none of the Administrative Agent any Lender or any of
               their respective Affiliates shall be considered an Affiliate of Holdings or any subsidiary thereof




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                        "Agent Fee Letter" means a letter agreement between the Administrative Agent and the Top Borrower,
               dated as of the Closing Date, relating to certain fees payable to the Administrative Agent (for its own account
               and the ratable account of the Lenders, as applicable) in connection with this Agreement and the Term Loans.

                       "Agreement" has the meaning assigned to such term in the preamble to this Super-Priority Term Loan
               Credit Agreement.

                       "AI Dream" means AI Dream I Cayman Limited, a limited liability company organized under the laws
               of the Cayman Islands.

                        "Alternate Base Rate" means, for any day, a rate per annum equal to the highest of (a) the Federal Funds
               Effective Rate in effect on such day plus 0.50%, (b) to the extent ascertainable, the Published LIBO Rate (which
               rate shall be calculated based upon an Interest Period of one month and shall be determined on a daily basis and,
               for the avoidance of doubt, the Published LIBO Rate for any day shall be based on the rate determined on such
               day at 11:00 a.m. (London time)) plus 1.00%, (c) the Prime Rate and (d) solely with respect to Initial Term
               Loans, 2.00%. Any change in the Alternate Base Rate due to a change in the Prime Rate, the Federal Funds
               Effective Rate or the Published LIBO Rate, as the case may be, shall be effective from and including the effective
               date of such change in the Prime Rate, the Federal Funds Effective Rate or the Published LIBO Rate, as the case
               may be.

                        "Applicable Administrative Agent" means (i) with respect to ABL Priority Collateral, the ABL Credit
               Agreement Collateral Agent (or other analogous term in another Acceptable lntercreditor Agreement, as
               applicable) or (ii) if at any time there is no ABL Intercreditor Agreement, First Lien/Second Lien lntercreditor
               Agreement or other intercreditor agreement as described in the definition of Acceptable lntercreditor Agreement
               then in effect, the Administrative Agent.

                        "Applicable Percentage" means, with respect to any Term Lender of any Class, a percentage equal to a
               fraction the numerator of which is the aggregate outstanding principal amount of the Term Loans of such Term
               Lender under the applicable Class and the denominator of which is the aggregate outstanding principal amount
               of the Term Loans of all Term Lenders under the applicable Class.

                        "Applicable Rate" means, for any day, with respect to any LIBO Rate Loan, 7.50% per annum, and with
               respect to any ABR Loan, 6.50% per annum.

                         "Approved Fund" means, with respect to any Lender, any Person (other than a natural person) that is
               engaged in making, purchasing, holding or otherwise investing in commercial loans and similar extensions of
               credit in the ordinary course of its activities and is administered, advised or managed by (a) such Lender, (b) any
               Affiliate of such Lender or (c) any entity or any Affiliate of any entity that administers, advises or manages such
               Lender.

                       "Ares" means Ares Management LLC.

                       "Assignment Agreement" means an assignment and assumption entered into by a Lender and an
               assignee (with the consent of any party whose consent is required by Section 9 .05), and accepted by the
               Administrative Agent in the form of Exhibit A or any other fom1 approved by the Administrative Agent and the
               Top Borrower.

                       "Bail-In Action" means the exercise of any Write-DO\vn and Conversion Powers by the applicable EEA
               Resolution Authority in respect of any liability of an EEA Financial Institution.

                        "Bail-In Legislation" means, (a) with respect to any EEA Member Country implementing Article 55 of
               Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the implementing
               law for such EEA Member Country from time to time which is described in the EU Bail-In Legislation Schedule




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               and (b) with respect to the United Kingdom, Part I of the United Kingdom Banking Act 2009 (as amended from
               time to time) and any other law, regulation or rule applicable in the United Kingdom relating to the resolution
               of unsound or failing banks, investment firms or other financial institutions or their affiliates (other than through
               liquidation, administration or other insolvency proceedings).

                        "Banking Services" means each and any of the following bank services: commercial credit cards, stored
               value cards, purchasing cards, treasury management services, netting services, overdraft protections, check
               drawing services, automated payment services ( including depository, overdraft, contrnlled disbursement, ACH
               transactions, return items and interstate depository network services), employee credit card programs, cash
               pooling services and any arrangements or services similar to any of the foregoing and/or otherwise in connection
               with Cash management and Deposit Accounts.

                       "Bankruptcv Code" means Title 11 of the United States Code ( 11 U.S.C. § 10 1 et seq.), as it has been,
               or may be, amended, from time to time.

                        "Benchmark Replacement" means the sum of: (a) the alternate benchmark rate (which may include
               Term SOFR) that has been selected by the Administrative Agent and the Top Borrower giving due consideration
               to (i) any selection or recommendation of a replacement rate or the mechanism for determining such a rate by
               the Relevant Governmental Body and/or (ii) any evolving or then-prevailing market convention for determining
               a rate of interest as a replacement to the LIBO Rate for U.S. dollar-denominated syndicated credit facilities and
               (b) the Benchmark Re placement Adjustment; provided that, if the Benchmark Re placement as so determined
               would be less than zero, the Benchmark Replacement will be deemed to be zero for the purposes of this
               Agreement.

                         "Benchmark Replacement Adjustment'' means, with respect to any replacement of the LIBO Rate with
               an Unadjusted Benchmark Replacement for each applicable Interest Period, the spread adjustment, or method
               for calculating or determining such spread adjustment, (which may be a positive or negative value or zero) that
               has been selected by the Administrative Agent and the Top Borrower giving due consideration to (i) any selection
               or recommendation of a spread adjustment, or method for calculating or determining such spread adjustment,
               for the replacement of the LIBO Rate with the applicable Unadjusted Benchmark Replacement by the Relevant
               Governmental Body and/or (ii) any evolving or then-prevailing market convention for determining a spread
               adjustment, or method for calculating or determining such spread adjustment, for the replacement of the LIBO
               Rate with the applicable Unadjusted Benchmark Replacement for U.S. dollar-denominated syndicated credit
               facilities at such time.

                        "Benchmark Re placement Conforming Changes" means, with respect to any Benchmark Replacement,
               any technical, administrative or operational changes (including changes to the definition of "Alternate Base
               Rate," the definition of "Interest Period," timing and frequency of determining rates and making payments of
               interest and other administrative matters) that the Administrative Agent and the Top Borrower (in each case,
               acting reasonably) decide may be appropriate to reflect the adoption and implementation of such Benchmark
               Replacement and to permit the administration thereof by the Administrative Agent in a manner substantially
               consistent with market practice (or, if the Administrative Agent decides that adoption of any portion of such
               market practice is not administratively feasible or if the Administrative Agent determines that no market practice
               for the administration of the Benchmark Replacement exists, in such other manner of administration as the
               Administrative Agent and the Top Borrower decide is reasonably necessary in connection with the
               administration of this Agreement).

                     "Benchmark Replacement Date" means the earlier to occur of the following events with respect to the
               LIBO Rate:

                        (a)      in the case of clause (a) or (hl of the definition of "Benchmark Transition Event," the later of
               (a) the date of the public statement or publication of information referenced therein and (b) the date on which




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               the administrator of the Published LIBO Rate pem1anently or indefinitely ceases to provide the Published LIBO
               Rate; or

                        (b)     in the case of clause (c) of the definition of "Benchmark Transition Event," the date of the
               public statement or publication of information referenced therein.

                        "Benchmark Transition Event" means the occurrence of one or more of the following events with
               respect to the LIBO Rate :

                        (a)     a public statement or publication of information by or on behalf of the administrator of the
               Published LIBO Rate announcing that such administrator has ceased or will cease to provide the Published LIBO
               Rate, permanently or indefinitely, provided that, at the time of such statement or publication, there is no successor
               administrator that will continue to provide the Published LIBO Rate;

                        (b)      public statement or publication of information by the regulatory supervisor for the administrator
               of the Published LIBO Rate, the U.S. Federal Reserve System, an insolvency official with jurisdiction over the
               administrator for the Published LIBO Rate, a resolution authority with jurisdiction over the administrator for the
               Published LIBO Rate or a court or an entity with similar i11solvency or resolution authority over the administrator
               for the Published LIBO Rate, in each case, which states that the administrator of the Published LIBO Rate has
               ceased or will cease to provide the Published LIBO Rate permanently or indefmitely, provided that, at the time
               of such statement or publication, there is no successor administrator that will continue to provide the Published
               LIBO Rate; or

                       (c)       a public statement or publication of information by the regulatory supervisor for the
               administrator of the Published LIBO Rate announcing that the Published LIBO Rate is no longer representative.

                         "Benchmark Transition Start Date" means (a) in the case of a Benchmark Transition Event, the earlier
               of (i) ilie applicable Benchmark Replacement Date and (ii) if such Benchmark Transition Event is a public
               statement or publication of information of a prospective event, the 90th day prior to the expected date of such
               event as of such public statement or publication of infonnation (or if the expected date of such prospective event
               is fewer ilian 90 days after such statement or publication, the date of such statement or publication) and (b) in
               the case of an Early Opt-in Election, the date specified by the Administrative Agent or the Required Lenders, as
               applicable, in each case, with the written consent of the Top Borrower, by notice to the Administrative Agent
               (in the case of such notice by the Required Lenders) and the Lenders.

                       "Benchmark Unavailability Period" means, if a Benchmark Transition Event and its related Benchmark
               Replacement Date have occurred with respect to the LIBO Rate and solely to the extent that the LIBO Rate has
               not been replaced with a Benchmark Replacement, the period (x) beginning at the time that such Benchmark
               Replacement Date has occurred if, at such time, no Benchmark Replacement has replaced the LIBO Rate for all
               purposes hereunder in accordance with Sections 2.14(b) through~ and (y) ending at the time that a Benchmark
               Replacement has replaced the LIBO Rate for all purposes hereunder pursuant to Sections 2.14(b) through~-

                        "Bona Fide Debt Fund" means any debt fund, investment vehicle, regulated bank entity or unregulated
               lending entity that is primarily engaged in making, purchasing, holding or otherwise investing in commercial
               loans and similar extensions of credit in the ordinary course of business for financial investment purposes which
               is managed, sponsored or advised by any Person controlling, controlled by or under common control with (a)
               any competitor of the Top Borrower and/or any of its subsidiaries or (b) any Affiliate of such competitor, but, in
               each case, with respect to which no personnel involved with any investment in such Person or the management,
               control or operation of such Person (i) directly or indirectly makes, has the right to make or participates with
               others in making any investment decisions, or othen vise causing the direction of the investment policies, with
               respect to such debt fund, investment vehicle, regulated bank entity or unregulated entity or (ii) has access to
               any information (other than information that is publicly available) relati11g to Holdings, the Top Borrower or its




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               subsidiaries or any entity that forms a part of any of their respective businesses; it being understood and agreed
               that the tenn "Bona Fide Debt Fund" shall not include any Person that is a Disqualified Lending Institution.

                       "Borrowers" means, collectively, SSB, National Bedding and SSB Manufacturing.

                       "Borrower Materials" has the meaning assigned to such term in Section 9.0l(d).

                       "Borrowing" means any Loans of the same Ty pe and Class made, converted or continued on the same
               date and, in the case of LIBO Rate Loans, as to which a single Interest Period is in effect.

                       "Borrowing Request" means a request by any Borrower for a Borrowing in accordance with
               Section 2.03 and substantially in the fonn attached hereto as Exhibit B or such other form that is reasonably
               acceptable to the Administrative Agent and such Borrower.

                       "Business Day" means any day that is not a Saturday, Sunday or other day on which commercial banks
               in New York City are authorized or required by law to remain closed; provided that when used in connection
               with a LIBO Rate Loan, the tem1 "Business Day" shall also exclude any day on which banks are not open for
               dealings in Dollar deposits in the London interbank market.

                        "Canadian Bank Cash" means unrestricted Cash of the Borrower and its Restricted Subsidiaries
               deposited in depository institutions located in Canada and unrestricted Cash Equivalents of the Borrower and its
               Restricted Subsidiaries deposited in depository institutions or securities intermediaries located in the Canada.

                       "Calculation Period" means an Excess Cash Flow Period.

                         "Capital Expenditures" means, with respect to the Top Borrower and its Restricted Subsidiaries for any
               period, the aggregate amount, without duplication, of all expenditures (whether paid in cash or accrued as
               liabilities and including in all events all amounts expended or capitalized under Capital Leases) that would, in
               accordance with GAAP, are, or are required to be included as, capital expenditures on the conso lidated statement
               of cash flows for the Top Borrower and its Restricted Subsidiaries for such period.

                        "Capital Lease " means, as applied to any Person, all leases that have been or should be (i) prior to
               January 1, 2019, recorded as capitalized leases on the balance sheet of the lessee in accordance with GAAP
               or (ii) on or after January 1, 2019, recorded as financing leases on the balance sheet of the lessee in
               accordance with GAAP; provided that, with respect to this clause (ii). such financing lease shall only be a
               "Capital Lease" to the extent such financing lease would have been recorded prior to January 1, 2019 as a
               capital lease on a balance sheet of the lessee in accordance with GAAP as in effect on the November 8,
               2016; provided, that, for the avoidance ofdoubt, the amount of obligations attributable to any Capital Lease
               shall be the amount thereof accounted for as a liability in accordance with GAAP.

                       "Capital Stock" means any and all shares, interests, participations or other equivalents (however
               designated) of capital stock of a corporation, any and all equivalent ownership interests in a Person (other than
               a corporation), including partnership interests and membership interests, and any and all warrants, rights or
               options to purchase or other arrangements or rights to acquire any of the foregoing, but excluding for the
               avoidance of doubt any Indebtedness convertible into or exchangeable for any of the foregoing.

                       "Cash" means money, currency or a credit balance in any Deposit Account, in each case determined in
               accordance with GAAP.

                        "Cash Equivalents" means, as at any date of determination, (a) readily marketable securities (i) issued
               or directly and unconditionally guaranteed or insured as to interest and principal by the U.S. government or (ii)
               issued by any agency or instrumentality of the U.S. the obligations of which are backed by the full faith and
               credit of the U.S., in each case maturing within one year after such date and, in each case, repurchase agreements




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               and reverse repurchase agreements relating thereto; (b) readily marketable direct obligations issued by any state
               of the U.S. or any political subdivision of any such state or any public instrumentality thereof or by any foreign
               government, in each case maturing within one year after such date and having, at the time of the acquisition
               thereof, a rating of at least A-2 from S&P or at least P-2 from Moody's (or, if at any time neither S&P nor
               Moody' s shall be rating such obligations, an equivalent rating from another nationally recognized statistical
               rating agency) and, in each case, repurchase agreements and reverse repurchase agreements relating thereto; (c)
               commercial paper maturing no more than one year from the date of creation thereof and having, at the time of
               the acquisition thereof, a rating of at least A-2 from S&P or at least P-2 from Moody 's (or, if at any time neither
               S&P nor Moody' s shall be rating such obligations, an equivalent rating from another nationally recognized
               statistical rating agency); (d) deposits, money market deposits, time deposit accounts, certificates of deposit or
               bankers' acceptances (or similar instruments) maturing within one year after such date and issued or accepted
               by any Lender or by any bank organized under, or authorized to operate as a bank under, the laws of the U.S.,
               any state thereof or the District of Columbia or any political subdivision thereof or any foreign bank or its
               branches or agencies and that has capital and surplus of not less than $100,000,000 and, in each case, repurchase
               agreements and reverse repurchase agreements relating thereto; (e) securities with maturities of six months or
               less from the date of acquisition backed by standby letters ofcredit issued by any commercial bank having capital
               and surplus of not less than $100,000,000; and (£) shares of any money market mutual fund that has (i)
               substantially all of its assets invested in the types of investments referred to in clauses (a) through ~ above, (ii)
               net assets of not less than $250,000,000 and (iii) a rating of at least A-2 from S&P or at least P-2 from Moody' s.

                        "Cash Equivalents" shall also include (x) Investments of the type and maturity described in clauses (a)
               through (g)_ above of foreign obligors, which Investments or obligors (or the parent companies thereof) have the
               ratings described in such clauses or equivalent ratings from comparable foreign rating agencies and (y) other
               short-term Investments utilized by Foreign Subsidiaries in accordance with normal investment practices for cash
               management in Investments that are analogous to the Investments described in clauses (a) through (g)_ and in this
               paragraph.

                        "CFC" means a "controlled foreign corporation" within the meaning of Section 957 of the Code.

                       "CFC Holdco" means any direct or indirect Domestic Subsidiary that has no material assets other than
               the Capital Stock or Indebtedness of one or more CFCs or CFC Holdcos.

                        "Change in Law" means (a) the adoption of any law, treaty, rule or regulation after the Closing Date,
               (b) any change in any law, treaty, rule or regulation or in the interpretation or application thereof by any
               Governmental Authority after the Closing Date or (c) compliance by any Lender (or, for purposes of Section
               2.15(b), by any lending office of such Lender or by such Lender' s holding company, if any) with any request,
               guideline or directive (whether or not having the force of law) of any Governmental Authority made or issued
               after the Closing Date (other than any such request, guideline or directive to comply with any law, rule or
               regulation that was in effect on the Closing Date). For purposes of this definition and Section 2.15, (x) the Dodd-
               Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines, requirements and
               directives thereunder or issued in connection therewith or in implementation thereof and (y) all requests, mies,
               guidelines, requirements or directives promulgated by the Bank for International Settlements, the Basel
               Committee on Banking Supervision (or any successor or similar authority) or US regulatory authorities, in each
               case pursuant to Basel III, shall in each case described in clauses (a), (b) and Cf) above, be deemed to be a Change
               in Law, regardless of the date enacted, adopted, issued or implemented.

                        "Change of Control" means the earliest to occur of:

                                 (a)      at any time prior to a Qualify ing IPO, the Permitted Holders ceasing to beneficially
                        own, either directly or indirectly (within the meaning of Rule 13d-3 and Rule 13d-5 under the Exchange
                        Act), Capital Stock representing more than 50% of the total voting power of all of the outstanding voting
                        stock of Holdings;




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                                 (b)     at any time on or after a Qualifying TPO, the acquisition by any Person or group (within
                       the meaning of Section 13(d)(3) or Section l 4(d)(2) of the Exchange Act) (including any group acting
                       for the purpose of acquiring, holding or disposing of Securities (within the meaning of Rule I3d-5(b)(I)
                       under the Exchange Act), but excluding (i) any employee benefit plan and/or Person acting as the
                       trustee, agent or other fiduciary or administrator therefor, (ii) one or more Permitted Holders and (iii)
                       any underwriter in connection with any Qualifying IPO), of Capital Stock representing more than the
                       greater of (x) 35% of the total voting power of all of the outstanding voting stock of Holdings and (y)
                       the percentage of the total voting power of all of the outstanding voting stock of Holdings owned,
                       directly or indirectly, beneficially by the Permitted Holders; and

                              (c)        the Top Borrower ceasing to be a direct or indirect Wholly-Owned Subsidiary of
                       Holdings.

                       "Charge" means any fee, loss, charge, expense, cost, accnial or reserve of any kind.

                       "Charged Amounts" has the meaning assigned to such term in Section 9.19.

                       "Class", w hen used w ith respect to (a) any Loan or Borrowing, refers to whether such Loan, or the
               Loans comprising such Borrowing, are New Money Tem1 Loans, Initial Exchange Tenn Loans, Subsequent Pari
               Passu Exchange Term Loans or Subsequent Junior Exchange Term Loans, (b) any Commitment, refers to the
               New Money Term Loan Commitment and (c) any Lender, refers to whether such Lender has a Loan or
               Commitment of a particular Class.

                        "Closing Date" means June 22, 2020, the date on w hich the conditions specified in Section 4.0 1 were
               satisfied (or waived in accordance with Section 9.02).

                       "Code" means the Internal Revenue Code of 1986.

                       "Collateral" means any and all property of any Loan Party subject (or purported to be subject) to a Lien
               under any Collateral Document and any and all other property of any Loan Party, now e xisting or hereafter
               acquired, that is or becomes subject (or purported to be subject) to a Lien pursuant to any Collateral Document
               to secure the Secured Obligations. For the avoidance of doubt, in no event shall " Collateral" include any
               Excluded Asset.

                        "Collateral and Guarantee Requirement" means, at any time, subject to (x) the applicable limitations set
               forth in this Agreement and/or any other Loan Document and (y) the time periods (and extensions thereof) set
               forth in Section 5.12 and Section 5.17, the requirement that:

                                 (a)      the Administrative Agent shall have received in the case of any Restricted Subsidiary
                       that is required to become a Loan Party after the Closing Date (including by ceasing to be an Excluded
                       Subsidiary) or otherwise becomes a Loan Party after the Closing Date:

                                          (i)      in the case of any Domestic Subsidiary, (A)(l) a Joinder Agreement, (2) if the
                                respective Restricted Subsidiary required to comply w ith the requirements set forth in this
                                definition pursuant to Section 5.12 owns registrations of or applications for U.S. Patents,
                                Trademarks and/or Copyrights that constitute Collateral, an Intellectual Property Security
                                Agreement, (3) a completed Perfection Certificate, (4) Uniform Commercial Code financing
                                statements in appropriate form for filing in such jurisdictions as the Administrative Agent may
                                reasonably request, (5) an executed joinder to each Initial Intercreditor Agreement in
                                substantially the form attached as an exhibit thereto, (6) ajoinder to the Intercompany Note and
                                (7) if the respective Restricted Subsidiary is required to comply with the requirements set forth
                                in this definition pursuant to Section 5.12 owns any Deposit Accounts that constitute Collateral,
                                an account control agreement to the extent required under Section 5.17; and (B) each item of




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                                Collateral that such Restricted Subsidiary is required to deliver under Section 4.02 of the
                                Security Agreement (which, for the avoidance of doubt, shall be delivered within the time
                                periods set forth in Section 5.12(a)).

                                         (ii)      in the case of any subsidiary that has been designated as a Discretionary
                                Guarantor, (A) in the case of any Domestic Subsidiary, the documents described in clause (a)(i)
                                and (B) in the case of any Foreign Subsidiary, (1) a Joinder Agreement, (2) an executedjoinder
                                to each Initial Intercreditor Agreement in substantially the form attached as an exhibit thereto,
                                (3) a joinder to the Jntercompany Note and (4) such other documentation relating to such
                                categories of assets (other than Excluded Assets) as the Top Borrower and the Administrative
                                Agent (acting at the Direction of the Required Lenders) may reasonably agree.

                        "Collateral Documents" means, collectively, (i) the Security Agreement, (ii) each Intellectual Property
               Security Agreement, (iii) any supplement to any of the foregoing de livered to the Administrative Agent pursuant
               to the definition of " Collateral and Guarantee Requirement", (iv) any Perfection Certificate and (v) each of the
               other instruments and documents pursuant to which any Loan Party grants (or purports to grant) a Lien on any
               Collateral as security for payment of the Secured Obligations.

                       "Commercial Tort Claim" has the meaning set forth in Article 9 of the UCC.

                     "Commitment" means, with respect to each Lender, such Lender's New Money Term Loan
               Commitment in effect as of such time.

                       "Commitment Schedule" means the Schedule attached hereto as Schedule l.0l(a).

                       "Commodity Exchange Act" means the Commodity Exchange Act (7 U.S.C. § 1 et seq.).

                       "Company Competitor" means any competitor of the Top Borrower and/or any of its Subsidiaries.

                       "Compliance Certificate" means a Compliance Certificate substantially in the form of Exhibit D.

                       "Confidential Information" has the meaning assigned to such tem1 in Section 9.13 .

                        "Consolidated Adjusted EBITDA" means, ·with respect to any Person on a consolidated basis for any
               period, the sum of:

                                (a)      Consolidated Net Income for such period; plus

                                (b)      to the extent not other.vise included in the determination of Consolidated Net Income
                       for such period, the amount of any proceeds of any business interruption insurance policy in an amount
                       representing the earnings for the applicable period that such proceeds are intended to replace (whether
                       or not then received so long as such Person in good faith expects to receive such proceeds within the
                       next four Fiscal Quarters (it being understood that to the extent such proceeds are not actually received
                       within such Fiscal Quarters, such proceeds shall be deducted in calculating Consolidated Adjusted
                       EBITDA for such Fiscal Quarters)); plus

                               (c)     without duplication, those amounts which, in the determination of Consolidated Net
                       Income for such period, have been deducted for:

                                         (i)     Consolidated Interest Expense;




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                                 (ii)     Charges related to any de novo facility, including any construction, pre-
                        opening and start-up period prior to opening, until such faci lity has been open and operating
                        for a period of 18 consecutive months;

                                 (iii)     Taxes paid and any provision for Taxes, including income, capital, state,
                        franchise and similar Taxes, property Taxes, foreign withholding Ta"Xes and foreign
                        unreimbursed value added Taxes (including penalties and interest related to any such Tax or
                        arising from any Tax examination, and including pursuant to any Tax sharing arrangement or
                        as a result of any intercompany distribution) of such Person paid or accrued during such period;

                                (iv)      (A) all depreciation, amortization (including, without limitation, amortization
                        of goodwill, software and other intangible assets), (B) all impairment Charges and (C) all asset
                        write-offs and/or write-downs;

                                 (v)     any earn-out and contingent consideration obligations (including to the extent
                        accounted for as bonuses, compensation or otherwise) incurred in connection with any
                        acquisition and/or other Investment permitted under Section 6.06 w hich is paid or accrued
                        during such period and i11 connection with any similar acquisition or other Investment
                        completed prior to the Closing Date and, in each case, adjustments thereof;

                                (vi)      any non-cash Charge, including the excess of GAAP rent expense over actual
                        cash rent paid during such period due to the use of straight line rent for GAAP purposes
                        (provided that to the extent that any such non-cash Charge represents an accrual or reserve for
                        any potential cash item in any future period, (A) such Person may elect not to add back such
                        non-cash Charge in the current period and (B) to the extent such Person elects to add back such
                        non-cash Charge, the cash payment in respect thereof in such future period shall be subtracted
                        from Consolidated Adjusted EBITDA to such extent);

                                 (vii)   any non-cash compensation Charge and/or any other non-cash Charge arising
                        from the granting of any stock option or similar arrangement (including any profits interest),
                        the granting of any stock appreciation right and/or similar arrangement (including any
                        repricing, amendment, modification, substitution or change of any such stock option, stock
                        appreciation right, profits interest or similar arrangement);

                                 (viii)   (A) Transaction Costs, (B) Charges incurred (1) in connection with any
                        transaction (in each case, regardless of whether consummated, and whether or not permitted
                        under this Agreement), including any incurrence or issuance of Indebtedness and/or any
                        issuance and/or offering of Capital Stock (including, in each case, by any Parent Company),
                        any Investment (including any acquisition), any Disposition, any recapitalization, any merger,
                        consolidation or amalgamation, any option buyout or any repayment, redemption, refinancing,
                        amendment or modification of Indebtedness (including any amortization or write-off of debt
                        issuance or deferred financing costs, premiums and prepayment penalties) or any similar
                        transaction, and/or (2) in connection with any Qualifying IPO, (C) the amount of any Charge
                        that is actually reimbursed or reimbursable by third parties pursuant to indemnification or
                        reimbursement provisions or similar agreements or insurance; provided that in respect of any
                        Charge that is added back in reliance on clause (C) above, the relevant Person in good faith
                        expects to receive reimbursement for such fee, cost, expense or reserve within the next four
                        Fiscal Quarters (it being understood that to the extent any reimbursement amount is not actually
                        received within such Fiscal Quarters, such reimbursement amount shall be deducted in
                        calculating Consolidated Adjusted EBITDA for such Fiscal Quarters) and/or (D) Public
                        Company Costs;




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                                 (ix)     any Charge or deduction that is associated with any Restricted Subsidiary and
                        attributable to any non-controlling interest and/or minority interest of any third party ;

                                  (x)      without duplication of any amount referred to in clause (b) above, the amount
                        of (A) any Charge to the extent that a corresponding amount is received in cash by such Person
                        from a Person other than such Person or any Restricted Subsidiary of such Person under any
                        agreement providing for reimbursement of such Charge or (B) any Charge with respect to any
                        liability or casualty event, bus iness interruption or any product recall, (i) so long as such Person
                        has submitted in good fai th, and reasonably expects to receive payment in connection with, a
                        claim for reimbursement of such amounts under its relevant insurance policy (with a deduction
                        in the applicable future period for any amount so added back to the extent not so reimbursed
                        within the next four Fiscal Quarters) or (ii) without duplication of amounts included in a prior
                        period under clause (B)(i) above, to the extent such Charge is covered by insurance proceeds
                        received in cash during such period (it being understood that if the amount received in cash
                        under any such agreement in any period exceeds the amount of Charge paid during such period
                        such excess amounts received may be carried forward and applied against any Charge in any
                        future period);

                                 (xi)     the amount of management, monitoring, consulting, transaction and advisory
                        fees and related indemnities and expenses (including reimbursements) pursuant to any sponsor
                        management agreement and payments made to any Investor (and/or its Affiliates or
                        management companies) for any financial advisory, financing, unden ¥riting or placement
                        services or in respect of other investment banking activities and payments to outside directors
                        of a Parent Company, the Top Borrower or any of its Restricted Subsidiaries actually paid by
                        or on behalf of, or accrued by, such Person or any of its subsidiaries; provided that such
                        payment is permitted under this Agreement;

                                  (xii)    any Charge attributable to the undertaking and/or implementation of new
                        initiatives, business optimization activities, cost savings initiatives, cost rationalization
                        programs, operating expense reductions and/or synergies and/or similar initiatives and/or
                        programs (including in connection with any integration, restructuring or transition, any
                        reconstruction, decommiss ioning, recommissioning or reconfiguration of fixed assets for
                        alternative uses, any facility opening and/or pre-opening, any inventory optimization program
                        and/or any curtailment), any business optimization Charge, any restructuring Charge (including
                        any Charge relating to any tax restructuring), any Charge relating to the closure or consolidation
                        of any facility (including severance, rent termination costs, moving costs and legal costs), any
                        systems implementation Charge, any severance Charge, any Charge relating to entry into a new
                        market, any Charge relating to any strategic initiative, any signing Charge, any retention or
                        completion bonus, any expansion and/or relocation Charge, any Charge associated with any
                        modification to any pension and post-retirement employee benefit plan, any software
                        development Charge, any Charge associated with new systems design, any implementation
                        Charge, any project startup Charge, any Charge in connection with new operations, any Charge
                        in connection ·with unused warehouse space or manufacturing facilities, any Charge relating to
                        a new contract, any consulting Charge and/or any corporate development Charge: provided,
                        that the amount of Charges added back in reliance on this clause (c)(xii) in any period may not
                        exceed (x) 25.0% of Consolidated Adjusted EBITDA for such period (calculated (A) before
                        giving effect to such add-back or adjustments pursuant to this clause (c)(xii) and (B) without
                        giving effect to any cap applicable to clause (e) below) plus (y) Charges incurred in connection
                        with the integration of the "Serta" and "Simmons" businesses; plus

                                 (xiii)  any Charge incurred or accrued in connection with any single or one-time
                        event, including in connection with (A) any acquisition or s imilar Investment consummated




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                                after the Closing Date and/or (B) the closing, consolidation or reconfiguration of any facility
                                during such period; plus

                                (d)      to the extent not included in Consolidated Net Income for such period, cash actually
                       received (or any netting arrangement resulting in reduced cash expenditures) during such period so long
                       as the non-cash income or gain was deducted in the calculation of Consolidated Adjusted EBITDA
                       (including any component definition) pursuant to clause (f) below for such period or any previous period
                       and not added back; plus

                                 (e)     the full pro fonna " run rate'' cost savings, operating expense reductions, operational
                       improvements and synergies (collectively, " Expected Cost Savings") (net of actual amounts realized)
                       that are reasonably identifiable and factually supportable (in the good faith determination of such
                       Person, as certified by a Responsible Officer of such Person in the Compliance Certificate required by
                       Section 5.0l(c) to be de livered in connection with the financial statements for such pe riod) related to
                       (A) the Transactions, (B) the integration of the " Serta" and " Simmons" businesses and (C) any
                       Investme nt, Disposition, operating improvement, restructuring, cost savings initiative, any similar
                       initiative (including the renegotiation of any contract and/or other arrangement) and/or specified
                       transaction (any such operating improvement, restructuring, cost savings initiative and/or similar
                       initiative or specified transaction, a "Cost Saving Initiative"), in each case, prior to, on or after the
                       Closing Date; provided, that with respect to Cost Saving Initiatives under this sub-clause (C) of this
                       clause (e), (1) substantial steps toward the action necessary to realize any such cost savings, operating
                       expense reduction, operating improvement and/or synergy added back in reliance on this sub-clause (C)
                       with respect to any Investment, Disposition, operating improvement, restructuring, cost savings
                       initiative, any similar initiative (including the renegotiation of any contract and/or other arrangement)
                       and/or specified transaction are expected to be taken w ithin 18 months following the date on which the
                       relevant Person determines to take such action and (2) the amount of such Cost Saving Initiatives added
                       back in re liance on sub-clause (C) in any period shall not exceed an amount equal to (x) 25.0% of
                       Consolidated Adjusted EBITDA for such period (calculated (x) before giving effect to such add-back
                       or adjustments pursuant to this sub-clause (C), (y) without giving effect to any cap applicable to clause
                       (c)(xii) above and (z) after giving effect to all other permitted pro forma adjustments) plus (y) the
                       amount of any pro forma adjustment that is consistent with Regulation S-X under the Securities Act;
                       plus

                                (f)     [reserved]; minus

                                 (g)     any amount which, in the determination of Consolidated Net Income for such period,
                       has been added for any non-cash income or non-cash gain, all as determined in accordance with GAAP
                       (provided that if any non-cash income or non-cash gain represents an accrual or deferred income in
                       respect of potential cash items in any future pe riod, such Person may determine not to deduct the
                       re levant non-cash gain or income in the then-current period); minus

                                (h)      the amount of any cash payment made during such period in respect of any noncash
                       accrual, reserve or other non-cash Charge that is accounted for in a prior period which was added to
                       Consolidated Net Income to determine Consolidated Adjusted EBITDA for such prior period and which
                       does not othern1 ise reduce Consolidated Net Income for the current period.

                       "Consolidated First Lien Debt" means, as to any Person at any date of determination, the aggregate
               principal amount of Consolidated Total Debt outstanding on such date that is secured by a first priority Lien on
               the Collateral.

                        "Consolidated Interest Expense" means, w ith respect to any Person for any period, the sum of
               (a) consolidated total interest expense of such Person and its Restricted Subsidiaries for such period, whether
               paid or accrued and whether or not capitalized, (including, without limitation (and without duplication),




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               amortization of any debt issuance cost and/or original issue discount, any premium paid to obtain payment,
               financial assurance or similar bonds, any inte rest capitalized during construction, any non-cash inte rest payment,
               the interest component of any deferred payment obligation, the interest component of any payment under any
               Capital Lease (regardless of whether accounted for as interest expense under GAAP), any commission, discount
               and/or other fee or charge owed with respect to any letter of credit and/or bankers' acceptance, any fee and/or
               expense paid to the Admii1istrative Agent m connection with its services hereunder, any other bank,
               administrative agency (or trustee) and/or financing fee and any cost associated with any surety bond in
               connection with financing activities (whether amortized or imme diate ly expensed)) plus (b) any cash dividend
               paid or payable in respect of Disqualified Capital Stock during such period other than to such Person or any
               Loan Party. plus (c) any net losses or obligations arising from any Hedge Agreement and/or other derivative
               fmancial instrument issued by such Person for the benefit of such Person or its subsidiaries, in each case
               detennined on a consolidated basis for such period. For purposes of this definition, interest in respect of any
               Capital Lease shall be deemed to accrue at an interest rate reasonably detennined by such Person to be the rate
               of interest implicit in such Capital Lease in accordance with GAAP.

                        "Consolidated Net Income" means, in respect of any period and as detennined for any Person (the
               " Subject Person") on a consolidated basis, an amount equal to the sum of net income, determined in accordance
               with GAAP, but excluding:

                                (a)     the income (or loss) of any Person (other than a Restricted Subsidiary of the Subject
                       Person) accounted for by the equity method of accounting and Unrestricted Subsidiaries, except to the
                       extent of dividends or distributions or other payments that are actually paid in Cash or Cash Equivalents
                       to the Subject Person or a Restricted Subsidiary thereof (or subsequently converted into Cash or Cash
                       Equivalents), whether paid in respect of income, return of capital or dividend for such period or any
                       prior periods,

                                (b)      any gain or Charge attributable to any asset Disposition (including asset retirement
                       costs and including any abandonments of assets) or ofreturned surplus assets outside the ordii1ary course
                       of business,

                               (c)        (i) any gain or Charge from (A) any extraordinary item (as determined in good faith
                       by such Person) and/or (B) any nonrecurring or unusual item (as determined in good faith by such
                       Person) and/or ( ii) any Charge associated with and/or payment of any actual or prospective legal
                       settlement, fine, judgment or order,

                                 (d)     any net gain or Charge with respect to (i) any disposed, abandoned, divested and/or
                       discontinued asset, property or operation (other than, at the option of the Top Borrower, any asset,
                       property or operation pending the disposal, abandonment, divestiture and/or termination thereof), (ii)
                       any disposal, abandonment, divestiture and/or discontinuation of any asset, property or operation (other
                       than, at the option of such Person, relating to assets or properties he ld for sale or pend mg the divestiture
                       or tennination thereot) and/or (iii) any facility that has been closed during such period,

                                (e)     any net income or write-off or amortization made of any deferred financing cost and/or
                       premium paid or other Charge, in each case attributable to the early extinguishment of Indebtedness
                       (and the termination of any associated Hedge Agreement),

                                 (f)     (i) any Charge incurred pursuant to any management equity plan, profits interest or
                       stock option plan or any other management or employee benefit plan or agreement, any pension plan
                       (mcluding any post-employment benefit scheme which has been agreed with the relevant pension
                       trustee), any stock subscription or shareholder agreement, any employee benefit trust, any employm ent
                       benefit scheme or any siinilar equity plan or agreement ( including any deferred compensation
                       arrangement) and (ii) any Charge incurred in connection with the rollover, acceleration or payout of
                       Capital Stock held by management of Holdings (or any other Parent Company), the Top Borrower




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                        and/or any Restricted Subsidiary, in each case, to the extent that any cash Charge is funded with net
                        cash proceeds contributed to relevant Person as a capital contribution or as a result of the sale or issuance
                        of Qualified Capital Stock,

                                 (g)      any Charge that is established, adjusted and/or incurred, as applicable, (i) within 12
                        months after the closing of any other acquisition permitted under this Agreement that is required to be
                        established, adjusted or incurred, as applicable, as a result of such penuitted acquisition in accordance
                        with GAAP or (ii) as a result of any change in, or the adoption or modification of, accounting principles
                        and/or policies in accordance with GAAP,

                                 (h)       (i) the effects of adjustments (including the effects of such adjustments pushed down
                        to the relevant Person and its subsidiaries) in component amounts required or permitted by GAAP
                        (including in the inventory, property and equipment, lease, rights fee arrangements, software, goodwill,
                        intangible asset, in-process research and developme nt, deferred revenue, advanced billing and de bt line
                        items thereof), resulting from the application of purchase accounting in relation to any consummated
                        acquisition or recapitalization accounting or the amortization or write-off of any an1ounts thereof, net
                        of Taxes, and (ii) the cumulative effect of changes (effected through cumulative effect adjustment or
                        retroactive application) in, or the adoption or modification of, accounting principles or policies made in
                        such period in accordance with GAAP which affect Consolidated Net Income (except that, if the Top
                        Borrower determines in good faith that the cumulative effects thereof are not material to the interests of
                        the Lenders, the effects of any change, adoption or modification of any such principles or policies may
                        be included in any subsequent period after the Fiscal Quarter in which s uch change, adoption or
                        modification was made),

                                 (i)      [reserved],

                                 (j)     solely for the purpose of calculating Excess Cash Flow, the income or loss of any
                        Person accrued prior to the date on which such Person becomes a Restricted Subsidiary of such Person
                        or is merged into or consolidated with such Person or any Restricted Subsidiary of such Person or the
                        date that such other Person' s assets are acquired by such Person or any Restricted Subsidiary of such
                        Person,

                                (k)       (i) any realized or unrealized gain or loss in respect of (A) any obligation under any
                       Hedge Agreement as detem1ined in accordance with GAAP and/or (B) any other derivative instrument
                       pursuant to, in the case of this clause (B). Financial Accounting Standards Board' s Accounting
                       Standards Codification No. 815-Derivatives and Hedging, and (ii) any realized or unrealized foreign
                       currency exchange gain or loss (including any currency re-measurement of Indebtedness, any net gain
                       or loss resulting from Hedge Agreements for currency exchange risk resulting from any intercompany
                       Indebtedness, any foreign currency translation or transaction or any other currency-related risk);
                       provided, that notwithstanding anything to the contrary herein, any realized gain or loss in respect of
                       any Designated Operational FX Hedge shall be included in the calculation of Consolidated Net Income,
                       and

                                 (1)       any deferred Tax expense associated with any tax deduction or net operating loss
                        arising as a result of the Transactions, or the release of any valuation allowance related to any such item.

                         "Consolidated Total Assets" means, at any date, all amounts that would, in conformity with GAAP, be
               set forth opposite the caption "total assets" (or any like caption) on a consolidated balance sheet of the applicable
               Person at such date.

                      "Consolidated Total Debt" means, as to any Person at any date of determination, the aggregate principal
               amount of all third party debt for borrowed money (including LC Disbursements (as defined in the ABL Credit
               Agreement) that have not been reimbursed within three Business Days and the outstanding principal balance of




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               all Indebtedness of such Person represented by notes, bonds and similar instruments and excluding, for the
               avoidance of doubt, undrawn letters of credit) and Capital Leases and purchase money Indebtedness, as such
               amount may be adjusted to reflect the effect (as determined by the Top Borrower in good faith) of any Debt FX
               Hedge; provided that "Consolidated Total Debt" shall be calculated (i) net of the Unrestricted Cash Amount,
               and (ii) excluding any obligation, liability or indebtedness of such Person if, upon or prior to the maturity thereof,
               such Person has irrevocably deposited with the proper Person in trust or escrow the necessary funds (or evidences
               of inde btedness) for the payment, redemption or satisfaction of such obligation, liability or inde btedness, and
               thereafter such funds and evidences of such obligation, liability or indebtedness or other security so deposited
               are not included in the calculation of the Unrestricted Cash Amount.

                       "Consolidated Working Capital" means, as at any date of determination, the excess of Current Assets
               over Current Liabilities.

                        "Contractual Obligation" means, as applied to any Person, any provision of any Security issued by that
               Person or of any indenture, mortgage, deed of trust, contract, undertaking, agreement or other instrument to
               which that Person is a party or by w hich it or any of its properties is bound or lo which it or any of its properties
               is subject.

                       "Control" means the possession, directly or indirectly, of the power to direct or cause the direction of
               the management or policies of a Person, whether through the ability to exercise voting power, by contract or
               otherwise. "Controlling" and " Controlled" have meanings correlative thereto.

                         "Copyright" means the following: (a) all copyrights, rights and interests in copyrights, works
               protectable by copyright w hether published or unpublished, copyright registrations and copyright applications;
               (b) all renewals of any of the foregoing; (c) all income, royalties, damages, and payments now or hereafter due
               and/or pay able under any of the foregoing, including, without limitation, damages or payments for past or future
               infringements for any of the foregoing; (d) the right to sue for past, present, and future infringements of any of
               the foregoing; and (e) all rights corresponding to any of the foregoing.

                       "Cost Saving Initiative" has the meaning assigned to such term in the definition of " Consolidated
               Adjusted EBITDA".

                        "Covered Entitv" has the meaning assigned to such term in Section 9.27(c)(ii).

                        "Covered Partv" has the meaning assigned to such term in Section 9.27(b).

                        "Credit Facilities" means any Term Facility.

                     "Cure Amount" has the meaning assigned to such term in the ABL Credit Agreement (or any other
               document governing any ABL Facility).

                        "Current Assets" means, at any date, all assets of the Top Borrower and its Restricted Subsidiaries which
               under GAAP would be classified as current assets (excluding any (i) Cash or Cash Equivalents (including Cash
               and Cash Equivalents held on deposit for third parties by the Top Borrower and/or any Restricted Subsidiary),
               (ii) permitted loans to third parties, (iii) deferred bank fees and derivative financial instruments related to
               Inde btedness, (iv) the current portion of current and deferred Taxes and (v) management fees receivables).

                         "Current Liabilities" means, at any date, all liabilities of the Top Borrower and its Restricted
               Subsidiaries which under GAAP would be classified as current liabilities, other than (i) current maturities of
               long term debt, (ii) outstanding revolving loans and letter of credit exposure, (iii) accruals of Consolidated
               Interest Expense (excluding Consolidated Interest Expense that is due and unpaid), (iv) obligations in respect of
               derivative financial instruments related to Indebtedness, (v) the current portion of current and deferred Taxes,
               (vi) liabilities in respect of unpaid earnouts or unpaid acquisition, disposition or refinancing related expenses




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               and deferred purchase price holdbacks, (vii) accruals re lating to restructuring reserves, (viii) liabilities in respect
               of funds of third parties on deposit with the Top Borrower and/or any RestTicted Subsidiary, (ix) management
               fees payables, (x) the current portion of any Capital Lease Obligation, (xi) the current portion of any other long
               term liability for Indebtedness, (xii) accrued settlement costs, (xiii) non-cash compensation costs and expenses
               and (xiv) any other liabilities that are not Indebtedness and will not be settled in Cash or Cash Equivalents during
               the next succeeding twelve month period after such date.

                        "Davm Intennediate" has the meaning assigned to such tenn in the preamble.

                         "De bt FX Hedge" means any Hedge Agreement entered into for the purpose of hedging currency-related
               risks in respect of any Indebtedness of the type described in the definition of "Consolidated Total Debt" .

                        "Debtor Relief Laws" means the Bankmptcy Code of the U.S. and all other liquidation, conservatorship,
               bankruptcy, general assignment for the benefit of creditors, moratorium, rearrangement, receivership,
               insolvency, reorganization or similar debtor relief laws of the U.S. or other applicable jurisdictions from time to
               time in effect and affecting the rights of creditors generally.

                        "Declined Proceeds" has the meaning assigned to such term in Section 2.11 (b)(v).

                       "Default" means any event or condition w hich upon notice, lapse of time or both would become an
               Event of Default.

                        "Default Right" has the meaning assigned to such term in Section 9.27(c)(iii).

                        "Defaulting Lender" means any Person that has (a) defaulted in (or is otherwise unable to perform) its
               obligations under this Agreement, including to make a Loan within two Business Days of the date required to
               be made by it hereunder, (b) notified the Administrative Agent or the Top Borrower in writing that it does not
               intend to satisfy or perfom1 any such obligation or has made a public statement to the effect that it does not
               intend to comply with its funding or other obligations under this Agreement or under agreements in which it
               commits to extend credit generally (unless such v.rriting indicates that such position is based on such Person' s
               good faith detennination that a condition precedent (specifically identified and including the particular default,
               if any) to funding a Loan cannot be satisfied), (c) failed, within two Business Days after the request of the
               Administrative Agent or the Top Borrower, to confirm in writing that it will comply with the terms of this
               Agreement relating to its obligations to fund prospective Loans (if applicable); provided that such Person shall
               cease to be a Defaulting Lender pursuant to this clause (c) upon receipt of such written confirmation by the
               Administrative Agent, (d) become (or any parent company thereof has become) insolvent or been determined by
               any Governmental Authority having regulatory authority over such Person or its assets, to be insolvent, or the
               assets or management of which has been taken over by any Governmental Authority or (e)(i) become (or any
               parent company thereof has become) the subject of (A) a bankmptcy or insolvency proceeding or (B) a Bail-In
               Action, (ii) has had a receiver, conservator, trustee, administrator, assignee for the benefit of creditors or similar
               Person charged with reorganization or liquidation of its business or custodian, appointed for it, or (iii) has taken
               any action in furtherance of, or indicating its consent to, approval of or acquiescence in, any such proceeding or
               appointment, unless in the case of any Person subject to this clause (e). the Top Borrower and the Administrative
               Agent have each detenuined that such Person intends, and has all approvals required to enable it (in fom1 and
               substance satisfactory to the Top Borrower and the Administrative Agent), to continue to perform its obligations
               hereunder; provided that no Person shall be deemed to be a Defaulting Lender solely by virtue of the ownership
               or acquisition of any Capital Stock in such Lender or its parent by any Governmental Authority: provided that
               such action does not result in or provide such Lender with immunity from the jurisdiction of courts within the
               U.S. or from the enforcement of judgments or writs of attachment on its assets or permit such Person (or such
               Governmental Authority) to r~ject, repudiate, disavow or disa:ffinu any contract or agreement to w hich such
               Person is a party.




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                        "Deposit Account" means a demand, time, savings, passbook or like account with a bank, savings and
               loan association, credit union or like organization, other than an account evidenced by a negotiable certificate of
               deposit.

                         "Derivative Transaction" means (a) any interest-rate transaction, including any interest-rate swap, basis
               swap, forward rate agreement, interest rate option (including a cap, collar or floor), and any other instrument
               linked to interest rates that gives rise to similar credit risks (including when-issued securities and forward
               deposits accepted), (b) any exchange-rate transaction, including any cross-currency interest-rate swap, any
               forward foreign-exchange contract, any currency option, and any other instrument linked to exchange rates that
               gives rise to similar credit risks, (c) any equity derivative transaction, including any equity-linked swap, any
               equity-linked option, any forward equity-linked contract, and any other instrument linked to equities that gives
               rise to similar credit risk and (d) any commodity (including precious metal) derivative transaction, including any
               commodity-linked swap, any commodity-linked option, any forward commodity-linked contract, and any other
               instrument linked to commodities that gives rise to similar credit risks; provided, that no phantom stock or similar
               plan providing for payments only on account of services provided by current or former directors, officers,
               employees, members of management, managers or consultants of the Top Borrower or its subsidiaries shall be
               a Derivative Transaction.

                        "Designated Operational FX Hedge" means any Hedge Agreement entered into for the purpose of
               hedging currency-related risks in respect of the revenues, cash flows or other balance sheet items of the Top
               Borrower, any of its subsidiaries and designated at the time entered into (or on or prior to the Closing Date, with
               respect to any Hedge Agreement entered into on or prior to the Closing Date) as a Designated Operational FX
               Hedge by the Top Borrower in a writing de livered to the Administrative Agent.

                        "Direction of the Required Lenders" means a written direction or instruction from Lenders constituting
               the Required Lenders which may be in the form of an email or other form of written communication and which
               may come from any Specified Lender Advisor. Any such email or other communication from a Specified Lender
               Advisor shall be conclusively presumed to have been authorized by a written direction or instruction from the
               Required Lenders and such Specified Lender Advisor shall be conclusively presumed to have acted on behalf of
               and at the wTitten direction or instruction from the Required Lenders (and the Administrative Agent shall be
               entitled to rely on such presumption). For the avoidance of doubt, with respect to each reference herein to (i)
               documents, agreements or other matters being "satisfactory," "acceptable," "reasonably satisfactory" or
               "reasonably acceptable" (or any expression of similar import) to the Required Lenders, such determination may
               be communicated by a Direction of the Required Lenders as contemplated above and/or (ii) any matter requiring
               the consent or approval of, or a determination by, the Required Lenders, such consent, approval or determination
               may be communicated by a Direction of the Required Lenders as contemplated above. The Administrative Agent
               shall be entitled to rely upon, and shall not incur any liability for rely ing upon, any written direction or instruction
               from the Required Lenders that is purported to be a Direction of the Required Lenders, and the Administrative
               Agent shall not have any responsibility to independently determine whether such direction has in fact been
               authorized by the Required Lenders.

                      "Discretionarv Guarantor" has the meaning assigned to such term in the definition of "Subsidiary
               Guarantor''.

                         "Disposition" or "Dispose" means the sale, lease, sublease, or other disposition of any property of any
               Person.

                         "Disqualified Capital Stock" means any Capital Stock which, by its terms (or by the terms of any
               security into which it is convertible or for which it is exchangeable), or upon the happening of any event, (a)
               matures (excluding any maturity as the result of an optional redemption by the issuer thereof) or is mandatorily
               redeemable (other than for Qualified Capital Stock), pursuant to a sinking fund obligation or otherwise, or is
               redeemable at the option of the holder thereof (other than for Qualified Capital Stock), in whole or in part, on or
               prior to 91 days following the Latest Maturity Date at the time such Capital Stock is issued (it being understood




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               that if any such redemption is in part, only such part coming into effect prior to 91 days following the Latest
               Maturity Date shall constitute Disqualified Capital Stock), (b) is or becomes convertible into or exchangeable
               (unless at the sole option of the issuer thereof) for (i) debt securities or (ii) any Capital Stock that would constitute
               Disqualified Capital Stock, in each case at any time on or prior to 91 days following the Latest Maturity Date at
               the time such Capital Stock is issued, (c) contains any mandatory repurchase obligation or any other repurchase
               obligation at the option of the holder thereof (other than for Qualified Capital Stock), in whole or in part, which
               may come into effect prior to 9 1 days following the Latest Maturity Date at the time such Capital Stock is issued
               (it being understood that if any such repurchase obligation is in part, only such part coming into effect prior to
               91 days following the Latest Maturity Date shall constitute Disqualified Capital Stock) or (d) provides for the
               scheduled payments of dividends in Cash on or prior to 91 days following the Latest Maturity Date at the time
               such Capital Stock is issued; provided that any Capital Stock that would not constitute Disqualified Capital Stock
               but for provisions thereof giving holders thereof (or the holders of any security into or for which such Capital
               Stock is convertible, exchangeable or exercisable) the right to require the issuer thereof to redeem such Capital
               Stock upon the occurrence of any change of control, Qualifying IPO or any Disposition occurring prior to 9 1
               days following the Latest Maturity Date at the time such Capital Stock is issued shall not constitute Disqualified
               Capital Stock if such Capital Stock provides that the issuer thereof will not redeem any such Capital Stock
               pursuant to such provisions prior to the Termination Date.

                        Notwithstanding the preceding sentence, (A) if such Capital Stock is issued pursuant to any plan for the
               benefit of directors, officers, employees, members of management, managers or consultants or by any such plan
               to such directors, officers, employees, members of management, managers or consultants, in each case in the
               ordinary course of business of Holdings, the Top Borrower or any Restricted Subsidiary, such Capital Stock
               shall not constitute Disqualified Capital Stock solely because it may be required to be repurchased by the issuer
               thereof in order to satisfy applicable statutory or regulatory obligations, and (B) no Capital Stock held by any
               future, present or former employee, director, officer, manager, member of management or consultant (or their
               respective Affiliates or Immediate Family Members) of the Top Borrower (or any Parent Company or any
               subsidiary) shall be considered Disqualified Capital Stock because such stock is redeemable or subject to
               repurchase pursuant to any management equity subscription agreement, stock option, stock appreciation right or
               other stock award agreement, stock O\-Vnership plan, put agreement, stockholder agreement or similar agreement
               that may be in effect from time to time.

                        "Disqualified Institution" means:

                                  (a)       (i) any Person identified in writing to, and approved by , the Administrative Agent (at
                        the Direction of the Required Lenders) on or prior to the Closing Date, (ii) any Affiliate of any Person
                        described in clause (i) above that is reasonably identifiable as an Affiliate of such Person on the basis
                        of such A:ffiliate' s name and (iii) any other Affiliate of any Person described in clauses (i) or (ill above
                        that is identified in a written notice to, and approved by , the Administrative Agent (at the Direction of
                        the Required Lenders) (each such person, a "Disqualified Lending Institution"),

                                 (b)      [reserved], or

                                 (c)      (i) any Person that is or becomes a Company Competitor and is identified as such in
                        writing to, and approved by, the Administrative Agent (at the Direction of the Required Lenders), (ii)
                        any Affiliate of any Person described in clause (i) above (other than any Affiliate that is a Bona Fide
                        Debt Fund) that is reasonably identifiable as an Affiliate of such person on the basis of such Affiliate' s
                        name and (iii) any other Affiliate of any Person described in clauses (i) and/or (ill above that is identified
                        in a written notice to, and approved by , the Administrative Agent (at the Direction of the Required
                        Lenders) (it being understood and agreed that no Bona Fide Debt Fund may be designated as
                        Disqualified Institution pursuant to this clause (iii)),




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               it being understood and agreed that no written notice de livered pursuant to clause (a)(iii). ~and/o r ~
               above shall apply retroactively to disqualify any Person that has previously acquired an assignment or
               participation interest in any Loan.

                        "Disqualified Lending Institution" has the meaning assigned to such term m the definition of
               " Disqualified Institution" .

                       "Disqualified Person" has the meaning assigned to such term in Section 9.05(f)(ii).

                       "Dollars" or "i" refers to lawful money of the U.S.

                        "Domestic Subsidiarv" means any Restricted Subsidiary incorporated or organized under the laws of
               the U.S., any state thereof or the District of Columbia.

                       "ECF Prepayment Amount" has the meaning assigned to such term in Section 2.1l(b)(i).

                       "Early Opt-in Election" means the occurrence of:

                        (a)      (i) a determination by the Administrative Agent or (ii) a notification by the Required Lenders
               to the Administrative Agent (with a copy to the Top Borrower) that the Required Lende rs have de te rmined that
               U.S. dollar-denominated syndicated credit facilities be ing executed at such time, or that include language similar
               to that contained in Sections 2.14(b) through @) are being executed or amended, as applicable, to incorporate or
               adopt a new benchmark interest rate to replace the LIBO Rate, and

                        (b)     (i) the election by the Administrative Agent and the Top Borrower or (ii) the election by the
               Required Lenders, with the written consent of the Top Borrower (such consent not to be unreasonably withheld
               or de layed) to declare that an Early Opt-in Election has occurred and the provision, as applicable, by the
               Administrative Agent and the Top Borrowe r of written notice of such election to the Lenders or by the Required
               Le nders and the Top Borrower of written notice of such election to the Administrative Age nt.

                        "EEA Financial Institution" means (a) any credit institution or investment firm established in any EEA
               Me mber Country w hich is subject to the superv ision of an EEA Resolution Authority, (b) any entity establishe d
               in an EEA Member Country which is a pare nt of an institution described in clause (a) of this definition , or (c)
               any financial institution established in an EEA Member Country which is a subsidiary of an institution described
               in clauses (a) or {hl of this definition and is subject to consolidated supen1ision w ith its parent.

                      "EEA Member Country" means any of the member states of the European Union, Iceland, Liechtenstein,
               and Norv, ay .

                        "EEA Resolution Authoritv " me ans any public administrative authority or any person entrusted w ith
               public administrative authority of any EEA Membe r Country (including any delegee) having respons ibility for
               the resolution of any EEA Financial Institution.

                        "Eligible Assignee" means (a) any Lender, (b) any commercial bank, insurance company , or fmance
               company, financial institution, any fund that invests in loans or any other "accredited investor" (as defined in
               Regulation D of the Securities Act), (c) any Affiliate of any Lender and (d) any Approved Fund of any Lender;
               provided that in any event, " Eligible Assignee" shall not include (i) any natural person, (ii) any Disqualified
               Institution or (iii) the Top Borrower or any of its Affiliates.

                        "Employee Benefit Plan" means any of (a) an "employee benefit plan" (as defined in ERISA) that is
               subject to Title I of ERISA, (b) a " plan" as defmed in and subject to Section 4975 of the Code, or (c) any Person
               whose assets include (for purposes of the Plan Asset Regulations) the assets of any such "employee benefit plan"
               or " plan".




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                       "Environment" means ambient air, indoor air, surface water, groundwater, drinking water, land surface
               and subsurface strata & natural resources such as wetlands, flora and fauna.

                        "Environmental Claim" means any investigation, notice, notice of violation, claim, action, suit,
               proceeding, demand, abatement order or other order or directive (conditional or otherwise), by any
               Governmental Authority or any other Person, arising (a) pursuant to or in connection with any actual or alleged
               violation of any Environmental Law; (b) in connection with any Hazardous Material or any actual or alleged
               Hazardous Materials Activity ; or (c) in connection with any actual or alleged damage, injury, threat or harm to
               the Environment.

                        "Environmental Laws" means any and all current or future applicable foreign or domestic, federal or
               state (or any subdivision of either of them), statutes, ordinances, orders, rules, regulations, judgments,
               Governmental Authorizations, or any other applicable requirements of Governmental Authorities and the
               common law relating to (a) environmental matters, including those relating to any Hazardous Materials Activity ;
               or (b) the generation, use, storage, transportation or disposal of or exposure to Hazardous Materials, in any
               manner applicable to the Top Borrower or any of its Restricted Subsidiaries or any Facility.

                        "Environmental Liability " means any liability, contingent or otherwise (including any liability for
               damages, costs of environmental remediation, fines, penalties or indemnities), directly or indirectly resulting
               from or based upon (a) any actual or alleged violation of any Environmental Law, (b) the generation, use,
               handling, transportation, storage, treatment or disposal of any Hazardous Materials, (c) exposure to any
               Hazardous Materials, (d) the Release or threatened Release of any Hazardous Materials into the Environment or
               (e) any contract, agreement or other consensual arrangement pursuant to which liability is assumed or imposed
               with respect to any of the foregoing.

                       "ERISA" means the Employee Retirement Income Security Act of 1974.

                       "ERISA Affiliate" means any trade or business (whether or not incorporated) that is under common
               control with the Top Borrower or any Restricted Subsidiary and is treated as a single employer within the
               meaning of Section 414 of the Code or Section 400 l of ERISA.

                        "ERISA Event" means (a) a Reportable Event with respect to a Pension Plan; (b) a withdrawal by the
               Top Borrower or any Restricted Subsidiary or any ERISA Affiliate from a Pension Plan subject to Section 4063
               of ERISA during a plan year in which it was a substantial employer (as defined in Section 400l (a)(2) of ERISA)
               or a cessation of operations at any facility of the Top Borrower or any Restricted Subsidiary or any ERISA
               Affiliate as described in Section 4062(e) of ERlSA, in each case, resulting in liability pursuant to Section 4063
               of ERlSA; (c) a complete or partial withdrawal by the Top Borrower or any Restricted Subsidiary or any ERISA
               Affiliate from a Multiemployer Plan resulting in the imposition of Withdrawal Liability on the Top Borrower or
               any Restricted Subsidiary or any ERISA Affiliate, notification of the Top Borrower or any Restricted Subsidiruy
               or any ERISA Affiliate concerning the imposition of Withdrawal Liability or notification that a Multiemployer
               Plan is "insolvent'' within the meaning of Section 4245 of ER.ISA or is in "reorganization'' within the meaning
               of Section 4241 ofERlSA; (d) the filing of a notice of intent to terminate a Pension Plan under Section 404l(c)
               of ERlSA, the treatment of a Pension Plan amendment as a termination under Section 404l(c) of ERISA, the
               commencement of proceedings by the PBGC to terminate a Pension Plan or the receipt by the Top Borrower or
               any Restricted Subsidiary or any ERISA Affiliate of notice of the treatment of a Multiemployer Plan amendment
               as a termination under Section 404 lA of ERISA or of notice of the commencement of proceedings by the PBGC
               to terminate a Multiemployer Plan; (e) the occurrence of an event or condition which constitutes grounds under
               Section 4042 of ERISA for the termination of, or the appointment of a trnstee to administer, any Pension Plan
               or Multiemployer Plan; (t) the imposition of any liability under T itle IV of ERISA, other than for PBGC
               premiums due but not delinquent under Section 4007 of ERISA, upon the Top Borrower or any Restricted
               Subsidiary or any ERISA Affiliate, with respect to the termination of any Pension Plan; or (g) the conditions for
               imposition of a Lien under Section 303(k) of ER.ISA have been met with respect to any Pension Plan.




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                      "EU Bail-In Legislation Schedule" means the EU Bail-In Legislation Schedule published by the Loan
               Market Association (or any successor person), as in effect from time to time.

                       "Event of Default" has the meaning assigned to such term in Article 7.

                       "Excess Cash Flow" means, for any Calculation Period, any amount (if positive) equal to:

                        (a)      Consolidated Adjusted EBITDA for such Calculation Period (without giving effect to clauses
               (b), (e) and (g) of the definition thereof, the amounts added back in reliance on which shall be deducted in
               detenuining Excess Cash Flow); plus

                       (b)     any extraordinary, unusual ornon-recurring cash gain during such Calculation Period (whether
               or not accrued in such Calculation Period) to the extent not otherwise included in Consolidated Adjusted
               EBITDA (including any component definition used therein); plus

                        (c)      any foreign currency exchange gain actually realized and received in cash in U.S. Dollars
               (including any currency re-measurement of Indebtedness, any net gain or loss resulting from Hedge Agreements
               for currency exchange risk resulting from any intercompany Indebtedness, any foreign currency translation or
               transaction or any other currency-related risk), net of any loss from foreign currency translation; plus

                        (d)      [reserved]; plus

                       (e)    an amount equal to all Cash received for such period on account of any net non-Cash gain or
               income from any Investment deducted in a previous period pursuant to clause (s)(ii) of this definition; plus

                         (f)        the decrease, if any, in Consolidated Working Capital from the first day to the last day of such
               Calculation Period, but excluding any such decrease in Consolidated Working Capital arising from (i) the
               acquisition or Disposition of any Person by the Top Borrower or any Restricted Subsidiary, (ii) the
               reclassification during such period of current assets to long tenu assets and current liabilities to long term
               liabilities, (iii) the application of purchase and/or recapitalization accounting and/or (iv) the effect of any
               fluctuation in the amount of accrned and contingent obligations under any Hedge Agreement; minus

                        (g)     the amount, if any, which, in the determination of Consolidated Adjusted EBITDA (including
               any component definitions used therein) for such Calculation Period, has been included in respect of income or
               gain from any Disposition outside of the ordinary course of business (including Dispositions constituting covered
               losses or taking of assets referred to in the definition of " Net Insurance/Condemnation Proceeds") of the Top
               Borrower and/or any Restricted Subsidiary; minus

                        (h)      cash payments actually made in respect of the fo llowing (without duplication):

                       (i)       any Investment permitted by Section 6.06 (other than Investments (i) in Cash or Cash
               Equivalents or (ii) in any Loan Party and/or any Restricted Payment permitted by Section 6.04(a) and actually
               made in cash during such Calculation Period or, at the option of the Top Borrower, made prior to the date the
               Top Borrower is required to make a payment of Excess Cash Flow in respect of such Excess Cash Flow Period,
               (A) except to the extent the relevant Investment and/or Restricted Payment is financed with the proceeds of long
               term funded Indebtedness (other than revolving Indebtedness) and (B) without duplication of any amounts
               deducted from Excess Cash Flow for a prior Calculation Period;

                       (ii)     any realized foreign currency exchange losses actually paid or payable in cash (including any
               currency re-measurement of Indebtedness, any net gain or loss resulting from Hedge Agreements for currency
               exchange risk resulting from any intercompany Indebtedness, any foreign currency translation or transaction or
               any other currency-related risk);




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                        (iii)    the aggregate amount of any extraordinaty, unusual or non-recurring cash Charge (whether or
               not incurred in such Calculation Period) excluded in calculating Consolidated Adjusted EBITDA (including any
               component definitions used therein);

                        (iv)    consolidated Capital Expenditures actually made in cash during such Calculation Period or, at
               the option of the Top Borrower, in the case of any Excess Cash Flow Period, made prior to the date the Top
               Borrower is required to make a payment of Excess Cash Flow in respect of such Excess Cash Flow Period, (A)
               except to the extent financed with the proceeds of long term funded Inde btedness (other than revolving
               Inde btedness) and (B) without duplication of any amounts deducted from Excess Cash Flow for a prior
               Calculation Period;

                       (v)      any long-term liability, excluding the current portion of any such liability (other than
               Indebtedness) of the Top Borrower and/or any Restricted Subsidiaiy;

                         (vi)     any cash Charge added back in calculating Consolidated Adjusted EBITDA pursuant to c lause
               (c) of the definition thereof or excluded from the calculation of Consolidated Net Income in accordance with the
               definition thereof;

                        (vii)   the aggregate amount of expenditu res actually made by the Top Borrower and/or any Restricted
               Subsidiaiy during such Fiscal Year (including any expenditure for the payment offinancing fees) to the extent
               that such expenditures are not expensed; minus

                       (i)      [reserved]; minus

                        (i)     Consolidated Interest Expense actually paid or payable in cash by the Top Borrower and/or any
               Restricted Subsidiaty during such Calculation Period; minus

                        (k)      Taxes (inclusive of Taxes paid or payable under tax sharing agreements or arrangements and/or
               in connection with any intercompany distribution) paid or payable by Borrower and/or any Restricted Subsidiaiy
               with respect to such Calculation Period; minus

                         (1)       the increase, if any, in Consolidated Working Capital from the first day to the last day of such
               Calculation Period, but excluding any such increase in Consolidated Working Capital arising from (i) the
               acquisition or Disposition of any Person by the Top Borrower or any Restricted Subsidiaiy, (ii) the
               reclassification during such period of current assets to long term assets and current liabilities to long term
               liabilities, (iii) the application of purchase and/or recapitalization accounting and/or (iv) the effect of any
               fluctuation in the amount of accnied and contingent obligations under any Hedge Agreement; minus

                        (m)      the amount of any Tax obligation of the Top Borrower and/or any Restricted Subsidiaty that is
               estimated in good faith by the Top Borrower as due and payable (but is not currently due and payable) by the
               Top Borrower and/or any Restricted Subsidiaiy as a result of the repatriation of any dividend or similar
               distribution of net income of any Foreign Subsidiaiy to the Top Borrower or any Restricted Subsidiaiy; minus

                         (n)      without duplication of amounts deducted from Excess Cash Flow in respect of a prior period,
               at the option of the Top Borrower, the aggregate consideration (i) required to be paid in Cash by the Top
               Borrower or its Restricted Subsidiaries pursuant to binding contracts entered into prior to or during such period
               re lating to Capital Expenditures, acquisitions or Investments and Restr icted Payments described in clause (h)(i)
               above and/or (ii) otherwise committed or budgeted to be made in connection with Capital Expenditures,
               acquisitions or Investments and/or Restricted Payments described in clause (h)(i) above (clauses (i) and (ii), the
               " Scheduled Consideration") (other than Investments in (A) Cash and Cash Equivalents and (B) the Top Borrower
               or any of its Restricted Subsidiaries) to be consummated or made during the period of four consecutive Fiscal
               Quarters of the Top Borrower following the end of such period (except, in each case, to the extent financed with
               long term funded Indebtedness (other than revolving Indebtedness)); provided that to the extent the aggregate




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               amount actually utilized to finance such Capital Expenditures, acqutstttons or Investments or Restricted
               Payments during such subsequent period of four consecutive Fiscal Quarters is less than the Scheduled
               Consideration, the amount of the resulting shortfall shall be added to the calculation of Excess Cash Flow at the
               end of such subsequent period of four consecutive Fiscal Quarters; minus

                        (o)       amounts added to Consolidated Net Income, in each case to the extent paid in cash, under clause
               (h) of the definition of "Consolidated Adjusted EBITDA"; minus

                        (p)     cash payments (other than in respect of T axes, which are governed by clause (k) above) made
               during such Calculation Period for any liability the accnial of ·which in a prior Calculation Period resulted in an
               increase in Excess Cash Flow in such prior period (provided that there was no other deduction to Consolidated
               Adjusted EBITDA or Excess Cash Flow related to such payment), except to the extent financed with long term
               funded Indebtedness (other than revolving Indebtedness); minus

                         (q)     cash expenditures made in respect of any Hedge Agreement during such period to the extent (i)
               not othen ¥ise deducted in the calculation of Consolidated Net Income or Consolidated Adjusted EBITDA and
               (ii) not financed with long term funded Indebtedness (other than revolving Indebtedness); minus

                       (r)      amounts paid in Cash (except to the extent financed with long tenn funded Indebtedness (other
               than revolving Indebtedness)) during such period on account of (i) items that were accounted for as non-Cash
               reductions of Consolidated Net Income or Consolidated Adjusted EBITDA in a prior period and (ii) reserves or
               amounts established in purchase accounting to the extent such reserves or amounts are added back to, or not
               deducted from, Consolidated Net Income; minus

                       (s)      an amount equal to the sum of (i) the aggregate net non-Cash loss on any non-ordinary course
               Disposition by the Top Borrower, any Restricted Subsidiary during such period (other than any Disposition
               among the Top Borrower, any Restricted Subsidiaries during such period) to the extent included in arriving at
               Consolidated Net Income and (ii) the aggregate net non-Cash gain or income from any non-ordinary course
               Investment to the extent included in arriving at Consolidated Adjusted EBITDA.

                       "Excess Cash Flow Period" means each Fiscal Year of the Top Borrower, commencing with the Fiscal
               Year of the Top Borrower ending on or about December 3 1, 2020.

                      "Exchange Act" means the Securities Exchange Act of 1934 and the rules and regulations of the SEC
               promulgated thereunder.

                       "Exchange Agreement" means that certain Open Market Purchase and Cashless Exchange Agreement,
               dated as of the Closing Date, among, inter abos, Ho ldings, the Borrowers, the Lenders party thereto and the
               Administrative Agent.

                       "Exchange Documents" means the Exchange Agreement, the Master Assignment Agreement, the
               Existing First Lien Credit Agreement Amendment and the Existing Second Lien Credit Agreement Amendment.

                       "Exchange Term Loans" means each tranche or class of term loans issued hereunder in exchange for
               Existing First Lien Loans and Existing Second Lien Loans.

                       "Exchanging First Lien Lenders" has the meaning assigned to such tenu in the Recitals.

                       "Exchanging Existing Lender" has the meaning assigned to such term in the Recitals.

                       "Exchanging Second Lien Lenders" has the meaning assigned to such term in the Recitals.




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                        "Excluded Accounts" means accounts (a) established (or otherwise maintained) by the Loan Parties that
               do not have cash balances with an average weekly balance exceeding $5,000,000 in the aggregate for all such
               accounts, (b) any Trust Fund Account, (c) used by the Loan Parties exclusively for disbursements and payments
               (including payroll) in the ordinary course of business, (d) that are zero balance accounts or (e) that are located
               outside of the United States.

                       "Excluded Assets" means each of the fo llowing:

                                (a)       any asset the grant or perfection of a security interest in which would (i) be prohibited
                       by enforceable anti-assignment provisions set forth in any contract that is permitted or otherwise not
                       prohibited by the terms of this Agreement and is binding on such asset at the time of its acquisition and
                       not incurred in contemplation thereof (other than assets subject to Capital Leases and purchase money
                       financings), (ii) violate ( after giving effect to applicable anti-assignment provisions of the U CC or other
                       applicable Requirements of Law) the tenus of any contract relating to such asset that is pem1itted or
                       othen-vise not prohibited by the terms of this Agreement and is binding on such asset at the time of its
                       acquisition and not incurred in contemplation thereof (other than in the case of Capital Leases and
                       purchase money financings), or (iii) trigger tenuination of any contract re lating to such asset that is
                       permitted or otherwise not prohibited by the terms of this Agreement pursuant to any "change of
                       control" or similar provision (to the ex1ent such contract is binding on such asset at the time of its
                       acquisition and not incurred in contemplation thereof); it being understood that the term "Excluded
                       Asset" shall not include proceeds or receivables arising out of any contract described in this c lause (a)
                       to the extent that the assignment of such proceeds or receivables is expressly deemed to be effective
                       under the UCC or other applicable Requirements of Law notwithstanding the relevant prohibition,
                       violation or termination right,

                                (b)       the Capital Stock of any (i) Unrestricted Subsidiary, (ii) not-for-profit subsidiary
                       and/or (iii) special purpose entity used for any permitted securitization facility,

                                (c)      any intent-to-use (or similar) Trademark application prior to the filing and acceptance
                       of a " Statement of Use", "Declaration of Use", "Amendment to Allege Use" or similar filing with
                       respect thereto, only to the extent, if any, that, and solely during the period if any, in which, the grant of
                       a security interest therein may impair the validity or enforceability of such intent-to-use (or similar)
                       Trademark application under applicable federal law,

                                (d)      any asset (inc luding Capital Stock), the grant or perfection of a security interest in
                       which would (i) be prohibited under applicable Requirements of Law (including rules and regulations
                       of any Governmental Authority) or (ii) require any governmental or regulatory consent, approval,
                       license or authorization, except to the extent such requirement or prohibition would be rendered
                       ineffective under the UCC or other applicable Requirements of Law notwithstanding such requirement
                       or prohibition; it being understood that the tenu "Excluded Asset" shall not include proceeds or
                       receivables arising out of any asset described in clauses (d)(i) or (d)(ii) to the extent that the assignment
                       of such proceeds or receivables is effective under the UCC or other applicable Requirements of Law
                       notwithstanding the relevant requirement or prohibition or (iii) result in material adverse tax
                       consequences to any Loan Party as reasonably determined by the Top Borrower and the Administrative
                       Agent (at the Direction of the Required Lenders),

                                (e)     (i) any leasehold Real Estate Asset, (ii) except to the extent a security interest therein
                       can be perfected by the fi ling of a UCC-1 financing statement, any other leaseho ld interests and (iii) any
                       owned Real Estate Asset (including, for the avoidance of doubt, the real property located at 3774
                       Interstate Park Road North, West Palm Beach, Florida 33404 (which, for the avoidance of doubt, shall
                       not be pledged to secure any ABL Facility or any Second Lien Facility)),




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                           (f)     the Capital Stock of any Person that is not a Wholly-Owned Subsidiary (other than the
                  Capital Stock of Serta),

                           (g)      any Margin Stock,

                          (h)      to the extent such Foreign Subsidiary or CFC Holdco is not a first-tier Subsidiary of,
                  a Loan Party, the Capital Stock of (i) any Foreign Subsidiary and (ii) any CFC Holdco,

                           (i)     the Capital Stock of any first-tier Foreign Subsidiary or CFC Holdco of a Loan Party,
                  which is fonned or acquired after the Closing Date, the grant or perfection of a security interest in which
                  would reasonably be expected to result in material adverse tax consequences to any Loan Party,

                         (i)       any Commercial Tort Claim with a value (as reasonably estimated by the Top
                  Bon-ower) of less than $1,000,000,

                           (k)      any Tax and Trust Funds,

                            (l)      any lease, license or agreement, or any property subject to a purchase money security
                  interest, Capital Lease obligations or similar arrangement, in each case, that is pem1itted or otherwise
                  not prohibited by the terms of this Agreement and to the extent the grant of a security interest therein
                  would violate or invalidate such lease, license or agreement or purchase money or similar arrangement
                  or create a right of termination in favor of any other party thereto (other than Holdings, the Top Borrower
                  or any Subsidiary of the Top Borrower) after giving effect to the applicable anti-assignment provisions
                  of the UCC or other applicable Requirements of Law; it being understood that the term «Excluded
                  Asset" sha.11 not include proceeds or receivables arising out of any asset described in this clause (k) to
                  the extent that the assignment of such proceeds or receivables is expressly deemed to be effective under
                  the UCC or other applicable Requirements of Law notw ithstanding the relevant violation or
                  invalidation, and

                            (m)      any asset with respect to which the Administrative Agent (at the Direction of the
                  Required Lenders) and the Top Borrower have reasonably detem1ined in writi11g that the cost, burden,
                  difficulty or consequence (including any effect on the ability of the Top Borrower and its subsidiaries
                  to conduct their operations and business in the ordinary course of business) of obtaining or perfecting a
                  security interest therein outweighs, or is excessive in light of, the practical benefit of a security interest
                  to the relevant Secured Parties afforded thereby.

                  "Excluded Subsidiary" means:

                           (a)      any Restricted Subsidiary that is not a Wholly-Owned Subsidiary,

                           (b)      any Immaterial Subsidiary,

                           (c)      any Restricted Subsidiary (i) that is prohibited or restricted from providi11g a Loan
                  Guaranty by (A) any Requirement of Law or (B) any Contractual Obligation that exists on the Closing
                  Date or at the time such Restricted Subsidiary becomes a subsidiary (which Contractual Obligation was
                  not entered iJ1to in contemplation of such Restricted Subsidiary becoming a subsidiary (including
                  pursuant to assumed Indebtedness)), (ii) that would require a governmental (including regulatory) or
                  third party consent, approval, license or authorization (including any regulatory consent, approval,
                  license or authorization) to provide a Loan Guaranty (in each case, at the time such Restricted Subsidiary
                  became a Subsidiary) or (iii) with respect to which the provision of a Loan Guaranty would result in
                  material adverse tax consequences as reasonably determined by the Required Lenders, where the
                  Required Lenders notify the Administrative Agent in a Direction of the Required Lenders of such
                  detennination,




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                                (d)      any not-for profit subsidiary,

                                (e)      [reserved],

                                (f)      any special purpose entity used for any pennitted securitization or receivables facility
                       or financing,

                                (g)      any Foreign Subsidiary,

                               (h)      (i) any CFC Holdco and/or (ii) any Domestic Subsidiary that is a direct or indirect
                       subsidiary of any Foreign Subsidiary that is a CFC,

                                (i)      any Unrestricted Subsidiary,

                                (i)      any Restricted Subsidiary acquired by the Top Borrower that, at the time of the relevant
                       acquisition, is an obligor in respect of assumed Indebtedness permitted by Section 6.01 to the extent
                       (and for so long as) the documentation governing the applicable assumed Indebtedness prohibits such
                       subsidiary from providing a Loan Guaranty (which prohibition was not implemented in contemplation
                       of such Restricted Subsidiary becoming a subsidiary in order to avoid the requirement of providing a
                       Loan Guaranty),

                                (k)     any other Restricted Subsidiary with respect to which, in the reasonable judgment of
                       the Required Lenders (which may be communicated via a Direction of the Required Lenders), the
                       burden or cost of providing a Loan Guaranty ouhveighs, or would be excessive in light of, the practical
                       benefits afforded thereby, and/or

                        "Excluded Swap Obligation" means, with respect to any Loan Guarantor, any Swap Obligation if, and
               to the extent that, all or a portion of the Loan Guaranty of such Loan Guarantor of, or the grant by such Loan
               Guarantor of a security interest to secure, such Swap Obligation (or any Loan Guaranty thereof) is or becomes
               illegal under the Commodity Exchange Act or any n,le, regulation or order of the Commodity Futures Trading
               Commission (or the application or official interpretation of any thereof) (a) by virtue of such Loan Guarantor' s
               failure for any reason to constitute an "eligible contract participant" as defined in the Commodity Exchange Act
               and the regulations thereunder (determined after giving effect to Section 3.20 of the Loan Guaranty and any
               other " keepwell", support or other agreement for the benefit of such Loan Guarantor) at the time the Loan
               Guaranty of such Loan Guarantor or the grant of such security interest becomes effective with respect to such
               Swap Obligation or (b) in the case of any Swap Obligation that is subject to a clearing requirement pursuant to
               section 2(h) of the Commodity Exchange Act, because such Loan Guarantor is a "financial entity," as defined
               in section 2(h)(7)(C) of the Commodity Exchange Act, at the time the guarantee provided by (or grant of such
               security interest by, as applicable) such Loan Guarantor becomes or would become effective with respect to such
               Swap Obligation. If any Swap Obligation arises under a master agreement governing more than one swap, such
               exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps for which such
               Loan Guaranty or security interest is or becomes illegal.

                       "Excluded Taxes" means, with respect to the Administrative Agent, any Lender, or any other recipient
               of any payment to be made by or on account of any obligation of any Loan Party under any Loan Document, (a)
               any Taxes imposed on (or measured by) such recipient's net income (however donominated) or franchise Taxes,
               (i) imposed as a result of such recipient being organized or having its principal office located in or, in the case
               of any Lender, having its applicable lending office located in, the taxing jurisdiction or (ii) that are Other
               Connection Taxes, (b) any branch profits Taxes imposed under Section 884(a) of the Code, or any similar Tax,
               imposed by any jurisdiction described in clause (a), (c) any U.S. federal withholding Tax that is imposed on
               amounts payable to or for the account of such Lender (other than a Lender that became a Lender pursuant to an
               assignment under Section 2.19) with respect to an applicable interest in a Loan or Commitment pursuant to a
               Requirement of Law in effect on the date on which such Lender (i) acquires such interest in the applicable




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               Commitment or, if such Lender did not fund the applicable Loan pursuant to a prior Commitment, on the date
               such Lender acquires its interest in such Loan or (ii) designates a new lending office, except in each case to the
               extent that, pursuant to Section 2.17, amounts with respect to such Ta'< were payable either to such Lender's
               assignor immediately before such Lender acquired the applicable interest in a Loan or Commitment or to such
               Lender immediately before it designated a new lending office, (d) any Tax imposed as a result of a failure by the
               Administrative Agent or such Lender to comply with Section 2.17(0 and (e) any U.S. federal withholdii1g Tax
               imposed under FATCA.

                       "Existing Credit Agreements" has the meanmg assigned to such tenn in the Recitals.

                       "Existing First Lien Credit Agreement" has the meaning assigned to such term in the Recitals.

                        "Existing First Lien Credit Agreement Amendment" has the meaning assigned to such term in the
               Recitals.

                       "Existing First Lien Loans" has the meaning assigned to such term in the Recitals.

                       "Existing Lenders" has the meaning assigned to such tenn in the Recitals.

                       "Existing Loans" has the meaning assigned to such term in the Recitals.

                       "Existing Second Lien Credit Agreement" has the meaning assigned to such tenn in the Recitals.

                        "Existing Second Lien Credit Agreement Amendment" has the meaning assigned to such term in the
               Recitals.

                       "Existing Second Lien Loans" has the meaning assigned to such term in the Recitals.

                       "Expected Cost Savings" has the meaning assigned to such tenn m the definition of "Consolidated
               Adjusted EBITDA" .

                       "Facility" means any real property (including all buildings, fixtures or other improvements located
               thereon) now, hereafter or, except with respect to Articles 5 and§., hereof owned, leased, operated or used by
               the Top Borro~ver or any of its Restricted Subsidiaries or any of their respective predecessors or Affiliates.

                        "FATCA" means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any
               amended or successor version that is substantively comparable and not materially more onerous to comply with),
               any current or future regulations or official interpretations thereof, any agreements entered into pursuant to
               current Section 1471 (b)(1) of the Code (or any amended or successor version described above) and any fiscal or
               regulatory legislation, rules or practices adopted pursuant to any intergovernmental agreement, treaty or
               convention among Governmental Authorities and implementing such Sections of the Code.

                       "FCPA" has the meanmg assigned to such term in Section 3.17(c).

                        "Federal Funds Effective Rate" means, for any day, the weighted average of the rates on overnight
               Federal funds transactions with members of the Federal Reserve System, as published on the next succeeding
               Business Day by the Federal Resen1e Bank of New York, or, if such rate is not so published for any day that is
               a Business Day, the average of the quotations for such day for such transactions received by Administrative
               Agent from three Federal funds brokers of recognized standing selected by it.

                        "Federal Resen;e Bank of New York's Website" means the website of the FRB of New York at
               http://www.newyorkfed.org, or any successor source.




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                      "Fee Letters" means (i) the Agent Fee Letter and (ii) Section 2.4 and Section 2.5 of the Exchange
               Agreement.

                        "First Lien Amendment Effective Date" means June 22, 2020.

                     "First Lien Collateral Agent" has the meaning set forth in the First Lien/Second Lien lntercreditor
               Agreement.

                        "First Lien Credit Agreement" means the First Lien Term Loan Agreement, dated as of November 8,
               2016, among, inter altos, Holdings, the Borro-wers, UBS, as administrative agent and collateral agent and the
               lenders from time to time party thereto.

                       "First Lien Facilitv " means the credit facility governed by the First Lien Credit Agreement and one or
               more debt facilities or other financing arrangements (including indentures) providing for loans and/or
               commitments or other long-term indebtedness that replace or refinance such credit facility, including any such
               replacement or refinancing facility (including any indenture) that increases or decreases the amount permitted to
               be borrowed thereunder or alters the maturity thereof and whether by the same or any other agent, trustee, lender
               or group of lenders, and any amendments, supplements, modifications, extensions, renewals, restatements,
               amendments and restatements or refundings thereof or any such credit faci lities or other debt facilities (including
               under indentures) that replace or refinance such credit facility or other Indebtedness (or any subsequent
               replacement thereof).

                        "First Lien Intercreditor Agreement" means the Priority First Lien Intercreditor Agreement and any
               other intercreditor agreement substantially in the fonn of Exhibit G-3 hereto, with any changes thereto as the
               Top Borrower and the Administrative Agent may agree in their respective reasonable discretion.

                        "First Lien Leverage Ratio" means the ratio, as of any date of detennination, of (a) Consolidated First
               Lien Debt as of the last day of the most recently ended Test Period to (b) Consolidated Adjusted EBITDA for
               the Test Period then most recently ended, in each case of the Top Borrower and its Restricted Subsidiaries on a
               consolidated basis.

                         "First Lien/Second Lien lntercreditor Agreement" means the First Lien/Second Lien lntercreditor
               Agreement in the form of Exhibit G-2, dated as of the November 8, 2016, among, inter altos, the Administrative
               Agent, as agent for the Term Lenders (by virtue of the execution and delivery of a Joinder Agreement ( as defined
               therein)), the First Lien Administrative Agent, as agent for the First Lien Claimholders referred to therein, the
               Second Lien Collateral Agent, as agent for the Second Lien Claimholders referred to therein, and the Loan
               Parties from time to time party thereto.

                        "Fiscal Quarter" means a fiscal quarter of any Fiscal Year.

                        "Fiscal Year" means the fiscal year of the Top Borrower ending on the last Saturday of each calendar
               year.

                       "Foreign Lender" means any Lender that is not a " United States person" within the meaning of
               Section 770l(a)(30) of the Code.

                        "Foreign Subsidiarv" means any Restricted Subsidiary that is not a Domestic Subsidiary.

                        "FRB" means the Board of Governors of the Federal Reserve System of the U.S.

                       "GAAP" means generally accepted accounting principles in the U.S. in effect and applicable to the
               accounting period in respect of which reference to GAAP is made.




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                        "Governmental Authority" means any federal, state, municipal, national or other government,
               governmental department, commission, board, bureau, court, agency or instrumentality or political subdivision
               thereof or any e ntity or officer exercising executive, legislative, judicial, regulatory or administrative functions
               of or pertaining to any government or any court, in each case whether associated with the U.S., a foreign
               government or any political subdivision thereof.

                       "Governmental Authorization" means any pe rmit, license, authorization, approval, plan, directive,
               consent order or consent decree of or from any Governmental Authority.

                        "Granting Lender" has the meaning assigned to such tem1 in Section 9.05(e).

                        "Guarantee" of or by any Person (the " Guarantor") means any obligation, contingent or otherwise, of
               the Guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness or other monetary
               obligation of any other Person (the " Primary Obligor") in any manner and including any obligation of the
               Guarantor (a) to purchase or pay (or advance or supply funds for the purchase or payment of) such Inde btedness
               or other mone tary obligation or to purchase (or to advance or supply funds for the purchase of) any security for
               the payme nt thereof, (b) to purc hase or lease property, securities or services for the purpose of assuring the ovmer
               of such Inde btedness or other mone tary obligation of the payment thereof, (c) to maintain working capital, equity
               capital or any other financial statement condition or liquidity of the Primary Obligor so as to enable the Primary
               Obligor to pay such Indebtedness or other monetmy obligation, (d) as an account party in respect of any le tter
               of credit or letter of guaranty issued to support such Indebtedness or monetary obligation, (e) ente red into for the
               purpose of assuring in any other manner the obligee in respect of such Inde btedness or othe r mone tary obligation
               of the payment or perfomtance thereof or to protect such obligee against loss in respect thereof (in whole or in
               part) or (f) secured by any Lien on any assets of such Guarantor securing any Inde btedness or other monetary
               obligation of any other Person, whether or not such Indebtedness or monetary other obligation is assumed by
               such Guarantor (or any right, contingent or otherv,rise, of any holder of such Indebtedness or other monetary
               obligation to obtain any such Lien); provided that the term " Guarantee" shall not include endorsements for
               collection or de posit in the ordinary course of business, or custom ary and reasonable inde m11ity obligations in
               effect on the Closing Date or entered into in connection with any acquisition, Disposition or other transaction
               permitted under this Agreement (other than such obligations w ith respect to Indebtedness). The amount of any
               Guarantee shall be deemed to be an amount equal to the stated or determinable amount of the related primary
               obligation, or portion thereof, in respect of which such Guarantee is made or, if not stated or determinable, the
               maximum reasonably anticipated liability in respect thereof as de termined by the guaranteeing Person in good
               faith.

                       "Hazardous Materials" means any chemical, material, substance or waste, or any constituent thereof,
               which is prohibited, limited or regulated under any Environmental Law or by any Governmental Authority or
               which poses a hazard to the Environment or to human health and safety, including w ithout limitation, petroleum
               and petroleum by-products, asbestos and asbestos-containing materials, polychlorinated biphe ny ls, medical
               waste and pharmaceutical waste.

                       "Hazardous Materials Activity" means any past, curre nt, proposed or threate ned activity, event or
               occurrence involving any Hazardous Material, including the use, manufacture, possession, storage, holding,
               presence, existence, location, Release, threatened Release, discharge, placement, generation, transportation,
               processing, construction, treatment, abatement, removal, remediation, disposal, disposition or handling of any
               Hazardous Material, and any corrective action or response action with respect to any of the foregoing.

                      "Hedge Agreeme nt" means any agreeme nt with respect to any De rivative Transaction between any
               Loan Party or any Restricted Subsidiary and any othe r Person.

                      "Hedging Obligations" means, with respect to any Pe rson, the obligations of such Pe rson under any
               Hedge Agreement.




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                       "Holdings" has the meaning assigned to such tenn in the preamble to this Agreement and shall, for the
               avoidance of doubt, include any Successor Holdings.

                        "IFRS" means international accounting standards within the meaning of the IAS Regulation 1606/2002,
               as in effect from time to time (subject to the provisions of Section 1.04), to the extent applicable to the relevant
               financial statements.

                        "Immaterial Subsidiary" means, as of any date, any Restricted Subsidiary of the Top Borrower; the
               assets of which, when taken together with the assets of all other Restricted Subsidiaries that are Immaterial
               Subsidiaries, do not exceed 5.00% of Consolidated Total Assets of the Top Borrower and its Restricted
               Subsidiaries and the contribution to Consolidated Adjusted EBITDA of which, when taken together with the
               contribution to Consolidated Adjusted EBITDA of all other Immaterial Subsidiaries, does not exceed 5.00% of
               Consolidated Adjusted EBITDA of the Top Borrower and its Restricted Subsidiaries, in each case, as of the last
               day of the most recently ended Test Period; provided further that, at all times prior to the first delivery of financial
               statements pursuant to Section 5.0l(a) or (hl, this definition shall be applied based on the unaudited consolidated
               financial statements of the Top Borrower for the Fiscal Quarter ended March 28, 2020.

                        "Immediate Family Member" means, with respect to any individual, such individual' s child, stepchild,
               grandchild or more remote descendant, parent, stepparent, grandparent, spouse, former spouse, domestic partner,
               former domestic partner, sibling, mother-in-law, father-in-law, son-in-law and/or daughter-in-law and/or
               (including any adoptive relationship), any trust, partnership or other bona fide estate-planning vehicle the only
               beneficiaries of which are any of the foregoing individuals, such individual's estate (or an executor or
               administrator acting on its behalt), heirs or legatees or any private foundation or fund that is controlled by any
               of the foregoing individuals or any donor-advised fund of which any such individual is the donor.

                        "Indebtedness" as applied to any Person means, without duplication:

                                 (a)      all indebtedness for borrowed money;

                                  (b)      that portion of obligations with respect to Capital Leases to the extent recorded as a
                        liability on a balance sheet (excluding the footnotes thereto) of such Person prepared in accordance with
                        GAAP;

                                 (c)      all obligations of such Person evidenced by bonds, debentures, notes or similar
                        instruments to the extent the same would appear as a liability on a balance sheet (excluding the footnotes
                        thereto) of such Person prepared in accordance with GAAP;

                                  (d)      any obligation of such Person owed for all or any part of the deferred purchase price
                        of property or services (excluding (i) any earn out obligation or purchase price adjustment until such
                        obligation (A) becomes a liability on the statement of financial position or balance sheet (excluding the
                        footnotes thereto) in accordance with GAAP and (B) has not been paid within 30 days after becoming
                        due and payable, (ii) any such obligations incurred under ERISA, (iii) accrued expenses and trade
                        accounts payable in the ordinary course of business (including on an inter-company basis) and (iv)
                        liabilities associated with customer prepayments and deposits), which purchase price is (A) due more
                        than six months from the date of incurrence of the obligation in respect thereof or (B) evidenced by a
                        note or similar written instrument);

                                (e)      all Indebtedness of others secured by any Lien on any asset owned or held by such
                        Person regardless of whether the Indebtedness secured thereby have been assumed by such Person or is
                        non-recourse to the credit of such Person;

                                (f)     the face amount of any letter of credit issued for the account of such Person or as to
                        which such Person is otherwise liable for reimbursement of drawings;




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                                (g)      the Guarantee by such Person of the Inde btedness of another;

                                (h)      all obligations of such Person in respect of any Disqualified Capital Stock; and

                              (i)     all net obligations of such Pe rson in respect of any Derivative Transaction, including
                       any Hedge Agreement, whether or not entered into for hedging or speculative purposes;

               provided that (i) the amount of Indebtedness of any Person for purposes of clause (e) shall be deemed to be equal
               to the lesser of (A) the aggregate unpaid amount of such Indebtedness and (B) the fair market ·value of the
               property encumbered the reby as de termined by such Person in good faith and (ii) the tem1 "Inde btedness", as it
               applies to the Top Borrower and its Restricted Subsidiaries, shall exclude inte rcompany Inde btedness so long
               as, in the case of any Indebtedness owed by any Loan Party to any Restricted Subsidiary that is not a Loan Party,
               such Indebtedness is unsecured and subordinated to the Obligations and evidenced by the Intercompany Note.

                        For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any third
               person (including any partnership in w hich such Person is a general partner and any unincorporated joint venture
               in which such Person is a joint venture) to the extent such Pe rson would be liable therefor under applicable
               Requirements of Law or any agreement or instrument by virtue of such Person 's ownership interest in such
               Person, (A) except to the extent the terms of such Indebtedness provide that such Person is not liable therefor
               and (B) only to the extent the re levant Indebtedness is of the type that would be included in the calculation of
               Consolidated Total Debt: provided that, notwithstanding anything herein to the contrary, the term " Indebtedness"
               shall not include, and shall be calculated w ithout giving effect to, (x) the effects of Accounting Standards
               Codification Topic 815 and re lated interpretations to the exte nt such effects would other.vise increase or decrease
               an amount of Indebtedness for any purpose he reunder as a result of accounting for any embedded de rivatives
               created by the tenus of such Indebtedness (it being understood that any such amounts that would have constituted
               Indebtedness hereunde r but for the application of this proviso shall not be deemed an incurrence of Indebtedness
               hereunder) and (y) the effects of Statement of Financial Accounting Standards No. 133 and related interpretations
               to the extent such effects would other.vise increase or decrease an amount oflndebtedness for any purpose under
               this Agreement as a result of accounting for any embedded de rivative create d by the terms of such Inde btedness
               (it being understood that any such amounts that would have constituted Indebtedness under this Agreement but
               for the application of this sentence shall not be deemed to be an incurrence of Indebtedness under this
               Agreement).

                        "Indemnified Taxes" means all Taxes, other than Excluded Taxes or Othe r Taxes, imposed o n or w ith
               respect to any payment made by or on account of any obligation of any Loan Party unde r any Loan Document.

                       "lndemnitee" has the meaning assigned to such tem1 in Section 9.03(b).

                       "Initial Exchange Term Loans" has the meaning assig ned to such term in the Recitals.

                         "Initial lntercreditor Agreements" m eans the ABL lntercreditor Agreement, the Priority First Lien
               lnte rcreditor Agreement and the First Lien/Second Lien Intercreditor Agreement.

                        "Initial Lenders" means (a) the Lenders with outstanding New Money Term Loans and (b) the Lenders
               with o utstanding Initial Exchange Tenn Loans, in each case, on the Closing Date.

                        "Initial Term Lender" means any Lender w ith an outstanding New Money Term Loan and any Lender
               with an outstanding Initial Exchange Term Loan, as applicable.

                       "Initial Term Loans" means the Initial Exchange Term Loans and the N ew Money Term Loan.

                         "Intellectual Property Security Agreement" means any agreement, or a supplement the re to, executed on
               or after the Closing Date confirming or effecting the grant of any Lien on IP Rights owned by any Loan Party to




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               the Administrative Agent, for the benefit of the Secured Parties, in accordance with this Agreement and the U.S.
               Security Agreement, including an Intellectual Property Security Agreement substantially in the form of Exhibit
               ~-
                       "lntercompany Note" means a promissory note substantially in the form of Exhibit F.

                        "lntercreditor Agreements" means the ABL lntercreditor Agreement, the Priority First Lien
               lntercreditor Agreement, the First Lien/Second Lien Intercreditor Agreement and any other Acceptable
               lntercreditor Agreement.

                       "Interest Election Request" means a request by the relevant Borrower in the fonn of Exhibit Hor another
               form reasonably acceptable to the Administrative Agent to convert or continue a Borrowing in accordance with
               Section 2.08.

                      "Interest Payment Date" means the fifteenth day of each calendar month (with the first such Interest
               Payment Date after the Closing Date being August 15, 2020) and the maturity date applicable to such Term
               Loan.

                        "Interest Period" means with respect to any LIBO Rate Borrowing, the period commencing on the date
               of such Borrowing and ending on the numerically corresponding day in the calendar month that is one, two or
               three months thereafter, as the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) may
               elect; provided that (i) if any Interest Period would end on a day other than a Business Day, such Interest Period
               shall be extended to the next succeeding Business Day and (ii) the first such Interest Period shall be the period
               commencing on the Closing Date and ending on July 15, 2020, as the Top Borrower elects. For purposes hereof,
               the date of a Borrowing initially shall be the date on which such Borrowing is made and thereafter shall be the
               effective date of the most recent conversion or continuation of such Borrowing.

                        "Interpolated Rate" shall mean, in relation to any LIBO Rate Loan, the rate per annum determined by
               the Administrative Agent (which determination shall be conclusive and binding absent manifest error) to be
               equal to the rate that results from interpolating on a linear basis between: (a) the applicable Published LIBO Rate
               for the longest period (for which the applicable Published LlBO Rate is available) that is shorter than the Interest
               Period of that Published LIBO Rate Loan and (b) the applicable Published LIBO Rate for the shortest period
               (for which such Published LIBO Rate is available) that exceeds the Interest Period of that LIBO Rate Loan, in
               each case, as of 11:00 a.m. (London time) hvo Business Days prior to the first day of such Interest Period.

                        "Investment" means (a) any purchase or other acquisition by the Top Borrower or any of its Restricted
               Subsidiaries of any of the Securities of any other Person (other than any Loan Party), (b) the acquisition by
               purchase or otherwise (other than any purchase or other acquisition of inventory, materials, supplies and/or
               equipment in the ordinary course of business) of all or a substantial portion of the business, property or fixed
               assets of any other Person or any division or line of business or other business unit of any other Person and (c)
               any loan, advance (other than any advance to any current or former employee, officer, director, member of
               management, manager, consultant or independent contractor of the Top Borrower, any Restricted Subsidiary, or
               any Parent Company for moving, entertainment and travel expenses, drawing accounts and similar expenditures
               in the ordinary course of business) or capital contribution by the Top Borrower or any of its Restricted
               Subsidiaries to any other Person (in each case, excluding any intercompany loan, advance or Indebtedness among
               the Top Borrower and its Restricted Subsidiaries so long as, in the case of any such loan, advance or
               Indebtedness owed by any Loan Party to any Restricted Subsidiary that is not a Loan Party, such loan, advance
               or Indebtedness is unsecured and subordinated to the Obligations and evidenced by the Intercompany Note).
               Subject to Section 5.10, the amount of any Investment shall be the original cost of such Investment, plus the cost
               of any addition thereto that otherwise constitutes an Investment, without any adjustments for increases or
               decreases in value, or write-ups, write-downs or write-offs with respect thereto, but giving effect to any
               repayments of principal in the case of any Investment in the form of a loan and any return of capital or return on
               Investment in the case of any equity Investment (whether as a distribution, dividend, redemption or sale but not




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               in excess of the amount of the relevant initial Investment). It is understood and agreed that any licensing and/or
               royalty fees or revenues received by National Bedding and paid to Serta in the ordinary course of business
               pursuant to contractual arrangements with minority shareholders are not, and shall not constitute, "Investments"
               for purposes of this Agreement or any other Loan Document.

                        "Investors" means (a) the Sponsors, (b) the Management Investors and (c) other investors that, directly
               or indirectly , beneficially own Capital Stock in Holdings on the Closing Date.

                       "Information" has the meaning assigned to such term in Section 3.11 (a).

                       "IP Rights" has the meaning assigned to such term in Section 3.05(c).

                       "IRS" means the U.S. Internal Revenue Service.

                       "Joinder Agreement" means a Joinder Agreement substantially in the form of Exhibit K or such other
               form that is reasonably satisfactory to the Administrative Agent and the Top Borrower.

                        "Junior Indebtedness" means any Indebtedness (other than Indebtedness among Holdings, the Top
               Borrower and/or its subsidiaries) of the Top Borrower or any of its Restricted Subsidiaries that is expressly
               subordinated in right of payment to the Obligations with an individual outstanding principal amount in excess
               of the Threshold Amount. For the avoidance of doubt, Subsequent Junior Exchange Tenn Loans shall not
               constitute Junior Indebtedness.

                        "Junior Lien Indebtedness" means any Indebtedness (other than Indebtedness among Holdings, the Top
               Borrower and/or its subsidiaries) that is secured by a security interest on the Term Loan Priority Collateral that
               is expressly j unior or subordinated to the Lien securing the Credit Facilities with respect to the Tem1 Loan
               Priority Collateral, with an individual outstanding principal amount in excess of the Threshold Amount. For the
               avoidance of doubt, Indebtedness outstanding under the ABL Credit Agreement shall not constitute Junior Lien
               Indebtedness for any purpose under this Agreement or the other Loan Documents.

                       "Latest Maturity Date" means, as of any date of determination, the latest maturity or expiration date
               applicable to any Loan or commitment hereunder at such time, including the latest maturity or expiration date
               of any New Money Tenn Loan, Initial Exchange Tenn Loan and Subsequent Junior Exchange Term Loan.

                       "Legal Reservations" means the application of relevant Debtor Relief Laws, general principles ofequity
               and/or principles of good faith and fair dealing.

                       "Lenders" means the Initial Lenders and any other Person that becomes a party hereto pursuant to (a)
               an Assignment Agreement, other than any such Person that ceases to be a party hereto pursuant to an Assignment
               Agreement or (b) a sale, assignment or transfer of "Loans" outstanding under, and as defin ed in, the First Lien
               Credit Agreement and the Second Lien Credit Agreement, as applicable, into Loans deemed to be made
               hereunder pursuant to Section 2.22.

                       "LlBO Rate" means, the Published LIBO Rate, as adjusted to reflect applicable statutory reserves
               prescribed by governmental authorities: provided that in no event shall the LIBO Rate be less than 1.00% per
               annum.

                         "Lien" means any mortgage, pledge, hypolhecation, assignment, deposit arrangement, encumbrance,
               lien (statutory or other), charge, or preference, priority or other security interest or preferential arrangement of
               any kind or nature whatsoever (including any conditional sale or other title retention agreement, any easement,
               right of way or other encumbrance on title to real property, and any Capital Lease having substantially the same
               economic effect as any of the foregoing), in each case, in the nature of security: provided that in no event shall
               an operating lease in and of itself be deemed to constitute a Lien.




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                        "LLC Division" has the meaning assigned to such tenu in Section 1.12.

                       "Loan Documents" means this Agreement, any Promissory Note, the Fee Le tters, the Loan Guaranty,
               the Collateral Documents, the Intercreditor Agreements to which the Borrowers are a party, each Subsequent
               Exchange Term Loan Facility Amendment and any other agreement, document or instrument designated by the
               Top Borrower and the Administrative Agent as a " Loan Document." Any reference in this Agreement or any
               other Loan Document to any Loan Document shall include all appendices, exhibits or schedules thereto.

                       "Loan Guarantor'' means (a) Holdings and (b) any Subsidiary Guarantor.

                       "Loan Guaranty" means the Super-Priority Guaranty Agreement, substantially in the form of Exhibit I,
               executed by each Loan Guarantor and the Administrative Agent for the benefit of the Secured Parties, as
               supplemented in accordance with the terms of Section 5.12.

                       "Loan Installment Date" has the meaning assigned to such term in Section 2.1 0(a).

                        "Loan Parties" means Holdings, each Borrower and each Subsidiary Guarantor.

                        "Loans" means any Term Loans.

                        "Make-Whole Premium" means, with respect to any Term Loans that are accelerated or otherwise
               become due for any reason unde r this Agreement prior to the eighteen (18) month anniversary of the Closing
               Date, a premium in an amount equal to I 0% of the aggregate principal amount of the Term Loans so accelerated
               or otherwise then due.

                      "Management Investors" means the officers, directors, managers, employees and members of
               manage ment of the Top Borrower, any Parent Company and/or any subsidiary of the Top Borrower.

                        "Margin Stock" has the meaning assigned to such term in Regulation U.

                       "Master Assignment Agreement" means that certain Master Assignment and Acceptance, dated as of
               the Closing Date, by and among, inter alias, Holdings, the Top Borrower, National Bedding, SSB Manufacturing
               and the Exchanging Existing Lenders.

                        "Material Adverse Effect" means a material adverse effect on (a) the business, assets, financial condition
               or results of operations, in each case, of the Top Borrower and its Restricted Subsidiaries, taken as a whole, (b)
               the rights and remedies (taken as a whole) of the Administrative Agent under the applicable Loan Documents or
               (c) the ability of the Loan Parties (taken as a whole) to perform their payment obligations under the applicable
               Loan Documents.

                       "Material Debt Instrument" means any physical instrument evidencing any Indebtedness for borro\-ved
               money which is required to be pledged and delivered to the Administrative Agent (or its bailee) pursuant to the
               U.S. Security Agreement.

                         "Maturity Date" means (a) August IO, 2023, (b) the date upon which a Disposition of all or substantially
               all of the assets of the Top Borrower and its subsidiaries (taken as a whole) occurs and ( c) the date of acceleration
               of the Obligations in accordance with the provisions of this Agreement.

                       "Maximum Rate" has the meaning assigned to such term in Section 9.19.

                        "Moody' s" means Moody' s Investors Service, Inc.




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                       "Multiemployer Plan" means any employee benefit plan which is a "multiemployer plan" as defined in
               Section 3(37) of ERIS A that is subject to the provisions of Title IV of ERISA, and in respect of which the Top
               Borrower or any of its Restricted Subsidiaries, or any of their respective ERIS A Affiliates, makes or is obligated
               to make contributions or with respect to which any of them has any ongoing obligation or liability, contingent
               or otherwise.

                       "National Bedding" has the meaning assigned to such term in the preamble.

                         "Net Insurance/Condemnation Proceeds" means an amount equal to: (a) any Cash payments or proceeds
               (including Cash Equivalents) received by the Top Borrower or any of its Restricted Subsidiaries (i) under any
               casualty insurance policy in respect of a covered loss thereunder of any assets of the Top Borrower or any of its
               Restricted Subsidiaries or (ii) as a result of the taking of any assets of the Top Borrower or any of its Restricted
               Subsidiaries by any Person pursuant to the power of eminent domain, condemnation or otherv,ise, or pursuant
               to a sale of any such assets to a purchaser with such power under threat of such a taking, minus (b) (i) any actual
               out-of-pocket costs and expenses incurred by the Top Borrower or any of its Restricted Subsidiaries in
               connection with the adjustment, settlement or collection of any claims of the Top Borrower or the relevant
               Restricted Subsidiary in respect thereof, (ii) payment of the outstanding principal amount of, premium or penalty,
               if any, and interest and other amounts on any Indebtedness (excluding the Loans, Indebtedness under the First
               Lien Credit Agreement, Indebtedness under the Second Lien Credit Agreement, any Indebtedness under the
               ABL Facility and any Indebtedness secured by a Lien on the Term Loan Priority Collateral that is pari passu
               with or expressly subordinated to the Lien on the Tenn Loan Priority Collateral securing any Secured Obligation)
               that is secured by a Lien on the assets in question and that is required to be repaid or otherwise comes due or
               would be in default under the terms thereof as a result of such loss, taking or sale, (iii) in the case of a taking,
               the reasonable out-of-pocket costs of putting any affected property in a safe and secure position, (iv) any selling
               costs and out-of-pocket expenses (including reasonable broker's fees or commissions, legal fees, accountants'
               fees, investment banking fees, survey costs, title insurance premiums, and related search and recording charges,
               transfer taxes, deed or mortgage recording taxes, other customary expenses and brokerage, consultant and other
               customary fees actually incurred in connection therewith transfer and similar Taxes and the Top Borrower' s
               good faith estimate of income Taxes paid or payable (including pursuant to Tax sharing arrangements or any
               intercompany distribution)) in connection with any sale or taking of such assets as described in clause (a) of this
               definition, (v) any amounts provided as a reserve in accordance with GAAP against any liabilities under any
               indemnification obligation or purchase price adjustments associated with any sale or taking of such assets as
               referred to in clause (a) of this definition (provided that to the extent and at the time any such amounts are
               released from such reserve, such amounts shall constitute Net Insurance/Condemnation Proceeds) and (vi) in the
               case of any covered loss or taking from any non-Wholly-Owned Subsidiary, the pro rata portion thereof
               (calculated without regard to this clause (vi)) attributable to minority interests and not available for distribution
               to or for the account of the Top Borrower or a Wholly-Owned Subsidiary as a result thereof.

                         "Net Proceeds" means (a) with respect to any Disposition (including any Prepayment Asset Sale), the
               Cash proceeds (including Cash Equivalents and Cash proceeds subsequently received (as and when received) in
               respect of non-cash consideration initially received), net of (i) selling costs and out-of-pocket expenses
               (including reasonable broker's fees or commissions, legal fees, accountants' fees, investment banking fees,
               survey costs, title insurance premiums, and related search and recording charges, transfer taxes, deed or mortgage
               recording ta-xes, other customary expenses and brokerage, consultant and other customary fees actually incurred
               in connection therewith and transfer and similar Taxes and the Top Borrower's good faith estimate of income
               Taxes paid or payable (including pursuant to any Tax sharing arrangement and/or any intercompany distribution)
               in connection with such Disposition), (ii) amounts provided as a reserve in accordance with GAAP against any
               liabilities under any indemnification obligation or purchase price adjustment associated with such Disposition
               (provided that to the extent and at the time any such amounts are released from such reserve, such amounts shall
               constitute Net Proceeds), (iii) the principal amount, premium or penalty, if any, interest and other amounts on
               any Indebtedness (excluding the Loans, Indebtedness under the First Lien Credit Agreement, Indebtedness under
               the Second Lien Credit Agreement, Indebtedness under any ABL Facility and any other Indebtedness secured
               by a Lien on the Tenn Loan Priority Collateral that is pari passu with or expressly subordinated to the Lien on




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               the Term Loan Priority Collateral securing any Secured Obligation) which is secured by the asset sold in such
               Disposition and which is required to be repaid or otherwise comes due or would be in default and is repaid (other
               than any such Indebtedness that is assumed by the purchaser of such asset), (iv) Cash escrows (until released
               from escrow to the Top Borrower or any of its Restricted Subsidiaries) from the sale price for such Disposition
               and (v) in the case of any Disposition by any non-Wholly-Owned Subsidiary, the pro rata portion of the Net
               Proceeds thereof (calculated without regard to this clause (v)) attributable to any minority interest and not
               available for distribution to or for the account of the Top Borrower or a Wholly-Owned Subsidiary as a result
               thereof; and (b) with respect to any issuance or incurrence of Indebtedness or Capital Stock, the Cash proceeds
               thereof, net of all Taxes and customary fees, commissions, costs, underwriting discounts and other fees and
               expenses incurred in connection therewith.

                       "New Monev Term Loan Commitment" means, with respect to each Initial Lender, the commitment of
               such Initial Lender to make the New Money Tenn Loans in an aggregate amount not to exceed the amount set
               forth opposite such Initial Lender's name on the Commitment Schedule. The aggregate amount of the Initial
               Lenders' New Money Term Loan Commitments on the Closing Date is $200,000,000. Once funded, the New
               Money Tenn Loan Commitments shall be reduced to zero and tenuinated.

                        "New Monev Term Loans" has the meaning assigned to such term in the Recitals.

                        "Non-US. Loan Party" means any Loan Party other than a U.S. Loan Party.

                        "NYFRB" means the Federal Reserve Bank of New York

                        "Obligations" means all unpaid principal of and accnied and unpaid interest (including interest accniing
               during the pendency of any bankruptcy, insolvency, receivership or other similar proceeding, regardless of
               whether allowed or allowable in such proceeding) on the Loans, any Make-Whole Payment, any Prepayment
               Premium, all accnied and unpaid fees and all expenses (including fees and expenses accruing during the
               pendency of any bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether allowed
               or allowable in such proceeding), reimbursements, indemnities and all other advances to, debts, liabilities and
               obligations of any Loan Party to the Lenders or to any Lender, the Administrative Agent or any indemnified
               party arising under the Loan Documents in respect of any Loan, whether direct or indirect (including those
               acquired by assumption), absolute, contingent, due or to become due, now existing or hereafter arising.

                        "Obligations Derivative Instrument" has the meaning assigned to such term in Section 9.05(d)(ii).

                        "OFAC" has the meaning assigned to such tenu in Section 3.17(a).

                        "Organizational Documents" means (a) with respect to any corporation, its certificate or articles of
               incorporation or organization and its by-laws, (b) with respect to any limited partnership, its certificate of limited
               partnership and its partnership agreement, (c) with respect to any general partnership, its partnership agreement,
               (d) with respect to any limited liability company, its articles of organization or certificate of formation, and its
               operating agreement, and (e) with respect to any other form of entity, such other organizational documents
               required by local Requirements of Law or customary under such jurisdiction to document the formation and
               governance principles of such type of entity. In the event that any term or condition of this Agreement or any
               other Loan Document requires any Organizational Document to be certified by a secretary of state or similar
               governmental official, the reference to any such "Organizational Document" shall only be to a document of a
               type customarily certified by such governmental official.

                        "Other Connection Taxes" means, with respect to any Lender or the Administrative Agent, Taxes
               imposed as a result of a present or former connection betv,een such recipient and the jurisdiction imposing such
               Tax (other than connections arising from such recipient having executed, delivered, become a party to, perfom1ed
               its obligations under, received payments under, received or perfected a security interest under, or engaged i11 any




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               other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan or
               Loan Document).

                        "Other Taxes" means all present or future stamp, court or documentacy, intangible, recording, filing or
               other excise or property Taxes arising from any payment made under any Loan Document or from the execution,
               delivecy, performance, enforcement or registration of, from the receipt or perfection of a security interests under
               or otherwise with respect to, any Loan Document, but excluding (i) any Excluded Taxes, and (ii) any such Taxes
               that are Other Connection Taxes imposed with respect to an assignment or participation (other than an
               assignment made pursuant to Section 2.19).

                       "OTPP" means Ontario Teachers' Pension Plan Board.

                        "Parent Companv" means (a) Holdings and (b) any other Person of which the Top Borrower is an
               indirect Wholly -Owned Subsidiacy.

                       "Participant" has the meaning assigned to such term in Section 9.05(c).

                       "Participant Register" has the meaning assigned to such term in Section 9.05(c).

                         "Patent" means the following: (a) any and all patents and patent applications; (b) all inventions
               described and claimed therein ; (c) all reissues, divisions, continuations, renewals, extensions and continuations
               in part thereof; (d) all income, roy alties, damages, claims, and payments now or hereafter due or payable under
               and with respect thereto, including, without limitation, damages and payments for past and future infringements
               thereof; (e) all rights to sue for past, present, and future infringements thereof; and (f) all rights corresponding
               to any of the foregoing.

                       "PBGC" means the Pension Benefit Guaranty Corporation.

                       "Pension Plan" means any employee pension benefit plan, as defined in Section 3(2) of ERISA (other
               than a Multiemployer Plan), that is subject to the provisions of Title IV of ERIS A or Section 412 of the Code or
               Section 302 of ERISA, which the Top Borrower or any of its Restricted Subsidiaries, or any of their respective
               ERISA Affiliates, maintains or contributes to or has an obligation to contribute to, or otherwise has any liability,
               contingent or othern1ise.

                       "Perfection Certificate" means a certificate substantially in the form of Exhibit J.

                        "Perfection Requirements" means (a) with respect to any U.S. Loan Party, entering into account control
               agreements with the appropriate banks or other financial institutions, in each case, establishing the
               Administrative Agent' s "control" (within the meaning of Section 9-104 of the UCC) with respect to the
               applicable Deposit Accounts, the filing of appropriate financing statements with the office of the Secretacy of
               State or other appropriate office of the location (as detem1ined by Section 9-307 of the UCC) of each U.S. Loan
               Party, the filing of Intellectual Property Security Agreements or other appropriate instruments or notices with
               the U.S. Patent and Trademark Office and the U.S. Copyright Office, in each case in favor of the Administrative
               Agent for the benefit of the Secured Parties, the delivecy to the Administrative Agent of any stock certificate,
               instrument, tangible chattel paper or promissory note, together with instruments of transfer executed in blank,
               and (b) with respect to any Non-U.S. Loan Party, any recording, fi ling, registration, notification or other action
               required to be taken in the applicable jurisdiction, in each case, to the extent required by the applicable Loan
               Documents.

                        "Permitted Holders" means (a) the Investors and (b) any Person with which one or more Investors form
               a "group" (within the meaning of Section 14(d) of the Exchange Act) so long as, in the case of this clause (b),
               the relevant Investors beneficially own more than 50% of the relevant voting stock beneficially owned by the
               group.




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                        "Pem1itted Liens" means Liens pern1itted pursuant to Section 6.02.

                        "Person" means any natural person, corporation, limited liability company, trust, joint venture,
               association, company, partnership, Governmental Authority or any other entity.

                        "Plan" means any "employee benefit plan" (as such term is defined in Section 3(3) of ERISA)
               maintained by the Top Borrower and/or any Restricted Subsidiary or, with respect to any such plan that is subject
               to Section 412 of the Code or Title IV of ERISA, any of its ERISA Affiliates, other than any Multiemployer
               Plan.

                        "Plan Asset Regulations" means 29 CFR § 2510.3-101 , as modified by Section 3(42) of ERISA.

                       "Platform" has the meaning assigned to such term in Section 5.01.

                       "Prepavment Asset Sale" means any Disposition by the Top Borrower or its Restricted Subsidiaries
               made pursuant to Section 6.07(s) and/or 6.07(aa); provided, that in no event shall any Disposition of Al Dream,
               any Disposition by AI Dream or any Disposition of any Real Estate Assets constitute a Prepayment Asset Sale.

                        "Prepayment Premium" means, with respect to any Tenn Loans prepaid, repaid, refinanced, substituted
               or replaced, the amount equal to the interest that otherwise would have accrued on such Tenn Loans so prepaid,
               repaid, refinanced, substituted or replaced from the date of such prepayment, repayment, refinancing,
               substitution or replacement, as applicable, until the date that is hvelve (12) months from the Closing Date at the
               Applicable Rate then in effect on such date, and discounted to present value using a discount rate equal to the
               Treasury Rate plus 0.50%.

                        "Primary Obligor" has the meaning assigned to such tern1 in the definition of" Guarantee" .

                        "Prime Rate" means the rate of interest last quoted by The Wall Street Journal as the "Prime Rate" in
               the U.S. or, if The Wall StTeet Journal ceases to quote such rate, the highest per annum interest rate published
               by the Federal Reserve Board in Federal Reserve Statistical Release H.15 (519) (Selected Interest Rates) as the
               "bank prime loan" rate or, if such rate is no longer quoted therein, any sim ilar rate quoted therein (as reasonably
               detenuined by the Administrative Agent) or any similar release by the Federal Reserve Board (as reasonably
               determined by the Administrative Agent).

                        "Prioritv First Lien Intercreditor Agreement" means that certain First Lien Intercreditor Agreement,
               dated as of the Closing Date, among, ;nter abos, the Administrative Agent, as agent for the Priority First Lien
               Credit Agreement Secured Parties referred to therein, UBS, as agent for the Existing First Lien Secured Parties
               referred to therein and the Loan Parties from time to time party thereto.

                       "Pro Fonua Basis" or " pro fonua effect" means, with respect to any detenuination of Consolidated
               Adjusted EBITDA or Consolidated Total Assets (including component definitions thereot), that:

                                 (a)      (i) in the case of (A) any Disposition of all or substantially all of the Capital Stock of
                        any Restricted Subsidiary or any division and/or product line of the Top Borrower, any Restricted
                        Subsidiary, (B) any designation of a Restricted Subsidiary as an Unrestricted Subsidiary or (C) the
                        implementation of any Cost Saving Initiative, income statement items (whether positive or negative and
                        including any Expected Cost Savings) attributable to the property or Person subject to such Subject
                        Transaction, shall be excluded as of the first day of the applicable Test Period with respect to any test
                        or covenant for which the relevant determination is being made and (ii) in the case of any Investment
                        and/or designation of an Unrestricted Subsidiary as a Restricted Subsidiary described in the definition
                        of the term " Subject Transaction", income statement items (whether positive or negative) attributable
                        to the property or Person subject to such Subject Transaction shall be included as of the first day of the




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                       applicable Test Period with respect to any test or covenant for which the relevant determination is being
                       made,

                                 (b)     any retirement or repayment of Indebtedness shall be deemed to have occurred as of
                       the first day of the applicable Test Period with respect to any test or covenant for which the relevant
                       determination is being made,

                                 (c)      any Inde btedness incurred by the Top Borrower or any of its Restricted Subsidiaries
                       in connection therewith s hall be deemed to have occurred as of the first day of the applicable Test Period
                       with respect to any test or covenant for w hich the relevant determination is being made; provided that,
                       (x) if such Indebtedness has a floating or formula rate, such Indebtedness shall have an implied rate of
                       interest for the applicable Test Period for purposes of this definition determined by utilizing the rate that
                       is or would be in effect with respect to such Indebtedness at the relevant date of determination (taking
                       into account any interest hedging arrangements applicable to such Inde btedness), (y) interest on any
                       obligation with respect to any Capital Lease shall be deemed to accrue at an interest rate reasonably
                       detenuined by a Responsible Officer of the Top Borrower to be the rate of interest implicit in such
                       obligation in accordance with GAAP and (z) interest on any Inde btedness that may optionally be
                       determined at an interest rate based upon a factor of a prime or similar rate, a e urocurrency interbank
                       offered rate or other rate shall be determined to have been based upon the rate actually chosen, or if
                       none, then based upon such optional rate chosen by the Top Borrower,

                                 (d)     the acquisition of any asset included in calculating Consolidated Total Assets
                       (inc luding the amount Cash or Cash Equivalents), whether pursuant to any Subject Transaction or any
                       Person becoming a subsidiary or merging, amalgamating or consolidating with or into the Top Borrower
                       or any of its subsidiaries, or the Disposition of any asset included in calculating Consolidated Total
                       Assets described in the definition of "Subject Transaction" shall be deemed to have occurred as of the
                       last day of the applicable Test Period with respect to any test or covenant for which such calculation is
                       being made, and

                                (e)     each other Subject Transaction shall be deemed to have occurred as of the first day of
                       the applicable Test Period (or, in the case of Consolidated Total Assets, as of the last day of such Test
                       Period) with respect to any test or covenant for which such calculation is being made.

                        "Promissorv Note" means a prom issory note of the Borrowers payable to any Lender or its registered
               assigns, in substantially the form of Exhibit L, evidencing the aggregate outstanding principal amount of Loans
               of the Borrowers to such Lender resulting from the Loans made by such Lender.

                       "PIE" means a prohibited transaction class exemption issued by the U.S. Department of Labor, as any
               such exemption may be amended from time to time.

                       "Public Lender" has the meaning assigned to such term in Section 9.0l(d).

                         "Published LIBO Rate" means, with respect to any Interest Period when used in reference to any Loan
               or Borrowing, (a) the rate of interest appearing on Reuters Screen LIBOR0l Page (or on any successor or
               substitute page of such service, or any successor to such service as determined by Administrative Agent) as the
               London interbank offered rate for deposits in Dollars for a term comparable to such Interest Period, at
               approximately 11 :00 a.m. (London time) on the date which is two Business Days prior to the commencement of
               such Interest Period (but if more than one rate is specified on such page, the rate will be an arithmetic average
               of all such rates) and (b) if such rate is not available at such time for any reason, then the "Published LIBO Rate"
               for such Interest Period shall be the Interpolated Rate.

                       "OFC" has the meaning assigned to such term in Section 9.27.




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                       "QFC Credit Support" has the meaning assigned to such term in Section 9.27(a).

                        "Qualified Capital Stock" of any Person means any Capital Stock of such Person that is not Disqualified
               Capital Stock.

                        "Qualifving IPO" means (i) the issuance and sale by the Top Borrower or any Parent Company of its
               common Capital Stock in an underwritten primary public offering (other than a public offering pursuant to a
               registration statement on Form S-8) pursuant to an effective registration statement filed with the SEC in
               accordance with the Securities Act (whether alone or in connection with a secondary public offering), (ii) any
               merger by the Top Borrower or any Parent Company with a publicly traded entity and/or (iii) any other
               transaction or series of related transactions that results in any of the common Capital Stock of the Top Borrower
               or any Parent Company (and/or any permitted successor thereto) being publicly traded on any U.S. national
               securities exchange or over-the-counter market or analogous public exchange in any other jurisdiction.

                        "Real Estate Asset" means, at any time of determination, all right, title and interest (fee, leasehold or
               otherwise) of any Loan Party in and to real property (including, but not limited to, land, improvements and
               fixtures thereon).

                       "Refinancing Indebtedness'' has the meaning assigned to such term in Section 6.0l(p).

                       "Refunding Capital Stock" has the meaning assigned to such term in Section 6.04(a)(viii).

                       "Register" has the meaning assigned to such term in Section 9.05(b).

                        "Regulation D" means Regulation D of the FRB as from time to time in effect and all official rulings
               and interpretations thereunder or thereof.

                        "Regulation H'' means Regulation H of the FRB as from time to time in effect and all official rulings
               and interpretations thereunder or thereof.

                        "Regulation U" means Regulation U of the FRB as from time to time in effect and all official rulings
               and interpretations thereunder or thereof.

                        "Related Funds" means with respect to any Lender that is an Approved Fund, any other Approved Fund
               that is managed by the same investment advisor as such Lender or by an Affiliate of such investment advisor.

                        "Related Parties" means, with respect to any specified Person, such Person' s Affiliates and the
               respective directors, managers, officers, trustees, employees, partners, agents, advisors and other representatives
               of such Person and such Person' s Affiliates.

                        "Release" means any release, spill, emission, leaking, pumping, pouring, injection, escaping, deposit,
               disposal, discharge, dispersal, dumping, leaching or migration of any Hazardous Material into the Environment
               (including the abandonment or disposal of any barrels, containers or other closed receptacles containing any
               Hazardous Material), including the movement of any Hazardous Material through the air, soil, surface water or
               groundwater.

                       "Relevant Governmental Bodv" means the FRB and/or the NYFRB, or a committee officially endorsed
               or convened by the FRB and/or the NYFRB or any successor thereto.

                       "Re paid Initial Exchange Term Loan Amount" means an amount equal to the aggregate principal
               amount of Initial Exchange Term Loans that are prepaid pursuant to Section 2.1 1(a)(i); provided, that, in the
               event that such prepayments exceed $75,000,000, the Repaid Initial Exchange Term Loan Amount shall be
               deemed to be $75,000,000.




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                       "Reportable Event" means, with respect to any Pension Plan or Multiemployer Plan, any of the events
               described in Section 4043(c) ofERISA or the regulations issued thereunder, other than those events as to which
               the 30-day notice period is waived under PBGC Reg. Section 4043.

                        "Representatives" has the meaning assigned to such term in Section 9. 13.

                        "Required Excess Cash Flow Percentage" means, as of any date of determination, (a) if the First Lien
               Leverage Ratio is greater than 4 .15:1.00, 50%, (b) if the First Lien Leverage Ratio is less than or equal to
               4.15:1.00 and greater than 3.65:1.00, 25% and (c) if the First Lien Leverage Ratio is less than or equal to
               3.65: 1.00, 0%; it being understood and agreed that, for purposes of this definition as it applies to the
               determination of the amount of Excess Cash Flow that is required to be applied to prepay the Term Loans under
               Section 2. 11 (b)(i) for any Excess Cash Flow Period, the First Lien Leverage Ratio shall be determined on the
               scheduled date of prepayment.

                        "Required Lenders" means, at any time, collectively, (i) Lenders having Loans or unused Commitments
               representing more than 50% of the sum of the total Loans and such unused Commitments at such time and (ii)
               Lenders having New Money Term Loans representing more than 50% of the outs tanding principal amount of
               the New Money Tenn Loans; provided that clause (ii) shall only apply so long as the New Money Tenn Loans
               are outstanding.

                         "Requirements of Law" means, with respect to any Person, collectively, the common law and all federal,
               state, local, foreign, multinational or international laws, statutes, codes, treaties, standards, rules and regulations,
               guidelines, ordinances, orders, judgments, writs, injunctions, decrees (including administrative or j udicial
               precedents or authorities) and the interpretation or administration thereof by, and other determinations,
               directives, requirements or requests of any Governmental Authority, in each case whether or not having the force
               of law and that are applicable to or binding upon such Person or any of its property or to which such Person or
               any of its property is subject.

                         "Resolution Authority" means an EEA Resolution Authority or, with respect to any UK Financial
               Institution, a UK Resolution Authority.

                         "Responsible Officer" means, with respect to any Person, the chief executive officer, the president, the
               chief financial officer, the treasurer, any assistant treasurer, any executive vice president, any senior vice
               president, any vice president or the chief operating officer of such Person and any other individual or similar
               official thereof responsible for the administration of the obligations of such Person in respect of this Agreement,
               and, as to any document delivered on the C losing Date, shall include any secretary or assistant secretary or any
               other individual or similar official thereof with substantially equivalent responsibilities of a Loan Party and,
               solely for purposes of notices given pursuant to Article ll, any other officer of the applicable Loan Party so
               designated in writing by the Top Borrower to the Administrative Agent. Any document delivered hereunder
               that is signed by a Responsible Officer of any Loan Party shall be conclusively presumed to have been authorized
               by all necessary corporate, partnership and/or other action on the part of such Loan Party, and such Responsible
               Officer shall be conc lusively presumed to have acted on behalf of such Loan Party.

                        "Responsible Officer Certification" means, with respect to the financial statements for which such
               certification is required, the certification of a Responsible Officer of the Top Borrower that such financial
               statements fairly present, in all material respects, in accordance with GAAP, the consolidated financia~c-onditio~r,.
               of the Top Borrower as at the dates indicated and its consolidated income and cash flows for fh.e _?er:iods
               indicated, subject to changes resulting from audit and normal year-end adjustments.

                        "Restricted Amount" has the meaning set forth in Section 2.1 l(b)(iv).

                        "Restricted Debt" has the meaning set forth in Section 6.04(b).




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                        "Restricted Debt Payments" has the meaning set forth in Section 6.04(b).

                        "Restricted Pavment" means (a) any dividend or other distribution on account of any shares of any class
               of the Capital Stock of the Top Borrower, except a dividend payable solely in shares of Qualified Capital Stock
               to the holders of such class; (b) any redemption, retirement, sinking fund or similar payment, purchase or other
               acquisition for value of any shares of any class of the Capital Stock of the Top Borrower and (c) any payment
               made lo retire, or lo obtain the surrender of, any outstanding warrants, options or other rights to acquire shares
               of any class of the Capital Stock of the Top Borrower now or hereafter outstanding.

                       "Restricted Subsidiary" means, as to any Person, any subsidiary of such Person that is not an
               Unrestricted Subsidiary. Unless otherwise specified, "Restricted Subsidiary" shall mean any Restricted
               Subsidiary of the Top Borrower.

                        "S&P" means Standard & Poor's Financial Services LLC, a subsidiary of the McGraw-Hill Companies,
               Inc.

                        "Sale and Lease-Back Transaction" has the meaning assigned to such term in Section 6.08.

                        "Scheduled Consideration'' has the meaning assigned to such tem1 in the definition of "Excess Cash
               Flow".

                        "SEC" means the Securities and Exchange Commission, or any Governmental Authority succeeding to
               any or all of its functions .

                        " Second Lien Amendment Effective Date" means June 22, 2020.

                      "Second Lien Collateral Agent" has the meaning set forth in the First Lien/Second Lien Intercreditor
               Agreement.

                       "Second Lien Credit Agreement" means the Second Lien Term Loan Agreement, dated as of the
               November 8, 2016, among, inter altos, Holdings, the Borrowers, Goldman Sachs Bank USA, as administrative
               agent and collateral agent and the lenders from time to time party thereto.

                       "Second Lien Facility" means the credit facility governed by the Second Lien Credit Agreement and
               one or more debt facilities or other financing arrangements (including indentures) providing for loans and/or
               commitments or other long-term indebtedness that replace or refinance such credit facility, including any such
               replacement or refinancing facility (including any indenture) that increases or decreases the amount permitted to
               be borrowed thereunder or alters the maturity thereof and whether by the same or any other agent, trustee, lender
               or group of lenders, and any amendments, supplements, modifications, extensions, renewals, restatements,
               amendments and restatements or refundings thereof or any such credit facilities or other debt facilities (including
               under indentures) that replace or refinance such credit facility or other Indebtedness (or any subsequent
               replacement thereof).

                        " Secured Obligations" means all Obligations.

                      " Secured Parties" means (i) the Lenders (ii) the Administrative Agent and (iii) the beneficiaries of each
               indemnification obligation undertaken by any Loan Party under any Loan Document.

                        "Securities" means any stock, shares, units, partnership interests, voting trust certificates, certificates of
               interest or participation in any profit-sharing agreement or arrangement, options, warrants, bonds, debentures,
               notes, or other evidences of indebtedness, secured or unsecured, convertible, subordinated or otherwise, or in
               general any instruments commonly known as "securities" or any certificates of interest, shares or participations
               in temporary or interim certificates for the purchase or acquisition of, or any right to subscribe to, purchase or




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               acquire, any of the foregoing; provided that the tenu " Securities" shall not include any earn-out agreement or
               obligation or any e mployee bonus or other incentive compensation plan or agreement.

                       "Securities Act" means the Securities Act of 1933 and the rules and regulations of the SEC promulgated
               thereunder.

                        " Security Agreement" means the Super-Priority Pledge and Security Agreement, substantially in the
               fonu of Exhibit M, among the U.S. Loan Parties and the Administrative Agent for the be nefit of the Secured
               Parties.

                       "Serta" means Serta, Inc., a Delaware corporation and an indirect, non-Wholly-Owned Subsidiary of
               the Top Borrower.

                       "SOFR" means with respect to any day means the secured overnight financing rate published for such
               day by the Federal Reserve Bank of New York, as the administrator of the benchmark (or a successor
               administrator) on the Federal Reserve Bank of New York's website at http://"vVW\¥.newyorkfed.org (or any
               successor source).

                        "SOFR-Based Rate' ' means SOFR or Term SOFR.

                        "SPC" has the meaning assigned to such te nu in Section 9.0S(e).

                        "Specified Lender Advisors" means (a) Gibson, Dunn & Crutcher LLP, as legal counsel to the Lenders
               and (b) Centerview Partners, as financial advisor to the Lenders; provided, that in the event the Required Lenders
               determine, in consultation w ith the Top Borrower, to replace such legal and/or financial advisor, the Required
               Le nders shall designate the replacement in writing (which may be by a Direction of the Required Lenders) to
               the Administrative Agent and the Borrower and from and after the date such replacement advisor is designated,
               such replacement advisor shall constitute a Specified Lender Advisor for all purposes hereunder and the replaced
               advisor shall no longer constitute a Specified Lender Advisor hereunder.

                       "Sponsor" means collectively, (i) Advent, its controlled Affiliates and funds managed or advised by any
               of them or any of their respective controlled Affiliates, (ii) Ares, its controlled Affiliates and funds managed or
               advised by any of them or any of their respective controlled Affiliates and (iii) OTPP, its controlled Affiliates
               and funds managed or advised by any of them or any of their respective controlled Affiliates.

                       " SSB" has the meaning assigned to such term in the preamble.

                        "SSB Manufacturing" has the meaning assigned to such term in the preamble.

                        "Subject Loans" has the meaning assigned to such tenu in Section 2.1 l(b)(ii).

                        "Subject Person" has the meaning assigned to such tenn in the definition of"Consolidated Net Income".

                        "Subject Proceeds" has the meaning assigned to such term in Section 2.11 (b )(ii).

                         " Subject Transaction" means, with respect to any Test Period, (a) the Transactions, (b) any acquisition
               or similar Investment, whether by purchase, merger or otherwise, of all or substantially all of the assets of, or
               any business line, unit or division of, any Person or of a majority of the outstanding Capital Stock of any Person
               (and, in any event, including any Investment in (x) any Restricted Subsidiary the effect of which is to increase
               the Top Borrower' s or any Restricted Subsidiary' s respective equity ownership in such Restricted Subsidiary or
               (y) any joint venture for the purpose of increasing the Top Borrower' s or its relevant Restricted Subsidiary' s
               ownership interest in such joint venture), in each case that is permitted by this Agreement, (c) any Disposition
               of all or substantially all of the assets or Capital Stock of any subsidiary (or any business unit, line of business




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               or division of the Top Borrower or a Restricted Subsidiary) not prohibited by this Agreement, (d) the designation
               of a Restricted Subsidiary as an UnrestTicted Subsidiary or an UnrestTicted Subsidiary as a Restricted Subsidiary
               in accordance with Section 5 .10, (e) any incurrence of indebtedness (other than revolving Indebtedness), (f) any
               repayment of Indebtedness, (g) any capital contribution in respect of Qualified Capital Stock or any issuance of
               Qualified Capital Stock (other than any amount constituting a Cure Amount), (h) the implementation of any Cost
               Saving Initiative and/or (i) any other event that by the terms of the Loan Documents requires pro forma
               compliance with a test or covenant hereunde r or requires such test or covenant to be calculate d on a pro fonna
               bas is.

                       " Subsequent Exchange Lender" has the meaning assigned to such term in Section 2.22(e).

                       " Subsequent Exchange Term Loan Exchange Agreement" means any documents in form and substance
               comparable to the Exchange Agreement and approved by the Required Lenders (which approval may take the
               fonu of a Direction of Required Lenders).

                      "Subse quent Exchange Tenn Loan Exchange Docume nts" means Subsequent Exchange Tenn Loans
               Exchange Agreement and the Master Assignment Agreement.

                        "Subsequent Exchange Tenn Loan Facility Am endment" means an amendment to this Agreement that
               is reasonably satisfactory to the Adm inistrative Agent and the Top Borrower sole ly for purposes of giving effect
               to Section 2.22) executed by each of (a) Holdings and each relevant Borrower, (b) the Administrative Agent and
               (c) each Subsequent Exchange Term Loan Lender that agrees to sell its Existing Loans to the Top Borrower
               pursuant to the Subsequent Exchange Tenn Loan Exchange Agreement in accordance w ith Section 2.22.

                        "Subse quent Exchange Tenn Loan Lender'' means any Pe rson that becomes a Lender hereunder as a
               result of receiving Subsequent Exchange Tem1 Loans in exchange for its Existing Loans pursuant to any
               Subsequent Exchange Tenn Loan Exchange Docume nts.

                       "Subsequent Exchange Term Loans" has the meaning assigned to such term in Section 2.22(a).

                         "Subse quent Junior Exchange Tenn Lenders" means any Person that becomes a Lender hereunder as a
               result of receiving Subsequent Exchanged Junior Te nn Loans in exchange for its Existing Loans pursuant to any
               Subsequent Exchange Tenn Loan Exchange Documents.

                       "Subsequent Junior Exchange Term Loans" has the meaning assigned to such term in Section 2.22(a).

                      " Subsequent Pari Passu Exchange Tenn Loan Lenders" means any Person that becomes a Lender
               hereunder as a result of rece iving Subse quent Exchange Pari Passu Tem1 Loans in exchange for its Existing
               Loans pursuant to any Subsequent Exchange Tem1 Loan Exchange Docume nts.

                       " Subse quent Pari Passu Exchange Tenn Loans" has the me anmg assigned to such tenu m
               Section 2.22(a).

                        "subsidiarv" means, with respect to any Person, any corporation, partnership, limited liability company,
               association, joint venture or other business entity of which more than 5 0% of the total voting power of stock or
               other ownership interests entitled (without regard to the occurrence of any contingency) to vote in the e lection
               of the Pe rson or Persons (whether directors, trustees or other Persons pe rfom1ing similar functions) having the
               power to direct or cause the direction of the manage ment and policies thereof is at the time owned or controlled,
               directly or indirectly, by such Person or one or more of the other subsidiaries of such Person or a combination
               thereof, in each case to the extent the relevant entity' s financial results are required to be included in such
               Person's consolidated financial statements under GAAP; provide d that in determining the percentage of
               ownership interests of any Person controlled by another Person, no ownership interests in the nature of a




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               "qualifying share" of the fonner Person shall be deemed to be outstanding.           Unless otherwise specified,
               "subsidiary" shall mean any subsidiary of the Top Borrower.

                        " Subsidiary Guarantor" means (a) on the Closing Date, each Domestic Subsidiary of the Top Borrower
               that is not a Borrower (other than any such subsidiary that is an Excluded Subsidiary on the Closing Date) and
               (b) thereafter, each subsidiary of the Top Borrower that becomes a guarantor of the Secured Obligations pursuant
               to the tenns of this Agreement, in each case, until such time as the relevant subsidiary is released from its
               obligations under the Loan Guaranty in accordance with the terms and provisions hereof. Notwithstanding the
               foregoing, the Top Borrower may, in its sole discretion, elect to cause any Restricted Subsidiary that is not
               othenvise required to be a Subsidiary Guarantor to provide a Loan Guaranty by causing such Restricted
               Subsidiary (such Restricted Subsidiary, a "Discretionarv Guarantor") to execute a Joinder Agreement, and upon
               the execution of such Joinder Agreement, any such Restricted Subsidiary shall be a Loan Party and Subsidiary
               Guarantor hereunder for all purposes hereunder.

                         " Successor Holdings" has the meaning assigned to such term in Section 6.14(c).

                         "Supported QFC" has the meaning assigned to such term in Section 9.27(a).

                       "Swap Obligations" means, with respect to any Loan Guarantor, any obligation to pay or perfonn under
               any agreement, contract or transaction that constitutes a "swap" within the meaning of Section la(47) of the
               Commodity Exchange Act.

                        ''Tax and Trust Funds" means Cash, Cash Equivalents or other assets that are comprised solely of
               (a) funds used for payroll and payroll Taxes and other employee benefit payments to or for the benefit of the
               employees of Holdings, the Top Borrower and/or any subsidiary, (b) Taxes required to be collected, remitted or
               withheld (including, federal and state withholding taxes (including the employer's share thereot)) and (c) other
               funds which any Loan Party holds in trust or as an escrow or fiduciary for another person which is not a Loan
               Party in the ordinary course of business.

                         ''Taxes" means all present and future taxes, levies, imposts, duties, deductions, withholdings (including
               backup withholding), assessments, fees or other charges imposed by any Governmental Authority, including any
               interest, additions to tax or penalties applicable thereto.

                         ' 'Termination Date" has the meaning assigned to such term in the lead-in to Article 5.

                       "Term Facilitv" means the Term Loans provided to or for the benefit of the Borrowers pursuant to the
               tem1s of this Agreement.

                         ''Term Lender" means any Initial Term Lender and, if applicable, any Subsequent Exchange Term Loan
               Lender.

                         ''Term Loan" means the Initial Term Loans and, if applicable, any Subsequent Exchange Tenn Loans.

                         ' 'Term Loan Prioritv Collateral" has the meaning set forth in the ABL Intercreditor Agreement.

                        ' 'Term SOFR" means the fonvard-looking term rate for any period that is approximately (as reasonably
               detennined by the Administrative Agent) as long as any of the Interest Period options set forth in the definition
               of "Interest Period" and that is based on SOFR and that has been selected or recommended by the Relevant
               Governmental Body, ii1 each case as published on an information service as selected by the Administrative Agent
               from time to time in its reasonable discretion.




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                              '":'est Period" means, as of any date, the period of four consecutive Fiscal Quarters then most recently
               en,;1§d for which financial statements of the type described in Section 5.0l(a) or Section 5.0l(b), as applicable,
               lli.avf.i beer,;_ .:llelivered (or are required to have been delivered) or, if earlier, are internally available.

                        "Threshold Amount" means $80,000,000.

                        ' 'Top Borrower" has the meaning assigned to such term in the preamble.

                         ''Tradem ark" means the following: (a) all trademarks (including service marks), common law marks,
               trade names, trade dress, and logos, slogans and other indicia of origin under the Requirements of Law of any
               jurisdiction in the world, and the registrations and applications for registration thereof and the goodwill of the
               business symbolized by the foregoing; (b) all renewals of the foregoing; (c) all income, royalties, damages, and
               payments now or hereafter due or payable with respect thereto, including, without limitation, damages, claims,
               and payments for past and future infringements thereof; (d) all rights to sue for past, present, and future
               infringements of the foregoing, including the right to settle suits involving claims and demands for royalties
               owing; and (e) all domestic rights corresponding to any of the foregoing.

                        "Transaction Costs" means fees, premiums, expenses and other transaction costs (including original
               issue discount or upfront fees) payable or otherwise borne by any Parent Company, the Borrowers and/or any of
               their respective subsidiaries in connection with the Transactions and the transactions contemplated thereby.

                       ' 'Transactions" means, collectively, (a) the execution, delivery and performance by the Loan Parties of
               the Loan Documents to which they are a party and the Borrowing of Loans hereunder on the Closing Date, (b)
               the execution, delivery and performance by the Loan Parties of the Existing First Lien Credit Agreement
               Amendment, (c) the execution, delivery and perfonnance by the Loan Parties of the Existing Second Lien Credit
               Agreement Amendment, (d) execution, delivery and performance by the Loan Parties of the Exchange
               Documents and the related Exchange Transactions, in each case, on the Closing Date and (e) the payment of
               Transaction Costs.

                        ''Treasurv Capital Stock" has the meaning assigned to such term in Section 6.04(a)(viii).

                        ''Treasurv Rate" means, with respect to a prepayment date, the yield to maturity at the time of
               computation of United States Treasury securities with a constant maturity (as compiled and published in the
               most recent Federal Reserve Statistical Release H.15(519) that has become publicly available at least two
               Business Days prior to such prepayment date (or, if such Statistical Release is no longer published, any publicly
               available source of similar market data)) of one year from such prepayment date; provided, however, that if the
               period from such prepayment date to the date that is the 12 month anniversary of the Closing Date is not equal
               to the constant maturity of a United States Treasury security for which a weekly average yield is given, the
               Treasury Rate shall be obtained by linear interpolation (calculated to the nearest one-twelfth of a year) from the
               weekly average yields of United States Treasury securities for which such yields are given.

                        "Treasury Regulations" means the U.S. federal income tax regulations promulgated under the Code.

                       "Type", when used in reference to any Loan or Borrowing, refers to whether the rate of interest on such
               Loan, or on the Loans comprising such Borrowing, is determined by reference to the LIBO Rate or the Alternate
               Base Rate.

                        ''UBS" has the meaning assigned to such term in the preamble.

                        ' 'UCC" means the Uniform Commercial Code as in effect from time to time in the State of New York
               or any other state the laws of which are required to be applied in connection with the creation or perfection of
               security interests.




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                        ''UK Financial Institution" means any BRRD Undertaking (as such term is defined under the PRA
               Rulebook (as amended form time to time) promulgated by the United Kingdom Pnidential Regulation Authority)
               or any Person falling within lFPRU 11.6 of the FCA Handbook (as amended from time to time) promulgated by
               the United Kingdom Financial Conduct Authority, which includes certain credit institutions and investment
               firms, and certain affiliates of such credit institutions or investment firms.

                       ''UK Resolution Authority" means the Bank of England or any other public administrative authority
               having responsibility for the resolution of any UK Financial Institution.

                      "Unadjusted Benchmark Replacement" means the Benchmark Replacement excluding the Benchmark
               Replacement Adjustment.

                        "Unrestricted Cash Amount" means, as to any Person on any date of determination, the amount of
               (a) unrestricted Cash and Cash Equivalents of such Person and (b) Cash and Cash Equivalents of such Person
               that are restricted in favor of the Credit Facilities, the Indebtedness under the First Lien Credit Agreement, the
               Indebtedness under the Second Lien Credit Agreement and/or the ABL Facility (which may also include Cash
               and Cash Equivalents securing other Inde btedness that is secured by a Lien on Collateral along with the Credit
               Facilities, the Inde btedness under the First Lien Credit Agreement, the Indebtedness under the Second Lien
               Credit Agreement and/or the ABL Facility).

                       "Unrestricted Subsidiaiy" means any subsidiary of the Top Borrower that is listed on Schedule 5.10
               hereto or designated by the Top Borrower as an Unrestricted Subsidiary after the Closing Date pursuant to
               Section 5.10 and any subsidiary of any Unrestricted Subsidiary; provided, that on and after the Closing Date,
               Holdings shall not be permitted to designate a Subsidiary as an Unrestricted Subsidiary without the prior written
               consent of the Required Lenders.

                       "U.S." means the United States of America.

                       "U.S. Lender" means any Lender that is a "United States person" within the meaning of
               Section 770l(a)(30) of the Code.

                        "U.S. Loan Party" means any Loan Party that is incorporated or organized under the laws of the U.S.,
               any state thereof or the District of Columbia.

                       ''lJ.S. Special Resolution Regimes" has the meaning assigned to such term in Section 9.27(a).

                       "U.S. Tax Compliance Certificate" has the meaning assigned to such term in Section 2. l 7(f).

                        ''US Bank Cash" means unrestricted Cash of the Borrower and its Restricted Subsidiaries deposited in
               depository institutions located in the United States and unrestricted Cash Equivalents of the Borrower and its
               Restricted Subsidiaries deposited in depository institutions or securities intenuediaries located in the United
               States.

                       ' 'USA PATRIOT Act" means The Uniting and Strengthening America by Providing Appropriate Tools
               Required to Intercept and Obstnict Terrorism Act of 2001 (Title Ill of Pub. L. No. 107-56 (signed into law
               October 26, 2001)).

                       "Wholly-Owned Subsidiary" of any Person means a subsidiary of such Person, 100% of the Capital
               Stock of which (other than directors' qualifying shares or shares required by Requirements of Law to be owned
               by a resident of the relevant jurisdiction) shall be owned by such Person or by one or more Wholly-Owned
               Subsidiaries of such Person.




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                        "Withdrawal Liability " means the liability to any Multiemployer Plan as the result of a "complete" or
               "partial" withdrawal by the Top Borrower or any Restricted Subsidiary or any ERISA Affiliate from such
               Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title IV ofERISA.

                         "Write-Down and Conversion Powers" means, (a) with respect to any EEA Resolution Authority, the
               write-dow n and conversion powers of such EEA Resolution Authority from time to time under the Bail-In
               Legislation for the applicable EEA Member Country, which write-down and conversion powers are described
               in the EU Bail-In Legis lation Schedule and (b) with respect to the United Kingdom, any powers of the applicable
               Resolution Authority under the Bail-In Legislation to cancel, reduce, modify or change the fonn of a liability of
               any UK Financial Institution or any contract or instrument under which that liability arises, to convert all or part
               of that liability into shares, securities or obligations of that Person or any other Person, to provide that any such
               contract or instrument is to have effect as if a right had been exercised under it or to suspend any obligation in
               respect of that liability or any of the powers under that Bail-In Legislation that are related to or ancillary to any
               of those powers.

                       "Yield Maintenance Event" has the meaning assigned to such term in Section 7.01.

                        Section 1.02.     Classification of Loans and Borrowings. For purposes of this Agreement, Loans may
               be classified and referred to by Class (e.g. , a "Term Loan") or by Type (e.g., a "LIBO Rate Loan") or by Class
               and Type (e.g. , a "LIBO Rate Term Loan"). Borrowings also may be classified and referred to by Class (e.g. , a
               "Term Loan Borrowing") or by Type (e.g., a "LIBO Rate Borrowing") or by Class and Type (e.g., a ''LIBO Rate
               Term Loan Borrowing").

                         Section 1.03.     Terms Generally. T he definitions of terms herein shall app ly equally to the singular
               and plural forms of the tenns defined. Whenever the context may require, any pronoun shall include the
               corresponding masculine, feminine and neuter forms. The words "include," " includes" and " including" shall be
               deemed to be followed by the phrase "without limitation." The word "will" shall be construed to have the same
               meaning and effect as the word "shall." Unless the context requires otherwise (a) any definition of or reference
               to any agreement, instrument or other document herein or in any Loan Document (including any Loan Document,
               the ABL Credit Agreement, the First Lien Credit Agreement and the Second Lien Credit Agreement) shall be
               construed as referring to such agreement, instrument or other document as from time to time amended, restated,
               amended and restated, supplemented or otherwise modified or extended, replaced or refinanced (subject to any
               restrictions or qualifications on such amendments, restatements, amendment and restatements, supplements or
               modifications or extensions, replacements or refinancings set forth herein and, if applicable, in the Intercreditor
               Agreements), (b) any reference to any Requirement of Law in any Loan Document shall include all statutory
               and regulatory provisions consolidating, amending, replacing, supplementing or interpreting such Requirement
               of Law, (c) any reference herein or in any Loan Docume nt to any Person shall be construed to include such
               Person 's successors and permitted assigns, (d) the words "herein," " hereof" and "hereunder," and words of
               similar import, when used in any Loan Document, shall be constmed to refer to such Loan Document in its
               entirety and not to any particular provision hereof, (e) all references herein or in any Loan Document to Articles,
               Sections, clauses, paragraphs, Exhibits and Schedules shall be construed to refer to Articles, Sections, clauses
               and paragraphs of, and Exhibits and Schedules to, such Loan Document, (£) in the computation of periods of
               time in any Loan Document from a specified date to a later specified date, the word "from" means "from and
               including", the words " to" and "until" mean " to but excluding" and the word "through" means "to and including"
               and (g) the words " asset" and "property", w hen used in any Loan Document, shall be construed to have the same
               meaning and effect and to refer to any and all tangible and intangible assets and properties, including Cash,
               securities, accounts and contract rights. For purposes of detem1ining compliance at any time with Sections 6.01 ,
               6.02, 6.04, 6.05, 6.06, 6.07 and 6.09, in the event that any indebtedness, Lien, Restricted Payme nt, Restricted
               Debt Payment, Investment, Disposition or Affiliate Transaction, as applicable, meets the criteria of more than
               one of the categories of transactions or items permitted pursuant to any clause of such Sections 6.01 (other than
               6.0 l(a) and w), 6.02 (other than Sections 6.02(a) and ill), 6.04, 6.05, 6.06, 6.07 and 6.09, the Top Borrower, in
               its sole discretion, may, from time to time, classify or reclassify such transaction or item (or portion thereof)
               under one or more clauses of each such Section and will only be required to include the amount and type of such




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               transaction (or portion thereof) in any one category. It is understood and agreed that any Indebtedness, Lien,
               Restricted Payment, Restricted Debt Payment, Burdensome Agreement, Investment, Disposition and/or Affiliate
               transaction need not be permitted solely by reference to one category of permitted Indebtedness, Lien, Restricted
               Payment, Restricted Debt Payments, Burdensome Agreement, Investment, Disposition and/or Affiliate
               Transaction under Sections 6.01, 6.02, 6.04, 6.05, 6.06, 6.07 or 6.09, respectively, but may instead be permitted
               in part under any combination thereof.

                       Section 1.04.     Accounting Terms; GAAP.

                         (a)      All financial statements to be delivered pursuant to this Agreement shall be prepared in
               accordance with GAAP as in effect from time to time and, except as othenl\fise expressly provided herein, all
               terms of an accounting nature that are used in calculating Consolidated Adjusted EBlTDA or Consolidated Total
               Assets shall be construed and interpreted in accordance with GAAP, as in effect from time to time; provided that
               if the Top Borrower notifies the Administrative Agent that the Top Borrower requests an amendment to any
               provision hereof to eliminate the effect of any change occurring after the date of delivery of the financial
               statements described in Section 3.04(a) in GAAP or in the application thereof (including the conversion to IFRS
               as described below) on the operation of such provision (or if the Administrative Agent notifies the Top Borrower
               that the Required Lenders request an amendment to any provision hereof for such purpose), regardless of whether
               any such notice is given before or after such change in GAAP or in the application thereof, then such provision
               shall be interpreted on the basis of GAAP as in effect and applied immediately before such change becomes
               effective until such notice have been withdrawn or such provision amended in accordance herewith: provided,
               further, that if such an amendment is requested by the Top Borrower or the Required Lenders, then the Top
               Borrower and the Administrative Agent shall negotiate in good faith to enter into an amendment of the relevant
               affected provisions (without the payment of any amendment or similar fee to the Lenders) to presenre the original
               intent thereof in light of such change in GAAP or the application thereof; provided, further, that all terms of an
               accounting or financial nature used herein shall be construed, and all computations of amounts and ratios referred
               to herein shall be made without giving effect to (i) any e lection under Accounting Standards Codification 825-
               10-25 (previously referred to as Statement of Financial Accounting Standards 159) (or any other Accounting
               Standards Codification or Financial Accounting Standard having a similar result or effect) to value any
               Indebtedness or other liabilities of the Top Borrower or any subsidiary at "fair value," as defined therein and (ii)
               any treatment of Indebtedness in respect of convertible debt instruments under Accounting Standards
               Codification 470-20 (or any other Accounting Standards Codification or Financial Accounting Standard having
               a similar result or effect) to value any such Indebtedness in a reduced or bifurcated manner as described therein,
               and such Indebtedness shall at all times be valued at the full stated principal amount thereof. If the Top Borrower
               notifies the Administrative Agent that the Top Borrower (or its applicable Parent Company) is required to report
               under IFRS or has elected to do so through an early adoption policy, "GAAP" shall mean international financial
               reporting standards pursuant to JFRS (provided that after such conversion, the Top Borrower cannot elect to
               report under GAAP).

                        (b)     Notwithstanding anything to the contrary herein, but subject to Section 1.10 hereof, all financial
               ratios and tests (including the amount of Consolidated Total Assets and Consolidated Adjusted EBITDA)
               contained in this Agreement that are calculated with respect to any Test Period during which any Subject
               Transaction occurs shall be calculated with respect to such Test Period and such Subject Transaction on a Pro
               Forma Basis. Further, if since the beginning of any such Test Period and on or prior to the date of any required
               calculation of any financial ratio or test (x) any Subject Transaction has occurred or (y) any Person that
               subsequently became a Restricted Subsidiary or was merged, amalgamated or consolidated with or into the Top
               Borrower or any of its Restricted Subsidiaries or any joint venture since the beginning of such Test Period has
               consummated any Subject Transaction, then, in each case, any applicable fmancial ratio or test shall be calculated
               on a Pro Forma Basis for such Test Period as if such Subject Transaction had occurred at the beginning of the
               applicable Test Period.

                       (c)      Notwithstanding anything to the contrary contained in paragraph (a) above or in the definition
               of "Capital Lease," in the event of an accounting change (whether before or after the Closing Date) requiring all




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               leases to be capitalized, only those leases (assuming for purposes hereof that such leases were in existence on
               November 8, 2016) that would constitute Capital Leases in conformity with GAAP on November 8, 2016 shall
               be considered Capital Leases, and all calculations and deliverables under this Agreement or any other Loan
               Document shall be made or delivered, as applicable, in accordance therewith.

                        Section 1.05.   Effectuation of Transactions. Each of the representations and warranties contained in
               this Agreement (and all corresponding definitions) is made after giving effect to the Transactions, unless the
               context otherwise requires.

                         Section 1.06.     Timing of Payment of Performance. When payment of any obligation or the
               performance of any covenant, duty or obligation is stated to be due or performance required on a day which is
               not a Business Day, the date of such payment (other than as described in the definition of "Interest Period") or
               performance shall extend to the immediately succeeding Business Day, and, in the case of any payment accruing
               interest, interest thereon shall be payable for the period of such extension.

                        Section 1.07.   Times of Day. Unless otherwise specified herein, all references herein to times of day
               shall be references to New York City time (daylight or standard, as applicable).

                        Section 1.08.     Currency Equivalents Generally.

                         (a)      For purposes of any determination under Article 5, Article 6 (other than the calculation of
               compliance with any financial ratio for purposes of taking any action hereunder) or Article 7 with respect to the
               amount of any Indebtedness, Lien, Restricted Payment, Restricted Debt Payment, Investment, Disposition, Sale
               and Lease-Back Transaction, affiliate transaction or other transaction, event or circumstance, or any
               detenuination under any other provision of this Agreement, (any of the foregoing, a "specified transaction"), in
               a currency other than Dollars, (i) the Do llar equivalent amount of a specified transaction in a currency other than
               Dollars shall be calculated based on the rate of exchange quoted by the Bloomberg Foreign Exchange Rates &
               World Currencies Page (or any successor page thereto, or in the event such rate does not appear on any
               Bloomberg Page, by reference to such other publicly available service for displaying exchange rates as may be
               agreed upon by the Administrative Agent and the Top Borrower) for such foreign currency, as in effect at I I :00
               a.m. (London time) on the date of such specified transaction (which, in the case of any Restricted Payment, shall
               be deemed to be the date of the declaration thereof and, in the case of the incurrence of Indebtedness, shall be
               deemed to be on the date first committed): provided, that if any Indebtedness is incurred (and, if applicable,
               associated Lien granted) to refinance or replace other Indebtedness denominated in a currency other than Dollars,
               and the relevant refinancing or replacement would cause the applicable Dollar-denominated restriction to be
               exceeded if calculated at the relevant currency exchange rate in effect on the date of such refinancing or
               replacement, such Dollar-denominated restriction shall be deemed not to have been exceeded so long as the
               principal amount of such refmancing or replacement Indebtedness (and, if applicable, associated Lien granted)
               does not exceed an amount sufficient to repay the principal amount of such Indebtedness being refinanced or
               replaced, except by an amount equal to (x) unpaid accrued interest and premiums (including tender premiums)
               thereon plus other reasonable and customary fees and expenses (including upfront fees and original issue
               discount) incurred in connection with such refinancing or replacement, (y) any existing commitments unuti lized
               thereunder and (z) additional amounts permitted to be incurred under Section 6.01 and (ii) for the avoidance of
               doubt, no Default or Event of Default shall be deemed to have occurred solely as a result of a change in the rate
               of currency exchange occurring after the time of any specified transaction so long as such specified transaction
               was permitted at the time incurred, made, acquired, committed, entered or declared as set forth in clause (i). For
               purposes of calculating compliance with any financial ratio for purposes of taking any action hereunder, on any
               re levant date of determination, amounts denominated in currencies other than Dollars shall be translated into
               Dollars at the applicable currency exchange rate used in preparing the financial statements delivered pursuant to
               Sections 5.0 l (a) or (hl (or, prior to the first such delivery, the financial statements referred to in Section 3.04).
               as applicable, for the relevant Test Period and will, with respect to any Indebtedness, reflect the currency
               translation effects, determined in accordance with GAAP, of any Hedge Agreement permitted hereunder in
               respect of currency exchange risks with respect to the applicable currency in effect on the date of determination




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               for the Dollar equivalent amount of such Indebtedness; provided that the amount of any Indebtedness that is
               subject lo a Debt FX Hedge shall be determined in accordance with the definition of"Consolidated Total Debt".

                        (b)    Each provision of this Agreement shall be subject to such reasonable changes of construction
               as the Administrative Agent may from time to time specify (acting at the Direction of the Required Lenders)
               with the Top Borrower' s consent to appropriately reflect a change in currency of any country and any relevant
               market convention or practice re lating to such change in currency.

                        Section 1.09.    Cashless Rollovers. Notwithstanding anything to the contrary contained in this
               Agreement or in any other Loan Document, to the extent that any Lender extends the maturity dale of, or
               replaces, renews or refinances, any of its then existing Loans with loans incurred under a new credit facility, to
               the extent such refinancing is effected by means of a "cashless roll" by such Lender, such refinancing shall be
               deemed to comply with any requirement hereunder or any other Loan Document that such payment be made "in
               Dollars", " in immediately available funds", " in Cash" or any other similar requirement.

                        Section 1.10.     Certain Calculations and Tests.

                         (a)      Notwithstanding anything to the contrary herein, to the extent that the terms of this Agreement
               require (i) compliance with any financial ratio or test (including any cap expressed as a percentage of
               Consolidated Adjusted EBITDA or Consolidated Total Assets and/or (ii) the absence of a Default or Event of
               Default (or any type of Default or Event of Default) as a condition to (A) the consummation of any transaction
               in connection with any acquisition or similar Investment (including the assumption or incurrence of
               Indebtedness), (B) the making of any Restricted Payment and/or (C) the making of any Restricted De bt Payment,
               the detennination of whether the relevant condition is satisfied may be made, al the election of the Top Borrower,
               (1) in the case of any acquisition or similar Investment (including with respect lo any Indebtedness contemplated
               or incurred in connection therewith), at the time of (or on the basis of the financial statements for the most
               recently ended Test Period at the time of) either (x) the execution of the defmitive agreement with respect to
               such acquisition or Investment or (y) the consummation of such acquisition or Investment, (2) in the case of any
               Restricted Payment (including with respect to any Indebtedness contemplated or incurred in connection
               therewith), at the time of (or on the basis of the fmancial statements for the most recently ended Test Period at
               the time of) (x) the declaration of such Restricted Payment or (y) the making of such Restricted Payment and (3)
               in the case of any Restricted Debt Payment (including with respect to any Indebtedness contemplated or incurred
               in connection therewith), at the time of (or on the basis of the financial statements for the most recently ended
               Test Period al the time of) (x) delivery of irrevocable (which may be conditional) notice with respect to such
               Restricted Debt Payment or (y) the making of such Restricted Debt Payment, in each case, after giving effect,
               on a Pro Forma Basis, to (I) the relevant acquisition, Investment, Restricted Payment, Restricted Debt Payment
               and/or any related Indebtedness (including the intended use of proceeds thereof) and (II) to the extent definitive
               documents in respect thereof have been executed or the declaration of any Restricted Payment or delivery of
               notice with respect to a Restricted Debt Payment (which definitive documents, declaration or notice has not
               terminated or expired without the consummation thereof), any additional acquisition, Investment, Restricted
               Payment, Restricted De bt Payment and/or any related Indebtedness (including the intended use of proceeds
               thereof) that the Top Borrower has elected to be determined as set forth in this clause (a).

                        (b)      For purposes of determining the permissibility of any action, change, transaction or event that
               requires a calculation of any financial ratio or test (including the amount of Consolidated Adjusted EBITDA or
               Consolidated Total Assets), such financial ratio or test shall be calculated at the time such action is taken (subject
               to clause (a) above), such change is made, such transaction is consummated or such event occurs, as the case
               may be, and no Default or Event of Default shall be deemed to have occurred solely as a result of a change in
               such financial ratio or test occurring after such calculation.

                        (c)      [Reserved).




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                        (d)     The principal amount of any non-interest bearing Indebtedness or other discount security
               constituting Indebtedness at any date shall be the principal amount thereof that would be shown on a balance
               sheet of the Top Borrower dated such date pre pared in accordance w ith GAAP.

                         (e)      The increase in any amount secured by any Lien by virtue of the accrual of interest, the
               accretion of accreted value, the payment of interest or a dividend in the form of additional Indebtedness,
               amortization of original issue discount and/or any increase in the amount of Inde btedness outstanding sole ly as
               a result of any fluctuation in the exchange rate of any applicable currency will not be deemed to be the granting
               of a Lie n for purposes of Section 6.02.

                       (f)      Whenever a financial ratio or test is to be calculated on a proforma basis, the reference to the
               "Test Period" for purposes of calculating such financial ratio or test shall be deemed to be a reference to, and
               shall be based on, the most recently e nded Test Period for w hich internal financial stateme nts of the Top
               Borrower are available (as determined in good faith by the Borrower).

                        Section 1.11.    Guarantees and Collateral. Notwithstanding any provision of any Loan Document to
               the contrary, for purposes of any determination relating to the ABL Priority Collateral as to w hich the
               Administrative Agent is granted discretion here unde r or under any other Loan Document (including any
               determination with respect to any waiver or extension or any opportunity to request that is permitted or required
               under the definition of "Collateral and Guarantee Requirement," under this Agreement or under any othe r Loan
               Document), the Administrative Agent shall be deemed to have agreed and accepted any determination in respect
               thereof by the Applicable Administrative Agent.

                         Section 1.12.    Divis ion. For all purposes under the Loan Documents, in connection with any di vis ion
               or plan of division under the Delaware Limited Liability Company Act (each an "LLC Division"): (a) if any
               asset, right, obligation or liability of any Person becomes the asset, right, obligation or liability of a different
               Person, then it shall be deemed to have been transferred from the original Person to the subseque nt Person and
               (b) if any new Person comes into existence, such new Person shall be deemed to have been organized on the first
               date of its existence by the ho lders of its Capital Stock at such time.

                                                                  ARTICLE2

                                                                THE CREDITS

                       Section 2.01.     Commitments.

                        (a)      Subject to the terms and conditions set forth herein, each applicable Initial Term Lender
               severally, and not jointly, agrees to make New Money Term Loans to the Borrowers on the Closing Date in
               Dollars in a principal amount not to exceed its New Money Tenn Loan Commitment.

                        (b)      On the Closing Date, (i) each Exchanging Firs t Lien Lender shall receive the applicable Initial
               Exchange Term Loans as consideration for the sale and assignment of its Existing First Lien Loans through an
               open marke t purchase by the Purchasing Borrowers pursuant to the Exchange Agreement, and (ii) each
               Exchanging Second Lien Lender shall receive the applicable Initial Exchange Tenn Loans as consideration for
               the sale and assignment of its Existing Second Lie n Loans through an open marke t purchase by the Purchasing
               Borrowers pursuant to the Exchange Agreement.

                        (c)      On the date of each subsequent exchange, (i) each Subsequent Exchange Term Lender shall
               receive the Subsequent Exchange Loans as consideration for the sale and assignment of its Existing First Lien
               Loans through an open market purchase by the Purchasing Borrowers pursuant to the Exchange Agreement, and
               (ii) each Subsequent Exchange Te rm Lende r shall receive the Subsequent Exchange Loans as consideration for
               the sale and assignment of its Existing Second Lien Loans through an open marke t purc hase by the Purchasing
               Borrowers pursuant to the Exchange Agreement.




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                        (d)      Amounts paid or prepaid in respect of the Loans may not be re-borrowed.

                        Section 2.02.     Loans and Borrowings.

                      (a)     Each Loan shall be made as part of a Borrowing consisting of Loans of the same Class and
               Type made by the Lenders ratably in accordance with their respective Commitments of the applicable Class.

                        (b)       Subject to Section 2.14, each Borrowing shall be comprised entirely of A.BR Loans or LlBO
               Rate Loans as any Borrower (or the Top Borrower on behalf of any Borrower) may request in accordance
               herewith. Each Lender at its option may make any LIBO Rate Loan by causing any domestic or foreign branch
               or Affiliate of such Lender to make such Loan (or to otherwise be the holder of such Loan); provided that (i) any
               exercise of such option shall not affect the obligation of any Borrower to repay such Loan in accordance with
               the terms of this Agreement, (ii) such LIBO Rate Loan shall be deemed to have been made and held by such
               Lender, and the obligation of such Borrower to repay such LIBO Rate Loan shall nevertheless be to such Lender
               for the account of such domestic or foreign branch or Affiliate of such Lender and (iii) in exercising such option,
               such Lender shall use reasonable efforts to minimize increased costs to any Borrower resulting therefrom (which
               obligation of such Lender shall not require it to take, or refrain from taking, actions that it determines would
               result in increased costs for which it will not be compensated here under or that it otherwise determines would
               be disadvantageous to it and in the event of such request for costs for which compensation is provided under this
               Agreement, the provisions of Section 2.15 shall apply); provided, further, that no such domestic or foreign
               branch or Affiliate of such Lender shall be entitled to any greater indemnification under Section 2.17 in respect
               of any U.S. federal withholding tax with respect to such LIBO Rate Loan than that to which the applicable
               Lender was entitled on the date on which such Loan was made (except in connection with any indemnification
               entitlement arising as a result of any Change in Law after the date on which such Loan was made).

                        (c)      At the commencement of each Interest Period for any LIBO Rate Borrowing, such LIBO Rate
               Borrowing shall comprise an aggregate principal amount that is an integral multiple of $50,000 and not less than
               $250,000. Each ABR Borrowing when made shall be in a minimum principal amount of $50,000. Borrowings
               of more than one Type and Class may be outstanding at the same time; provided that there shall not at any time
               be more than a total of l Odifferent Interest Periods in effect for LIBO Rate Borrowings at any time outstanding
               (or such greater number of different Interest Periods as the Administrative Agent may agree from time to time).

                         (d)       Notwithstanding any other provision of this Agreement, the Top Borrower shall not, nor shall
               it be entitled to, request, or to elect to convert or continue, any Borrowing if the Interest Period requested with
               respect thereto would end after the Maturity Date applicable to the relevant Loans.

                        Section 2.03.    Requests for Borrowings. Each Term Loan Borrowing, each conversion of Tenn
               Loans from one Type to the other, and each continuation of LIBO Rate Loans shall be made upon irrevocable
               notice by the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) to the Administrative
               Agent (provided that notices in respect of Term Loan Borrowings (x) to be made on the Closing Date may be
               conditioned on the closing of the Exchange Transactions and (y) to be made in connection with any Subsequent
               Exchange Term Loans may be conditioned on the closing of the related open market purchases described in the
               Subsequent Exchange Term Loan Exchange Agreement). Each such notice must be in the form of a written
               Borrowing Request, appropriately completed and signed by a Responsible Officer of the relevant Borrower (or
               the Top Borrower on behalf of the relevant Borrower) or by telephone (and promptly confirmed by delivery of
               a w ritten Borrowing Request, appropriately completed and signed by a Responsible Officer of the relevant
               Borrower (or the Top Borrower on behalf of the relevant Borrower)) and must be received by the Administrative
               Agent (by hand delivery, fax or other electronic transmission (including " .pdf' or " .tif')) not later than (i) 1 :00
               p.m. three Business Days prior to the requested day of any Borrowing of (or exchange for), conversion to or
               continuation ofLIBO Rate Loans (or one Business Day in the case of any Borrowing of LIBO Rate Loans to be
               made on the Closing Date) and (ii) 9 :00 a.m. on the requested date of any Borrowing of or conversion to ABR
               Loans (or, in each case, such later time as is reasonably acceptable to the Administrative Agent).




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                        If no eleclion as lo lhe Type of Borrowing is specified, then lhe requested Borrowing shall be an ABR
               Borrowing. If no Inlerest Period is specified with respecl lo any requesled LIBO Rale Borrowing, then the
               relevant Borrower shall be deemed to have selected an Interest Period of one month' s duration. The
               Administrative Agent shall advise each Lender of the details and amount of any Loan to be made as part of the
               relevant requested Borrowing (x) in the case of any ABR Borrowing, on the same Business Day of receipt of a
               Borrowing Requesl in accordance with this Section or (y) in the case of any LIBO Rale Borrowing, no later than
               one Business Day following receipt of a Borrowing Request in accordance wilh this Seclion.

                        Section 2.04.    [Reserved].

                       Section 2.05.     [Reserved].

                       Section 2.06.     [Reserved].

                       Section 2.07.     Funding of Borrowings.

                        (a)       Each applicable Le nder shall make each New Money Tenn Loan to be made by it he reunder
               not laler lhan (i) 1:00 p.m., in the case of LIBO Rale Loans, and (ii) 2:00 p.m., in the case of ABR Loans, in
               each case on the Business Day specified in the applicable Borrowing Request by wire transfer of immediately
               available funds to the account of the Administrative Agenl most recently designated by it for such purpose by
               notice to the Lenders in an amount equal to such Lender' s respective Applicable Percentage. The Administrative
               Agent will make such New Money Tenn Loans available to the relevant Borrower (or the Top Borrower on
               behalf of the relevanl Borrower) by promptly crediting the amounts so received on the same Business Day, in
               like funds, to lhe account designale d in the relevant Borrowing Request or as otherwise direcled by the Top
               Borrower.

                        (b)       Unless the Administralive Agent has received notice from any applicable Lender that such
               Lender will not make available to the Administrative Agent such Lender' s share of any Borrowing in respect of
               New Money Tenn Loans prior to the proposed date of such Borrowing, the Administrative Agent may assume
               that such Le nde r has made such share available on such date in accordance with paragraph (a) of this Section and
               may, in reliance upon such assumption, make available to the relevant Borrower (or the Top Borrower as agent
               for the relevant Borrower) a corresponding amount. In such event, if any Lender has not in fact made its share
               of the applicable Borrow ing available to the Administrative Agent, then the applicable Lender and the Borrowers
               severally agree to pay to the Administrative Agent forthwith on demand (without duplication) such
               corresponding amount with interest thereon, for each day from and including the date such amount is made
               available to the re levanl Borrowe r to but excluding the dale of payment to the Adminislrative Agent, at (i) in the
               case of such Lender, the greater of the Federal Funds Effective Rate and a rate determined by the Administrative
               Agent in accordance with banking industry rules on interbank compensation or (ii) in the case of any Borrower,
               the interest rate applicable to New Money Tenn Loans comprising such Borrowing at such time. If such Lender
               pays such amount to the Administrative Agent, then such amount shall constitute such Lender's Loan included
               in such Borrowing and the obligation of the relevant Borrower to repay the Administrative Agenl such
               corresponding amount pursuanl lo this Seclion 2.07(b) shall cease. If any Borrower pays such amount to the
               Administrative Agent, the amount so paid shall constitute a repayment of such Borrowing by such amount
               Nothing herein shall be deemed to relieve any Lender from its obligation to fulfill its Commitment or to prejudice
               any rights which the Administrative Agent or the Top Borrower or any other Loan Party may have against any
               Lender as a result of any default by such Lender hereunder.

                       Section 2.08.     Type; Interest Elections.

                        (a)      Each Borrowing shall initially be of the Type specified in the applicable Borrowing Request
               and, in the case of any LIBO Rate Borrowing, shall have an inilial Interest Period as specified in such Borrowing
               Request. Thereafter, the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) may elect
               to convert any Borrowing to a Borrowing of a different Type or to continue such Borrowing and, in the case of




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               a LIBO Rate Borrowing, may elect Interest Periods therefor, all as provided in this Section. The relevant
               Borrower (or the Top Borrower on behalf of the relevant Borrower) may elect different options with respect to
               different portions of the affected Borrowing, in which case each such portion shall be allocated ratably among
               the Lenders based upon their Applicable Percentages and the Loans comprising each such portion shall be
               considered a separate Borrowing.

                        (b)      To make an election pursuant to this Section, the relevant Borrower (or the Top Borrower on
               behalf of the relevant Borrower) shall deliver an Interest Election Request, appropriately completed and signed
               by a Responsible Officer of the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) of
               the applicable election to the Administrative Agent.

                        If any such Interest Election Request requests a LIBO Rate Borrowing but does not specify an Interest
               Period, then the Top Borrower shall be deemed to have selected an Interest Period of one month's duration.

                       (c)      Promptly following receipt of an Interest Election Request, the Administrative Agent shall
               advise each applicable Lender of the details thereof and of such Lender's portion of each resulting Borrowing.

                         (d)     If the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) fails to
               deliver a timely Interest Election Request with respect to a LIBO Rate Borrowing prior to the end of the Interest
               Period applicable thereto, then, unless such Borrowing is repaid as provided herein, such Borrowing shall be
               converted at the end of such Interest Period to an ABR Borrowing. Notwithstanding anything to the contrary
               herein, if an Event of Default exists and the Administrative Agent, at the request of the Required Lenders, so
               notifies the relevant Borrower (or the Top Borrower on behalf of the re levant Borrower), then, so long as such
               Event of Default exists (i) no outstanding Borrowing may be converted to or continued as a LIBO Rate
               Borrowing and (ii) unless repaid, each LIBO Rate Borrowing shall be converted lo an ABR Borrowing at the
               end of the then-current Interest Period applicable thereto.

                      Section 2.09.   Termination and Reduction of Commitments. Unless previously terminated, the New
               Money Term Loan Commitments on the Closing Date shall automatically terminate upon the making of the New
               Money Loans on the Closing Date.

                       Section 2.10.     Repavment of Loans: Evidence of Debt.

                         (a)     (i) The Borrowers hereby jointly and severally unconditionally promise to repay the
               outstanding principal amount of each of the New Money Term Loans and the Initial Exchange Term Loans to
               the Administrative Agent for the account of each applicable Term Lender (i) commencing October 1, 2020, on
               the first Business Day of each January, April, July and October prior to the Maturity Date (each such date being
               referred to as a "Loan Installment Date"), in each case in an amount equal to 0.25% of the original principal
               amount of each of the New Money Term Loans and the Initial Exchange Term Loans (as such payments may be
               reduced from time to time as a result of the application of prepayments in accordance with Section 2.11), and
               (ii) on the Maturity Date, in an amount equal to the remainder of the principal amount of each of the New Money
               Term Loans and the Initial Exchange Term Loans outstanding on such date, together in each case with accrued
               and unpaid interest on the principal amount to be paid to but excluding the date of such payment.

                                (ii)    The relevant Borrower (or the Top Borrower on behalf of the re levant Borrower) shall
                       repay the Subsequent Exchange Term Loans of any Class in such scheduled amortization installments
                       and on such date or dates as shall be specified therefor in the applicable Subsequent Exchange Term
                       Loan Facility Amendment (as such payments may be reduced from time to time as a result of the
                       application of prepayments in accordance with Section 2.11 or increased as a result of any increase in
                       the amount of such Subsequent Exchange Term Loans of such Class pursuant lo Section 2.22(a)).

                       (b)      [Reserved].




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                       (c)      Each Lender shall maintain in accordance with its usual practice an account or accounts
               evidencing the indebtedness of the Borrowe rs to such Lender resulting from each Loan made by such Lender,
               including the amounts of principal and interest payable and paid to such Lender from time to time hereunder.

                        (d)     The Administrative Agent shall maintain accounts, in particular the Register pursuant to
               Section 9.05(b), in which it shall record (i) the amount of each Loan made hereunder and the Class and Type
               thereof and the Interest Period (if any) applicable thereto, (ii) the amount of any principal or interest due and
               payable or to become due and payable from each Borrower to each Lender hereunder and (iii) the amount of any
               sum received by the Administrative Agent hereunder for the accounts of the Lenders and each Lender' s share
               thereof.

                        (e)      The entries made in the accounts and the Register maintained pursuant to paragraphs (c) or®
               of this Section shall be prima facie evidence of the existence and amounts of the obligations recorded therein
               (absent manifest error); provided that the failure of any Lende r or the Administrative Agent to maintain such
               accounts or Register or any manifest error therein shall not in any manner affect the obligation of any Borrower
               to repay the Loans in accordance with the tenus of this Agreement; provided, further, that in the event of any
               inconsistency between the Register maintained by the Administrative Agent pursuant to paragraph (d) of this
               Section and any Lender' s accounts, the Register shall govern.

                        (f)      Any Lender may request that any Loan made (or received as consideration) by it be evidenced
               by a Promissory Note. In such event, the relevant Borrower shall prepare, execute and deliver a Promissory
               Note to such Le nder payable to such Lender and its registered penuitted assigns; it being understood and agreed
               that such Lender (and/or its applicable permitted assign) shall be required to return such Promissory Note to the
               Top Borrower in accordance with Section 9.05(b)(iii) and upon the occurrence of the Tenuination Date (or as
               promptly thereafter as practicable). If any Lender loses the original copy of its Promissory Note, it shall execute
               an affidavit of loss containing an indemnification provision reasonably satisfactory to the Top Borrower.

                       Section 2.11.     Prepavment of Loans.

                       (a)      Optional Prepavments.

                                (i)      Upon prior notice in accordance with paragraph (a)(iii) of this Section 2.11, any
                       Bon-ower (or the Top Borrower on behalf of any Bon-ower) shall have the right at any time and from
                       time to time to prepay any Borrowing of Term Loans of any Class in whole or in part without premium
                       or penalty (but subj ect, (A) to Sections 2.12(c) and 2.12(d) and (B) if applicable, to Section 2.16). Each
                       such prepayment shall be paid to the Lende rs in accordance with Section 2.18(b).

                                (ii)     [Reserved).

                                 (iii)   The relevant Bon-ower (or the Top Borrower on behalf of the relevant Borrower) shall
                       notify the Administrative Agent in w riting of any prepayment under this Section 2.11 (a) (i) in the case
                       of any prepayment of a LIBO Rate Borrowing, not later than 1:00 p.m. three Business Days before the
                       date of prepayment or (ii) in the case of any prepayment of an ABR Borrowing, not later than 11 :00
                       a.m. on the day of prepayment (or, in each case, such later time as to which the Administrative Agent
                       may reasonably agree). Each such notice shall be irrevocable (except as set forth in the proviso to this
                       sentence) and shall specify the prepayment date and the principal amount of each Borrowing or portion
                       or each relevant Class to be prepaid; provided that any notice of prepayment delivered by the relevant
                       Borrower (or the Top Borrower on behalf of the relevant Borrower) may be conditioned upon the
                       effectiveness of other transactions, in which case such notice may be revoked by the relevant Borrower
                       (or the Top Borrower on behalf of the relevant Borrower) (by notice to the Administrative Agent on or
                       prior to the specified effective date) if such condition is not satisfied. Promptly following receipt of any
                       such notice relating to any Borrowing, the Administrative Agent shall advise the applicable Lenders of
                       the contents thereof. Each partial prepayment of any Borrowing shall be in an amount at least equal to




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                  the amount that would be permitted in the case of a Borrowing of the same Type and Class as provided
                  in Section 2.02(c), or such lesser amount that is then outstanding with respect to such Borrowing being
                  repaid (and in increments of $100,000 in excess thereof or such lesser incremental amount that is then
                  outstanding with respect to such Borrowing being repaid). Each prepayment of Term Loans shall be
                  applied against the remaining scheduled installments of principal due in respect of the Tenn Loans of
                  such Class or Classes in the manner specified by the relevant Borrower (or the Top Borrower on behalf
                  of the relevant Borrower) or, in the absence of any such specification on or prior to the date of the
                  re levant optional prepayment, in direct order of maturity.

                  (b)     Mandatory Prepavments.

                           (i)       No later than the fifth Business Day after the date on which the financial statements
                  with respect to each Fiscal Year of the Top Borrower are required to be delivered pursuant to Section
                  5.0l(b). commencing with the Fiscal Year ending on or about December 31 , 2020, the Top Borrower
                  shall prepay the outstanding principal amount of Initial Term Loans and Subsequent Exchange Term
                  Loans then subject to ratable prepayment requirements in accordance with Section 2.18(b) in an
                  aggregate principal amount (the "ECF Prepayment Amount") equal to (A) the Required Excess Cash
                  Flow Percentage of Excess Cash Flow of the Top Borrower and its Restricted Subsidiaries for the Excess
                  Cash Flow Period then ended, minus (B) at the option of the Top Borrower, (w) the aggregate principal
                  amount of any Loans prepaid pursuant to Section 2.1 l(a) orior to such date, (x) cash amounts used to
                  repurchase any loans under the First Lien Facility or the Second Lien Facility pursuant to Section
                  6.04(b)(iv). (y) the aggregate principal amount of any Revolving Loans (as defined in the ABL Credit
                  Agreement) prepaid pursuant to Section 2.11 (a) of the ABL Credit Agreement (or equivalent provision
                  under any other document governing any ABL Facility) prior to such date (to the extent accompanied
                  by a permanent reduction in the relevant commitment); provided that no prepayment under this Section
                  Ul(hl. shall be required unless and to the extent the amount thereof would exceed $ 15,000,000.

                           (ii)      Subject to Section 2. ll(b)(vi), no later than the fifth Business Day following the
                  receipt of Net Proceeds in respect of any Prepayment Asset Sale or Net Insurance/Condemnation
                  Proceeds (which for the avoidance of doubt shall not include Net Insurance/Condemnation Proceeds
                  received by AI Dream), the Top Borrower shall apply an amount equal to one hundred percent (100%)
                  of the Net Proceeds or Net Insurance/Condemnation Proceeds received with respect thereto
                  (collectively, the " Subject Proceeds") to prepay the outstanding principal amount oflnitial Term Loans
                  and Subsequent Exchange Tenn Loans then subject to ratable prepayment requirements (the "Subject
                  Loans") in accordance with Section 2.1 8(b).

                           (iii)   Subject to Section 2. 1 l(b)(vi). in the event that the Top Borrower or any of its
                  Restricted Subsidiaries receives Net Proceeds from the issuance or incurrence of Indebtedness by the
                  Top Borrower or any of its Restricted Subsidiaries (other than (x) Indebtedness that is permitted to be
                  incurred under Section 6.01 and/or (y) Indebtedness issued or incurred by Al Dream), the Top Borrower
                  shall, promptly upon (and in any event not later than two Business Days thereafter) the receipt thereof
                  of such Net Proceeds by the Top Borrower or its applicable Restricted Subsidiary, apply an amount
                  equal to 100% of such Net Proceeds to prepay the outstanding principal amount of the relevant Class or
                  Classes of Term Loans in accordance with Section 2. l 8(b).

                          (iv)     Notwithstanding anything in this Section 2.11 (b) to the contrary:

                                   (A)     the Borrowers shall not be required to prepay any amount that would
                          othen-vise be required to be paid pursuant to Sections 2.1 l(b)(i) or (ill above to the extent that
                          if the Top Borrower detenuines in good faith the relevant Excess Cash Flow is generated by
                          any Foreign Subsidiary, the relevant Prepayment Asset Sale is consummated by any Foreign
                          Subsidiary or the relevant Net Insurance/Condemnation Proceeds are received by any Foreign
                          Subsidiary, as the case may be, for so long as the repatriation to the Borrowers of any such




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                        amount would be, in the good faith detenuination of the Top Borrower, prohibited or delayed
                        under any Requirement of Law or conflict with the fiduciary duties of such Foreign
                        Subsidiary's directors, or result in, or could reasonably be expected to result in, a material risk
                        of personal or criminal liability for any officer, director, employee, manager, member of
                        management or consultant of such Foreign Subsidiary (it being understood and agreed that (i)
                        solely within 365 days following the end of the applicable Excess Cash Flow Period or the
                        event giving rise to the relevant Subject Proceeds, the Borrowers shall take all commercially
                        reasonable actions required by applicable Requirements of Law to pem1it such repatriation and
                        (ii) if the repatriation of the relevant affected Excess Cash Flow or Subject Proceeds, as the
                        case may be, is permitted under the applicable Requirement of Law and, to the extent
                        applicable, would no longer conflict with the fiduciary duties of such director, or result in, or
                        be reasonably expected to result in, a material risk of personal or criminal liability for the
                        Persons described above, in either case, within 365 days following the end of the applicable
                        Excess Cash Flow Period or the event giving rise to the relevant Subject Proceeds, the relevant
                        Foreign Subsidiary will promptly repatriate the relevant Excess Cash Flow or Subject Proceeds,
                        as the case may be, and the repatriated Excess Cash Flow or Subject Proceeds, as the case may
                        be, will be promptly (and in any event not later than two Business Days after such repatriation)
                        applied (net of additional Taxes payable or reserved against such Excess Cash Flow or such
                        Subject Proceeds as a result thereot) to the repayment of the Term Loans pursuant to this
                        Section 2.1 l(b) to the extent required herein (without regard to this clause (iv))),

                                 (B)        the Borrowers shall not be required to prepay any amount that ·w ould
                        otherwise be required to be paid pursuant to Sections 2.1 l(b)(i) or (ill to the extent that the
                        relevant Excess Cash Flow is generated by any joint venture or the relevant Subject Proceeds
                        are received by any joint venture, in each case, for so long as the distribution to the Top
                        Borrower of such Excess Cash Flow or Subject Proceeds would, in the good faith determination
                        of the Top Borrower, be prohibited under the Organizational Documents governing such joint
                        venture; it being understood that if the relevant prohibition ceases to exist within the 365-day
                        period following the end of the applicable Excess Cash Flow Period or the event giving rise to
                        the relevant Subject Proceeds, the relevant joint venture will promptly distribute the relevant
                        Excess Cash Flow or the relevant Subject Proceeds, as the case may be, and the distributed
                        Excess Cash Flow or Subject Proceeds, as the case may be, will be promptly (and in any event
                        not later than tv,ro Business Days after such distribution) applied to the repayment of the Term
                        Loans pursuant to this Section 2.ll(b) to the extent required herein (without regard to this
                        clause (iv)), and

                                 (C)       if the Top Borrower and the Required Lenders mutually detenuine ii1 good
                        faith that the repatriation (or other intercompany distribution) to the Top Borrower, directly or
                        indirectly, from a Foreign Subsidiary as a distribution or dividend of any amounts required to
                        mandatorily prepay the Term Loans pursuant to Sections 2.ll(b)(i) or (ill above would result
                        in the Top Borrower or any Restricted Subsidiary incurring a material and adverse Tax liability
                        (including any withholding Tax) (such amount, a ''Restricted Amount"), the amount that the
                        Borrowers shall be required to mandatorily prepay pursuant to Sections 2.1 l(b)(i) or (ill above,
                        as applicable, shall be reduced by the Restricted Amount; provided that to the extent that the
                        repatriation (or other intercompany distribution) of the relevant Subject Proceeds or Excess
                        Cash Flow, directly or indirectly, from the relevant Foreign Subsidiary would no longer have a
                        material adverse tax consequence within the 365-day period following the event giving rise to
                        the relevant Subject Proceeds or the end of the applicable Excess Cash Flow Period, as the case
                        may be, an amount equal to the Subject Proceeds or Excess Cash Flow, as applicable, and to
                        the extent available, not previously applied pursuant to this clause (C). shall be promptly
                        applied to the repayment of the Term Loans pursuant to Section 2. 11 (b) as otherwise required
                        above;




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                                (v)      Any Term Lender may elect, by notice to the Administrative Agent at or prior to the
                       time and in the manner specified by the Administrative Agent, prior to any prepayment of Term Loans
                       required to be made by the Borrowers pursuant to this Section 2.ll(b), to decline all (but not a portion)
                       of its Applicable Percentage of such prepayment (such declined amounts, the «Declined Proceeds"), in
                       which case such Declined Proceeds shall,first, be applied to any mandatory prepayment required under
                       Section 2.1 l(b) of the First Lien Credit Agreement and, second, be applied to any mandatory
                       prepayment required under Section 2.11 (b) of the Second Lien Credit Agreement; provided that in the
                       event that any lender under the First Lien Credit Agreement and the Second Lien Credit Agreement
                       elects to decline (or otherwise waives) receipt of such Declined Proceeds in accordance with the terms
                       of the First Lien Credit Agreement and the Second Lien Credit Agreement, as applicable, the remaining
                       amount thereof may be retained by the Borrowers. If any Lender fails to deliver a notice to the
                       Administrative Agent of its e lection to decline receipt of its Applicable Percentage of any mandatory
                       prepayment within the time frame specified by the Administrative Agent, such failure will be deemed
                       to constitute an acceptance of such Lender's Applicable Percentage of the total amount of such
                       mandatory prepayment of Term Loans.

                                (vi)     Except as otherwise contemplated by this Agreement or provided in, or intended with
                       respect to, any Subsequent Exchange Term Loan Facility Amendment (provided, that such Subsequent
                       Exchange Term Loan Facility Amendment may not provide that the applicable Class of Term Loans
                       receive a greater than pro rata portion of mandatory prepayments of Term Loans pursuant to
                       Section 2.1 l(b) than would otherwise be permitted by this Agreement), in each case effectuated or
                       issued in a manner consistent with this Agreement, each prepayment of Tenn Loans pursuant to
                       Section 2.1 l(b) shall be applied first, to New Money Term Loans, second, to Initial Exchange Term
                       Loans, and third, to each Subsequent Exchange Loan in the order of priority set forth in the relevant
                       Subsequent Exchange Term Loan Facility Amendment. With respect to each relevant Class of Term
                       Loans, all accepted prepayments under this Section 2. ll(b) shall be applied against the remaining
                       scheduled installments of principal due in respect of such Term Loans as directed by the Top Borrower
                       (or, in the absence of direction from the Top Borrower, to the remaining scheduled amortization
                       payments in respect of such Tenn Loans in direct order of maturity), and each such prepayment shall
                       be paid to the Tenn Lenders in accordance with their respective Applicable Percentage of the applicable
                       Class. If no Lenders exercise the right to waive a prepayment of the Tenn Loans pursuant to
                       Section 2.11 (b)(v). the amount of such mandatory prepayments shall be applied first to the then
                       outstanding Term Loans that are ABR Loans to the full extent thereof and then to the then outstanding
                       Term Loans that are LIBO Rate Loans in a manner that minimizes the amount of any payments required
                       to be made by the Top Borrower pursuant to Section 2.16.

                                (vii)    Prepayments made under this Section 2. ll(b) shall be (A) accompanied by accrued
                       interest as required by Section 2.13 and (B) subject to Section 2.16 and (C) subject to Sections 2.12(c)
                       and 2.12(d). but shall otherwise be without premium or penally.

                       Section 2.12.    Fees.

                       (a)      The Top Borrower agrees to pay to the Administrative Agent, for its own account, the annual
               administration fee described in the Agent Fee Letter.

                         (b)      All fees payable hereunder shall be paid on the dates due, in Dollars and in immediately
               available funds, to the Administrative Agent. Fees paid shall not be refundable under any circumstances except
               as other.vise provided in the applicable Fee Letter. Fees payable hereunder shall accrue through and including
               the last day of the month immediately preceding the applicable fee payment date.

                      (c)      In the event that, on or prior to the date that is twelve months after the Closing Date, the Top
               Borrower prepays, repays, refinances, substitutes or replaces any Initial Term Loans, the Borrowers shall pay to
               the Administrative Agent, for the ratable account of each of the applicable Term Lenders, the Prepayment




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               Premium. Such Prepayment Premium shall be due and payable on the date of effectiveness of such prepayment,
               repayment, refinancing, substitution or replacement.

                        (d)      In the event that, on or prior to the date that is eighteen months after the Closing Date, all or
               any portion of the Term Loans is accelerated or othern1ise becomes due for any reason (including the acceleration
               of such Term Loans by operation of law or any automatic acceleration pursuant to the terms of this Agreement)
               under this Agreement, the Borro-wers shall pay lo the Administrative Agent, for the ratable account of each of
               the applicable Term Lenders, the Make-Whole Premium. Such Make-Whole Premium shall be due and payable
               on the date upon which such Tenn Loans are accelerated or otherwise become due.

                         (e)     Unless othervvise indicated herein, all computations offees shall be made on the basis of a 360-
               day year and shall be payable for the actual days elapsed (including the first day but excluding the last day). The
               determination by the Administrative Agent of the amount of any fee hereunder shall be conclusive and binding
               for all purposes, absent manifest error.

                       Section 2.13.     Interest.

                        (a)     The Tenn Loans comprising each ABR Borrowi11g shall bear interest at the Alternate Base Rate
               plus the Applicable Rate.

                        (b)      The Term Loans comprising each LIBO Rate Borrowing shall bear interest at the LIBO Rate
               for the Interest Period in effect for such Borrowing plus the Applicable Rate.

                       (c)      [Reserved).

                        (d)      Notwithstanding the foregoing but in all cases subject to Section 9.05(f), if any principal of or
               interest on any Term Loan or any fee payable by any Borrower hereunder is not, in each case, paid when due,
               whether at stated maturity , upon acceleration or otherwise, the relevant overdue amount shall bear interest, to
               the fullest extent permitted by applicable Requirements of Law, after as well as before judgment, at a rate per
               annum equal to (i) in the case of overdue principal or interest of any Term Loan, 2.00% plus the rate otherwise
               applicable to such Tenn Loan as provided in the preceding paragraphs of this Section 2.13 or (ii) in the case of
               any other amount, 2.00% plus the rate applicable to Term Loans that are ABR Loans as provided in clause (a)
               of this Section 2.13: provided that no amount shall accrue pursuant to this Section 2.13(c) on any overdue amount
               or other amount that is payable to any Defaulting Lender so long as such Lender is a Defaulting Lender.

                        (e)      Accrued interest on each Term Loan shall be payable in arrears on each Interest Payment Date
               for such Tenn Loan and on the Maturity Date; provided that (A) interest accrued pursuant to paragraph (d) of
               this Section shall be payable on demand and (B) in the event of any repayment or prepayment of any Term Loan,
               accrued interest on the principal amount repaid or prepaid shall be payable on the date of such repayment or
               prepayment.

                        (f)      All interest hereunder shall be computed on the basis of a year of 360 days, except that interest
               computed by reference to the Alternate Base Rate at times when the Alternate Base Rate is based on the Prime
               Rate shall be computed on the basis of a year of 365 days (or 366 days in a leap year), and in each case shall be
               payable for the actual number of days elapsed ( including the first day but excluding the last day). The applicable
               Alternate Base Rate or LIBO Rate shall be detennined by the Administrative Agent, and such determination
               shall be conclusive absent manifest error. Interest shall accrue on each Loan for the day on which the Loan is
               made and shall not accrue on a Loan, or any portion thereof, for the day on which the Loan or such portion is
               paid; provided that any Loan that is repaid on the same day on which it is made shall bear interest for one day.

                       Section 2.14.     Alternate Rate of Interest.




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                      (a)      If at least two Business Days prior to the commencement of any Interest Period for a LIBO
               Rate Borrowing:

                                (i)      the Administrative Agent determines (which determination shall be conclusive absent
                       manifest error) that adequate and reasonable means do not exist for ascertaining the LIBO Rate for such
                       Interest Period; or

                               (ii)     the Administrative Agent is advised by the Required Lenders that the LTBO Rate for
                       such Interest Period will not adequately and fairly reflect the cost to such Lenders of making or
                       maintaining their Loans included in such Borrowing for such Interest Period;

               then the Administrative Agent shall promptly give notice thereof to the Top Borrower and the Lenders by
               telephone or facsimile as promptly as practicable thereafter and, until the Administrative Agent notifies the Top
               Borrower and the Lenders that the circumstances giving rise to such notice no longer exist, which the
               Administrative Agent agrees promptly to do, (i) any Interest Election Request that requests the conversion of
               any Borrowing to, or continuation of any Borrowing as, a LIBO Rate Borrowing shall be ineffective and such
               Borrowing shall be converted to an ABR Borrowing on the last day of the Interest Period applicable thereto, and
               (ii) if any Borrowing Request requests a LIBO Rate Borrowing, such Borrowing shall be made as an ABR
               Borrowing.

                        (b)      Notwithstanding anything to the contrary herein or in any other Loan Document, upon the
               occurrence of a Benchmark Transition Event or an Early Opt-in Election, as applicable, the Administrative Agent
               and the Top Borrower may amend this Agreement to replace the LTBO Rate with a Benchmark Replacement.
               Any such amendment with respect to a Benchmark Transition Event or Early Opt-In Election will become
               effective at 5:00 p.m. on the fifth (5th) Business Day after the Administrative Agent has posted such proposed
               amendment to all Lenders, so long as the Administrative Agent has not received, by such time, vvritten notice of
               objection to such proposed amendment from Lenders comprising the Required Lenders: provided that with
               respect to any proposed amendment containing any SOFR-Based Rate, the Lenders shall be entitled to object
               only to the Benchmark Replacement Adjustment contained therein. No replacement of the LIBO Rate with a
               Benchmark Replacement pursuant to Sections 2.14(b) through~ will occur prior to the applicable Benchmark
               Transition Start Date.

                       (c)      1n connection with the implementation of a Benchmark Replacement, the Administrative
               Agent, in consultation with the Top Borrower, will have the right to make Benchmark Replacement Conforming
               Changes from time to time and, notwithstanding anything to the contrary herein or in any other Loan Document,
               any amendments implementing such Benchmark Replacement Conforming Changes will become effective
               without any further action or consent of any other party to this Agreement.

                        (d)     The Administrative Agent will promptly notify the Top Borrower and the Lenders of (i) any
               occurrence of a Benchmark Transition Event or an Early Opt-in Election, as applicable, and its related
               Benchmark Replacement Date and Benchmark Transition Start Date, (ii) the implementation of any Benchmark
               Replacement, (iii) the effectiveness of any Benchmark Replacement Conforming Changes and (iv) the
               commencement or conclusion of any Benchmark Unavailability Period. Any determination, decision or election
               that may be made by the Administrative Agent or Lenders pursuant to Sections 2. l 4(b) through ~ including
               any determination with respect to a tenor, rate or adjustment or of the occurrence or non-occurrence of an event,
               circumstance or date and any decision to take or refrain from taking any action, will be conclusive and binding
               absent manifest error and may be made in its or their reasonable discretion and without consent from any other
               party hereto, except, in each case, as expressly required pursuant to Sections 2. 14(b) through~-

                       (e)      Upon the Top Borrower's receipt of notice of the commencement of a Benchmark
               Unavailability Period, the Top Borrower may revoke any request for a Borrowing of a LIBO Rate Loan and/or
               conversion to or continuation of any LIBO Rate Loans to be made, converted or continued during any
               Benchmark Unavailability Period and, failing that, the Top Borrower will be deemed to have converted any such




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               request into a request for a Borrowing of or conversion to ABR Loans. During any Benchmark Unavailability
               Period, the component of the Alternate Base Rate based upon the LIBO Rate will not be used in any
               determination of the Alternate Base Rate.

                       Section 2.15.     Increased Costs.

                       (a)      If any Change in Law:

                                (i)     imposes, modifies or deems applicable any reserve, special deposit or similar
                       requirement against assets of, deposits with or for the account of, or credit extended by, any Lender
                       (except any such reserve requirement reflected in the LIBO Rate);

                                (ii)      subject the Administrative Agent or any Lender to any Taxes (other than (A)
                       indemnified Taxes and Other Taxes indemnifiable under Section 2.17 and (B) Excluded Taxes) on or
                       with respect to its loans, letters of credit, commitments, or other obligations, or its deposits, reserves,
                       other liabilities or capital attributable thereto; or

                               (iii)    imposes on any Lender or the London interbank market any other condition (other than
                       Taxes) affecting this Agreement or LIBO Rate Loans made by any Lender;

               and the result of any of the foregoing is to increase the cost to the relevant Lender of making or maintaining any
               LIBO Rate Loan (or of maintaining its obligation to make any such Loan) or to reduce the amount of any sum
               received or receivable by such Lender (whether of principal, interest or otherwise) in respect of any LIBO Rate
               Loan in an amount deemed by such Lender to be material, then, within 30 days after the Top Borrower' s receipt
               of the certificate contemplated by paragraph (c) of this Section, the Borrowers will pay to such Lender such
               additional amount or amounts as will compensate such Lender, for such additional costs incurred or reduction
               suffered; provided that the Top Borrower shall not be liable for such compensation if (x) the relevant Change in
               Law occurs on a date prior to the date such Lender becomes a party hereto, (y) such Lender invokes Section 2.20
               or (z) in the case of any request for reimbursement under clause (iii) above resulting from a market dismption,
               (A) the relevant circumstances do not generally affect the banking market or (B) the applicable request has not
               been made by Lenders constituting Required Lenders.

                        (b)       If any Lender determines that any Change in Law regarding liquidity or capital requirements
               has or would have the effect of reducing the rate of return on such Lender' s capital or on the capital of such
               Lender' s holding company, if any, as a consequence of this Agreement or the Loans made by such Lender to a
               level below that which such Lender or such Lender' s holding company could have achieved but for such Change
               in Law other than due to Taxes (taking into consideration such Lender' s policies and the policies of such
               Lender' s holding company with respect to capital adequacy), then within 30 days of receipt by the Top Borrower
               of the certificate contemplated by paragraph (c) of this Section 2.15 the Borrowers will pay to such Lender such
               additional amount or amounts as will compensate such Lender or such Lender' s holding company for any such
               reduction suffered.

                         (c)      Any Lender requesting compensation under this Section 2.15 shall be required to deliver a
               certificate to the Top Borrower that (i) sets forth the amount or amounts necessary to compensate such Lender
               or the holding company thereof, as applicable, as specified in paragraph (a) of this Section 2.15, (ii) sets forth,
               in reasonable detail, the manner in which such amount or amounts were determined and (iii) certifies that such
               Lender is generally charging such amounts to similarly situated borrowers, which certificate shall be conclusive
               absent manifest error.

                        (d)      Failure or delay on the part of any Lender to demand compensation pursuant to this Section
               shall not constitute a waiver of such Lender's right to demand such compensation; provided, however that the
               Borrowers shall not be required to compensate any Lender pursuant to this Section for any increased costs or
               reductions incurred more than 180 days prior to the date that such Lender notifies the Borrowers of the Change




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               in Law giving rise to such increased costs or reductions and of such Lende r' s intention to claim compensation
               therefor; provided, furthe r, that if the Change in Law giving rise to such increased costs or reduc tions is
               retroactive, then the 180-day period referred to above shall be extended to include the period of retroactive effect
               thereof.

                         Section 2. 16.    Break Funding Payments. Subject to Section 9 .05(f), in the event of (a) the conversion
               or prepayme nt of any principal of any LIBO Rate Loan other than on the last day of an Interest Period applicable
               thereto (whether voluntary, mandatory, automatic, by reason of acce le ration or othe rw ise), (b) the failure to
               borrow, convert, continue or prepay any LIBO Rate Loan on the date or in the amount specified in any notice
               delivered pursuant hereto or (c) the assignment of any LIBO Rate Loan of any Lender other than on the last day
               of the Interest Period applicable the re to as a result of a request by the Top Borrower pursuant to Section 2.19,
               then, in any such event, the Borrowers shall compensate each Lender for the actual amount of any actual out-of-
               pocket loss, expense and/or liability (including any loss, expense or liability incurred by reason of the liquidation
               or reemployment of deposits or othe r funds required by such Le nder to fund or maintain LIBO Rate Loans, but
               excluding loss of anticipated profit) that such Lender may incur or sustain as a result of such event. Any Le nder
               requesting compensation under this Section 2.16 shall be required lo deliver a certificate to the Top Borrower
               that (A) sets forth any amount or amounts that such Lender is entitled to receive pursuant to this Section, the
               basis therefor and, in reasonable detail, the manner in which such amount or amounts ·were de termined and (B)
               certifies that such Lender is generally charging the relevant amounts to similarly situated borrowers, which
               certificate shall be conclusive abse nt manifest error. The Top Borrower s hall pay such Lender the amount shown
               as due on any such certificate within 30 days after receipt thereof.

                       Section 2.17.     Taxes.

                         (a)     Any and all payments by or on account of any obligation of any Loan Party under any Loan
               Document shall be made free and clear of and without deduction or withholding for any Taxes, except as required
               by applicable Requirements of Law. If any applicable Requirement of Law (as determined in the good faith
               discretion of an applicable withholding agent) requires the deduction or w ithholding of any Tax from any such
               payment by a w ithholding agent, then (i) if such Tax is an Indemnified Tax and/or Other Tax, the amount payable
               by the applicable Loan Party shall be increased as necessary so that after all required deductions or withholdings
               have been made (including deductions or w ithholdings applicable to additional sums payable under this
               Section 2.17) each Lender (or, in the case of any payme nt made to the Administrative Agent for its own account,
               the Administrative Agent) receives an amount equal to the sum it would have received had no such deductions
               or withholdings been made, (ii) the applicable withholding agent shall be entitled to make such deductions or
               withholdings and (iii) the applicable withholding agent shall timely pay the full amount deducted or withheld
               to the relevant Governmental Authority in accordance with applicable Requirements of Law.

                       (b)       In addition, the Loan Parties shall pay any Other Taxes to the relevant Governmental Authority
               in accordance w ith applicable Require me nts of Law, or, at the option of the Administrative Agent, timely
               reimburse it for the payment of any Other Taxes.

                         (c)     The Borrowers shall jointly and severally indemnify the Administrative Agent and each Le nde r
               w ithin l O days after receipt of the certificate described in the succeeding sentence, for the full amount of any
               Inde mnified Taxes or Other Taxes payable or paid by the Administrative Agent or such Lender, as applicable,
               or required to be withheld or deducted from a payment to such recipient (including Inde mnified Taxes or Other
               Taxes imposed or asserted on or attributable to amounts payable under this Section 2.17), other than any penalties
               de tenuined by a final and non-appealable judgment of a court of competent jurisdiction (or documented in any
               settlement agreeme nt) to have resulted fro m the gross negligence, bad faith or w illful misconduct of the
               Administrative Agent or such Lender, and, in each case, any reasonable expenses arising the refrom or w ith
               respect thereto, w hether or not correctly or legally imposed or asserted; provided that if the Top Borrower
               reasonably believes that such Taxes were not correctly or legally asserted, the Administrative Agent or such
               Lender, as applicable, w ill use reasonable efforts to cooperate w ith the Top Borrower to obtain a refund of such
               Taxes (which shall be repaid to the Top Borrower in accordance with Section 2.17(g)) so long as such efforts




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               would not, in the sole determination of the Administrative Agent or such Lender, result in any additional out-of-
               pocket costs or expenses not reimbursed by such Loan Party or be otherwise materially disadvantageous to the
               Administrative Agent or such Lender, as applicable. In connection with any request for reimbursement under
               this Section 2. l 7(c), the relevant Lender or the Administrative Agent, as applicable, shall deliver a certificate to
               the Top Borrower setting forth, in reasonable detail, the basis and calculation of the amount of the relevant
               payment or liability. Notwithstanding anythiJ1g to the contrary contained in this Section 2.17, no Borrower shall
               be required to indemnify the Administrative Agent or any Lender pursuant to this Section 2.17 for any amount
               to the extent the Administrative Agent or such Lender fails to notify the Top Borrower of such possible
               indemnification claim within 180 days after the Administrative Agent or such Lender receives written notice
               from the applicable taxing authority of the specific tax assessment giving rise to such indemnification claim and
               such certificate shall be conclusive absent manifest error.

                        (d)      [Reserved].

                         (e)     As soon as practicable after any payment of any Taxes pursuant to this Section 2.17 by any
               Loan Party to a Governmental Authority, the Top Borrower shall deliver to the Administrative Agent the original
               or a certified copy of a receipt issued, if any, by such Governmental Authority evidencing such payment, a copy
               of the return reporting such payment or other evidence of such payment that is reasonably satisfactory to the
               Administrative Agent.

                        (f)      Status of Lenders.

                                 (i)      Any Lender that is entitled to an exemption from or reduction of any withholding Tax
                        with respect to any payments made under any Loan Document shall deliver to the Top Borrower and
                        the Administrative Agent, at the time or times reasonably requested by the Top Borrower or the
                        Administrative Agent, such properly completed and executed documentation as the Top Borrower or
                        the Administrative Agent may reasonably request to permit such payments to be made without
                        withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by the
                        Top Borrower or the Administrative Agent, shall deliver such other documentation prescribed by
                        applicable Requirements of Law or reasonably requested by the Top Borrower or the Administrative
                        Agent as will enable the Top Borrower or the Administrative Agent to determine w hether or not such
                        Lender is subject to backup withholding or information reporting requirements. Notwithstanding
                        anything to the contrary in the preceding two sentences, the completion, execution and submission of
                        such documentation (other than such documentation set forth in paragraphs (f)(ii)(A), (ii)(B) and (ii)(D)
                        of this Section) shall not be required if in the Lender' s reasonable judgment such completion, execution
                        or submission would subject such Lender to any material unreimbursed cost or expense or would
                        materially prejudice the legal or commercial position of such Lender. Each Lender hereby authorizes
                        the Administrative Agent to deliver to the Top Borrower and to any successor Administrative Agent
                        any documentation provided to the Administrative Agent pursuant to this Section 2. l 7(f).

                                 (ii)     Without limiting the generality of the foregoing,

                                          (A)     each U.S. Lender shall deliver to the Top Borrower and the Administrative
                                 Agent on or prior to the date on which such U.S. Lender becomes a Lender under this
                                 Agreement (and from time to time thereafter upon the reasonable request of the Top Borrower
                                 or the Administrative Agent), two executed copies of IRS Form W-9 certifying that such Lender
                                 is exempt from U.S. federal backup withholding;

                                          (B)     each Foreign Lender, to the extent it is legally entitled to do so, shall de liver
                                 to the Top Borrower and the Administrative Agent on or prior to the date on which such Foreign
                                 Lender becomes a Lender under this Agreement (and from time to time thereafter upon the
                                 reasonable request of the Top Borrower or the Administrative Agent), whichever of the
                                 following is applicable:




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                                          (1)     in the case of any Foreign Lender claiming the benefits of an income
                                lax lTeaty to which the U.S. is a party, two executed copies of IRS Form W-8BEN or
                                W-8BEN-E, as applicable, establishing any available exemption from, or reduction of,
                                U.S. federal withholding Tax;

                                        (2)     two executed copies of IRS Form W-8ECI or W-EXP (or any
                                successor fom1s);

                                         (3)      in the case of any Foreign Lender claiming the benefits of the
                                exemption for portfolio interest under Section 87l(h) or 881 (c) of the Code, (x) two
                                executed copies of a certificate substantially in the form of Exhibit 0-1 to the effect
                                that such Foreign Lender is not a "bank" within the meaning of Section 88l(c)(3)(A)
                                of the Code, a " 10 percent shareholder" of the Top Borrower within the meaning of
                                Section 87l(h)(3)(B) of the Code, or a "controlled foreign corporation" related to Top
                                Borrower described in Section 88l(c)(3)(C) of the Code(a "U.S. Tax Compliance
                                Certificate") and (y) two executed copies of IRS Form W-8BEN or W-8BEN-E, as
                                applicable (or any successor fom1s) ; or

                                         (4)      to the extent any Foreign Lender is not the beneficial owner (e.g. ,
                                where the Foreign Lender is a partnership), two executed copies ofIRS Form W-81MY
                                (or any successor forms), accompanied by IRS Form W-8EC1, IRS Form W-8EXP,
                                IRS Form W-8BEN or W-8BEN-E, a U.S. Tax Compliance Certificate substantially
                                in the form of Exhibit 0-2 or Exhibit 0-4, IRS Form W-9, and/or other certification
                                documents from each beneficial owner, as applicable; provided that if such Foreign
                                Lender is a partnership (and not a participating Lender) and one or more direct or
                                indirect partners of such Foreign Lender are claiming the portfolio interest exemption,
                                such Foreign Lender may provide a U.S. Tax Compliance Certificate substantially in
                                the fonu of Exhibit 0-3 on behalf of each such direct or indirect partner(s);

                                 (C)     each Foreign Lender, to the extent it is legally entitled to do so, shall deliver
                        to the Top Borrower and the Administrative Agent on or prior to the date on which such Foreign
                        Lender becomes a Lender under this Agreement (and from time to time thereafter upon the
                        reasonable request of the Top Borrower or the Administrative Agent), two executed copies of
                        any other form prescribed by applicable Requirements of Law as a basis for claiming exemption
                        from or a reduction in U.S. federal withholding Tax, duly completed, together with such
                        supplementaiy documentation as may be prescribed by applicable Requirements of Law to
                        permit the Top Borrower or the Administrative Agent to determine the withholding or
                        deduction required to be made; and

                                  (D)     if a payment made to any Lender under any Loan Document would be subject
                        to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to comply with
                        the applicable reporting requirements of FATCA (including those contained in Section 1471 (b)
                        or 1472(b) of the Code, as applicable), such Lender shall deliver to the Top Borrower and the
                        Administrative Agent at the time or times prescribed by applicable Requirements of Law and
                        at such time or times reasonably requested by the Top Borrower or the Administrative Agent
                        such documentation as is prescribed by applicable Requirements of Law (including as
                        prescribed by Section 147l(b)(3)(C)(i) of the Code) and may be necessary for the Top
                        Borrower and the Administrative Agent to comply with their obligations under FATCA, to
                        detenuine whether such Lender has complied with such Lender' s obligations under FATCA or
                        to determine the amount, if any, to deduct and withhold from such payment. Solely for purposes
                        of this clause (D), "FATCA" shall include any amendments made to FATCA after the date of
                        this Agreement.




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                       For the avoidance of doubt, if a Lender is an entity disregarded from its owner for U.S. federal income
               tax purposes, references to the foregoing documentation are intended to refer to documentation with respect to
               such Lender 's regarded owner and, as applicable, such Lender.

                         Each Lender agrees that if any documentation (including any specific documentation required above in
               this Section 2.17(0) it previously delivered expires or becomes obsolete or inaccurate in any respect, it shall
               deliver to the Top Borrower and the Administrative Agent updated or other appropriate documentation
               (inc luding any new documentation reasonably requested by the Top Borrower or the Administrative Agent) or
               promptly notify the Top Borrower and the Administrative Agent in writing of its legal inability to do so.

                         (g)      If the Administrative Agent or any Lender determines, in its sole discretion, that it has received
               a refund (whether received in cash or applied as a credit against any cash taxes pay able) of any Indemnified
               Taxes or Other Taxes as to which it has been indemnified by any Borrower or with respect to which any Borrower
               has paid additional amounts pursuant to this Section 2.17, it shall pay over such refund to the Top Borrower (but
               only to the extent of indemnity payments made, or additional amounts paid, by the relevant Borrower under this
               Section 2.17 with respect to the Indemnified T axes or Other Taxes giving rise to such refund), net of all out-of-
               pocket expenses of the Administrative Agent or such Lender (including any Taxes imposed with respect to such
               refund), and without interest (other than any interest paid by the relevant Governmental Authority with respect
               to such refund); provided that the Top Borrower, upon the request of the Administrative Agent or such Lender,
               agrees to repay the amount paid over to such Loan Party (Jlli!.§. any penalties, interest or other charges imposed
               by the relevant Governmental Authority) to the Administrative Agent or such Lender in the event the
               Administrative Agent or such Lender is required to repay such refund to such Governmental Authority.
               Notwithstanding anything to the contrary in this paragraph (g), in no event will the Administrative Agent or any
               Lender be required to pay any amount to the Top Borrower pursuant to this paragraph (g) to the extent that the
               payment thereof would place the Administrative Agent or such Lender in a less favorable net after-Tax position
               than the position that the Administrative Agent or such Lender would have been in if the Tax subject to
               in demnification had not been deducted, withhe ld or otherwise imposed and the indemnification payments or
               additional amounts giving rise to such refund had never been paid. This Section 2.17 shall not be construed to
               require the Administrative Agent or any Lender to make available its Tax returns (or any other information
               relating to its Taxes which it deems confidential) to the relevant Loan Party or any other Person.

                       (h)      Survival. Each party's obligations under this Section 2.17 shall survive the resignation or
               replacement of the Administrative Agent or any assignment of rights by, or the replacement of, any Lender, the
               tem1ination of the Commitments and the repayment, satisfaction or discharge of all obligations under any Loan
               Document.

                        Section 2. 18.    Pavments Generallv; Allocation of Proceeds; Sharing of Pavments.

                         (a)     Unless othen:vise specified, the relevant Borrower (or the Top Borrower on behalf of the
               re levant Borrower) shall make each payment required to be made by it hereunder (whether of principal, interest
               or fees, or of amounts payable under Section 2.15, 2. 16 or 2.17, or othern1 ise) prior to 3:00 p.m. on the date when
               due, in immediately available funds, without set-off or counterclaim. Any amount received after such time on
               any date may, in the discretion of the Administrative Agent, be deemed to have been received on the next
               succeeding Business Day for purposes of calculating interest thereon. Each such payment shall be made to the
               Administrative Agent to the applicable account designated by the Administrative Agent to the Top Borrower,
               except that any payment made pursuant to Sections 2. 15, 2.16, 2. 17 or 9.03 shall be made directly to the Person
               or Persons entitled thereto. The Administrative Agent shall distribute any such payment received by it for the
               account of any other Person to the appropriate recipient promptl y following receipt thereof. Except as provided
               in Sections 2.19(b) and 2.20, each Borrowing, each payment or prepayment of prin cipal of any Borrowing of a
               given Class, each payment of interest in respect of the Loans of a given Class and each conversion of any
               Borrowing to, or continuation of any Borrowing as, a Borrowing of any Ty pe (and of the same Class) shall be
               allocated pro rata among the Lenders in accordance with their respective Applicable Percentages of the
               applicable Class. Each Lender agrees that in computing such Lender' s portion of any Borrowing to be made




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               hereunder, the Administrative Age nt may, in its discretion, round each Lender ' s percentage of such Borrowing
               to the next highe r or lower w hole Dollar amount. All paym ents he re under shall be made in Dollars. Any
               payment required to be made by the Administrative Agent hereunder shall be deemed to have been made by the
               time required if the Administrative Agent shall, at or before such time, have taken the necessary steps to make
               such payment in accordance with the regulations or operating procedures of the clearing or settlement system
               used by the Administrative Agent to make such payme nt.

                        (b)      Subject in all respects to the provis io ns of each applicable Intercreditor Agreement, all proceeds
               of Collateral received by the Administrative Agent, w hether arising from realization on the Collateral, setoff or
               othenvise (including any payment pursuant to any Acceptable lntercreditor Agreement), and whether or not an
               Event of Default shall have occurred and be continuing, and including any payment or distr ibution made by a
               Loan Party under any proceeding in respect of any Debtor Relief Law, in each case, shall be applied :

                                 (i)       first, to the payment of all costs and expenses then due incurred by the Adm inistrative
                        Agent in connection with any collection, sale or realization on Collateral or otherwise in connection
                        with this Agreement, any other Loan Document or any of the Secured Obligatio ns, including all court
                        costs and the fees and expenses of age nts and legal counsel, the repayment of all advances made by the
                        Administrative Agent hereunder or under any other Loan Docume nt on behalf of any Loan Party and
                        any other costs or expenses incurred in connection w ith the exercise of any right or remedy hereunder
                        or under any other Loan Document until paid in full,

                                (ii)    second, o n a pro rata basis, to pay any fees, indemnities or expense reimbursements
                        then due to the Administrative Agent (othe r than those covered in clause first above) from the Top
                        Borrower constituting Secured Obligations until paid in fu ll,

                                 (iii)    third, on a pro rata basis to the payment of any Secured Obligations consisting of any
                        indemnities owed in connection with any action, litigation or other dispute or proceeding related to the
                        Exchange Transactions and the other Transactions (inc luding, w ithout limitation, any action, litigation
                        or other dispute or proceeding re lated to any temporaty restraining order, preliminary injunction or any
                        similar request for relief) owed to the Initial Term Lenders until paid in full,

                                 (iv)    fourth, on a pro rata basis to the payment of Secured Obligations constituting accrued
                        and unpaid interest on the New Money Term Loans owed to the applicable Initial Term Lenders until
                        paid in full,

                                 (v)      fifth, on a pro rata basis to the payment of Secured Obligations constituting the
                        aggregate outstanding principal amount of the New Money Term Loans to the applicable Initial Term
                        Le nders until paid in full,

                                (vi)       sixth, on a pro rata basis to the payment of any Prepayment Premium and any Make-
                        Whole Payme nt, as applicable, then due and payable in respect of the New Money Term Loans to the
                        applicable Initial Tenn Le nders until paid in full ,

                                 (vii)    seventh, on a pro rata basis the payment of unpaid Secured Obligations in respect of
                        the New Money Te m1 Loans owed to the applicable Initial Tenn Le nders in respect of any fees, expense
                        reimbursements, indemnities and other amounts (other than (x) interest, principal and any Prepayment
                        Premium and any Make-Whole Payment, as applicable, owed in respect of the New Money Term Loans
                        to the applicable Initial Term Lenders and (y) any amounts described in clause (b)(iii) above) until paid
                        in full,

                               (viii)   eighth, on a pro rata basis to the payment of Secured Obligations constituting accrued
                        and unpaid interest on the Initial Exchange Tenn Loans owed to the applicable Initial Tenn Lenders
                        and Subsequent Pari Passu Exchange Tenn Loan Lenders until paid in fu ll,




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                                 (ix)    ninth, on a pro rata basis to the payment of Secured Obligations constituting the
                        aggregate outstanding principal amount of the Initial Exchange Tenn Loans owed to the applicable
                        Initial Term Lenders and Subsequent Pari Passu Exchange Term Loan Lenders until paid in full,

                                (x)      tenth, (x) first, on a pro rata basis to the payment of any Prepayment Premium then
                        due and payable in respect of the Initial Exchange Term Loans owed to the applicable Initial Term
                        Lenders until paid in full and (y) second, on a pro rata basis to the payment of any Make-Whole Payment
                        then due and payable in respect of the Initial Exchange Term Loans owed to the applicable Initial Term
                        Lenders and Subsequent Pari Passu Exchange Tenn Loan Lenders until paid in fu ll,

                                 (xi)    eleventh, on a pro rata basis to the payment of Secured Obligations in respect of the
                        Initial Exchange Term Loans owed to the applicable Initial Term Lenders and Subsequent Pari Passu
                        Exchange Term Loan Lenders consisting of any fees, expense reimbursements, indemnities and other
                        amounts (other than interest, principal and any Prepayment Premium and any Make-Whole Payment,
                        as applicable, owed in respect of the Initial Exchange Tenn Loans owed to the applicable Initial Term
                        Lenders and Subsequent Pari Passu Exchange Tenn Loan Lenders) until paid in full ,

                                  (xii) twelfth, subject to Section 2.22, as allocated among Subsequent Junior Exchange Tenn
                        Loans as determined by the relevant Subsequent Exchange Term Loan Facility Amendment until paid
                        in full, and

                                 (xiii) thirteenth, to, or at the direction of, the Top Borrower or as a court of competent
                       jurisdiction may otherw ise direct.

                        1n the event that any such proceeds described above are insufficient to pay in full the items described in
               clauses ( i) through (xiii) above, the Loan Parties shall remain liable, jointly and severally, for any deficiency in
               accordance with the terms of the Loan Documents.

                         (c)      If any Lender obtains payment (whether voluntary, involuntary, through the exercise of any
               right of set-off or otherwise) in respect of any principal of or interest on any of its Loans of any Class held by it
               resulting in such Lender receiving payment of a greater proportion of the aggregate amount of its Loans of such
               Class and accrued interest thereon than the proportion received by any other Lender with Loans of such Class,
               then the Lender receiving such greater proportion shall purchase (for Cash at face value) participations in the
               Loans of other Lenders of such Class at such time outstanding to the extent necessary so that the benefit of all
               such payments shall be shared by the Lenders of such Class ratably in accordance with the aggregate amount of
               principal of and accrued interest on their respective Loans of such Class; provided that (i) if any such
               participations are purchased and all or any portion of the payment giving rise thereto is recovered, such
               participations shall be rescinded and the purchase price restored to the extent of such recovery, without interest,
               and (ii) the provisions of this paragraph shall not apply to any payment obtained by any Lender as consideration
               for the assignment of or sale of a participation in any of its Loans to any permitted assignee or participant,
               including any payment made or deemed made in connection with Sections 2.22 and/or Section 9.05. Each
               Borrower consents to the foregoing and agrees, to the extent it may effectively do so under applicable
               Requirements of Law, that any Lender acquiring a participation pursuant to the foregoing arrangements may
               exercise rights of set-off and counterclaim against such Borrower with respect to such participation as fully as if
               such Lender were a direct creditor of such Borrower in the amount of such participation. The Administrative
               Agent will keep records (which shall be conclusive and binding in the absence of manifest error) of participations
               purchased under this Section 2.18(c) and will, in each case, notify the Lenders following any such purchases or
               repayments. Each Lender that purchases a participation pursuant to this Section 2.18(c) shall, from and after the
               date of such purchase, have the right to give all notices, requests, demands, directions and other communications
               under this Agreement with respect to the portion of the Obligations purchased to the same extent as though the
               purchasing Lender were the original owner of the Obligations purchased. For purposes of subclause (c) of the
               definition of"Excluded Taxes", any Lender that acquires a participation pursuant to this Section 2.18(c) shall be




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               treated as having acquired such participation on the earlier date(s) on which such Lender acquired the applicable
               inte rest(s) in the Commitment(s) and/or Loan(s) to w hich such participation re lates.

                        (d)     Unless the Administrative Agent has received notice from the Top Borrower prior to the date
               on which any payment is due to the Administrative Agent for the account of any Lender he reunder that the Top
               Borrower w ill not make such payment, the Administrative Agent may assume that the Top Borrower has made
               such payment on such date in accordance herewith and may, in reliance upon such assumption, distribute to the
               applicable Lender the amount due. In such event, if the Top Borrower has not in fact made such payment, then
               each Lender severally agrees to repay to the Administrative Agent forthwith on demand the amount so distributed
               to such Lender with interest thereon, for each day from and including the date such amount is distribute d to it to
               but excluding the date of payment to the Administrative Agent, at the greater of the Federal Funds Effective Rate
               and a rate de termined by the Administrative Agent in accordance with banking industry rules on interbank
               compensation.

                         (e)     If any Lende r fails to make any payme nt re quired to be made by it pursuant to Section 2.07(b)
               or Section 2.18(d). then the Administrative Agent may, in its discre tion (notwithstanding any contrary provision
               he reot), apply any amounts thereafter received by the Administrative Agent for the account of such Lender to
               satisfy such Lender' s obligations under such Sections until all such unsatisfied obligations are fully paid.

                       Section 2.19.     Mitigation Obligations: Replacement of Lenders.

                        (a)      If any Lender requests compensation under Section 2.15 or determines it can no longer make
               or maintain LIBO Rate Loans pursuant to Se ction 2.20, or any Loan Party is require d to pay any additional
               amount to or indemnify any Lender or any Governmental Authority for the account of any Lender pursuant to
               Section 2.17, then such Le nder shall use reasonable efforts to designate a different lending office for funding
               or booking its Loans hereunder, or to assign its rights and obligations hereunde r to another of its offices,
               branches or affiliates, if, in the reasonable judgme nt of such Lender, such designation or assignment (i) would
               eliminate or reduce amounts pay able pursuant to Section 2.15 or 2.17, as applicable, in the future or mitigate
               the impact of Section 2.20, as the case may be, and (ii) would not subject such Lender to any unre im bursed
               out-of-pocket cost or expense and would not otherwise be disadvantageous to such Lender in any material
               respect. The Top Borrower hereby agrees to pay all reasonable out-of-pocket costs and expenses incurred by
               any Lender in connection with any such designation or assignment.

                        (b)        If (i) any Lender requests compensation unde r Section 2.15 or de tennines it can no longe r make
               or maintain LIBO Rate Loans pursuant to Section 2.20, (ii) any Loan Party is required to pay any additional
               amount to or indemnify any Lender or any Governmental Authority for the account of any Le nder pursuant to
               Section 2. 17, (iii) any Lender is a Defaulting Lender or (iv) in connection with any proposed amendment, waiver
               or consent requiring the consent of "each Lender" or "e ach Lender directly affected thereby" (or any other Class
               or group of Lenders other than the Required Lenders) w ith respect to which Required Lende r consent (or the
               consent of Lende rs holding loans or commitments of such Class or lesser group representing more than 50% of
               the sum of the total loans and unused commitments of such Class or lesser group at such time) has been obtained,
               as applicable, any Le nde r is a non-conse nting Lende r, then the Top Borrower may, at its sole e xpense and effort,
               upon notice to such Lender and the Administrative Agent, (x) terminate the applicable Commitments of such
               Lender, and repay all Obligations of the relevant Borrower owing to such Lender relating to the applicable Loans
               and participations held by such Lender as of such termination date or (y) replace such Lender by requiring such
               Lender to assign and delegate (and such Lender shall be obligated to assign and delegate), w ithout recourse (in
               accordance w ith and subject to the restrictions contained in Section 9.05). all of its interests, rights and
               obligations (othe r than its existing rights to payments pursuant to Section 2.15 or Section 2.17) under this
               Agreement to an Eligible Assignee that shall assume such obligations (which Eligible Assignee may be another
               Lender, if any Lender accepts such assignment); provided that (A) such Lender has received payment of an
               amount equal to the outstanding principal amount of its Loans of such Class of Loans and/or Commitments,
               accrued interest thereon, accrued fees and all other amounts payable to it under any Loan Document w ith respect
               to such Class of Loans and/or Commitments, (B) in the case of any assignment resulting from a claim for




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               compensation under Section 2.15 or payment required to be made pursuant to Section 2.17, such assignment
               would result in a reduction in such compensation or payment and (C) such assignment does not conflict with
               applicable Requirements of Law. No Lender (other than a Defaulting Lender) shall be required to make any
               such assignment and delegation, and the Top Borrower may not repay the Obligations of such Lender or
               terminate its Commitments, in each case, if, prior thereto, as a result of a waiver by such Lender or otherwise,
               the circumstances entitling the Top Borrower to require such assignment and delegation cease to apply. Each
               Le nder agrees that if it is replaced pursuant to this Section 2.19, it shall execute and deliver to the Administrative
               Agent an Assignment Agreement to evidence such sale and purchase and deliver to the Administrative Agent
               any Promissory Note (if the assigning Lender' s Loans are evidenced by one or more Promissory Notes) subject
               to such Assignment Agreement (provided that the failure of any Lender replaced pursuant to this Section 2.19
               to execute an Assignment Agreement or deliver any such Promissory Note shall not render such sale and
               purchase (and the corresponding assignment) invalid), such assignment shall be recorded in the Register and any
               such Promissory Note shall be deemed cancelled. Each Lender hereby irrevocably appoints the Administrative
               Agent (such appointment being coupled w ith an interest) as such Lender' s attorney-in-fact, with full authority
               in the place and stead of such Lende r and in the name of such Lender, from time to time in the Administrative
               Agent's discretion, with prior written notice to such Lender, to take any action and to execute any such
               Assignment Agreement or other instrument that the Administrative Agent may deem reasonably necessary to
               carry out the provisions of this clause (b).

                         Section 2.20.     Illegality. If any Le nder reasonably de tem1ines that any Change in Law has made it
               unlawful, or that any Governmental Authority has asserted after the Closing Date that it is unlawful, for such
               Le nder or its applicable lending office to make, maintain or fund Loans whose interest is detenuined by reference
               to the Published LIBO Rate, or to determine or charge interest rates based upon the Published LIBO Rate, or
               any Governmental Authority has imposed material restrictions on the authority of such Lender to purchase or
               sell, or to take deposits of Dollars in the applicable interbank market, then, on notice thereof by such Lender to
               the Top Borrower through the Administrative Agent, (i) any obligation of such Lende r to make or continue LIBO
               Rate Loans or to convert ABR Loans to LJBO Rate Loans shall be suspended and (ii) if such notice asserts the
               illegality of such Lender making or maintaining ABR Loans the interest rate on which is detenuined by reference
               to the Published LIBO Rate component of the Alternate Base Rate, the interest rate on which ABR Loans of
               such Lender, shall, if necessary to avoid such illegality, be de termined by the Administrative Agent w ithout
               reference to the Published LIBO Rate component of the Alternate Base Rate, in each case until such Lende r
               notifies the Administrative Agent and the Top Borrower that the circumstances giving rise to such detennination
               no longer exist (which notice such Lender agrees to give promptly). Upon receipt of such notice, (x) the Top
               Borrower shall, upon demand from the relevant Lender (with a copy to the Administrative Agent), prepay or
               convert all of such Lender' s LIBO Rate Loans to ABR Loans (the interest rate on which ABR Loans of such
               Lender shall, if necessary to avoid such illegality, be detenuined by the Administrative Agent without refere nce
               to the Published LIBO Rate component of the Alternate Base Rate) e ither on the last day of the Interest Period
               therefor, if such Lender may lawfully continue to maintain such LIBO Rate Loans to such day, or immediate ly,
               if such Lender may not lawfully continue to maintain such LIBO Rate Loans (in which case the Top Borrower
               shall not be required to make payments pursuant to Section 2.16 in connection with such payment) and (y) if
               such notice asserts the illegality of such Lender determining or charging interest rates based upon the Published
               LIBO Rate, the Administrative Agent shall during the period of such suspension compute the Alternate Base
               Rate applicable to such Lender without reference to the Published LIBO Rate component thereof until the
               Administrative Agent is advised in w riting by such Lender that it is no longer illegal for such Lender to detenuine
               or charge interest rates based upon the Published LIBO Rate. Upon any such prepayment or conversion, the Top
               Borrower shall also pay accrued interest on the amount so prepaid or converted. Each Lender agrees to designate
               a different lending office if such designation will avoid the need for such notice and will not, in the determination
               of such Lender, otherwise be materially disadvantageous to such Lender.

                        Section 2.21.   Defaulting Lenders. Notwithstanding any provision of this Agreement to the contrary,
               if any Person becomes a Defaulting Lender, then the following provisions shall apply for so long as such Person
               is a Defaulting Lender:




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                       (a)      [Reserved).

                       (b)      The Loans and Commitments of such Defaulting Lender shall not be included in determining
               whether all Lenders, each affecte.d Lender, the Required Lenders or such other number of Lenders as may be
               required hereby or under any other Loan Document have taken or may take any action hereunder (including any
               consent to any waiver, amendment or modification pursuant to Section 9.02); provided that any waiver,
               amendment or modification requiring the consent of all Lenders or each affected Lender which affects such
               Defaulting Lender disproportionately and adversely relative to other affected Lenders shall require the consent
               of such Defaulting Lender.

                         (c)     Any payment of principal, interest, fees or other amounts received by the Administrative A.gent
               for the account of any Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to Section 2.11 ,
               Section 2.15, Section 2.16, Section 2.17, Section 2.18, Article 7, Section 9.05 or otherwise, and including any
               amounts made available to the Administrative A.gent by such Defaulting Lender pursuant to Section 9 .09), shall
               be applied at such time or times as may be determined by the Administrative Agent and, where relevant, the Top
               Borrower as follows: first, to the payment of any amount owing by such Defaulting Lender to the Administrative
               A.gent hereunder; second, so long as no Default or Event of Default exists, as the Top Borrower may request, to
               the funding of any Loan in respect of which such Defaulting Lender has failed to fund its portion thereof as
               required by this Agreement; third, as the Administrative Agent or the Top Borrower may elect, to be held in a
               deposit account and released in order to satisfy obligations of such Defaulting Lender to fund Loans under this
               Agreement; fourth , to the payment of any amount owing to the non-Defaulting Lenders as a result of any
               judgment of a court of competent jurisdiction obtained by any non-Defaulting Lender against such Defaulting
               Lender as a result of such Defaulting Lender' s breach of its obligations under this Agreement; fifth, to the
               payment of any amount owing to any Borrower as a result of any judgment of a court of competent jurisdiction
               obtained by such Borrower against such Defaulting Lender as a result of such Defaulting Lender' s breach of its
               obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise directed by a court of
               competent jurisdiction. Any payments, pre payments or other amounts paid or payable to any Defaulting Lender
               that are applied (or held) to pay amounts owed by any Defaulting Lender shall be deemed paid to and redirected
               by such Defaulting Lender, and each Lender irrevocably consents hereto.

                       Section 2.22.     Subsequent Exchange Term Loans.

                        (a)       After the Closing Date, any Borrower may, at any time, on one or more occasions pursuant to
               a Subsequent Exchange Tenn Loan Facility Amendment issue (i) additional Exchange Term Loans that are pari
               passu with the Initial Exchange Tem1 Loans ("Subsequent Pari Passu Exchange Tenn Loans'') (which loans shall
               constitute Initial Exchange Term Loans) and (ii) additional Exchange Term Loans that are junior to the Initial
               Exchange Term Loans (such loans the "Subsequent Junior Exchange Term Loans" and, together with the
               Subsequent Pari Passu Exchange Term Loans, collectively, "Subsequent Exchange Term Loans") as
               consideration for additional open market purchases by any one or more of the Borrowers of Existing First Lien
               Loans and/or Existing Second Lien Loans as the Borrowers may e lect pursuant to a Subsequent Exchange Tenn
               Loan Exchange Agreement; provided, that the aggregate principal amount of Subsequent Pari Passu Exchange
               Term Loans issued hereunder shall not exceed an aggregate outstanding principal amount of$875,000,000 minus
               the principal amount of the Initial Exchange Term Loans plus the Repaid Initial Exchange Term Loan Amount;
               provided, further, that:

                                (i)      no single issuance of Subsequent Exchange Term Loans may be in an amount that is
                       less than $ 10,000,000 (or such lesser amount to which the Administrative Agent may reasonably agree)
                       (it being understood and agreed that the issuance of Subsequent Exchange Tenn Loans to one or more
                       Related Funds shall constitute a single issuance and there shall be no more than five tranches or Classes
                       of Subsequent Junior Exchange Term Loans (or such larger number of tranches or Classes to which the
                       Administrative Agent may reasonably agree),




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                               (ii)     no issuance of Subsequent Exchange Term Loans in accordance with the terms of this
                       Section 2.22 shall require the approval of any existing Lender,

                                (iii)    Subsequent Pari Passu Exchange Term Loans shall (a) be subordinated in right of
                       payment to the New Money Term Loans in accordance with the terms hereof, including Section 2.18(b).
                       (b) be pari passu in right of payment with the other Initial Exchange Term Loans in accordance with the
                       terms hereof, including Section 2. 18(b) and (c) be subject to terms (including with respect to margin,
                       pricing, maturity and fees) that are no more favorable than the terms of the other Initial Exchange Term
                       Loans,

                                (iv)      in the event that any Subsequent Junior Exchange Term Loans are issued, (a) such
                       Subsequent Junior Exchange Term Loans (I) shall be subordinated in right of payment to the New
                       Money Term Loans and the Initial Exchange Term Loans in accordance with the terms hereof, including
                       Section 2. l 8(b), and (IT) may be pari passu in right of payment with, or junior in right of payment to
                       any other Class of Subsequent Junior Exchange Tenn Loans as set forth in Section 2. l 8(b) after giving
                       effect to the applicable Subsequent Exchange Tenn Loan Facility Amendment, (b) the cash interest
                       payable by the Borrowers in respect of such Subsequent Junior Exchange Term Loans shall be no greater
                       than the cash interest payable by the Borrowers in respect of the Existing First Lien Loans or the Existing
                       Second Lien Loans, as applicable, purchased by the relevant Borrower pursuant to the applicable
                       Subsequent Exchange Term Loan Exchange Agreement in exchange for the issuance of such
                       Subsequent Junior Exchange Term Loans and (c) such Subsequent Junior Exchange Term Loans shall
                       have a maturity date no earlier than 90 days after the Maturity Date,

                              (v)     any Subsequent Exchange Tenn Loans may participate in any voluntary prepayment
                       of Term Loans as set forth in Section 2.11 (a)(i). to the extent provided in such Section and Section
                       u.filhl,
                                 (vi)     on the date of the Borrowing of any Subsequent Exchange Term Loans that will be of
                       the same Class as any then-existing Class of Tenn Loans, and notwithstanding anything to the contrary
                       set forth in Sections 2.08 or 2.13 above, such Subsequent Exchange Term Loans shall be added to (and
                       constitute a part of, be of the same Type as and, at the election of the Top Borrower, have the same
                       Interest Period as) each Borrowing of outstanding Term Loans of such Class on a pro rata basis (based
                       on the relative sizes of such Borrowings), so that each Term Lender providing such Subsequent
                       Exchange Tenn Loans will participate proportionately in each then-outstanding Borrowing of Tenn
                       Loans of such Class; it being acknowledged that the application of this clause (a)(vi) may result in new
                       Subsequent Exchange Term Loans having Interest Periods (the duration of which may be less than one
                       month) that begin during an Interest Period then applicable to outstanding LIBO Rate Loans of the
                       relevant Class and which end on the last day of such Interest Period, and

                                (vii)    notwithstanding anything to the contrary in this Section 2.22 or elsewhere in this
                       Agreement, the Top Borrower may issue Exchange Tenn Loans to a Lender (or any Subsequent
                       Exchange Tenn Loan Lender) for cash under this Section 2.22 (and such loans so issued shall constitute
                       Subsequent Exchange Term Loans for all purposes of this Agreement and the other Loan Documents),
                       so long as (x) substantially concurrently with such issuance a Borrower uses any such proceeds received
                       to purchase Existing First Lien Loans and/or Existing Second Lien Loans at a price no greater than par
                       and (y) any such issuance of Exchange Term Loans complies with each of the other provisions of this
                       Section 2.22.

                        (b)    Each Lender providing a portion of any Subsequent Exchange Term Loans shall execute and
               deliver to the Administrative Agent and the Top Borrower all such documentation (including the relevant
               Subsequent Exchange Term Loan Facility Amendment) as may be reasonably required by the Administrative
               Agent to evidence and effectuate such Subsequent Exchange Tenn Loans. On the effective date of any open
               market purchase by the Top Borrower of Existing Loans in exchange for any applicable tranche of Subsequent




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               Exchange Term Loans, upon consummation of the applicable exchange, each Person selling Existing Loans shall
               become a Lender for all purposes in connection with this Agreement.

                         (c)      As conditions precedent to the effectiveness of the issuance of any Subsequent Exchange Term
               Loans as consideration for the purchase of Existing Loans, (i) upon its request, the Administrative Agent shall
               be entitled to receive customary reaffirmation agreements, supplements and/or amendments as it shall reasonably
               require, (ii) the Administrative Agent shall be entitled to receive, from each such Lender of Subsequent Exchange
               Term Loans, an Administrative Questionnaire and such other documents as it shall reasonably require from such
               Person and (iii) the Administrative Agent shall be entitled to receive a certificate of the Top Borrower signed by
               a Responsible Officer thereof that as of the date of the issuance of, and giving effect to the issuance of, the
               applicable Subsequent Exchange Term Loans, no Event of Default exists.

                        (d)      The Lenders hereby irrevocably authorize the Administrative Agent to enter into any
               Subsequent Exchange Term Loan Facility Amendment and/or any amendment to any other Loan Document as
               may be necessary in order to establish new Classes or sub-Classes in respect of Loans or commitments pursuant
               to this Section 2.22, including amendments to Section 2.1 S(b)(xii) (or any clause of such Section 2. l 8(b) that is
               lower in priority than such Section 2.1S(b)(xii)) in connection with the establisl1ment of Subsequent Junior
               Exchange Term Loans (but, for the avoidance of doubt, not including any other amendment to Section 2.1 S(b)(i)-
               M or any amendment that would increase the amounts available for Subsequent Pari Passu Exchange Term
               Loans), and such technical amendments as may be necessary or appropriate in the reasonable opinion of the
               Administrative Agent (acting at the Direction of the Required Lenders) and the Top Borrower in connection with
               the establishment of such new Classes or sub-Classes, in each case on terms consistent with this Section 2.22.
               In addition, any Subsequent Exchange Tern1 Loan Facility Amendment with respect to any Subsequent
               Exchange Term Loans, without the consent of any Lenders (other than those providing such Subsequent
               Exchange Term Loans) or the Administrative Agent, may include such amendments to this Agreement as may
               be necessary, appropriate or advisable as reasonably determined by the Administrative Agent and the Top
               Borrower to make the applicable Subsequent Exchange Term Loans "fungible" with the relevant existing Class
               of Subsequent Pari Passu Exchange Tenn Loans or Subsequent Junior Exchange Tenn Loans, as applicable
               (including by modifying the applicable amortization schedule).

                        (e)    Subsequent Exchange Term Loans may be provided by any existing Lender, or by any other
               Eligible Assignee (any such other lender being called an "Subsequent Exchange Lender"): provided that the
               Administrative Agent shall have a right to consent (such consent not to be unreasonably withheld or delayed) to
               the relevant Subsequent Exchange Lender' s provision of Subsequent Exchange Term Loans if such consent
               would be required under Section 9.05(b) for an assignment of Loans to such Subsequent Exchange Lender.



                                                                   ARTICLE3

                                                 REPRESENTATIONS AND WARRANTIES

                         On the Closing Date, Holdings (solely with respect to Sections 3.01, 3.02, 3.03, 3.07, 3.08, 3.09, 3.13,
               3.14, 3 .16 and 3 .17) and the Borrowers hereby represent and warrant to the Lenders that:

                         Section 3.01.     Organization: Powers. Holdings, the Top Borrower and each of its Restricted
               Subsidiaries (a) is (i) duly organized and validly existing and (ii) in good standing (to the extent such concept
               exists in the relevant jurisdiction) under the Requirements of Law of its jurisdiction of organization, (b) has all
               requisite organizational power and authority to own its assets and to carry on its business as now conducted and
               (c) is qualified to do business in, and is in good standing (to the extent such concept exists in the relevant
               jurisdiction) in, every jurisdiction where the ownership, lease or operation of its properties or conduct of its
               business requires such qualification, except, in each case referred to in this Section 3.01 (other than clause (a)(i)




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               and clause (b), in each case, with respect to the Top Borrower) where the failure to do so, individually or in the
               aggregate, would not reasonably be expected to result in a Material Adverse Effect.

                        Section 3.02.    Authorization: Enforceabilitv. The execution, delivery and performance by each Loan
               Party ofeach Loan Document to which it is a party are within such Loan Party' s corporate or other organizational
               power and have been duly authorized by all necessary corporate or other organizational action of such Loan
               Party. Each Loan Document to w hich any Loan Party is a party has been duly executed and delivered by such
               Loan Party and is a legal, valid and binding obligation of such Loan Party, enforceable in accordance with its
               terms, subject to the Legal Reservations.

                        Section 3.03.      Governmental Approvals: No Conflicts. The execution and delivery of each Loan
               Document by each Loan Party thereto and the performance by such Loan Party thereof (a) do not require any
               consent or approval of, registration or filing with, or any other action by, any Governmental Authority, except
               (i) such as have been obtained or made and are in full force and effect, (ii) in connection with the Perfection
               Requirements and (iii) such consents, approvals, registrations, filings, or other actions the failure to obtain or
               make which could not be reasonably expected to have a Material Adverse Effect, (b) will not violate any (i) of
               such Loan Party's Organizational Documents or (ii) Requirement of Law applicable to such Loan Party which
               violation, in the case of this clause (b)(ii), could reasonably be expected to have a Material Adverse Effect and
               (c) will not violate or result in a default under (i) the ABL Credit Agreement, the First Lien Credit Agreement
               or the Second Lien Credit Agreement or (ii) any other material Contractual Obligation to which such Loan Party
               is a party which violation, in the case of this clause (c), could reasonably be expected to result in a Material
               Adverse Effect.

                        Section 3.04.     Financial Condition; No Material Adverse Effect.

                        (a)      The financial statements (i) provided pursuant to Section 4.0l{c)(i) and (ill after the C losing
               Date, most recently provided pursuant to Section 5.0 l{a) or (b}, as applicable, present fairly, in all material
               respects, the financial condition and results of operations and cash flows of the Top Borrower on a consolidated
               basis as of such dates and for such periods in accordance with GAAP, (x) except as otherwise expressly noted
               therein and/or (y) subject, in the case of quarterly financial statements, to the absence of footnotes and normal
               year-end adjustments.

                        (b)     Since December 28, 2019, there have been no events, developments or circumstances that have
               had, or could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

                        Section 3.05.     Properties.

                        (a)      As of the Closing Date, Schedule 3.05 sets forth the address of each Real Estate Asset (or each
               set of such assets that collectively comprise one operating property) that is owned in fee simple by any Loan
               Party.

                         (b)     The Top Borrower and each of its Restricted Subsidiaries have good and valid fee simple title
               to or rights to purchase, or valid leasehold interests in, or easements or other limited property interests in, all of
               their respective Real Estate Assets and have good title to their personal property and assets, in each case, except
               (i) for defects in title that do not materially interfere with their ability to conduct their business as currently
               conducted or to utilize such properties and assets for their intended purposes or (ii) where the failure to have
               such title would not reasonably be expected to have a Material Adverse Effect.

                         (c)      The Top Borrower and its Restricted Subsidiaries own or othenvise have a license or right to
               use all rights in Patents, Trademarks, Copyrights and other rights in works of authorship (including all copyrights
               em bodied in software) and all other intellectual property rights (" IP Rights") used to conduct their respective
               businesses as presently conducted without, to the knowledge of the Top Borrower, any infringement or
               misappropriation of the JP Rights of third parties, except to the extent the failure to own or license or have rights




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               to use would not, or where such infringement or misappropriation would not reasonably be expected to have,
               individually or in the aggregate, a Material Adverse Effect.

                       Section 3.06.     Litigation and Environmental Matters.

                       (a)       There are no actions, suits or proceedings by or before any arbitrator or Governmental
               Authority pending against or, to the knowledge of the Top Borrower, threatened in writing against or affecting
               the Top Borrower or any of its Restricted Subsidiaries which would reasonably be expected, individually or in
               the aggregate, to result in a Material Adverse Effect.

                        (b)      Except for any matters that, individually or in the aggregate, would not reasonably be expected
               to result in a Material Adverse Effect, (i) neither the Top Borrower nor any of its Restricted Subsidiaries is
               subject to or has received notice of any Environmental Claim or Environmental Liability or knows of any basis
               for any Environmental Liability or Environmental Claim of the Top Borrower or any of its Restricted
               Subsidiaries and (ii) neither the Top Borrower nor any of its Restricted Subsidiaries has fai led to comply with
               any Environmental Law or to obtain, maintain or comply with any Governmental Authorization, pem1it, license
               or other approval required under any Environmental Law.

                        (c)       Neither the Top Borrower nor any of its Restricted Subsidiaries has treated, stored, transported
               or Released any Hazardous Materials on, at, under or from any currently or formerly owned, leased or operated
               real estate or facility in a manner that would reasonably be expected to have a Material Adverse Effect.

                       Section 3.07.     Compliance with Laws. Each of Holdings, the Top Borrower and each of its Restricted
               Subsidiaries is in compliance with all Requirements of Law applicable to it or its property, except, in each case
               where the failure to do so, individually or in the aggregate, would not reasonably be expected to result in a
               Material Adverse Effect; it being understood and agreed that this Section 3.07 shall not apply to the
               Requirements of Law covered by Section 3.17 below.

                          Section 3.08.    Investment Companv Status. No Loan Party is an "investment company" as defined
               in, or is required to be registered under, the Investment Company Act of 1940.

                        Section 3.09.      Taxes. Each of Holdings, the Top Borrower and each of its Restricted Subsidiaries
               has timely filed or caused to be filed all Tax returns and reports required to have been filed and has paid or
               caused to be paid all Taxes required to have been paid by it that are due and pay able (including in its capacity as
               a withholding agent), except (a) Taxes (or any requirement to file Tax returns with respect thereto) that are being
               contested in good faith by appropriate proceedings and for which the Top Borrower or such Restricted
               Subsidiary, as applicable, has set aside on its books adequate reserves in accordance with GAAP or (b) to the
               extent that the failure to do so, individually or in the aggregate, would not reasonably be expected to result in a
               Material Adverse Effect.

                       Section 3. 10.    ERISA.

                        (a)     Each Plan is in compliance in form and operation with its terms and witli ERISA and the Code
               and all other applicable Requirements of Law, except where any failure to comply would not reasonably be
               expected to result in a Material Adverse Effect.

                        (b)     In the five-year period prior to the date on which this representation is made or deemed made,
               no ERISA Event has occurred and is continuing or is reasonably expected to occur that, when taken togetlier
               with all other such ERISA Events for which liability is reasonably expected to occur, would reasonably be
               expected to result in a Material Adverse Effect.

                       Section 3 .11. Disclosure. The (i) audited consolidated balance sheets of the Top Borrower as of the
               Fiscal Year ended on December 28, 2019 and the audited consolidated statements of income, stockholders'




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                 equity and cash flows of the Top Borrower for the Fiscal Year ended on December 28, 2019 and (ii) unaudited
                 balance sheets of the Top Borrower as of the Fiscal Quarters ended on March 28, 2020 and the unaudited
                 consolidated statements of income and cash flows of the Top Borrower for the Fiscal Quarter ended March 28,
                 2020, in each case, present fairly in all material respects and in accordance w ith GAAP consistently applied
                 throughout the periods covered thereby the consolidated financial position of the Top Borrower and its
                 subsidiaries as at such dates and the consolidated results of operations, changes in owner's equity and cash flows
                 of the Top Borrower and its subsidiaries for the year then e nded.

                          Section 3.12.     [Reserved].

                          Section 3.13.     Subsidiaries. Schedule 3.13 sets forth, in each case as of the Closing Date, (a) a correct
                 and complete list of the name of each subsidiary of Holdings and the ownership interest therein held by Holdings
                 or its applicable subsidiary, and (b) the type of entity of Holdings and each of its subsidiaries.

                          Section 3.14.    Security Interest in Collateral. Subject to the Legal Reservations, the Perfection
                 Requirements and the provisions, limitations and/or exceptions set forth in this Agreement and/or any other Loan
                 Docume nt, the Collateral Documents c reate legal, valid and enforceable Liens on all of the Collateral in favor
                 of the Administrative Agent, for the benefit of itself and the other Secured Parties, and upon the satisfaction of
                 the applicable Perfection Requirements, such Liens constitute perfected Liens (with the priority that such Liens
                 are expressed to have under the relevant Collateral Documents, unless otherv,ise permitted hereunder or under
                 any Collateral Document) on the Collateral (to the extent such Liens are required to be perfected under the terms
                 of the Loan Documents) securing the Secured Obligations, in each case as and to the extent set forth there in .

                          For the avoidance of doubt, notwithstanding anything herein or in any other Loan Document to the
                 contrary, neither the Top Borro~ver nor any other Loan Party makes any representation or warranty as to (A) the
                 effect of perfection or non-perfection, the priority or the enforceability of any pledge of or security interest in
                 any Capital Stock of any Foreign Subsidiary, or as to the rights and remedies of the Administrative Agent or any
                 Lender w ith respect thereto, under foreign Requirements of Law, (B) the enforcement of any security interest,
                 or right or remedy w ith respect to any Collateral that may be limited or restricted by, or re quire any consent,
                 authorization approval or license under, any Requirement of Law or (C) on the Closing Date and until required
                 pursuant to Section 5. 12 or Section 5.17, as applicable, the pledge or creation of any security interest, or the
                 effects of perfection or non-perfection, the priority or enforceability of any pledge or security interest to the
                 extent the same is not require d on the Closing Date pursuant to the terms hereof.

                          Section 3.15.    Labor Disputes. Except as individually or in the aggregate would not reasonably be
                 expected to have a Material Adverse Effect, (a) there are no strikes, lockouts or slowdowns against the Top
                 Borrower or any of its Restricted Subsidiaries pending or, to the knowledge of the Top Borrower or any of its
                 Restricted Subsidiaries, threatened and (b) the hours worked by and payments made to employees of the Top
                 Borrower and its Restricted Subsidiaries have not been in violation of the Fair Labor Standards Act or any other
                 applicable Requirements of Law dealing with such matters.

                          Section 3.16.     Federal Reserve Regulations. No part of the proceeds of any Loan has been used,
                 whethe r directly or indirectly, and whether immediate ly, incidentally or ultimately, for any purpose that results
                 in a violation of the provisions of Regulation U.

                         Section3.17.      OFAC: PATRIOT ACT and FCPA.

                           (a)    (i) None of Holdings, the Top Borrowe r nor any of its Restricted Subsidiaries nor, to the
                 knowledge of the Top Borrower, any director, officer or employee of any of the foregoing is subject to any U.S.
                 sanctions administered by the Office of Foreign Assets Control of the U.S. Treasury Department ("OFAC") ; and
                 (ii) the Top Borrower will not directly or, to its knowledge, indirectly, use the proceeds of the Loans or Letters
                 of Credit or othenvise make available such proceeds to any Person for the purpose of financing the activities of




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               any Person that is subject to any U.S. sanction administered by OFAC, except to the extent licensed or othern1 ise
               approved by OF AC or in compliance with applicable exemptions licenses or other approvals.

                     (b)   To the extent applicable, each Loan Party is in compliance, in all material respects, with the
               USA PATRIOT Act.

                         (c)      Except to the extent that the relevant violation could not reasonably be expected to have a
               Material Adverse Effect, ( i) neither the Top Borrower nor any of its Restricted Subsidiaries nor, to the knowledge
               of the Top Borrower, any director, officer, agent (solely to the extent actii1g in its capacity as an agent for
               Holdings or any of its subsidiaries) or employee of the Top Borrower or any Restricted Subsidiary, has taken
               any action, directly or indirectly, that would result in a material violation by any such Person of the U.S. Foreign
               Corrupt Practices Act of 1977, as amended (the "FCPA"), including, without limitation, making any offer,
               payment, promise to pay or authorization or approval of the payment of any money, or other property, gift,
               promise to give or authorization of the giving of anything of value, directly or indirectly, to any "foreign official"
               (as such term is defined in the FCPA) or any foreign political party or official thereof or any candidate for foreign
               political office, in each case in contravention of the FCPA and any applicable anti-corruption Requirement of
               Law of any Governmental Authority; and (ii) the Top Borrower has not directly or, to its knowledge, indirectly,
               used the proceeds of the Loans or Letters of Credit or other.vise made available such proceeds to any
               governmental official or employee, political party, official of a political party, candidate for public office or
               anyone else acting in an official capacity, in order to obtain, retain or direct business or obtain any improper
               advantage in violation of the FCPA.

                       The representations and warranties set forth in Section 3.17 above made by or on behalf of any Foreign
               Subsidiary are subject to and limited by any Requirement of Law applicable to such Foreign Subsidiary; it being
               understood and agreed that to the extent that any Foreign Subsidiary is unable to make any representation or
               warranty set forth in Section 3.17 as a result of the application of this sentence, such Foreign Subsidiary shall be
               deemed to have represented and warranted that it is in compliance, in all material respects, with any equivalent
               Requirement of Law relatiJ1g to anti-terrorism, anti-corruption or anti-money laundering that is applicable to
               such Foreign Subsidiary in its re levant local jurisdiction of organization.

                       Section 3 .18.   Senior Debt. The Obligations constitute "senior debt" (or the equivalent thereof) under
               the documentation governing any Indebtedness of the type described in clause (a) of the definition thereof of
               any Loan Party permitted to be incurred hereunder constituting Indebtedness that is subordiirnted in right of
               payment to the Obligations. T he Obligations are senior in right of payment to and part passu with respect to
               Liens incurred pursuant to the First Lien Credit Agreement, in accordance with the applicable Intercreditor
               Agreements, and senior in right of payment to and with respect to the Liens incurred pursuant to the Second Lien
               Credit Agreement, in accordance with the applicable Intercreditor Agreements.

                                                                   ARTICLE4

                                                                 CONDITIONS

                         Section 4.01.   Closing Date. The obligations of each Lender to make Loans (or tile deemed making
               of such Loans hereunder) shall not become effective until the date on which each of the following conditions is
               satisfied (or waived in accordance with Section 9.02):

                         (a)     Credit Agreement and Loan Documents. The Administrative Agent (or its counsel) shall have
               received from each Loan Party, to the extent party thereto, (i) a counterpart signed by such Loan Party (or written
               evidence reasonably satisfactory to the Administrative Agent (which may include a copy tr ansmitted by facsimile
               or oilier electronic method) that such party has signed a counterpart) of (A) tllis Agreement, (B) the Security
               Agreement, (C) any Intellectual Property Security Agreement, (D) the Loan Guaranty, (E) the Priority First Lien
               lntercreditor Agreement, (F) a joinder to each of the First Lien/Second Lien lntercreditor Agreement and ABL




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               Tntercreditor Agreement and (G) each Promissory Note requested by a Lender at least three Business Days prior
               to the Closing Date and (ii) a Borrowing Request as required by Section 2.03.

                         (b)     Legal Opinions. The Administrative Agent (or its counsel) shall have received, on behalf of
               itself, the Lenders on the Closing Date, (i) a customary written opinion of Weil, Gotshal & Manges LLP, in its
               capacity as special counsel for the Loan Parties and (ii) customary written opinions of local counsel to the Loan
               Parties organized in the jurisdictions set forth on Schedule 4.0l(b), each dated the Closing Date and addressed
               to the Administrative Agent and the Lenders.

                       (c)      Financial Statements and Pro Forma Financial Statements. The Administrative Agent shall
               have received (i) the audited consolidated balance sheets of the Top Borrower as of the Fiscal Year ended on
               December 28, 2019 and the audited consolidated statements of income, stockholders' equity and cash flows of
               the Top Borrower for the Fiscal Year ended on December 28, 2019 and (ii) the unaudited balance sheets of the
               Top Borrower as of the Fiscal Quarters ended on March 28, 2020 and the unaudited consolidated statements of
               income and cash flows of the Top Borrower for the Fiscal Quarter ended March 28, 2020.

                         (d)      Secretary's Certificate and Good Standing Certificates. The Administrative Agent (or its
               counsel) shall have received (i) a certificate of each Loan Party, dated the C losing Date and executed by a
               secretary, assistant secretary or other Responsible Officer thereof, which shall (A) certify that (w) attached
               thereto is a tme and complete copy of the certificate or articles of incorporation, formation or organization of
               such Loan Party, certified by the relevant authority of its jurisdiction of organization, (x) the certificate or articles
               of incorporation, fonuation or organization of such Loan Party attached thereto has not been amended (except
               as attached thereto) since the date reflected thereon, (y) attached thereto is a tme and correct copy of the by-laws
               or operating, management, partnership or similar agreement of such Loan Party, together with all amendments
               thereto as of the Closing Date and such by-laws or operating, management, partnership or similar agreement are
               in full force and effect and (z) attached thereto is a true and complete copy of the resolutions or written consent,
               as applicable, of its board of directors, board of managers, sole member or other applicable governing body
               authorizing the execution and delivery of the Loan Documents, which resolutions or consent have not been
               modified, rescinded or amended (other than as attached thereto) and are in fu ll force and effect, and (B) identify
               by name and title and bear the signatures of the officers, managers, directors or other authorized signatories of
               such Loan Party who are authorized to sign the Loan Documents to which such Loan Party is a party on the
               Closing Date and (ii) a good standing (or equivalent) certificate for such Loan Party from the relevant authority
               of its jurisdiction of organization, dated as of a recent date.

                         (e)     Representations and Warranties. The representations and warranties of the Loan Parties set
               forth in this Agreement and the other Loan Documents shall be true and correct in all material respects on and
               as of the Closing Date: provided that to the extent that any representation and warranty specifically refers to a
               given date or period, such representation and warranty shall be true and correct in all material respects as of such
               date or for such period.

                        (f)       Fees. Prior to or substantially concurrently with the funding of the Initial Term Loans
               hereunder, the Administrative Agent shall have received (i) all fees required to be paid by the Top Borrower on
               the Closing Date pursuant to each of the Fee Letters and (ii) all fees, costs and expenses required to be paid on
               or prior to the C losing Date (including, without limitation, all fees and all reasonable and documented out-of-
               pocket fees, costs and expenses of the Specified Lender Advisors and legal counsel to the Administrative Agent)
               by the Top Borrower for which invoices have been presented prior to the Closing Date , in each case on or before
               the Closing Date, which amounts may be offset against the proceeds of the Loans.

                        (g)     Credit Agreement Amendments. Each of (i) the Existing First Lien Credit Agreement
               Amendment and (ii) the Existing Second Lien Credit Agreement Amendment shall have been duly executed and
               delivered by each Loan Party that is party thereto immediately prior to the making (or deemed making) of the
               Initial Term Loans on the Closing Date.




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                        (h)      Exchange Transactions. Prior to or substantially concurrently with the funding of the New
               Money Term Loans and the issuance of the Initial Term Loans in respect of the Initial Exchange Tem1 Loans,
               in each case, hereunder, the Exchange Transactions shall be consummated.

                        (i)      Perfection Certificate. The Administrative Agent (or its counsel) shall have received a
               completed Perfection Certificate dated the Closing Date and signed by a Responsible Officer of each Loan Party,
               together with all attachments contemplated thereby.

                         (i)      Filings, Registrations and Recordings. Each document (including any UCC (or similar)
               financing statement) required by any Collateral Document or under applicable Requirements of Law to be filed,
               registered or recorded in order to create in favor of the Administrative Agent, for the benefit of the Secured
               Parties, a perfected Lien on the Collateral required to be delivered on the Closing Date pursuant to such Collateral
               Document, shall be in proper form for filing, registration or recordation.

                        (k)     USA PATRIOT Act. No later than two Business Days in advance of the Closing Date, the
               Administrative Agent shall have received all documentation and other infonuation reasonably requested with
               respect to Holdings or any Loan Party in writing by the Administrative Agent or any Initial Lender at least five
               Business Days in advance of the Closing Date, which documentation or other information is required by
               regulatory authorities under applicable ' 'know your customer" and anti-money laundering rules and regulations,
               including the USA PATRIOT Act.

                       (I)      No Default. On the Closing Date and immediately after giving effect to the Transactions, no
               Event of Default exists.

                        (m)     Officer' s Certificate. The Administrative Agent shall have received a certificate from a
               Responsible Officer of the Borrower certify ing satisfaction of the conditions precedent set forth in Sections
               4.0 He) and ill.

                       For purposes of determining whether the conditions specified in this Section 4.01 have been satisfied
               on the Closing Date, by funding the New Money Term Loans and accepting the Initial Exchange Term Loans
               hereunder, the Administrative Agent and each Lender shall be deemed to have consented to, approved or
               accepted, or to be satisfied with, each document or other matter required hereunder to be consented to or
               approved by or acceptable or satisfactory to the Administrative Agent or such Lender, as the case may be.

                                                                  ARTICLES

                                                        AFFIRMATIVE COVENANTS

                        From the Closing Date until the date on which all Commitments have expired or tenuinated and the
               principal of and interest on each Loan and all fees, expenses and other amounts payable under any Loan
               Document (other than contingent indemnification obligations for which no claim or demand has been made)
               have been paid in full in Cash (such date, the "Termination Date"), Holdings (solely with respect to Sections
               5.02, 5.03 and 5.12) and each Borrower hereby covenant and agree with the Lenders thal:

                      Section 5.01.     Financial Statements and Other Reports. The Top Borrower will de liver to the
               Administrative Agent for delivery by the Administrative Agent, subject to Section 9.05{f). to each Lender:

                        (a)        Quarterly Financial Statements. As soon as available, and in any event within 60 days after the
               end of each of the first three Fiscal Quarters of each Fiscal Year, commencing with the Fiscal Quarter ending on
               or about June 27, 2020, the consolidated balance sheet of the Top Borrower as at the end of such Fiscal Quarter
               and the related consolidated statements of income and cash flows of the Top Borrower for such Fiscal Quarter
               and for the period from the beginning of the then current Fiscal Year to the end of such Fiscal Quarter, and
               setting forth , in reasonable detail, in comparative fonu the corresponding figures for the corresponding periods




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               of the previous Fiscal Year, all in reasonable detail, together with a Responsible Officer Certification (which
               may be included in the applicable Compliance Certificate) with respect thereto;

                         (b)     Annual Financial Statements. As soon as available, and in any event within 120 days after the
               end of each Fiscal Year ending after the Closing Date, (i) the consolidated balance sheet of the Top Borrower as
               at the end of such Fiscal Year and the related consolidated statements of income, stockholders' equity and cash
               flows of the Top Borrower for such Fiscal Year and setting forth , in reasonable detail, in comparative form the
               corresponding figures for the previous Fiscal Year and (ii) with respect to such consolidated financial statements,
               a report thereon of an independent certified public accountant of recognized national standing (which report shall
               not be subject to a "going concern" explanatory paragraph or like statement (except as resulting from (A) the
               impending maturity of any Indebtedness within the four full Fiscal Quarter period following the relevant audit
               date and/or (B) any breach or anticipated breach of any financial covenant)) and shall state that such consolidated
               financial statements fairly present, in all material respects, the consolidated financial position of the Top
               Borrower as at the dates indicated and its income and cash flows for the periods indicated in conformity with
               GAAP;

                        (c)     Compliance Certificate. Together with each delivery of financial statements of the Top
               Borrower pursuant to Sections 5.0I(a) and ili), (i) a duly executed and completed Compliance Certificate and
               (ii) a summary of the pro forma adjustments necessary to eliminate the accounts of Unrestricted Subsidiaries (if
               any) from such financial statements;

                       (d)      [Reserved];

                        (e)     Notice of Default. Promptly upon any Responsible Officer of the Top Borrower obtaining
               kno~vledge of (i) any Default or Event of Default or (ii) the occurrence of any event or change that has caused
               or evidences or would reasonably be expected to cause or evidence, either individually or in the aggregate, a
               Material Adverse Effect, a reasonably-detailed notice specifying the nature and period of existence of such
               condition, event or change and what action the Top Borrower has taken, is taking and proposes to take with
               respect thereto;

                        (f)       Notice of Litigation. Promptly upon any Responsible Officer of the Top Borrower obtaining
               knowledge of (i) the institution of, or threat of, any Adverse Proceeding not previously disclosed in writing by
               the Top Borrower to the Administrative Agent, or (ii) any material development in any Adverse Proceeding that,
               in the case of either of clauses (i) or@, could reasonably be expected to have a Material Adverse Effect, written
               notice thereof from the Top Borrower together with such other non-privileged infonuation as may be reasonably
               available to the Loan Parties to enable the Lenders to evaluate such matters;

                        (g)     ERISA. Promptly upon any Responsible Officer of the Top Borrower becoming aware of the
               occurrence of any ERISA Event that could reasonably be expected to have a Material Adverse Effect, a written
               notice specifying the nature thereof;

                        (h)     Financial Plan. As soon as available and in any event no later than 90 days after the beginning
               of each Fiscal Year, commencing with the Fiscal Year ending on or about December 31, 2020, an annual budget
               prepared by management of the Top Borrower, consisting of a forecasted consolidated balance sheet and
               forecasted consolidated statements of income and cash flows of the Top Borrower for such Fiscal Year;

                       (i)      Information Regarding Collateral.

                                (i)      Prompt ( and, in any event, within 90 days of the relevant change) written notice of any
                       change (i) in any U.S. Loan Party' s legal name, (ii) in any U.S. Loan Party ' s type of organization, (iii)
                       in any U.S. Loan Party's j urisdiction of organization or (iv) in any U.S. Loan Party's organizational
                       identification number, in each case to the extent such information is necessary to enable the
                       Administrative Agent to perfect or maintain the perfection and priority of its security interest in the




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                        Collateral of the relevant U.S. Loan Party , together with a certified copy of the applicable Organizational
                        Document reflecting the relevant change; and

                                  (ii)    Prompt (and in any event within the time period required by applicable Requirements
                        of Law) written notice of any change that is analogous to any change described in clause (i) above with
                        respect to any Non-U.S. Loan Party to the extent that information regarding such change is necessary
                        to enable the Administrative Agent to perfect or maintain the perfection and priority of its security
                        interest in the Collateral of the relevant Non-U.S. Loan Party;

                       (i)       [Reserved);

                        (k)      Certain Reports. Promptly upon their becoming available and without duplication of any
               obligations with respect to any such information that is otherwise required to be delivered under the provisions
               of any Loan Document, copies of (i) following a Qualifying IPO, all financial statements, reports, notices and
               proxy statements sent or made available generally by Holdings or its applicable Parent Company to its security
               holders acting in such capacity and (ii) all regular and periodic reports and all registration statements (other than
               on Form S-8 or a similar form) and prospectuses, if any, filed by Holdings or its applicable Parent Company
               with any securities exchange or with the SEC or any analogous Governmental Authority or private regulatory
               authority with jurisdiction over matters relating to securities; and

                        (I)      Other Information. Such other certificates, reports and information (financial or otherwise) as
               the Administrative Agent may reasonably request from time to time regarding the financial condition or business
               of the Top Borrower and its RestTicted Subsidiaries; provided, however, that none of Holdings, the Top Borrower
               nor any Restricted Subsidiary shall be required to disclose or provide any information (a) that constitutes non-
               financial trade secrets or non-financial proprietary infom1ation of Holdings, the Top Borrower or any of its
               subsidiaries or any of their respective customers and/or suppliers, (b) in respect of which disclosure to the
               Administrative Agent or any Lender (or any of their respective representatives) is prohibited by applicable
               Requirements of Law, (c) that is subject to attorney-client or similar privilege or constitutes attorney work
               product or (d) in respect of which Holdings, the Top Borrower or any Restricted Subsidiary owes confidentiality
               obligations to any third party (provided such confidentiality obligations were not entered into in contemplation
               of the requirements of this Section 5.01(1)).

                        Documents required to be delivered pursuant to this Section 5.01 may be delivered electronically and if
               so delivered, shall be deemed to have been de livered on the date (i) on which the Top Borrower (or a
               representative thereot) (x) posts such documents or (y) provides a link thereto at the website address listed on
               Schedule 9.01 ; provided that, other than with respect to items required to be delivered pursuant to Section 5.0l(k)
               above, the Top Borrower shall promptly notify (which notice may be by facsimile or electronic mail) the
               Administrative Agent of the posting of any such documents at the website address listed on Schedule 9 .01 and
               provide to the Administrative Agent by electronic mail electronic versions (i.e. , soft copies) of such documents;
               (ii) on which such documents are delivered by the Top Borrower to the Administrative Agent for posting on
               behalf of the Top Borrower on TntraLinks/SyndTrak or another relevant website (the "Platform"), if any, to
               which each Lender and the Administrative Agent have access (whether a commercial, third-party website or
               whether sponsored by the Administrative Agent); (iii) on which such documents are faxed to the Administrative
               Agent (or electronically mailed to an address provided by the Administrative Agent); or (iv) in respect of the
               items required to be delivered pursuant to Section 5.0l(k) above with respect to information filed by Holdings
               or its applicable Parent Company with any securities exchange or with the SEC or any analogous governmental
               or private regulatory authority with jurisdiction over matters relating to securities (other than Form I 0-Q Reports
               and Form 10-K reports described in Sections 5.01 (a) and ili}, respectively), on which such items have been made
               available on the SEC website or the website of the relevant analogous governmental or private regulatory
               authority or securities exchange.

                        Notwithstanding the foregoing, the obligations in paragraphs (a), (hl and Ch} of this Section 5. 0 l may
               instead be satisfied with respect to any financial statements of the Top Borrower by furnishing (A) the applicable




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               financial statements of any Parent Company or (B) any Parent Company ' s Form IO-Kor 10-Q, as applicable,
               filed w ith the SEC or any securities exchange, in each case, within the time pe riods specified in such paragraphs
               and without any requirement to provide notice of such filing to the Administrative Agent or any Lender; provided
               that, with respect to each of clauses (A) and (fil, (i) to the extent (1) such financial statements relate to any Parent
               Company and (2) either (I) such Parent Company (or any other Parent Company that is a subsidiary of such
               Parent Company) has any material third party Inde btedness and/or material operations (as determined by the
               Top Borrower in good faith and other than any operations that are attributable solely to such Parent Company' s
               ownership of the Top Borrower and its subsidiaries) or (II) there are material differences between the financial
               statements of such Parent Company and its consolidated subsidiaries, on the one hand, and the Top Borrower
               and its consolidated subsidiaries, on the other hand, such financial statements or Form I 0-K or Form 10-Q, as
               applicable, shall be accompanied by unaudited consolidating information that summarizes in reasonable detail
               the differences between the information re lating to such Parent Company and its consolidated subsidiaries, on
               the one hand, and the infom1ation relating to the Top Borrower and its consolidated subsidiaries on a stand-alone
               basis, on the other hand, which consolidating infom1ation shall be certified by a Responsible Officer of the Top
               Borrower as having been fairly presented in all material respects and (ii) to the extent such statements are in lieu
               of statements required to be provided under Section 5.0I(b), such statements shall be accompanied by a report
               and opinion of an independent registered public accounting firm of nationally recognized standing, which report
               and opinion shall satisfy the applicable requirements set forth in Section 5.0l(b).

                        No financial statement required to be delive red pursuant to Section 5.0l(a) or (hl shall be required to
               include acquisition accounting adjustments re lating to any Investment to the extent it is not practicable to include
               any such adjustments in such financial statement.

                        Section 5.02.     Existence. Except as othen vise permitted unde r Section 6.07, Holdings and the Top
               Borrower will, and the Top Borrower will cause each of its Restricted Subsidiaries to, at all times preserve and
               keep in full force and effect its existence and all rights, franchises, licenses and permits material to its business
               except, other than with respect to the preservation of the existence of the Top Borrower, to the exte nt that the
               failure to do so could not reasonably be expected to result in a Material Adverse Effect: provided that neithe r
               Holdings nor the Top Borrower nor any of the Top Borrower' s Restricted Subsidiaries shall be required to
               preserve any such existence (other than with respect to the preservation of existence of the Top Borrower), right,
               franchise, license or permit if a Responsible Officer of such Person or such Person ' s board of directors (or similar
               governing body) de termines that the preservation thereof is no longer desirable in the conduct of the business of
               such Pe rson, and that the loss the reof is not disadvantageous in any material respect to such Person or to the
               Lenders (taken as a whole).

                         Section 5.03.     Pavment of Taxes. Holdings and the Top Borrower will, and the Top Borrower will
               cause each of its Restricted Subsidiaries to, pay all Taxes imposed upon it or any of its properties or assets or in
               respect of any of its income or businesses or franchises before any penalty or fine accrues thereon: provided,
               howeve r, that no such Tax need be paid if (a) it is being contested in good faith by appropriate proceedings, so
               long as (i) adequate reserves or other appropriate provisions, as are required in confonnity with GAAP, have
               been made therefor and (ii) in the case of a Tax which has resulted or may result in the creation of a Lien on any
               of the Collateral, such contest proceedings conclusively operate to stay the sale of any portion of the Collateral
               to satisfy such Tax or (b) failure to pay or discharge the same could not reasonably be expected, individually or
               in the aggregate, to result in a Material Adverse Effect.

                        Section 5.04.    Maintenance of Properties. The Top Borrower will, and will cause e ach of its
               Restricted Subsidiaries to, maintain or cause to be maintained in good repair, working order and condition,
               ordinary wear and tear and casualty and condemnation excepted, all property reasonably necessary to the normal
               conduct of business of the Top Borrower and its Restricted Subsidiaries and from time to time ·will make or
               cause to be made all needed and appropriate repairs, renew als and replacements thereof except as expressly
               permitted by this Agreement or where the failure to maintain such properties or make such repairs, renewals or
               replacements could not reasonably be expected to have a Material Adverse Effect.




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                        Section 5.05.     Insurance. Except where the failure to do so would not reasonably be expected to have
               a Material Adverse Effect, the Top Borrower will maintain or cause to be maintained, w ith financially sound
               and reputable insurers, such insurance coverage w ith respect to liability, loss or damage in respect of the assets,
               properties and businesses of the Top Borrower and its Restricted Subsidiaries as may customarily be carried or
               maintained under similar circumstances by Persons of established reputation engaged in similar businesses, in
               each case in such amounts (giving effect to self-insurance), with such deductibles, covering such risks and
               otherwise on such terms and conditions as shall be customary for such Persons. Each such policy of insurance
               shall, subject to Section 5.15 hereof, (i) name the Administrative Agent on behalf of the Secured Parties as an
               additional insured thereunder as its interests may appear and (ii) (A) to the extent available from the relevant
               insurance carrier in the case of each casualty insurance policy (excluding any business interruption insurance
               policy), contain a loss payable clause or endorsement that names the Administrative Agent, on behalf of the
               Secured Parties as the loss payee there unde r and (B) to the extent available from the re levant insurance carrier
               after submission of a request by the applicable Loan Party to obtain the same, provide for at least 30 days' prior
               written notice to the Administrative Agent of any modification or cancellation of such policy (or 10 days' prior
               written notice in the case of the fai lure to pay any premiums there under).

                         Section 5.06.     Inspections. The Top Borrower will, and will cause e ach of its Restricted Subsidiaries
               to, permit any authorized representative designated by the Administrative Agent to visit and inspect any of the
               properties of the Top Borrower and any of its Restricted Subsidiaries at which the principal financial records
               and executive officers of the applicable Pe rson are located, to inspect, copy and take extracts from its and their
               respective financial and accounting records, and to discuss its and their respective affairs, finances and accounts
               with its and their Responsible Officers and independent public accountants (provided that the Top Borrower (or
               any of its subsidiaries) may , if it so chooses, be present at or participate in any such discussion) at the expense
               of the Top Borrower, all upon reasonable notice and at reasonable times during normal business hours; provided
               that (a) only the Administrative Agent on behalf of the Lenders may exercise the rights of the Administrative
               Agent and the Lende rs under this Section 5.06, (b) except as expressly set forth in clause (c) be low during the
               continuance of an Event of Default, the AdministTative Agent shall not exercise such rights more ofte n than one
               time during any calendar year, (c) when an Event of Default exists, the Administrative Agent (or any of its
               representatives or independent contractors) may do any of the foregoing at the expense of the Top Borrower at
               any time during normal bus iness hours and upon reasonable advance notice and (d) notwithstanding anything to
               the contTary herein, ne ither the Top Borro~ver nor any Restricted Subsidiary shall be re quired to disclose, permit
               the inspection, examination or making of copies of or taking abstracts from , or discuss any document,
               information, or other matter (i) that constitutes non-financial trade secrets or non-financial proprietary
               information of the Top Borrower and its subsidiaries and/or any of its customers and/or supplie rs, (ii) in respect
               of which disclosure to the Administrative Agent or any Lender (or any of their respective representatives or
               contractors) is prohibited by applicable Requirements of Law, (iii) that is subject to attorney-client or similar
               privilege or constitutes attorney work product or (iv) in respect of which Holdings, the Top Borrower or any
               Restricted Subsidiary owes confidentiality obligations to any third party (provided that such confidentiality
               obligations were not entered into in contemplation of the requirements of this Section 5.06).

                        Section 5.07.      Maintenance of Book and Records. The Top Borrower w ill, and will cause its
               Restricted Subsidiaries to, maintain proper books of record and account containing entries of all material
               financial transactions and matters involving the assets and business of the Top Borrower and its Restricted
               Subsidiaries that are fu ll, true and correct in all material respects and pennit the preparation of consolidated
               financial statements in accordance w ith GAAP.

                        Section 5.08.     Compliance with Laws. The Top Borrower will comply, and will cause each of its
               Restricted Subsidiaries to comply, with the requirements of all applicable Re quirements of Law (including
               applicable ERISA and all Environmental Laws, OFAC, the USA PATRIOT Act and the FCPA), except to the
               extent the failure of the Top Borrower or the relevant Restricted Subsidiary to comply could not reasonably be
               expected to have a Mate rial Adverse Effect; provided that the require ments set forth in this Section 5.08, as they
               pertain to compliance by any Foreign Subsidiary with OFAC, the USA PATRIOT ACT and theFCPA are subject
               to and limited by any Requirement of Law applicable to such Foreign Subsidiary in its re levant local jurisdiction.




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                       Section 5.09.     Environmental.

                        (a)      Environmental Disclosure. The Top Borrower ·will deliver to the Administrative Agent as soon
               as practicable following the sending or receipt thereof by the Top Borrower or any of its Restricted Subsidiaries,
               a copy of any and all written communications with respect to (A) any Environmental Claim that, individually or
               in the aggregate, has a reasonable possibility of giving rise to a Material Adverse Effect, (B) any Release required
               to be reported by the Top Borrower or any of its Restricted Subsidiaries to any federal, state or local
               governmental or regulatory agency or other Governmental Authority that reasonably could be expected to have
               a Material Adverse Effect, (C) any request made to the Top Borrower or any of its Restricted Subsidiaries for
               information from any governmental agency that suggests such agency is investigating whether the Top Borrower
               or any of its Restricted Subsidiaries may be potentially responsible for any Hazardous Materials Activity which
               is reasonably expected to have a Material Adverse Effect and (D) subject to the limitations set forth in the proviso
               to Section 5.01(I), such other documents and infonnation as from time to time may be reasonably requested by
               the Administrative Agent in relation to any matters disclosed pursuant to this Section 5.09(a).

                        (b)      Hazardous Materials Activities, Etc. The Top Borrower shall promptly take, and shall cause
               each of its RestTicted Subsidiaries promptly to take, any and all actions necessary to (i) cure any violation of
               applicable Environmental Laws by the Top Borrower or its Restricted Subsidiaries, and address with appropriate
               corrective or remedial action any Release or threatened Release of Hazardous Materials at or from any Facility,
               in each case, that could reasonably be expected to have a Material Adverse Effect and (ii) make an appropriate
               response to any Environmental Claim against the Top Borrower or any of its RestTicted Subsidiaries and
               discharge any obligations it may have to any Person thereunder, in each case, where fai lure to do so could
               reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

                        Section 5.10.     Designation of Subsidiaries. The Top Borrower may at any time after the Closing Date
               designate (or redesignate) any subsidiary as an Unrestricted Subsidiary or any Unrestricted Subsidiary as a
               Restricted Subsidiary; provided that (a) no subsidiary may be designated as an Unrestricted Subsidiary without
               the prior written consent of the Required Lenders, (b) after giving effect to such designation, no Event of Defau lt
               exists (including after giving effect to the reclassification of Investm ents in, Indebtedness of and Liens on the
               assets of, the applicable Restricted Subsidiary or Unrestricted Subsidiary), (c) no Subsidiary may be designated
               as an Unrestricted Subsidiary if it is a "Restricted Subsidiary" for purposes of the ABL Credit Agreement (or
               any other ABL Facility), the First Lien Credit Agreement (or any other First Lien Facility) or the Second Lien
               Credit Agreement (or any other Second Lien Facility), (d) no Disposition of any assets or other property of any
               Loan Party or any Restricted Subsidiary thereof may be made to any Unrestricted Subsidiary without the prior
               wTitten consent of the Required Lenders (which consent may be communicated by way of a Direction of
               Required Lenders) and (e) no Loan Party or any of its Restricted Subsidiaries shall make any Investment in any
               Unrestricted Subsidiary without the prior written consent of the Required Lenders (which consent may be
               communicated by way of a Direction of Required Lenders). The designation of any subsidiary as an Unrestricted
               Subsidiary shall constitute an Investment by the Top Borrower (or its applicable Restricted Subsidiary) therein
               at the date of designation in an amount equal to the portion of the fair market value of the net assets of such
               subsidiary attributable to the Top Borrower' s (or its applicable Restricted Subsidiary' s) equity interest therein
               as reasonably estimated by the Top Borrower (and such designation shall only be permitted to the extent such
               Investment is permitted under Section 6.06). The designation of any Unrestricted Subsidiary as a Restricted
               Subsidiary shall constitute the making, incurrence or granting, as applicable, at the time of designation of any
               then-existing Investment, Indebtedness or Lien of such subsidiary, as applicable; provided that upon any re-
               designation of any UnrestTicted Subsidiary as a Restricted Subsidiary, the Top Borrower shall be doomed to
               continue to have an Investment in the resulting Restricted Subsidiary in an amount (if positive) equml to (a) the
               Top Borrower' s "Investment" in such Restricted Subsidiary at the time of such re-designation, minus (b) the
               portion of the fair market value of the net assets of such Restricted Subsidiary attributable to the Top Borrower' s
               equity therein at the time of such re-designation. For the avoidance of doubt, no Borrower may be designat.ed as
               (or become) an Unrestricted Subsidiary.




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                       Section 5.11.     Use of Proceeds. The Borrowers shall use the proceeds of the Initial Term Loans (a)
               for working capital and other general corporate purposes (including any other transactions not prohibited by the
               Loan Documents and (b) to fund the payment of Transaction Costs.

                       Section 5.12.      Covenant to Guarantee Obligations and Provide Security.

                        (a)      Upon (i) the formation or acquisition after the Closing Date of any Restricted Subsidiary that
               is a Domestic Subsidiary, (ii) the designation of any Unrestricted Subsidiary that is a Domestic Subsidiary as a
               Restricted Subsidiary, (iii) any Restricted Subsidiary that is a Domestic Subsidiary ceasing to be an Immaterial
               Subsidiary or (iv) any Restricted Subsidiary that was an Excluded Subsidiary ceasing to be an Excluded
               Subsidiary, (x) if the event giving rise to the obligation under this Section 5.12(a) occurs during the first three
               Fiscal Quarters of any Fiscal Year, on or before the date on which financial statements are required to be
               delivered pursuant to Section 5.0 Ha) for the Fiscal Quarter in which the relevant formation, acquisition,
               designation or cessation occurred or (y) if the event giving rise to the obligation under this Section 5.12(a) occurs
               during the fourth Fiscal Quarter of any Fiscal Year, on or before the date that is 60 days after the end of such
               Fiscal Quarter (or, in the cases of clauses (x) and (y}, such longer period as the Administrative Agent may
               reasonably agree (at the Direction of the Required Lenders), the Top Borrower shall (A) cause such Restricted
               Subsidiary (other than any Excluded Subsidiary) to comply with the requirements set forth in clause (a) of the
               definition of" Collateral and Guarantee Requirement" and (B) upon the reasonable request of the Administrative
               Agent, cause the relevant Restricted Subsidiary (other than any Excluded Subsidiary) to deliver to the
               Administrative Agent a signed copy of a customary opinion of counsel for such Restricted Subsidiary, addressed
               to the Administrative Agent and the other relevant Secured Parties.

                         (b)      Concurrently with the designation of any Restricted Subsidiary as a Discretionary Guarantor,
               the Top Borrower shall cause such Restricted Subsidiary to comply with the requirements set forth in clause
               uilifil of the definition of "Collateral and Guarantee Requirement" : provided that if any Restricted Subsidiary is
               added as a guarantor under the ABL Credit Agreement, the Top Borrower shall cause such Restricted Subsidiary
               to also be added as a Subsidiary Guarantor under this Agreement, the First Lien Credit Agreement and the
               Second Lien Credit Agreement.

                       (c)     Notwithstanding anything to the contrary herein or m any other Loan Document, it 1s
               understood and agreed that:

                                (i)      the Administrative Agent may (at the Direction of the Required Lenders) grant
                       extensions of time (including after the expiration of any relevant period, which may apply retroactively)
                       for the creation and perfection of security interests in, or obtaining of title insurance, legal opinions,
                       surveys or other deliverables with respect to, particular assets or the provision of any Loan Guaranty by
                       any Restricted Subsidiary (in connection with assets acquired, or Restricted Subsidiaries formed or
                       acquired, after the Closing Date), and each Lender hereby consents to any such extension of time,

                                (ii)    any Lien required to be granted from time to time pursuant to the definition of
                       "Collateral and Guarantee Requirement" shall be subject to the exceptions and limitations set forth in
                       the Collateral Documents,

                               (iii)     perfection by control shall not be required with respect to assets requiring perfection
                       through control agreements or other control arrangements (other than control of pledged Deposit
                       Accounts and pledged Capital Stock and/or Material Debt Instruments, in each case to the extent the
                       same othenl\fise constitute Collateral),

                               (iv)   no Loan Party shall be required to seek any landlord lien waiver, bailee letter, estoppel,
                        warehouseman waiver or other collateral access or similar letter or agreement,




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                            (v)     no Loan Party will be required to (A) take any action (1) outside of the U.S. in order
                  to create or perfect any security interest in any asset located outside of the U.S. in the case of any U.S.
                  Loan Party and/or (2) outside of the U.S. or the jurisdiction of organization of such Non-U.S. Loan
                  Party in order to create or perfect any security interest in any asset located outside of the U.S. or the
                  jurisdiction of organization of such Non-U.S. Loan Party, (B) execute any security agreement, pledge
                  agreement, mortgage, deed, hypothec, charge or other collateral document governed by the laws of any
                  jurisdiction, other than (1) in the case of any U.S. Loan Party, the U.S., any state thereof or the District
                  of Columbia or (2) in the case of any Non-US. Loan Party, the U.S. or its jurisdiction of organization
                  or (C) make any intellectual property filing, conduct any intellectual property search or prepare any
                  intellectual property schedule in any jurisdiction, other than (1) in the case of any U.S. Loan Party, the
                  U.S., any state thereof or the District of Columbia or (2) in the case of any Non-US. Loan Party, its
                  jurisdiction of organization,

                         (vi)     in no event will the Collateral include any Excluded Asset and in no event will the Top
                  Borrower or any of its subsidiaries be required to make any Excluded Subsidiary become a Subsidiary
                  Guarantor,

                           (vii)     no action shall be required to perfect any Lien with respect to (1) any vehicle or other
                  asset subject to a certificate of title, (2) Letter-of-Credit Rights, (3) the Capital Stock of any Immaterial
                  Subsidiary and/or (4) the Capital Stock of any Person that is not a subsidiary, which Person, if a
                  subsidiary, would constitute an Immaterial Subsidiary, in each case except to the extent that a security
                  interest therein can be perfected by filing a Form UCC-1 (or similar) financing statement under the
                  UCC,

                            (viii)  no action shall be required to perfect a Lien in any asset in respect of which the
                  perfection of a security interest therein would (1) be prohibited by enforceable anti-assignment
                  provisions set fo1th in any contract relating to such asset that is permitted or otherwise not prohibited
                  by the terms of this Agreement and is binding on such asset at the time of its acquisition and not incurred
                  in contemplation thereof (other than in the case of capital leases, purchase money and similar
                  financings), (2) violate the terms of any contract relating to such asset that is permitted or otherwise not
                  prohibited by the terms of this Agreement and is binding on such asset at the time of its acquisition and
                  not incurred in contemplation thereof (other than in the case of capital leases, purchase money and
                  similar financings), in each case, after giving effect to the applicable anti-assignment provisions of the
                  UCC or other applicable Requirement of Law or (3) trigger tern1ination of any contract relating to such
                  asset that is permitted or otherwise not prohibited by the terms of this Agreement and is binding on such
                  asset at the time of its acquisition and not incurred in contemplation thereof (other than in the case of
                  capital leases, purchase money and similar financings) pursuant to any "change of control" or similar
                  provision; it being understood that the Collateral shall include any proceeds and/or receivables arising
                  out of any contract described in this clause to the extent the assignment of such proceeds or receivables
                  is expressly deemed effective under the UCC or other applicable Requirement of Law notwithstanding
                  the relevant prohibition, violation or termination right,

                           (ix)     no Loan Party shall be required to perfect a security interest in any asset to the extent
                  the perfection of a security interest in such asset would be prohibited under any applicable Requirement
                  of Law,

                           (x)      any joinder or supplement to any Loan Guaranty, any Collateral Document and/or any
                  other Loan Document executed by any Restricted Subsidiary that is required to become (or otherwise
                  becomes) a Loan Party pursuant to Section 5.12(a) above (including any Joinder Agreement) may, with
                  the consent of the Administrative Agent (not to be unreasonably withheld or delayed), include such
                  schedules (or updates to schedules) as may be necessary to qualify any representation or warranty set
                  forth in any Loan Document to the extent necessary to ensure that such representation or warranty is
                  true and correct to the extent required thereby or by the terms of any other Loan Document,




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                                 (xi)    the Administrative Agent shall not require the taking of a Lien on, or require the
                        perfection of any Lien granted in, those assets as to which the cost of obtaining or perfecting such Lien
                        is excessive in relation to the benefit to the Lenders of the security afforded thereby as reasonably
                        determined in writing by the Top Borrower and the Required Lenders; and

                                  (xii)   the pledge of Capital Stock of Serta shall exclude all rights and economics arising from
                        or relating to AI Dream.

                        Section 5.13.    Maintenance of Ratings. The Top Borrower shall use commercially reasonable efforts
               to obtain within 30 days of the Closing Date and maintain public corporate credit facility and public corporate
               family ratings from each of S&P and Moody's; provided that in no event shall the Top Borrower be required to
               maintain any specific rating with any such agency.

                        Section 5. 14.    Further Assurances. Promptly upon request of the Administrative Agent and subject
               to the limitations described in Section 5.12 and Section 5.17:

                        (a)      Holdings and the Top Borrower will, and will cause each other Loan Party to, execute and
               deliver any and all further documents, financing statements, agreements, instruments, certificates, notices and
               acknowledgments and take all such further actions (including the filing and recordation of financing statements,
               fixture filings, account control agreements, Intellectual Property Security Agreements and/or amendments
               thereto and other documents), that may be required under any applicable Requirements of Law and which the
               Administrative Agent may reasonably request to ensure the creation, perfection and priority of the Liens created
               or intended to be created under the Collateral Documents, all at the expense of the relevant Loan Parties.

                        (b)      Holdings and the Top Borrower will, and will cause each other Loan Party to, (i) correct any
               material defect or error that may be discovered in the execution, acknow ledgment, filing or recordation of any
               Collateral Document or other document or instrument relating to any Collateral and (ii) do, execute,
               acknowledge, deliver, record, re-record, file, re-file, register and re-register any and all such further acts
               (including notices to third parties), deeds, certificates, assurances and other instruments as the Administrative
               Agent may reasonably request from time to time in order to ensure the creation, perfection and priority of the
               Liens created or intended to be created under the Collateral Documents.

                       Section 5. 15.     Post-Closing Covenant. The Top Borrower will satisfy its obligations described on
               Schedule 5.15, in each case, within the time periods set forth therein with respect to the relevant obligation (or
               such longer period as the Administrative Agent (at the Direction of the Required Lenders) may reasonably agree).

                        Section 5.16.    Specified Lender Advisors.

                        (a)       The Borrowers shall reasonably cooperate with the Specified Lender Advisors and provide
               reasonable access for the Specified Lender Advisors to such diligence information relating to the financial
               condition of the Top Borrower and its subsidiaries as is reasonably available to the Top Borrower, including
               such information that is reasonably requested by the Ad Hoc Group of Term Lenders (for so long as such Ad
               Hoc Group of Term Lenders comprises the Required Lenders) provided, however, that none of Holdings, the
               Top Borrower nor any Restricted Subsidiary shall be required to disclose or provide any infonuation (a) that
               constitutes non-financial trade secrets or non-financial proprietary infonnation of Holdings, the Top Borrower
               or any of its subsidiaries or any of their respective customers and/or suppliers, (b) in respect of which disclosure
               to the Administrative Agent or any Lender (or any of their respective representatives) is prohibited by applicable
               Requirements of Law, (c) that is subject to attorney-client or similar privilege or constitutes attorney work
               product or (d) in respect of which Holdings, the Top Borrower or any Restricted Subsidiary owes confidentiality
               obligations to any third party (provided such confidentiality obligations ·were not entered into in contemplation
               of the requirements of this Section 5.16(a)).




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                         (b)      On a day and al a time during nonnal business hours mutually agreed by the Top Borrower and
               the Specified Lender Advisors, but in any event no later than (i) sixty (60) days fo llowing the end of each of the
               first three Fiscal Quarters of each Fiscal Year (commencing with the Fiscal Quarter ending September 26, 2020)
               and (ii) in the case of the fourth Fiscal Quarter of each Fiscal Year, within five (5) Business Days after delivery
               of the financial statements for such Fiscal Year pursuant to Section 5.0l (b), the Top Borrower will host a
               conference call with Lenders lo review the financial result for such Fiscal Quarter or Fiscal Year, as applicable
               (and any information presented in the financial statements for such quarter pursuant to Section 5.01(a) or Section
               5.0l(b) (if then available)).

                        Section 5. 17.   Deposit Accounts. The Top Borrower shall use commercially reasonably efforts to
               cause each Deposit Account (other than any Excluded Account) of the Loan Parties to become su~ject to a
               customary deposit account control agreement that is in form and substance reasonably satisfactory to the
               Administrative Agent, which account control agreement shall establish the Administrative Agent' s "control"
               (within the meaning of Section 9-104 of the UCC) thereof, within 60 days (or such longer period as the
               Administrative Agent may agree (acting at the Direction of the Required Lenders)) after the Closing Date. In
               the event that any Loan Party establishes a new Deposit Account after the Closing Date, the Top Borrower shall
               cause such Loan Party to use commercially reasonable efforts lo cause such Deposit Account (other than any
               Excluded Account) to be subject to a customary deposit account control agreement that is in form and substance
               reasonably satisfactory to the Administrative Agent, which account control agreement shall establish the
               Adm inistrative Agent's "control" (within the meaning of Section 9-104 of the UCC) thereof, within 60 days (or
               such longer period as the Administrative Agent may agree (acting al the Direction of the Required Lenders))
               after establishment of such Deposit Account.

                                                                  ARTICLE 6

                                                          NEGATIVE COVENANTS

                        From the Closing Date and until the Tennination Date, Holdings (solely with respect lo Section 6. 14)
               and the Top Borrower covenant and agree with the Lenders that:

                       Section 6.01.      Indebtedness. The Top Borrower shall not, nor shall it permit any of its Restricted
               Subsidiaries to, directly or indirectly , create, incur, assume or otherwise become or remain liable with respect to
               any Indebtedness, except:

                       (a)      the Secured Obligations (including any Subsequent Exchange Tem1 Loans);

                        (b)      Indebtedness of the Top Borrower to Holdings and/or any Restricted Subsidiary and/or of any
               Restricted Subsidiary lo Holdings, the Top Borrower and/or any other Restricted Subsidiary; provided that in
               the case of any Indebtedness of any Restricted Subsidiary that is not a Loan Party owing to any Restricted
               Subsidiary that is a Loan Party, such Indebtedness shall be permitted as an Investment under Section 6.06;
               provided, further, that any Indebtedness of any Loan Party to any Restricted Subsidiary that is not a Loan Party
               must be unsecured and expressly subordinated to the Obligations of such Loan Party pursuant lo the
               Intercompany Note, or otherwise on lenns that are reasonably acceptable lo the Administrative Agent (acting al
               the Direction of the Required Lenders);

                       (c)      [Reserved];

                        (d)     Indebtedness ansmg from any agreement providing for indemnification, adjustment of
               purchase price or similar obligations (including contingent earn-out obligations) incurred in connection with any
               Disposition pennitted hereunder, any acquisition pennitted hereunder or consummated prior to the Closing Dale
               or any other purchase of assets or Capital Stock, and Indebtedness arising from guaranties, letters of credit, bank
               guaranties, surety bonds, performance bonds or similar instruments securing the performance of the Top
               Borrower or any such Restricted Subsidiary pursuant to any such agreement;




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                        (e)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary (i) pursuant to tenders,
               statutory obligations, bids, leases, governmental contracts, trade contracts, surety, stay, customs, appeal,
               performance and/or return of money bonds or other similar obligations incurred in the ordinary course of
               business and (ii) in respect of letters of credit, bank guaranties, surety bonds, performance bonds or similar
               instruments to support any of the foregoing items;

                        (f)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary in respect of Banking
               Services and/or otherwise in connection with Cash management and Depos it Accounts, including incentive,
               supplier finance or similar programs;

                         (g)     (i) guaranties by the Top Borrower and/or any Restricted Subsidiary of the obligations of
               suppliers, customers and licensees in the ordinary course of business, (ii) Indebtedness incurred in the ordinary
               course of business in respect of obligations of the Top Borrower and/or any Restricted Subsidiary to pay the
               deferred purchase price of goods or services or progress payments in connection with such goods and services
               and (iii) Indebtedness in respect of letters of credit, bankers' acceptances, bank guaranties or similar instruments
               supporting trade payables, warehouse receipts or similar facilities entered into in the ordinary course of business;

                        (h)      Guarantees by the Top Borrower and/or any Restricted Subsidiary of Indebtedness or other
               obligations of the Top Borrower, any Restricted Subsidiary and/or any joint venture with respect to Indebtedness
               otherwise permitted to be incurred pursuant to this Section 6.01 or other obligations not prohibited by this
               Agreement; provided that in the case of any Guarantee by any Loan Party of the obligations of any non-Loan
               Party, the related Investment is permitted under Section 6.06;

                     (i)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary existing, or pursuant to
               commitments existing, on the Closing Date and described on Schedule 6.01;

                       (j)      [Reserved);

                       (k)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary consisting of obligations
               owing under incentive (including dealer incentive), supply, license or similar agreements entered into in the
               ordinary course of business;

                       (I)      Indebtedness of the Top Borrower and/or any Restricted Subsidiruy consisting of (i) the
               financing of insurance premiums, (ii) take-or-pay obligations contained in supply arrangements, in each case, in
               the ordinary course of business and/or (iii) obligations to reacquire assets or inventory in connection with
               customer financing arrru1gements in the ordinary course of business;

                      (m)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary with respect to Capital
               Leases and purchase money Inde btedness in an aggregate outstanding principal amount not to exceed
               $125,000,000;

                       (n)      [Reserved];

                       (o)      [Reserved};

                       (p)      [Reserved];

                       (q)      [Reserved];

                       (r)      [Reserved];

                       (s)      Inde btedness of the Top Borrower and/or any Restricted Subsidiary under any Derivative
               Transaction not entered into for speculative purposes and entered into in the ordinary course of business;




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                       (t)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary representing deferred
               compensation to current or former directors, officers, employees, members of management, managers, and
               consultants of any Parent Company, the Top Borrower and/or any Restricted Subsidiary in the ordinary course
               of business and consistent with past practice;

                        (u)    Indebtedness of the Top Borrower and/or any Restricted Subsidiary in an aggregate outstanding
               principal amount not to exceed the $25,000,000;

                        (v)      [Reserved];

                        (w)      [Reserved];

                        (x)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary incurred in respect of:

                                (i)     the First Lien Credit Agreement in an aggregate outstanding principal amount that does
                        not exceed $894,332,295 .75,

                                (ii)    the Second Lien Credit Agreement in an aggregate outstanding principal amount that
                        does not exceed $128,172,767.92,

                                (iii)    [reserved],

                                (iv)    any ABL Facility and any ABL Incremental De bt in an aggregate outstanding principal
                       amount that does not exceed the greater of (A) (1) $225,000,000 plus (2) the aggregate principal amount
                       of such ABL Incremental Debt so long as the sum of the aggregate outstanding principal amount of any
                       such ABL Incremental Debt does not exceed the Incremental Cap (as defined in the ABL Credit
                       Agreement as in effect on the Closing Date) and (B) the sum of (1) 90% of the aggregate amount of
                       gross trade receivables, (2) 90% of gross credit card receivables, (3) 85% of the aggregate amount of
                       gross inventory and (4) 100% of " qualified cash", in each case, of the Loan Parties,

                                (v)      any refinancing of any ABL Facility or any ABL Incremental Debt after the Closing
                       Date so long as (A) the aggregate comm itments do not exceed, without duplication, the amount
                       permitted to be incurred under preceding clause (iv), plus ( 1) the amount of any underwriting discounts,
                       other reasonable and customary fees, commissions and expenses (including upfront fees) incurred in
                       connection with the relevant refinancing and (2) an amount equal to any existing commitments
                       unutilized thereunder and (B) such Indebtedness, if secured, is secured by Liens permitted under
                       Section 6.02, and

                                  (vi)    "Banking Services Obligations" and " Secured Hedging Obligations" (each as defined
                        in the ABL Credit Agreement (or any equivalent term in any document governing any ABL Facility),
                        the First Lien Credit Agreement and/or Second Lien Credit Agreement, as applicable);

                       (y)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary incurred in connection with
               Sale and Lease-Back Transactions permitted pursuant to Section 6.08;

                        (z)      [Reserved);

                        (aa)     Indebtedness (including obligations in respect ofletters of credit, bank guaranties, surety bonds,
               performance bonds or similar instruments with respect to such Indebtedness) incurred by the Top Borrower
               and/or any Restricted Subsidiary in respect of workers compensation claim s, unemployment insurance
               (including premiums related thereto), other types of social security, pension obligations, vacation pay, health,
               disability or other employee benefits in the ordinary course of business;




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                        (bb)     [Reserved];

                        (cc)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary in respect of any letter of
               credit or bank guarantee issued in favor of any issuing bank or the swingline lender to support any defaulting
               lender's participation in letters of credit issued, or swingline loans made under any ABL Facility;

                       (dd)     Indebtedness of the Top Borrower or any Restricted Subsidiary supported by any letter of credit
               issued under any ABL Facility;

                       (ee)   unfunded pension fund and other employee benefit plan obligations and liabilities incurred by
               the Top Borrower and/or any Restricted Subsidiary in the ordinary course of business to the extent that the
               unfunded amounts would not otherwise cause an Event of Default under Section 7.0l(i);

                      (ff)     customer deposits and advance payments received in the ordinary course of business from
               customers for goods and services purchased in the ordinary course of business; and

                         (gg)     without duplication of any other Indebtedness, all premiums (if any), interest (including post-
               petition interest and payment in kind interest), accretion or amortization of origi11al issue discount, fees, expenses
               and charges with respect to Indebtedness of the Top Borrower and/or any Restricted Subsidiary hereunder.

                        Section 6.02.    Liens. The Top Borrower shall not, nor shall it permit any of its Restricted Subsidiaries
               to, create, incur, assume or permit or suffer to exist any Lien on or with respect to any property of any kind
               owned by it, whether now ovmed or hereafter acquired, or any income or profits therefrom, except:

                        (a)      Liens securing the Secured Obligations created pursuant to the Loan Documents;

                       (b)      Liens for Taxes which (i) are not then due, (ii) if due, are not at such time required to be paid
               pursuant to Section 5.03 or (iii) are being contested in accordance with Section 5.03 ;

                       (c)       statutory Liens (and rights of set-off) of landlords, banks, carriers, warehousemen, mechanics,
               repairmen, workmen and materialmen, and other Liens imposed by applicable Requirements of Law, in each
               case incurred in the ordinary course of business (i) for amounts not yet overdue by more than 30 days, (ii) for
               amounts that are overdue by more than 30 days and that are being contested in good faith by appropriate
               proceedings, so long as any reserves or other appropriate provisions required by GAAP have been made for any
               such contested amounts or (iii) with respect to which the failure to make payment could not reasonably be
               expected to have a Material Adverse Effect;

                        (d)     Liens incurred (i) in the ordinary course of business in connection with workers' compensation,
               unemployment insurance and other ty pes of social security laws and regulations, (ii) in the ordinary course of
               business to secure the perfonnance of tenders, statutory obligations, surety, stay, customs and appeal bonds,
               bids, leases, government contracts, trade contracts, perfonnance and return-of-money bonds and other similar
               obligations (exclusive of obligations for the payment of borrowed money), (iii) pursuant to pledges and deposits
               of Cash or Cash Equivalents in the ordinary course of business securing (x) any liability for reimbursement or
               indemnification obligations of insurance carriers providing property, casualty, liability or other insurance to
               Holdings, the Top Borrower and its subsidiaries or (y) leases or licenses of property othenvise permitted by this
               Agreement and (iv) to secure obligations in respect of letters of credit, bank guaranties, surety bonds,
               perfomrnnce bonds or similar instruments posted with respect to the items described in clauses (i) through (iii)
               above;

                        (e)      Liens consisting of easements, rights-of-way, restrictions, encroachments, and other minor
               defects or irregularities in title, in each case which do not, in the aggregate, materially interfere with the ordinary
               conduct of the business of the Top Borrower and/or its Restricted Subsidiaries, taken as a whole, or the use of
               the affected property for its intended purpose;




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                        (f)      Liens consisting of any (i) interest or title of a lessor or sub-lessor under any lease of real estate
               permitted hereunder, ( ii) landlord lien permitted by the terms of any lease, (iii) restriction or encumbrance to
               which the interest or title of such lessor or sub-lessor may be subject or (iv) subordination of the interest of the
               lessee or sub-lessee under such lease to any restriction or encumbrance referred to in the preceding clause (iii):

                       (g)      Liens consisting of (A) an agreement to Dispose of any property in a Disposition permitted
               under Section 6.07 (under than Section 6.07(g)(x) and/or ill) the pledge of Cash as part of an escrow arrangement
               required in any Disposition permitted under Section 6.07 (other than Section 6.07(g)(x));

                        (h)     (i) purported Liens evidenced by the filing of UCC financing statements relating solely to
               operating leases or consignment or bailee arrangements entered into in the ordinary course of business, and (ii)
               Liens arising from precautionary UCC financing statements or similar filings ;

                       (i)      Liens in favor of customs and revenue authorities arising as a matter of law to secure payment
               of customs duties in connection with the importation of goods;

                         (i)      Liens in connection with any zoning, building or similar Requirement of Law or right reserved
               to or vested in any Governmental Authority to control or regulate the use of any or dimensions of real property
               or the structure thereon, including Liens in connection with any condemnation or eminent domain proceeding or
               compulsory purchase order;

                        (k)      [Reserved);

                        (I)     Liens existing on the Closing Date and described on Schedule 6.02 and any modification,
               replacement, refinancing, renewal or extension thereof: provided that (i) no such Lien extends to any additional
               property other than (A) after-acquired property that is affixed or incorporated into the property covered by such
               Lien or financed by Indebtedness permitted under Section 6.01 and (B) proceeds and products thereof,
               replacements, accessions or additions thereto and improvements thereon (it being understood that individual
               financings of the type permitted under Section 6.0 Hm) provided by any lender may be cross-collateralized to
               other financings of such type provided by such lender or its affiliates) and (ii) any such modification,
               replacement, refinancing, renewal or ex1ension of the obligations secured or benefited by such Liens, if
               constituting Indebtedness, is permitted by Section 6. 0 I ;

                        (m)      Liens arising out of Sale and Lease-Back Transactions permitted under Section 6.08;

                        (n)      Liens securing Indebtedness permitted pursuant to Section 6.0l(m); provided that any such
               Lien shall encumber only the asset acquired with the proceeds of such Indebtedness and proceeds and products
               thereof, replacements, accessions or additions thereto and improvements thereon (it being understood that
               individual financings of the type permitted under Section 6.0l(m) provided by any lender may be cross-
               collateralized to other financings of such type provided by such lender or its affiliates);

                        (o)      [Reserved];

                        (p)      (i) Liens that are contractual rights of setoff or netting relating to (A) the establishment of
               depositary relations with banks not granted in connection with the issuance of Indebtedness, (B) pooled deposit
               or sweep accounts of the Top Borrower or any Restricted Subsidiary to pennit satisfaction of overdraft or similar
               obligations incurred in the ordinary course of business of the Top Borrower or any Restricted Subsidiary, (C)
               purchase orders and other agreements entered into with customers of the Top Borrower or any Restricted
               Subsidiary in the ordinary course of business and (D) commodity trading or other brokerage accounts incurred
               in the ordinary course of business, (ii) Liens encumbering reasonable customary initial deposits and margin
               deposits, (iii) bankers Liens and rights and remedies as to Deposit Accounts, (iv) Liens of a collection bank
               arising under Section 4-208 of the UCC on items i11 the ordinary course of business, (v) Liens in favor of banking
               or other financial institutions arising as a matter of law or under customary general terms and conditions




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               encumbering deposits or other funds maintained with a financial institution and that are within the general
               parameters customary in the banking industry or arising pursuant to such banking institution's general terms and
               conditions and (vi) Liens on the proceeds of any Indebtedness incurred in connection with any transaction
               permitted hereunder, which proceeds have been deposited into an escrow account on customary terms to secure
               such Indebtedness pending the application of such proceeds to finance such transaction;

                        (q)    Liens on assets and Capital Stock of Restricted Subsidiaries that are not Loan Parties (including
               Capital Stock owned by such Persons) securing Indebtedness of Restricted Subsidiaries that are not Loan Parties
               permitted pursuant to Section 6.01;

                       (r)      Liens securing obligations (other than obligations representing Indebtedness for borrowed
               money) under operating, reciprocal easement or similar agreements entered into in the ordinary course of
               business of the Top Borrower and/or its Restricted Subsidiaries;

                       (s)       [Reserved];

                         (t)      Liens securing Indebtedness incurred pursuant to Sections 6.0l(x), subject to the applicable
               Initial Intercreditor Agreements;

                         (u)      Liens on assets securing Indebtedness or other obligations in an aggregate principal amount at
               any time outstanding not to exceed $25,000,000: provided, that any Lien that is granted in reliance on this clause
               .fu) on the Collateral shall be subject to an Acceptable lntercreditor Agreement;

                       (v)     (i) Liens on assets securing judgments, awards, attachments and/or decrees and notices of lis
               pendens and associated rights relating to litigation being contested in good faith not constituting an Event of
               Default under Section 7.0 l(h) and (ii) any pledge and/or deposit securing any settlement of litigation;

                       (w)     leases, licenses, subleases or sublicenses granted to others in the ordinary course of business
               which do not secure any Indebtedness;

                       (x)     Liens on Securities that are the subject of repurchase agreements constituting Investments
               permitted under Section 6.06 arising out of such repurchase transaction;

                      (y)     Liens securing obligations in respect letters of credit, bank guaranties, surety bonds,
               performance bonds or similar instruments permitted under Sections 6.0l(d), (!tl, (g). (aa) and (cc);

                        (z)      Liens arising (i) out of conditional sale, title retention, consignment or similar arrangements for
               the sale of any asset in the ordinary course of business and permitted by this Agreement or (ii) by operation of
               law under Article 2 of the UCC (or similar Requirement of Law under any jurisdiction);

                        (aa)   Liens (i) in favor of any Loan Party and/or (ii) granted by any non-Loan Party in favor of any
               Restricted Subsidiary that is not a Loan Party, in the case of clauses (i) and ®, securing intercompany
               Indebtedness permitted under Section 6.01 or Section 6.09;

                       (bb)      Liens on insurance policies and the proceeds thereof securing the financing of the premiums
               with respect thereto;

                         (cc)    Liens on specific items of inventory or other goods and the proceeds thereof securing the
               re levant Person's obligations in respect ofdocumentary letters ofcredit or banker's acceptances issued or created
               for the account of such Person to facilitate the purchase, shipment or storage of such inventory or goods;

                        (dd)    Liens securing (i) obligations of the type described in Section 6. 01 (f) and/or (ii) obligations of
               the type described in Section 6.0 l(s):




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                         (ee)     (i) Liens on Capital Stock of joint ventures or Unrestricted Subsidiaries securing capital
               contTibutions to, or obligations of, such Persons and (ii) customary rights of first refusal and tag, drag and similar
               rights in joint venture agreements and agreements with respect to non-Wholly-Owned Subsidiaries;

                      (ff)     Liens on Cash or Cash Equivalents arising in connection with the defeasance, discharge or
               redemption of Indebtedness;

                       (gg)    Liens consisting of the prior rights of consignees and their lenders under consignment
               arrangements entered into in the ordinary course of business; and

                         Section 6.03.    [Reserved].

                         Section 6.04.    Restricted Payments; Restricted Debt Pavments.

                         (a)     The Top Borrower shall not pay or make, directly or indirectly, any Restricted Payment, except
               that:

                                 (i)    the Top Borrower may make Restricted Payments to the extent necessary to permit
                         any Parent Company :

                                          (A)      to pay general administrative costs and expenses (including corporate
                                 overhead, legal or similar expenses and customary salary, bonus and other benefits payable to
                                 directors, officers, employees, members of management, managers and/or consultants of any
                                 Parent Company) and franchise Taxes, and similar fees and expenses, required to maintain the
                                 organizational existence of such Parent Company, in each case, which are reasonable and
                                 customary and incurred in the ordinary course of business, plus any reasonable and customary
                                 indemnification claims made by directors, officers, members of management, managers,
                                 employees or consultants of any Parent Company, in each case, to the extent attributable to the
                                 ownership or operations of any Parent Company (but excluding, for the avoidance of doubt, the
                                 portion of any such amount, if any, that is attributable to the ownership or operations of any
                                 subsidiary of any Parent Company other than the Top Borrower and/or its subsidiaries), and/or
                                 its subsidiaries;

                                           (B)     (x) for any taxable period for which the Top Borrower is a member of a
                                 consolidated, combined, unitary or similar tax group for U.S. federal and/or applicable state or
                                 local tax purposes of which such Parent Company is the common parent, to discharge the
                                 consolidated, combined, unitary or similar Tax liabilities of such Parent Company and its
                                 subsidiaries when and as due, to the extent such liabilities are attributable to the income of the
                                 Top Borrower and/or any subsidiary; provided that the amount of such payments in respect of
                                 any taxable year do not exceed the amount of such Tax liabilities that the Top Borrower and/or
                                 its applicable subsidiaries would have paid had such Tax liabilities been paid as standalone
                                 companies or as a standalone group and (y) for any taxable period for which the Top Bo1TOwer
                                 is a partnership or disregarded entity for U.S. federal income tax purposes that is wholly-owned
                                 (directly or indirectly) by a C corporation for U.S. federal and/or applicable state or local tax
                                 purposes, distributions to any direct or indirect parent of the Top Borrower in an amount not to
                                 exceed the amount of any Tax that the Top Borrower and/or its applicable subsidiaries would
                                 have paid had such Tax been paid as standalone companies or as a standalone group (and
                                 assuming for purposes of such calculation that the Top Borrower is classified as a domestic
                                 corporation for U.S. federal income tax purposes);

                                         (C)     to pay audit and other accounting and reporting expenses of any Parent
                                 Company to the extent such expenses are attributable to such Parent Company (but excluding,
                                 for the avoidance of doubt, the portion of any such expenses, if any, attributable to the




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                           ownership or operations of any subsidiary of any Parent Company other than the Top Borrower
                           and/or its subsidiaries), the Top Borrower and its subsidiaries;

                                   (D)     for the payment of any insurance premiums that is payable by or attributable
                           to any Parent Company (but excluding, for the avoidance of doubt, the portion of any such
                           premiums, if any, attributable to the ownership or operations of any subsidiary of any Parent
                           Company other than the Top Borrower and/or its subsidiaries), the Top Borrower and its
                           subsidiaries;

                                    (E)      to pay (x) any fee and/or expense related to any debt or equity offering,
                           investment or acquisition (whether or not consummated) and/or any expenses of, or
                           indemnification obligation in favor of any trustee, agent, arranger, unde1writer or similar role,
                           and (y) after the consummation of an initial public offering or the issuance of public debt
                           Securities, Public Company Costs;

                                    (F)      to finance any Investment penuitted unde r Section 6.06 (provided that (x) any
                           Restricted Payment unde r this clause (a)(i)(F) shall be made substantially concurrently with the
                           closing of such Investment and (y) the relevant Parent Company shall, promptly follow ing the
                           closing thereof, cause (I) all property acquired to be contributed to the Top Borrower or one or
                           more of its Restricted Subsidiaries, or (II) the merger, consolidation or amalgamation of the
                           Person formed or acquired into the Top Borrower or one or more of its Restricted Subsidiaries,
                           in order to consummate such Investme nt in compliance with the applicable requirements of
                           Section 6.06 as if unde rtake n as a direct Investment by the Top Borrowe r or the relevant
                           Restricted Subsidiary); and

                                     (G)     to pay customary salary, bonus, severance and othe r benefits payable to
                           current or forme r directors, officers, me mbers of management, managers, employees or
                           consultants of any Parent Company (or any Immediate Family Member of any of the foregoing)
                           to the e xtent such salary, bonuses and other benefits are attributable and reasonably allocated
                           to the operations of the Top Borrower and/or its subsidiaries, in each case, so long as such
                           Parent Company applies the amount of any such Restricted Payment for such purpose;

                            (ii)    the Top Borrower may pay (or make Restricted Payments to allow any Parent
                   Company) to repurchase, redeem, retire or otherwise acquire or retire for value the Capital Stock of any
                   Pare nt Company or any subsidiary held by any future, present or former employee, director, me mber of
                   manage me nt, officer, manager or consultant (or any Affiliate or Immediate Family Member thereof) of
                   any Parent Company, the Top Borrower or any subsidiary:

                                    (A)      with Cash and Cash Equivalents (and including, to the extent constituting a
                           Restricted Payment, amounts paid in respect of promissory notes issued to evidence any
                           obligation to repurchase, redeem, retire or othern1ise acquire or retire for value the Capital Stock
                           of any Pare nt Company or any subs idiary held by any future, prese nt or former e mployee,
                           director, member of manage ment, officer, manager or consultant (or any Affiliate or Immediate
                           Family Member thereof) of any Parent Company, the Top Borrower or any subsidiary) in an
                           amount not to exceed, in any Fiscal Year, $15,000,000;

                                    (B)     with the proceeds of any sale or issuance of, or any capital contribution in
                           respect of, the Capital Stock of the Top Borrower or any Parent Company (to the extent such
                           proceeds are contributed in respect of Qualified Capital Stock to the Top Borrower or any
                           Restricted Subsidiary); or

                                    (C)      with the net proceeds of any key-man life insurance policies;




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                                (iii)    [Reserved];

                               (iv)     the Top Borrower may make Restricted Payments (i) to any Parent Company to enable
                       such Parent Company to make Cash payments in lieu of the issuance of fractional shares in connection
                       with the exercise of warrants, options or other securities convertible into or exchangeable for Capital
                       Stock of such Parent Company and (ii) consisting of (A) payments made or expected to be made in
                       respect of withholding or similar Taxes payable by any future, present or fom1er officers, directors,
                       employees, members of management, managers or consultants of the Top Borrower, any Restricted
                       Subsidiary or any Parent Company or any of their respective Immediate Family Members and/or (B)
                       repurchases of Capital Stock in consideration of the payments described in subclause (A) above,
                       including demand repurchases in connection with the exercise of stock options;

                                (v)     the Top Borrower may repurchase (or make Restricted Payments to any Parent
                       Company to enable it to repurchase) Capital Stock upon the exercise of warrants, options or other
                       securities convertible into or exchangeable for Capital Stock if such Capital Stock represents all or a
                       portion of the exercise price of, or tax withholdings with respect to, such warrants, options or other
                       securities convertible into or exchangeable for Capital Stock;

                                (vi)     [Reserved);

                                 (vii)   the Top Borrower may make Restricted Payments to (i) redeem, repurchase, retire or
                       otherwise acquire any (A) Capital Stock (' 'Treasurv Capital Stock") of the Top Borrower and/or any
                       Restricted Subsidiary or (B) Capital Stock of any Parent Company, in the case of each of subclauses
                       (A} and (!ll, in exchange for, or out of the proceeds of the substantially concurrent sale (other than to
                       the Top Borrower and/or any Restricted Subsidiary) of, Qualified Capital Stock of the Top Borrower or
                       any Parent Company to the extent any such proceeds are contributed to the capital of the Top Borrower
                       and/or any Restricted Subsidiary in respect of Qualified Capital Stock ("Refunding Capital Stock") and
                       (ii) declare and pay dividends on any Treasury Capital Stock out of the proceeds of the substantially
                       concurrent sale (other than to the Top Borrower or a Restricted Subsidiary) of any Refunding Capital
                       Stock;

                                (viii)   [Reserved];

                               (ix)     to the extent constituting a Restricted Payment, the Top Borrower may consummate
                       any transaction permitted by Section 6.06 (other than Sections 6.06(j) and ill), Section 6.07 (other than
                       Section 6.07(g)) and Section 6.09 (other than Sections 6.09(d) and ill);

                               (x)     the Top Borrower may make Restricted Payments in an aggregate amount not to
                       exceed $10,000,000;

                                (xi)     [Reserved); and/or

                               (xii)   the Top Borrower may declare and make dividend payments or other Restricted
                       Payments pay able solely in the Capital Stock of the Top Borrower or of any Parent Company that is not
                       Disqualified Capital Stock.

                        (b)      The Top Borrower shall not, nor shall it perm it any Restricted Subsidiary to, make any
               prepayment in Cash in respect of principal of or interest on (x) any Junior Lien Indebtedness or (y) any Junior
               Indebtedness (the Indebtedness described in clauses (x) and .(y1 and solely for purposes of this Section 6.04(b)_
               the Indebtedness outstanding under the First Lien Credit Agreement, collectively the " Restricted Debt"),
               including any sinking fund or similar deposit, on account of the purchase, redemption, retirement, acquisition,
               cancellation or termination of any Restricted Debt (collectively, " Restricted Debt Payments"), except:




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                                (i)      [Reserved];

                                (ii)     as part of an applicable high yield discount obligation catch-up payment;

                                (iii)    regularly scheduled principal amortization payments, payments ofregularly scheduled
                       interest (including any penalty interest, if applicable) and payments of fees, expenses and
                       indemnification obligations as and when due (other than payments with respect to Junior Indebtedness
                       that are prohibited by the subordination provisions thereof);

                                 (iv)     Restricted Debt Payments in an aggregate amount not exceed $ 100,000,000 during the
                       tem1 of this Agreement in respect of the Existing First Lien Loans and/or Existing Second Lien Loans,
                       as applicable, solely to the extent such payments are made by apply ing the (a) Net Proceeds received
                       from (x) any Dispositions of the assets of AI Dream, (y) any Sale and Lease-Back Transaction permitted
                       pursuant to Section 6.08, and/or (z) any Dispositions of assets made pursuant to Section 6.07(s) and/or
                       (b) proceeds of any loans permitted to be incurred by any of the Borrowers pursuant to Section
                       6.0 Hx)(iv) and Section 6.0 l(x)(v) (collectively, the proceeds described clauses (a) and (Q1 the
                       "Designated Proceeds"; provided, that such Restricted Debt Payments of the Existing First Lien Loans
                       and/or Existing Second Lien Loans in excess of$100,000,000 shall be penuitted to be made pursuant
                       to this clause (b)(iv) so long as (I) at least fifty percent (50%) of each Dollar of Designated Proceeds in
                       excess of$100,000,000 is applied to repay Initial Exchange Term Loans pursuant to Section 2. ll(a)
                       hereof and (II) to the extent that any such Existing First Lien Credit Agreement Term Loans and/or
                       Existing Second Lien Credit Agreement, as applicable, are purchased by the Borrowers or any of their
                       Affiliates utilizing such excess Designated Proceeds, such Existing First Lien Loans and/or Existing
                       Second Lien Loans so purchased by the Borrowers or any of their Affiliates shall be immediately
                       cancelled;

                                (v)      [Reserved);

                                (vi)     [Reserved];

                                (vii)    [Reserved);

                                (viii)   (A) mandatory prepayments of Restricted Debt {and relined payments of interest) made
                       with Declined Proceeds and (B) without duplication of clause (A.l above, any man.d&ttocy prepayments
                       of the First Lien Credit Agreement and the Second Lien Cre<l~t Agreement wrthi respect to which the
                       corresponding prepayment obligation under this Agreement has been waived or declined in accordance
                       with the terms hereof; and

                              (ix)    to the extent constituting a Restricted Debt Payment, the consummation of the
                       Exchange Transactions.

                        Section 6.05.      Burdensome Agreements. Except as provided herein or in any other Loan Document,
               the ABL Credit Agreement, the First Lien Credit Agreement, and the Second Lien Credit Agreement, any
               document with respect to any Incremental Equivalent Debt (as defined in (w) the ABL Credit Agreement or any
               equivalent term under any ABL Facility, (x) the First Lien Credit Agreement or any equivalent term under any
               First Lien Facility), (y) the First Lien Credit Agreement or any equivalent tenu under any First Lien Facility)
               and/or in any agreement with respect to any refinancing, renewal or replacement of such Indebtedness that is
               permitted by Section 6.01, the Top Borrower shall not, nor shall it permit any of its Restricted Subsidiaries to,
               enter into or cause to exist any agreement restricting the ability of (x) any Restricted Subsidiary of the Top
               Borrower that is not a Loan Party to pay dividends or other distributions to the Top Borrower or any Loan Party,
               (y) any Restricted Subsidiary that is not a Loan Party to make cash loans or advances to the Top Borrower or
               any Loan Party or (z) any Loan Party to create, permit or grant a Lien on any of its properties or assets to secure
               the Secured Obligations, except restrictions:




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                          (a)       set forth in any agreement evidencing (i) Indebtedness of a Restricted Subsidiary that is not a
                Loan Party permitted by Section 6.01, (ii) Indebtedness permitted by Section 6.01 that is secured by a Pennitted
                Lien if the relevant restriction applies only to the Person obligated under such Indebtedness and its Restricted
                Subsidiaries or the assets intended to secure such Indebtedness and (iii) Indebtedness permitted pursuant to
                clauses(m), fu} (as it relates to Indebtedness in respect of clauses (a), C!!!l, (tl, fu_) and/or (y)_ of Section 6.0 I), (tl,
                fu_) and/or (y)_ of Section 6.01;

                         (b)    arising under customary prov1s1ons restnctmg assignments, subletting or other transfers
                (including the granting of any Lien) contained in leases, subleases, licenses, sublicenses, joint venture
                agreements and other agreements entered into in the ordinary course of business;

                         (c)      that are or were created by virtue of any Lien granted upon, transfer of, agreement to transfer
                or grant of, any option or right with respect to any assets or Capital Stock not otherwise prohibited under this
                Agreement;

                         (d)     that are assumed in connection with any acquisition of property or the Capital Stock of any
                Person, so long as the relevant encumbrance or restriction relates solely to the Person and its subsidiaries
                (including the Capital Stock of the relevant Person or Persons) and/or property so acquired and was not created
                in connection with or in anticipation of such acquisition;

                         (e)       set forth in any agreement for any Disposition of any Restricted Subsidiary (or all or
                substantially all of the assets thereof) that restricts the payment of dividends or other distributions or the making
                of cash loans or advances by such Restricted Subsidiary pending such Disposition;

                         (t)    set forth in provisions in agreements or instruments which prohibit the payment of dividends
                or the making of other distributions with respect to any class of Capital Stock of a Person other than on a pro
                rata basis;

                        (g)      imposed by customary provisions in partnership agreements, limited liability company
                organizational governance documents, joint venture agreements and other similar agreements;

                         (h)      on Cash, other deposits or net worth or similar restrictions imposed by any Person under any
                contract entered into in the ordinary course of business or for whose benefit such Cash, other deposits or net
                worth or similar restrictions exist;

                           (i)     set forth in documents which exist on the Closing Date and were not created in contemplation
                thereof;

                        (i)       arising pursuant to an agreement or instrument relating to any Indebtedness permitted to be
                incurred after the Closing Date if the re levant restrictions, taken as a whole, are not materially less favorable to
                the Lenders than the restrictions contained in this Agreement, taken as a whole (as determined in good faith by
                the Top Borrower);

                        (k)      arising under or as a result of applicable Requirements of Law or the terms of any license,
                authorization, concession or permit;

                        (1)      arising in any Hedge Agreement and/or any agreement or arrangement relating to any Banking
                Services entered into or provided in the ordinary course of business;

                        (m)      relating to any asset (or all of the assets) of and/or the Capital Stock of the Top Borrower and/or
                any Restricted Subsidiary which is imposed pursuant to an agreement entered into in connection with any
                Disposition of such asset (or assets) and/or all or a portion of the Capital Stock of the relevant Person that is
                permitted by this Agreement; and/or




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                        (n)      set forth in any agreement relating to any Permitted Lien that limit the right of the Top Borrower
                or any Restricted Subsidiary to Dispose of or encumber the assets subject thereto.

                        Section 6.06.     Investments. The Top Borrower shall not, nor shall it permit any of its Restricted
                Subsidiaries to, make or ovm any Investment in any other Person except:

                        (a)      Cash and Cash Equivalents;

                          (b)      (i) Investments existing on the Closing Date in the Top Borrower or in any Subsidiary, (ii)
                Investments made after the Closing Date among the Top Borrower and/or one or more Restricted Subsidiaries
                that are Loan Parties, (iii) Investments made after the Closing Date by any Loan Party in any Restricted
                Subsidiary that is not a Loan Party (which for purposes of this Section 6. 06(b)(iii), but not for any other purpose
                of this Agreement, shall be deemed to include AI Dream): provided that the aggregate outstanding amount of
                any such Investment that is not made in ordinary course consistent with past practice shall not exceed
                $10,000,000 (it being understood and agreed that any Investments in AI Dream in the ordinary course of business
                and pursuant to contractual economic terms in existence as of the Closing Date, shall in each case not constitute
                a utilization of the basket set forth in this proviso), (iv) Investments made by any Restricted Subsidiary that is
                not a Loan Party in any Loan Party and/or any other Restricted Subsidiary that is not a Loan Party and (v)
                Investments made by any Loan Party and/or any Restricted Subsidiary that is not a Loan Party in the form of
                any contribution or Disposition to a Restricted Subsidiary of the Capital Stock of any Person that is not a Loan
                Party;

                        (c)      Investments (i) constituting deposits, prepayments and/or other credits to suppliers, (ii) made
                in connection with obtaining, maintaining or renewing client and customer contracts and/or (iii) in the fonn of
                advances made to distributors, suppliers, licensors and licensees, in each case, in the ordinary course of business
                and consistent with past practice or, in the case of clause (iii), to the extent necessary to maintain the ordinary
                course of supplies to the Top Borrower or any Restricted Subsidiary;

                        (d)      [Reserved];

                        (e)      [Reserved];

                       (f)      Investments existing on, or contractually committed to as of, the Closing Date and described
                on Schedule 6.06;

                        (g)      Investments received in lieu of Cash in connection with any Disposition permitted by
                Section 6.07 or any other disposition of assets not constituti11g a Disposition;

                        (h)       loans or advances to present or former employees, directors, members of management, officers,
                managers or consultants or independent contractors (or their respective Immediate Family Members) of any
                Parent Company, the Top Borrower, its subsidiaries and/or any joint venture, made in the ordinary course of
                business, to the extent permitted by Requirements of Law, in connection with such Person' s purchase of Capital
                Stock of any Parent Company, either (i) in an aggregate principal amount not to exceed $1,000,000 at any one
                time outstanding or (ii) so long as the proceeds of such loan or advance are substantially contemporaneously
                contributed to the Top Borrower for the purchase of such Capital Stock;

                        (i)      (i) Investments consisting of extensions of credit in the nature of accounts receivable or notes
                receivable arising from the grant of trade credit in the ordinary course of business and (ii) any Investments in
                any Person that is a retailer of "Simmons" or "Serta"-branded products, made ordinary course of business and
                consistent with past practice, so long as (A) such Person is experiencing financial difficulty and (B) the aggregate
                outstanding amount of any Investment made in reliance on this clause (i)(ii) does not exceed $10,000,000;




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                       (i)      Investments consisting of (or resulting from) Indebtedness penuitted under Section 6.01 (other
               than Indebtedness permitted under Sections 6.0](b) and {!ill, Permitted Liens, RestTicted Payments permitted
               under Section 6.04 (other than Section 6.04(a)(ix)), Restricted Debt Payments permitted by Section 6.04 and
               mergers, consolidations, amalgamations, liquidations, windings up, dissolutions or Dispositions permitted by
               Section 6.07 (other than Section 6.07(c)(ii) (if made in reliance on clause (B) therein) and Section 6.07(g));

                        (k)     Investments in the ordinary course of business consisting of endorsements for collection or
               deposit and customary trade arrangements with customers;

                         (1)      Investments (including debt obligations and Capital Stock) received (i) in connection with the
               bankruptcy or reorganization of any Person, (ii) in settlement of delinquent obligations of, or other disputes with,
               customers, suppliers and other account debtors arising in the ordinary course of business, (iii) upon foreclosure
               with respect to any secured Investment or other transfer of title with respect to any secured Investment and/or
               (iv) as a result of the settlement, compromise, resolution of litigation, arbitration or other disputes;

                        (m)     loans and advances of payroll payments or other compensation to present or former employees,
               directors, members of management, officers, managers or consultants of any Parent Company (to the extent such
               payments or other compensation relate to services provided to such Parent Company (but excluding, for the
               avoidance of doubt, the portion of any such amount, if any, attributable to the ownership or operations of any
               subsidiary of any Parent Company other than the Top Borrower and/or its subsidiaries)), the Top Borrower
               and/or any subsidiary in the ordinary course of business;

                        (n)      Investments to the extent that payment therefor is made solely with Capital Stock of any Parent
               Company or Qualified Capital Stock of the Top Borrower or any Restricted Subsidiary, in each case, to the
               extent not resulting in a Change of Control ;

                        (o)      [Reserved];

                        (p)      [Reserved];

                        (q)     Investments made after the Closing Date by the Top Borrower and/or any of its Restricted
               Subsidiaries in an aggregate amount at any time outstanding not to exceed $20,000,000 plus at the election of
               the Top Borrower, the amount of Restricted Payments then permitted to be made by the Top Borrower or any
               Restricted Subsidiary in reliance on Section 6.04(a)(x) (it being understood that any amount utilized under this
               clause (B) to make an Investment shall result in a reduction in availability under Section 6.04(a)(x));

                        (r)      [Reserved];

                       (s)     (i) Guarantees of leases (other than Capital Leases) or of other obligations not constituting
               Indebtedness and (ii) Guarantees of the lease obligations of suppliers, customers, franchisees and licensees of
               the Top Borrower and/or its Restricted Subsidiaries, in each case, in the ordinary course of business;

                        (t)      [Reserved];

                        (u)      [Reserved];

                        (v)      [Reserved);

                        (w)     Investments under any Derivative Transaction of the type permitted under Section 6.0l{s):

                       (x)      prior to SSH Bedding Canada Co., a Nova Scotia unlimited liability company, or any other
               Subsidiary that is incorporated or organized under the laws of Canada or any province or territory thereof
               becoming a Loan Party, Investments consisting of the Disposition of inventory from any Loan Party to any




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               Restricted Subsidiary that is not a Loan Party and which is organized under the laws of Canada in the ordinary
               course of business in an amount not to exceed in any Fiscal Year $10,000,000;

                       (y)       Investments in an aggregate outstanding amount not to exceed $20,000,000 made in joint
               ventures, to the extent such joint ventures were in existence as of the Closing Date, as required by, or made
               pursuant to, customary buy/sell arrangements between the joint venture parties set forth in joint venture
               agreements and similar binding arrangements entered into in the ordinary course of business;

                       (z)      Investments made in connection with any nonqualified deferred compensation plan or
               arrangement for any present or former employee, director, member of management, officer, manager or
               consultant or independent contractor (or any Immediate Family Member thereof) of any Parent Company, the
               Top Borrower, its subsidiaries and/or any joint venture;

                        (aa)    Investments in the Top Borrower, any Restricted Subsidiary and/or joint venture in connection
               with intercompany cash management arrangements and related activities in the ordi11ary course of business and
               consistent with past practice;

                        (bb)     [Reserved];

                        (cc)     [Reserved];

                       (dd)    Investments consisting of the licensing or contribution of IP Rights pursuant to joint marketing
               arrangements with other Persons in the ordinary course of business and consistent with past practice; and

                       (ee)     loans and advances to any Parent Company not in excess of the amount of (after giving effect
               to any other loan, advance or Restricted Payment in respect thereot) Restricted Payments that are permitted to
               be made to such Parent Company in accordance with Section 6.04(a)(i), such Investment being treated for
               purposes of the applicable provision of Section 6.04(a), including any limitation, as a Restricted Payment made
               pursuant to such clause.

                       Section 6.07.    Fundamental Changes: Disposition of Assets. The Top Borrower shall not, nor shall
               it permit any of its Restricted Subsidiaries to, enter into any transaction of merger, consolidation or
               amalgamation, or liquidate, wind up or dissolve themselves (or suffer any liquidation or dissolution), or make
               any Disposition of any assets, except:

                         (a)     any Restricted Subsidiary may be merged, consolidated or amalgamated with or into the Top
               Borrower or any other Restricted Subsidiary; provided that (i) in the case of any such merger, consolidation or
               amalgamation with or into the Top Borrower, the Top Borrower shall be the continuing or surviving Person or ,
               and (ii) in the case of any such merger, consolidation or amalgamation with or into any Borrower and/or any
               Subsidiary Guarantor , either (A) a Borrower or a Subsidiary Guarantor shall be the continuing or surviving
               Person or the continuing or surviving Person (or, in the case of an amalgamation, the Person formed as a result
               thereof) shall expressly assume the obligations of the relevant Borrower or Subsidiary Guarantor in a manner
               reasonably satisfactory to the Administrative Agent or (B) the relevant transaction shall be treated as an
               Investment and shall comply with Section 6.06;

                        (b)     Dispositions (including Capital Stock among the Top Borrower and/or any Restricted
               Subsidiary (upon voluntary liquidation or otherwise); provided that any such Disposition made by any Loan
               Party to any Person that is not a Loan Party shall (i) be in the ordinary course of business, (ii) not involve assets
               other than inventory, machinery or other tangible assets and (iii) involve assets having a fair market value (as
               reasonably determined by the Top Borrower at the time of the relevant Disposition), together with any amounts
               then utilized under Section 6.06(x), not exceeding an aggregate amount of $10,000,000;




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                        (c)      (i) the liquidation or dissolution of any Restricted Subsidiary if the Top Borrower determines
               in good faith that such liquidation or dissolution is in the best interests of the Top Borrower, is not materially
               disadvantageous to the Lenders (taken as a whole), if such Restricted Subsidiary is a Loan Party, the Top
               Borrower or any Restricted Subsidiary that is a Loan Party receives the assets (if any) of the relevant dissolved
               or liquidated Restricted Subsidiary, and if such Restricted Subsidiary is not a Loan Party, the Top Borrower or
               any Restricted Subsidiary receives the assets (if any) of the relevant dissolved or liquidated Restricted
               Subsidiary; (ii) any merger, amalgamation, dissolution, liquidation or consolidation, the purpose of which is to
               effect (A) any Disposition otherwise perm itted under this Section 6.07 (other than clause (a)_ clause (b) or this
               clause (c)) or (B) any Investment permitted under Section 6.06; and (iii) the conversion of the Top Borrower or
               any Restricted Subsidiary into another form of entity, so long as such conversion does not adversely affect the
               value of the Loan Guaranty or Collateral, if any;

                       (d)      (i) Dispositions of inventory or equipment or immaterial assets in the ordinary course of
               business (including on an intercompany basis) and (ii) the leasing or subleasing of real property in the ordinary
               course of business;

                       (e)      Dispositions of surplus, obsolete, used or worn out property or other property in the ordinary
               course of business that, in the reasonable judgment of the Top Borrower, is (A) no longer useful in its business
               (or in the business of any Restricted Subsidiary of the Top Borrower) or (B) otherwise economically
               impracticable to maintain;

                       (f)      Dispositions of Cash and/or Cash Equivalents;

                       (g)     Dispositions, mergers, amalgamations, consolidations or conveyances that constitute (w)
               Investments pennitted pursuant to Section 6.06 (other than Section 6.06(j)), (x) Pennitted Liens, (y) Restricted
               Payments permitted by Section 6.04(a) (other than Section 6.04(a)(ix)) and (z) Sale and Lease-Back
               Transactions permitted by Section 6.08;

                       (h)      [Reserved];

                        (i)      to the extent that (i) the relevant property is exchanged for credit against the purchase price of
               similar replacement property or (ii) the proceeds of the relevant Disposition are promptly applied to the purchase
               price of such replacement property;

                        (j)      Dispositions of Investments in joint ventures to the extent required by, or made pursuant to,
               buy/sell arrangements between joint venture or similar parties set forth in the relevant joint venture arrangements
               and/or similar binding arrangements;

                        (k)     Dispositions of notes receivable or accounts receivable in the ordinary course of business
               (including any discount and/or forgiveness thereof) or in connection with the collection or compromise thereof;

                        (l)      Dispositions and/or terminations of leases, subleases, licenses or sublicenses (including the
               provision of software under any open source license), (i) the Disposition or termination of which will not
               materially interfere with the business of the Top Borrower and its Restricted Subsidiaries or (ii) which relate to
               closed Facilities or the discontinuation of any product line;

                        (m)      (i) any tennination of any lease in the ordinary course of business, (ii) any expiration of any
               option agreement in respect of real or personal property and (iii) any surrender or waiver of contractual rights or
               the settlement, release or surrender of contractual rights or litigation claims (including in tort) in the ordinary
               course of business;

                       (n)      Dispositions of property subject to foreclosure, casualty, eminent domain or condemnation
               proceedings (including in lieu thereof or any similar proceeding);




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                        (o)       Dispositions or consignments of equipment, inventory or other assets (including leasehold
               interests in real property) in the ordinary course of business with respect to Facilities that are temporarily not in
               use, held for sale or closed;

                        (p)      to the extent constituting a Disposition, the consummation of the Transactions;

                         (q)     Dispositions of non-core assets acquired in connection with any acquisition permitted
               hereunder and sales of Real Estate Assets acquired in any acquisition pennitted hereunder which, within 90 days
               of the date of such acquisition, are designated in writing to the Administrative Agent as being held for sale and
               not for the continued operation of the Top Borrower or any of its Restricted Subsidiaries or any of their respective
               businesses; provided that no Event of Default exists on the date on which the defmitive agreement governing the
               relevant Disposition is executed;

                        (r)       exchanges or swaps, including transactions covered by Section l 031 of the Code (or any
               comparable provision of any foreign jurisdiction), of assets so long as any such exchange or swap is made for
               fair value (as reasonably detem1ined by the Top Borrower) for like assets; provided that upon the consummation
               of any such exchange or swap by any Loan Party, to the extent the assets received do not constitute an Excluded
               Asset, the Administrative Agent has a perfected Lien with the same priority as the Lien held on the Real Estate
               Assets so exchanged or swapped;

                       (s)       Dispositions of assets (including Real Estate Assets) that do not constitute Collateral for fair
               market value;

                        (t)      (i) licensing and cross-licensing arrangements involving any technology, intellectual property
               or IP Rights of the Top Borrower or any Restricted Subsidiary in the ordinary course of business and (ii)
               Dispositions, abandonments, cancellations or lapses of immaterial IP Rights, or issuances or registrations, or
               applications for issuances or registrations, of IP Rights;

                        (u)      Dispositions in connection with the terminations or unwinds of Derivative Transactions;

                        (v)      [Reserved];

                       (w)      Dispositions of Real Estate Assets and related assets in the ordinary course of business in
               connection with relocation activities for directors, officers, employees, members of management, managers or
               consultants of any Parent Company, the Top Borrower and/or any Restricted Subsidiary;

                      (x)      Dispositions made to comply with any order of any Governmental Authority or any applicable
               Requirement of Law;

                       (y)       any merger, consolidation, Disposition or conveyance the sole purpose of which is to
               reincorporate or reorganize (i) any Domestic Subsidiary in another jurisdiction in the U.S. and/or (ii) any Foreign
               Subsidiary in the U.S. or any other jurisdiction;

                       (z)      any sale of motor vehicles and information technology equipment purchased at the end of an
               operating lease and resold thereafter; and/or

                      (aa)      Dispositions involving assets having a fair market value (as reasonably determined by the Top
               Borrower at the time of the relevant Disposition) of not more than $10,000,000.

                        To the extent that any Collateral is Disposed of as expressly permitted by this Section 6.07 to any Person
               other than a Loan Party, such Collateral shall be Disposed of free and clear of the Liens created by the Loan
               Documents, which Liens shall be automatically released upon the consummation of such Disposition; it being




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               understood and agreed that the Administrative Agent shall be authorized to take, and shall take, any actions
               reasonably requested by the Top Borrower in order to effect the foregoing in accordance with Article 8 hereof.

                         Section 6.08.       Sale and Lease-Back Transactions. The Top Borrower shall not, nor shall it permit
               any of its Restricted Subsidiaries to, directly or indirectly, become or remain liable as lessee or as a guarantor or
               other surety ·with respect to any lease of any property (whether real, personal or mixed), whether now owned or
               hereafter acquired, which the Top Borrower or the relevant Restricted Subsidiary (a) has sold or transferred or
               is to sell or to transfer to any other Person (other than the Top Borrower or any of its Restricted Subsidiaries)
               and (b) intends to use for substantially the same purpose as the property which has been or is to be sold or
               transferred by the Top Borrower or such Restricted Subsidiary to any Person (other than the Top Borrower or
               any of its Restricted Subsidiaries) in connection with such lease (such a transaction, a " Sale and Lease-Back
               Transaction"); provided that any Sale and Lease-Back Transaction shall be permitted so long as the Net Proceeds
               of such Disposition are applied as (and to the extent) required by Section 2.1 l(b)(ii) and either in the case of this
               clause (B) (I) the resulting Indebtedness is pem1itted by Section 6.01 or (II) (l) the relevant Sale and Lease-Back
               Transaction is consummated in exchange for cash consideration (provided that for purposes of the foregoing
               cash consideration requirement, (w) the amount of any Indebtedness or other liabilities (other than Indebtedness
               or other liabilities that are subordinated to the Obligations or that are owed to the Top Borrower or any Restricted
               Subsidiary) of the Top Borrower or any Restricted Subsidiary (as shown on such Person' s most recent balance
               sheet or statement of financial position (or in the notes thereto) that are assumed by the transferee of any such
               assets and for which the Top Borrower and/or its applicable Restricted Subsidiary have been validly released by
               all relevant creditors in writing, (x) the amount of any trade-in value applied to the purchase price of any
               replacement assets acquired in connection with such Disposition and (y) any Securities received by the Top
               Borrower or any Restricted Subsidiary from such transferee that are converted by such Person into Cash or Cash
               Equivalents (to the extent of the Cash or Cash Equivalents received) within 180 days following the closing of
               the applicable Disposition, (2) the Top Borrower or its applicable Restricted Subsidiary would otherwise be
               permitted to enter into, and remain liable under, the applicable underlying lease and (3) the aggregate fair market
               value of the assets sold subject to all Sale and Lease-Back Transactions under this clause (B) shall not exceed
               $50,000,000.

                        Section 6.09.    Transactions with Affiliates. The Top Borrower shall not, nor shall it permit any of its
               Restricted Subsidiaries to, enter into any transaction (including the purchase, sale, lease or exchange of any
               property or the rendering of any service) involving payments by the Top Borrower or its Restricted Subsidiaries
               in excess of $1 ,000,000 with any of their respective Affiliates on tenns that are less favorable to the Top
               Borrower or such Restricted Subsidiary, as the case may be (as reasonably determined by the Top Borrower),
               than those that might be obtained at the time in a comparable arm' s-length transaction from a Person who is not
               an Affiliate; provided that the foregoing restriction shall not apply to:

                        (a)      any transaction between or an10ng the Top Borrower and/or one or more Restricted Subsidiaries
               (or any entity that becomes a Restricted Subsidiary as a result of such transaction) to the extent permitted by this
               Agreement;

                       (b)      any issuance, sale or grant of securities or other payments, awards or grants in cash, securities
               or othe1wise pursuant to, or the funding of employment arrangements, stock options and stock ownership plans
               approved by the board of directors (or equivalent governing body) of any Parent Company or of the Top
               Borrower or any Restricted Subsidiary;

                         (c)      (i) any collective bargaining, employment or severance agreement or compensatory (including
               profit sharing) arrangement entered into by the Top Borrower or any of its Restricted Subsidiaries with their
               respective current or fonner officers, directors, members of management, managers, employees, consultants or
               independent contractors or those of any Parent Company, (ii) any subscription agreement or similar agreement
               pertaining to the repurchase of Capital Stock pursuant to put/call rights or similar rights with current or former
               officers, directors, members of management, managers, employees, consultants or independent contractors and
               (iii) transactions pursuant to any employee compensation, benefit plan, stock option plan or arrangement, any




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               health, disability or similar insurance plan w hich covers current or fonner officers, directors, members of
               management, managers, employees, consultants or independent contractors or any employment contract or
               arrangement;

                       (d)       (i) transactions permitted by Sections 6.0l(d) and (ee). 6.04 and Mfilh}, (m}, ffi, (y} wand
               (aa) and (ii) issuances of Capital Stock and issuances and incurrences of Indebtedness not restricted by this
               Agreement;

                        (e)      transactions in existence on the Closing Date and any amendment, modification or extension
               thereof to the extent such amendment, modification or extension, taken as a w hole, is not (i) materially adverse
               to the Lenders or (ii) more disadvantageous to the Lenders than the relevant transaction in existence on the
               Closing Date;

                         (£)     (i) so long as no Event of Default under Sections 7.0 Ha), LQlill or 7.0 l(g) then exists or would
               result therefrom, the payment of management, monitoring, consulting, advisory and similar fees to any Investor
               in an amount not to exceed the greater of $2,000,000 and 0.05% of Consolidated Total Assets per Fiscal Year
               and (ii) the payment or reimbursement of all indemnification obligations and expenses owed to any Investor and
               any of their respective directors, officers, members of management, managers, employees and consultants, in
               each case of clauses (i) and ® whether currently due or paid in respect of accruals from prior periods;

                        (g)      [Reserved];

                       (h)      ordinary course compensation to Affiliates in connection with financial advisory, fmancing,
               underwriting or placement services or in respect of other investment banking activities and other transaction
               fees, which payments are approved by the majority of the members of the board of directors (or similar governing
               body) or a majority of the disinterested members of the board of directors (or similar governing body) of the Top
               Borrower in good faith;

                        (i)      Guarantees permitted by Section 6.01 or Section 6.06;

                       (i)     transactions among Holdings, the Top Borrower and its Restricted Subsidiaries that are
               otherwise permitted under this Article 6;

                        (k)      the payment of customary fees and reasonable out-of-pocket costs to, and indemnities provided
               on behalf of, members of the board of directors (or similar governing body), officers, employees, members of
               management, managers, consultants and independent contractors of the Top Borrower and/or any of its
               Restricted Subsidiaries in the ordinary course of business and, in the case of payments to such Person in such
               capacity on behalf of any Parent Company, to the extent attributable to the operations of the Top Borrower or
               its subsidiaries;

                         (I)      transactions with customers, clients, suppliers, joint ventures, purchasers or sellers of goods or
               services or providers of employees or other labor entered into in the ordinary course of business, which are (i)
               fair to the Top Borrower and/or its applicable Restricted Subsidiary in the good faith determination of the board
               of directors (or similar governing body) of the Top Borrower or the senior management thereof or (ii) on tenns
               at least as favorable as might reasonably be obtained from a Person other than an Affiliate;

                      (m)     the payment of reasonable out-of-pocket costs and expenses related to registration rights and
               customary indemnities provided to shareholders under any shareholder agreement; and/or

                       (n)      (i) any purchase by Holdings of the Capital Stock of (or contribution to the equity capital of)
               the Top Borrower and (ii) any intercompany loans made by Holdings to the Top Borrower or any Restricted
               Subsidiary so long as such loans are subordinated to the Obligations on terms acceptable to the Required Lenders
               (as may be accepted by means of a Direction of the Required Lenders).




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                        Section 6.10.      Conduct of Business. From and after the Closing Date, the Top Borrower shall not,
               nor shall it permit any of its Restricted Subsidiaries to, engage in any material line of business other than (a) the
               businesses engaged in by the Top Borrower or any Restricted Subsidiary on the Closing Date and similar,
               incidental, complementary, ancillary or related businesses and (b) such other lines of business to which the
               Required Lenders may consent (which consent may be communicated by a Direction of the Required Lenders).

                        Section 6.11.    Amendments or Waivers of Organizational Documents. The Top Borrower shall not,
               nor shall it permit any Subsidiary Guarantor to, amend or modify the ir respective Organizational Documents, in
               each case in a manner that is materially adverse to the Lenders (in their capacities as such), taken as a whole,
               without obtaining the prior written consent of the Administrative Agent; provided that, for purposes of clarity,
               it is understood and agreed that the Top Borrower and/or any Subsidiary Guarantor may effect a change to its
               organizational form and/or consummate any other transaction that is permitted under Section 6.07.

                        Section 6.12.    Amendments of or Waivers with Respect to Restricted DebL The Top Borrower shall
               not, nor shall it permit any of its Restricted Subsidiaries to, amend or otherwise modify the terms of any
               Restricted Debt (or the documentation governing any Restricted Debt) (a) if the effect of such amendment or
               modification, together with all other amendments or modifications made, is materially adverse to the interests
               of the Lenders (in their capacities as such) or (b) in violation of the Initial Intercreditor Agreements, any
               Acceptable Intercreditor Agreement or the subordination terms set forth in the definitive documentation
               governing any Restricted Debt provided that, for purposes of clarity, it is understood and agreed that the
               foregoing limitation shall not othen-vise prohibit any Refinancing Indebtedness or any other replacement,
               refinancing, amendment, supplement, modification, extension, renewal, restatement or refunding of any
               Restricted Debt, in each case, that is permitted under this Agreement in respect thereof.

                       Section 6.13.      Fiscal Year. The Top Borrower shall not change its Fiscal Year-end to a date other
               than December 31; provided that the Top Borrower may, upon written notice to the Administrative Agent,
               change the Fiscal Year-end of the Top Borrower to another date, in which case the Top Borrower and the
               Administrative Agent will, and are hereby authorized to, make any adjustments to this Agreement that are
               necessary to reflect such change in Fiscal Year.

                        Section 6.14.     Permitted Activities of Holdings. Holdings shall not:

                       (a)     incur any third party Indebtedness for borrowed money other than (i) the Indebtedness
               permitted to be incurred by Holdings under the Loan Documents, any ABL Facility, the First Lien Credit
               Agreement and the Second Lien Credit Agreement and (ii) Guarantees of Indebtedness or other obligations of
               the Top Borrower and/or any Restricted Subsidiary, which Indebtedness or other obligations are otherwise
               permitted hereunder;

                         (b)     create or suffer to exist any Lien on any asset now owned or hereafter acquired by it other than
               (i) the Liens created under the Collateral Documents and, subject to the lntercreditor Agreements, the collateral
               documents relating to the First Lien Credit Agreement, the Second Lien Credit Agreement and/or ABL Facility,
               as applicable, in each case, to which it is a party, (ii) any other Lien created in connection with the Transactions,
               (iii) Permitted Liens on (x) the Term Loan Priority Collateral that are secured on a pari passu or junior basis
               with the Secured Obligations with respect to the Term Loan Priority Collateral and/or (y) the ABL Priority
               Collateral that are secured on a senior basis with the Secured Obligations with respect to the ABL Priority
               Collateral, so long as such Permitted Liens secure Guarantees permitted under clause (a)(ii) above and the
               underlying Indebtedness subject to such Guarantee is permitted to be secured on the same basis pursuant to
               Section 6.02 and (iv) Liens of the type permitted under Section 6.02 (other than in respect of debt for borrowed
               money); or

                        (c)      consolidate or amalgamate with, or merge with or into, or convey, sell or otherwise transfer all
               or substantially all of its assets to, any Person: provided that, so long as no Default or Event of Default exists or
               would result therefrom, (A) Holdings may consolidate or amalgamate with, or merge with or into, any other




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               Person (other than the Top Borrower and any of its subsidiaries) so long as (i) Holdings is the continuing or
               surviving Person or (ii) if the Person formed by or surviving any such consolidation, amalgamation or merger is
               not Holdings (x) the successor Person (such successor Person, "Successor Holdings") expressly assumes all
               obligations of Holdings under this Agreement and the other Loan Documents to which Holdings is a party
               pursuant to a supplement hereto and/or thereto in a form reasonably satisfactory to the Administrative Agent and
               (y) the Top Borrower delivers a certificate of a Responsible Officer with respect to the satisfaction of the
               conditions set forth in clause (x) of this clause (A) and (B) Holdings may otherwise convey, sell or othern1 ise
               transfer all or substantially all of its assets to any other Person (other than the Top Borrower and any of its
               subsidiaries) so long as (x) no Change of Control results therefrom, (y) the Person acquiring such assets expressly
               assumes all of the obligations of Holdings under this Agreement and the other Loan Documents to which
               Holdings is a party pursuant to a supplement hereto and/or thereto in a form reasonably satisfactory to the
               Administrative Agent and (z) the Top Borrower delivers a certificate of a Responsible Officer with respect to
               the satisfaction of the conditions under clause (x) set forth in this c lause (B): provided, further, that (I) if the
               conditions set forth in the preceding proviso are satisfied, Successor Holdings will succeed to, and be substituted
               for, Holdings under thjs Agreement and (2) it is understood and agreed that Holdings may convert into another
               form of entity so long as such conversion does not adversely affect the value of the Loan Guaranty or the
               Collateral.

                        Section 6.15.    Financial Covenant. The Top Borrower shall maintain, at all times, Actual Liquidity
               of not less than $25,000,000.

                                                                   ARTICLE?

                                                            EVENTS OF DEFAULT

                        Section 7.01.     Events of Default. If any of the following events (each, an "Event of Default") shall
               occur:

                        (a)      Failure To Make Payments When Due. Failure by any Borrower to pay (i) any installment of
               principal of any Loan when due, whether at stated maturity, by acceleration, by notice of voluntary prepayment,
               by mandatory prepayment or otherwise; or (ii) any interest on any Loan or any fee or any other amount due
               hereunder within five Business Days after the date due; or

                         (b)     Default in Other Agreements. (i) Failure by the Top Borrower or any of its Restricted
               Subsidiaries to pay when due any principal of or interest on or any other amount payable in respect of one or
               more items of Indebtedness (other than Indebtedness referred to in clause (a) above) with an aggregate
               outstanding principal amount exceeding the Threshold Amount, in each case beyond the grace period, if any,
               provided therefor; or (ii) breach or default by the Top Borrower or any of its Restricted Subsidiaries with respect
               to any other term of (A) one or more items of Indebtedness with an aggregate outstanding principal amount
               exceeding the Threshold Amount or (B) any loan agreement, mortgage, indenture or other agreement re lating to
               such item(s) of Indebtedness (other than, for the avoidance of doubt, with respect to Indebtedness consisting of
               Hedging Obligations, termination events or equivalent events pursuant to the tenns of the relevant Hedge
               Agreement which are not the result of any default thereunder by any Loan Party or any Restricted Subsidiary),
               in each case beyond the grace period, if any, provided therefor, if the effect of such breach or default is to cause,
               or to permit the holder or holders of such Indebtedness (or a trustee or agent on behalf of such holder or holders)
               to cause, such Indebtedness to become or be declared due and payable ( or redeemable) prior to its stated maturity
               or the stated maturity of any underlying obligation, as the case may be; provided that clause (ii) of this paragraph
               (hl shall not apply to secured Indebtedness that becomes due as a result of the voluntary sale or transfer of the
               property securing such Indebtedness if such sale or transfer is permitted hereunder: provided, further, that with
               respect to any default, event or condition referred to in clause (i) or (ill above with respect to (A) any financial
               covenant under the ABL Credit Agreement or the documentation governing any ABL Facility or any other
               revolving credit facility, such default, event or condition shall only constitute an Event of Default if such default,
               event or condition results in the holders of such Indebtedness demanding repayment thereof or otherwise




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               accelerating such Indebtedness (and tenuinating the commitments thereunder), which demand or acceleration
               has not been rescinded and (B) any default, event or condition other than as described in the immediately
               preceding Clause (A)_ such default, event or condition is unremedied and is not waived by the holders of such
               Indebtedness prior to any termination of the Commitments or acceleration of the Loans pursuant to this Article 7;
               or

                         (c)     Breach of Certain Covenants. Failure of any Loan Party, as required by the relevant provision,
               to perfonu or comply with any term or condition contained in Section 5.01 (e)(i) (provided that, the de livery of
               a notice of Default or Event of Default at any time will cure any Default or Event of Default arising from the
               failure to timely deliver such notice of Default or Event of Default, as applicable), Section 5.02 (as it applies to
               the preservation of the existence of the Top Borrower) or Article 6; or

                        (d)     Breach of Representations. Etc. Any representation, warranty or certification made or deemed
               made by any Loan Party in any Loan Document or in any certificate required to be delivered in connection
               herewith or therewith (including, for the avoidance of doubt, any Perfection Certificate) being untrue in any
               material respect as of the date made or deemed made; it being understood and agreed that any breach of any
               representation, warranty or certification resulting from the failure of the Administrative Agent to file any
               Uniform Commercial Code continuation statement shall not result in an Event of Default under this
               Section 7.0l(d) or any other provision of any Loan Document; or

                        (e)      Other Defaults Under Loan Documents. (i) Default in the due performance or observance by
               the Borrowers of any tem1, covenant or agreement contained in Section 5 .1 6(b) and such default shall continue
               unremedied for a period of at least five (5) Business Days after receipt of written notice by the Top Borrower
               from the Administrative Agent or the Required Lenders and/or (ii) default by any Loan Party in the performance
               of or compliance with any term contained herein or any of the other Loan Documents, other than any such term
               referred to in Section 7.0l(e)(i) and/or any other Section of this Article 7, which default has not been remedied
               or waived within 30 days after receipt by the Top Borrower of v,rritten notice thereof from the Administrative
               Agent; or

                        (f)       Involuntary Bankruptcv: Appointment of Receiver. Etc. (i) The entry by a court of competent
               jurisdiction of a decree or order for relief in respect of Holdings, the Top Borrower or any of its Restricted
               Subsidiaries (other than any Immaterial Subsidiary) in an involuntary case under any Debtor Relief Law now or
               hereafter in effect, which decree or order is not stayed; or any other similar relief shall be granted under any
               applicable federal, state or local Requirements of Law, which relief is not stayed; or (ii) the commencement of
               an involuntary case against Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any
               Immaterial Subsidiary) under any Debtor Relief Law; the entry by a court having jurisdiction in the premises of
               a decree or order for the appointment of a receiver, receiver and manager, (preliminary) insolvency receiver,
               liquidator, sequestrator, trustee, administrator, custodian or other officer having similar powers over Holdings,
               the Top Borrower or any of its ReslTicted Subsidiaries (other than any Immaterial Subsidiary), or over all or a
               material part of its property; or the involuntary appointment of an interim receiver, trustee or other custodian of
               Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) for all
               or a material part of its property, which remains, in any case under this clause (£}. undismissed, unvacated,
               unbounded or unstayed pending appeal for 60 consecutive days; or

                        (g)      Voluntary Bankruptcy: Appointment of Receiver. Etc. (i) The entry against Holdings, the Top
               Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) of an order for relief, the
               commencement by Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial
               Subsidiary) of a voluntary case under any Debtor Relief Law, or the consent by Holdings, the Top Borrower or
               any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) to the entry of an order for relief in an
               involuntary case or to the conversion of an involuntary case to a voluntary case, under any Debtor Relief Law,
               or the consent by Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial
               Subsidiary) to the appointment of or taking possession by a receiver, receiver and manager, insolvency receiver,
               liquidator, sequestrator, tTustee, administrator, custodian or other like official for or in respect of itself or for all




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               or a material part of its property; (ii) the making by Holdings, the Top Borrower or any of its Restricted
               Subsidiaries (other than any Immaterial Subsidiary) of a general assignment for the benefit of creditors; or (iii)
               the admission by Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial
               Subsidiary) in writing of their inability to pay their respective debts as such debts become due; or

                       (h)       Judgments and Attachments. The entry or filing of one or more final money judgments, writs
               or warrants of attachment or similar process against Holdings, the Top Borrower or any of its Restricted
               Subsidiaries or any of their respective assets involving in the aggregate at any time an amount in excess of the
               Threshold Amount (in either case to the extent not adequately covered by indemnity from a third party, by self-
               insurance (if applicable) or by insurance as to which the relevant third party insurance company has been notified
               and not denied coverage), which judgment, writ, warrant or similar process remains unpaid, undischarged,
               unvacated, unbonded or unstayed pending appeal for a period of 60 consecutive days; or

                        (i)     Employee Benefit Plans. The occurrence of one or more ERISA Events, which individually or
               in the aggregate result in liability of Holdings, the Top Borrower or any of its Restricted Subsidiaries in an
               aggregate amount which would reasonably be expected to result in a Material Adverse Effect; or

                       (i)      Change of Control. The occurrence of a Change of Control; or

                        (k)       Guaranties, Collateral Documents and Other Loan Documents. At any time after the execution
               and delivery thereof, (i) any material Loan Guaranty for any reason, other than the occurrence of the Termination
               Date, shall cease to be in full force and effect (other than in accordance with its terms) or shall be declared, by a
               court of competent jurisdiction, to be null and void or any Loan Guarantor shall repudiate in writing its
               obligations thereunder (in each case, other than as a result of the discharge of such Loan Guarantor in accordance
               with the terms thereof and other than as a result of any act or omission by the Administrative Agent or any
               Lender), (ii) this Agreement or any material Collateral Document ceases to be in full force and effect or shall be
               declared, by a comt of competent jurisdiction, to be null and void or any Lien on Collateral created under any
               Collateral Document ceases to be perfected with respect to a material portion of the Collateral (other than solely
               by reason of (w) such perfection not being required pursuant to the Collateral and Guarantee Requirement, the
               Collateral Documents, this Agreement or otherwise, (x) the failure of the Administrative Agent to maintain
               possession of any Collateral actually delivered to it or the failure of the Administrative Agent to file Uniform
               Commercial Code continuation statements, (y) a release of Collateral in accordance with the terms hereof or
               thereof or (z) the occurrence of the Tenuination Date or any other tenn ination of such Collateral Document in
               accordance with the tenus thereot) or (iii) other than in any bona fide, good faith dispute as to the scope of
               Collateral or whether any Lien has been, or is required to be released, any Loan Party shall contest in writing,
               the validity or enforceability of any material provision of any Loan Document (or any Lien purported to be
               created by the Collateral Documents or any Loan Guaranty) or deny in writing that it has any further liability
               (other than by reason of the occurrence of the Termination Date or any other termination of any other Loan
               Document in accordance with the tenns thereot), including with respect to future advances by the Lenders, under
               any Loan Document to which it is a party ; it being understood and agreed that the failure of the Administrative
               Agent to file any Uniform Commercial Code continuation statement and/or maintain possession of any physical
               Collateral shall not result in an Event of Default under this Section 7.0l(k) or any other provision of any Loan
               Document; or

                         (I)     Subordination. The Obligations ceasing or the assertion in writing by any Loan Party that the
               Obligations cease to constitute senior indebtedness under the subordination provisions of any document or
               instrument evidencing any Junior Lien Indebtedness in excess of the T hreshold Amount, the payment priorities
               set forth in any Applicable lntercreditor Agreement cease to be in full force and effect or any such subordination
               provision or Applicable lntercreditor Agreement being invalidated by a court of competent jurisdiction in a final
               non-appealable order, or otherwise ceasing, for any reason, to be valid, binding and enforceable obligations of
               the parties thereto;




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               then, and in every such event (other than an event w ith respect to any Borrower described in clause (Q or _(g} of
               this Article 7). and at any time thereafter during the continuance of such event, the Administrative Agent may,
               and at the request of the Required Lenders shall, by notice to the Top Borrower, take any of the following actions,
               at the same or different times: (i) terminate the Commitments, and thereupon such Commitments shall terminate
               immediately and (ii) declare the Loans then outstanding to be due and payable in whole (or in part, in which case
               any principal not so declared to be due and payable may thereafter be declared to be due and payable), and
               thereupon the principal of the Loans so declared to be due and payable, together with accrued interest thereon
               and all fees and other obligations of the Borrowers accrued hereunde r, shall become due and payable
               immediately, without presentment, demand, protest or other notice of any kind, all of which are hereby waived
               by each Borrower; provided that, upon the occurrence of an event with respect to any Borrower described in
               clauses (f) or _(g} of this Article 7, any such Commitments shall automatically terminate and the principal of the
               Loans then outstanding, together with accmed inte re st thereon and all fees and other obligations of any Borrowe r
               accrued hereunder, shall automatically become due and payable, without presentment, demand, prote st or other
               notice of any kind, all of which are hereby waive d by e ach Borrower w itho ut furthe r action of the Administrative
               Agent or any Lender. Upon the occurrence and during the continuance of an Event of Default, the Administrative
               Agent may, and at the request of the Required Lenders shall, exercise any rights and remedies provided to the
               Administrative Agent under the Loan Documents or at law or equity, including all remedies provided under the
               UCC.

                         (m)     Prepayment Premium and the Make-Whole Payment: in view of the impracticability and
               extTeme difficulty of ascertaining actual damages and by mutual agreement of the parties as to a reasonable
               calculation of the Lende rs' lost profits as a result thereof. Any Prepayment Premium and Make-Whole Payment
               that is due and pay able pursuant to Section 2 .11 or Section 2. 12(d) as a result of an acceleration or the Loans
               otherv,;ise becoming due as contemplated in 2. 12(d) shall be presumed to be the liquidated damages sustained
               by the Lenders as the result of payment or acceleration, as applicable, prior to the twelfth ( 12) month or eighteen
               (18) month, as applicable, anniversary of the Closing Date and the Borrowers and Guarantors agree that the
               Prepayment Pre mium and Make-Whole Payme nt are reasonable under the circumstances currently existing. The
               Prepayment Premium and Make-Whole Payment shall also be payable in the event the Obligations (and/or this
               Agreeme nt) are satisfied or released by foreclosure (whether by power of judicial proceeding), deed in lieu of
               foreclosure or by any other similar means. EACH BORROWER AND EACH GUARANTOR EXPRESSLY
               WAIVES (TO THE FULLEST EXTENT IT MAY LAWFULLY DO SO) THE PROVISION S OF ANY
               PRESENT OR FUTURE ST ATUTE OR LAW THAT PROHIBITS OR MAY PROHIBIT THE COLLECTION
               OF THE FOREGOING PREPAYMENT PREMIUM AND MAKE-WHOLE PAYMENT IN CONNECTION
               WITH ANY SUCH ACCELERATION. Each Borrower and each Guarantor expressly agrees (to the fullest
               extent that it may lawfully do so) that: (A) the Prepayment Premium and Make-Whole Payment are reasonable
               and are the product of an arm' s length tTansaction between sophisticated business people, ably represented by
               counsel; (B) the Prepayment Premium and Make-Whole Payment shall be payable notwithstanding the the n
               prevailing market rates at the time payment is made; (C) there has been a course of conduct be tween the Lenders
               and the Borrowers and Guarantors giving specific consideration in this transaction for such agreement to pay the
               Prepayment Premium and Make-Whole Payment; and (D) each Borrower and each Guarantor shall each be
               estopped hereafter from claiming differently than as agreed to in this paragraph. Each Borrower and each
               Guarantor expressly acknowledges that its agreement to pay the Prepayment Premium and Make-Whole
               Payment to the Lenders as herein described is a material induceme nt to the Lenders to provide the Commitments
               and make the Loans.

                                                                  ARTICLES

                                                      THE ADMINISTRATIVE AGENT

                       Section 8.01.   Appointment and Authorization of Administrative Agent. Each of the Lenders hereby
               irrevocably appoints UBS (or any successor appointed pursuant hereto) as Administrative Agent and authorizes
               the Administrative Agent to take such actions on its behalf, including execution of the other Loan Documents,




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               and lo exercise such powers as are delegale d to the Administralive Agenl by the tenns of the Loan Documents,
               together with such actions and powers as are reasonably incidental the reto.

                         Section 8.02.    Rights as Lender. Any Person serving as Administrative Agent hereunder shall have
               the same rights and powers in its capacity as a Lender as any other Lender and may exercise the same as though
               it were not the Administrative Agent, and the term "Lender" or "Lenders" shall, unless otherwise expressly
               indicaled, unless the context olherwise requires or unless such Person is in fact not a Lender, include each Person
               serving as Adm inis trative Agent hereunder in its individual capacity. Such Person and its Affiliates may accept
               deposits from , lend money to, act as the financial advisor or in any other advisory capacity for and generally
               engage in any kind of business w ith any Loan Party or any subsidiary of any Loan Party or other Affiliate thereof
               as if it were not the Administrative Agent hereunder. The Lenders acknowledge that, pursuant to such activities,
               the Administrative Agent or its Affiliates may receive information regarding any Loan Party or any of its
               Affiliates (including infonuation that may be subject to confidentiality obligations in favor of such Loan Party
               or such Affiliate) and acknowledge that the Administrative Agent shall not be unde r any obligation to provide
               such information to them.

                        Section 8.03.   Exculpatory Provisions. The Administrative Agent shall not have any duties or
               obligations except those expressly set forth in the Loan Documents. Without limiting the generality of the
               foregoing,

                        (a)     the Administrative Agent shall not be subject to any fiduciary or other implied duties, regardless
               of whe ther a Default or Event of Default exisls, and the use of the te nu "agent" herein and in the other Loan
               Docume nts w ith refere nce to the Administrative Agent is not inte nded to connote any fiduciary or other implied
               (or express) obligations arising under agency doctrine of any applicable Requirements of Law ; it being
               understood that such term is used m erely as a matter of market custom, and is intended to create or reflect only
               an administrative relationship beh:veen independent contracting parties,

                         (b)      the Administrative Agent shall not have any duty to take any discretionary action or exercise
               any discre tionary power, except discretionary rights and powers that are expressly contemplated by the Loan
               Documents and which the Administrative Agent is required to exercise in writing as directed by the Required
               Lenders (or such other number or percentage of the Lenders as shall be necessary under the re levant
               circumstances as provided in Section 9.02); provided that the Administrative Agent shall not be required to take
               any action that, in its opinion or the opinion of its counse l, may expose the Administrative Agent to liability or
               that is contrary to any Loan Document or applicable Requirements of Law ,

                         (c)      except as expressly set forth in the Loan Docume nts, the Administrative Agent shall not have
               any duty to disclose, and shall not be liable for the failure to disclose, any information relating to Holdings or
               any of its subsidiaries that is communicated to or obtained by the Person serving as Administrative Agent or any
               of its Affiliates in any capacity. The Administrative Agent shall not be liable (i) to the Lenders or any other
               Secured Party for any action taken or not taken by it with the authorization, direction, consent, request,
               instruc tion or ratification of the Required Lenders (or such other number or percentage of the Lenders as is
               necessary, or as the Administrative Agent believes in good faith shall be necessary or appropriate, unde r the
               re levant circumstances as provided in Section 9.02), (ii) to the Top Borrower for any action taken or not taken
               by it with the authorization, direction, consent, request, instruction or ratification of the Top Borrower or (iii) in
               the absence of its own gross negligence or willful misconduct, as determined by the final and non-appealable
               judgment of a court of competent jurisdiction, in connection with its duties expressly set forth herein (it being
               understood and agreed that any action taken (or not taken) by the AdministTative Agent in connection with the
               Exchange Transactions, in each case, at the directio n, instruction or request of the Lenders who constitute the
               Required Lenders under and as defined in the First Lien Credit Agreement immediate ly prior to the Closing Date
               (such le nders, the " Required Specified Lenders"), or consented to by the Required Specified Lenders shall not,
               in and of itself, be deemed to have resulted from the gross negligence, bad faith or willful m isconduct of such
               lndemnitee).




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                          (d)     the Administrative Agent shall not be deemed to have actual, constructive or any other
               knowledge of any Default or Event of Default unless and until written notice thereof is given to the
               Administrative Agent by the Top Borrower or any Lender and such notice states that it is a "notice of default"
               or " notice of an event of default", as applicable. Absent an instruction from the Required Lenders provided in
               accordance with the terms hereof, the Administrative Agent may (but shall not be obligated to) take such action
               or refrain from taking such action with respect to such Default or Event of Default as it shall reasonably deem
               advisable in good faith. The Administrative Agent shall not be responsible for or have any duty to ascertain or
               inquire into (i) any recital, certification, statement, warranty or representation made in or in connection with any
               Loan Document, (ii) the contents of any certificate, report or other document delivered hereunder or in
               connection with any Loan Document, (iii) the performance or observance of any covenant, agreement or other
               term or condition set forth in any Loan Document or the occurrence of any Default or Event of Default, (iv) the
               validity , enforceability , effectiveness or genuineness of any Loan Document or any other agreement, instrument
               or document, (v) the creation, perfection or priority of any Lien on the Collateral or the existence, value or
               sufficiency of the Collateral or to assure that the Liens granted to the Administrative Agent pursuant to any Loan
               Document have been or will continue to be properly or sufficiently or lawfully created, perfected or enforced or
               are entitled to any particular priority, (vi) the satisfaction of any condition set forth in Article 4 or elsewhere in
               any Loan Document, other than to confirm receipt of items expressly required to be delivered to the
               Administrative Agent or (vii) any property, book or record of any Loan Party or any Affiliate thereof.

                       Section 8.04.    Exclusive Right to Enforce Rights and Remedies. Notwithstanding anything to the
               contrary contained herein or in any of the other Loan Documents, the Borrowers, the Administrative Agent and
               each Secured Party agree that:

                         (a)      (i) no Secured Party shall have any right individually to realize upon any of the Collateral or to
               enforce the Loan Guaranty; it being understood that any right to realize upon the Collateral or enforce any Loan
               Guaranty against any Loan Party pursuant hereto or pursuant to any other Loan Document may be exercised
               solely by the Administrative Agent on behalf of the Secured Parties in accordance with the tenns hereof or
               thereof , and (ii) in the event of a foreclosure by the Administrative Agent on any of the Collateral pursuant to a
               public or private sale or in the event of any other Disposition (including pursuant to Section 363 of the
               Bankruptcy Code), (A) the Administrative Agent, as agent for and representative of the Secured Parties, shall be
               entitled, for the purpose of bidding and making settlement or payment of the purchase price for all or any portion
               of the Collateral sold at any such sale or other Disposition, to use and apply all or any portion of the Obligations
               as a credit on account of the purchase price for any Collateral payable by the Administrative Agent at such sale
               or other Disposition and (B) the Administrative Agent or any Lender may be the purchaser or licensor of all or
               any portion of such Collateral at any such Disposition.

                        (b)      Each Secured Party agrees that the Administrative Agent may in its sole discretion, but is under
               no obligation to credit bid any part of the Secured Obligations or to purchase or retain or acquire any portion of
               the Collateral.

                         Section 8.05.      Reliance by Administrative Agent. The Administrative Agent shall be entitled to rely
               upon, and shall not incur any liability for rely ing upon, any notice, request, certificate, consent, statement,
               instrument, document or other writing (including any electronic message, Internet or intranet website posting or
               other distribution) that it believes to be genuine and to have been signed, sent or otherv,rise authenticated by the
               proper Person. The Administrative Agent also may rely upon any statement made to it orally or by telephone
               and believed by it to have been made by the proper Person and shall not incur any liability for relying thereon.
               In determining compliance with any condition hereunder to the making of a Loan that by its tenns must be
               fulfilled to the satisfaction of a Lender, the Administrative Agent may presume that such condition is satisfactory
               to such Lender unless the Administrative Agent has received notice to the contrary from such Lender prior to
               the making of such Loan. The Administrative Agent may consult with legal counsel (who may be counsel for
               the Top Borrower), independent accountants and other experts selected by it, and shall not be liable for any
               action taken or not taken by it in accordance with the advice of any such counsel, accountants or experts. The
               Administrative Agent shall be fully justified in failing or refusing to take any action under this Agreement or




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               any other Loan Document unless it shall first receive such advice or concurrence of the Required Lenders (which
               may be evidenced by a Direction of the Required Lenders) (or such other number or percentage of the Lenders
               as is necessary, or as the Administrative Agent believes in good faith shall be necessary as provided in Section
               9.02). The Administrative Agent shall be fully justified in failing or refusing to take any action under this
               Agreement or any other Loan Document unless it shall have first (x) received direction or instruction from the
               Required Lenders (or such other number or percentage of the Lenders as is necessary, or as the Administrative
               Agent believes in good faith shall be necessary or appropriate, under the relevant circumstances as provided in
               Section 9.02) to take such action, and (y) been indemnified to its satisfaction by the Required Lenders (or such
               other number or percentage of Lenders) against any and all liabilities, obligations, losses, damages, penalties,
               claims, actions, judgments, costs, expenses or disbursements of whatsoever kind or nature, including reasonable
               attorneys' fees, which may be imposed on, asserted against or incurred by the Administrative Agent (or any
               Related Party thereot) as a result of or in co1mection with any such action (which indemnity may be joint and
               several). The Administrative Agent shall in all cases be fully protected in acting, or in refraining from acting,
               under this Agreement and the other Loan Documents in accordance with a request of the Required Lenders (or
               such other number or percentage of the Lenders as is necessary, or as the Administrative Agent believes in good
               faith shall be necessary or appropriate, under the relevant circumstances as provided in Section 9.02). and such
               request and any action taken or failure to act pursuant thereto shall be binding upon all the Lenders and all future
               holders of the Loans. The Required Lenders hereby ratify and confirm all actions taken (or not taken) by the
               Administrative Agent under this Agreement and other Loan Documents prior to the Closing Date. The
               Administrative Agent shall in all cases be fully protected in respect of any act or failure to act that is ratified by
               Required Lenders (or such other number or percentage of the Lenders as is necessary, or as the Administrative
               Agent believes in good faith shall be necessary or appropriate, under the relevant circumstances as provided in
               Section 9.02) and such ratification shall be binding upon all Lenders and all future holders of the Loans.

                        Section 8.06.      Delegation of Duties. The Administrative Agent may perform any and all of its duties
               and exercise its rights and powers by or through any one or more sub-agents appointed by it. The Administrative
               Agent and any such sub-agent may perform any and all of their respective duties and exercise their respective
               rights and powers through their respective Related Parties. The exculpatory provisions of this Article shall apply
               to any such sub-agent and to the Related Parties of the Administrative Agent and any such sub-agent and shall
               apply to their respective activities in connection with the syndication of the credit facilities provided for herein
               as well as activities as the Administrative Agent.

                         Section 8.07.     Non-Reliance on Administrative Agent. Each Lender acknowledges that it has,
               independently and without reliance upon the Administrative Agent or any other Lender or any of their Related
               Parties and based on such documents and information as it has deemed appropriate, made its own credit analysis
               and decision to enter into this Agreement. Each Lender also acknowledges that it will, independently and without
               re liance upon the Administrative Agent or any other Lender or any of their respective Related Parties and based
               on such documents and infonnation as it shall from time to time deem appropriate, continue to make its own
               decisions in taking or not taking action under or based upon this Agreement, any other Loan Document or related
               agreement or any document furnished hereunder or thereunder. Except for notices, reports and other documents
               expressly required to be furnished to the Lenders by the Administrative Agent herein, the Administrative Agent
               shall not have any duty or responsibility to provide any Lender with any credit or other information concerning
               the business, prospects, operations, property, financial and other condition or creditworthiness of any of the Loan
               Parties or any of their respective Affiliates which may come into the possession of the Administrative Agent or
               any of its Related Parties. The Administrative Agent may deem and treat the Lender specified in the Register
               with respect to any amounts owing hereunder as the owner thereof for all purposes including any voting,
               direction or other Lender threshold.

                        Section 8.08.    Collateral and Guarantee Matters. Each Secured Party irrevocably authorizes and
               instructs the Administrative Agent to, and the Administrative Agent shall:

                      (a)    release any Lien on any property granted to or held by the Administrative Agent under any
               Loan Document (i) upon the occurrence of the Tennination Date, (ii) that is sold or to be sold or transferred as




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               part of or in connection with any Disposition penuitted under the Loan Documents to a Person that is not a Loan
               Party, (iii) that does not constitute (or ceases to constitute) Collateral, (iv) if the property subject to such Lien is
               owned by a Subsidiary Guarantor, upon the release of such Subsidiary Guarantor from its Loan Guaranty
               otherwise in accordance with the Loan Documents, (v) as required under clause (d) below or (vi) if approved,
               authorized or ratified in writing by the Required Lenders subject to and in accordance with Section 9.02;

                        (b)      subject to Section 9.22, release any Subsidiary Guarantor from its obligations under the Loan
               Guaranty if such Person ceases to be a Restricted Subsidiary (or becomes an Excluded Subsidiary as a result of
               a single transaction or series of related transactions permitted hereunder and the Top Borrower has requested
               such Excluded Subsidiary cease to be a Subsidiary Guarantor);

                        (c)      subordinate any Lien on any property granted to or held by the Administrative Agent under any
               Loan Document to the holder of any Lien on such property that is permitted by Sections 6.02(d), 6.02(e), 6.02(1),
               6.02(m). 6.02(n), 6.02(r). 6.02(u) (to the extent the relevant Lien is of the type to which the Lien of the
               Administrative Agent is otherwise required to be subordinated under this clause (c) pursuant to any of the other
               exceptions to Section 6.02 (i.e., the exceptions other than Section 6.02(u)) that are expressly included in this
               clause (c)). 6.02(x). 6.02(y), 6.02(z)(i), 6.02(bb). 6.02(cc), 6.02(dd) (in the case of clause (ii). to the extent the
               relevant Lien covers Cash or Cash Equivalents posted to secure the relevant obligation), 6.02(ee). 6.02(ff),
               6.02(gg) and/or 6.02(hh): provided, that the subordination of any Lien on any property granted to or held by the
               Administrative Agent shall only be required with respect to any Lien on such property that is permitted by
               Sections 6.02(1), 6.02(r), 6.02(r), 6.02(u). 6.02(bb) and/or 6.02(hh) to the extent that the Lien of the
               Administrative Agent with respect to such property is required to be subordinated to the relevant Pem1itted Lien
               in accordance with the documentation governing the Indebtedness that is secured by such Permitted Lien; and

                         (d)      subject to Section 9.02, acting at the Direction of the Required Lenders, enter into
               subordination, intercreditor, collateral trust and/or similar agreements with respect to Indebtedness (including
               the Initial Intercreditor Agreements and any other Acceptable Intercreditor Agreement and/or any amendment
               to the Initial Intercreditor Agreements and/or any Acceptable Intercreditor Agreement) that is (i) required or
               permitted to be subordinated hereunder and/or (ii) secured by Liens permitted hereunder, and with respect to
               which Indebtedness, this Agreement contemplates an intercreditor, subordination, collateral trust or similar
               agreement.

                        Upon the request of the Administrative Agent at any time, the Required Lenders will confirm in writing
               whether the Administrative Agent has authority pursuant to this Article 8 (x) to release or subordinate its interest
               in particular types or items of property, or (y) to release any Loan Party from its obligations under the Loan
               Guaranty or its Lien on any Collateral. In each case as specified in this Article 8, the Administrative Agent will
               (and each Lender hereby authorizes the Administrative Agent to), at the Borrowers' expense, execute and deliver
               to the applicable Loan Party such documents as such Loan Party may reasonably request to evidence the release
               of such item of Collateral from the assignment and security interest granted under the Collateral Documents, to
               subordinate its interest therein, or to release such Loan Party from its obligations under the Loan Guaranty, in
               each case in accordance with the terms of the Loan Documents and this Article 8; provided, that upon the request
               of the Administrative Agent, the Top Borrower shall deliver a certificate of a Responsible Officer certifying that
               the relevant transaction has been consummated in compliance with the terms of this Agreement. For the
               avoidance of doubt, the Administrative Agent is authorized and directed by the Lenders and each other Secured
               Party to enter into this Agreement and any Loan Document (as defined therein) in connection therewith.

                        Section 8.09.    Intercreditor Agreements. The Administrative Agent is authorized by the Lenders and
               each other Secured Party to enter into any Acceptable Intercreditor Agreement, and the Secured Parties party
               hereto acknowledge that each Acceptable Intercreditor Agreement is binding upon them . Each Lender and each
               other Secured Party hereto hereby (a) agrees that they will be bound by, and will not take any action contrary to,
               the provisions of each Acceptable lntercreditor Agreement and (b) authorizes and instructs the Administrative
               Agent to enter into each Acceptable Intercreditor Agreement and to subject the Liens on the Collateral securing
               the Secured Obligations to the provisions thereof. The foregoing provisions are intended as an inducement to




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               the Secured Parties to extend credit to the Borrowers, and the Secured Parties are intended third-party
               beneficiaries of such provisions and the provisions of each Acceptable Jntercreditor Agreement.

                        Section 8.10.      Indemnification of Agents. To the extent that the Administrative Agent (or any
               Affiliate thereof) is not reimbursed and indemnified by the Top Borrower in accordance with and to the extent
               required by Section 9.03(b) hereof, the Lenders will reimburse, defend, hold harmless and indemnify the
               Administrative Agent (and any Affiliate thereof) in proportion to their respective Applicable Percentages
               (determined as if there were no Defaulting Lenders) for and against any and all liabilities, obligations, losses,
               damages, penalties, claims, actions, judgments, costs, expenses or disbursements of any kind or nature, including
               reasonable attorneys' fees, which may be imposed on, asserted against or incurred by the Administrative Agent
               (or any Affiliate thereof) as a result of or in connection with (i) performing its duties hereunder or under any
               other Loan Document or in any way relating to or arising out of this Agreement or any other Loan Document
               and/or (ii) any actual or prospective claim, litigation, investigation or proceeding relating to any of the foregoing,
               whether based on contract, tort or any other theory and regardless of whether the Administrative Agent or any
               of its Affiliates is a party thereto (and regardless of whether such matter is initiated by or against the
               Administrative Agent, a third party or a Lender or any Affiliate of a Lender); provided that no Lender shall be
               liable for any portion of such liabilities, obligations, losses, damages, penalties, claims, actions, judgments, suits,
               costs, expenses or disbursements resulting from the Administrative Agent' s (or such affiliate' s) gross negligence
               or willful misconduct (as determined by a court of competent jurisdiction in a final and non-appealable
               judgment).

                         Section 8.11.     Withholding Taxes. To the extent required by any applicable Requirement of Law (as
               detenuined in good faith by the Administrative Agent), the Administrative Agent may withhold from any
               payment to any Lender under any Loan Document an amount equivalent to any applicable withholding Tax.
               Without limiting or expanding the provisions of Section 2.17, each Lender shall indemnify and hold harmless
               the Administrative Agent against, and shall make payable in respect thereof within ten days after demand
               therefor, any and all Taxes and any and all related losses, claims, liabilities and expenses (including fees, charges
               and disbursements of any counsel for the Administrative Agent) i11curred by or asserted against the
               Administrative Agent by the IRS or any other Governmental Authority as a result of the failure of the
               Administrative Agent to properly withhold Tax from amounts paid to or for the account of such Lender for any
               reason (including because the appropriate fonu was not delivered or not properly executed, or because such
               Lender failed to notify the Administrative Agent of a change in circumstance that rendered the exemption from ,
               or reduction of withholding Tax ineffective), whether or not such Taxes were correctly or legally imposed or
               asserted by the IRS or other relevant Governmental Authority. A certificate as to the amount of such payment
               or liability delivered to any Lender by the Administrative Agent shall be conclusive absent manifest error. Each
               Lender hereby authorizes the Administrative Agent to set off and apply any and all amounts at any time owing
               to such Lender under this Agreement or any other Loan Document against any amount due the Administrative
               Agent under this paragraph. The agreements in this paragraph shall survive the resignation or replacement of
               the Administrative Agent or any assignment of rights by, or the replacement of, any Lender, the termination of
               the Commitments and the repayment, satisfaction or discharge of all obligations under any Loan Document.

                        Section 8. I2.     Resignation of Administrative Agent. The Administrative Agent may resign at any
               time by giving ten days' written notice to the Lenders and the Top Borrower; provided that, if no successor agent
               is appointed in accordance with the terms set forth below within such I 0-day period, the Administrative Agent' s
               resignation shall not be effective until the earlier to occur of (x) the date of the appointment of the successor
               agent or (y) the date that is twenty (20) days after the last day of such 10-day period. If the Administrative Agent
               is a Defaulting Lender or an Affiliate of a Defaulting Lender, either the Required Lenders or the Top Borrower
               may, upon ten days' notice, remove the Administrative Agent; provided that, if no successor agent is appointed
               in accordance with the terms set forth below within such IO-day period, the Administrative Agent's removal
               shall, at the option of the Top Borrower, not be effective until the earlier to occur of (x) the date of the
               appointment of the successor agent or (y) the date that is twenty (20) days after the last day of such 10-day
               period. Upon receipt of any such notice of resignation or delivery of any such notice of removal, the Required
               Lenders shall have the right, with the consent of the Top Borrower (not to be unreasonably withheld or delayed),




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               to appoint a successor Administrative Agent which shall be a commercial bank or trust company with offices in
               the US having combined capital and surplus in excess of $1,000,000,000; provided that, during the existence
               and continuation of an Event of Default under Section 7.0l(a) or, with respect to any Borrower, Sections 7.0l(f)
               or (g)_, no consent of the Top Borrower shall be required. If no successor has been appointed as provided above
               and accepted such appointment within ten days after the retiring Administrative Agent gives notice of its
               resignation or the Administrative Agent receives notice of removal, then (a) in the case of a retirement, the
               retiring Administrative Agent may (but shall not be obligated to), on behalf of the Lenders, appoint a successor
               Administrative Agent meeting the qualifications set forth above (including, for the avoidance of doubt, the
               consent of the Top Borrower) or (b) in the case of a removal, the Top Borrower may, after consulting with the
               Required Lenders, appoint a successor Administrative Agent meeting the qualifications set forth above; provided
               that (x) in the case of a retirement, if the Administrative Agent notifies the Top Borrower and the Lenders that
               no qualify ing Person has accepted such appointment or (y) in the case of a removal, the Top Borrower notifies
               the Required Lenders that no qualifying Person has accepted such appointment, then, in each case, such
               resignation or removal shall nonetheless become effective in accordance with the provisos to the first two
               sentences in this paragraph and (i) the retiring or removed Administrative Agent shall be discharged from its
               duties and obligations hereunder and under the other Loan Documents (except that in the case of any collateral
               security held by the Administrative Agent in its capacity as collateral agent for the Secured Parties for purposes
               of maintaining the perfection of the Lien on the Collateral securing the Secured Obligations, the retiring
               Administrative Agent shall continue to hold such collateral security until such time as a successor Administrative
               Agent is appointed) and (ii) all payments, communications and determinations required to be made by, to or
               through the Administrative Agent shall instead be made by or to each Lender directly (and each Lender will
               cooperate with the Top Borrower to enable the Top Borrower to take such actions), until such time as the
               Required Lenders or the Top Borrower, as applicable, appoint a successor Administrative Agent, as provided
               above in this Article 8. Upon the acceptance of its appointment as Administrative Agent hereunder as a successor
               Administrative Agent, the successor Administrative Agent shall succeed to and become vested with all the rights,
               powers, privileges and duties of the retiring or removed Administrative Agent (other than any rights to indemnity
               payments owed to the retiring Administrative Agent), and the retiring or removed Administrative Agent shall be
               discharged from its duties and obligations here under (other than its obligations under Section 9 .13 hereof). The
               fees payable by the Borrowers to any successor Administrative Agent shall be the same as those payable to its
               predecessor unless otherv>1ise agreed between the Top Borrower and such successor Administrative Agent. After
               the Administrative Agent's resignation or removal hereunder, the provisions of this Article and Section 9.03
               shall continue in effect for the benefit of such retiring or removed Administrative Agent, its sub-agents and their
               respective Related Parties in respect of any action taken or omitted to be taken by any of them while the relevant
               Person was acting as Administrative Agent (including for this purpose holding any collateral security following
               the retirement or removal of the Administrative Agent). Notwithstanding anything to the contrary herein, no
               Disqualified Institution (nor any Affiliate thereof) may be appointed as a successor Administrative Agent.

                                                                  ARTICLE9

                                                             MISCELLANEOUS

                       Section 9 .01.    Notices.

                        (a)     Except in the case of notices and other communications expressly permitted to be given by
               telephone (and subject to paragraph (b) below), all notices and other communications provided for herein shall
               be in writing and shall be delivered by hand or overnight courier service, mailed by certified or registered mail
               or sent by facsimile or email, as follows:

                                (i)      if to any Loan Party, to such Loan Party in the care of the Top Borrower at:

                                Serta Simmons Bedding, LLC
                                2451 Industry Avenue




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                           Doraville, GA 30360
                           Attention: Sally A. Erickson
                           Email: SErickson l @SertaSimmons.com
                           Facsimile: (770) 206-2669

                           with copies to (which shall not constitute notice to any Loan Party):

                           Serta Simmons Bedding, LLC
                           2451 Industry Avenue
                           Doraville, GA 30360
                           Attention: Kristen McGuffey
                           Email: kmcguffey@sertasimmons.com
                           Facsimile: (770) 206-2669

                           and

                           Advent International Corporation
                           75 State Street, 2nd floor
                           Boston, 02109 MA
                           Attention: Jefferson Case
                           Email: jcase@adventintemational.com
                           Facsimile: (617) 951-0566

                           and

                           Advent International Corporation
                           12 E. 49th Street, 45th Floor
                           New York, New York 10152
                           Attention: Ken Prince
                           Email: kprince@Adventlntemational.com

                           and

                           Weil, Gotshal & Manges LLP
                           767 Fifth Avenue
                           New York, New York 10153
                           Attention: Allison R. Liff
                           Email: allison.liff@weil.com
                           Facsimile: (2 12) 310-8007

                           (ii)     if to the Administrative Agent, at:

                           UBS AG, Stamford Branch
                           Attention: Structured Finance Processing
                           600 Washington Blvd., 9th Floor
                           Stamford, Connecticut 06901
                           Facsimile: (203) 719-3888
                           Telephone: (203) 719-4319
                           Email: Agency-UBSAmericas@ubs.com


                           (iii)    if to any Lender, to it at its address or facsimile number set forth in its Administrative
                   Questionnaire.




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               All such notices and other communications (A) sent by hand or overnight courier service, or mailed by certified
               or registered mail, shall be deemed to have been given when delivered in person or by courier service and signed
               for against receipt thereof or three Business Days after dispatch if sent by certified or registered mail, in each
               case, delivered, sent or mailed (properly addressed) to the relevant party as provided in this Section 9.01 or in
               accordance with the latest unrevoked direction from such party given in accordance with this Section 9.01 or (B)
               sent by facsimile shall be deemed to have been given w hen sent and when receipt has been confirmed by
               telephone: provided that notices and other communications sent by telecopier shall be deemed to have been given
               when sent (except that, if not given during normal business hours for the recipient, such notices or other
               communications shall be deemed to have been given at the opening of business on the next Business Day for the
               recipient). Notices and other communications delivered through electronic communications to the extent
               provided in clause (b) below shall be effective as provided in such clause (b).

                        (b)      Notices and other communications to the Lenders hereunder may be delivered or furnished by
               electronic communications (including e-mail and Internet or intranet websites) pursuant to procedures set forth
               herein or otherwise approved by the Administrative Agent. The Administrative Agent or the Top Borrower (on
               behalf of any Loan Party) may, in its discretion, agree to accept notices and other communications to it hereunder
               by electronic communications pursuant to procedures set forth herein or othen¥ise approved by it; provided that
               approval of such procedures may be limited to particular notices or communications. All such notices and other
               communications (i) sent to an e-mail address shall be deemed received upon the sender' s receipt of an
               acknowledgement from the intended recipient (such as by the "return receipt requested" function , as available,
               return e-mail or other written acknowledgement); provided that any such notice or communication not given
               during the normal business hours of the recipient shall be deemed to have been given at the opening of business
               on the next Business Day for the recipient or (ii) posted to an Internet or intranet website shall be deemed received
               upon the deemed receipt by the intended recipient at its e-mail address as described in the foregoing clause (b)(i)
               of notification that such notice or communication is available and identifying the website address therefor.

                       (c)     Any party hereto may change its address or facsimile number or other notice information
               here under by notice to the other parties hereto; it being understood and agreed that the Top Borrower may
               provide any such notice to the Administrative Agent as recipient on behalf of itself and each Lender.

                         (d)     Each of Holdings and the Top Borrower hereby acknowledges that (a) the Administrative Agent
               will make available to the Lenders materials and/or information provided by , or on behalf of, Holdings or the
               Top Borrower hereunder (collectively, the "Borrower Materials") by posting the Borrower Materials on the
               Platfonu and (b) certain of the Lenders may be "public-side" Lenders (i.e., Lenders that do not wish to receive
               material nonpublic information within the meaning of the U nited States federal securities laws with respect to
               Holdings, the Top Borrower or their respective securities) (each, a "Public Lender''). At the request of the
               Administrative Agent, each of Holdings and the Top Borrower hereby agrees that (i) all Borrower Materials that
               are to be made available to Public Lenders shall be clearly and conspicuously marked "PUBLIC", (ii) by marking
               Borrower Materials "PUBLIC," Holdings and the Top Borrower shall be deemed to have authorized the
               Administrative Agent and the Lenders to treat such Borrower Materials as information of a type that would (A)
               customarily be made publicly available, as determined in good faith by the Top Borrower, if Holdings or the
               Top Borrower were to become public reporting companies or (B) would not be material with respect to Holdings,
               the Top Borrower, their respective subsidiaries, any of their respective securities or the Transactions as
               determined in good faith by the Top Borrower for purposes of the United States federal securities laws and (iii)
               the Administrative Agent shall be required to treat Borrower Materials that are not marked " PUBLIC" as being
               suitable only for posting on a portion of the Platform not marked as "Public Investor." Notwithstanding the
               foregoing, the following Borrower Materials shall be deemed to be marked "PUBLIC," unless the Top Borrower
               notifies the Administrative Agent promptly that any such document contains material nonpublic information (it
               being understood that the Top Borrower shall have a reasonable opportunity to review the same prior to
               distribution and comply with SEC or other applicable disclosure obligations): (1) the Loan Documents and (2)
               any information delivered pursuant to Section 5.0l(a) or (hl.




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                        Each Public Lender agrees to cause at least one individual at or on behalf of such Public Lender to at
               all times have selected the "Private Side Information" or similar designation on the content declaration screen
               of the Platform in order to enable such Public Lender or its delegate, in accordance with such Public Lender's
               compliance procedures and applicable law, including United States Federal and state securities laws, to make
               reference to communications that are not made available through the "Public Side Information" portion of the
               Platfonn and that may contain material non-public information with respect to the Top Borrower or its securities
               for purposes of United States Federal or state securities laws.

                     THE PLATFORM IS PROVIDED "AS IS" AND "AS AVAILABLE." NEITHER THE
               ADMINISTRATIVE AGENT NOR ANY OF ITS RELATED PARTIES WARRANTS THE ACCURACY OR
               COMPLETENESS OF THE COMMUNICATIONS ON, OR THE ADEQUACY OF, THE PLATFORM, AND
               EACH EXPRESSLY DISCLAIMS LIABILITY FOR ERRORS OR OMISSIONS IN ANY SUCH
               COMMUNICATION. NO WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY,
               INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE,
               NONINFRINGEMENT OF THIRD-PARTY RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE
               DEFECTS JS MADE BY THE ADMINISTRATIVE AGENT OR ANY OF ITS RELATED PARTIES IN
               CONNECTION WITH THE COMMUNICATIONS OR THE PLATFORM. IN NO EVENT SHALL ANY
               PARTY HERETO OR ANY OF ITS RELATED PARTIES HAVE ANY LIABILITY TO ANY OTHER
               PARTY HERETO OR ANY OTHER PERSON FOR DAMAGES OF ANY KIND, WHETHER OR NOT
               BASED ON STRICT LIABILITY AND INCLUDING DIRECT OR INDIRECT, SPECIAL, INCIDENT AL
               OR CONSEQUENTIAL DAMAGES, LOSSES OR EXPENSES (WHETHER IN TORT, CONTRACT OR
               OTHERWISE) ARISING OUT OF ANY LOAN PARTY'S OR THE ADMINISTRATIVE AGENT'S
               TRANSMISSION OF COMMUNICATIONS THROUGH THE INTERNET, EXCEPT TO THE EXTENT
               THE LIABILITY OF ANY SUCH PERSON IS FOUND IN A FINAL RULING BY A COURT OF
               COMPETENT JURISDICTION TO HAVE RESULTED FROM SUCH PERSON'S GROSS NEGLIGENCE
               OR WILLFUL MISCONDUCT OR MATERIAL BREACH OF THIS AGREEMENT.

                       Section 9 .02.    Waivers: Amendments.

                        (a)      No failure or delay by the Administrative Agent or any Lender in exercising any right or power
               hereunder or under any other Loan Document shall operate as a waiver thereof except as provided herein or in
               any Loan Document, nor shall any single or partial exercise of any such right or power, or any abandonment or
               discontinuance of steps to enforce such a right or power, preclude any other or further exercise thereof or the
               exercise of any other right or power. The rights and remedies of the Administrative Agent and the Lenders
               hereunder and under any other Loan Document are cumulative and are not exclusive of any rights or remedies
               that they would otherwise have. No waiver of any provision of any Loan Document or consent to any departure
               by any party hereto therefrom shall in any event be effective unless the same is permitted by this Section 9.02,
               and then such waiver or consent shall be effective only in the specific instance and for the purpose for ·which it
               is given. Without limiting the generality of the foregoing, to the extent permitted by applicable Requirements
               of Law, the making of any Loan shall not be construed as a waiver of any Default or Event of Default, regardless
               of whether the Administrative Agent or any Lender may have had notice or knowledge of such Default or Event
               of Default at the time.

                        (b)     Subject to this Section 9.02(b) and Section 9.02(d) below and to Section 9.05(f), neither this
               Agreement nor any other Loan Document nor any provision hereof or thereof may be waived, amended or
               modified, except (i) in the case of this Agreement, pursuant to an agreement or agreements in writing entered
               into by the Top Borrower and the Required Lenders (or the Administrative Agent with the consent of the
               Required Lenders) or (ii) in the case of any other Loan Document (other than any waiver, amendment or
               modification to effectuate any modification thereto expressly contemplated by the terms of such other Loan
               Document), pursuant to an agreement or agreements in writing entered into by the Administrative Agent and
               each Loan Party that is party thereto, with the consent of the Required Lenders: provided that, notwithstanding
               the foregoing:




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                                 (A)      the consent of each Lender directly and adversely affected thereby (but not
                         the consent of the Required Lenders) shall be required for any waiver, amendment or
                         modification that:

                                          (1)      increases the Commitment of such Lender (other than with respect to
                                 any Subsequent Exchange Term Loan Facility pursuant to Section 2.22 in respect of
                                 which such Lender has agreed to be a Subsequent Exchange Tem1 Loan Lender); it
                                 being understood that no amendment, modification or waiver of, or consent to
                                 departure from, any condition precedent, representation, warranty, covenant, Default,
                                 Event of Default, mandatory prepayment or mandatory reduction of the Commitments
                                 shall constitute an increase of any Commitment of such Lender;

                                        (2)      reduces the principal amount of any Loan owed to such Lender or
                                 any amount due to such Lender on any Loan Installment Date;

                                         (3)      (x) extends the scheduled final matu rity of any Loan or (y) postpones
                                 any Loan Installment Date or any Interest Payment Date with respect to any Loan held
                                 by such Lender or the date of any scheduled payment of any fee or premium payable
                                 to such Lender hereunder (in each case, other than any extension for administrative
                                 reasons agreed by the Administrative Agent);

                                          (4)      reduces the rate of interest (other than to waive any Default or Event
                                 of Default or obligation of the Borrowers to pay interest to such Lender at the default
                                 rate of interest under Section 2.13(d), w hich shall only require the consent of the
                                 Required Lenders) or the amount of any fee or premium owed to such Lender; it being
                                 understood that no change in the definition of any ratio used in the calculation of the
                                 Applicable Rate or in the calculation of any other interest, fee or premium due
                                 hereunder (including any component definition thereof) shall constitute a reduction in
                                 any rate of interest or fee hereunder; and

                                          (5)      extends the expiry date of such Lender' s Commitment; it being
                                 understood that no amendment, modification or waiver of, or consent to departure
                                 from, any condition precedent, representation, warranty, covenant, Default, Event of
                                 Default, mandatory prepayment or mandatory reduction of any Commitment shall
                                 constitute an extension of any Commitment of any Lender;

                                 (B)      no such agreement shall, without the prior w ritten consent of each Lender:

                                         ( 1)   change any of the provisions of this Section 9. 02 or the definition of
                                 "Required Lenders" to reduce any voting percentage required to waive, amend or
                                 modify any right thereunder or make any determination or grant any consent
                                 thereunder;

                                         (2)      re lease all or substantially all of the Collateral from the Lien granted
                                 pursuant to the Loan Documents (except as otherwise permitted herein or in the other
                                 Loan Documents, including pursuant to Article 8 or Section 9.22 hereof);

                                         (3)     release all or substantially all of the value of the Guarantees under the
                                 Loan Guaranty (except as otherwise permitted herein or in the other Loan Documents,
                                 including pursuant to Section 9.22 hereof);

                                         (4)     subordinate the Liens on the Collateral to the Liens on such Collateral
                                 securing any other Indebtedness for borrowed money or subordinate the right of




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                                        payment of the Obligations to the right of payment of any other Indebtedness for
                                        borrowed money (in each case, except as otherwise permitted herein or in the
                                        applicable Loan Documents); or

                                                 (5)       waive, amend or modify (i) Section 2.22 (other than as expressly
                                        contemplated by Section 2.22(d)), (ii) Sections 2. l 8(a), (hl or~ of this Agreement
                                        and/or (iii) any other provision of this Agreement, in each case of clauses (ii) and (iii),
                                        in a manner that would alter the pro rata sharing of payments and/or the priority of
                                        payments with respect to any Class of Loans required hereunder (except in connection
                                        with the establishment of Subsequent Junior Exchange Term Loans that are junior in
                                        right of payment to the Initial Exchange Term Loans pursuant to Section 2.22); and

                                       (C)     no such agreement shall amend, modify or otherwise affect the rights or duties
                               of the Administrative Agent hereunder without the prior written consent of the Administrative
                               Agent.

                       (c)      [Reserved].

                        (d)    Notwithstanding anything to the contrary contained in this Section 9.02 or any other provision
               of this Agreement or any provision of any other Loan Document:

                               (i)     the Top Borrower and the Administrative Agent may, without the input or consent of
                       any Lender, amend, supplement and/or waive any guaranty, collateral security agreement, pledge
                       agreement and/or related document (if any) executed in connection with this Agreement to (A) comply
                       with any Requirement of Law or the advice of counsel or (B) cause any such guaranty, collateral security
                       agreement, pledge agreement or other document to be consistent with this Agreement and/or the relevant
                       other Loan Documents,

                                (ii)     the Top Borrower and the Administrative Agent may, without the input or consent of
                       any other Lender (other than the re levant Lenders providing Loans under such Sections), effect
                       amendments to this Agreement and the other Loan Documents as may be necessary in the reasonable
                       opinion of the Top Borrower and the Administrative Agent to (1) effect the provisions of Sections 2.22,
                       5.12, 5.17 and/or Section 6.13, or any other provision specifying that any waiver, amendment or
                       modification may be made with the consent or approval of the Administrative Agent and/or (2) to add
                       terms (including representations and warranties, conditions, prepayments, covenants or events of
                       default), in connection with the addition of any Loan or Commitment hereunder, that are favorable to
                       the then-existing Lenders, as reasonably determined by the Administrative Agent,

                                (iii)   if the Administrative Agent and the Top Borrower have jointly identified any
                       ambiguity, mistake, defect, inconsistency, obvious error or any error or omission of a technical nature
                       or any necessary or desirable technical change, in each case, in any provision of any Loan Document,
                       then the Administrative Agent and the Top Borrower shall be permitted to amend such provision solely
                       to address such matter as reasonably determined by them acting jointly,

                               (iv)     the Administrative Agent and the Top Borrower may amend, restate, amend and restate
                       or otherwise modify the Initial Intercreditor Agreements and/or any Acceptable lntercreditor Agreement
                       as provided therein,

                                (v)     the Administrative Agent may amend the Commitment Schedule to reflect
                       assignments entered into pursuant to Section 9.05 and Commitment reductions or terminations pursuant
                       to Section 2.09,




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                                (vi)     no Defaulting Lender shall have any right to approve or disapprove any amendment,
                        waiver or consent here under, except as permitted pursuant to Section 2.21(b) and except that the
                        Commitment of any Defaulting Lender may not be increased without the consent of such Defaulting
                        Lender (it being understood that any Commitment or Loan held or deemed held by any Defaulting
                        Lender shall be excluded from any vote hereunder that requires the consent of any Lender, except as
                        expressly provided in Section 2.21(b)),

                                 (vii)    [reserved], and

                                 (viii)   any amendment, wavier or modification of any tem1 or provision that directly affects
                        Lenders under one or more Classes and does not directly affect Lenders under one or more other Classes
                        may be effected with the consent of Lenders owning 50% of the aggregate commitments or Loans of
                        such directly affected Class in lieu of the consent of the Required Lenders.

                        Section 9.03.     Expenses; Tndemnitv.

                        (a)       Subject to Secti on 9.05(f}, the Borrowers shall jointly and severally pay (i) all reasonable and
               documented out-of-pocket expenses incurred by the Administrative Agent and their respective Affiliates (but
               limited, in the case of legal fees and expenses, to tile actual reasonable and documented out-of-pocket fees,
               disbursements and other charges of one firm of outside counsel to all such Persons taken as a whole and, if
               necessary, of one local counsel in any relevant jurisdiction to all such Persons, taken as a whole in connection
               with the syndication and distribution (including via the Internet or through a service such as Intralinks) of the
               Credit Facilities, the preparation, execution, delivery and administration of the Loan Documents and any related
               documentation, including in connection with any amendment, modification or waiver of any provision of any
               Loan Document (whether or not the transactions contemplated thereby are consummated, but only to the extent
               tile preparation of any such amendment, modification or waiver was requested by the Top Borrower and except
               as othe1wise provided in a separate writing between the Top Borrower and the Administrative Agent) and (ii)
               all reasonable and documented out-of-pocket expenses incurred by the Administrative Agent and the Lenders or
               any of their respective Affiliates (but limited, in the case of legal fees and expenses, to the actual reasonable and
               documented out-of-pocket fees, disbursements and other charges of one firm of outside counsel to all such
               Persons taken as a whole and, if necessary, of one local counsel in any relevant jurisdiction to all such Persons,
               taken as a whole) in connection with the enforcement, collection or protection of their respective rights in
               connection with the Loan Documents, including their respective rights under this Section, or in connection with
               the Loans made hereunder. Except to tile extent required to be paid on the C losing Date, all amounts due under
               this paragraph (a) shall be payable by any Borrower within 30 days of receipt by the Top Borrower of an invoice
               setting forth such expenses in reasonable detail, together with backup documentation supporting the relevant
               reimbursement request. Without limiting the generality of the foregoing, the Borrowers will reimburse tlie
               Administrative Agent and the Lenders for all reasonable and documented out-of-pocket fees and expenses
               incurred by the Specified Lender Advisors prior to, on or after the Closing Date in connection with their
               representation of certain of the Ad Hoc Group of Tenn Lenders under this Agreement, such out-of-pocket fees
               and expenses shall constitute Obligations under, and are reimbursable pursuant to, this Section 9.03(a).

                        (b)       The Borrowers shall jointly and severally indemnify the Administrative Agent and each Lender,
               and each Related Party of any of the foregoing Persons (each such Person being called an "Indemnitee") against,
               and hold each Indemnitee harmless from, any and all losses, claims, damages and liabilities (but limited, in the
               case of legal fees and expenses, to the actual reasonable and documented out-of-pocket fees, disbursements and
               other charges of one counsel to all Indemnitees taken as a whole and, if reasonably necessary, one local counsel
               in any relevant jurisdiction to all Indemnitees, taken as a whole and solely in the case of an actual or perceived
               conflict of interest, (x) one additional counsel to all affected Jndemnitees, taken as a whole, and (y) one additional
               local counsel to all affected Indemnitees, taken as a whole), incurred by or asserted against any Indemnitee
               arising out of, in connection with, or as a result of (i) the execution or delivery of the Loan Documents or any
               agreement or instrument contemplated thereby, the performance by the parties hereto of their respective
               obligations thereunder or the consummation of the Transactions or any other transactions contemplated hereby




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               or thereby and/or the enforceme nt of the Loan Documents, (ii) the use of the proceeds of the Loan, (iii) any
               actual or alleged Release or prese nce of Hazardous Mate rials on, at, unde r or from any property currently or
               formerly owned or operated by the Top Borrower, any of its Restricted Subsidiaries or any other Loan Party or
               any Environmental Liability related to the Top Borrower, any of its Restricted Subsidiaries or any other Loan
               Party and/or (iv) any actual or prospective claim, litigation, investigation or proceeding relating to any of the
               foregoing, whe ther based on contract, tort or any other theory and regardless of whe ther any Indemnitee is a
               party the re to (and regardless of whethe r such matter is initiated by or against a third party or by or against the
               Top Borrowe r, any othe r Loan Party or any of their respective Affiliates), including in connection with any
               action, litigation or other dispute or proceeding related to the Exchange Transactions and any of the other
               Transactions (including any action, litigation or other dispute or proceeding related to any temporary restraining
               order, preliminary injunction or any similar request for relief); provided that such indemnity shall not (i) (A) as
               to any Indemnitee, be available to the e xtent that any such loss, claim, damage, or liability is determined by a
               final and non-appealable judgment of a court of compete nt jurisdiction (or docume nted in any se ttlement
               agreement referred to below) to have resulted from the gross negligence, bad faith or w illful misconduct of such
               Inde mnitee or (B) as to any Indemnitee (other than the Administrative Agent), be available to the e xtent such
               judgment finds (or any such settlement agreement acknowledges) that any such loss, claim, damage, or liability
               has resulted from such Person' s material breach of the Loan Documents (excluding, in each case, for the
               avoidance of doubt, any Indemnitee' s participation in the Exchange Transactions and the Transactions) or (ii) as
               to any Indemnitee, be available to the exte nt that any such loss, claim, damage, or liability arises out of any
               claim, litigation, investigation or proceeding brought by such Indemnitee agains t anothe r lndemnitee (other than
               any claim, litigation, investigation or proceeding that is brought by or against the current or former
               Administrative Agent, acting in its capacity as the current or former Administrative Agent) that does not involve
               any act or omission of Holdings, the Top Borrower or any of its subsidiaries. Each Indemnitee shall be obligated
               to refund or return any and all amounts paid by any Borrower pursuant to this Section 9.03(b) to such Indemnitee
               for any fees, e xpenses, or damages to the extent such Indemnitee is not entitled to payment the reof in accordance
               with the terms hereof. All amounts due under this paragraph (b) shall be payable by any Borrower w ithin 30
               days (x) after receipt by the Top Borrower of a writte n demand therefor, in the case of any indemnification
               obligations and (y) in the case ofreimburseme nt of costs and expenses, after receipt by the Top Borrower of an
               invoice setting forth such costs and expenses in reasonable detail, together with backup documentation
               supporting the relevant reimbursement request. This Section 9.03(b) shall not apply to Taxes othe r than any
               Taxes that represent losses, claims, damages or liabilities in respect of a non-Tax claim.

                        (c)      The Top Borrower shall not be liable for any settleme nt of any proceeding effected without the
               written consent of the Top Borrower (which consent shall not be unreasonably w ithheld, delayed or conditioned),
               but if any proceeding is settled w ith the ,;vritten consent of the Top Borrower, or if there is a final judgment
               against any lnde mnitee in any such proceeding, the Borrowers agree to indemnify and hold harmless each
               lnde mnitee to the extent and in the manner set forth above. The Top Borrower shall not, without the prior \'Vfitten
               consent of the affected lndemnitee (which consent shall not be unreasonably withheld, conditioned or delayed),
               effect any settlement of any pending or threatened proceeding in respect of which indemnity could have been
               sought hereunder by such lndemnitee unless (i) such settlement includes an unconditional release of such
               Indemnitee from all liability or claims that are the subject matter of such proceeding and (ii) such settlement
               does not include any state ment as to any admission of fault or culpability.

                         Section 9 .04.    Waiver of Claim. To the extent pe rmitted by applicable Requirements of Law, no
               party to this Agreement nor any Secured Party shall assert, and each he re by waives, any claim against any othe r
               party hereto, any Loan Party and/or any Related Party of any thereof, on any theory of liability , for special,
               indirect, consequential or punitive damages (as opposed to direct or actual damages) arising out of, in connection
               with, or as a result of, this Agreement or any agreement or instrument conte mplated hereby , the Transactions,
               any Loan or the use of the proceeds thereof, except, in the case of any claim by any lndemnitee against any
               Borrower, to the exte nt such damages would otherwise be subject to indemnification pursuant to, and m
               accordance with, the terms of Section 9.03.




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                       Section 9.05.     Successors and Assigns.

                        (a)      The provisions of this Agreement shall be binding upon and inure to the benefit of the parties
               hereto and their respective successors and permitted assigns; provided that (i) except as provided under
               Section 6.07, the Top Borrower may not assign or otherwise transfer any of its rights or obligations hereunder
               without the prior written consent of each Lender (and any attempted assignment or transfer by the Top Borrower
               without such consent shall be null and void) and (ii) no Lender may assign or otherwise tr ansfer its rights or
               obligations hereunder except in accordance with the terms of this Section (any attempted assignment or transfer
               not complying with the terms of this Section shall be null and void and, with respect to any attempted assignment
               or transfer to any Disqualified Institution, subject to Section 9.05(0). Nothing in this Agreement, expressed or
               implied, shall be construed to confer upon any Person (other than the parties hereto, their respective successors
               and permitted assigns, to the extent provided in paragraph (e) of this Section, Participants and, to the extent
               expressly contemplated hereby, the Related Parties of each of the Administrative Agent and the Lenders) any
               legal or equitable right, remedy or claim under or by reason of this Agreement.

                        (b)     (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may assign to one
               or more Eligible Assignees all or a portion of its rights and obligations under this Agreement (including all or a
               portion of any Loan) with the prior written consent of:

                                          (A)      the Top Borrower (such consent not to be unreasonably withheld, conditioned
                                or delayed); provided, that (x) the Top Borrower shall be deemed to have consented to any
                                assignment of Term Loans (other than any such assignment to a Disqualified Institution or a
                                natural person) unless it has objected thereto by written notice to the Administrative Agent
                                within 15 Business Days after receipt of written notice thereof, (y) the consent of the Top
                                Borrower shall not be required for any assignment of Term Loans or New Money Term Loan
                                Commitments (I) to any Term Lender or any Affiliate of any Term Lender or an Approved
                                Fund or (2) at any time when an Event of Default under Section 7.0l{a) or Sections 7.0l{f) or
                                (g} (with respect to the Top Borrower) exists and (z) the Top Borrower may withhold its consent
                                to any assignment to any Person (other than a Bona Fide Debt Fund) that is not a Disqualified
                                Institution but is known by the Top Borrower to be an Affiliate of a Disqualified Institution
                                regardless of whether such person is identifiable as an Affiliate of a Disqualified Institution on
                                the basis of such Affiliate' s name; and

                                         (B)      the Adminis trative Agent (such consent not to be unreasonably withheld,
                                conditioned or delayed); provided, that no consent of the Administrative Agent shall be
                                required for any assignment to another Lender, any Affiliate of a Lender or any Approved Fund;
                                and

                                (ii)     Assignments shall be subject to the following additional conditions:

                                        (A)     except in the case of any assignment to another Lender, any Affiliate of any
                                Lender or any Approved Fund or any assignme nt of the entire remaining amount of the relevant
                                assigning Lender' s Loans or Commitments of any Class, the principal amount of Loans or
                                Commitments of the assigning Lender subject to the relevant assignment (determined as of the
                                date on which the Assignment Agreement with respect to such assignment is delivered to the
                                Administrative Agent and determined on an aggregate basis in the event of concurrent
                                assignments to Related Funds or by Related Funds) shall not be less than (x) $ 1,000,000, unless
                                the Top Borrower and the Administrative Agent other.vise consent;

                                          (B)     any partial assignment shall be made as an assignment of a proportionate part
                                of all the relevant assigning Lender' s rights and obligations under this Agreement;




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                                    (C)     the parties to each assignment shall execute and deliver to the Administrative
                           Agent an Assignment Agreement via an electronic settlement system acceptable to the
                           Administrative Agent (or, if previously agreed with the Administrative Agent, manually), and
                           shall pay to the Administrative Agent a processing and recordation fee of $3,500 (which fee
                           may be waived or reduced in the sole discretion of the Administrative Agent); and

                                   (D)      the relevant Eligible Assignee, if it is not a Lender, shall deliver on or prior to
                           the effective date of such assignment, to the Administrative Agent (1) an Administrative
                           Questionnaire and (2) any Internal Revenue Service form required under Section 2.17.

                            (iii)    Subject to the acceptance and recording thereof pursuant to paragraph (b)(iv) of this
                   Section, from and after the effective date specified in any Assignment Agreement, the Eligible Assignee
                   thereunder shall be a party hereto and, to the extent of the interest assigned pursuant to such Assignment
                   Agreement, have the rights and obligations of a Lender under this Agreement, and the assigning Lender
                   thereunder shall, to the extent of the interest assigned by such Assignment Agreement, be re leased from
                   its obligations under this Agreement (and, in the case of an Assignment Agreement covering all of the
                   assigning Lender's rights and obligations under this Agreement, such Lender shall cease to be a party
                   hereto but shall continue to be (A) entitled to the benefits of Sections 2.15, 2.16, 2.17 and 9.03 with
                   respect to events occurring on or prior to the effective date of such assignment and (B) subject to its
                   obligations thereunder and under Section 9.13). If any assignment by any Lender holding any
                   Promissory Note is made after the issuance of such Promissory Note, the assigning Lender shall, upon
                   the effectiveness of such assignment or as promptly thereafter as practicable, surrender such Promissory
                   Note to the Administrative Agent for cancellation, and, following such cancellation, if requested by
                   either the assignee or the assigning Lender, the Borrowers shall issue and deliver a new Promissory
                   Note to such assignee and/or to such assigning Lender, with appropriate insertions, to reflect the new
                   commitments and/or outstanding Loans of the assignee and/or the assigning Lender.

                            (iv)     The Administrative Agent, acting for this purpose as an agent of the Borrowers, shall
                   maintain at one of its offices in the United States a copy of each Assignment Agreement de livered to it
                   and a register for the recordation of the names and addresses of the Lenders and their respective
                   successors and assigns, and the commitment of, and principal amount of and interest on the Loans owing
                   to, each Lender pursuant to the terms hereof from time to time (the "Register"). The entries in the
                   Register shall be conclusive, absent manifest error, and the Borrowers, the Administrative Agent and
                   the Lenders shall treat each Person whose name is recorded in the Register pursuant to the terms hereof
                   as a Lender hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. The
                   Register shall be available for inspection by the Top Borrower and each Lender (but only as to its own
                   holdings), at any reasonable time and from time to time upon reasonable prior notice.

                            (v)      Upon its receipt of a duly completed Assignment Agreement executed by an assigning
                   Lender and an Eligible Assignee, the Eligible Assignee' s completed Administrative Questionnaire and
                   any tax certification required by Section 9.05(b)(ii)(D)(2) (unless the assignee is already a Lender
                   hereunder), the processing and recordation fee referred to in paragraph (b) of this Section, if applicable,
                   and any written consent to the relevant assignment required by paragraph (b) of this Section, the
                   Administrative Agent shall promptly accept such Assignment Agreement and record the information
                   contained therein in the Register. No assignment shall be effective for purposes of this Agreement
                   unless it has been recorded in the Register as provided in this paragraph.

                            (vi)    By executing and delivering an Assignment Agreement, the assigning Lender and the
                   Eligible Assignee thereunder shall be deemed to confirm and agree with each other and the other parties
                   hereto as follows: (A) the assigning Lender warrants that it is the legal and beneficial owner of the
                   interest being assigned thereby free and clear of any adverse claim and that the amount of its
                   commitments, and the outstanding balances of its Loans, in each case without giving effect to any
                   assignment thereof which has not become effective, are as set forth in such Assignment Agreement, (B)




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                        except as set forth in clause (A) above, the assigning Lender makes no representation or warranty and
                        assumes no responsibility with respect to any statement, warranty or representation made in or in
                        connection with this Agreement, or the execution, legality, validity, enforceability, genuineness,
                        sufficiency or value of this Agreement, any other Loan Document or any other instrument or document
                        furnished pursuant hereto, or the financial condition of the Top Borrower or any Restricted Subsidiary
                        or the performance or observance by the Top Borrower or any Restricted Subsidiary of any of its
                        obligations under this Agreement, any other Loan Document or any other instrument or document
                        furnished pursuant hereto; (C) the assignee represents and warrants that it is an Eligible Assignee and
                        that it is not a Disqualified Institution, legally authorized to enter into such Assignment Agreement; (D)
                        the assignee confirms that it has received a copy of this Agreement and each applicable Intercreditor
                        Agreement, together with copies of the financial statements referred to in Section 4 .0 He) or the most
                        recent financial statements delivered pursuant to Section 5.01 and such other documents and
                        infonuation as it has deemed appropriate to make its own credit analysis and decision to enter into such
                        Assignment Agreement; (E) the assignee will independently and without reliance upon the
                        Administrative Agent, the assigning Lender or any other Lender and based on such documents and
                        information as it deems appropriate at the time, continue to make its own credit decisions in taking or
                        not taking action under this Agreement; (F) the assignee appoints and authorizes the Administrative
                        Agent to take such action as agent on its behalf and to exercise such powers under this Agreement as
                        are delegated to the Administrative Agent, by the terms hereof, together with such powers as are
                        reasonably incidental thereto; and (G) the assignee agrees that it will perform in accordance with their
                        terms all the obligations w hich by the tenns of this Agreement are required to be performed by it as a
                        Lender.

                        (c)      (i) Any Lender may, without the consent of the Top Borrower, the Administrative Agent or any
               other Lender, sell participations to any bank or other entity (other than to any Disqualified Institution, any natural
               person or the Top Borrower or any of its Affiliates) (a "Participant") in all or a portion of such Lender's rights
               and obligations under this Agreement (including all or a portion of its commitments and the Loans owing to it);
               provided that (A) such Lender' s obligations under this Agreement shall remain unchanged, (B) such Lender
               shall remain solely responsible to the other parties hereto for the perfonuance of such obligations and (C) the
               Borrowers, the Administrative Agent and the other Lenders shall continue to deal solely and directly with such
               Lender in connection with such Lender's rights and obligations under this Agreement. Any agreement or
               instrument pursuant to which any Lender sells such a participation shall provide that such Lender shall retain the
               sole right to enforce this Agreement and to approve any amendment, modification or waiver of any provision of
               this Agreement: provided that such agreement or instrument may provide that such Lender will not, without the
               consent of the relevant Participant, agree to any amendment, modification or waiver described in (x) clause (A)
               of the first proviso to Section 9.02(b) that directly and adversely affects the Loans or commitments in which
               such Participant has an interest and (y) clauses (B)(l), ill or ill of the first proviso to Section 9.02(b). Subject
               to paragraph (c)(ii) of this Section, the Borrowers agree that each Participant shall be entitled to the benefits of
               Sections 2.15, 2.16 and 2.17 (subject to the limitations and requirements of such Sections and Section 2.19) to
               the same extent as if it were a Lender and had acquired its interest by assignment pursuant to paragraph (b) of
               this Section and it being understood that the documentation required under Section 2.17(£) shall be delivered to
               the participating Lender, and if additional amounts are required to be paid pursuant to Section 2.l 7(a) or
               Section 2.17(c). to the Top Borrower and the Administrative Agent). To the extent permitted by applicable
               Requirements of Law, each Participant also shall be entitled to the benefits of Section 9 .09 as though it were a
               Lender; provided that such Participant shall be subject to Section 2.18(c) as though it were a Lender.

                                 (ii)     No Participant shall be entitled to receive any greater payment under Section 2.15, 2. 16
                        or 2.17 than the participating Lender would have been entitled to receive with respect to the participation
                        sold to such Participant (except to the extent such entitlement to receive a greater payment results from
                        a change in Requirements of Law that occurs after the Participant acquired the applicable participation),
                        unless the sale of the participation to such Participant is made with the Top Borrower's prior written
                        consent (in its sole discretion), expressly acknowledging that such Participant' s entitlement to benefits




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                       under Sections 2.15, 2.16 and 2.17 is not limited to what the participating Lender would have been
                       entitled to receive absent the participation.

                        Each Lender that sells a participation shall, acting solely for this purpose as a non-fiduciary agent of the
               Borrowers, maintain a register on which it enters the name and address of each Participant and their respective
               successors and registered assigns, and the principal and interest amounts of each Participant's interest in the
               Loans or other obligations under the Loan Documents (a "Participant Register"); provided that no Lender shall
               have any obligation to disclose all or any portion of any Participant Register (including the identity of any
               Participant or any infonnation relating to any Participant's interest in any Commitment, Loan or any other
               obligation under any Loan Document) to any Person except to the extent that such disclosure is necessary to
               establish that such Commitment, Loan or other obligation is in registered form under Section 5f.l 03-l(c) or
               Proposed Section l.163-5(b) (and any successor sections) of the U.S. Treasury Regulations. The entries in the
               Participant Register shall be conclusive absent manifest error, and each Lender shall treat each Person whose
               name is recorded in the Participant Register as the owner of such participation for all purposes of this Agreement
               notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative Agent (in its capacity
               as Administrative Agent) shall have no responsibility for maintaining a Participant Register.

                        (d)       (i) Any Lender may at any time pledge or assign a security interest in all or any portion of its
               rights under this Agreement (other than to any Disqualified Institution or any natural person) to secure
               obligations of such Lender, including without limitation any pledge or assignment to secure obligations to any
               Federal Reserve Bank or other central bank having jurisdiction over such Lender, and this Section 9.05 shall not
               apply to any such pledge or assignment of a security interest; provided that no such pledge or assignment of a
               security interest shall release any Lender from any of its obligations hereunder or substitute any such pledgee or
               assignee for such Lender as a party hereto.

                                (ii)     No Lender, acting in its capacity as a Lender (or any Affiliate or other Person acting
                       on such Lender' s behalf) may at any time enter into a total return swap, total rate ofreturn swap, credit
                       default swap or other derivative instrument under which any Secured Obligation is a sole reference
                       obligation (or a reference obligation constituting at least 5% of the weight in any bucket of such
                       derivative instruments) (any such swap or other derivative instrument, an " Obligations Derivative
                       Instrument") with any counterparty that is a Disqualified Institution: provided that, for the avoidance of
                       doubt, nothing in this clause shall prohibit the activities of a Lender (or any Affiliate or other Person
                       acting on such Lender' s behalf) that occur on the public side of an infonnation barrier unless such
                       Person is acting in its capacity as a Lender or on behalf of any Person which is acting in its capacity as
                       Lender or on behalf of a Lender; provided further that, (x) notwithstanding the foregoing, in no event
                       shall Confidential Information be shared with any counterparty to an Obligations Derivatives Instrument
                       that is a Disqualified Institution and each Lender shall be required to comply with the provisions of
                       Section 9.13 in connection with any transactions involving Obligations Derivative Instruments and (y)
                       in the event of any Obligations Derivative Instrument in violation of the foregoing, the Top Borrower
                       has the right to require the unwind of the applicable Obligations Derivative Instrument at the sole cost
                       and expense of the applicable Lender.

                        (e)      Notwithstanding anything to the contrary contained herein, any Lender (a " Granting Lender")
               may grant to a special purpose funding vehicle (an " SPC"), identified as such in writing from time to time by
               the Granting Lender to the Administrative Agent and the Top Borrower, the option to provide to any Borrower
               all or any part of any Loan that such Granting Lender would othen .vise be obligated to make to such Borrower
               pursuant to this Agreement; provided that (i) nothing herein shall constitu te a commitment by any SPC to make
               any Loan and (ii) if an SPC elects not to exercise such option or othen vise fails to provide all or any part of such
               Loan, the Granting Lender shall be obligated to make such Loan pursuant to the terms hereof. The making of
               any Loan by an SPC hereunder shall utilize the Commitment of the Granting Lender to the same extent, and as
               if, such Loan were made by such Granting Lender. Each party hereto hereby agrees that (i) neither the grant to
               any SPC nor the exercise by any SPC of such option shall increase the costs or expenses or otherwise increase
               or change the obligations of such Borrower under this Agreement (including its obligations under Section 2.15,




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               2.16 or 2.17) and no SPC shall be entitled to any greater amount under Section 2.15, 2.16 or 2.17 or any other
               provision of this Agreement or any other Loan Document that the Granting Lender would have been entitled to
               receive, unless the grant to such SPC is made with the prior written consent of the Top Borrower (in its sole
               discretion), expressly acknowledging that such SPC's entitlement to benefits under Sections 2.15, 2.16 and 2.17
               is not limited to what the Granting Lender would have been entitled to receive absent the grant to the SPC, (ii)
               no SPC shall be liable for any indemnity or similar payment obligation under this Agreement (all liability for
               which shall remain with the Granting Lender) and (iii) the Granting Lender shall for all purposes including
               approval of any amendment, waiver or other modification of any provis ion of the Loan Documents, remain the
               Lender of record hereunder. 1n furtherance of the foregoing, each party hereto hereby agrees (which agreement
               shall survive the termination of this Agreement) that, prior to the date that is one year and one day after the
               payment in full of all outstanding commercial paper or other senior indebtedness of any SPC, it will not institute
               against, or join any other Person in instituting against, such SPC any bankmptcy, reorganization, arrangement,
               insolvency or liquidation proceedings under the Requirements of Law of the U.S. or any State thereof; provided
               that (i) such SPC' s Granting Lender is in compliance in all material respects with its obligations to the Borrowers
               here under and (ii) each Lender designating any SPC hereby agrees to indemnify, save and hold harmless each
               other party hereto for any loss, cost, damage or expense arising out of its inability to institute such a proceeding
               against such SPC during such period of forbearance. In addition, notwithstanding anything to the contrary
               contained in this Section 9.05, any SPC may (i) with notice to, but without the prior written consent of, any
               Borrower or the Administrative Agent and without paying any processing fee therefor, assign all or a portion of
               its interests in any Loan to the Granting Lender and ( ii) disclose on a confidential basis any non-public
               infonuation relating to its Loans to any rating agency, commercial paper dealer or provider of any surety,
               guaranty or credit or liquidity enhancement to such SPC.

                         (f)     (i) Any assignment or participation or entry into an Obligations Derivative Instrument by a
               Lender (A) to or with any Disqualified Institution or (B) without the Top Borrower' s consent to the extent the
               Top Borrower' s consent is required under this Section 9.05 (and not deemed to have been given pursuant to
               Section 9.05(b)(i)(A)), in each case, to any Person shall be null and void, and the Top Borrower shall be entitled
               to seek specific performance to unwind any such assignment or participation and/or specifically enforce this
               Section 9.05(f) in addition to injunctive relief (without posting a bond or presenting evidence of irreparable
               hanu) or any other remedy available to any Borrower at law or in equity; it being understood and agreed that
               Holdings, the Top Borrower and its subsidiaries will suffer irreparable hann if any Lender breaches any
               obligation under this Section 9.05 as it relates to any assignment, participation or pledge of any Loan or
               Commitment to any Person to whom the Top Borrower' s consent is required but not obtained. Nothing in this
               Section 9.05(f) shall be deemed to prejudice any right or remedy that Holdings or the Top Borrower may
               otherwise have at law or equity. Upon the request of any Lender, the Administrative Agent shall make the list
               of Disqualified Institutions available to such Lender, and such Lender may provide the list of Disqualified
               Institutions to any potential assib,nee or participant or counterparty to any Obligations Derivative Instrument on
               a confidential basis in accordance with Section 9.13 solely for the purpose of penuitting such Person to verify
               whether such Person (or any Affiliate thereof) constitutes a Disqualified Institution.

                                  (ii)    If any assignment or participation under this Section 9.05 is made to any Disqualified
                        Institution and/or any Affiliate of any Disqualified Institution (other than any Bona Fide Debt Fund)
                        without the Top Borrower's prior written consent (any such person, a "Disqualified Person"), then the
                        Top Borrower may, at its sole expense and effort, upon notice to the applicable Disqualified Person and
                        the Administrative Agent, (A) tenuinate any Commitment of such Disqualified Person and repay all
                        obligations of each Borrower owing to such Disqualified Person, (B) in the case of any outstanding
                        Term Loans, held by such Disqualified Person, purchase such Tenn Loans by paying the lesser of (x)
                        par and (y) the amount that such Disqualified Person paid to acquire such Term Loans, plus accrued
                        interest thereon, accrued fees and all other amounts payable to it hereunder and/or (C) require such
                        Disqualified Person to assign, without recourse (in accordance with and subject to the restrictions
                        contained in this Section 9.05). all of its interests, rights and obligations under this Agreement to one or
                        more Eligible Assignees; provided that (I) in the case of clause (B). the applicable Disqualified Person
                        has received payment of an amount equal to the lesser of (1) par and (2) the amount that such




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                        Disqualified Person paid for the applicable Loans, plus accrued interest thereon, accrued fees and all
                        other amounts payable to it hereunder, from any Borrower, (II) in the case of clauses (A) and ill}, the
                        relevant Borrower shall be liable to the relevant Disqualified Person under Section 2.16 if any LIBO
                        Rate Loan owing to such Disqualified Person is repaid or purchased other than on the last day of the
                        lnterest Period relating thereto, (Ill) [reserved] and (IV) in no event shall such Disqualified Person be
                        entitled to receive amounts set forth iJ1 Section 2.13(d). Further, any Disqualified Person identified by
                        the Top Borrower to the Administrative Agent (A) shall not be permitted to (x) receive infomrntion or
                        reporting provided by any Loan Party , the Administrative Agent or any Lender and/or (y) attend and/or
                        participate in conference calls or meetings attended solely by the Lenders and the Administrative Agent,
                        (B) (x) shall not for purposes of determining whether the Required Lenders, the majority of Lenders
                        under any Class, each Lender or each affected Lender have (i) consented (or not consented) to any
                        amendment, modification, waiver, consent or other action with respect to any of the terms of any Loan
                        Document or any departure by any Loan Party therefrom, (ii) otherwise acted on any matter related to
                        any Loan Document, or (iii) directed or required the Administrative Agent or any Lender to undertake
                        any action (or refrain from taking any action) with respect to or under any Loan Document, have a right
                        to consent (or not consent), otherwise act or direct or require the Administrative Agent or any Lender
                        to take (or refrain from taking) any such action; it being understood that all Loans held by any
                        Disqualified Person shall be deemed to be not outstanding for all purposes of calculating whether the
                        Required Lenders, majority Lenders under any Class, each Lender or each affected Lender have taken
                        any action, and (y) shall be deemed to vote in the same proportion as Lenders that are not Disqualified
                        Persons in any proceeding under any De btor Relief Law commenced by or against the Top Borrower or
                        any other Loan Party and (C) shall not be entitled to receive the benefits of Section 9.03. For the sake
                        of clarity, the provisions in this Section 9.05(£) shall not apply to any Person that is an assignee of any
                        Disqualified Person, if such assignee is not a Disqualified Person.

                                (iii)   Notwithstanding anything to the contrary herein, each of Holdings, each other Loan
                       Party and the Lenders acknowledges and agrees that the Administrative Agent shall not have any
                       responsibility or obligation to determine whether any Lender or potential Lender is a Disqualified
                       Person and the Administrative Agent shall have no liabilities with respect to any assignment or
                       participation made to a Disqualified Person.

                         Section 9 .06.  Survival. All covenants, agreements, representations and warranties made by the Loan
               Parties in the Loan Documents and in the certificates or other instruments delivered in connection with or
               pursuant to this Agreement or any other Loan Document shall be considered to have been relied upon by the
               other parties hereto and shall survive the execution and delivery of the Loan Documents and the making of any
               Loan regardless of any investigation made by any such other party or on its behalf and notwithstanding that the
               Administrative Agent may have had notice or knowledge of any Default or Event of Default or incorrect
               representation or warranty at the time any credit is extended hereunder, and shall continue in full force and effect
               until the Termination Date. The provisions of Sections 2.15, 2.16, 2.17, 9.03 and 9.13 and Article 8 shall survive
               and remain in full force and effect regardless of the consummation of the transactions contemplated hereby, the
               repayment of the Loans, the occurrence of the Termination Date or the termination of this Agreement or any
               provision hereof but in each case, subject to the limitations set forth in this Agreement.

                        Section 9.07.      Counterparts: lntegration: Effectiveness. This Agreement may be executed in
               counterparts (and by different parties hereto on different counterparts), each of which shall constitute an original,
               but all of which w hen taken together shall constitute a single contract. This A&>reement, the other Loan
               Documents, each lntercreditor Agreement and the Fee Letters constitute the entire agreement among the parties
               relating to the subject matter hereof and supersede any and all previous agreements and understandings, oral or
               written, relating to the subject matter hereof. This Agreement shall become effective when it has been executed
               by Holdings, the Borrowers and the Administrative Agent and when the Administrative Agent has received
               counterparts hereof which, w hen taken together, bear the signatures of each of the other parties hereto, and
               thereafter shall be binding upon and inure to the benefit of the parties hereto and their respective successors and
               permitted assigns. Delivery of an executed counterpart of a signature page to this Agreement by facsimile or by




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               email as a " .pdf' or ".tif' attachment shall be effective as delivery of a manually executed counterpart of this
               Agreement

                         Section 9.08.    Severabilitv. To the extent permitted by applicable Requirements of Law, any
               provision of any Loan Docume nt held to be invalid, illegal or unenforceable in any jurisdiction shall, as to such
               jurisdiction, be ineffective to the extent of such invalidity, illegality or unenforceability without affecting the
               validity , legality and enforceability of the re maining provisions thereof; and the invalidity of a particular
               provision in a particular jurisdiction shall not invalidate such provision in any other jurisdiction.

                         Section 9.09.    RightofSetoff. At any time when an Event ofDefaull exists, upon the written consent
               of the Administrative Agent, each Lender is hereby authorized at any time and from time to time, to the fullest
               extent permitted by applicable Requirements of Law, to set off and apply any and all deposits (general or special,
               time or demand, provisional or final) at any time held and other obligations (in any currency) at any time owing
               by the Administrative Agent or such Lender to or for the credit or the account of any Loan Party against any and
               all of the Secured Obligations held by the Administrative Agent or such Lender, irrespective of whether or not
               the Administrative Agent or such Lender shall have made any demand unde r the Loan Documents and although
               such obligations may be continge nt or unmatured or are owed to a branch or office of such Lender different than
               the branch or office holding such deposit or obligation on such Indebtedness. Any applicable Lender shall
               promptly notify the Top Borrower and the Administrative Agent of such set-off or application: provided that any
               failure to give or any delay in giving such notice shall not affect the validity of any such set-off or application
               under this Section. The rights of each Lender and the Administrative Agent under this Section are in addition
               to other rights and remedies (including other rights of setoft) which such Lender or the Administrative Agent
               may have.

                        Section 9. 10.   Governing Law: Jurisdiction: Consent to Service of Process.

                     (a)   THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS (OTHER THAN AS
               EXPRESSLY SET FORTH IN ANY OTHER LOAN DOCUMENT) AND ANY CLAIM, CONTROVERSY
               OR DISPUTE ARISING UNDER OR RELATED TO THTS AGREEMENT AND THE OTHER LOAN
               DOCUMENTS (OTHER THAN AS EXPRESSLY SET FORTH 1N ANY OTHER LOAN DOCUMENT),
               SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE
               LAWS OF THE STATE OF NEW YORK.

                     (b)   EACH PARTY HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY
               SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY U.S.
               FEDERAL OR NEW YORK STATE COURT SITTING IN THE BOROUGH OF MANHATTAN, IN THE
               CITY OF NEW YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT, ACTION OR
               PROCEEDING ARISING OUT OF OR RELATING TO ANY LOAN DOCUMENT AND AGREES THAT
               ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING SHALL (EXCEPT AS
               PERMITTED BELOW) BE HEARD AND DETERMINED IN SUCH NEW YORK ST ATE OR, TO THE
               EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, FEDERAL COURT. EACH
               PARTY HERETO AGREES THAT SERVICE OF ANY PROCESS, SUMMONS, NOTICE OR DOCUMENT
               BY REGISTERED MAIL ADDRESSED TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF
               PROCESS AGAINST SUCH PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY
               SUCH COURT. EACH PARTY HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION
               OR PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE JUDGMENT
               OR IN ANY OTHER MANNER PROVIDED BY APPLICABLE REQUIREMENTS OF LAW. EACH
               PARTY HERETO AGREES THAT THE ADMINISTRATIVE AGENT RETAINS THE RIGHT T O BRING
               PROCEEDINGS AGAINST ANY LOAN PARTY IN THE COURTS OF ANY OTHER JURISDICTION
               SOLELY IN CONNECTION WITH THE EXERCISE OF ITS RIGHTS UNDER ANY COLLATERAL
               DOCUMENT.




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                      (c)   EACH PARTY HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY
               WAIVES, TO THE FULLEST EXTENT IT MAY LEGALLY AND EFFECTIVELY DO SO, ANY
               OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY
               SUIT, ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY
               OTHER LOAN DOCUMENT IN ANY COURT REFERRED TO IN PARAGRAPH (B) OF THIS SECTION.
               EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED
               BY APPLICABLE REQUIREMENTS OF LAW, ANY CLAIM OR DEFENSE OF AN INCONVENIENT
               FORUM TO THE MAINTENANCE OF SUCH ACTION, SUIT OR PROCEEDING IN ANY SUCH COURT.

                     (d)   TO THE EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, EACH
               PARTY HERETO HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF ANY AND ALL
               PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS MAY BE MADE BY
               REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF MAIL) DIRECTED TO IT AT ITS
               ADDRESS FOR NOTICES AS PROVIDED FOR IN SECTION 9.01. EACH PARTY HERETO HEREBY
               WAIVES ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
               WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
               COMMENCED HEREUNDER OR UNDER ANY LOAN DOCUMENT THAT SERVICE OF PROCESS
               WAS INVALID AND INEFFECTIVE. NOTIDNG IN TIDS AGREEMENT OR ANY OTHER LOAN
               DOCUMENT WILL AFFECT THE RIGHT OF ANY PARTY TO THIS AGREEMENT TO SERVE
               PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE REQUIREMENTS OF LAW.

                      Section 9.11. Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCABLY
               WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, ANY
               RIGHT IT MAY HA VE TO A TRIAL BY JURY IN ANY SUIT, ACTION, PROCEEDING OR
               COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY) DIRECTLY
               OR INDIRECTLY ARISING OUT OF OR RELATING TO TIDS AGREEMENT, ANY OTHER LOAN
               DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY. EACH PARTY
               HERETO (a) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
               PARTY HERETO HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY
               WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING W AIVERAND
               (b) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HA VE BEEN INDUCED TO
               ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
               CERTIFICATIONS IN THIS SECTION.

                        Section 9. 12.    Headings. Article and Section headings and the Table of Contents used herein are for
               convenience of reference only, are not part of this Agreement and shall not affect the construction of, or be taken
               into consideration in interpreting, this Agreement.

                        Section 9. 13.    Confidentiality. Each of the Administrative Agent and each Lender agrees (and each
               Lender agrees to cause its SPC, if any) to maintain the confidentiality of the Confidential Information (as defined
               below), except that Confidential Information may be disclosed (a) to its and its Affiliates' directors, officers,
               managers, employees, independent auditors, or other experts and advisors, including accountants, legal counsel
               and other advisors (collectively, the "Representatives") on a "need to know" basis solely in connection with the
               transactions contemplated hereby and who are informed of the confidential nature of the Confidential
               lnfonnation and are or have been advised of their obligation to keep the Confidential lnformation of this type
               confidential; provided that such Person shall be responsible for its Affiliates' and their Representatives'
               compliance with this paragraph; provided, further, that unless the Top Borrower otherwise consents, no such
               disclosure shall be made by the Administrative Agent, any Lender or any Affiliate or Representative thereof to
               any Affiliate or Representative of the Administrative Agent or any Lender that is a Disqualified Institution, (b)
               to the extent compelled by legal process in, or reasonably necessary to, the defense of such legal, judicial or
               administrative proceeding, in any legal, judicial or administrative proceeding or otherwise as required by
               applicable Requirements of Law (in which case such Person shall (i) to the extent permitted by applicable
               Requirements of Law, inform the Top Borrower promptly in advance thereof and (ii) use commercially




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               reasonable efforts to ensure that any such infonuation so disclosed is accorded confidential treatment), (c) upon
               the demand or request of any regulatory or governmental authority (including any self-regulatory body)
               purporting to have jurisdiction over such Person or its Affiliates (in which case such Person shall, except with
               respect to any audit or examination conducted by bank accountants or any Governmental Authority or regulatory
               or self-regulatory authority exercising examination or regulatory authority, to the extent permitted by applicable
               Requirements of Law, (i) inform the Top Borrower promptly in advance thereof and (ii) use commercially
               reasonable efforts to ensure that any infonuation so disclosed is accorded confidential treatment), (d) to any
               other party to this Agreement, (e) subject to an acknowledgment and agreement by the re levant recipient that the
               Confidential Information is being disseminated on a confidential basis (on substantially the terms set forth in
               this paragraph or as othenvise reasonably acceptable to the Top Borrower and the Administrative Agent) in
               accordance with the market standards for dissemination of the relevant type of information, which shall in any
               event require "click through" or other affinnative action on the part of the recipient to access the Confidential
               lnfonuation and ackno-..vledge its confidentiality obligations in respect thereof, to (i) any Eligible Assignee of or
               Participant in, or any prospective Eligible Assignee of or prospective Participant in, any of its rights or
               obligations under this Agreement, including any SPC (in each case other than a Disqualified Institution), (ii) any
               pledgee referred to in Section 9.05, (iii) any actual or prospective, direct or indirect contractual counterparty (or
               its advisors) to any Derivative Transaction (including any credit default swap) or similar derivative product to
               which any Loan Party is a party and (iv) subject to the Top Borrower' s prior approval of the information to be
               disclosed, (x) to Moody's or S&P on a confidential basis in connection with obtaining or maintaining ratings as
               required under Section 5.13 or (y) to the CUSTP Sen 1ice Bureau or any similar agency in connection with the
               issuance and monitoring of CUSIP numbers with respect to the Credit Facilities or, on a confidential basis,
               market data collectors and service providers to the Administrative Agent in connection with the administration
               and management of this Agreement and the Loan Documents, (f) with the prior written consent of the Top
               Borrower and (g) to the exient the Confidential Information becomes publicly available other than as a result of
               a breach of this Section by such Person, its Affiliates or their respective Representatives. For purposes of this
               Section, "Confidential Tnfonnation" means all infonnation relating to Holdings, the Top Borrower and/or any of
               its subsidiaries and their respective businesses or the Transactions (including any information obtained by the
               Administrative Agent or any Lender, or any of their respective Affiliates or Representatives, based on a review
               of any books and records relating to Holdings, the Top Borrower and/or any of its subsidiaries and their
               respective Affiliates from time to time, including prior to the date hereoQ other than any such information that
               is publicly available to the Administrative Agent or any Lender on a non-confidential basis prior to disclosure
               by Holdings, the Top Borrower or any of its subsidiaries. For the avoidance of doubt, in no event shall any
               disclosure of any Confidential Information be made to Person that is a Disqualified Institution at the time of
               disclosure.

                         Section 9.14.    No Fiduciary Duty. Each of the Administrative Agent, each Lender and their
               respective Affiliates (collectively, solely for purposes of this paragraph, the "Lenders"), may have economic
               interests that conflict with those of the Loan Parties, their stockholders and/or their respective affiliates. Each
               Loan Party agrees that nothing in the Loan Documents or othenvise will be deemed to create an advisory,
               fiduciary or agency relationship or fiduciary or other implied duty between any Lender, on the one hand, and
               such Loan Party, its respective stockholders or its respective affiliates, on the other. Each Loan Party
               acknowledges and agrees that: (i) the transactions contemplated by the Loan Documents (including the exercise
               of rights and remedies hereunder and thereunder) are arm' s-length commercial transactions between the Lenders,
               on the one hand, and the Loan Parties, on the other, and (ii) in connection therewith and with the process leading
               thereto, (x) no Lender, in its capacity as such, has assumed an advisory or fiduciary responsibility in favor of
               any Loan Party, its respective stockholders or its respective affiliates with respect to the transactions
               contemplated hereby (or the exercise of rights or remedies with respect thereto) or the process leading thereto
               (irrespective of whether any Lender has advised, is currently advising or will advise any Loan Party, its
               respective stockholders or its respective Affiliates on other matters) or any other obligation to any Loan Party
               except the obligations expressly set forth in the Loan Documents and (y) each Lender, in its capacity as such, is
               acting solely as principal and not as the agent or fiduciary of such Loan Party, its respective management,
               stockholders, creditors or any other Person. Each Loan Party acknowledges and agrees that such Loan Party has




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               consulted its own legal, tax and financial advisors to the extent it deemed appropriate and that it is responsible
               for making its own independent judgment with respect to such transactions and the process leading thereto.

                        Section 9 .15.    Several Obligations. The respective obligations of the Lenders hereunder are several
               and not joint and the failure of any Lender to make any Loan or perform any of its obligations hereunder shall
               not relieve any other Lender from any of its obligations hereunder.

                        Section 9.16.     USA PATRIOT Act. Each Lender that is subject to the requirements of the USA
               PATRIOT Act hereby notifies the Loan Parties that pursuant to the requirements of the USA PATRIOT Act, it
               is required to obtain, verify and record information that identifies each Loan Party, which information includes
               the name and address of such Loan Party and other information that will allow such Lender to identify such Loan
               Party in accordance with the USA PATRIOT Act.

                        Section 9. 17.   Disclosure of Agent Conflicts. Each Loan Party and each Lender hereby acknowledge
               and agree that the Administrative Agent and/or its Affiliates from time to time may hold investments in, make
               other loans to or have other relationships with any of the Loan Parties and their respective Affiliates.

                        Section 9.18.     Appointment for Perfection. Each Lender hereby appoints each other Lender as its
               agent for the purpose of perfecting Liens for the benefit of the Administrative Agent and the Lenders, in assets
               which, in accordance with Article 9 of the UCC or any other applicable Requirement of Law can be perfected
               only by possession. If any Lender (other than the Administrative Agent) obtains possession of any Collateral,
               such Lender shall notify the Administrative Agent thereof and, promptly upon the Administrative Agent's
               request therefor shall deliver such Collateral to the Administrative Agent or otherwise deal with such Collateral
               in accordance with the Administrative Agent's instructions.

                         Section 9.19.     Interest Rate Limitation. Notwithstanding anything herein to the contraty, if at any
               time the interest rate applicable to any Loan, together with all fees, charges and other amounts which are treated
               as interest on such Loan under applicable Requirements of Law (collectively the "Charged Amounts"), shall
               exceed the maximum lawful rate (the "Maximum Rate") which may be contracted for, charged, taken, received
               or reserved by the Lender holding such Loan in accordance with applicable Requirements of Law, the rate of
               interest payable in respect of such Loan hereunder, together with all Charged Amounts payable in respect thereof,
               shall be limited to the Maximum Rate and, to the extent lawful, the interest and Charged Amounts that would
               have been payable in respect of such Loan but were not payable as a result of the operation of this Section shall
               be cumulated and the interest and Charged Amounts payable to such Lender i11 respect of other Loans or periods
               shall be increased (but not above the Maximum Rate therefor) until such cumulated an10unt, together with
               interest thereon at the Federal Funds Effective Rate to the date ofrepayment, have been received by such Lender.

                     Section 9.20. Intercreditor Agreement. REFERENCE IS MADE TO EACH INTERCREDITOR
               AGREEMENT. EACH LENDER HEREUNDER AGREES THAT IT WILL BE BOUND BY AND WILL
               TAKE NO ACTIONS CONTRARY TO THE PROVISIONS OF ANY INTERCREDITOR AGREEMENT
               AND AUTHORIZES AND INSTRUCTS THE ADMTNTSTRA TIVE AGENT TO ENTER INTO EACH
               INTERCREDITOR AGREEMENT AS "PTL AGENT", "FIRST LIEN AGENT", "TERM LOAN AGENT"
               (OR OTHER APPLICABLE TITLE) AND ON BEHALF OF SUCH LENDER. THE PROVISIONS OF THIS
               SECTION 9.20 ARE NOT INTENDED TO SUMMARIZE ALL RELEVANT PROVISIONS OF ANY
               INTERCREDITOR AGREEMENT.            REFERENCE MUST BE MADE TO EACH APPLICABLE
               INTERCREDITOR AGREEMENT ITSELF T O UNDERSTAND ALL TERMS AND CONDITIONS
               THEREOF. EACH LENDER IS RESPONSIBLE FOR MAKING ITS OWN ANALYSIS AND REVIEW OF
               EACH INTERCREDITOR AGREEMENT AND THE TERMS AND PROVISIONS THEREOF, AND
               NEITHER THE ADMINISTRATIVE AGENT NOR ANY OF ITS AFFILIATES MAKES ANY
               REPRESENTATION TO ANY LENDER AS TO THE SUFFICIENCY OR ADVISABILITY OF THE
               PROVISIONS CONTAINED IN ANY INTERCREDITOR AGREEMENT. THIS SECTION 9.20 IS
               INTENDED AS AN INDUCEMENT TO THE LENDERS UNDER THE FIRST LIEN CREDIT
               AGREEMENT, THE SECOND LIEN CREDIT AGREEMENT AND THE ABL CREDIT AGREEMENT AND




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               THE HOLDERS OF ANY OTHER INDEBTEDNESS SUBJECT TO ANY APPLICABLE TNTERCREDITOR
               AGREEMENT TO EXTEND CREDIT IN CONNECTION THEREWITH AND SUCH LENDERS ARE
               INTENDED Tl-IlRD PARTY BENEFICIARIES OF SUCH PROVISIONS AND THE PROVISIONS OF
               EACH INTERCREDITOR AGREEMENT.

                        Section 9.21.  Conflicts. Notwithstanding anything to the contra!)' contained herein or in any other
               Loan Document, in the event of any conflict or inconsis tency between this Agreement and any other Loan
               Document, the terms of this Agreement shall govern and controL provided that in the case of any conflict or
               inconsistency between any Intercreditor Agreement and any Loan Document, the terms of such lntercreditor
               Agreement shall govern and control.

                        Section 9.22.       Release of Guarantors. Notwithstanding anything in Section 9.02(b) to the contrary,
               (a) any Subsidial)' Guarantor shall automatically be released from its obligations hereunder (and its Loan
               Guaranty and the Liens granted pursuant to the Collateral Documents shall be automatically released) (i) upon
               the consummation of any permitted transaction or series of related transactions if as a result thereof such
               Subsidiary Guarantor ceases to be a Restricted Subsidiary (or becomes an Excluded Subsidiary as a result of a
               single transaction or series of related transactions permitted hereunder) and/or (ii) upon the occurrence of the
               Termination Date and (b) any Subsidial)' Guarantor that meets the definition of an "Excluded Subsidiary" shall
               be released by the Administrative Agent promptly following the request therefor by the Top Borrower. In
               connection with any such release, the Administrative Agent shall promptly execute and deliver to the relevant
               Loan Party , at such Loan Party' s expense, all documents that such Loan Party shall reasonably request to
               evidence termination or release; provided, that upon the request of the Administrative Agent, the Top Borrower
               shall deliver a certificate of a Responsible Officer certifying that the relevant transaction has been consummated
               in compliance with the terms of this Agreement. Any execution and delivel)' of any document pursuant to the
               preceding sentence of this Section 9.22 shall be without recourse to or warranty by the Administrative Agent
               (other than as to the Administrative Agent' s authority to execute and deliver such documents).

                         Section 9.23.   Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
               Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement or
               understanding of the parties hereto, each such party acknowledges that any liability of any Affected Financial
               Institution arising under any Loan Document, to the extent such liability is unsecured, may be subject to the
               write-down and conversion powers of a Resolution Authority and agrees and consents to, and acknowledges and
               agrees to be bound by:

                         (a)      the application of any Write-Down and Conversion Powers by a Resolution Authority to any
               such liabilities arising hereunder which may be payable to it by any party hereto that is an Affected Financial
               Institution; and

                       (b)      the effects of any Bail-in Action on any such liability, including, if applicable:

                                (i)      a reduction in full or in part or cancellation of any such liability ;

                                (ii)      a conversion of all, or a portion of, such liability into shares or other instruments of
                       ownership in such Affected Financial Institution, its parent entity, or a bridge institution that may be
                       issued to it or otherwise conferred on it, and that such shares or other instruments of ownership will be
                       accepted by it in lieu of any rights with respect to any such liability under this Agreement or any other
                       Loan Document; or

                              (iii)  the variation of the terms of such liability in connection with the exercise of the Write-
                       Down and Conversion Powers of any Resolution Authority.

                       Section 9.24.     Joint and Several Liability. Each Borrower is jointly and severally liable for the
               Obligations as a primal)' obligor in respect thereof. The Obligations of each Borrower are independent of the




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               Obligations of each other Borrower, and a separate action or actions may be brought and prosecuted against any
               Borrower to enforce this Agreement, irrespective of whether any action has been brought against any other
               Borrower or whether any other Borrower is joined in any such action.

                        Section 9.25.     Top Borrower. Each Borrower hereby designates SSB, in its capacity as the Top
               Borrower, to act as its agent hereunder. The Top Borrower may act as agent on behalf of any Borrower for
               purposes of delivering Borrowing Requests and notices of conversion/continuation pursuant to Section 2.08 or
               similar notices, giving instrnctions with respect to the disbursement of the proceeds of Loans, selecting interest
               rate options, giving and receiving all other notices and consents hereunder or under any of the other Loan
               Documents and taking all other actions (including in respect of compliance with covenants) on behalf of any
               Borrower or the Borrowers under the Loan Documents. SSB hereby accepts such appointment. Each Borrower
               agrees that each notice, election, representation and warranty, covenant, agreement and undertaking made on its
               behalf by the Top Borrower shall be deemed for all purposes to have been made by such Borrower and shall be
               binding upon and enforceable against such Borrower to the same extent as if the same had been made directly
               by such Borrower.

                       Section 9.26.     Certain ERISA Matters.

                        (a)      Each Lender (x) represents and warrants, as of the date such Person became a Lender party
               hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to the date such Person
               ceases being a Lender party hereto, for the benefit of, the Administrative Agent and its Affiliates, and not, for
               the avoidance of doubt, to or for the benefit of the Borrowers, that at least one of the following is and will be
               true:

                               (i)     such Lender is not using "plan assets" (within the meaning of the Plan Asset
                       Regulations) of one or more Employee Benefit Plans in connection with the Term Loans or the
                       Commitments;

                                (ii)     the transaction exemption set forth in one or more PTEs, such as PTE 84-14 (a class
                       exemption for certain transactions determined by independent qualified professional asset managers),
                       PTE 95-60 (a class exemption for certain transactions involving insurance company general accounts),
                       PTE 90-1 ( a class exemption for certain transactions involving insurance company pooled separate
                       accounts), PTE 91-38 (a class exemption for certain transactions involving bank collective investment
                       funds) or PIE 96-23 (a class exemption for certain transactions detem1ined by in-house asset managers),
                       is applicable, and the conditions of such exemption have been satisfied, with respect to such Lender' s
                       entrance into, participation in, administration of and performance of the Tenn Loans, the Commitments
                       and this Agreement;

                                (iii)   (A) such Lender is an investment fund managed by a "Qualified Professional Asset
                       Manager" (within the meaning of Part VI of PTE 84-14), (B) such Qualified Professional Asset Manager
                       made the investment decision on behalf of such Lender to enter into, participate in, administer and
                       perfom1 the Tenn Loans, the Commitments and this Agreement, (C) the entrance into, participation in,
                       administration of and performance of the Term Loans, the Commitments and this Agreement satisfies
                       the requirements of sub-sections (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge
                       of such Lender, the requirements of subsection (a) of Part I of PTE 84-14 are satisfied with respect to
                       such Lender' s entrance into, participation in, administration of and performance of the Term Loans, the
                       Commitments and this Agreement; or

                              (iv)      such other representation, warranty and covenant as may be agreed in writing between
                       the Administrative Agent, in its sole discretion and such Lender.

                      (b)      In addition, unless sub-clause (i) in the immediately preceding clause (a) is true with respect to
               a Lender or such Lender has provided another representation, warranty and covenant as provided in sub-clause




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               (j_y} in the immediately preceding clause (a), such Lender further (x) represents and warrants, as of the date such
               Person became a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender party
               hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent
               and its Affiliates, and not, for the avoidance of doubt, to or for the benefit of the Borrowers, that none of the
               Administrative Agent or any of its Affiliates is a fiduciary with respect to the assets of such Lender (including
               in connection with the resen1ation or exercise of any rights by the Administrative Agent under this Agreement,
               any other Loan Document or any documents related to hereto or thereto).

                        (c)     The Administrative Agent hereby informs the Lenders that each such Person is not undertaking
               to provide investment advice or to give advice in a fiduciary capacity, in connection with the transactions
               contemplated hereby , and that such Person has a financial interest in the transactions contemplated hereby in
               that such Person or an Affiliate thereof (i) may receive interest or other payments with respect to the Term Loans,
               the Commitments, this Agreement and any other Loan Documents, (ii) may recognize a gain if it extended the
               Term Loans or the Commitments for an amount less than the amount being paid for an interest in the Term Loans
               or the Commitments by such Lender or (iii) may receive fees or other payments in connection with the
               transactions contemplated hereby, the Loan Documents or othenvise, including structuring fees, arrangement
               fees, agency fees, amendment fees, processing fees, banker' s acceptance fees, breakage or other early
               termination fees or fees similar to the foregoing.

                       Section 9.27.     Recognition of the U.S. Special Resolution Regimes.

                        (a)      To the extent that this Agreement provides support, through a guarantee or othern ise, for swap
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               agreements or any other agreement or instrument that is a QFC (such support, "QFC Credit Support" and each
               such QFC a "Supported QFC"), the parties acknowledge and agree as follows with respect to the resolution
               power of the Federal Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the
               Dodd-Frank Wall Street Reform and Consumer Protection Act (together with the regulations promulgated
               thereunder, the ''U.S. Special Resolution Regimes") in respect of such Supported QFC and QFC Credit Support
               (with the provisions below applicable notwithstanding that this Agreement and any Supported QFC may in fact
               be stated to be governed by the laws of the State of New York and/or of the United States or any other state of
               the United States).

                        (b)      In the event a Covered Entity that is party to a Supported QFC (each, a "Covered Party")
               becomes subject to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported QFC
               and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported QFC
               and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC Credit
               Support) from such Covered Party will be effective to the same extent as the transfer would be effective under
               the U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support (and any such interest,
               obligation and rights in property) were governed by the laws of the U nited States or a state of the United States.
               In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a proceeding under
               a U.S. Special Resolution Regime, default rights under this Agreement that might othenvise apply to such
               Supported QFC or any QFC Credit Support that may be exercised against such Covered Party are permitted to
               be exercised to no greater extent than such Default Rights could be exercised under the U.S. Special Resolution
               Regime if the Supported QFC and this Agreement were governed by the laws of the United States or a state of
               the United States. Without limitation of the foregoing, it is understood and agreed that rights and remedies of
               the parties with respect to a Defaulting Lender shall in no event affect the rights of any Covered Party with
               respect to a Supported QFC or any QFC Credit Support.

                       (c)      As used in this Section 9.27, the following terms have the following meanings:

                                (i)      "BHC Act Affiliate'' of a party means an "affiliate" (as such te rn1 is defined under, and
                       interpreted in accordance with, 12 U.S.C. 184l(k)) of such part.

                                (ii)     "Covered Entitv" means any of the following:




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                                         (A)     a "covered entity " as that tenn is defined in, and interpreted in accordance
                                with, 12 C.F.R. §252.82(b);

                                        (B)     a "covered bank" as that term is defined in, and interpreted in accordance with,
                                12 C.F.R. §47.3(b); or

                                        (C)     a "covered FSI" as that term is defined in, and interpreted in accordance with,
                                12 C.F.R. §382.2(b).

                               (iii)   "Default Right" has the meaning assigned to that tenn in, and shall be interpreted in
                       accordance with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

                       "OFC" has the meaning assigned to the tenn " qualified financial contract" in, and shall be interpreted
               in accordance with, 12 U.S.C. 5390(c)(8)(D).

                                                          [Signature Pages Follow]




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  Confidential                                                                                              SSB_ADVERSARY00002167
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                    Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 146 of 465



                        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by their
               respective authorized officers as of the day and year first above written.


                                                               DAWN INTERMEDIATE, LLC, as Holdings


                                                               By:   ~E~~
                                                                     Name: Kristen McGuffey
                                                                     Title: Executive Vice President, General Counsel
                                                                            and Secretary


                                                               SERTA SIMMONS BEDDING, LLC, as the Top Borrower


                                                               By:
                                                                     [PJ:'~
                                                                         6BP13W IP2~D4 .
                                                                     Name: K.risten McGuffey
                                                                     Title: Executive Vice President, General Counsel
                                                                            and Secretary


                                                               NATIONAL BEDDING COMPANY L.L.C., as a Borrower


                                                               By:
                                                                     Name: Kristen McGuffey
                                                                     Title: Executive Vice President, General Counsel
                                                                            and Secretary


                                                               SSB MANUFACTURING COMPANY, as a Borrower


                                                               By:
                                                                     Name: Kristen McGuffey
                                                                     Title: Executive Vice President, General Counsel
                                                                            and Secretary




                                             Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                                    SSB LCM 00002168
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  Confidential                                                                                           SSB_ADVERSARY00002168
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                                                  UBS AG, STAMFORD BRANCH, individually, as
                                                  Administrative Agent and as a Lender



                                                  By:
                                                                                         jf;ff
                                                         Name:
                                                         Title:          Houssem Daly
                                                                         Associ


                                                  By:
                                                         Name:
                                                         Title:




                                  Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                     SSB LCM 00002169
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  Confidential                                                                              SSB_ADVERSARY00002169
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                                                 AGF Fioaling ltatc lnc(ime fund

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                                                 By:

                                                       Name: Michael B. Oonhof
                                                       Titk:: Vice Pl'C.sidcnt




                                Signature Page to Super-Priority Term Loan A~reement



Confidential                                                                                    SSB LCM 00002170
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  Confidential                                                                             SSB_ADVERSARY00002170
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                                               Exchanging Existing Lender

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                                               Oy:       :~ /~~
                                                     Name: Michael R. Honhclf
                                                     ·11r1e: Vice President




                                  Sigm1ture Page to Super-Priority Term Loan Agreement


Confidential                                                                                    SSB- LCM- 00002171
  Confidential                                                                            SSB_ADVERSARY00002171
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 150 of 465




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                                                     N                  8otthur   ~
                                                     Title: Vice Pre:>ident




                                   Signature Page to Super-Priority Term Loan Agreement-_


Confidential                                                                                     SSB- LCM- 00002172
  Confidential                                                                              SSB_ADVERSARY00002172
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 151 of 465




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                                                 8y: Eaton Vance Management as
                                                 lnvesrment Advisor                          ,


                                             ,   Hy:   N.~.r:!~-~
                                                       Tille~ Vice Prei;id'cnt




                                Signature Page to Super-P.riority Term Loan Agreement


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  Confidential                                                                          SSB_ADVERSARY00002173
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 152 of 465
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                                                 Exchanging Existing Lender

                                                Ealon V~ce Cl.O2014-1 R. Ltd.


                                                Hy: Eaton VanceMan~emcot 11S
                                                lnvesttiie111 Advisur

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                                                       Jidc: Vice Pre~id~n1.




                                Signature Page to Super-Priority Term Loan.Agreement


Confidential                                                                                SSB- LCM- 00002174
  Confidential                                                                         SSB_ADVERSARY00002174
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 153 of 465




                                                 Exchanging Existing Lender

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                                  Signature Pag,e to_Supe.r~J>ti,or~ty term Loan Agreement



Confidential                                                                                      SSB- LCM- 00002175
  Confidential                                                                               SSB_ADVERSARY00002175
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 154 of 465




                                                 Exchanging .Existing Lender

                                                 l~~tCl_n Vance.CLO 201S.l Ltd




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Confidential                                                                                   SSB LCM 00002176
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  Confidential                                                                            SSB_ADVERSARY00002176
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 155 of 465




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                                                      Natne: MichaelB. Botthof
                                                      Tille: Vice P!l?Side111




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Confidential                                                                                   SSB- LCM- 00002177
  Confidential                                                                            SSB_ADVERSARY00002177
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 156 of 465




                                                 E~changing Existing Lender

                                                 Eat911 V~n\'.~ Lmm UnJding Limited

                                                 Ry: Eaton Vance Man~mcnt as



                                                 ::,"7i~JJ fJJ/L
                                                       Name: Michad B. Bouhof
                                                       'i-rtic: Vice Pre...ident
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                                 Signature Page to Supe~~}~riority Tenn Loan Agreement


Confidential                                                                                  SSB LCM 00002178
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  Confidential                                                                           SSB_ADVERSARY00002178
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                                                 fty; -f:.aton Vance Managcmt'ffl a-.

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                                                         runt:: Michac:J B. Boithof
                                                       Tiilc: Vice: President




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Confidential                                                                                    SSB LCM 00002179
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  Confidential                                                                           SSB_ADVERSARY00002179
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  Confidential                                                                              SSB_ADVERSARY00002180
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                                                    E-:xcbanging Existing Lender

                                                    r:aum v;~,~e S~nior Floating-Rate Trust

                                                    Dy: &1~1a \'anc.:e Management as
                                                    lnvc:s_tmehl Ad,isor


                                                    By:
                                                           Na e: Michael B. Bonhof
                                                           Title: Vkc Pn;:sidcnt




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Confidential                                                                                       SSB LCM 00002181
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  Confidential                                                                                SSB_ADVERSARY00002181
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                                                  Exchanging Existing Lender

                                                  l:aton V~ice floaling.Jfatc lncc,mc Trust


                                                  By:;Ealo11 Vant'c Managcmalt as
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                                                  Hy:    fl~
                                                        N.ame: Michatt 8. Rouhof
                                                        TitJc: Vice President




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Confidential                                                                                       SSB LCM 00002182
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  Confidential                                                                                SSB_ADVERSARY00002182
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                                                Dy: £:ato11 Vane~ Managemtnt as
                                                Inve.stme1u_Advisor /]_

                                                Dy~
                                                       ·~me.: MicJ1ael B. Bonbof
                                                                                         tw1
                                                      Tit.le: Vice l'>Jcsidcnt




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Confidential                                                                                        SSB LCM 00002183
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  Confidential                                                                               SSB_ADVERSARY00002183
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 162 of 465




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Confidential                                                                                     SSB LCM 00002184
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  Confidential                                                                              SSB_ADVERSARY00002184
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                                                Exchanging Existing Lender

                                                Eaton Vance Shon I >ttfflti(ln I>i~'Crsi fie<! luc-0me Fund

                                                By:'E310J Vance Management a-.
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Confidential                                                                                              SSB LCM 00002185
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  Confidential                                                                                    SSB_ADVERSARY00002185
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                                               Exchang~ng Existing Lender

                                               Eaton Vance lnstiwtinnal Senior l..olll'I fund




                                                     Naine: Michad D. Bouhor
                                                     litle: . Vice President




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                                  Signature Pa~ to Super~~~orityTerm Loan Agreement


Confidential                                                                                         SSB LCM 00002186
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  Confidential                                                                                  SSB_ADVERSARY00002186
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                                                  Exchanging Existing Lender

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                                                  :::·,lmc~4~-
                                                        .Namc: Michad B. BuUhof
                                                         Title: Vice: President
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  Confidential                                                                                   SSB_ADVERSARY00002187
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                                                Eaton Vance Limitc<I Duration Income Fund

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                                                lnvcsm1~lll Advi~



                                                       Niine: Michac H, BotllK>f
                                                       Tit~: Vice President




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                                                 E~1ton Vance Flnaling Ral~ Port.folio




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                                                       Na1ii1::.Michael D. Dottbof         -
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  Confidential                                                                                 SSB_ADVERSARY00002189
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 168 of 465




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                                                By; Hostc,n MaJ1.agc,ncnt &. Rc~,chas
                                                lnvcsm1cn1 Advisor



                                                       :Name: Michael S-.13QUhof
                                                       Title': Vte~ Vn:!rlidcnt




                                   Signature Page to Super-Priority Term Loan Agreement



Confidential                                                                                   SSB LCM 00002190
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  Confidential                                                                            SSB_ADVERSARY00002190
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                                                By ~E:u'?n Vance Management 3)';
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                                                                   - 6vv
                                                        Namt:: Michael B. &tthof
                                                        Title: Vice Ph:sitfont




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  Confidential                                                                                      SSB_ADVERSARY00002191
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               EXCHANGING EXISTING LENDERS

               BENTHAM SYNDICATED LOAN F1JND                                               TELSTRA SUPERANNUATION SCHEME
               By: Credit Suisse Asset Management, LLC, as agent (sub-advisor) for         By: Credit Suisse Asset Management, LLC, as sub advisor to Bentham
               Challenger Investment Services Limited. the Responsible Entity for          Asset Managem ent Pty Ltd. in its capacity as agent of and investment
               Bentham Syndicated Loan Fund                                                manager for Telstra Super Pty L td. in its capacity as trustee of Telstra
                                                                                           Super annuatio n Scheme
               BENTHAM l-OGH YJELI) FUND
               By: Credit Suisse Asset Management, LLC., as Agent (Sub Advisor) for        WESPATHFUNDS TRUST
               Challenger Investment Services Limited, the Responsible En tity for         By: Credit Suisse Asset Management, LLC. the investment adviser for UMC
               Bentham High Yield Fund                                                     Benefit Board Inc., the trustee fo r Wespath Funds Trust

               Da V inci Reins urance Ltd.                                                 INFLATI ON PROTECTlON FUND - 1 SERJES, a ser ies orwespoth
               By: Credit Suisse Asset Management, LLC, as investment manager for          Funds Trust
               Da Vinci Reinsurance Holdings. Ltd.. the owner o f Da Vinci Reinsurance     By Credit Suisse Asset Management, LLC as Adviser fo r Wcspath
               Ltd.                                                                        Institutional lnvestn1cnts LLC, as trustee of the I Series funds ofWcspath
                                                                                           Funds Trust
               Renaissance Investment Holdings Ltd.
               CALJFORJ'llA STATE T EACH£RS' RETffiJl:MENT SYSTEM                          MADISON PARK F1JNDING X, LTD.
               DOLLAR SENIOR LOAN FUND, L TD.                                              MAOCSON PARK FUNDING Xl, LTD.
               DOLLAR SENIOR LOAN MASTER FUND II, LTD.                                     MADISON PARK FUNDING XU, LTD.
               8 A/CSCREOIT I Ll,C                                                         MADCSON PARK F1JNDINC XIII, LTD.
               CREDIT SlJISSE FLOATING RATE TRUST                                          MADISON PARK F1JNDINC XIV, LTD.
               PK-SSL INVESTMENT F1JND LIMITED PARTNERSHIP                                 MAJ)[SON PARK FUNDING XV, LTD.
               CO PPERHI LL LOAN H IND I , LLC                                             MAJ)[SON PARK ~'UNDING XVI, LTD.
               THE EATO N CORPORATION MASTER RET IREMENT TRU ST                            MADCSON PARK F1JNDING XVI.I, LTD.
               ERJE INDEMNITY C OMJ'ANY                                                    MADISON PARK F1JNDING XX, LTD.
               MAD.ISON FLINTHOLM SENIO R LOAN FUND I ))AC                                 MAOCSON PARK FUNDING XXI, LTD.
               PI-IlLLIPS 66 RETIREMENT PLAN TRUST                                         lVW)(SON PARK F'UNDI.NC xxn, LTD.
               WIND RI.VER FlJND L LC                                                      MADCSON PARK F1JNDING XL, LTD.
               BLUE SI-IlELD OF CAUFORNIA                                                  MADCSON PARK F1JNDING XLI, LTD.
               By: Credit Suisse Asset Management>LLC. as investment manager               MA1>CSON PARK FUNDING XLH, LTI>.
                                                                                           MADCSON PARK FUNDING XUU, LTD.
               ERIE INSURANCE EXCHANGE                                                     MADCSON PARK F1JNDl1"\'G XLIV, LTD.
               By: Credit Suisse Asset Management, LLC, as investment m anager for         ONE ELEVEN FUNDING I, LTD.
               Er ie u1demnity Company, as Attorney-In-Fact for Er ie Insurance Exchange   ONE ELJl:VEN FUNDING 0 , LTD.
                                                                                           MADCSON PARK ~-UNDINC XXVlll, LTD.
               THE CITY OF NEW YORK GROUP TRUST                                            MADISON PARK F1JNDING XXX, LTD.
               By: Credit Suisse Asset Management, LLC, as its m anager                    MADCSON PARK F1JNDING XXXI, LTD.
                                                                                           MAl>CSON PARK F'UNDING XXXll, LTD.
               Maryland Suite Retirement a nd Pension System                               MAJ)[SON PARK FUNDING x.xxvn, LTO.
               By: Credit Suisse Asset Management, LLC as manager                          MADCSON PARK F1JNDl1"\'G XXXIV, LTD.
                                                                                           By: Credit Suisse Asset Management. LLC. as portfolio manager
               CREDIT SUISSE FLOATING RATE l-O GHJNCOi\>lE FUND
               CREDIT SUISSE STRATEGIC lNCO~lE FlJND                                       MADISON PARK F1JNDING xvm, LTD.
               COMMONWEALTH OF PENNSYLVANIA TREASURY                                       l'vlAO(SON PARK FUNDING XIX, LTD.
               DEPARTMENT                                                                  MADCSON PARK F1JNDING XXIII, LTD.
               By: Credit Suisse Asset Management. LLC. as investment advisor              MA1>CSON PARK FUNDING XXIV, LTD.
                                                                                           MAJ)[SON PARK FUNDING XXV, LTD.
               STATE OF NEW MEXICO ST ATE INVESTMEN T COUNCIL                              MADCSON PARK F1JNDING XXVI, LTD.
               By authority delegated to the New Mexico State Investment O ffice           MAJ)[SON PARK F'UNDING X.XJX, LTD.
               By: Credit Suisse Asset Managem en t, LLC, as its manager                   By: Credit Suisse Asset M anagement, LLC, as co llatera l m anager

               CREDIT SUISSE NO VA (LUX)                                                   lVlADISON PARK FUNDING XXVO, .LTD.
               By: Credit Suisse Asset Management, LLC or Credit Suisse Asset              MADCSON PARK FUNDING XXXV, LTD.
               Management Limited, each as Co-Investment Adviser to Credit Suisse          By: Credit Suisse Asset Management. LLC~ as asset manager
               Fund Management S.A .. management company for Credit Suisse Nova
               (Lux)                                                                       CREDIT SUISSE 1-IlGH YIELD BOND FUND
                                                                                           CREDIT SULSSE ASSET MANAG.EMENT JNCOM.E FUND, INC.
               BENTHAM STRATEGJC LOAN )' UNO                                               By: Credit Suisse Asset Management, LLC, as in vestment adviso r
               By: Credit Suisse Asset Management, LLC, as Sub Advisor for Bentham
               Asset Managem ent Pty Ltd., the agent and investment m anager to Fidante
               Partners Limited, the trustee for Bentham S trategic Loan F und

               KP FIXED INCOME FIB','D
               By: Credit Suisse Asset Management, LLC, as Sub-Adviser for Callan
               Asso ciates Inc., the Adviser for The KP Funds, the Trust for KP Fixed
               Income Fund




                                                                                           By :

                                                                                                    Name: David Mechlin
                                                                                                    Title: Managing Directo r



                                                                Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                                                                             SSB LCM 00002192
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  Confidential                                                                                                                               SSB_ADVERSARY00002192
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                                            EXCHANGING EXISTING LENDERS

                                                  BARINGS GLOBAL LOAN LJJv1ITED, as Lender
                                                  By: Barings LLC as Sub-Investment Manager


                                                  By:
                                                        Name: Michael Searles
                                                        Title: Director

                                                  BARINGS GLOBAL SPECIAL SITUATION
                                                  CREDIT 3 s.A R.L., as Lender
                                                  acting by its attorney BARINGS LLC


                                                  By:
                                                        Name: Michael Searles
                                                        Title: Director

                                                  BARINGS GLOBAL HIGH YIELD CREDIT
                                                  STRATEGIES LJJv1ITED, as Lender
                                                  By: Barings LLC as Investment Manager

                                                  By:
                                                        Name: Michael Searles
                                                        Title: Director

                                                  BARINGS U.S. LOAN LJJv1ITED, as Lender
                                                  By: Barings LLC as Investment Manager


                                                  By:
                                                        Name: Michael Searles
                                                        Title: Director

                                                  CITY OF NEW YORK GROUP TRUST, as Lender
                                                  By: Barings LLC as Investment Manager


                                                  By:
                                                        Name: Michael Searles
                                                        Title: Director




                                  Signature Page to Super-Priority Term Loan Agreement



Confidential                                                                                  SSB LCM 00002193
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  Confidential                                                                           SSB_ADVERSARY00002193
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                                                              EXCHANGING EXISTING LENDERS

                                                             BARINGS GLOBAL SHORT DURATION HIGH
                                                             YIELD FUND, as Lender
                                                             By: Barings LLC as Investment Manager


                                                             By:
                                                                    Name: Michael Searles
                                                                    Title: Director

                 The foregoing is executed on behalf of Barings Global Short Duration High Yield Fund, organized under
                 an Agreement and Declaration ofTrust dated May 19, 2011, as amended from time to time. The obligations
                 of such Trust are not personally binding upon, nor shall reso1t be had to the property of, any of the Trustees,
                 shareholders, officers, employees o r agents of such Trust, but only the Trust's property and assets shall be
                 bound.

                                                              BARINGS CLO LTD. 2018-III, as Lender
                                                              By: Barings LLC as Collateral Manager


                                                              By:
                                                                    Name: Michael Searles
                                                                    Title: Director

                                                              BARINGS CLO LTD. 2017-I, as Lender
                                                              By: Barings LLC as Collateral Manager


                                                              By:
                                                                    Name: Michael Searles
                                                                    Title: Director

                                                              BARINGS CLO LTD. 2019-II, as Lender
                                                              By: Barings LLC as Collateral Manager


                                                              By:
                                                                    Name: Michael Searles
                                                                    Title: Director

                                                              BALOISE SENIOR SECURED LOAN FUND I, as
                                                              Lender
                                                              By: Barings LLC as Sub-Investment Manager


                                                              By:
                                                                    Name: Michael Searles
                                                                    Title: Director

                                       Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                                      SSB LCM 00002194
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  Confidential                                                                                            SSB_ADVERSARY00002194
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                                                      EXCHANGING EXISTING LENDERS

                                                      BARINGS CLO LTD. 2016-1, as Lender
                                                      By: Barings LLC as Collateral Manager


                                                      By:
                                                            Name: Michael Searles
                                                            Title: Director


                                                      BARINGS CLO LTD. 2015-1, as Lender
                                                      By: Barings LLC as Collateral Manager


                                                      By:
                                                            Name: Michael Searles
                                                            Title: Director

                                                      UNNERSAL-INVESTMENT-GESELLSCHAFT
                                                      MBH on behalf and on account of BAYVK R2-FONDS
                                                      Segment BAYVK R2 BARINGS, as Lender
                                                      acting by its attorney BARINGS LLC


                                                      By:
                                                            Name: Michael Searles
                                                            Title: Director

                                                      BARINGS CLO LTD. 2016-Il, as Lender
                                                      By: Barings LLC as Collateral Manager


                                                      By:
                                                            Name: Michael Searles
                                                            Title: Director

                                                      CROWN MANAGED ACCOUNTS SPC ACTING
                                                      FOR AND ON BEHALF OF CROWN/BA 2 SP, as
                                                      Lender
                                                      acting by its attorney, Barings (UK.) Limited
                                                      acting by its attorney, Barings LLC


                                                      By:
                                                            Name: Michael Searles
                                                            Title: Director




                            Signature Page to Super-Priority Tenn Loan Agreement




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                                                                     EXCHANGING EXISTING LENDERS

                                                                    BARINGS CLO LTD. 2018-1, as Lender
                                                                    By: Barings LLC as Collateral Manager


                                                                    By:
                                                                           Name: Michael Searles
                                                                           Title: Director


                                                                    BABSON CLO LTD. 2014-1, as Lender
                                                                    By: Barings LLC as Collateral Manager


                                                                    By:
                                                                           Name: Michael Searles
                                                                           Title: Director

                                                                    BARINGS CLO LTD. 2015-II, as Lender
                                                                    By: Barings LLC as Collateral Manager


                                                                    By:
                                                                           Name: Michael Searles
                                                                           Title: Director

                                                                    G.A.S. (Cayman) Limited acting solely in its capacity
                                                                    as Trustee of Serengeti (Loan Fund), a series trust of
                                                                    the Multi Strategy Umbrella Fund Cayman, as Lender
                                                                    By: Barings LLC as Investment Manager and Attorney-
                                                                         in-fact

                                                                    By:
                                                                           Name: Michael Searles
                                                                           Title: Director

                 The foregoing is executed on behalf of the Serengeti (Loan Fund), organized under a Supplemental Trust Deed,
                 dated as of September 21, 2017, as amended from time to time. The obligations of such Trust are not personally
                 binding upon, nor shall resort be had to the property of the Trustee. The total liability of the Trustee shall be limited
                 to the amount of the trust property.
                                                                    BARINGS GLOBAL MULTI-CREDIT STRATEGY 4
                                                                    LIMITED, as Lender
                                                                    By: Barings LLC as Investment Manager


                                                                    By:
                                                                           Name: Michael Searles
                                                                           Title: Director


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                                                   EXCHANGING EXISTING LENDERS

                                                   BARINGS CLO LTD. 2018-IV, as Lender
                                                   By: Barings LLC as Collateral Manager


                                                   By:
                                                         Name: Michael Searles
                                                         Title: Director


                                                   BARINGS BDC SENIOR FUNDfNG I, LLC, as
                                                   Lender
                                                   By: Barings


                                                   By:

                                                         Title: Managing Director

                                                   BARINGS CLO LTD. 2013-I, as Lender
                                                   By: Barings LLC as Collateral Manager


                                                   By:
                                                         Name: Michael Searles
                                                         Title: Director

                                                   BARINGS GLOBAL MULTI-CREDIT STRATEGY 3
                                                   LIMITED, as Lender
                                                   By: Barings LLC as Investment Manager


                                                   By:
                                                         Name: Michael Searles
                                                         Title: Director

                                                   BARINGS GLOBAL MULTI-CREDIT STRATEGY 2
                                                   LIMITED, as Lender
                                                   By: Barings LLC as Sub-Investment Manager


                                                   By:
                                                         Name: Michael Searles
                                                         Title: Director




                               Signature Page to Super-Priority Te nn Loan Agreement




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                                                                EXCHANGING EXISTING LENDERS

                                                                BARINGS GLOBAL FLOATING RATE FUND, as
                                                                Lender
                                                                By: Barings LLC as Investment Manager


                                                                By:
                                                                       Name: Michael Searles
                                                                       Title: Director

               The foregoing is executed o n behalf of Barings Global Floating Rate Fund, a series ofBarings Funds Trust, organized
               under an Agreement and Declaration of Trust dated May 3, 2013, as amended from time to time. The obligations of
               such series Trust are not personally binding upon, nor shall resort be had to the property of, any of the Trustees,
               shareholde rs, officers, employees or agents of such Trust, or any other series of the Trust but only the property and
               assets of the relevant series Trust shall be bound.

                                                                BARINGS SEGREGATED LOANS 3 S.A R.L, as
                                                                Lender
                                                                ACTING BY ITS ATTORNEY BARINGS LLC


                                                                By:
                                                                       Name: Michael Searles
                                                                       Title: Director

                                                                BARINGS BDC, INC. as Lender
                                                                By: Barings  a nvestment Manager


                                                                By:

                                                                       Title: Managing Director

                                                                BARINGS GLOBAL LOAN AND IDGH YIELD
                                                                BOND LIMITED, as Lender
                                                                By: Barings LLC as Sub-Investment Manager


                                                                By:
                                                                       Name: Michael Searles
                                                                       Title: Director




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                                               EXCHANGING EXISTING LENDERS

                                                                 BEL-AIR LOAN FUND LLC, as
                                                                 Lender
                                                                 By: Barings LLC as Investment Adviser


                                                                 By:
                                                                        Name: Michael Searles
                                                                        Title: Director

                                                                 BARINGS GLOBAL CREDIT INCOME
                                                                 OPPORTUNITIES FUND, a series of Barings Funds
                                                                 Trust, as Lender
                                                                 By: Barings LLC as Investment Manager


                                                                 By:
                                                                        Name: Michael Searles
                                                                        Title: Director

               The foregoing is executed on behalf of Barings Global Credit Income Opportunities Fund, a se ries of Barings Funds
               Trust, organized under an Agreeme nt and Declaration of Trust dated May 3, 2013, as amended from time to time.
               The obligations of such series Trust are not personally binding upon, nor shall resort be had lo the property of, any of
               the Trustees, shareholders, officers, employees or agents of such Trust, or any other series of the Trust but only the
               property and assets of the relevant series Trust shall be bound.

                                                                 ARROWOOD INDEMNITY COMPANY, as Lender
                                                                 By: Barings LLC as Investment Adviser


                                                                 By:
                                                                        Name: Michael Searles
                                                                        Title: Director

                                                                 BARINGS GLOBAL MULTI-CREDIT STRATEGY 1
                                                                 LIMITED, as Lender
                                                                 By: Barings LLC as Sub-Investment Manager


                                                                 By:
                                                                        Name: Michael Searles
                                                                        Title: Director

                                                                 Jocassee Partners LLC, as Lender



                                                                 By:

                                                                        Title: Managing Director

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                                                  EXCHANGING EXISTING LENDERS

                                                 ARROWOOD INDEMNITY COMPANY AS
                                                 ADMINISTRATOR OF THE PENSION PLAN OF
                                                 ARROWOOD INDEMNITY COMPANY, as Lender
                                                 By: Barings LLC as Investment Adviser


                                                 By:
                                                        Name: Michael Searles
                                                        Title: Director



                                                 AUSTRALIANSUPER PTY LTD. AS TRUSTEE FOR
                                                 AUSTRALIANSUPER, as Lender
                                                 By: Barings LLC as Investment Adviser


                                                 By:
                                                       Name: Michael Searles
                                                       Title: Director




                                Signature Page to Super-Priority Tenn Loan Agreement



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               EXCHANGING EXISTING LENDERS



               First Eagle Bank Loan Select Master Fund,
               a Class of The First Eagle Bank Loan Select Series Trust I, as Lender
               By First Eagle Alternative Credit SLS, LLC, as Investment Manager



               By /$-
                   Name: James R. Fellows
                   Title: CIO/Managing Director/Co-Head

               BSG Fund Management B.V. on behalf of the
               Stichting Blue Sky Active Fixed Income US Leveraged Loan Fund , as Lender
               By First Eagle Alternative Credit SLS, LLC, as Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head

               KVK CLO 2013-1 Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Successor Collateral Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head

               KVK CLO 2016-1 Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Successor Collateral Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head

               KVK CLO 2018-1 Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Successor Collateral Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIO/Managing Director/Co-Head

               Russell Investments Institutional Funds, LLC
               Absolute Return Fixed Income Fund, as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head


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               EXCHANGING EXISTING LENDERS



               Russell Investments Ireland Limited on behalf of the Russell Floating
               Rate Fund, a subfund of Russell Investments Qualifying Investor Alternative Funds pie, as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



               By /$-
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head

               Russell Investments Global Unconstrained Bond Pool, as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



               By_/ _. -$    -  -  - -
                Name: James R. Fellows
                Title: CIO/Managing Director/Co-Head

               Russell Investments Institutional Funds LLC Multi-Asset Core Plus Fund, as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager


                     /$-
               By_ _ _ _ _ _ _ _ _ _ __
                 Name: James R. Fellows
                 Title: CIO/Managing Director/Co-Head

               Russell Investment Company Unconstrained Total Return Fund , as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                     /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIO/Managing Director/Co-Head

               Stichting Pensioenfonds Hoogovens, as Lender
               by First Eagle Alternative Credit, LLC, its Asset Manager



               By /$-
                   Name: James R. Fellows
                   Title: CIO/Managing Director/Co-Head

               Wind River 2014-3K CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                      /$-
               By_ _ _ _ _ _ _ _ _ _ __
                    Name: James R. Fellows
                    Title: CIO/Managing Director/Co-Head



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               EXCHANGING EXISTING LENDERS


               Wind River 2012-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit SLS, LLC, as Investment Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2013-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit SLS, LLC, as Collateral Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2013-2 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2014-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit SLS, LLC, as Investment Manager



               By /$-
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2014-2 CLO Ltd., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                    /$-
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                  Title: CIC/Managing Director/Co-Head

               Wind River 2014-3 CLO Ltd., as Lender
               By First Eagle Alternative Credit SLS, LLC, as Manager



               By /$-
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head




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               EXCHANGING EXISTING LENDERS



               Wind River 2015-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



               By_~_.    _ ·- - -
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2015-2 CLO Ltd ., as Lender
               By First Eagle Alternative Credit SLS, LLC, its Manager



                    ~
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2016-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit SLS, LLC, its Investment Manager



                     ~
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2016-2 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, its Investment Manager



                     ~
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2017-1 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, its Investment Manager



                    ~
               By_ _ _ _ _ _ _ _ _ _ __
                  Name: James R. Fellows
                   Title: CIC/Managing Director/Co-Head

               Wind River 2017-4 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



                    ~
               By_ _ _ _ _ _ _ _ _ _ __
                   Name: James R . Fellows
                   Title: CIC/Managing Director/Co-Head




                                                 Signature Page to Super-Priorit y Term Loan Agreement




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               EXCHANGING EXISTING LENDERS



               Wind River 2018-3 CLO Ltd ., as Lender
               By First EaQle Alternative Credit, LLC, as Collateral Manager


                         /$-
               By_ _ _ _ _ _ _ _ _ _ __
                    Name: James R. Fellows
                    Title: CIC/Managing Director/Co-Head

               Wind River 2019-3 CLO Ltd ., as Lender
               By First Eagle Alternative Credit, LLC, as Investment Manager



               By /$-
                    Name: James R. Fellows
                    Title: CIC/Managing Director/Co-Head

               First Eagle Senior Loan Fund , as Lender
               By First Eagle Alternative Credit, LLC, as Adviser



                         /$-
               By_ _ _ _ _ _ _ _ _ _ __
                    Name: James R. Fellows
                    Title: CIC/Managing Director/Co-Head

               Staniford Street CLO, LTD. , as Lender



               By · ..   5•~1:.{
                    Name: Seth Frink
                    Title: Director




                                                  Signatur e Page to Super-Priorit y Term Loan Agreement




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                                                       EXCHANGING EXISTING LENDERS

                                                       ANNISA CLO, LTD.


                                                       By: Invesco RR Fund L.P. as Collate ral
                                                       Manager
                                                       By: Invesco RR Associates LLC, as general
                                                       partner
                                                       By: Invesco Senior Secured Management, Inc.
                                                       as sole member   V V[ ~
                                                            Name:
                                                                               PhiipYa11ow
                                                            Title:       AIJlhortzed SignatOI)'




                                                       BETONY CLO 2, LTD.


                                                       By: Invesco RR Fund L.P. as Collate ral
                                                       Manager
                                                       By: Invesco RR Associates LLC, as general
                                                       partner
                                                       By: Invesco Senior Secured Management, Inc.
                                                       as sole member O VI
                                                                        r·          I~
                                                            Name:                Philip Yarrow
                                                            Title:           AIJlhonzed SignatOI)'




                                                       BOC PENSION INVESTMENT FUND


                                                       By: Invesco Senior Secvred anagement, Inc.
                                                       as Attome in Fact      .V ~
                                                            Nan1e:
                                                                                  Philp Yarrow
                                                            Title:            AIJlhortzed SignatOI)'




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                                                       EXCHANGING EXISTING LENDERS


                                                       CARBONE CLO, LTD.


                                                       By: Invesco RR Fund L.P. as Collateral
                                                       Manager
                                                       By: Invesco RR Associates LLC, as general
                                                       partner
                                                       By: Invesco Senior \Jc~re.9 Management, Inc.
                                                       as sole member          \./I c.--::"'::V
                                                             Name:
                                                                                PhitipYarrow
                                                             Title:          Au1horized Signatory




                                                       DIVERSIFIED       CREDIT                PORTFOLIO
                                                       LTD.


                                                       By: Invesco Senior Secie,d 1Mp agement, Inc.
                                                       as Investment Adviser r ~ I ~
                                                             Name:
                                                                                   Phlip Yarrow
                                                             Title:             Authorized Signatory




                                                       HARBOURVIEW CLO VII-R, LTD.


                                                       By: HarbourView           Asset Management
                                                       Corporation, as~ olwrral Manager
                                                           Name: Y ·           ~
                                                           Title:         PhiipYa:row
                                                                        Authorized Signatory




                                                       INVESCO BL FUND, LTD.


                                                        By: Invesco Seni~~S~c~red Management, Inc.
                                                       as Sub-advisor t"' ~ I ~
                                                             Name:
                                                                             Philip Yarrow
                                                             Title:       Authorized Signatory




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                                                       EXCHANGING EXISTING LENDERS


                                                       INVESCO    DYNAMIC                                 CREDIT
                                                       OPPORTUNITIES FUND


                                                       By: lnvesco Senio
                                                       as Sub-Adviser               ~

                                                            Name:
                                                                               Pllilip Yarrow
                                                            Title:         Aulhorized Signatory




                                                       INVESCO FLOATING RATE FUND


                                                       By: lnvesco Senior ~~c~r~ Management, Inc.
                                                       as Sub-Adviser     1 "'I~
                                                            Name:                 Phil p Yarrow
                                                            Title:             AU1110rized Signatory




                                                       INVESCO FLOATING RATE INCOME
                                                       FUND


                                                       By: Invesco Senior ~c~fl Management, Inc.
                                                       as Sub-Adviser     Y I~✓
                                                            Name:
                                                                                   Pllilip Yarrow
                                                            Title:             Aulhorized Signatory




                                                       INVESCO GEMINI US LOAN FUND


                                                       By: Invesco Senior Sec~p \Mpagement, Inc
                                                       as Investment Advisor 11-'1 - I ~
                                                            Name:
                                                                                           PhmpYarrow
                                                            Title:                      Authorized Signatory




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                                                       EXCHANGING EXISTING LENDERS


                                                       INVESCO OPPENHEIMER                          MASTER
                                                       LOAN FUND


                                                       By: By: Invesco
                                                       Adviser                  ~
                                                          -----~-~                   -~-----
                                                            Name:
                                                                           PhmpYarrow
                                                            Title:     Authorized Si!J)8lory




                                                       INVESCO   OPPENHEIMER                         SENIOR
                                                       FLOATING RATE FUND


                                                       By: Invesco SeniorcSec~ed    l Management, Inc.,
                                                       as sub-adviser     V ~
                                                            Name:              Phiip Yarrow
                                                            Title:          Authorized Si!J)8lory




                                                       INVESCO   OPPENHEIMER                         SENIOR
                                                       FLOATING RATE PLUS FUND


                                                       By: Invesco Senio    e~r d Management, Inc.,
                                                       as sub-adviser       .      I~✓
                                                            Name:
                                                                               PMpYatrow
                                                            Title:          Authorized Signatory




                                                       INVESCO SENIOR INCOME TRUST


                                                       By: lnvesc~ Senior& c~i d Management, Inc.
                                                       as Sub-Adviser    V ~
                                                            Name:             Philip Yarrow
                                                            Title:         Authorized Signatory




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                                                       EXCHANGING EXISTING LENDERS


                                                       INVESCO SENIOR LOAN FUND


                                                       By: Invesco Senio
                                                       as Sub-Adviser
                                                            Name:
                                                                              PMpYairow
                                                            Title:         Authorized Signatory




                                                       INVESCO SSL FUND LLC


                                                       By: Invesco Senior Sec
                                                       as Collateral Mana er ,
                                                            Name:
                                                                                        Philp Yarrow
                                                            Title:                   Au111o<ized Signatory




                                                       INVESCO ZODIAC FUNDS - INVESCO US
                                                       SENIOR LOAN ESG FUND


                                                       By: Invesco Senior Secur~ J\1~agement, Inc.
                                                       as Investment Manager t . '--'I~
                                                             Name:
                                                                                     PMpYa,row
                                                             Title:              Aulhonzed Signatory




                                                       INVESCO ZODIAC FUNDS - INVESCO US
                                                       SENIOR LOAN FUND


                                                       By: Invesco Senior Secur
                                                       as Investment Mana er
                                                            Name:
                                                                                             PMipYarrow
                                                             Title:                      Authorized Signatory




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                                                         EXCHANGING EXISTING LENDERS


                                                        KAISER PERMANENTE GROUP TRUST


                                                        By: Invesco Senior SecUft1)1 &r1agement, Inc.
                                                        as lnvestment Manager Y ·          I~
                                                             Name:
                                                                                       Philip Yasr01•
                                                             Title:                 Authorized Signatory




                                                        KAPITALFORENINGEN INVESTIN PRO,
                                                        US LEVERAGED LOANS I


                                                        By: lnvesco Senior Secu\-eq ~apagement, Inc.
                                                        as Investment Manager 1j/'        I~
                                                              Name:
                                                                                      Ph~p Yarr01•
                                                              Title:               Authorized Signatory




                                                        MILOS CLO, LTD.


                                                        By: Invesco RR Fund L.P. as Collateral
                                                        Manager
                                                        By: Invesco RR Associates LLC, as general
                                                        partner
                                                        By: Invesco Seni Sec red Management, Inc.
                                                        as sole member \   Ll ~
                                                              Nan1e:
                                                                            PMipYarrow
                                                              Title:     Authorized Signatory




                                                        RECETTE CLO, LTD.


                                                        By: Invesco Senior Sec
                                                        as Collateral Mana er
                                                             Name:
                                                                                       Ph~pYarrw
                                                             Title:                 Authorized Signatory




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Confidefiltial                                                                                             SSB- LCM- 00002211
  Confiderutial                                                                                 SSB_ADVERSARY00002211
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                                                      EXCHANGING EXISTING LENDERS


                                                       RISERVA CLO LTD.


                                                       By: Invesco RR Fund L.P. as Collateral
                                                       Manager
                                                       By: Invesco RR Associates LLC, as general
                                                       partner
                                                       By: Invesco Seni\/ se,yred Management, Inc.
                                                       as sole member    .        Io.--.~/
                                                             Name:
                                                                             PMpYairoo
                                                             Title:       Authorized SignalOI\'




                                                       SENTRY INSURANCE                 A          MUTUAL
                                                       ,COMPANY


                                                       By: Invesco Senit r; S'(91red Management, Inc.
                                                       as Sub-Advisor ~        I~
                                                            Nan1e:
                                                                               PMipYarrow
                                                            Title:          Authorized Sil1)8tOry




                                                       THE CITY OF NEW YORK GROUP
                                                       TRUST


                                                       By: Invesco Senior Secu
                                                       as lnvestment Adviser
                                                             Name:
                                                                                      Philip Yarrow
                                                             Title:                Authorized Sil1)810ry




                                                       UPLAND CLO, LTD.


                                                       By: Invesco Senior Sec~red~ anagement, Inc.
                                                       as Collateral Manager j/.        [ ~~✓
                                                            Name:                   Ptiiip Yairoo
                                                            Title:              A1Jthorized SignalOI\'




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                                                  EXCHANGING EXISTING LENDER

                                                 fNVESCO OPPENHEIMER FUNDAMENTAL
                                                 ALTERNATIVES FUND
                                                 By: Invesco Senior Secured Management, Inc. as Sub-
                                                 Advisor, as Lender


                                                 By:
                                                       Name:         PllilipYasrow
                                                       Title:     Aulhonzed Signatory




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB LCM 00002213
                                                                                                       -   -
  Confidential                                                                             SSB_ADVERSARY00002213
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                                                   EXCHANGING EXISTING LENDER

                                                 Oaktree Opportunities Fund Xb Holdings
                                                 (Delaware), L.P., as Lender

                                                 By: Oaktree Fund GP, LLC
                                                 Its: General Partner

                                                 By: Oaktree Fund GP I, L.P.
                                                 Its: Managing Member



                                                 By: ~
                                                 Name: Allen Li
                                                 Title: Authorized Signatory



                                                 By:
                                                 Name: Kajazales
                                                 Title: Authorized Signatory




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB- LCM- 00002214
  Confidential                                                                             SSB_ADVERSARY00002214
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 193 of 465

                                                  EXCHANGING EXISTING LENDER

                                                 Oaktree Opps X Holdco Ltd., as Le nder


                                                 By: Oaktree Capital Management, L.P.
                                                 Its: Director



                                                 By ~
                                                 Name: Allen Li
                                                                         ;<
                                                 Title: Vice President



                                                 By:
                                                 Name: Kajazales
                                                 Title: Managing Director




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB- LCM- 00002215
  Confidential                                                                             SSB_ADVERSARY00002215
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                                                  EXCHANGING EXISTING LENDER

                                                 Oaktree Opportunities Fund X Holdings
                                                 (Delaware), L.P., as Lende r


                                                 By: Oaktree Fund GP, LLC
                                                 Its: General Partner

                                                 By: Oaktree Fund GP I, L.P.
                                                 Its: Managing Member



                                                 By ~
                                                 Name: Allen Li
                                                                        ;<
                                                 Title: Authorized Signatory



                                                 By:
                                                 Name: Kajazales
                                                 Title: Authorized Signatory




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB LCM 00002216
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  Confidential                                                                             SSB_ADVERSARY00002216
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      "        EXCHANGING EXISTING LENDERS


           ✓ Dryden XXV Senior Loan Fund
           /     Dryden XXVI Senior Loan Fund
           ✓ Dryden XXVIJJ Senior Loan Fund
          . /Dryden 30 Senior Loan Fund
          ✓ Dryden 33 Senior Loan Fund
          ✓ Dryden 36 Senior Loan Fund
           ✓ Dryden 37 Senior Loan Fund
          ../ Dryden 38 Senior Loan Fund
          ..,,- Dryden 40 Senior Loan Fund
          ✓ Dryden 41 Senior Loan Fund
          v Dryden 42 Senior Loan Fund
           ✓ Dryden 43 Senior Loan Fund
           ✓ Dryden 45 Senior Loan Fund
           ✓ Dryden 47 Senior Loan Fund
            . , Dryden 49 Senior Loan Fund
           ✓Dryden 50 Senior Loan Fund
          ✓ Dryden 5 3 CLO, Ltd.
          ✓Dryden 54 Senior Loan Fund
          ./ Dryden 55 CLO, Ltd.
          ✓ Dryden 57 CLO, Ltd.
           ✓ Dryden 58 CLO, Ltd.
            ✓Dryden 60 CLO, Ltd.
          ✓ Dryden 61 CLO, Ltd.
          / Dryden 64 CLO, Ltd.
           ✓ Dryden 65 CLO, Ltd.
          v Dryden 70 CLQ, Ltd.
          v'Dryden 75 CLO, Ltd.
          ✓ Newark BSL CLO 1, Ltd.
          ✓ Newark BSL CLO 2, Ltd., as Lender




                 By:
                       c'_~=:~~                    I

                             ;

                 Name: Parag Pandya
                 Title: Vice President




                                          Signature Page to Super-Priority ferm Loa n Agreement




Confidential                                                                                           SSB- LCM- 00002217
  Confidential                                                                                    SSB_ADVERSARY00002217
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                                                        EXCHANGING EXISTING LENDER

                                                       Venture 28A CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management II LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB LCM 00002218
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  Confidential                                                                             SSB_ADVERSARY00002218
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                                                       EXCHANGING EXISTING LENDER

                                                       VENTURE XII CLO, Limited , as Lender
                                                       BY: its investment advisor
                                                       MJX Venture Management LLC



                                                           ,;z;--#~
                                                       By: - - - - - - - - - - - - - - -- -
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB LCM 00002219
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  Confidential                                                                             SSB_ADVERSARY00002219
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                                                       EXCHANGING EXISTING LENDER

                                                       VENTURE XIII CLO, Limited , as Lender
                                                       By: its Investment Advisor
                                                       MJX Venture Management LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - -- -
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Sig11ature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                     SSB LCM 00002220
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  Confidential                                                                              SSB_ADVERSARY00002220
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                                                      EXCHANGING EXISTING LENDER

                                                      VENTURE XIV CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Venture Management LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB- LCM- 00002221
  Confidential                                                                             SSB_ADVERSARY00002221
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 200 of 465


                                                      EXCHANGING EXISTING LENDER

                                                      VENTURE XIX CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Asset Management LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Tem1 Loan Agreement




Confidential                                                                                    SSB- LCM- 00002222
  Confidential                                                                             SSB_ADVERSARY00002222
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 201 of 465



                                                       EXCHANGING EXISTING LENDER

                                                       VENTURE XV CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Asset Management LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                   Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                   SSB LCM 00002223
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  Confidential                                                                            SSB_ADVERSARY00002223
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 202 of 465


                                                        EXCHANGING EXISTING LENDER

                                                        VENTURE XVI CLO, Limited , as Lender
                                                        By: its investment advisor
                                                        MJX Venture Management II LLC



                                                             ,;z;--#~
                                                        By: - - - - - - - - - - - - - - -- -
                                                          Name: Frederick Taylor
                                                          Title: Managing Director




                                    Sig11ature Page lo Super-Priority Ten11 Loan Agreement




Confidential                                                                                      SSB- LCM- 00002224
  Confidential                                                                               SSB_ADVERSARY00002224
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 203 of 465



                                                       EXCHANGING EXISTING LENDER

                                                       Venture XVIII CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management II LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB- LCM- 00002225
  Confidential                                                                             SSB_ADVERSARY00002225
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 204 of 465



                                                        EXCHANGING EXISTING LENDER

                                                       VENTURE XX CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                   Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                   SSB LCM 00002226
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  Confidential                                                                            SSB_ADVERSARY00002226
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture XXI CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Venture Management LLC



                                                           ,;z;--#~
                                                      By: - - - - -- - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page lo Super-Priority Term Loan Agreement




Confidential                                                                                    SSB- LCM- 00002227
  Confidential                                                                             SSB_ADVERSARY00002227
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                                                      EXCHANGING EXISTING LENDER

                                                       Venture XXIII CLO, Limited, as Lender
                                                       By: its investment advisor MJX Asset Management
                                                       LLC



                                                           ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




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Confidential                                                                                    SSB LCM 00002228
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  Confidential                                                                             SSB_ADVERSARY00002228
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture XXIV CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Asset Management LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - -- -
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                     Signature Page to Super-Priority Tenn Loan Agreeme nt



Confidential                                                                                      SSB LCM 00002229
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  Confidential                                                                               SSB_ADVERSARY00002229
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture XXVIII CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Venture Management II LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                     Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                     SSB LCM 00002230
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  Confidential                                                                              SSB_ADVERSARY00002230
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                                                      EXCHANGING EXISTING LENDER

                                                       Venture XXX CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management II LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                     Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                     SSB LCM 00002231
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  Confidential                                                                              SSB_ADVERSARY00002231
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture 31 CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Venture Management ill LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB LCM 00002232
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  Confidential                                                                             SSB_ADVERSARY00002232
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                                                        EXCHANGING EXISTING LENDER

                                                       Venture 32 CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Asset Management LLC



                                                             ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Signature Page to Supe r-Priority Tenn Loan Agreeme nt




Confidential                                                                                      SSB LCM 00002233
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  Confidential                                                                               SSB_ADVERSARY00002233
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture 33 CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Asset Management LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB LCM 00002234
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  Confidential                                                                             SSB_ADVERSARY00002234
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture 35 CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Asset Management LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB LCM 00002235
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  Confidential                                                                             SSB_ADVERSARY00002235
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture XVII CLO Limited , as Lender
                                                      BY: its investment advisor, MJX Asset
                                                      Management, LLC



                                                           ,;z;--#~
                                                      By: - -- - - - - - - - - - - - -- -
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                     Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                     SSB LCM 00002236
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  Confidential                                                                              SSB_ADVERSARY00002236
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                                                       EXCHANGING EXISTING LENDER

                                                       Venture XXII CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management II LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                     Signature Page to Super-Priority Tenn Loan Agreeme nt




Confidential                                                                                      SSB LCM 00002237
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  Confidential                                                                               SSB_ADVERSARY00002237
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                                                       EXCHANGING EXISTING LENDER

                                                       Venture XXIX CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management II LLC



                                                            ,;z;--#~
                                                       By: - - - - - - - - - - - - - - -- -
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                      Signature Page lo Super-Priority Te nn Loan Agreement




Confidential                                                                                       SSB LCM 00002238
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  Confidential                                                                                SSB_ADVERSARY00002238
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                                                       EXCHANGING EXISTING LENDER

                                                       Venture XX.VI CLO, Limited , as Lender
                                                       By: its investment advisor
                                                       MJX Venture Management LLC



                                                            ,;z;--#~
                                                       By: - -- - - - - - - - - - - - -- -
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                    Signature Page to Super-Priority Te nn Loan Agreeme nt




Confidential                                                                                      SSB LCM 00002239
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  Confidential                                                                               SSB_ADVERSARY00002239
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                                                      EXCHANGING EXISTING LENDER

                                                      Venture XX.VII CLO, Limited , as Lender
                                                      By: its investment advisor
                                                      MJX Venture Management II LLC



                                                           ,;z;--#~
                                                      By: - - - - - - - - - - - - - - - --
                                                        Name: Frederick Taylor
                                                        Title: Managing Director




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB LCM 00002240
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  Confidential                                                                             SSB_ADVERSARY00002240
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                                                       EXCHANGING EXISTING LENDER

                                                       VENTURE XXV CLO, LIMITED , as Lender
                                                       By its Investment Advisor, MJX Asset
                                                       Management LLC



                                                           ,;z;--#~
                                                       By: - - - - - - - - - - - - - - - --
                                                         Name: Frederick Taylor
                                                         Title: Managing Director




                                     Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                     SSB- LCM- 00002241
  Confidential                                                                              SSB_ADVERSARY00002241
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                                                                  EXISTING EXCHANGING LENDERS


                                                                 BlackRock Floating Rate Income
                                                                 Trust, as Lender
                                                                 By: BlackRock Advisors, LLC, its
                                                                 Investment Advisor



                                                                 By     ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory

                                                                 BlackRock Multi-Asset Income
                                                                 Portfolio of BlackRock Funds II, as
                                                                 Lender
                                                                 By: BlackRock Advisors, LLC, in its
                                                                 capacity as Investment Adviser



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory

                                                                 BlackRock Senior Floating Rate
                                                                 Portfolio, as Lender
                                                                 By: BlackRock Investment Management,
                                                                 LLC, its Investment Advisor



                                                                By      ffet{-
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory

                                                                 BlackRock Global Investment Series:
                                                                 Income Strategies Portfolio
                                                                 By: BlackRock Financial Management,
                                                                 lnc., its Sub-Advisor, as Lender



                                                                 By     f»t-1--
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory




                                    Signature Page to Super-Priority Tenn Loan Agreeme nt




Confidential                                                                                     SSB- LCM- 00002242
  Confidential                                                                              SSB_ADVERSARY00002242
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 221 of 465
                                                                 EXISTING EXCHANGING LENDERS


                                                                Fixed Income Opportunities Nero,
                                                                LLC, as Lender
                                                                By: BlackRock Financial Management
                                                                Inc. , Its Investment Manager



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                BlackRock Floating Rate Income
                                                                Portfolio of BlackRock Funds V, as
                                                                Lender
                                                                By: BlackRock Advisors, LLC, its
                                                                Investment Advisor



                                                                By•    ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory

                                                                ABR Reinsurance LTD. , as Lender
                                                                By: BlackRock Financial Management,
                                                                Inc., its Investment Manager



                                                                By ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                BlackRock Limited Duration Income
                                                                Trust, as Lender
                                                                By: BlackRock Advisors, LLC, its
                                                                Investment Advisor



                                                                By ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



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Confidential                                                                                  SSB LCM 00002243
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  Confidential                                                                           SSB_ADVERSARY00002243
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 222 of 465
                                                                 EXISTING EXCHANGING LENDERS


                                                                JPMBI re BlackRock BankLoan
                                                                Fund, as Lender
                                                                By: BlackRock Financial Management
                                                                Inc. , as Sub-Advisor



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory


                                                                BlackRock Credit Strategies Income
                                                                Fund of BlackRock Funds V, as Lender
                                                                BlackRock Advisors, LLC, its Adviser



                                                                By      ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory


                                                                NC GARNET FUND, L.P. , as Lender
                                                                By: NC Garnet Fund (GenPar), LLC, its
                                                                general partner AND By: BlackRock
                                                                Financial Management, Inc.
                                                                its manager



                                                                By      ffet{-
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory


                                                                BlackRock Floating Rate Income
                                                                Strategies Fund, Inc. , as Lender
                                                                By: BlackRock Advisors, LLC, its
                                                                Investment Advisor



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory




                                  Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                  SSB LCM 00002244
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  Confidential                                                                           SSB_ADVERSARY00002244
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                                                                 EXISTING EXCHANGING LENDERS


                                                                 BlackRock Debt Strategies Fund, Inc. ,
                                                                 as Lender
                                                                 By: BlackRock Advisors, LLC, its
                                                                 Investment Advisor



                                                                                   d--
                                                                 By:_____.,tfat......cc.,
                                                                 Name: AnnMarie Smith
                                                                 Title: Authorized Signatory


                                                                 Magnetite XII, LTD, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 lnc., as Investment Manager



                                                                 By:
                                                                 Name: AnnMarie Smith
                                                                 Title: Authorized Signatory


                                                                 Magnetite XVI, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 lnc., as Investment Manager



                                                                 By ~
                                                                 Name: AnnMarie Smith
                                                                 Title: Authorized Signatory


                                                                 Magnetite VII, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 lnc., as Investment Manager



                                                                 By•    ~
                                                                 Name: AnnMarie Smith
                                                                 Title: Authorized Signatory




                                  Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                   SSB LCM 00002245
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  Confidential                                                                            SSB_ADVERSARY00002245
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                                                                 EXISTING EXCHANGING LENDERS


                                                                 Magnetite XIX, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 Inc., as Investment Manager



                                                                 By• ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                 Magnetite XVIII, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 Inc. , as Investment Manager



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                 Magnetite XV, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 Inc. , as Investment Manager



                                                                By•~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                 Magnetite VIII, Limited, as Lender
                                                                 By: BlackRock Financial Management,
                                                                 Inc. , as Investment Manager



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory




                                   Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                   SSB LCM 00002246
                                                                                                  -    -
  Confidential                                                                            SSB_ADVERSARY00002246
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                                                                 EXISTING EXCHANGING LENDERS

                                                                Magnetite XVI-R, Limited, as Lender
                                                                By: BlackRock Financial Management,
                                                                Inc. , as Investment Manager



                                                                By•    ~
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                Magnetite XVII, Limited, as Lender
                                                                By: BlackRock Financial Management,
                                                                Inc. , as Investment Manager



                                                                By:
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory



                                                                Magnetite XX, Limited, as Lender
                                                                By: BlackRock Financial Management,
                                                                Inc. , as Investment Manager



                                                                By ~ f-
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory

                                                                JPMBI re BlackRock BankLoan
                                                                Fund, as Lender
                                                                By: BlackRock Financial Management
                                                                Inc. , as Sub-Advisor



                                                                By:    ~ f-
                                                                Name: AnnMarie Smith
                                                                Title: Authorized Signatory




                                   Signature Page lo Super-Priority Tenn Loan Agreement




Confidential                                                                                   SSB- LCM- 00002247
  Confidential                                                                            SSB_ADVERSARY00002247
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                                                   EXCHANGING EXISTING LENDER

                                                  Nuveen Diversified Dividend and Income Fund,
                                                  as Lender


                                                   By:




                                   Signat ure Page to S upe1·- Priority Ter m Loa n Agreement




Confidential                                                                                         SSB LCM 00002248
                                                                                                        -    -
  Confidential                                                                                  SSB_ADVERSARY00002248
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                                                  EXCHANGING EXISTING LENDER

                                                  Nuveen Floating Rate Income Fund,
                                                  as Lender


                                                  By:
                                                        N
                                                        T                         stments, Head of Research




                                  Signature Page to Super -Priority Term Loan Agreement




Confidential                                                                                         SSB LCM 00002249
                                                                                                         -    -
  Confidential                                                                                SSB_ADVERSARY00002249
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 228 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Nuveen Floating Rate Income Opportunity Fund,
                                                 as Lender


                                                 By:
                                                        Nam
                                                        Title:           o   nvestments, Head of Research




                                   Signature Page to Super-Priority Ter m Loan Agreement




Confidential                                                                                       SSB LCM 00002250
                                                                                                        -   -
  Confidential                                                                               SSB_ADVERSARY00002250
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 229 of 465

                                                    EXCHANGING EXISTING LENDER

                                                    Principal Funds, Inc. - Diversified Real Asset Fund,
                                                    as Lender


                                                    By:
                                                           Na
                                                           Tit           ea o nvestments, Head of Research




                                  S ignatu re Page to S uper- Priority Ter m Loan Agreemen t




Confidential                                                                                               SSB- LCM- 00002251
  Confidential                                                                                   SSB_ADVERSARY00002251
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 230 of 465


                                                    EXCHANGING EXISTING LENDER

                                                    Nuveen Senior Income Fund,
                                                    as Lender


                                                    By:




                                 Signatu1·e Page to S uper -Prior ity Term Loan Agree ment




Confidential                                                                                      SSB- LCM- 00002252
  Confidential                                                                               SSB_ADVERSARY00002252
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 231 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Symphony CLO XX L td.,
                                                 as Lender


                                                 By:

                                                                 -Head of Investments, Head of Research




                                    Signature Page to Super-Priority Te1·m Loan Agreement




Confidential                                                                                     SSB LCM 00002253
                                                                                                     -    -
  Confidential                                                                              SSB_ADVERSARY00002253
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 232 of 465


                                                EXCHANGING EXISTING LENDER

                                                Symphony CLO XVIII, LTD.,
                                                as Lender


                                                By:
                                                       Na
                                                       Tit           ad of Investments, Head of Research




                                    Signature Page to Super-P riority Term Loan Agreement



Confidential                                                                                      SSB- LCM- 00002254
  Confidential                                                                              SSB_ADVERSARY00002254
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 233 of 465


                                                   EXCHANGING EXISTING LENDER

                                                   Nuveen Short Duration Credit Opportunities Fund,
                                                   as Lender


                                                   By:
                                                         N
                                                         Ti             a o Investments, Head of Research




                                   Signature Page to S upe r-Prior ity Term Loan Agreement



Confidential                                                                                          SSB- LCM- 00002255
  Confidential                                                                               SSB_ADVERSARY00002255
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 234 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Symphony CLO XIX Ltd,
                                                 as Lender


                                                 By:
                                                       N
                                                                     a o    nvestments, Head of Research




                                     Signature Page to Super-Priority Term Loan Agreement



Confidential                                                                                      SSB LCM 00002256
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  Confidential                                                                              SSB_ADVERSARY00002256
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 235 of 465


                                                EXCHANGING EXISTING LENDER

                                                Nuveen Symphony Floating Rate Income Fund, as Lender



                                                By:
                                                      N
                                                      T                           rnents, Head of Research




                                     Signature Page to Super-Priority Term Loa n Agreement



Confidential                                                                                        SSB- LCM- 00002257
  Confidential                                                                               SSB_ADVERSARY00002257
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 236 of 465


                                                  EXCHANGING EXISTING LENDER

                                                  BayCity Alternative Investment Funds SICAY-SIF -
                                                  BayCity US Senior Loan Fund,
                                                  as Lender


                                                  By:
                                                         Nan · : Ja1 .e s Kim
                                                         Tit! :    -Head of Investments, Head of Research




                                   Signatu re Page to S uper -Prior ity Te rm Loan Agree ment



Confidential                                                                                         SSB LCM 00002258
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  Confidential                                                                                  SSB_ADVERSARY00002258
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 237 of 465


                                                   EXCHANGING EXISTING LENDER

                                                  Pensiondanmark Pensionsforsikringsaktieselskab,
                                                  as Lender


                                                  By:




                                   S!grtatu re Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                        SSB LCM 00002259
                                                                                                       -   -
  Confidential                                                                              SSB_ADVERSARY00002259
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 238 of 465


                                                EXCHANGING EXISTING LENDER

                                                 Menard, Inc.,
                                                 as Lender


                                                 By:
                                                       N
                                                       T                            ments, Head of Research




                                   Signature Page to Super -Pr ior ity Term Loan Agreement



Confidential                                                                                          SSB LCM 00002260
                                                                                                          -   -
  Confidential                                                                                 SSB_ADVERSARY00002260
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 239 of 465


                                                 EXCHANGING EXISTING LENDER
                                                 BayCity Senior Loan Master Fund Ltd.,
                                                 as Lender


                                                 By:
                                                       Na1
                                                       T it           d of Investments, Head of Research




                                   Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                      SSB LCM 00002261
                                                                                                      -    -
  Confidential                                                                             SSB_ADVERSARY00002261
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 240 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Municipal Employees Annuity & Benefit Fund of Chicago,
                                                 as Lender


                                                 By:
                                                       Na
                                                       Tit e:    -Head of Investments, Head of Research




                                    Signature Page to Super -Priority Term Loan Agreement




Confidential                                                                                     SSB LCM 00002262
                                                                                                     -    -
  Confidential                                                                              SSB_ADVERSARY00002262
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 241 of 465


                                                  EXCHANGING EXISTING LENDER

                                                  Principal Diversified Real Asset CIT,
                                                  as Lender


                                                  By:
                                                        Nai
                                                        Titl                           ents, Head of Research




                                   S ignature Page to S uper- Priority Term Loan Agreement



Confidential                                                                                           SSB LCM 00002263
                                                                                                            -   -
  Confidential                                                                                   SSB_ADVERSARY00002263
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 242 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Symphony CLO XVII, LTD.,
                                                 as Lender


                                                 By:
                                                       Nam . Ja s Kim
                                                       Title · -Head of Investments, Head of Research




                                  Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                   SSB LCM 00002264
                                                                                                    -   -
  Confidential                                                                           SSB_ADVERSARY00002264
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 243 of 465


                                                EXCHANGING EXISTING LENDER

                                                TCI-Symphony 2016-1 Ltd,
                                                as Lender


                                                By :
                                                       Na       es im
                                                       Tit . o-Head of Investments, Head of Research




                                    Signature Page to Super -Priority Tenn Loan Agreement




Confidential                                                                                     SSB LCM 00002265
                                                                                                    -    -
  Confidential                                                                              SSB_ADVERSARY00002265
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 244 of 465


                                                EXCHANGING EXISTING LENDER

                                                Symphony CLO XV, Ltd.,
                                                as Lender


                                                By:
                                                      Nam
                                                       Title         ad of Investments, Head of Research




                                    S ignature Page to Super-Priority Term Loan Agreement




Confidential                                                                                      SSB LCM 00002266
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  Confidential                                                                              SSB_ADVERSARY00002266
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 245 of 465


                                                EXCHANGING EXISTING LENDER

                                                 TCI-Symphony 2017-1 Ltd,
                                                 as Lender


                                                 By:
                                                       Name
                                                       Title:            of Investments, Head of Research




                                   Signature Page to Super-Priority Te rm Loan Agreemen t




Confidential                                                                                       SSB LCM 00002267
                                                                                                        -   -
  Confidential                                                                               SSB_ADVERSARY00002267
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 246 of 465


                                                 EXCHANGING EXISTING LENDER

                                                 Symphony Floating Rate Senior Loan Fund,
                                                 as Lender


                                                  By:
                                                        Name
                                                        Title:           o   nvestments, Head of Research




                                    Signature Page to Super-Prior ity Term Loan Agrnement




Confidential                                                                                       SSB LCM 00002268
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  Confidential                                                                               SSB_ADVERSARY00002268
                      Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 247 of 465


                                                     EXCHANGING EXISTING LENDER

                                                     SCOF-2 LTD.,
                                                     as Lender


                                                     By:
                                                           Name Jam Kim
                                                           Title: - ead of Investments, Head of Research




                                         Signature Page to Super-Priority Term Loan Agreement




Conijd@riual                                                                                         SSB LCM 00002269
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  Ciilllffide~!tial                                                                             SSB_ADVERSARY00002269
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 248 of 465


                                                  EXCHANGING EXISTING LENDER

                                                  Californ ia Street CLO IX Limited Partnership,
                                                  as Lender




                                                                    ead of In~estments, Head of Research




                                   Signature Page to Super-Priority Term Loan Agreement



Confidential                                                                                       SSB LCM 00002270
                                                                                                       -   -
  Confidential                                                                                SSB_ADVERSARY00002270
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                                               EXCHANGING EXISTING LENDER

                                               California Street CLO XII, LTD.,
                                               as Lender


                                               By:
                                                     Name: J me im
                                                     Title: C - ead oflnvestments, Head of Research




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                    SSB- LCM- 00002271
  Confidential                                                                             SSB_ADVERSARY00002271
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 250 of 465


                                                EXCHANGING EXISTING LENDER

                                                Symphony CLO XIV, Ltd.,
                                                as Lender


                                                By:
                                                      N
                                                      T            ead of Investments, Head of Research




                                    Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                     SSB- LCM- 00002272
  Confidential                                                                             SSB_ADVERSARY00002272
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                                                EXCHANGING EXISTING LENDER

                                                Symphony CLO XVI, LTD.,
                                                as Lender


                                                By:
                                                       N
                                                       T                    nvestments, Head of Research




                                    Signatu re Page to Super-Priority Term Loan Agreement


Confidential                                                                                      SSB LCM 00002273
                                                                                                       -   -
  Confidential                                                                              SSB_ADVERSARY00002273
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                                                  EXCHANGING EXISTING LENDER

                                                  Nuveen Credit Strategies Income Fund, as Lender


                                                  By:

                                                                 -Head of Investments, Head of Research




                                  Signature Page to Super-Priority Term Loan Agreement




Confidential                                                                                        SSB- LCM- 00002274
  Confidential                                                                               SSB_ADVERSARY00002274
                 Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 253 of 465


                                                 EXCHANGING EXISTING LENDERS


                                                 TAO FUND, LLC, as Lender


                                                 By:
                                                       Name:
                                                       Title:




                                                 TOP FUND IV, LLC, as Lender


                                                 By:
                                                       Name:
                                                       Title:




                                    Signature Page to Super-Priority Tenn Loan Agreement




Confidential                                                                                    SSB- LCM- 00002275
  Confidential                                                                             SSB_ADVERSARY00002275
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 254 of 465




               MP CLO III LTD.,




               ~&&:~aterfil Manager
               Name: Thomas Shandell
               Title: CEO




                              [Signature Page to Super-Priority Term Loan Agreement]




Confidential                                                                                SSB LCM 00002276
                                                                                               -    -
  Confidential                                                                         SSB_ADVERSARY00002276
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 255 of 465




               MP CLO IV LTD.,




               ~lftialei~~fil
               Name: Thomas Shandell
                                                         Manager

               Title: CEO




                                 [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                   SSB- LCM- 00002277
  Confidential                                                                            SSB_ADVERSARY00002277
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 256 of 465




               MP CLO VII LTD.,




               By: MP CLO Management LLC, its Co
               Name: Thomas Shandell
               Title: CEO




                               [Signature Page to Super-Priority Term Loan Agreement]




Confidential                                                                                 SSB LCM 00002278
                                                                                                -    -
  Confidential                                                                          SSB_ADVERSARY00002278
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 257 of 465




               MP CLO VIII LTD.,




               - t ! ~filManager
               Name: Thomas Shandell
               Title: CEO




                                 [Signature Page to Super-Priority Term Loan Agreement]




Confidential                                                                                   SSB LCM 00002279
                                                                                                  -    -
  Confidential                                                                            SSB_ADVERSARY00002279
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 258 of 465




               MARBLE POINT CLO X LTD.,




               ~#~
               By: Marble Point CLO Management LLC, its Collateral Manager
               Name: Thomas Shandell
               Title: CEO




                                    [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                  SSB LCM 00002280
                                                                                                 -    -
  Confidential                                                                           SSB_ADVERSARY00002280
                  Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 259 of 465




               MARBLE POINT CLO XI LTD.,




               ~ ~ ollaterltl Manager
               Name: Thomas Shandell
               Title: CEO




                              [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                SSB LCM 00002281
                                                                                               -    -
  Confidential                                                                         SSB_ADVERSARY00002281
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 260 of 465




               MARBLE POINT CLO XII LTD.,




               &         / iL~
               Name: Thomas Shandell
               Title: CEO
                                                         ollateraJ Manager




                                 [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                   SSB LCM 00002282
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  Confidential                                                                            SSB_ADVERSARY00002282
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 261 of 465




               MARBLE POINT CLO XIV LTD.,




               By: Marble Point CLO Management LLC,    Collateral Manager
               Name: Thomas Shandell
               Title: CEO




                               [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                 SSB LCM 00002283
                                                                                                -    -
  Confidential                                                                          SSB_ADVERSARY00002283
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 262 of 465




               MPLF FUNDING LTD.,




                y: Marble Poin Credit Management LLC, i Collateral Manager
               Name: Thomas Shandell
               Title: CEO




                                [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                  SSB LCM 00002284
                                                                                                 -    -
  Confidential                                                                           SSB_ADVERSARY00002284
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 263 of 465




               MPSFR FINANCING 1 LTD.,




               ~ i& ~. its
               Name: Thomas Shandell
               Title: CEO
                                                         Collateral Manager




                                [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                  SSB LCM 00002285
                                                                                                 -    -
  Confidential                                                                           SSB_ADVERSARY00002285
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 264 of 465




               Marathon CLO V Ltd.,


               By Marathon Asset Management L.P.
               Its Portfolio Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                   [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                     SSB LCM 00002286
                                                                                                    -    -
  Confidential                                                                              SSB_ADVERSARY00002286
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 265 of 465




               Marathon CLO VIl Ltd.,


               By Marathon Asset Management L.P.
               Its Portfolio Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                  [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                    SSB LCM 00002287
                                                                                                   -    -
  Confidential                                                                             SSB_ADVERSARY00002287
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 266 of 465




               Marathon CLO VIII Ltd.,


               By Marathon Asset Management L.P.
               Its Portfolio Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                    [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                      SSB LCM 00002288
                                                                                                     -    -
  Confidential                                                                               SSB_ADVERSARY00002288
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 267 of 465




               Marathon CLO IX Ltd.,


               By Marathon Asset Management L.P.
               Its Portfolio Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                  [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                    SSB LCM 00002289
                                                                                                   -    -
  Confidential                                                                             SSB_ADVERSARY00002289
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               Marathon CLO X Ltd.,


               By Marathon Asset Management L.P.
               Its Portfolio Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                  [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                    SSB LCM 00002290
                                                                                                   -    -
  Confidential                                                                             SSB_ADVERSARY00002290
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               Marathon CLO XI Ltd.,


               By Marathon Asset Management L.P.
               Its Collateral Manager



               By:
               Name: Andrew Brady
               Title: Authorized Signatory




                                  [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                    SSB LCM 00002291
                                                                                                   -    -
  Confidential                                                                             SSB_ADVERSARY00002291
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 270 of 465




               BOWERY FUNDING ULC,




               By:      i·..iobashnrul !slbm
                        A11lhl)1i1eU Si;:u~\c,1•r
               Name:
               Title:




                                           [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                             SSB LCM 00002292
                                                                                                            -    -
  Confidential                                                                                      SSB_ADVERSARY00002292
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 271 of 465




               WOODBINE FUNDING ULC,




               By:       :•.1oi.:asi1arli ! !slam
                         Au1i•1->1i1ct.J Si:;11u1c,1•/
               Name:
               Title:




                                          [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                                            SSB LCM 00002293
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  Confidential                                                                                     SSB_ADVERSARY00002293
                    Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 272 of 465
               Elevation CLO 2013-1, Ltd.
               Elevation CLO 2014-2, Ltd.
               Elevation CLO 2015-4, Ltd.
               Elevation CLO 2016-5, Ltd.
               Elevation CLO 2017-6, Ltd.
               Elevation CLO 2017-7, Ltd.
               Elevation CLO 2017-8, Ltd.
               Elevation CLO 2018-9, Ltd.
               Elevation CLO 2018-10, Ltd.
               Peaks CLO 3, Ltd.




               By:
               Name: Sanjai Bhonsle
               Title: Partner, Portfolio Manager




                                 [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                   SSB LCM 00002294
                                                                                                  -    -
  Confidential                                                                            SSB_ADVERSARY00002294
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 273 of 465




               MP CLO III LTD.,




               By: MP CLO lvlanagement LLC, its Collate
               Name: Thomas Shandell
               Title: CEO




                             [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                               SSB LCM 00002295
                                                                                              -    -
  Confidential                                                                        SSB_ADVERSARY00002295
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               MP CLO IV LTD.,




           ~L~ By: MP CLO Management LLC, its Collateral Manager
               Name: Thomas Shandell
               Title: CEO




                             [Signature Page to Super-Priority Tenn Loan Agreement]



Confidential                                                                               SSB LCM 00002296
                                                                                              -    -
  Confidential                                                                        SSB_ADVERSARY00002296
                  Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 275 of 465




               MP CLO VII LTD.,




               ~"~
               By: MP CLO ManagementLLC,its Collat al Manager
               Name: Thomas Shandell
               Title: CEO




                           [Signature Page to Super-Priority Term Loan Agreement]



Confidential                                                                             SSB LCM 00002297
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  Confidential                                                                      SSB_ADVERSARY00002297
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 276 of 465




               MP CLO VIII LTD.,




           ~ Lg~                                         Manager
               Name: Thomas Shandell
               Title: CEO




                            [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                              SSB LCM 00002298
                                                                                             -    -
  Confidential                                                                       SSB_ADVERSARY00002298
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 277 of 465




               MARBLE POINT CLO X.,




               kt::o              J / . l ~laterfil Manager
               Name: Thomas Shandell
               Title: CEO




                            [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                              SSB LCM 00002299
                                                                                             -    -
  Confidential                                                                       SSB_ADVERSARY00002299
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 278 of 465




               MARBLE POINT CLO XI LTD.,




           ~                    o- d : ~ollateral Manager
               Name: Thomas Shandell
               Title: CEO




                            [Signature Page to Super-Priority Term Loan Agreement]

Confidential                                                                              SSB LCM 00002300
                                                                                             -    -
  Confidential                                                                       SSB_ADVERSARY00002300
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               MARBLE POINT CLO XII LTD.,



               ~II~
               By: Marble Point CLO Management LLC, its Collateral Manager
               Name: Thomas Shandell
               Title: CEO




                              [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                SSB LCM 00002301
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  Confidential                                                                         SSB_ADVERSARY00002301
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 280 of 465




               MPLF FUNDING LTD.,




               By: Marble Point Credit Managem        ,      lateral Manager
               Name: Thomas Shandell
               Title: CEO




                             [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                               SSB LCM 00002302
                                                                                              -    -
  Confidential                                                                        SSB_ADVERSARY00002302
                    Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 281 of 465




               Monarch Master Funding Ltd,



               By   ~~JJJ                    LP, as adviser



               By:
               Name: Michael Weinstock
               Title: Authorized Person




                          [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                            SSB LCM 00002303
                                                                                           -    -
  Confidential                                                                     SSB_ADVERSARY00002303
                   Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 282 of 465




               Venor Capital Master Fund Ltd.,




               By: Yenor Capital Management L.P.
                   Its Investment Manager
               Name: Michael Wartell
               Title: Co-CIO




                             [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                               SSB LCM 00002304
                                                                                              -    -
  Confidential                                                                        SSB_ADVERSARY00002304
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               Elevation CLO 2013-1, Ltd.
               Elevation CLO 2014-2, Ltd.
               Elevation CLO 2015-4, Ltd.
               Elevation CLO 2016-5, Ltd.
               Elevation CLO 2017-6, Ltd.
               Elevation CLO 2017-7, Ltd.
               Elevation CLO 2017-8, Ltd.
               Elevation CLO 2018-9, Ltd.
               Peaks CLO 1, Ltd.
               Peaks CLO 2, Ltd.




               By:
               Name: Sanjai Bhonsle
               Title: Partner, Portfolio Manager




                               [Signature Page to Super-Priority Term Loan Agreement]


Confidential                                                                                 SSB LCM 00002305
                                                                                                -    -
  Confidential                                                                          SSB_ADVERSARY00002305
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                                                     SCHEDULE 1.01

                                                  COMMITMENT SCHEDULE

                                Lender

                        UBS AG. Stamford Brnnch




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                                                                                               Schedule 1.01 - Commitment Schedule (Con't)


                                                              Lender
                                                      Manager & Sub Funds                                      Initial Exchange Term Loans

          Eaton Vance
            AGF Floating Rate Income Fund
            Brighthouse Funds Trust I - Brighthouse/Eaton Vance Floating Rate Portfolio
            Eaton Vance CLO 2013-1 LTD.
            Eaton Vance CLO 2014-lR, Ltd.
            Eaton Vance CLO 2015-1, Ltd.
            Eaton Vance CLO 2018-1, Ltd.
            Eaton Vance CLO 2019-1, Ltd.
            Eaton Vance Floating Rate Income Trust
            Eaton Vance Floating Rate Portfolio
            Eaton Vance Floating-Rate 2022 Target Term Trust
            Eaton Vance Floating-Rate Income Plus Fund
            Eaton Vance Institutional Senior Loan Fund
            Eaton Vance Institutional Senior Loan Plus Fund
            Eaton Vance International (Cayman Islands) Floating-Rate Income Portfolio
            Eaton Vance Limited Duration Income Fund
            Eaton Vance Loan Holding Limited
            Eaton Vance Senior Floating-Rate Trust
            Eaton Vance Senior Income Trust
            Eaton Vance Short Duration Diversified Income Fund
            Eaton Vance VT Floating-Rate Income Fund
            Senior Debt Portfolio
            Calvert Management Series - Calvert Floating-Rate Advantage Fund
          CSAM
            BA/CSCredit 1 LLC - CS
            Bentham Strategic loan Fund
            Bentham Syndicated Loan Fund
            Blue Shield Of California - Credit Suisse
            CALIFORNIA STATE TEACHERS' RETIREMENT SYSTEM
            CITY OF NEW YORK GROUP TRUST
            Commonwealth of Pennsylvania Treasury Department- CSAM
            Copperhill Loan Fund I, LLC
            CREDIT SUISSE ASSET MANAGEMENT INCOME FUND, INC.
            Credit Suisse Floating Rate High Income Fund
            Credit Suisse Floating Rate Trust
            CREDIT SUISSE HIGH YIELD BOND FUND
            CREDIT SUISSE NOVA (LUX} - GLOBAL SENIOR LOAN FUND
            CREDIT SUISSE OPPORTUNITY FUNDS - CREDIT SUISSE FLOATING RATE HIGH INCOME FUND
            Credit Suisse Strategic Income Fund
            DaVinci Reinsurance Ltd. - CSAM
            DOLLAR SENIOR LOAN FUND, LTD.
            DOLLAR SENIOR LOAN MASTER FUND II, LTD.
            EATON CORPORATION MASTER RETIREMENT TRUST
            ERIE INDEMNITY COMPANY
            ERIE INSURANCE EXCHANGE
            FIDANTE PARTNERS LIMITED AS TRUSTEE FOR BENTHAM STRATEGIC LOAN FUND
            Fl DANTE PARTNERS SERVICES LIMITED AS RESPONSIBLE ENTITY FOR BENTHAM HIGH YIELD FUND

            Fl DANTE PARTNERS SERVICES LIMITED AS RESPONSIBLE ENTITY FOR BENTHAM SYNDICATED LOAN FUND
            Inflation Protection Fund-I Series, a series of the Wespath Funds Trust
            KP Fixed Income Fund
            MADISON FLINTHOLM SENIOR LOAN FUND I DESIGNATED ACTIVITY COMPANY
            MADISON PARK FUNDING X, LTD.
            MADISON PARK FUNDING XI, LTD.
            Madison Park Funding XII, Ltd.




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                                                                                                   Schedule 1.01 - Commitment Schedule (Con't)


                                                          Lender
                                                   Manager & Sub Funds                                             Initial Exchange Term Loans
             Madison Park Funding XIII, Ltd.
             MADISON PARK FUNDING XIV, LTD.
             MADISON PARK FUNDING XIX, LTD.
             MADISON PARK FUNDING XL l TD
             MADISON PARK FUNDING XLI, LTD
             MADISON PARK FUNDING XLII, LTD.
             Madison Park Funding XLIII, Ltd.
             Madison Park Funding XLIV, Ltd.
             Madison Park Funding XV, Ltd.
             MADISON PARK FUNDING XVI, LTD.
             MADISON PARK FUNDING XVII, LTD.
             MADISON PARK FUNDING XVIII, LTD.
             MADISON PARK FUNDING XX, LTD.
             MADISON PARK FUNDING XXI, LTD.
             MADISON PARK FUNDING XXII, LTD.
             MADISON PARK FUNDING XXIII, LTD.
             MADISON PARK FUNDING XXIV, LTD.
             Madison Park Funding XXIX, Ltd.
             MADISON PARK FUNDING XXV LTD
             MADISON PARK FUNDING XXVI, LTD.
             Madison Park Funding XXVII, Ltd.
             MADISON PARK FUNDING XXVIII LTD
             Madison Park Funding XXX, Ltd.
             Madison Park Funding XXXI, Ltd.
             Madison Park Funding XXXII, Ltd.
             Madison Park Funding XXXIV, Ltd.
             Madison Park Funding XXXV, Ltd.
             Madison Park Funding XXXVII, Ltd.
             Maryland State Retirement And Pension System - CS
             NEW MEXICO STATE INVESTMENT COUNCIL
             ONE ELEVEN FUNDING I LTD
             One Eleven Funding II, Ltd.
             PHILLIPS 66 RETIREMENT PLAN TRUST
             PK-SSL Investment Fund limited Partnership
             Renaissance Investment Holdings Ltd. - CSAM
            State of New Mexico State Investment Council - CS
            TELSTRA SUPER PTY LTD AS TRUSTEE FOR TELSTRA SUPERANNUATION SCHEME
            Telstra Superannuation Scheme - CSAM
            The Eaton Corporation Master Retirement Trust
            Wespath Funds Trust - CSAM
            Wind River Fund, LLC
          Barings
            Arrowood Indemnity Company
            Arrowood Indemnity Company, As Administrator Of The Pension Plan Of Arrowood Indemnity Company -
             Barings
            AUSTRALIANSUPER, AUSTRALIANSUPER PTY LTD, TTEE
             Babson CLO LTD. 2014-1
             Baloise Senior Secured Loan Fund I
             Barings BOC Senior Funding I, LLC
             Barings BOC, Inc.
             BARING$ CLO LTD 2017-1
             BARING$ CLO LTD 2018-111
             BARINGSCLO LTD. 2013-1
             BARINGS CLO LTD. 2015-1
             BARING$ CLO LTD. 2015-11
             Barings CLO Ltd. 2016-1




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                                                                                                Schedule 1.01 - Commitment Schedule (Con't)



                                                                Lender
                                                        Manager & Sub Funds                                     Initial Exchange Term Loans
             BARING$ CLO LTO. 2016-11
             Barings CLO Ltd. 2017-1
             Barings CLO ltd. 2018-1
             Barings CLO ltd. 2018-111
             Barings CLO Ltd. 2018-IV
             Barings CLO ltd. 2019-11
             BARINGS FUNDS TRUST - BARING$ GLOBAL FLOATING RATE FU ND
             BARINGS FUNDS TRUST-BARINGS GLOBAL CREDIT INCOME OPPORTUNITIES FUND
             Barings Global Credit Income Opportunities Fund
             Barings Global Floating Rate Fund
             BARINGS GLOBAL HIGH YIELD CREDIT STRATEGIES LIMITED
             Barings Global Loan and High Yield Bond Limited
             BARING$ GLOBAL LOAN LIMITED
             BARING$ GLOBAL MULTI-CREDIT STRATEGY 1 LIMITED
             BARING$ GLOBAL MULTI-CREDIT STRATEGY 2 LIMITED
             BARING$ GLOBAL MULTI-CREDIT STRATEGY 3 LIMITED
             BARING$ GLOBAL MULTI-CREDIT STRATEGY 4 LIMITED
             BARING$ GLOBAL SHORT DURATION HIGH YIELD FUND
             BARING$ GLOBAL SPECIAL SITUATIONS CREDIT 3 S.A R.L.
             Barings Segregat ed Loans 3 S.a.r.l
             Barings U.S. Loa n Li mited
             BEL-AIR LOAN FUND LLC
             CITY OF NEW YORK GROUP TRUST
             CROWN MANAGED ACCOUNTS SPC-CROWN/BA 2 SEGREGATED PORTFOLIO
             Jocassee Partners LLC
             PENSION PLAN OF ARROWOOD INDEMNITY COMPANY (THE)
             Serengeti (Loan Fund), a series trust of the Multi Strategy Umbrella Fund Cayman
             Universal-Investment GmbH w/BAYVK R2-Fonds Segment BAYVK R2 Barings
          First Eagle
             First Eagle Bank Loan Select Master Fund
             First Eagle Sen ior Loan Fund
             KVK CLO 2013-1, Ltd .
             KVK CLO 2016-1 Ltd.
             KVK CLO 2018-1 Ltd.
             Russell Investment Company Unconstrained Total Return Fund - First Eagle
             Russell Investments Globa l Unconstrained Bond Pool
             Russell Investments Institut ional Funds LLC Absolute Return Fixed Income Fund
             Russell Investments Institutional Funds, LLC Multi-Asset Core Plus Fund
             Russell Investments Qualifying Investor Alternat ive Funds pie
             Stichting Blue Sky Active Fixed Income US Leveraged Loan Fund - First Eagle
             Stichting Pensioenfonds Hoogovens - First Eagle
             Wind River 2012-1 CLO Ltd.
             Wind River 2013-1 CLO Ltd.
             Wind River 2013-2 CLO Ltd.
             Wind River 2014-1 CLO Ltd.
             Wind River 2014-2 CLO Ltd.
             Wind River 2014-3 CLO Ltd.
             Wind River 2014-3K CLO Ltd.
             Wind River 2015-1 CLO Ltd.
             Wind River 2015-2 CLO Ltd.
             Wind River 2016-1 CLO Ltd.
             W ind River 2016-2 CLO Ltd.
             Wind River 2017-1 CLO Ltd.
             Wind River 2017-4 CLO Ltd.
             Wind River 2018-3 CLO Ltd.
             Wind River 2019-3 CLO Ltd.




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                                                                             Schedu le 1.01 - Commitment Schedule (Con't)



                                                               Lender
                                                       Manager & Sub Funds                   In itial Exc hange Term Lo ans
             Staniford Street CLO, Ltd.
          Invesco
             Ann isa CLO, Ltd.
             Betony CLO 2, LTD.
             BOC Pension Investment Fund
             Carbone CLO, Ltd.
             CITY OF NEW YORK GROUP TRUST
             DIVERSIFIED CREDIT PORTFOLIO LTD
             HarbourView CLO VI I-R, Lt d.
             INVESCO BL FUND, LTD.
             INVESCO DYNAMIC CREDIT OPPORTUNITIES FUND
             Invesco Floating Rate Fund
             INVESCO FLOATING RATE INCOME FUND
             Invesco Gemin i US Loan Fund LLC (1)
             Invesco Oppenheimer Fundamental Alternatives Fund
             Invesco Oppenheimer Master Loan Fund
             Invesco Oppenheimer Senior Floating Rate Fund
             Invesco Oppenheimer Senior Floating Rate Plus Fund
             INVESCO SENIOR INCOME TRUST
             INVESCO SE NIOR LOAN FUND
             INVESCO SSL FUND LLC
             INVESCO ZODIAC FU NDS - INVESCO US SENIOR LOAN ESG FUND
             INVESCO ZODIAC FU NDS - INVESCO US SENIOR LOAN FUND
             KAISER PERMANENTE GROUP TRUST
             KAPITALFORENINGEN INVESTIN PRO · US LEVERAGED LOANS I
             M ilos CLO, Ltd.
             Recette CLO, Ltd .
             Riserva CLO Ltd.
             SENTRY INSURANCE A MUTUAL COMPANY
             The City of New York Group Trust - Invesco
             Upland CLO, Ltd.
          O aktree
             Oaktree Opportunities Fu nd X Holdings (Delaware), L.P.
             Oaktree Opportunities Fund Xb Holdings (Delaware), L.P.
            Oakt ree Opps X Holdco ltd.
          PGIM
             Dryden 49 Senior Loan Fund
             Dryden SO Sen ior Loan Fund
             Dryden 55 CLO, Ltd.
             Dryden 58 CLO, Ltd.
             Dryden 60 CLO, Ltd.
             Dryden 64 CLO, Ltd.
             Dryden 75 CLO, Ltd.
             Newark BSL CLO 1, Ltd .
             Newark BSL CLO 2, Ltd.
             Dryden 30 Senior Loan Fund
             Dryden 33 Sen ior Loan Fu nd
             Dryden 36 Sen ior loan Fu nd
             Dryden 37 Sen ior Loan Fund
             Dryden 38 Senior Loan Fund
             Dryden 40 Senior Loan Fu nd
             Dryden 41 Senior Loan Fund
             Dryden 42 Senior Loan Fund
             Dryden 43 Senior Loan Fund
             Dryden 45 Senior Loan Fu nd
             Dryden 47 Senior Loan Fu nd




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                                                                              Schedule 1 .01 - Commitment Schedule (Con't)



                                                              Lender
                                                      Manager & Sub Funds                     Initial Exchange Term Loans
            Dryden 53 CLO, Ltd.
            Dryden 54 Senior Loan Fu nd
            Dryden 57 CLO, Ltd.
            Dryden 61 CLO, Ltd.
            Dryden 65 CLO, Ltd.
            Dryden 70 CLO, Ltd.
            Dryden XXV Senior Loan Fund
            Dryden XXVI Sen ior Loan Fund
            Dryden XXVIII Senior Loan Fund
          MJX
            Venture XIX CLO, Limited
            Venture 28A CLO, limited
            Venture 31 CLO, limited
            Venture 32 CLO, limited
            Venture 33 CLO, limited
            Venture 35 CLO, limited
            Venture XII CLO, Limited
            Venture XIII CLO, Limited
            Venture XIV CLO, limited
            Venture XV CLO, Limited
            Venture XVI CLO, Limited
            Venture XVII CLO, Limited
            Venture XVIII CLO, limit ed
            Venture XX CLO, Limited
            Vent ure XXI CLO, limit ed
            Venture XXII CLO, Limited
            Venture XXIII CLO, limited
            Venture XXIV CLO, Limited
            Venture XXIX CLO, Limited
            Venture XXV CLO, limited
            Venture XXVII CLO, limited
            Venture XXVIII CLO, limited
            Venture XXX CLO, Limited
          BlackRock
            ABR Reinsurance LTD
            BlackRock Credit Strategies Income Fund of BlackRock Funds V
            BLACKROCK DEBT STRATEGIES FUND, INC.
            BlackRock Floating Rate Income Portfolio of BlackRock Funds V
            Blackrock Floating Rate Income Strategies Fund, Inc
            BLACKROCK FLOATING RATE INCOME STRATEGIES FUND, INC.
            BLACKROCK FLOATING RATE INCOME TRUST
            BLACKROCK FUNDS II - BLACKROCK MULTI -ASSET INCOME PORTFOLIO
            BLACKROCK FUNDS V - BLACK ROCK INCOME FUND
            BLACKROCK FUNDS V-BLACKROCK FLOATING RATE INCOME PORTFOLIO
            Blackrock Global Investment Series: Income Strategies Portfolio
            BLACKROCK LIMITED DURATION INCOME TRUST
            BLACKROCK SENIOR FLOATING RATE PORTFOLIO
            BLACKROCK SPECIALIST STRATEGIES FUNDS - BLACKROCK BANKLOAN FUND
            FIXED INCOME OPPORTUNITIES NERO, LLC
            JPMBI Re Blackrock Bankloan Fund
            MAGNETITE VI I, LIM ITED
            MAGNETITE VIII, LIMITED
            Magnetite XII , limited
            MAGNETITE XIV-R, LIMITED
            Magnetite XIX, Limited




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                                                                                           Schedule 1.01 - Commitment Schedule (Con't)


                                                               Lender
                                                      Manager & Sub Funds                                  Initial Exchange Te rm Loans
             MAGNETITE XV, LIMITED
             MAGNETITE XVI, LIMITED
             MAGNETITE XVII, LIMITED
             MAGNETITE XVIII, LIMITED
             Magnetite XX, Limited
             NC GARNET FUND, L.P.
          Symphony
             BAYCITY ALTERNATIVE INVESTMENT FUNDSSICAV-SIF - BAYCITY US SENIOR LOAN FUND
             BAYCITY SENIOR LOAN MASTER FUND LTD.
             CALIFORNIA STREET CLO IX LIMITED PARTNERSHIP
             California Street CLO XII, Ltd.
             MENARD, INC
             MUNICIPAL EMPLOYEES' ANNUITY AND BENEFIT FUND OF CHICAGO
             NUVEEN CREDIT STRATEGIES INCOME FUND
             Nuveen Diversified Dividend And Income Fund
             NUVEEN FLOATING RATE INCOME FUND
             NUVEEN FLOATING RATE INCOME OPPORTUNITY FUND
             NUVEEN INVESTMENT TRUST Ill- NUVEEN SYMPHONY FLOATING RATE INCOME FUND
             NUVEEN SENIOR INCOME FUND
             Nuveen Short Duration Credit Opportunities Fund
             Nuveen Symphony Floating Rate Income Fund
             PENSION DAN MARK PENSIONSFORSIKRINGSAKTIESELSKAB
             PRINCIPAL DIVERSIFIED REAL ASSET CIT
            PRINCIPAL FUNDS, INC. - DIVERSIFIED REAL ASSET FUND
            SCOF-2 LTD.
            Symphony CLO XIV, Ltd.
            Symphony CLO XIX, Ltd.
            Symphony CLO XV, Ltd.
            SYMPHONY CLO XVI, LTD.
            SYMPHONY CLO XVII, LTD.
            Symphony CLO XVIII, Ltd.
            Symphony CLO XX, Ltd.
            Symphony Floating Rate Senior loan Fund
            TO-SYMPHONY CLO 2016-1 LTD.
            TCI-SYMPHONY CLO 2017-1 LTD.
          TPG
            TOP FUND IV LLC
            TAO Fund, LLC
          Monarch Alternative Capital
             Monarch Master Funding Ltd
          ArrowMark Partners
             ELEVATIONCL02013-1 , LTD.
             ELEVATION C LO 2014-2, LTD.
             ELEVATION CLO 20154, LTD
             PEAKS CLO 1, LTD.
             ELEVATION CLO 2016-5, LTD.
             ELEVATION C LO 2017-6, LTD.
             PEAKS CLO 2 LTD
             ELEVATION C LO 2017-7 LTD
             ELEVATION CLO 2017-8, LTD
             ELEVATION C LO 2018-9 LTD
             Elevation CLO 2018-10, ltd.
             Peaks CLO 3, ltd.




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                                                                       Schedule 1 .01 - Commitment Schedule (Con't)


                                                    Lender
                                              Manager & Sub Funds                      Initial Exchange Term Loans
          Marble Point Credit Management
             MP CLO VII, LTD.
             MP CLO Ill, LTD.
             MP CLO IV , LTD.
             MP CLO VIII , LTD.
             MARBLE POINT CLO X LTD
             MARBLE POINT CLO XI LTD
             MARBLE POINT CLO XII LTD
             MPLF FUNDING LIMITED
             MPSFR Financing 1 Ltd.
             MP CLO XIV, ltd.
             MP CLO XII, Ltd.
             MP CLO X, Ltd.
             MP CLO XI , Ltd.
          Marathon Asset Management
             Bowery Funding ULC
             Marathon CLO IX Ltd.
             Marathon CLO V Ltd.
             Marathon CLO VII Lid.
             Marathon CLO VIII Ltd.
             Marathon CLO X Ltd.
             Marathon CLO XI Ltd.
             Woodbine Funding ULC
          Venor Capital
             VENOR CAPITAL MASTER FUND LTD.
          Total                                                                                     $850,917,221.0G




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                                                                    SCHEDULE 3.05

                                                          FEE OWNED REAL EST ATE ASSETS

                                             Loan Party                                                Address

                              The Simmons Manufacturing Co., LLC                           1809 Adel Street, Janesville, WI

                              The Simmons Manufacturing Co., LLC                         3450 Simmons Drive, Waycross, GA

                              The Simmons Manufact11ring Co., LLC                   7910 Hedge Lane Terrace, Shaw11ee Mission, KS

                                   SSB Manufacturing Company                          15 Houghtaling Road, West Coxsackie, NY

                                   SSB Manufacturing Company                    3774 Interstate Park Road North, Riviera Beach, FL

                                   SSB Manufacturing Company                         60 JO Horizon West Parkway, Grovetown, GA

                                   SSB Manufactu,ing Company                             500 South 17th Street, Clear Lake, IA

                                   SSB Manufacturing Company                             2375 Parkway Drive, Jamestown, NY

                                   SSB Manufacturing Company                                  1500 Lee Lane, Beloit, WI

                                   SSB Manufacturing Company                           1212 26th Street Southwest, Cullm1m, AL




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                                                            SCHEDULE 3.13

                                                             SUBSIDIARIES

                                    Subsidiary               Type of Entity                        Equity Holder         Ownership
                                                                                                                          Interest

                 Serta Simmons Bedding, LLC           L imited Liability Company     Dawn Intermediate, LLC              100%

                 SSB Manufacturing Company            Corporation                    Serta Simmons Bedding. LLC          100%

                 The Simmons Manufacturing Co., LLC   L imited Liability Company     SSB Manufacturing Company           100%

                 Simmons Caribbean Bedding, Inc.      Corporation                    SSB Manufacturing Company           100%

                 SSB Hospitality, LLC                 Limited Liability Company      SSB Manufacturing Company           100%

                 Dreamwell, Ltd.                      L imited Liability Company     SSB Manufacturing Company           100%

                 SSB Logistics, LLC                   Limited Liability Company      SSB Manufacturing Company           100%

                 Simmons Bedding Company, LLC         Limited Liability Company      Serta Simmons Bedding, LLC          100%

                 Tomorrow Sleep LLC                   Limited Liability Company      Serta Simmons Bedding. LLC          100%

                 SSH Canada Holding Co., LLC          Limited Liability Company      Serta Simmons Bedding, LLC          100%

                 SSH Bedding Canada Co.               Unlimited L iability Company   SSH Canada Holding Co., LLC         100%

                 Serta International Holdco, LLC      Limited Liability Company      Serta Simmons Bedding. LLC          100%

                 National Bedding Company L.L.C.      Limited Liability Company      Serta International Holdco. LLC     100%

                 Serta, Inc.                          Corporation                    National Bedding Company L. L. C.   82.4%

                 Serta Canada L td.                   L imited Company               Serta, Inc.                         100%

                 SSB Retail , LLC                     Limited Liability Company      Serta Simmons Bedding, LLC          100%

                 Tuft & Needle, LLC                   Limited Liability Company      Serta Simmons Bedding. LLC          100%

                 World of Sleep Outlets, LLC          Limited Liability Company      SSB Retail, LLC                     100%




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                                                          SCHEDULE 4.0l(b)

                                                          LOCAL COUNSEL


                    1.   Quarles & Brady LLP (Illinois)




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                                                   SCHEDULE 5.10

                                             UNRESTRICTED SUBSIDIARIES


               None.




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                                                              SCHEDULE 5.15

                                                      POST-CLOSING OBLIGATIONS

                    l.   Within ten (10) days after the Closing Date (or such longer period as the Administrative Agent (at the
                         Direction of the Required Lenders) may reasonably agree)), the Top Borrower shall deliver, or cause to
                         be delivered, to the Administrative Agent the certificate representing the Capital Stock of Serta, Inc.
                         owned by National Bedding Company L.L.C., accompanied by undated stock powers or other
                         appropriate instruments of transfer executed in blank.

                    2.   Within ten (10) days after the Closing Date (or such longer period as the Administrative Agent (at the
                         Direction of the Required Lenders) may reasonably agree)), the Top Borrower shall deliver, or cause to
                         be delivered, to the Administrative Agent each Instrument that it is required to deliver pursuant to
                         Section 4 .02(a) of the Security Agreement.

                    3.   Within twenty (20) days after the Closing Date (or such longer period as the Administrative Agent (at
                         the Direction of the Required Lenders) may reasonably agree)), the Top Borrower shall deliver, or cause
                         to be delivered, to the Administrative Agent all insurance certificates necessary to satisfy the
                         requirements of Section 5.05 of the Agreement.

                    4.   Within twenty (20) days after the Closing Date (or such longer period as the Administrative Agent (at
                         the Direction of the Required Lenders) may reasonably agree)), the Top Borrower shall deliver, or cause
                         to be de livered, to the Administrative Agent all insurance endorsements necessary to satisfy the
                         requirements of Section 5.05 of the Agreement.




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                                                              SCHEDULE 6.01

                                                        EXISTING INDEBTEDNESS

                    1.   Indebtedness in respect of the Lease dated as of February 24, 2015, by and between Park North 4 LLC
                         and SSB Manufacturing Company, under which there is, as of the Closing Date, approximately
                         $14,380,314 outstanding.

                    2.   Indebtedness in respect of the Lease dated as of June 16, 2017, by and between HP Assembly I, LLC
                         and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date, approximately
                         $48,317,955 outstanding.

                    3.   Indebtedness in respect of the Sublease dated as of August 28, 2014, by and between Turner
                         Construction Company and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $56,226, outstanding.

                   4.    Indebtedness in respect of the Lease dated as of May 11, 2020, by and between Presidio Technology
                         Capital, LLC and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $980,956 outstanding.

                    5.   Indebtedness in respect of the Lease dated as of January 1, 2019, by and between Presidio Technology
                         Capital, LLC and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $1 ,332,641 outstanding.,

                    6.   Indebtedness in respect of the Lease dated as of January 1, 2019, by and between Presidio Technology
                         Capital, LLC and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $754,267 outstanding.

                    7.   Indebtedness in respect of the Lease dated as of January 24, 2019, by and between Cisco Systems Capital
                         Corporation and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $547,175 outstanding.

                    8.   Indebtedness in respect of the Lease dated as of September 6, 2018, by and between Cisco Systems
                         Capital Corporation and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $178,659 outstanding.

                    9.   Indebtedness in respect of the Lease dated as of November 29, 2018, by and between Canon Solutions
                         America, Inc. and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $1 12,982 outstanding.

                    l 0. Indebtedness in respect of the Lease dated as of February 21 , 2019, by and between Canon Solutions
                         America, Inc. and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                         approximately $89,892 outstanding.

                    11. Indebtedness in respect of the Lease dated as of March, 26, 2018, by and between Canon Solutions
                        America, Inc. and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                        approximately $116,670 outstanding.

                    12. Indebtedness in respect of the Lease dated as of November 20, 2015, by and between IAC Port 167
                        LLC and SSB Manufacturing Company, under which there is, as of the Closing Date, approximately
                        $16,287,152 outstanding.




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                    13. Indebtedness in respect of the Leases, by and betw een We lls Fargo Vendor Financial Services, CIT
                        Bank, N .A., and Tuft & Needle, LLC (successor by merger to Fosbrooke, Inc.) under which there is,
                        as of the Closing Date, approximately $206,000 outstanding.

                    14. Letter of Credit in the amount of $674,680 issued to New Jersey Department of Environmental
                        Remediation for SSB Manufacturing Company to meet statutory requirements for fund ing of ongoing
                        environmental remediation.

                    15. Indebtedness in respect of the Promissory Note, dated as of February, 2018, by and between SSB
                        Manufacturing Company, a Delaware corporation, as the applicant, and the State of Connecticut,
                        acting by and through its Departm ent of Economic and Community Development, as the holder, in the
                        principal amount of $5,000,000.

                    16. Indebtedness in connection with the Liens listed on Schedule 6.02.




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                                                               SCHEDULE 6.02

                                                               EXISTING LIENS

                    1.   Liens in respect of the real property owned by Simmons Caribbean Bedding, inc. and located at Las
                         Cuevas industrial Park, Trujillo Alto, Puerto Rico and arising in connection with the Deed of Mortgage,
                         dated as of December 12, 1997, by and between Simmons Caribbean Bedding, Inc. and Banco Santander
                         Puerto Rico.

                    2.   Liens in respect of the real property owned by SSH Bedding Canada Co. (successor in interest by
                         amalgamation of Simmons Canada inc.) and located at 3636 l lA Street, Southeast, Calgary, Alberta
                         and arising in connection with (i) the Memorandum of Agreement, dated as of December 10, 1965,
                         between Simmons Canada Inc. (as successor-in-interest to Simmons Limited) and the City of Calgary,
                         as amended, and (ii) the Transfer of Land Instrument, dated February 22, 1966, between Simmons
                         Canada Inc. (as successor-in-interest to Simmons Limited) and the City of Calgary.

                    3.   Liens in respect of the real property owned by The Simmons Manufacturing Co., LLC, and located at
                         79 10 Hedge Lane Terrace, Shawnee Mission, Kansas and arising in connection with the $5,000,000
                         Private Activity Revenue Bonds, Series 1996 (Simmons Company Project), of the City of Shawnee,
                         Kansas and the documentation relating thereto.

                    4.   Liens on funds on deposit in account number 2572006778 maintained at US Bank in an amount not to
                         exceed $100,000 but only to the extent that funds on deposit in such account secure obligations arising
                         under the Remediation Trust Agreement, dated as of September 29, 2003, by and between SSB
                         Manufacturing Company (as successor to Simmons Bedding Company) and Wachovia Bank, N.A., as
                         trustee.

                    5.   On October 28, 1998, UBS AG, Stamford Branch ("UBS") was granted a security interest against the
                         "Greenwich" trademark (registration number 1988658), among others (the "98 UBS Lien"). The 98
                         UBS Lien was released with respect to trademark registrations (and the underlying indebtedness was
                         repaid), but it is believed that the applicable release documentation neglected (in error) to include the
                         aforementioned " Greenwich" mark.

                    6.   As recorded on April 15, 1996, Chemical Bank (now Chase Manhattan Bank) was granted a security
                         interest in the " S Simmons (Stylized) and Design" trademark (registration number 2219191 ), among
                         others (the "Chemical Bank Lien"). The security interest was released and terminated (and the
                         underlying indebtedness was repaid), but the release recorded at 1820/0060 neglected (in error) to
                         include the aforementioned " S Simmons (Stylized) and Design" trademark (registration number
                         2219191).

                    7.   On March 22, 1996, Simmons Acquisition Corporation granted a security interest to Chemical Bank in
                         the copyright registration titled "Dropping the ball" (registration number TX0004093428), among
                         others (the " CB Lien"). Although, the CB Lien was released with respect to copyright registrations (and
                         the underlying indebtedness was repaid), it is believed that (in error) no release documentation was
                         executed regarding the aforementioned " Dropping the baU" copyright.

                    8.   Liens consisting of cash collateral deposited in connection with (i) the Trust Agreement for Payment
                         Agreement Obligations, effective as of January 8, 2010, among SSB Manufacturing Company (as
                         successor to Simmons Bedding Company), as trustor, Wells Fargo Bank, N .A., as trustee, and National
                         Union Fire Insurance Company of Pittsburgh, PA, on behalf of itself and its affiliates, as beneficiary,



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                         until the release thereof fo llowing the replacement thereof ·with a Letter of Credit issued under the
                         Revolving Facility and (ii) the Trust Agreement for Payment Agreement Obligations, effective as of
                         August 5, 2010, among National Bedding Company L.L.C., as trustor, Wells Fargo Bank, N.A., as
                         trustee, and National Union Fire Insurance Company of Pittsburgh, PA, as beneficiary, as amended by
                         Addendum #1 to Trust Agreement for Payment Agreement Obligations, effective as of August 5, 2010.

                    9.   Liens in connection with the following filings:




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          Jurisdiction        Dehtor(s)                                           Secured Party(s)                                Filing Info   Collateral

          Delaware SOS        Fosbrooke, Jnc. 1                                   CHTD Company                                 2018 05621 12    Equipment/Blanket Lien
                                                                                                                               1/24/2018

          Delaware SOS        Fosbrooke, Inc. 2                                   Financial Agent Services                     2019 5257030     Equipment/Blanket Lien
                              Se11a Simmons Bedding, LLC                                                                       7/30/2019

          Delaware SOS        Se11a Simmons Bedding, LLC                          CIT Bank.NA                                  20 I 9 6016609   Equipment/Blanket Lien
                              Fosbrooke, lnc. 3                                                                                8/29/2019

          Delaware SOS        Fosbrooke, Inc. "                                   Wells Fargo Vendor Financial Services, LLC   20196378231      All Equipment, describt--d herein or
                                                                                                                               9/ 13/2019       otherwise, leased to or financed for the
                                                                                                                                                Debtor by Secured Party under that
                                                                                                                                                ce11ain Master Financing Agreement
                                                                                                                                                No. 450-0002468-000

          Illinois SOS        National Bedding Company L.L.C.                     Northstar Recycling Company, Inc.            016406449        Equipment
                              Serta Mattress                                                                                   7/1/2011

          Illinois SOS        National Bedding Company L.L.C.                     U.S. Bancorp Equipment Finance, Inc.         016474258        Equipment
                                                                                                                               7/27/201 I

          Illinois SOS        National Bedding Company, L.L.C.                    Monterey Receivables Funding, LLC            18328259         All of Debtor's rigl1ts, titles and
                              Serta Mattress Company                                                                           06/10/2013       interests in accounts, accounts
                                                                                                                                                receivables, chattel paper, contracts
                                                                                                                                                rights, rights to payment, letters of
                                                                                                                                                credit, documents, money and
                                                                                                                                                insbuments, and notes and other
                                                                                                                                                obligations owed to Debtor; however
                                                                                                                                                evidenced, purchased by Monterey
                                                                                                                                                Receivables Funding, LLC from
                                                                                                                                                January I 8, 20 I 3 forward.




               1 UCC-1 was not amended to reflect t11e change in Debtor name from Fosbrooke, Inc. lo Tufi & Needle, LLC
               2 UCC-1 was not amended to reflect the change in Debtor name from Fosbrooke, Inc. to Tuft & Needle, LLC
               3
                 UCC-1 was not amended to reflect the change in Debtor name from Fosbrooke, Inc. to Tuft & Needle, LLC
               4
                 UCC-1 was not amended lo reflect the change in Debtor name from Fosbrooke, Inc. to Tufi & Needle, LLC



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          Jurisdiction        Debtor(s)                            Secured Pa rty(s)                                      Filing Info   Collateral

          Illinois SOS        National Bedding Company, LLC        Monterey Financial Services, Inc.                   18419041         All of Debtor's rights, titles and
                              Serta Mattress Company                                                                   07/l 1/20 13     interests in accounts, accounts
                                                                                                                                        receivables, chattel paper, contracts
                                                                                                                                        rights, rights to payment, letters of
                                                                                                                                        credit, documents, money and
                                                                                                                                        instruments, and notes and other
                                                                                                                                        obligations owed to Debtor, bowever
                                                                                                                                        evidenced, purchased by Monterey
                                                                                                                                        Financial Services, Inc. from January
                                                                                                                                        18, 2013 forward.

          Illinois SOS        National Bedding Company, LLC        Monterey Financial Services, Inc., Profit Sharing   18419068         All of Debtor's rights, titles and
                              Se,ta Mattress Company               Plan and Trnsl                                      07/11/2013       interests in accounts, accounts
                                                                                                                                        receivables, chattel paper, contracts
                                                                                                                                        rights, rights to payment, letters of
                                                                                                                                        credit, documents, money and
                                                                                                                                        instruments, and notes and other
                                                                                                                                        obligations owed to Debtor; however
                                                                                                                                        evidenced, purchased by Monterey
                                                                                                                                        Financial Services, Inc. from January
                                                                                                                                        18, 2013 forward.

          Illinois SOS        National Bedding Company L.L.C.      Wells Fargo Banlc, N .A.                            20991011         Equipment
                                                                                                                       12/31/20 I 5

          Delaware SOS        Serta Simmons Bedding, LLC           Presidio Technology Capital, LLC                    2016 1311818     Equipment
                                                                   Prime Alliance Bank, Inc.                           3/04/2016
                                                                   Wells Fargo Equipment Finance, Inc.

          Delaware SOS        Serta Sinunons Bedding, LLC          Presidio Technology Capital, LLC                    20161311933      Equipment
                                                                                                                       3/04/2016

          Delaware SOS        SSB Manufactmiug Company             Cro\,~l Equipment Corporation                       2016 5313711     Equipment
                                                                                                                       8/31/2016

          Delaware SOS        Serta Simmons Bedding, LLC           Nort11star Pulp & Paper Co., Inc.                   2017 1517520     Equipment
                                                                                                                       3/07/20 17

          Delaware SOS        Serta Siimnons BeddiI1g, LLC         Wells Fargo Vendor Financial Services, LLC          2017 8357214     Equipment
                                                                                                                       12/18/2017




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          Jurisdiction        Debtor(s)                            Secured Pa rty(s)                     Filing Info   Collateral

          Delaware SOS        Serta Simmons Bedding, LLC           CISCO Systems Capital Corporation   2018 6250498    All Debtors rights , title and interest in
                                                                                                       9/11/2018       all Equipment

          De laware SOS       Se1ta Simmons Bedding, LLC           Canon Financial Services, Inc.      2018 8842987    All Debtors rights, title and interest in
                                                                                                       12/19/20 18     all Equipment

          Delaware SOS        SSB Manufacturing Company            Crown Equipment Corporation         2010 0516215    Equipment
                                                                                                       2/ I 7/2010

          Delaware SOS        SSB Manufacturing Company            Crown Equipment Corporation         2016 5313711    Equipment
                                                                                                       8/31/2016




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                                                                      SCHEDULE 6.06

                                                                EXISTING INVESTMENTS

                      l.   Investments in subsidiaries listed on Schedule 3.13 and existing on the Closing Date.

                      2.   Investments arising under the Promissory Note, dated as of August 31, 2005, made by SSH Bedding
                           Canada Co. as successor by amalgamation to Star Bedding Products Company (as successor by merger
                           to 3104394 Nova Scotia Company) in favor of Serta International Holdco, LLC (previously named AOT
                           Bedding Holdings, LLC and, prior to assuming such name, AOT Bedding Holdings Corporation) under
                           which there is, as of the Closing Date, approximately $13,160,250 outstanding (the "2005 SBPC
                           Note"). 5

                      3.   Investments arising under the Promissory Note, dated as of June 11, 2007, made by SSH Bedding
                           Canada Co. as successor by amalgamation to Star Bedding Products Company (as successor by merger
                           to Serta Montreal, Inc.) in favor of National Bedding Company L.L.C., under which there is, as of the
                           Closing Date, approximately $2,261 ,415 outstanding (the "2007 SBPC Note").6

                      4.   Investments arising under the Purchase Money Promissory Note, dated as of June 2, 2018, made by
                           Serta Simmons Bedding, LLC in favor of Louisville Bedding Company under which there is, as of the
                           Closing Date, approximately $ 1,250,000 outstanding.

                      5.   Investment in AI Dream 1, pursuant to the Shareholders Agreement by Serta, Inc., a majorily-owned
                           subsidiary of National Bedding Company, which results in an approximately 26% equity interest and
                           1% preferred share in certain sales of Al Dream l , and any increase or decrease in the amount of such
                           investment deemed to occur each year as a result of the valuation and treatment of such investment in
                           accordance with GAAP. This investment balance was approximately $17,600,000 as of the Closing
                           Date.




               5 Promisso1y Note is actually denominated in Canadian do llars($ 18,129,814) translated as of May 30, 2020.
               6
                   Promissoiy Note is actually denominated in Cruiadian dollars ($3,115,368) translated as of May 30, 2020.



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                                                            SCHEDULE 9.01

                                             BORROWER' S WEBSITE FOR ELECTRONIC DELIVERY


                         None.




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                                                                                                                      EXHIBIT A
                                                              [FORMOF]
                                                        ASSIGNMENT AGREEMENT

                        This Assignment Agreement (the "Assignment Agreement") is dated as of the Effective Date set forth
               below and is entered into by and between [Insert name of Assignor] (the "Assignor'') and [Insert name of
               Assignee) (the "Assignee"). Capitalized terms used but not defined herein shall have the meanings given to
               them in the Super-Priority Term Loan Agreement identified below (as amended, restated, amended and
               restated, supplemented or othenvise modified from time to time, the " Super-Prioritv Term Loan Agreement"),
               receipt of a copy of which is hereby acknowledged by the Assignee. T he Standard Tenns and Conditions set
               forth in Annex I attached hereto are hereby agreed to and incorporated herein by reference and made a part of
               this Assignment Agreement as if set forth herein in full.

                         For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and
               the Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with
               the Standard Terms and Conditions and the Super-Priority Term Loan Agreement, as of the Effective Date
               inserted by the Administrative Agent as contemplated below, (i) all of the Assignor' s rights and obligations in
               its capacity as a Lender under the Super-Priority Term Loan Agreement and any other documents or
               instruments delivered pursuant thereto to the extent related to the amount and percentage interest identified
               below of all of such outstanding rights and obligations of the Assignor under the respective facilities identified
               below (including any letters of credit included in such facilities) and (ii) to the extent permitted to be assigned
               under applicable Requirements of Law, all claims, suits, causes of action and any other right of the Assignor
               (in its capacity as a Lender) against any Person, whether known or unknown, arising under or in connection
               with the Super-Priority Tenn Loan Agreement, any other documents or instruments de livered pursuant thereto
               or the loan transactions governed thereby or in any way based on or related to any of the foregoing, including
               contract claims, tort claims, malpractice claims, statutory claims and all other claims at law or in equity re lated
               to the rights and obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold and
               assigned pursuant to clauses (i) and @ above being referred to herein collectively as the "Assigned Interest").
               In the case where the Assigned Interest covers all of the Assignor' s rights and obligations under the Super-
               Priority Tenn Loan Agreement, the Assignor shall cease to be a party thereto but shall continue to be entitled
               to the benefits of Sections 2.15, 2.16, 2.17 and 9.03 of the Super-Priority Term Loan Agreement with respect
               to events occurring on or prior to the Effective Date and subject to its obligations hereunder and under
               Section 9. 13 of the Super-Priority Term Loan Agreement. Such sale and assignment is (i) subject to
               acceptance and recording thereof in the Register by the Administrative Agent pursuant to Section 9.05(b)(v) of
               the Super-Priority Tenn Loan Agreement, (ii) without recourse to the Assignor and (iii) except as expressly
               provided in this Assignment Agreement, without representation or warranty by the Assignor.

                         Assignor:           [•]
               2.        Assignee:        [•]
                         [and is an Affiliate/Approved Fund of [identify Lender] ']

               3.     Borrowers: Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or the "Top
               Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National Bedding"),
               and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing").

               4.     Administrative Agent: UBS AG, Stamford Branch, as administrative agent under the Super-Priority
               Term Loan Agreement

               5.      Super-Priority Term Loan Agreement: That certain Super-Priority Term Loan Agreement, dated as
               of June [•], 2020 (as amended, restated, amended and restated, supplemented or otherwise modified, the


                         Select as applicable.


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                   "Super-Priority Term Loan Agreement"), by and among, inter alias, SSB, National Bedding and SSB
                   Manufacturing, as borrowers, Dawn lntennediate, LLC, a Delaware limited liability company (" Holdings"),
                   the Lenders from time to time party thereto and UBS AG, Stamford Branch, in its capacities as administrative
                   agent and collateral agent for the Lenders.

                   6.        Assigned Interest:

                                                   Class of             Amount of               Percentage Assigned of
                       Aggregate Amount of
                                                    Loans            Commitment/Loans          Commitment/Loans under                CUSIP Number
                        Commitment/Loans
                                                   Assigned             Assigned2                   Relevant Class 3
               $                                                 $                                                   %
               $                                                 $                                                   %
               $                                                 $                                                   %

                         Effective Date: [•] [•], 20[• ] [TO BE INSERTED BY THE ADMINISTRATIVE AGENT AND
                   WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
                   REGISTER THEREFOR].

                   7.    THE PARTIES HERETO ACKNOWLEDGE THAT ANY ASSIGNMENT TO ANY
                   DISQUALIFIED INSTITUTION WITHOUT OBTAINING THE REQUIRED CONSENT OF THE
                   TOP BORROWER OR, TO THE EXTENT THE TOP BORROWER'S CONSENT IS REQUIRED
                   UNDER SECTION 9.05 OF THE SUPER-PRIORITY TERM LOAN AGREEMENT, TO ANY
                   OTHER PERSON, SHALL BE NULL AND VOID, AND, IN THE EVENT OF ANY SUCH
                   ASSIGNMENT (AND ANY ASSIGNMENT TO ANY AFFILIATE OF ANY DISQUALIFIED
                   INSTITUTION {OTHER THAN A BONA FIDE DEBT FUND)), THE TOP BORROWER SHALL BE
                   ENTITLED TO PURSUE THE REMEDIES DESCRIBED IN SECTION 9.05 OF THE SUPER-
                   PRIORITY TERM LOAN AGREEMENT.

                                                                      [Signatu re Page Follows]




                   2
                             Not to be less than $1 ,000,000 unless the Top B01rnwer and U1e Administrative Agent otherwise consent.

                             Set fo1th, to at least 9 decimals, as a percentage of U1e Commitment/Loans of all Lenders thereunder.



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                         The terms set forth in this Assignment Agreement are hereby agreed to:

                                                                  ASSIGNOR

                                                                  [NAME OF ASSIGNOR]


                                                                  By:
                                                                            Name:
                                                                            Title:




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                    □    ASSIGNEE HAS EXAMINED THE LIST OF DISQUALIFIED INSTITUTIONS AND
                         (I) REPRESENTS AND WARRANTS THAT (A) IT IS NOT IDENTIFIED ON SUCH
                         LIST AND (B) IT IS NOT AN AFFILIATE OF ANY INSTITUTION IDENTIFIED ON
                         SUCH LIST [(OTHER THAN, IN THE CASE OF THIS CLAUSE (B), A BONA FIDE
                         DEBT FUND)] 4 AND (II) ACKNOWLEDGES TBAT ANY ASSIGNMENT MADE TO
                         AN AFFILIATE OF A DISQUALIFIED INSTITUTION (OTHER THAN A BONA
                         FIDE DEBT FUND) SHALL BE SUBJECT TO SECTION 9.05 OF THE SUPER-
                         PRIORITY TERM LOAN AGREEMENT.5

                                                                          ASSIGNEE

                                                                          [NAME OF ASSIGNEE]


                                                                          By:
                                                                                    Name:
                                                                                    Title:

                                                                          Consented to and Accepted:

                                                                          UBS AG, STAMFORD BRANCH
                                                                          as Administrative Agent6


                                                                          By:
                                                                                   Name:
                                                                                   Title:


                                                                          By:
                                                                                   Name:
                                                                                   Title:


                                                                          Consented to:]7

                                                                          SERTA SIMMONS BEDDING, LLC,
                                                                          as the Top Borrower


                                                                          By:
                                                                                   Name:
                                                                                   Title:

               4
                         Insert bracketed language if Assignee is a Bona Fide Debt Fund.

                         To be completed by Assignee.

               6
                         To be added only ifthe consent of the Administrative Agent is required.

               7
                         To be added only if the consent of the Top Bo1Tower is required by Section 9.0S(bXi)(A) of the Super-Prio1ity Tenn
                         Loan Agreement.


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                                                                                                                                         Annex I

                                                   STANDARD TERMS AND CONDITIONS FOR
                                                        ASSIGNMENT AGREEMENT

                         I.        Representations and Warranties.

                          1.1     Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
               owner of the Assigned Inte rest, (ii) the Assigned Interest is free and c lear of any lie n, encumbrance or other
               adverse claim, (iii) its Commitme nt, and the outstanding balances of its Loans, in each case without giving
               effe ct to assignments thereof which have not become effective, are as set forth herein and (iv) it has full powe r
               and authority, and has taken all action necessary, to execute and deliver this Assignment Agreement and to
               consummate the transactions contemplated hereby; and (b) makes no representation or warranty and assumes
               no responsibility with respect to (i) any statement, warranty or representation made in or in connection w ith the
               Super-Priority Term Loan Agreeme nt, any other Loan Document or any othe r instrume nt or document
               furnished pursuant there to (other than this Assignment Agree me nt) or any collate ral the reunde r, (ii) the
               execution, legality, va lidity, enforceability, ge nuineness, sufficie ncy or value of the Loan Docume nts or any
               collateral thereunder, (iii) the financial conditi on of the Top Borrower, any of its Restricted Subsidiaries or
               Affiliates or any other Person obligated in respect of any Loan Document or (iv) the performance or
               observance by Holdings, the Top Borrower, any of its Restricted Subsidiaries or Affiliates or any other Person
               of any of the ir respective obligations under any Loan Document.

                         1.2       .Assignee. The Assignee (a) represents and warrants that (i) it is an Eligible Assignee and has
               full power and authority, and has taken all action necessary, to execute and de liver this Assignment Agreement
               and to consummate the transactions conte mplated he re by and to become a Lende r under the Supe r-Priority
               Term Loan Agreement, (ii) it satisfies the requirements, if any, specified in the Super-Priority Term Loan
               Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and become a Lender,
               (iii) from and after the Effective Date, it shall be bound by the provisions of the Super-Priority Term Loan
               Agreement and the othe r Loan Docume nts as a Le nde r thereunder and, to the e xtent of the Assigned Interest,
               shall have the obligations of a Lender the re under and (iv) it has rece ived a copy of the Super-Priority Te rm
               Loan Agreement and the Inte rcreditor Agreement, together with copies of the most recent financial statements
               referred to in Section 4.0 I (c) or the most recent financial statements delivered pursuant to Section 5. 0 I thereof,
               as applicable, and such other documents and information as it has deeme d appropriate to make its own credit
               analysis and decision to e nte r into this Assignme nt Agreeme nt and to purchase the Assigne d Interest on the
               basis of which it has made such analysis and decision indepe nde ntly and without reliance on the
               Administrative Agent or any other Lender, (v) it has examined the list of Disqualified Institutions and it is not
               (A) a Disqualified Institution or (B) an Affiliate of a Disqualified Institution [(other than, in the case of this
               Clause (B), a Bona Fide Debt Fund)] 8 and (vi) attached to the Assignment Agreement is any documentation
               re quire d to be delivered by it pursuant to Section 2.17 of the Super-Priority Term Loan Agreeme nt, duly
               complete d and executed by the Assig nee and (b) agrees that (i) it will, indepe nde ntly and w ithout reliance on
               the Administr ative Agent, the Assignor or any other Lender, and based on such doctunents and information as
               it deems appropriate at the time, continue to make its own credit decisions in taking or not taking action under
               the Loan Documents, (ii) it appoints and authorizes the Administrative Agent to take such action on its behalf
               and to exercise such po\.vers and discretion under the Super-Priority Term Loan Agreement, the other Loan
               Documents or any other instrument or document furnished pursuant hereto or thereto as are delegated to the
               Administrative Agent by the te m1s thereof, together w ith such powers as are reasonably inc idental there to, and
               (iii) it will pe rform i11 accordance with the ir te rms a ll of the obligations which by the te rms of the Loan
               Documents are required to be performed by it as a Lender.

                      2.       Payments. From and after the Effective Date, the Administrative Agent shall make all
               payments in respect of the Assigned Interest (including payments of principal, interest, fees and other amounts)

                         Inse11 bracketed language if Assignee is a Bona Fide Debt Fund and not otherwise identified on the list of D isqualified
                         Institutions.


                                                                   Annex I to Exhibit A-1
               WEIL:197509555\6\40416.0003




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               to the Assignor for amounts which have accrned up to but excluding the Effective Date and to the Assignee for
               amounts ·which have accrued from and after the Effective Date.

                        3.       General Provisions. This Assignment Agreement shall be binding upon, and inure to the
               benefit of, the parties hereto and their respective successors and permitted assigns. This Assignment
               Agreement may be executed in any number of counterparts, which together shall constitute one instrnment.
               Delivery of an executed counterpart of a signature page of this Assignment Agreement by facsimile or by
               email as a " .pdf' or " .tif' attachment shall be effective as delivery of a manually executed counterpart of this
               Assignment Agreement. This Assignment Agreement shall be construed in accordance with and governed by
               the laws of the State of New York.




                                                            Annex l to Exhibit A-2
               WEIL:197509555\6\40416.0003




Confidential                                                                                                         SSB LCM 00002333
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  Confidential                                                                                               SSB_ADVERSARY00002333
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                                                                                                                                     EXHIBITB

                                                                    [FORM OF]
                                                                BORROWING REQUEST

               UBS AG, Stamford Branch
               as Administrative Agent for the Lenders referred to below
               Attention : Structu red Finance Processing
               600 Washington Blvd. , 9th Floor
               Stamford, Connecticut 06901
               Facsimile: (203) 719-3888
               Tele phone: (203) 719-4319
               Email: Agency-UBSAmericas@ubs.com



               Ladies and Gentlemen :

                        Reference is here by made to that certain Super-Priority Tenn Loan Agreement, dated as of June LJ,
               2020 (as amended, restated, amended and restated, supplemented or otherwise modified, the "Super-Priority
               Te rm Loan Agreement"), by and among, inter alios, Dawn Intermediate, LLC, a Delaware limited liability
               company ("Dawn Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability
               company (" SSB" or the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability
               company ("National Bedding"), and SSB Manufacturing Company, a Delaware corporation (" SSB
               Manufacturing"), as borrowers, the Lenders from time to time party thereto, UBS AG, Stamford Branch, in its
               capacities as administrative agent and collateral agent for the Lenders. Terms defined in the Super-Priority
               Te rm Loan Agreement are used herein with the same meanings unless otherwise defined herein.

                         The undersigned hereby gives you notice pursuant to Section 2.03 of the Super-Priority Term Loan
               Agreement that it requests the Borrowings under the Super-Priority Term Loan Agreement to be made on [•]
               [• ], 20[• ], and in that connection sets forth below the terms on which the Borrowings are requested to be
               made:

               (A)       Borrower [Serta Simmons Bedding, LLC] [National Bedding Com1>any L.L.C.] [SSB
                         Manufacturing Company]

               (B)       Date of Borrowing (which shall be a Bus iness Day)

               (C)       Aggregate Amount of Borrowing 10

               (D)       Type of Borrowing 11


               9
                         The Administrative Agent must be notified in the fonn of a wTillen Bo1rnwing Request, appropriately completed and
                         signed by a Responsible Officer of the relevru1t Borrower (or the Top Borrower on behalf of the relevant Borrower) or
                         by telephone (with such telephonic notification to be promptly confirmed in writing by a Bonowing Request,
                         appropriately completed and signed by a Responsible Officer of U1e relevant Bo1rnwer (or U1e Top Borrower on behalf
                         of the relevru1t Bonower)), ru1d must be received by the Administrative Agent (by hand delive1y, fax or other electronic
                         transmission (including ".pdf' or ".tif')) not later U1ru1 (i) 1:00 p.m. tlu·ee Business Days prior to U1e requested day of
                         ru1y Borrowing of LIBO Rate Loru1s (or one Business Day in the case of ru1y Bo1TOwing of LIBO Rate Loru1s to be
                         made on the Closing Date) and (ii) 9:00 a.m. on U1e requested date of any Bonowing of ABR Loans (or, in each case,
                         such later time as is acceptable to U1e Administrative Agent).

               10
                         Subject to Section 2.02(c) of Super-Priority Tenn Loru1 Agreement.

                 11
                         State whether a LIBO Rate Bonowing or ABR Bonowing. If no Type of Borrowing is ~-pecified, then U1e requested

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               (E)       Class of Borrowing                                                                [•]
               (F)       Interest Pe riod 12 (in the case                                                  [•]
                         of a LIBO Rate Borrowing)

               (G)       Amount, Account Number and Location

                                                         Wire Transfer Instructions:
                                      Amount                                            $[•]
                                      Bank:                                              [•]
                                      ABANo.:                                            [•]
                                      Account No.:                                       [•]
                                      Account Name:                                      [•]


               [The unders igned he reby certifies that the following statements are true on the date hereof, and w ill be true on
               the date of the Borrowing at the time of and immediately after giving effect to the Borrowing, no Default or Event
               of Default exists.] 13

                                                                  [Signature Page Follows]




                         Bonowing shall be an ABR Borrowing.

                 12
                         Must be a period contemplated by the definition of "Interest Period". If no Interest Period is specified, then the Interest
                         Period shall be of one-monU1 's duration.

                 13
                         Include bracketed language only for Borrowings under any Incremental Facility 0U1er Ulan Incremental Term Loans
                         made in co1mection wiU1 any Pennitted Acquisition or 0U1er similar Investment pennitted under the Super-Priority
                         Tenn Loan Agreement to U1e extent agreed by the lenders providing such Incremental Tenn Loans.


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                                                            [SERTA SIMMONS BEDDING, LLC]
                                                            [NATIONAL BEDDING COMPANY L.L.C.]
                                                            [SSB MANUFACTURING COMPANY]

                                                            By:
                                                                  Name:
                                                                  T itle:




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                                                                                                                      EXHIBITC

                                                    [FORMOF]
                       SUPER-PRIORITY TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT

                        This SUPER-PRIORITY TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT
               is entered into as of [• ] [• ], 20[• ], (this "Agreement"), by [ • ] ([each, a][the] "Grantor") in favor of UBS AG,
               Stamford Branch ("UBS"), as administrative agent and collateral agent for the Secured Parties (in such
               capacities, the "Administrative Agent").

                        Reference is made to that certain Super-Priority Pledge and Security Agreement, dated as of June [• ],
               2020 (as amended, restated, amended and restated, supplemented or othenvise modified from time to time, the
               " Securitv Agreement"), among the Grantors party thereto and the Administrative Agent. The Super-Priority
               Lenders (as defined below) have extended credit to the Top Borrower (as defined in the Super-Priority Term
               Loan Agreement (as defined below)) subject to the terms and conditions set forth in that certain Super-Priority
               Tenn Loan Agreement, dated as of June LJ, 2020 (as amended, restated, amended and restated,
               supplemented or otherwise modified from time to time, the "Super-Priority Term Loan Agreement"), by and
               among, inter alias, Dawn Intermediate, LLC, a Delaware limited liability company ("Dawn lntennediate" or
               "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or the "Top
               Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National Bedding"),
               and SSB Manufacturing Company, a Delaware corporation (" SSB Manufacturing"), as borrowers, the Lenders
               from time to time party thereto (the "Lenders"), UBS, in its capacities as administrative agent and collateral
               agent for the Lenders. Consistent with the requirements set forth in Sections 4.01 and 5.12 of the Super-
               Priority Tenn Loan Agreement and Section 4.03(c) of the Security Agreement, the parties hereto agree as
               follows:

                       SECTION l. Terms. Capitalized terms used in this Agreement and not othenvise defined herein have
               the meanings specified in the Security Agreement (including any terms defined therein by reference).

                        SECTION 2. Grant of Security Interest. As security for the prompt and complete payment or
               performance, as the case may be, in full of the Secured Obligations, [each][the] Grantor, pursuant to the
               Security Agreement, did and hereby does pledge, collaterally assign, mortgage, transfer and grant to the
               Administrative Agent, its successors and permitted assigns, on behalf of and for the ratable benefit of the
               Secured Parties, a continuing security interest in all of its right, title or interest in, to or under all of the
               following assets, whether now owned or at any time hereafter acquired by or arising in favor of [such][the]
               Gran tor, and regardless of where located (collectively, the "IP Collateral" ):

                         A.       all Trademarks, including the Trademark registrations and pending applications for
               registration in the United States Patent and Trademark Office listed on Schedule I hereto;

                        B.     all Patents, including the issued Patents and pending Patent applications in the United States
               Patent and Trademark Office listed on Schedule II hereto

                       C.       all Copyrights, including the Copyright registrations and pending applications for registration
               in the United States Copyright Office listed on Schedule III; and

                         D.        all Proceeds of the foregoing;

               in each case to the extent the foregoing items constitute Collateral.

                       SECTION 3. Security Agreement. The security interests granted to the Administrative Agent herein
               are granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
               pursuant to the Security Agreement. [Each][The] Grantor hereby acknowledges and affirms that the rights
               and remedies of the Administrative Agent with respect to the IP Collateral are more fully set forth in the
               Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as if fully


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Confidential                                                                                                           SSB LCM 00002337
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               set forth herein. In the event of any conflict between the tenns of this Agreement and the Security Agreement,
               the terms of the Security Agreement shall govern.

                         SECTION 4. Governing Law. This Agreement shall be governed by, and construed and interpreted
               in accordance with, the laws of the State of New York.

                        SECTION 5. Counterparts. This Agreement may be executed in counterpart·s (and by different
               parties hereto on different counterparts), each of which shall constitute an original, but all of which when taken
               together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
               Agreement by facsimile or by email as a ".pdf' or " .tif' attachment or other electronic transmission shall be
               effective as delivery of a manually executed counterpart of this Agreement. The words "execution," "signed,"
               "signature," and words of like import in this Agreement shall be deemed to include electronic signatures or
               electronic records, each of which shall be of the same legal effect, validity or enforceability as a manually
               executed signature or the use of a paper-based recordkeeping system, as the case may be, to the extent and as
               provided for in any applicable law, including the Federal Electronic Signatures in Global and National
               Commerce Act, the New York State Electronic Signatures and Records Act, or any other similar state laws
               based on the Uniform Electronic Transactions Act.

                                                           [Signature Pages Follow]




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Confidential                                                                                                         SSB LCM 00002338
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  Confidential                                                                                               SSB_ADVERSARY00002338
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                         IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the day and
               year first above written.




                                                                       By :
                                                                              Name:    [• ]
                                                                              Title:   [• ]




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               WEIL:197509555\6\40416.0003




Confidential                                                                                                SSB LCM 00002339
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  Confidential                                                                                       SSB_ADVERSARY00002339
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                                                  SCHEDULEI

               TRADEMARK REGISTRATIONS

                    REGISTERED OWNER         REGISTRATION NUMBER           TRADEMARK




               TRADEMARK APPLICATIONS

                           APPLICANT            SERIAL NUMBER              TRADEMARK




                                               Schedule I to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                          SSB LCM 00002340
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  Confidential                                                                  SSB_ADVERSARY00002340
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                                                  SCHEDULE II

               PATENTS

                    REGISTERED OWNER           PATENT NUMBER                  TITLE




               PATENT APPLICATIONS

                           APPLICANT         APPLICATION NUMBER               TITLE




                                               Schedule II to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                          SSB LCM 00002341
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  Confidential                                                                  SSB_ADVERSARY00002341
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                                                  SCHEDULE Ill

               COPYRIGHT REGISTRATIONS

                    REGISTERED OWNER         REGISTRATION NUMBER              TITLE




               COPYRIGHT APPLICATIONS

                           APPLICANT         APPLICATION NUMBER               TITLE




                                               Schedule ill to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                          SSB LCM 00002342
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  Confidential                                                                  SSB_ADVERSARY00002342
                          Case 23-09001 Document 70-5 Filed in TXSB on 02/24/23 Page 321 of 465




                                                                              EXHIBIT A

                                                                              [FORM OF]
                            SUPER-PRIORITY TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT
                                                        SUPPLEMENT

                        This SUPER-PRIORITY TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT
               SUPPLEMENT is entered into as of [•] [• ], 20[• ] (this " IP Security Agreement Supplement"), by [ •] ([each,
               a][the] "Grantor") in favor of UBS AG, Stamford Branch ("UBS"), as administrative agent and collateral
               agent for the Secured Parties (in such capacities, the "Administrative Agent").

                        Reference is made to that certain Super-Priority Pledge and Security Agreement, dated as of June [•],
               2020 (as amended, restated, amended and restated, supplemented or othenvise modified from time to time, the
               " Security Agreement"), among the Grantors party thereto and the Administrative Agent. The Super-Priority
               Lenders (as defined below) have extended credit to the Borrowers (as defined in Super-Priority Term Loan
               Agreement (as defined below)) subject to the terms and conditions set forth in that certain Super-Priority Term
               Loan Agreement, dated as of June [_], 2020 (as amended, restated, amended and restated, supplemented or
               othenvise modified from time to time, the " Super-Priority Term Loan Agreement"), by and among, inter alias,
               Dawn Intermediate, LLC, a Delaware limited liability company ("Dawn Intermediate" or "Holdings"), Serta
               Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or the ''Top Borrower"), National
               Bedding Company L.L.C., an Illinois limited liability company (''National Bedding"), and SSB Manufacturing
               Company, a Delaware corporation ("SSB Manufacturing"), as borrowers, the Lenders from time to ti me party
               thereto (the " Super-Priority Lenders") and UBS, in its capacities as administrative agent and collateral agent
               for the Lenders. Consistent with the requirements set forth in Sections 4.01 and 5.12 of the Super-Priority
               Term Loan Agreement, the [Grantor][Grantors] and the Administrative Agent have entered into that certain
               Super-Priority Term Loan Intellectual Property Security Agreement, dated as of [• ] (as amended, restated,
               amended and restated, supplemented or othern1 ise modified from time to time) [which was recorded at the
               United States Patent and Trademark Office on [•) at Reel/Frame No. [• ], and at the United States
               Copyright Office on [• l at Volume/Page No. [• ]] 14. Under the terms of the Security Agreement, the Granter
               has granted to the Administrative Agent for the benefit of the Secured Parties a security interest in the
               Additional IP Collateral (as defined below) and have agreed, consistent with the requirements of
               Section 4.03(c) of the Security Agreement, to execute this IP Security Agreement Supplement. Now,
               therefore, the parties hereto agree as follows:

                        SECTION 1. Terms. Capitalized terms used in this IP Security Agreement Supplement and not
               othenvise defined herein have the meanings specified in the Security Agreement (including any terms defmed
               therein by reference).

                       SECTION 2 Grant of Security Interest. As security for the prompt and complete payment or
               performance, as the case may be, in full of the Secured Obligations, [each][the] Grantor, pursuant to the
               Security Agreement, did and hereby does pledge, collaterally assign, mortgage, transfer and grant to the
               Administrative Agent, its successors and permitted assigns, on behalf of and for the ratable benefit of the
               Secured Parties, a continuing security interest in all of its right, title or interest in, to or under all of the
               following assets, whether now owned or at any time hereafter acquired by or arising in favor of the [such][the]
               Grantor, and regardless of where located (collectively, the "Additional IP Collateral"):

                                     A.       the Trademark registrations and pending applications for registration in the
                             United States Patent and Trademark Office listed on Schedule I hereto;



                 14
                      Included bracketed infonnation to the extent tl1en available.


                                                                       Exhibit A-1 to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                                           SSB LCM 00002343
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                                  B.     the issued Patents and pending Patent applications m the United States
                         Patent and Trademark Office listed on Schedule 11 hereto

                                 C.      the Copyright registrations and pending applications for registration in the
                         United States Copyright Office listed on Schedule III; and

                                   D.        all Proceeds of the forego ing;

               in each case to the extent the foregoing items constitute Collateral.

                         SECTION 3. Security Agreement. The security interests granted to the Administrative Agent herein
               are granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
               pursuant to the Security Agreement. (Each][The) Grantor hereby acknowledges and affirms that the rights
               and remedies of the Administrative Agent with respect to the Additional IP Collateral are more fully set forth
               in the Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as if
               fully set forth herein. In the event of any conflict between the tenns of this JP Security Agreement Supplement
               and the Security Agreement, the terms of the Security Agreement shall govern.

                       SECTION 4. Governing Law. This IP Security Agreement Supplement shall be governed by, and
               construed and interpreted in accordance with, the laws of the State of New York.

                         SECTION 5. Counterparts. This IP Security Agreement Supplement may be executed in
               counterparts (and by different parties hereto on different counterparts), each of which shall constitute an
               original, but all of which when taken together shall consti tute a single contract. Delivery of an executed
               counterpart of a signature page of this IP Security Agreement Supplement by facsim ile or by email as a " .pdf'
               or " .tif' attachment or other electronic transmission shall be effective as delivery of a manually executed
               counterpart of this IP Security Agreement Supplement. The words "execution," " signed," "signature," and
               words of like import in this 1P Security Agreement Supplement shall be deemed to include electronic
               signatures or electronic records, each of which shall be of the same legal effect, validity or enforceability as a
               manually executed signature or the use of a paper-based recordkeeping system, as the case may be, to the
               extent and as provided for in any applicable law, including the Federal Electronic Signatures in Global and
               National Commerce Act, the New York State Electronic Signatures and Records Act, or any other similar state
               laws based on the Uniform Electronic Transactions Act.

                                                               [Signature Pages Follow]




                                                                Exhibit A-2 to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                                         SSB LCM 00002344
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  Confidential                                                                                               SSB_ADVERSARY00002344
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                      IN WITNESS WHEREOF, the parties hereto have duly executed this IP Security Agreement
               Supplement as of the day and year first above written.




                                                                      By:
                                                                            Name:    [•]
                                                                            Title:   [•]




                                                      Exhibit A-3 to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                            SSB LCM 00002345
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  Confidential                                                                                   SSB_ADVERSARY00002345
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                                                      SCHEDULEI

               TRADEMARK REGISTRATIONS

                    REGISTERED OWNER          REGISTRATION NUMBER                   TRADEMARK




               TRADEMARK APPLICATIONS

                           APPLICANT                SERIAL NUMBER                   TRADEMARK




                                             Schedule I to Exhibit A to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                SSB LCM 00002346
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  Confidential                                                                         SSB_ADVERSARY00002346
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                                                       SCHEDULE II

               PATENTS

                    REGISTERED OWNER                PATENT NUMBER                    TITLE




               PATENT APPLICATIONS

                           APPLICANT            APPLICATION NUMBER                   TITLE




                                             Schedule ll to Exhibit A to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                 SSB LCM 00002347
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  Confidential                                                                        SSB_ADVERSARY0000234 7
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                                                                                               EXHIBITC
                                                      SCHEDULE III

               COPYRIGHT REGISTRATIONS

                    MGIST'ERED OWNER           REGISTRATION NUMBER                    TITL'E




               COPYRIGHT APPLICATIONS

                           APPLICANT            APPLICATION NUMBER                    TITLE




                                             Schedule III to Exhibit C to Exhibit C
               WEIL:197509555\6\40416.0003




Confidential                                                                                   SSB LCM 00002348
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  Confidential                                                                          SSB_ADVERSARY00002348
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                                                                                                                                     EXHIBITD

                                                                   [FORMOF]
                                                             COMPLIANCE CERTIFICATE

                                                                         [•] [•], 20[•]

               To:       The Administrative Agent and each of the Lenders parties to the
                         Super-Priority Tem1 Loan Agreement described below

                        This Compliance Certificate is furnished pursuant to Section 5.0l(c) of that certain Super-Priority
               Tenn Loan Agreement, dated as of June [_], 2020 (as amended, restated, amended and restated,
               supplemented or otherwise modified, the " Super-Priority Term Loan Agreement"), by and among, inter ahos,
               Dawn Intermediate, LLC, a Delaware limited liability company ("Dawn Intermediate" or "Holdings"), Serta
               Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or the "Top Borrower"), National
               Bedding Company L.L.C., an Illinois limited liability company ("National Bedding"), and SSB Manufacturing
               Company, a Delaware corporation ("SSB Manufacturing"), as borrowers, the Lenders from time to time party
               thereto, UBS AG, Stamford Branch, in its capacities as administrative agent and collateral agent for the
               Lenders. Unless otherwise defined herein, capitalized terms used in this Compliance Certificate have the
               meanings ascribed thereto in the Super-Priority Term Loan Agreement.

                    THE UNDERSIGNED HEREBY CERTIFIES, AS A RESPONSIBLE OFFICER OF THE TOP
               BORROWER, IN SUCH CAPACITY AND NOT IN AN INDIVIDUAL CAPACITY, THAT:

                                 1.     I am the duly elected [•] of the Top Borrower and a Responsible Officer of
                         the Top Borrower;

                                  2.      I have reviewed the terms of the Super-Priority Term Loan Agreement and I
                         have made, or have caused to be made under my supervision, a review in reasonable detail of
                         the transactions and conditions of the Top Borrower and its Restricted Subsidiaries, on a
                         consolidated basis, during the [Fiscal Quarter][Fiscal Year] covered by the attached
                         financial statements;

                                 3.       Any pro form a "nm rate" cost saving, operating expense reduction,
                         operational improvement and/or synergy added back in calculating Consolidated Adjusted
                         EBITDA in reliance on clause (e) of the definition of "Consolidated Adjusted EBITDA"
                         during the Fiscal Quarter covered by the attached financial statements is, in my good faith
                         detennination, reasonably identifiable and factually supportable.

                                 4.      [The attached financial statements fairly present, in all material
                         respects, in accordance with GAAP, the consolidated financial condition of the Top
                         Borrower as at the dates indicated and its income and cash flows for the periods
                         indicated, subject to the absence of footnotes and changes resulting from audit and
                         normal year-end adjustments.) 15

                                  5.       (Except as described in the disclosure set forth below, the( [The l
                         examinations described in paragraph 2 did not disclose, and I have no knowledge of the
                         existence of any condition or event which constitutes a Default or Event of Default that
                         exists as of the date of this Compliance Certificate [and the disclosure set forth below
                         specifies, in reasonable detail, the nature of any such condition or event and any action
                         taken or proposed to be taken with respect thereto.]


                 15
                         Include to the extent the relevant Compliance Ce1tificate is delivered i11 comiection with unaudited quruterly financials.


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Confidential                                                                                                                          SSB LCM 00002349
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                                 6.       (Attached as Schedule 2 hereto is a summary of the pro forma
                         adjustments necessary to eliminate the accounts of Unrestricted Subsidiaries from the
                         attached finan cial statements.] 16

                                 7.       [Attached as Schedule 3 hereto is consolidating financial information
                         summarizing in reasonable detail the information regarding the Parent Company to
                         which the attached financial statements relate, on the one hand, and the information
                         relating to the Top Borrower, on the other hand.]1 7

                                8.    [Attached as Schedule 4 hereto is a list of the Unrestricted Subsidiaries
                         of the Top Borrower as of the date hereof.] 18 [There is no change in the list of
                         Unrestricted Subsidiaries since the later of the Closing Date and the date of the last
                         Compliance Certificate.]

                                                                  [Signature Page Follows]




                 16
                         Only required if a subsidiary of tl1e Top Bonower is or has been designated as an Umest1icted Subsidiruy at the time of
                         delive1y oftl1e applicable Compliance Ce1tificate.

                 17
                         Only required to the extent required by the last paragraph of Section 5.01 of the Super-Priority Tenn Loru1 Agreement.

                 18      OnJy required if a subsidiary has been designated as ru1 Unrestricted Subsidiary since later of the delivery of the last
                         CompLiru1ce Cettificate and the Closing Date.


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                        The foregoing certifications, together with the information set forth in the Schedules hereto and the
               financial statements delivered with this Compliance Certificate in support hereof, are made and delivered as of
               the date first written above. 19

                                                                                      SERTA SIMMONS BEDDING, LLC

                                                                                      By:
                                                                                            Name:
                                                                                            Title:




                 19
                         Please note the deadlines for satisfaction of the following requirements correspond with the delive1y of each
                         Compliance Certificate (unless otherwise indicated):

                         I.        The delivery of documents and deliverables required under Section 4.02(a) of the Security Agreement
                                   relating to any (i) certificated Securities and/or (ii) lnstrnments having a face amount in excess of$2,000,000,
                                   in each case acquired during the Fiscal Quarter covered by the attached fmancial statements. NOTE: If any
                                   Loan Pa1ty acquires (i) ce1tificated Securities and/or (ii) lnstrnments having a face amount in excess of
                                   $2,000,000 during the fourth Fiscal Quarter of any Fiscal Year, the documents and deliverables required
                                   under Section 4.02(a) of the Security Agreement must be delivered wiU1in 60 days after the end of such
                                   Fiscal Quaiter (or in each case ~'Uch longer pe1iod as the Administrative Agent may reasonably agree).

                         2.        The delive1y of documents and deliverables required under Section 4.03(c) of the Security Agreement
                                   relating to any registration ( or any application for registration of) any Patent, Trademark or Copyright with
                                   U1e United States Patent and Trademark Office or the United States Copyright Office, as applicable, filed or
                                   acquired during the Fiscal Quarter covered by U1e attached folancial statements. NOT E: If ai1y Loan Party
                                   acquires any registration (or files any application for registration) of any Parent, Trademark or Copyright
                                   with U1e United States Patent and Trademark Office or the United States Copyright Office, as applicable,
                                   during U1e fou1th Fiscal Qua1ter of any Fiscal Year, the documents and deliverables required under Section
                                   4 .03(c) of the Security Agreement must be delivered within 60 days after the end of such Fiscal Quarter (or in
                                   each case such longer period as U1e Administrative Agent may reasonably agree).

                         3.        TI1e delivery of the documents required under Section 4.04 of the Security Agreement relating to any
                                   Commercial To1t Claim wiU1 an individual value (as reasonably estimated by the Top B01Tower) in excess of
                                   $1,000,000 acquired after the Closing Date. NOTE: If any Loan Party acquires any Commercial Tort Claim
                                   with an individual value (as reasonably estimated by the Top BotTower) in excess of $1 ,000,000 duting the
                                   fourth Fiscal Qua1ter of any Fiscal Year, U1e documents and deliverables required under Section 4.04 of the
                                   Secutity Agreement must be delivered within 60 days after the end of such Fiscal Quarter (or in each case
                                   such longer period as U1e Administrative Agent may reasonably agree).

                         4.        The delivery of the documents required to be delivered under Section 5.12(a) of the Super-Priority Tenn
                                   Loan Agreement as a result of (i) the fonnation or acquisition after the ClosiJ1g Date of any Restricted
                                   Subsidiary that is a Domestic Subsidifily (0U1er U1fil1 an Excluded Subsidiary), (ii) the designation of fill)'
                                   Unrestricted Subsidiruy as a Restricted Subsidifily (0U1er than an Excluded Subsidiaiy), (iii) any Restricted
                                   Subsidiary that is a Domestic Subsidia1y ceasiJ1g to be an Immaterial Subsidia1y and/or (iv) any Restricted
                                   Subsidiary that was fill Excluded Subsidiary ceasiJ1g to be an Excluded Subsidiaty, in each case duriJ1g the
                                   Fiscal Quarter covered by U1e attached financial statements. NOTE: upon U1e taking of any action or U1e
                                   occurrence of filly event described iJ1 clauses (i) through (iy} during U1e foutth Fiscal Quarter of fill)' Fiscal
                                   Year, fue documents required to be delivered under Section 5.12(a) of the Super-Priority Term Loan
                                   Agreement must be delivered wiUw1 60 days after U1e end of such Fiscal Qufilter (or in each case such longer
                                   period as the AdmiJlistrative Agent may reasonably agree).


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                                                                                                             SCHEDULE l

                                         Summarv of Pro Forma Adjustments for Unrestricted Subsidiaries




                                                             Schedule 2 to Exhibit D
               WEIL:197509555\6\40416.0003




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                                                                                      SCHEDULE2

                                             Consolidating Financial Information




                                                   Schedule 3 to Exhibit D
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                                                                                    SCHEDULE3

                                              Unrestricted Subsidiaries




                                               Schedule 4 to Exhibit D
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                                                                                     EXHIBITE

                                                   [Reserved.]




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                                                                                                                  EXHIBIT F

                                                             [FORMOF]
                                                        INTERCOMPANY NOTE

                                                                                                                       [Date]

                                  FOR VALUE RECEIVED, each of the tmdersigned, to the extent a borrower from time to
               time from any other entity listed on a signature page hereto (each, in such capacity, a "Pavor"), hereby
               promises to pay on demand to such other entity listed below (each, in such capacity, a " Payee"), in lawful
               money of the United States of America, or in such other currency as agreed to by such Payor and such Payee,
               in immediately available funds, at such location as a Payee shall from time to ti me designate, the unpaid
               principal amount of all loans and advances constitu ting a loan made by such Payee to such Payor in reliance on
               clause (B) of the definition of "Investment" or indebtedness borrowed by such Payor from such Payee in
               reliance on clause (B) of the proviso to the defmition of "Indebtedness" . Each Payor promises also to pay
               interest, if any, on the unpaid principal amount of all such loans and advances in like money at said location
               from the date of such loans and advances until paid at such rate per annum as shall be agreed upon from time
               to time by such Payor and such Payee.

                                  Reference is made to (i) that certain Super-Priority Tenn Loan Agreement, dated as of June
               L], 2020 (as amended, restated, extended, supplemented or otherwise modified in writing from time to time,
               the " Super-Priority Tem1 Loan Agreement"), by and among, inter alios, Dawn Intermediate, LLC, a Delaware
               limited liability company ("Dawn Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware
               limited liability company (" SSB" or the ''Top Borrower"), National Bedding Company L.L.C., an lllinois
               limited liability company ("National Bedding"), and SSB Manufacturing Company, a Delaware corporation
               (" SSB Manufacturing" and together with SSB and National Bedding, the "Borrowers"), the lenders from time
               to time party thereto (the " Super-Priority Term Loan Lenders"), UBS AG, Stamford Branch ("UBS"), in its
               capacities as administrative agent and collateral agent for the Super-Priority Term Loan Lenders (the " Super-
               Priority Agent"), and the Super-Priority Term Loan Lenders and other parties from time to time party thereto,
               (ii) that certain First Lien Term Loan Agreement, dated as of November 8, 201 6 (as amended, restated,
               extended, supplemented or otherwise modified in writing from time to time, the "First Lien Term Loan
               Agreement"), by and among, inter alios, Dawn Intermediate, LLC, a Delaware limited liability company
               Holdings, the Borrowers, the lenders from time to time party thereto (the " First Lien Tenn Loan Lenders"),
               UBS, in its capacities as administrative agent and collateral agent for the First Lien Term Loan Lenders (the
               " First Lien Agent"), (iii) that certain Second Lien Term Loan Agreement, dated as of November 8, 2016 (as
               amended, restated, extended, supplemented or otherwise modified in writing from time to time, the " Second
               Lien Tenn Loan Agreement"), by and among, inter alios, Holdings, the Borrowers, the Lenders from time to
               time party thereto (the "Second Lien Term Loan Lenders"), Goldman Sachs Bank USA, in its capacities as
               administrative agent and collateral agent for the Second Lien Term Loan Lenders (the " Second Lien Agent")
               and (iv) that certain ABL Credit Agreement, dated as of November 8, 2016 (as amended, restated, extended,
               supplemented or otherwise modified in writing from time to time, the "ABL Credit Agreement" and, together
               with the Super-Priority Term Loan Agreement, the First Lien Term Loan Agreement and the Second Lien
               Tenn Loan Agreement, the "Credit Agreements"), by and among, in ter alios, Holdings, the Borrowers, the
               Lenders from time to time party thereto (the "ABL Lenders"), UBS, in its capacities as administrative agent
               and collateral agent for the ABL Lenders (the "ABL Agent" and together with Super-Priority Agent, First Lien
               Agent and the Second Lien Agent, the "Agents")). Each Payee hereby acknowledges and agrees that the
               applicable Agent may exercise all rights provided in the Loan Documents, as applicable, with respect to this
               Note. Capitalized terms used in this Intercompany Note (this ' 'Note") but not otherwise defined herein shall
               have the meanings given to them in the Credit Agreements, as applicable. This Note is the lntercompany Note
               referred to in Credit Agreements.

                                Notwithstanding anything to the contrary contained in this Note, each Payee understands and
               agrees that no Payor shall be required to make, and shall not make, any payment of principal, interest or other
               amounts on this Note to the extent that such payment is prohibited by, or would give rise to a default or an
               event of default under, the terms of any Senior Indebtedness (as defmed below) (each a "Credit Agreement
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               Default"). The failure to make such payment because such payment would result in any Credit Agreement
               Default shall not constitute a default hereunder.

                                 Anything in this Note to the contrary notwithstanding, the Indebtedness evidenced by this
               Note owed by any Payor that is a Loan Party to any Payee that is not a Loan Party shall be subordinated and
               junior in right of payment, to the extent and in the manner hereinafter set forth, to all of the Secured
               Obligations of such Payor; provided that each Payor may make payments to the applicable Payee so long as no
               Event of Default under and as defined in the applicable Credit Agreement shall have occurred and be
               continuing (such Secured Obligations and, in each case, other indebtedness and obligations in connection with
               any renewal, refunding, restrncturing or refinancing thereof, including interest, fees and expenses thereon
               accruing after the commencement of any proceedings referred to in clause (i) below, whether or not such
               interest, fees and expenses is an allowed claim in such proceeding, being hereinafter collectively referred to as
               " Senior Indebtedness"):

                                     (i)    In the event of any insolvency or bankruptcy proceedings, and any receivership,
                         liquidation, reorganization or other similar proceedings in connection therewith, relative to any Payor
                         that is a Loan Party (each such Payor, an " Affected Payor") or to its property, and in the event of any
                         proceedings for voluntary liquidation, dissolution or other winding up of such Affected Payor (except
                         as expressly pem1itted by the Loan Documents), whether or not involving insolvency or bankruptcy, if
                         an Event of Default has occurred and is continuing (x) the holders of Senior Indebtedness shall be paid
                         in full in cash in respect of all amounts constituting Senior Indebtedness (including, without
                         limitation, post-petition interest at the rate provided in the documentation with respect to the Senior
                         Indebtedness, whether or not such post-petition interest is an allowed claim against the debtor in any
                         bankruptcy or similar proceeding) (other than (A) contingent indemnification obligations as to which
                         no claim has been asserted and (B) Banking Services Obligations and Secured Hedging Obligations)
                         and no Letter of Credit shall remain outstanding (unless the Outstanding Amount of the Letter of
                         Credit related thereto has been cash collateralized or back-stopped or otherwise in a manner
                         reasonably satisfactory to the applicable Issuing Bank and the ABL Agent and in a face amount to be
                         reasonably determined by the applicable Borrower and the applicable Issuing Bank (but not less than
                         l 00% of the Outstanding Amount of the applicable Letter of Credit), or such Letter of Credit has been
                         deemed reissued under another agreement reasonably acceptable to the applicable Issuing Bank and
                         the ABL Agent) before any Payee that is not a Loan Party (each such Payee, an "Affected Payee") is
                         entitled to receive (whether directly or indirectly), or make any demands for, any payment on accotmt
                         of this Note and (y) until the holders of Senior Indebtedness are paid in full in cash in respect of all
                         an10unts constituting Senior Indebtedness (including, without limitation, post-petition interest at the
                         rate provided in the documentation with respect to the Senior Indebtedness, whether or not such post-
                         petition interest is an allowed claim against the debtor in any bankruptcy or similar proceeding) (other
                         than (A) contingent indemnification obligations as to which no claim has been asserted and (B)
                         Banking Services Obligations and Secured Hedging Obligations) and no Letter of Credit shall remain
                         outstanding (unless the Outstanding Amount of the Letter of Credit related thereto has been cash
                         collateralized or back-stopped by a letter of credit or otherwise in a manner reasonably satisfactory to
                         the applicable Issuing Bank and the ABL Agent and in a face amount to be reasonably determined by
                         the applicable Borrower and the applicable Issuing Bank (but not less than 100% of the Outstanding
                         Amount of the applicable Letter of Credit), or such Letter of Credit has been deemed reissued under
                         another agreement reasonably acceptable to the applicable Issuing Bank and the ABL Agent), any
                         payment or distribution to which such Affected Payee would otherwise be entitled (other than equity
                         or debt securities of such Affected Payor that are subordinated, to at least the same extent as this Note,
                         to the payment of all Senior Indebtedness then outstanding (such securities being hereinafter referred
                         to as " Restructured Securities")) shall be made to the holders of Senior Indebtedness;

                                  (ii)    (x) if any Event of Default under Sections 7.0l(a), LQlill or LQl(g). of any Credit
                         Agreement occurs and is continuing and (y) subject to the lntercreditor Agreements, either any Agent
                         delivers notice to the Borrowers instructing the Borrowers that the applicable Agent is thereby
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                         exercising its rights pursuant to this clause (ii) (provided that no such notice shall be required to be
                         given in the case of any Event of Default arising under Sections 7.0l(Q or .LQl__{g} of the Credit
                         Agreements, as applicable), then, unless otherwise agreed i11 writing by the applicable Agent in its
                         reasonable discretion, no payment or distribution of any kind or character s hall be made by or on
                         behalf of any Affected Payor or any other Person on its behalf, and no payment or distribution of any
                         kind or character shall be received by or on behalf of any Affected Payee or any other Person on its
                         behalf, with respect to this Note until (x) the applicable Senior Indebtedness shall have been paid in
                         foll in cash (other than (A) contingent indemnification obligations as to which no claim has been
                         asserted, (B) Banking Services Obligations and Secured Hedgi11g Obligations and (C) the Outstanding
                         Amount of any Letter of Credit that has been cash collateralized or back-stopped or otherwise in a
                         manner reasonably satisfactory to the applicable Issuing Bank and the Super-Priority Agent and in a
                         face amount to be reasonably determined by the relevant Borrowers and the applicable Issuing Bank
                         (but not less than 100% of the Outstanding Amount of the applicable Letter of Credit), or such Letter
                         of Credit has been deemed reissued under another agreement reasonably acceptable to the applicable
                         Issuing Bank and the Super-Priority Agent) or (y) such Event of Default shall have been cured or
                         waived ;

                                  (iii)    if any payment or distribution of any character, whether in cash, securities or other
                         property (other than Restructured Securities), in respect of this Note shall (despite these subordination
                         provisions) be received by any Affected Payee in violation of the foregoing clause (i) or (ii), such
                         payment or distribution shall be held in trust for the benefit of, and shall be paid over or delivered in
                         accordance with the relevant Collateral Documents, the applicable Agent, on behalf of the applicable
                         Secured Parties, subject to the terms of the lntercreditor Agreements; and

                                   (iv)    Each Affected Payee agrees to file all claims against each relevant Affected Payor in
                         any bankruptcy or other proceeding in which the filing of claims is required by law in respect of any
                         Senior Indebtedness and the Agents shall be entitled to all of such Affected Payee' s rights thereunder.
                         If for any reason an Affected Payee fails to file such claim at least ten ( 10) days prior to the last date
                         on which such claim should be filed, such Affected Payee hereby irrevocably appoints each Agent as
                         its true and lawful attorney-in-fact and each Agent is hereby authorized to act as attorney-in-fact in
                         such Affected Payee' s name to file such claim or, in such Agent' s discretion, to assign such claim to
                         and cause proof of claim to be filed in the name of such Agent or its nominee. In all such cases,
                         whether in administration, bankruptcy or otherwise, the person or persons authorized to pay such
                         claim shall pay to the applicable Agent the full amount payable on the c laim in the proceedin g, and, to
                         the full extent necessary for that purpose, each Affected Payee hereby assigns to each of the Agents all
                         of such Affected Payee 's rights to any payments or distributions to which such Affected Payee
                         otherwise would be entitled. If the amount so paid is greater than such Affected Payor's liability
                         hereun der, the Agents shall pay the excess amount to the party entitled thereto under the applicable
                         lntercreditor Agreement and applicable law. In addition, upon the occurrence and during the
                         continuance of an Event of Default, each Affected Payee hereby irrevocably appoints each Agent as
                         its attorney-in-fact to exercise all of such Affected Payee's voting rights in connection with any
                         bankruptcy proceeding or any plan for the reorganization of each relevant Affected Payor.

                                Except as otherw·ise set forth in clauses (i) and (ii) above, any Payor is permitted to pay, and
               any Payee is entitled to receive, any payment or prepayment of principal and interest on the Indebtedness
               evidenced by this Note.

                                To the fullest extent permitted by applicable Requirements of Law, no present or future
               holder of Senior Indebtedness shall at any time or in any way be prejudiced or impaired in its right to enforce
               the subordination of this Note by any act or fai lure to act on the part of any Affected Payor or Affected Payee
               or by any act or failure to act on the part of such holder or any trustee or agent for such holder, or by any
               noncompliance by the Payor with the terms and provisions of the Note, regardless or any knowledge thereof
               which any such holder may have or be otherwise charged with. Each Affected Payee and each Affected Payor
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               hereby agrees that the subordination of this Note is for the benefit of each Agent and the other Secured Parties.
               Each Agent and the other Secured Parties are obligees under this Note to the same extent as if their names
               were written herein as such and each Agent (or other applicable Representative) may, on behalf of itself, and
               the applicable Secured Parties, proceed to enforce the subordination provisions herein, in each case, subject to
               the terms of the lntercreditor Agreements.

                                The holders of the Senior Indebtedness may, without in any way affecting the obligations of
               the holder of the Note with respect hereto, at any time or from time to time and in their absolute discretion,
               change the manner, place or tem1s of payment of, change or extend the time of payment of, or renew or alter,
               any Senior Indebtedness or amend, modify or supplement any agreement or instrument governing or
               evidencing such Senior Indebtedness or any other document referred to therein, or exercise or refrain from
               exercising any other of their rights under the Senior Indebtedness including, \-Vithout limitation, the waiver of
               default thereunder and the release of any collateral securing such Senior Indebtedness, all without notice to or
               assent from any Payor or Payee.

                                Nothing contained in the subordination prov1s1ons set forth above is intended to or will
               impair, as between each Payor and each Payee, the obligations of such Payor, which are absolute and
               unconditional, to pay to such Payee the principal of and interest on this Note as and when due and payable in
               accordance w ith its terms, or is intended to or will affect the relative rights of such Payee and other creditors of
               such Payor other than the holders of Senior Indebtedness.

                                 Each Payee is hereby authorized (but not required) to record all loans and advances made by
               it to any Payor (all of which shall be evidenced by this Note), and all repayments or prepayments thereof, in its
               books and records, such books and records constituting prima facie evidence of the accuracy of the
               infonnation contained therein. For the avoidance of doubt, this Note shall not in any way replace, or affect the
               princ ipal amount of, any intercompany loan outstanding between any Payor and any Payee prior to the
               execution hereof, and to the extent permitted by applicable law, from and after the date hereof, each such
               intercompany loan shall be deemed to incorporate the terms set forth in this Note to the extent applicable and
               shall be deemed to be evidenced by this Note together with any documents and instruments executed prior to
               the date hereof in connection with such intercompany Indebtedness.

                                Each Payor hereby waives presentment, demand, protest or notice of any kind in connection
               with this Note. Except to the extent of any taxes required by law to be withheld, all payments under this Note
               shall be made without offset, counterclaim or deduction of any kind.

                                This Note shall be binding upon each Payor and its successors and assigns, and the terms and
               provisions of this Note shaII inure to the benefit of each Payee and their respective successors and assigns,
               including subsequent holders hereof.

                                If, at any time, all or part of any payment with respect to Senior Indebtedness theretofore
               made by the Payor or any other Person or entity is rescinded or must otherwise be returned by the holders of
               the Senior Indebtedness for any reason whatsoever (including, without limitation, the insolvency, bankruptcy
               or reorganization of the Payor or such other Person or entity), the subordination provisions set forth herein
               shall continue to be effective or be reinstated, as the case may be, all as though such payment had not been
               made.

                                 If any Payee shall acquire by indemnification, subrogation or otherwise, any lien, estate, right
               or other interest in any of the assets or properties of any Payor, that lien, estate, right or other interest shall be
               subordinate in right of paym ent to the Senior Indebtedness and the lien of the Senior Indebtedness as provided
               herein, and each Payee hereby waives any and all rights it may acquire by subrogation or otherwise to any lien
               of the Senior Indebtedness or any portion thereof until such time as all Senior Indebtedness has been
               indefeasibly repaid in full in cash.


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                                  From time to time after the date hereof, additional Subsidiaries of the Top Borrower may
               become parties hereto (as Payor and/or Payee, as the case may be) by executing a counterpart signature page
               hereto, which shall be automatically incorporated into this Note (each additional Subsidiary, an "Additional
               Party"). Upon delivery of such counterpart signature page to the Payees, notice of which is hereby waived by
               the other Payors, each Additional Party shall be a Payor and/or a Payee, as the case may be, and shall be as
               fully a party hereto as if such Additional Party were an original signatory hereof. Each Payor expressly agrees
               that its obligations arising hereunder shall not be affected or diminished by the addition or release of any other
               Payor or Payee hereunder. This Note shall be fully effective as to any Payor or Payee that is or becomes a
               party hereto regardless of whether any other person becomes or fails to become or ceases to be a Payor or
               Payee hereunder.

                                 Indebtedness governed by this Note shall be maintained in "registered form" within the
               meaning of Section 163(f) of the Internal Revenue Code of 1986, as amended. The Payor or its designee
               (which shall be the Applicable Administrative Agent) shall record the transfer of the right to payments of
               principal and interest on the Indebtedness governed by this Note to holders of the Senior Indebtedness in a
               register (the "Register"), and no such transfer shall be effective until entered in the Register.

                                Any Payor shall be automatically released from this Note in the event that such Payor ceases
               to be a Loan Party pursuant to Artic le 8 or Section 9.22 of the Credit Agreements. Any Payee shall be
               automatically released from this Note in the event that such Payee ceases to be a wholly-owned Restricted
               Subsidiary of the Top Borrower pursuant to a transaction permitted by the Credit Agreements.

                           THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
               WITH, THE LAW OF THE STATE OF NEW YORK.

                                                          [Signature Pages Follov.,j




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  Confidential                                                                                               SSB_ADVERSARY00002360
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                                                                                                                                        EXHIBIT F




                                                                              [• ], as Payee20


                                                                              By: _ _ _ _ _ _ _ _ _ _ __
                                                                                     Name:
                                                                                     T itle:


                                                                              [• ], as Payor2 1


                                                                              By: _ _ _ _ _ _ _ _ _ _ __
                                                                                    Name:
                                                                                        Title:




               20
                    To be executed by Restricted Subsidiaries that are not Loan Patties to the e>..1ent required in accordance with the provisions of
                           U1e applicable Credit Agreement.

               21
                    To be executed by Loan Pruties to the extent required in accordru1ce with the provisions of the applicable Credit Agreement.


                                                              Signature Page to lntercornpany Note
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Confidential                                                                                                                            SSB LCM 00002361
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                                                                                    EXHIBIT G-1

                                                       [FORMOF]
                                             ABL INTERCREDITOR AGREEMENT

                                                     [See attached.]




                                                         G-1-1
               WEIL:197509555\6\40416.0003




Confidential                                                                          SSB LCM 00002362
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  Confidential                                                                  SSB_ADVERSARY00002362
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                                                                                           EXECUTION VERSION




                                           ABL INTERCREDITOR AGREEMENT



                                                dated as of November 8, 2016,

                                                            among

                                              UBS AG, STAMFORD BRANCH,
                                          as ABL Credit Agreement Collateral Agent;

                                               UBS AG, STAMFORD BRANCH,
                                        as First Lien Credit Agreement Collateral Agent;

                                               GOLDMAN SACHS BANK USA
                                       as Second Lien Credit Agreement Collateral Agent,

                                                              and

                                    EACH OTHER COLLATERAL AGENT PARTY HERETO



                                              and acknowledged and agreed to by

                                               DAWN INTERMEDIATE, INC.,

                                                         as Holdings,

                                             SERTA SIMMONS BEDDING, LLC

                                                       as Top Borrower,

                                       THE OTHER BORROWERS PARTY HERETO,

                                                              and

                                     EACH OF THE OTHER OBLIGORS PARTY HERETO,




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                                              ABL INTERCREDITOR AGREEMENT

                                 This ABL INTERCREDITOR AGREEMENT (as ame nded, restated, amended and
               restated, supplemented and/or othe rwise modified from time to time, this "Agreement") is dated as of
               November 8, 2016, and entered into by and among UBS AG, STAMFORD BRANCH, in its capacity as
               collate ral agent under the ABL Credit Agreement and the ABL Collateral Documents relating thereto (in
               each case as defined below) (in such capacity and together with its successors and assigns in such
               capacity, the "ABL Credit Agreement Collateral Agent"), UBS AG, STAMFORD BRANCH, in its
               capacity as collateral agent under the First Lien Credit Agreement and the First Lien Collate ral
               Documents relating thereto (in each case, as defined below) (in such capacity and together with its
               successors and assigns in such capacity, the "First Lien Credit Agreement Collateral Agent"),
               GOLDMAN SACHS BANK USA in its capacity as collateral agent under the Second Lien Credit
               Agreement and the Second Lien Collateral Documents relating thereto (in each case, as defined below)
               (in such capacity and together with its successors and assigns in such capacity, the "Second Lien Credit
               Agreement Collateral Agent"), each other FIRST LIEN COLLATERAL AGENT that is from time to
               time party hereto and each other SECOND LIEN COLLATERAL AGENT that is from time to time party
               hereto and acknowledged and agreed to by DAWN TNTERMEDIATE, INC., a Delaware corporation
               ("Holdings"), SERTA SIMMONS BEDDING, LLC, a Delaware limited liability company (the "Top
               Borrower"), NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company
               ("National Bedding"), SSB MANUFACTURlNG COMPANY, a Delaware corporation ("SSB
               Manufacturing" and, together with the Top Borrower and National Bedding, the "Borrowers") and the
               other OBLIGORS (as defined below) from time to time party hereto.

                                                              RECITALS

                                Holdings, the Borrowers, the financial institutions party thereto from time to time, UBS
               AG, Stamford Branch ("UBS"), as administrative agent (in such capacity and together with its successors
               and assigns in such capacity, the "ABL Administrative Agent"), the ABL Credit Agree ment Collate ral
               Agent, letter of credit issuer and swingline lender, have entered into that certain ABL Credit Agreement,
               dated as of November 8, 2016 (as an1ended, amended and restated, supplemented, modified or Refinanced
               from time to time, the "ABL Credit Agreement");

                                 Holdings, Borrowers, the financial institutions party thereto from time to time, UBS, as
               administrative agent (in such capacity and together with its successors and assigns in such capacity, the
               "First Lien Administrative Agent") and the First Lien Credit Agreement Collateral Agent, have entered
               into that certain First Lien Term Loan Agreement, dated as of November 8, 2016 (as amended, amended
               and restated, supplemented, modified or Refinanced from time to time, the "First Lien Credit
               Agreement");

                                Holdings, the Borrowers, the financial institutions party thereto from time to time,
               Goldman Sachs Bank USA ("GS"), as administrative agent (in such capacity, the "Second Lien
               Administrative Agent") and Second Lien Tem1 Loan Agreement Collate ral Agent, have entered into that
               certain Second Lien Te rm Loan Credit Agreement, dated as of November 8, 201 6 (as amended, amended
               and restated, supplemented, modified or Refinanced from time to time, the "Second Lien Credit
               Agreement");

                                 Pursuant to (i) the ABL Credit Agreement, (A) the Borrowers may incur loans and ABL
               Letters of Credit may be issued and (B) the relevant ABL Obligors have a.greed to guarantee the ABL
               Obligations, (ii) the First Lien Credit Agreement, (A) the Borrowers will incur loans and (8) the relevant
               First Lien Obligors have agreed to guarantee the First Lien Obligations, and (iii) the Second Lien Credit




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               Agreement, (A) the Borrowers will incur loans and (B) the relevant Second Lien Obligors have agreed to
               guarantee the Second Lien Obligations;

                                The obligations of each ABL Obligor under (i) the ABL Financing Documents, (ii) any
               ABL Hedge Agreements and (iii) any ABL Banking Services Agreements will be secured on (x) a first
               priority basis by Liens on the ABL Priority Collateral of such ABL Obligor and (y) a third priority basis
               by Liens on the Tenn Loan Priority Collateral of such ABL Obligor, in each case pursuant to the tenns of
               the ABL Collateral Documents;

                                 The obligations of each First Lien Obligor unde r (i) the First Lien Financing Documents,
               (ii) any First Lien Hedge Agreements and (iii) any First Lien Banking Services Agreements will be
               secured on (x) a first priority basis by Liens on the Tenn Loan Priority Collateral of such First Lien
               Obligor and (y) a second priority basis by Liens on the ABL Priority Collateral of such First Lien
               Obligor, in each case pursuant to the tenns of the First Lien Collateral Documents;

                                The obligations of each Second Lien Obligor unde r (i) the Second Lien Financing
               Docume nts, (ii) any Second Lien Hedge Agreements and (iii) any Second Lien Banking Services
               Agreements w ill be secured on (x) a second priority basis by Liens on the Tenn Loan Priority Collateral
               of such Second Lien Obligor and (y) a third priority basis by Liens on the ABL Priority Collateral of such
               Second Lien Obligor, in each case pursuant to the tenns of the Second Lien Collateral Documents;

                                The ABL Credit Agreement, the First Lien Credit Agreement and the Second Lien Credit
               Agreement require, among other things, that the parties thereto shall set forth in this Agreement their
               respective rights and remedies with respect to the Collateral;

                                The Obligors may, from time to time, to the extent pennitted by this Agreement, the ABL
               Financing Documents, the First Lien Financing Documents and the Second Lien Financing Documents,
               incur additional secured debt which the Obligors and the debtholders thereunder may elect, subject to the
               tem1s and conditions hereof, of the ABL Financing Documents, the First Lien Financing Documents and
               of the Second Lien Financing Documents, to be secured by the Collateral;

                                In order to induce the ABL Credit Agreement Collateral Agent and the other ABL
               Claimholders to consent to the Obligors incurring the First Lien Obligations and the Second Lien
               Obligations and to induce the ABL Claimholders to extend credit and other financial accommodations
               and lend monies to or for the benefit of the ABL Obligors, each First Lien Collateral Agent, each Second
               Lien Collateral Agent and each Additional Lien Obligations Agent, on behalf of itself and its respective
               Claimholders, and each First Lien Claimholder, each Second Lien Claimholder and each Additional Lien
               Obligations Claimholde r, by its acceptance of the benefits of the First Lien Collateral Documents, the
               Second Lien Collateral Documents or the Additional Lien Obligations Agreements, as applicable, has
               agreed to the intercreditor and other provisions set forth in this Agreement;

                                In orde r to induce each First Lien Collateral Agent and the other First Lien Claimholders
               to consent to the Obligors incurring the ABL Obligations and the Second Lien Obligations and to induce
               the First Lien Claimholders to extend credit and other financial accommodations and lend monies to or
               for the benefit of the First Lien Obligors, the ABL Credit Agreement Collateral Agent, each Second Lien
               Collateral Agent and each Additional Lien Obligations Agent, on behalf of itself and its respective
               Claimholders, and each ABL Claimholder, each Second Lien Claimholder and each Additional Lien
               Obligations Claimholder, by its acceptance of the benefits of the ABL Collateral Documents, the Second
               Lien Collateral Documents or the Additional Lien Obligations Agreements, as applicable, has agreed to
               the intercreditor and other provisions set forth in this Agreement; and


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                                 In order to induce each Second Lien Collateral Agent and the othe r Second Lien
               Claimholders to consent to the Obligors incurring the ABL Obligations and the First Lie n Obligations and
               to induce the Second Lien Claimholders to ex1:end credit and other financial accommodations and lend
               monies to or for the benefit of the Second Lien Obligors, the ABL Credit Agreement Collateral Agent,
               each First Lien Collateral Agent and each Additional Lien Obligations Agent, on behalf of itself and its
               respective Claimholders and each ABL Claimholder, each First Lien Claimholder and each Additional
               Lien Obligations Claimholder, by its acceptance of the benefits of ABL Collateral Documents, the First
               Lie n Collateral Documents or the Additional Lien Obligations Agreeme nts, as applicable, has agreed to
               the intercreditor and other provisions set forth in this Agreement.

                                                            AGREEMENT

                               ln consideration of the foregoing, the mutual covenants and obligations herein set forth
               and for other good and valuable consideration, the sufficiency and receipt of which are hereby
               acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

                                SECTION 1.       Definitions.

                                1.1    Defined Terms. The following tenns which are defined in the UCC are used
               herein as so defined: Account, Chatte l Paper, Deposit Account, Document, Equipment, Fixture, General
               Intangible, Good, Instrument (as defined in Article 9 thereof), Inventory, Investment Property, Letter-of-
               Credit Right, Money, Securities, Securities Account, Security Entitlement and Supporting Obligation. As
               used in this Agreement, the following te rms shall have the following meanings:

                                "ABL Administrative Agent" has the meaning set forth in the Recitals to this
               Agreement.

                               "ABL Banking Services" means any of the following services provided to any ABL
               Obligor or any of its "subsidiaries" as defined in the ABL Credit Agreement: commercial credit cards,
               stored value cards, purchasing cards, treasury management se rvices, netting se rvices, overdraft
               protections, check drawing services, automated payment services (including depository, ove rdraft,
               controlled disbursement, ACH transactions, return items and interstate depository network services),
               employee credit card programs, cash pooling services and any arrangements or services similar to any of
               the foregoing and/or otherwise in connection with cash management and deposit accounts.

                              "ABL Banking Services Agreement" means any documentation with an ABL
               Claimholder governing any ABL Banking Services Obligations.

                                "ABL Banking Services Obligations" means any and all obligations of any ABL
               Obligor or any of its "subsidiaries" as defined in the ABL Credit Agreement (or any similar term in any
               other ABL Document), whether absolute or contingent and however and wheneve r created, arising,
               evidenced or acquired (including all renewals, extensions and modifications thereof and substitutions
               therefor), in connection with ABL Banking Services, in each case, that constitute ABL Obligations;
               provided that in no event shall any obligations constitute ABL Banking Services Obligations to the extent
               such obligations constitute First Lien Banking Se rvices Obligations or Second Lien Banking Services
               Obligations.

                                "ABL Claim holders" means, at any relevant time, the holders of ABL Obligations at
               that time, including the ABL Lenders, the ABL Administrative Agent, the ABL Credit Agreement
               Collateral Agent and the othe r agents unde r the ABL Credit Agreement.


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                                "ABL Collateral" means (i) the "Collateral" (as defined in the ABL Credit Agreement)
               and (ii) any other assets and property of any Obligor, whether real, personal or mixed, with respect to
               which a Lien is granted or purported to be granted as security for any ABL Obligations or that is
               otherwise subject to a Lien securing any ABL Obligations.

                                "ABL Collateral Documents" means the "Collateral Documents" as defined in the ABL
               Credit Agreement and any other agreement, document or instrument pursuant to which a Lien is granted
               or purported to be granted securing any ABL Obligations or w1der which rights or remedies with respect
               to such Liens are governed.

                                "ABL Credit Agreement" has the meaning set forth in the Recitals to this Agreement.

                              "ABL Credit Agreement Collateral Agent" has the meaning set forth in the Prean1ble
               to this Agreement.

                                 "ABL DIP Cap Amount" means 115% of the sum of (a) the maximum principal amount
               of all Indebtedness consisting of ABL Obligations that are pennitted to be incurred under the First Lien
               Credit Agreement as in effect on the date hereof and (b) any accrued and unpaid interest (including
               inte rest accruing at the default rate specified in the applicable ABL Financing Document and any Post-
               Petition Interest) and premiums (including tender premiums and prepayment premiums) payable on
               account of any ABL Obligations and any underwriting discounts, fees, commissions and expenses
               (including original issue discount, upfront fees or initial yield payments), attorneys' fees, costs, expenses
               and indemnities paid or payable by any Obligor in connection with incurrence or issuance of any ABL
               Obligation or any Refinancing of any ABL Obligation in accordance with the tenns of this Agreement.

                                "ABL DIP Financing" has the meaning set forth in Section 6.l(b).

                                "ABL Documents" means (i) the ABL Financing Documents, (ii) the ABL Hedge
               Agreements governing ABL Secured Hedging Obligations and (iii) the ABL Banking Se rvices
               Agreements, in each case, as Refinanced from time to time in accordance ·with the tenns thereof and
               subject to the tenns hereof.

                                  "ABL Financing Documents" means the ABL Credit Agreeme nt, the ABL Collateral
               Documents, the other "Loan Documents" as defined in the ABL Credit Agreement and each of the other
               agreements, documents and instruments providing for or evidencing any other ABL Obligation ( other
               than any ABL Othe r Obligation), and any other document or instrument executed or delivered at any time
               in connection with any ABL Obligations (other than any ABL Other Obligations), including any
               inte rcreditor or joinder agreement among any ABL Claimholders, to the extent such are effective at the
               relevant time, as each may be Refinanced from time to time in accordance with the tenns thereof and
               subject to the terms hereof.

                                "ABL Hedge Agreement" means any agreement with respect to any De rivative
               Transaction bet\-veen any ABL Obligor or any "subsidiary" as defined in the ABL Credit Agreement (or
               any similar tenn in any other ABL Document) and any ABL Claimholder.

                                "ABL Hedging Obligations" means, with respect to any ABL Obligor or any
               "subsidiary" as defined in the ABL Credit Agreement (or any similar term in any other ABL Document),
               the obligations of such Person under any ABL Hedge Agreement.

                                "ABL Issuing Bank" means each issuing bank in respect of an ABL Letter of Credit.


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                             "ABL Lenders" means the "Lenders" (or any similar term) as defined in the ABL Credit
               Agreement and also shall include all ABL Issuing Banks.

                               "ABL Letters of Credit" means any letters of credit issued (or deemed issued) from
               time to time under any ABL Financing Document.

                              "ABL Liens" means the Liens on the Collateral in favor of the ABL Claimholde rs under
               ABL Collateral Documents.

                                "ABL Obligations" means all "Secured Obligations" (or any similar tenn) as defined in
               the ABL Credit Agreement and all "Secured Obligations" (or any similar te rm) in any other ABL
               Financing Document. To the e>..'tent any payment with respect to any ABL Obligation (whether by or on
               behalf of any ABL Obligor, as proceeds of security, enforcement of any right of setoff or otherwise) is
               declared to be a fraudule nt conveyance or a preference in any respect, set aside or required to be paid to a
               debtor in possession, any Te rn1 Loan Claimholder, receiver or other Person, then the obligation or part
               thereof originally intended to be satisfied shall, for all purposes of this Agreement and the rights and
               obligations of the ABL Claimholders, be deemed to be reinstated and outstanding as if such payment had
               not occurred. In the event that any interest, fees, expenses or other amounts (including any interest
               accruing at the default rate or any Post-Petition Interest) to be paid by a ABL Obligor pursuant to the
               ABL Financing Documents, the ABL Hedge Agreements governing ABL Secured Hedging Obligations
               or the ABL Banking Services Agreements are disallowed by order of any court of competent jurisdiction,
               including by order of a court presiding over an Insolvency or Liquidation Proceeding, such interest, fees,
               expenses and other amounts (including default interest and Post-Petition Interest) shall, as between the
               Claimholders, be deemed to continue to accrue and be added to the amount to be calculated as the "ABL
               Obligations."

                              "ABL Obligors" means, collectively, the "Loan Parties" (or any similar tenn) as defined
               in the ABL Credit Agreement and the "Loan Parties" (or any similar term) as defined in any other ABL
               Document.

                             "ABL Other Obligations" means the ABL Banking Services Obligations and the ABL
               Secured Hedging Obligations.

                                "ABL Priority Collateral" means all interests of each Obligor in the following
               Collateral, in each case whether now owned or existing or hereafter acquired or arising and wherever
               located, including (a) all rights of each Obligor to receive moneys due and to become due under or
               pursuant to the following, (b) all rights of each Obligor to receive return of any premiums for or Proceeds
               of any insurance, indemnity, warranty or guaranty with respect to the fo llowing or to receive
               condemnation Proceeds with respect to the following, (c) all claims of each Obligor for damages arising
               out of or for breach of or default unde r any of the following, and (d) all rights of each Obligor to
               terminate, amend, supplement, modify or waive performance under any of the following, to perform
               thereunder and to compel performance and othenvise exercise all remedies thereunde r:

                                (i)      all Accounts, but for purposes of this clause (i) excluding rights to payment for
                       any property which specifically constitutes Te rm Loan Priority Collateral which has been or is to
                       be sold, leased, licensed, assigned or otherwise disposed of; provided, however, that, for the
                       avoidance of doubt, all rights to payment arising from any sale or lease of Inventory, Goods or
                       merchandise (other than Fi>..'tures or Equipment) or the provision of services shall constitute ABL
                       Priority Collateral;

                                (ii)    all Chattel Paper;

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                                (iii)    all Deposit Accounts, Securities Accounts and all other demand, deposit, time,
                       savings, cash manageme nt, passbook and similar accounts maintained with any bank or other
                       financial institution and all cash, money, securities, Instruments and other investments deposited
                       or required to be deposited in any of the foregoing (in each case, other than a Tem1 Proceeds
                       Account, all monies, securities, Instruments and other investments held in a Te m1 Proceeds
                       Account or credited to a Term Proceeds Account which constitute Term Loan Priority Collateral,
                       all identifiable Proceeds of any Tem1 Loan Priority Collateral and any accounts containing cash
                       constituting Tax and Trust Funds);

                                (iv)     all Inventory, including any Inventory incorporating any Intellectual Property,
                       and all rights to receive payments, indebtedness and other obligations which arise as a result of
                       the sale or lease of Inventory, Goods or merchandise (in each case other than Fixtures or
                       Equipment) or provision of services, including the right to payment of interest or finance charges;

                                (v)     all cash, Money and Cash Equivalents (other than (i) identifiable Proceeds of the
                       Term Loan Priority Collateral, (ii) cash collateral subject to a Permitted Lien (other than the Lien
                       in favor of any ABL Claimholder or Tem1 Loan Claimholder) or (iii) identifiable Tax and Trust
                       Funds);

                                (vi)    [reserved] ;

                                (vii)   to the extent evidencing or governing any of the items referred to in the
                       preceding clauses (i) through {yi), all General Intangibles (excluding capital stock and any
                       Intellectual Property to the extent such Intellectual Property is not attached to or necessary to sell
                       any item of Inventory), letters of credit (whether or not the respective letter of credit is evidenced
                       by a writing), Letter-of-Credit Rights, Instrume nts and Documents; provided that to the extent
                       any of the foregoing also relates to Tem1 Loan Priority Collateral, only that portion related to the
                       items referred to in the preceding clauses (i) through iYi.) as being included in the ABL Priority
                       Collateral shall be included in the ABL Priority Collateral;

                                (viii) to the extent relating to any of the items referred to in the preceding clauses (i)
                       through (vii), all insurance; provided that to the extent any of the foregoing also relates to Tenn
                       Loan Priority Collateral only that portion related to the items referred to in the preceding clauses
                       ill through (vii) as being included in the ABL Priority Collateral shall be included in the ABL
                       Priority Collateral;

                                (ix)     to the extent relating to any of the items referred to in the preceding clauses (i)
                       through (viii), all Supporting Obligations; provided that to the e)\.1ent any of the foregoing also
                       relates to Term Loan Priority Collateral only that portion related to the items referred to in the
                       preceding clauses (i) through (viii) as being included in the ABL Priority Collateral shall be
                       included in the ABL Priority Collateral;

                                (x)       to the extent relating to any of the items referred to in the preceding clauses (i)
                       through fllil, all Commercial Tort Claims; provided that to the extent any of the foregoing also
                       relates to Term Loan Priority Collateral only that portion re lated to the items referred to in the
                       preceding clauses (i) through (viii) as being included in the ABL Priority Collateral shall be
                       included in the ABL Priority Collateral;

                                (xi)     all books and records, including all books, databases, customer lists and records
                       related thereto; and


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                                (xii)   all cash Proceeds and, solely to the extent not constituting Tenn Loan Priority
                       Collateral, non-cash Proceeds, products, accessions, rents and profits of or in respect of any of the
                       foregoing (including all insurance proceeds) and all collateral security, guarantees and other
                       collateral support given by any Person with respect to any of the foregoing.

                                 "ABL Secured Hedging Obligations" means a ll ABL Hedging Obligations of the ABL
               Obligors, whether absolute, or contingent and howsoever and whenever created, arising, evidenced or
               acquired (including all renewals, extensions or modifications thereof and substitutions therefor), in each
               case, that constitute ABL Obligations.

                                "Additional First Lien Obligations" means obligations with respect to Indebtedness of
               the Borrowers or any other Obligor (other than, for the avoidance of doubt, First Lien Credit Agreement
               Obligations) issued or guaranteed following the date of this Agreement and documented in an agreement
               other than any agreement governing any then existing First Lien Obligations; provided that (a) such
               Indebtedness is permitted by the terms of each of the ABL Credit Agreement, First Lien Credit
               Agreement, the Second Lien Credit Agreement and each then existing Additional First Lien Obligations
               Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collateral
               ranking pari passu with the Liens securing the First Lien Obligations, (b) the Obligors have granted or
               purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
               on a pari passu basis with the other First Lien Obligations, (c) the applicable Additional First Lien
               Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
               of such Indebtedness, has entered into a J oinder Agreement pursuant to Section 8.2 1(b) acknowledging
               that such Indebtedness, obligations and Liens shall be subject to, and such Additional First Lien
               Obligations Agent and such holders shall be bound by, and shall have the rights and obligations provided
               under, the tenns of this Agreement applicable to the First Lien Collateral Agent and the other First Lien
               Claimholders, respectively and (d) an amendment to or other modification of this Agreement shall have
               been entered into pursuant to Section 8.3 to the e>..'tent contemplated and requested pursuant to
               Section 8.21(c).

                                 "Additional First Lien Obligations Agent" means any Person appointed to act as
               trustee, agent or similar representative for the holders of Additional First Lien Obligations pursuant to any
               Additional First Lien Obligations Agreement (including, in the case of any bilateral arrange ment, the
               actual holder of the relevant Additional First Lien Obligations unless such holder has othenvise appointed
               a trustee, agent or similar representative acting on its behalf) and has been designated as such in the
               applicable Joinder Agreement, and any successor thereto.

                                 "Additional First Lien Obligations Agreements" means (i) the indenture, credit
               agreement, guarantee or other agreement evidencing or governing any Additional First Lien Obligations
               that are designated as Additional First Lien Obligations pursuant to Section 8.21 and (ii) any other " Loan
               Documents," or "Financing Documents" (or similar tem1 as may be defined in the foregoing or referred to
               in the foregoing), in each case, as Refinanced from time to time in accordance with the terms the reof and
               subject to the terms hereof.

                                "Additional First Lien Obligations Claimholders" means, at any relevant time, the
               lenders, creditors and secured parties under any Additional First Lien Obligations Agreements, any
               Additional First Lien Obligations Agent and the other agents under such Additional First Lien
               Obligations Agreements, in each case, in their capacities as such.

                               "Additional Lien Obligations" means, collectively, the Additional First Lien
               Obligations and the Additional Second Lien Obligations.


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                             "Additional Lien Obligations Agent" means the Additional First Lien Obligations
             Agent and/or the Additional Second Lien Obligations Agent, as applicable.

                            "Additional Lien Obligations Agreements" means, collectively, the Additional First
             Lien Obligations Agreements and the Additional Second Lien Obligations Agreements.

                            "Additional Lien Obligations Claimholders" means, collectively, the Additional First
             Lien Obligations Claimholders and the Additional Second Lien Obligations Claimholders.

                              "Additional Second Lien Obligations" means obligations with respect to Indebtedness
             of the Borrowers or any other Obligor ( other than, for the avoidance of doubt, Second Lien Credit
             Agreement Obligations) issued or guaranteed following the date of this Agreement and documented in an
             agreement other than any agreement governing any then existing Second Lien Obligations. provided that
             (a) such Inde btedness is permitted by the terms of each of the ABL Credit Agreement, First Lien Credit
             Agreement, the Second Lien Credit Agreement and any then existing Additional First Lien Obligations
             Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collate ral
             ranking pari passu with the Liens securing the Second Lien Obligations, (b) the Obligors have granted or
             purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
             on apari passu basis with the othe r Second Lien Obligations, (c) the applicable Additional Second Lien
             Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
             of such Indebtedness, has entered into a Jo inder Agreement pursuant to Section 8 .2 l(b) acknowledging
             that such Indebtedness, obligations and Liens shall be subject to, and such Additional Second Lien
             Obligations Agent and such holders shall be bound by, and shall have rights and obligations provided
             under, the tenns of this Agreement applicable to the Second Lien Collateral Agent and the other Second
             Lie n Claimholders, respectively and (d) an amendment to or other modification of this Agreement shall
             have been entered into pursuant to Section 8.3 to the extent contemplated and requested pursuant to
             Section 8.21(c).

                              "Additional Second Lien Obligations Agent" means any Person appointed to act as
             trustee, agent or similar representative for the holders of Additional Second Lien Obligations pursuant to
             any Additional Second Lien Obligations Agreement (including, in the case of any bilateral arrangement,
             the actual holder of the relevant Additional Second Lien Obligations unless such holder has otherwise
             appointed a trustee, agent or similar representative acting on its behalf) and has been designated as such in
             the applicable Joinder Agreement, and any successor thereto.

                               "Additional Second Lien Obligations Agreements" means (i) the indenture, credit
             agreement, guarantee or other agreement evidencing or governing any Additional Second Lien
             Obligations that are designated as Additional Second Lien Obligations pursuant to Section 8.21 and
             (ii) any other " Loan Documents" or "Financing Documents" (or similar tem1 as may be defined in the
             foregoing or referred to in the foregoing), in each case, as Refinanced from time to time in accordance
             with the terms thereof and subject to the tem1s he reof.

                              "Additional Second Lien Obligations Claimholders" means, at any relevant time, the
             lenders, creditors and secured parties under any Additional Second Lien Obligations Agreeme nts, any
             Additional Second Lien Obligations Agent and the other agents under such Additional Second Lien
             Obligations Agreeme nts, in each case, in their capacities as such.

                             "Affiliate" means, as applied to any Pe rson, any other Pe rson directly or indirectly
             Controlling, Controlled by, or under common Control with, that Person.

                              "Agreement" has the meaning set forth in the Preamble to this Agreement.

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                              "Banking Services" means the ABL Banking Services, the First Lien Banking Services
               and the Second Lien Banking Services.

                              "Banking Services Obligations" means the ABL Banking Services Obligations, the First
               Lien Banking Services Obligations and the Second Lien Banking Services Obligations.

                                "Bankruptcy Code" means Title 11 of the United States Code (11. U.S.C. § 101 et seq .).

                                "Borrowers" has the meaning set forth in the Preamble to this Agreement.

                             "Business Day" means any day other than a Saturday, Sunday or other day on which
               commercial banks in New York City are authorized or required by law to remain closed.

                                 "Capital Lease" means, as applied to any Pe rson, any lease of any property (whethe r
               real, personal or mixed) by that Pe rson as lessee that, in conformity with GAAP, is or is required to be
               accounted for as a capital lease on the balance sheet of that Pe rson.

                                "Cash Collateral" has the meaning set forth in Section 6. l(a).

                              "Claim holders" means each of the ABL Claimholders, the First Lien Claimholders and
               the Second Lien Claimholde rs.

                                "Collateral" means all of the assets and property of any Obligor, whether real, personal
               or mixed, that constitute or are required to constitute (including pursuant to this Agreement) both ABL
               Collateral and Term Loan Collateral, including any property subject to Liens granted pursuant to
               Section 6 to secure both ABL Obligations and Tem1 Loan Obligations.

                              "Collateral Agent" means the ABL Credit Agreement Collateral Agent, any First Lien
               Collateral Agent and/or any Second Lien Collateral Agent, as applicable.

                              "Collateral Documents" means the ABL Collateral Documents and the Tem1 Loan
               Collateral Documents.

                               "Comparable Junior Collateral Document" means, in re lation to any Collateral subj ect
               to any Senior Lien created or purported to be created under any Senior Collateral Document, the Junior
               Collateral Document that creates or purports to create a Junior Lien on the same Collateral, granted by the
               same Obligor.

                                 "Contract Rights" means all rights of any Obligor under each Contract, including (i) any
               and all rights to receive and demand payments under any or all Contracts, (ii) any and all rights to receive
               and compel performance under any or all Contracts and (iii) any and all other rights, interests and claims
               now existing or in the future arising in co1mection with any or all Contracts.

                               "Contracts" means all contracts between any Obligor and one or more additional parties
               (including any Hedge Agreements or contracts for Banking Se rvices, licensing agreements and any
               partnership agreements, joint venture agreements and limited liability company agreements).

                                "Control" means the possession, directly or indirectly, of the power to direct or cause the
               direction of the manageme nt or policies of a Pe rson, whether through the ability to exe rcise voting power,
               by contract or otherwise, and the terms "Controlling" and "Controlled" have meanings correlative
               thereto.

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                                "Copyright" means any and all copyrights throughout the world, including the
               following: (a) all rights and interests in copyrights, works protectable by copyright whether published or
               unpublished, copyright registrations, copyright applications and other rights in works of authorship
               (including all copyrights embodied in software); (b) all renewals of any of the foregoing; (c) all income,
               royalties, damages, and payments now or he reafte r due and/or payable unde r any of the foregoing,
               including dan1ages or payments for past or future infringements for any of the foregoing; (d) the right to
               sue for past, present, and future infringements of any of the foregoing; and (e) all rights corresponding to
               any of the foregoing.

                                "Debtor Relief Laws" means the Bankruptcy Code and all other liquidation,
               conservatorship, bankruptcy, general assignment for the benefit of creditors, moratorium, rearrangement,
               receivership, insolvency, reorganization or similar debtor relief laws of the United States or any state or
               other applicable jurisdictions from time to time in effect and affecting the rights of creditors generally.

                                 "Derivative Transaction" means (a) any interest-rate transaction, including any interest-
               rate swap, basis swap, forward rate agreement, interest rate option (including a cap, collar or floor), and
               any other instrument linked to interest rates that gives rise to similar credit risks (including when-issued
               securities and forward deposits accepted), (b) any exchange-rate transaction, including any cross-currency
               inte rest-rate swap, any forward foreign-exchange contract, any currency option, and any other instrument
               linked to exchange rates that gives rise to similar credit risks, (c) any equity de rivative transaction,
               including any equity-linked swap, any equity-linked option, any forward equity-linked contract, and any
               other instrument linked to equities that gives rise to similar credit risk and (d) any commodity (including
               precious metal) derivative transaction, including any commodity-linked swap, any commodity-linked
               option, any forward commodity-linked contract, and any other instrument linked to commodities that
               gives rise to similar credit risks; provided that no phantom stock or similar plan providing for payments
               only on account of services provided by current or former directors, officers, employees, members of
               management, managers or consultants of Holdings or its subsidiaries shall constitute a Derivative
               Transaction.

                                "DIP Financing" means an ABL DIP Financing or a Team Loan DIP Financing.

                                "Directing First Lien Collateral Agent" means, at any time of determination (a) if there
               is only one Series of First Lien Obligations with respect to which the Discharge of such First Lie n
               Obligations has not occurred, the First Lien Collateral Agent for such Se ries and (b) if clause (a) does not
               apply, the First Lien Collateral Agent designated as the "Controlling Collateral Agent" (or any similar
               term) pursuant to the applicable inte rcreditor arrangements among the Series of First Lien Obligations at
               such time. For purposes of this definition, no Discharge of any Se ries of First Lien Obligations shall be
               deemed to have occurred if the Borrowers or any other First Lien Obligor enters into any Refinancing of
               the First Lien Obligations of such Series with the proceeds of new First Lie n Obligations.

                               "Directing Junior Collateral Agent" means (a) with respect to ABL Priority Collateral,
               the Directing Te rn1 Loan Collateral Agent and (b) with respect to the Te rm Loan Priority Collateral, the
               ABL Credit Agreement Collate ral Agent.

                                "Directing Second Lien Collateral Agent" means, at any time of detennination (a) if
               there is only one Series of Second Lien Obligations with respect to which the Discharge of such Second
               Lie n Obligations has not occurred, the Second Lien Collate ral Agent for such Series and (b) if clause (a)
               does not apply, the Second Lien Collateral Agent designated as the "Controlling Collateral Agent" (or any
               similar tenn) pursuant to the applicable intercreditor arrangements among the Series of Second Lien
               Obligations at such time. For purposes of this definition, no Discharge of any Series of Second Lien
               Obligations shall be deemed to have occurred if the Borrowers or any other Second Lien Obligor enters

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               into any Refmancing of the Second Lien Obligations of such Series w ith the proceeds of a new Second
               Lie n Obligations.

                              "Directing Senior Collateral Agent" means (a) with respect to ABL Priority Collate ral,
               the ABL Credit Agreement Collateral Agent and (b) w ith respect to the Te rm Loan Priority Collateral, the
               Directing Term Loan Collateral Age nt.

                                "Directing Term Loan Collateral Agent" means (a) until the Discharge of First Lien
               Obligations, the Directing First Lien Collateral Agent and (b) thereafter, the Directing Second Lien
               Collateral Agent.

                                   "Discharge" means, w ith respect to any Series, notwithstanding any discharge of such
               Series unde r any Debtor Relief Laws or in connection w ith any Insolvency or Liquidation Proceeding,
               except to the e>..t ent othe1wise expressly provided in Section 5.6:

                                (a)     payment in full in cash of the principal of and interest (including Post-Petition
                       Interest), and premium, if any, on all Indebtedness outstanding under the Financing Documents
                       and constituting Obligations of such Se ries (other than any Other Obligations);

                               (b)     tem1ination or expiration of all commitments, if any, to extend credit that would
                       constitute Obligations of such Se ries;

                               (c)      tem1ination or cash collateralization or backstopping (in an amount and manner
                       reasonably satisfactory to the applicable issuing bank, but in no event greater than 105%) of the
                       aggregate undrawn face amount of any letter of credit obligations constituting Obligations of such
                       Series.

                               (d)      payment in full in cash of all other Obligations of such Serie s (or, in the case of
                       any Other Obligations of such Series, the cash collateralization or backstopping of such Other
                       Obligations on terms reasonably satisfactory to the applicable lender or counte rparty, as
                       applicable) that are due and payable or otherwise accrued and ow ing at or prior to the time such
                       principal and interest are paid (including Post-Petition Interest, but other than any indemnification
                       or expense re imbursement obligations or any other obligations that by the terms of any Financing
                       Document expressly survive termination of such Financing Document, in each case, for which no
                       claim or demand for payment, whether oral or w ritten, has been made at such time); and

                               (e)      adequate provision has been made for any contingent or unliquidated Obligations
                       of such Series related to claims, causes of action or liabilities that have been asserted against the
                       Claimholders of such Series for which indemnification is required under the Financing
                       Docume nts of such Series.

               provided that the Discharge of any Se ries of First Lien Obligations, Second Lien Obligations or ABL
               Ob:igations shall not be deemed to have occurred if such payments are made with the proceeds of (i) in
               the case of First Lien Obligations, other First Lien Obligations, (ii) in the case of Second Lien
               Obligations, other Second Lien Obligations or (iii) in the case of ABL Obligations, other ABL
               Obligations, in each case, that constitute an exchange or replacement for or a Refinancing of such Se ries
               of Obligations. Upon the satisfaction of the conditions set forth in clauses (a) through @.}_ w ith respect to
               the Obligations of any Series, the Collateral Agent of such Series agrees to promptly deliver to each other
               Collateral Agent written notice of the same.




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                                "Discharge of ABL Obligations" means the Discharge of the ABL Credit Agreement
               Obligations.

                             "Discharge of First Lien Obligations" means the Discharge of the First Lien Credit
               Agreement Obligations and the Discharge of each Series of Additional First Lien Obligations.

                             "Discharge of Second Lien Obligations" means the Discharge of the Second Lien
               Credit Agreement Obligations and the Discharge of each Series of Additional Second Lien Obligations.

                                "Discharge of Senior Obligations" means (a) with respect to the ABL Priority
               Collateral, the Discharge of ABL Obligations and (b) with respect to the Te rm Loan Priority Collateral,
               the Discharge of Term Loan Obligations.

                               "Discharge of Term Loan Obligations" means, collectively, both the Discharge of First
               Lie n Obligations and the Discharge of Second Lien Obligations.

                                "Disposition" has the meaning set forth in Section 5.l{b). "Dispose" has a meaning
               correlative thereto.

                              "Domain Names" means all Internet domain names and associated URL addresses in or
               to which any Obligor now or hereafter has any right, title or inte rest.

                                "Enforcement Action" means:

                                (a)      any action to foreclose, execute, levy or collect on, take possession or control of
                       (other than for purposes of perfection), sell or otherwise realize upon (judicially or non-
                       judicially), or lease, license, or otherwise Dispose of (whethe r publicly or privately), any
                       Collateral or otherwise exercise or enforce remedial rights with respect to any of the Collateral
                       under the ABL Documents, the First Lien Documents or the Second Lie n Documents (including
                       by way of setoff, recoupment, notification of a public or private sale or other Disposition pursuant
                       to the UCC or other applicable law, notification to account debtors, notification to depositary
                       banks unde r deposit account control agreements, or exercise of rights under landlord consents, if
                       applicable);

                              (b)     any action to solicit bids from third Persons, or approve bid procedures for, any
                       proposed Disposition of any of the Collateral or conduct any Disposition of any Collateral ;

                               (c)     any action to receive a transfer of any portion of the Collateral in satisfaction of
                       [ndebtedness or any other Obligation secured thereby;

                               (d)      any action to otherwise enforce a security interest or exercise another right or
                       remedy, as a secured creditor or otherwise, pertaining to any Collateral, whether at law, in equity
                       or pursuant to the ABL Documents, the First Lien Documents or the Second Lien Documents
                       (including the commencement of applicable legal proceedings or other actions with respect to any
                       Collateral to facilitate the actions described in the preceding clauses, and exercising voting rights
                       in respect of equity inte rests comprising any Collateral); or

                               (e)     the Disposition of any Collateral by any Obligor after the occurrence and during
                       the continuation of an "event of default" under the ABL Documents, the First Lien Documents or
                       the Second Lien Documents with the consent of the ABL Credit Agreement Collateral Agent, the


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                       First Lien Collateral Agents or the Second Lien Collateral Agents, as applicable (in any case, to
                       the e»i ent that such consent is required).

                             "Financing Documents" means the ABL Financing Documents, the First Lien Financing
               Documents and the Second Lien Financing Documents.

                                "First Lien Administrative Agent" has the meaning set forth in the Recitals to this
               Agreement.

                                "First Lien Banking Services" means any of the following services provided to any
               First Lien Obligor or any of its "subsidiaries" as defined in the First Lien Credit Agreement (or any
               similar tenn in any other First Lien Document): commercial credit cards, stored value cards, purchasing
               cards, treasury manage ment services, netting services, overdraft protections, check drawing services,
               automated payment services (including depository, overdraft, controlled disbursement, ACH transactions,
               return items and interstate depository network services), employee credit card progran1s, cash pooling
               services and any arrangements or services similar to any of the foregoing and/or otherwise in connection
               with cash management and deposit accounts.

                              "First Lien Banking Services Agreement" means any documentation with a First Lien
               Claimholder governing any First Lien Banking Services Obligations.

                                 "First Lien Banking Services Obligations" means any and all obligations of any First
               Lien Obligor or any of its "subsidiaries" as defined in the First Lien Credit Agreement (or any similar
               term in any other First Lien Document), whethe r absolute or contingent and however and whenever
               created, arising, evidenced or acquired (including all renewals, extensions and modifications thereof and
               substitutions therefor), in connection with First Lien Banking Services, in each case, that constitute First
               Lie n Obligations; provided that in no event shall any obligations constitute First Lien Banking Services
               Obligations to the extent such obligations constitute ABL Banking Services Obligations or Second Lien
               Banking Services Obligations.

                                "First Lien Claimholders" means, at any relevant time, the holders of First Lien
               Obligations at that time, including the First Lien Lenders, the First Lien Administrative Agent, the First
               Lien Collateral Agent, the other agents under the First Lien Credit Agreement and any Additional First
               Lien Obligations Claimholders.

                                "First Lien Collateral" means (i) the "Collateral" as defined in the First Lien Credit
               Agreement and (ii) any other assets and property of any Obligor, whether real, personal or mixed, with
               respect to which a Lien is granted or purported to be granted as security for any First Lien Obligations or
               that is otherwise subject to a Lien securing any First Lien Obligations.

                              "First Lien Collateral Agent" means the First Lien Credit Agreement Collateral Agent
               and any Additional First Lien Obligations Agent.

                                "First Lien Collateral Documents" means the "Collateral Documents" as defined in the
               First Lien Credit Agreement and any other agreement, document or instrument pursuant to which a Lien
               is granted or purported to be granted securing any First Lien Obligations or unde r which rights or
               remedies with respect to such Liens are governed.

                                "First Lien Credit Agreement" has the meaning set forth in the Recitals to this
               Agreement.


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                               "First Lien Credit Agreement Collateral Agent" has the meaning set forth in the
               Preamble to this Agreement.

                                "First Lien Credit Agreement Obligations" means a ll "Secured Obligations" (or any
               similar tenn) as defined in the First Lien Credit Agreement.

                               "First Lien Documents" means (i) the First Lien Financing Docume nts, (ii) the First
               Lien Hedge Agreements governing First Lien Secured Hedging Obligations and (iii) the First Lien
               Banking Services Agreements, in each case, as Refinanced from time to time in accordance with the
               terms thereof and subject to the terms hereof.

                                "First Lien Financing Documents" means the First Lien Credit Agreement, the First
               Lie n Collateral Documents, the other "Loan Documents" as defined in the First Lien Credit Agreement,
               any Additional First Lien Obligations Agreement and each of the other agreements, documents and
               instruments providing for or evidencing any other First Lien Obligation (other than any First Lien Other
               Obligation), and any other document or instrument executed or delivered at any time in connection with
               any First Lien Obligations (other than any First Lien Other Obligations), including any intercreditor or
               joinder agreement among any First Lien Clairnholders (including, without limitation, the First
               Lie n/Second Lien Intercreditor Agreement), to the e>.1:ent such are effective at the re levant time, as each
               may be Refinanced from time to time in accordance with the terms the reof and su~j ect to the terms
               hereof.

                               "First Lien Hedge Agreement" means any agreement with respect to any Derivative
               Transaction between any First Lien Obligor or any "subsidiary" as defined in the First Lien Credit
               Agreement (or any similar term in any other First Lien Document) and any First Lien Clairnholder.

                               "First Lien Hedging Obligations" means, with respect to any First Lien Obligor or any
               "subsidiary" as defined in the First Lien Credit Agreement (or any similar tenn in any other First Lien
               Docume nt), the obligations of such Person w1der any First Lie n Hedge Agreement.

                                "First Lien Issuing Bank" means each issuing bank in respect of a First Lien Letter of
               Credit.

                              "First Lien Lenders" means the "Lenders" (or any similar tenn) as defined in the First
               Lien Credit Agreement and the " Lenders" (or any similar tem1) as defined in any Additional First Lien
               Obligations Agreeme nt and also shall include all First Lien Issuing Banks.

                               "First Lien Letters of Credit" means any letters of credit issued (or deemed issued)
               from time to time under any First Lien Financing Document.

                                "First Lien Obligations" means the First Lien Credit Agreement Obligations and a ll
               "Secured Obligations" (or any similar tenn) as defined in any other First Lien Financing Document. To
               the extent any payment with respect to any First Lien Obligation (whether by or on behalf of any First
               Lie n Obligor, as proceeds of security, e nforcement of any right of setoff or otherwise) is declared to be a
               fraudulent conveyance or a preference in any respect, set aside or required to be paid to a debtor in
               possession, any ABL Claimholder, Second Lien Claimholder, receiver or other Person, then the
               obligation or part thereof originally inte nded to be satisfied shall, for all purposes of this Agreement and
               the rights and obligations of the First Lien Clairnholders, be deemed to be reinstated and outstanding as if
               such payment had not occurred. In the event that any interest, fees, expenses or other amounts (including
               any interest accruing at the default rate or any Post-Petition Interest) to be paid by a First Lien Obligor
               pursuant to the First Lien Financing Documents, the First Lien Hedge Agreements governing First Lien

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               Secured Hedging Obligations or the First Lien Banking Services Agreements are disallowed by order of
               any court of competent jurisdiction, including by orde r of a court presiding over an Insolvency or
               Liquidation Proceeding, such interest, fees, expenses and other amounts (including default interest and
               Post-Petition Interest) shall, as between the Claimholders, be deemed to continue to accrue and be added
               to the amount to be calculated as the " First Lien Obligations."

                                "First Lien Obligors" means, collectively, the "Loan Parties" (or any similar tem1) as
               defined in the First Lien Credit Agreement and the " Loan Parties" (or any similar tem1) as defined in any
               other First Lien Document.

                                "First Lien Other Obligations" means the First Lien Banking Services Obligations and
               the First Lien Secured Hedging Obligations.

                               "First Lien/Second Lien Intercreditor Agreement" means the First Lien/Second Lie n
               Intercreditor Agreement dated as of the date hereof, an10ng, inter alias, the First Lien Credit Agreement
               Collateral Agent, the Second Lien Credit Agreement Collate ral Agent and the Obligors from time to time
               party thereto.

                                "First Lien Secured Hedging Obligations" means all First Lien Hedging Obligations of
               the First Lien Obligors, whethe r absolute, or contingent and howsoever and whe neve r created, arising,
               evidenced or acquired (including all renewals, extensions or modifications thereof and substitutions
               therefor), in each case, that constitute First Lien Obligations.

                                "GAAP" means generally accepted accounting principles in the United States in effect
               and applicable to the accounting period in respect of which reference to GAAP is being made.

                                "Governmental Authority" means any federal, state, municipal, national or other
               government, gove rnmental department, commission, board, bureau, court, agency or instrumentality or
               political subdivision thereof or any entity or officer exercising executive, legislative, judicial, regulatory
               or administrative functions of or pertaining to any government or any court, in each case whether
               associated with a state or locality of the United States, the United States, or a foreign government.

                                "GS" has the meaning set forth in the Recitals to this Agreement.

                             "Hedge Agreements" means the ABL Hedge Agreements, the First Lien Hedge
               Agreements and the Second Lien Hedge Agreements.

                               "Hedging Obligations" means the ABL Hedging Obligations, the First Lien Hedging
               Obligations and the Second Lien Hedging Obligations.

                                "Holdings" has the meaning set forth in the Preamble to this Agreement.

                              "Indebtedness" means "Indebtedness" within the meaning of the ABL Credit
               Agreement, the First Lien Credit Agreement or the Second Lien Credit Agreement, as applicable. For the
               avoidance of doubt, "Indebtedness" shall not include Hedging Obligations or Banking Services
               Obligations.

                                "Insolvency or Liquidation Proceeding" means (a) any voluntary or involuntary case or
               proceeding unde r the Bankruptcy Code or any othe r Debtor Relief Laws with respect to any Obligor,
               (b) the appointment of or taking possession by a receiver, interim receiver, receiver and manager,
               (preliminary) insolvency receiver, liquidator, sequestrator, trustee or other custodian for all or a

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               substantial part of the property of any Obligor, (c) except as would not result in an "event of default"
               under any Financing Document, any liquidation, administration (or appointment of an administrator),
               dissolution, reorganization or winding up of any Obligor, whether voluntary or involuntary and whether
               or not involving insolvency or bankruptcy, or (d) any general assignment for the benefit of creditors or
               any othe r marshaling of assets and liabilities of any Obligor.

                              "Intellectual Property" means any and all Licenses, Patents, Copyrights, Trademarks
               and Trade Secrets constituting Collateral.

                                "Joinder Agreement" means a supplement to this Agreement in the form of (i) in the
               case of any joining additional Obligor, Exhibit A hereto and (ii) in the case of any joining Additional Lien
               Obligations Agent, Exhibit B hereto.

                                "Junior ABL Agent" has the meaning set forth in Section 8.3.

                                "Junior ABL Obligations" has the meaning set forth in Section 8.3.

                             "Junior Claimholders" means (a) with respect to the ABL Priority Collate ral, the Term
               Loan Claimholders and (b) with respect to the Term Loan Priority Collate ral, the ABL Claimholders.

                             "Junior Collateral Agent" means (a) with respect to the ABL Priority Collateral, the
               Term Loan Collateral Agents and (b) with respect to the Term Loan Priority Collate ral, the ABL Credit
               Agreement Collateral Agent.

                              "Junior Collateral Documents" means (a) with respect to the ABL Priority Collateral,
               the Term Loan Collateral Documents and (b) with respect to the Term Loan Priority Collate ral, the ABL
               Collateral Documents.

                              "Junior Financing Documents" means (a) with respect to the ABL Priority Collateral,
               the Term Loan Financing Documents and (b) with respect to the Tem1 Loan Priority Collateral, the ABL
               Financing Documents.

                               "Junior Liens" means (a) with respect to the ABL Priority Collateral, the Te rm Loan
               Liens and (b) with respect to the Term Loan Priority Collateral, the ABL Liens.

                              "Junior Obligations" means (a) with respect to the ABL Priority Collateral, the Term
               Loan Obligations and (b) with respect to the Term Loan Priority Collateral, the ABL Obligations.

                                  "Licenses" means, with respect to any Obligor, all of such Obligor's right, title, and
               inte rest in and to (a) any and all licensing agreements or similar arrangements, whether as licensor or
               licensee, in (1) Patents, (2) Copyrights, (3) Trademarks, (4) Trade Secrets, (5) Software or (6) Domain
               Names, (b) all income, royalties, damages, claims, and payments now or hereafte r due or payable under
               and with respect thereto, including, without limitation, damages and payme nts for past and future
               breaches thereof and ( c) all rights to sue for past, present, and future breaches thereof.

                                "Lien" means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
               encumbrance, lien (statutory or othe r), charge, or preference, priority or other security interest or
               preferential arrangement of any kind or nature whatsoever (including any conditional sale or other title
               retention agreement, any easement, right of way or othe r encumbrance on title to real property, and any
               Capital Lease having substantially the same economic effect as any of the foregoing), in each case in the
               nature of security; provided that in no event shall an operating lease in and of itself be deemed a Lien.

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                                "Loan Guaranty" has the meaning assigned to " Loan Guaranty" in the ABL Credit
               Agreement.

                                "New Senior Agent" has the meaning set forth in Section 5.6.

                               "Obligations" means the ABL Obligations, the First Lien Obligations and/or the Second
               Lie n Obligations, as the context may require.

                               "Obligors" means each ABL Obligor, each First Lien Obligor and each Second Lien
               Obligor and each other Person that has executed and delivered, or may from time to time hereafter
               execute and deliver, an ABL Collateral Document, a First Lien Collateral Document or a Second Lien
               Collateral Document as a "grantor" or "pledgor'' (or the equivalent thereof).

                             "Other Obligations" means any ABL Other Obligations, First Lien Other Obligations or
               Second Lien Other Obligations.

                                "Patent" means the following: (a) any and all patents and patent applications throughout
               the world; (b) all inventions described and claimed therein; (c) all reissues, divisions, continuations,
               renewals, ex-tensions and continuations in part thereof; (d) all income, royalties, damages, claims, and
               payments now or hereafter due or payable under and with respect thereto, including damages and
               payments for past and future infringements thereof; (e) all rights to sue for past, present, and future
               infringements thereof; and (f) all rights corresponding to any of the foregoing.

                                "Pe rson" means any natural person, corporation, limited liability company, trust, joint
               venture, association, company, partne rship, Gove rnmental Authority or any othe r entity.

                                "Pledged Assets" means all Pledged Stock, including all stock certificates, options or
               rights of any nature whatsoever in respect of the Pledged Stock that may be issued or granted to, or held
               by, any Obligor, all Instruments, Securities and other Investment Property owned by any Obligor,
               whether or not physically delivered to the applicable Collateral Agent pursuant to any of the Collateral
               Docume nts, whethe r now owned o r hereafter acquired by such Obligor and any and all Proceeds thereof,
               but, in each case, excluding any items specifically excluded from the definition of Collateral.

                                "Pledged Collateral" has the meaning set forth in Section 5.S{a).

                                "Pledged Stock" shall mean, with respect to any Obligor, the shares of capital stock
               required to be pledged by such Obligor pursuant to any of Collateral Documents.

                                "Post-Petition Interest" means inte rest (including interest accruing at the default rate
               specified in the applicable ABL Documents, the applicable First Lien Documents or the applicable
               Second Lien Documents, as the case may be), fees, expenses and other amounts that pursuant to the ABL
               Documents, the First Lien Documents or the Second Lien Documents, as the case may be, continue to
               accrue or become due after the commencement of any Insolvency or Liquidation Proceeding, whether or
               not such interest, fees, expenses and other amounts are allowed or allowable, voided or subordinated
               under any Debtor Relief Law or other applicable law or in any such Insolvency or Liquidation
               Proceeding.

                                 "Proceeds" shall have the meaning assigned in Article 9 of the UCC and, in any event,
               shall also include, but not be limited to, (i) any and all proceeds of any insurance, indemnity, warranty or
               guaranty payable to any Collateral Agent or any Obligor from time to time with respect to any of the
               Collateral, (ii) any and all payme nts (in any form whatsoever) made or due and payable to any Obligor

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               from time to time in connection with any requisition, confiscation, condemnation, seizure or fotfeiture of
               all or any part of the Collateral by any governmental authority (or any Person acting under color of
               governmental authority) and (iii) any and all othe r amounts from time to time paid or payable under or in
               connection with any of the Collateral.

                                "Recovery" has the meaning set forth in Section 6.5.

                                 "Refinance" means, in respect of any Indebtedness and any agreement governing any
               such Indebtedness, to refinance, extend, increase, renew, defease, amend, restate, amend and restate,
               modify, supple ment, restructure, replace, refund or repay, or to issue other indebtedness, in exchange or
               replacement for or refinancing of, such Indebtedness in whole or in part, including by adding or replacing
               lenders, creditors, agents, obligors and/or guarantors, and including, in each case, but not limited to, after
               the original instrument giving rise to such Indebtedness has been tem1inated . "Refinanced" and
               "Refinancing" shall have correlative meanings.

                              "Related Claimholders" means (a) with respect to the ABL Credit Agreement Collateral
               Agent, the ABL Claimholde rs, (b) with respect to any First Lien Collateral Agent, its Re lated First Lien
               Claimholders or (c) with respect to any Second Lien Collateral Agent, its Related Second Lien
               Claimholders.

                                "Related First Lien Claimholders" means, with respect to any First Lien Collateral
               Agent, the First Lien Claimholders for which such First Lien Collateral Agent acts as the "collateral
               agent" (or other agent or similar representative) under the applicable First Lien Documents.

                                "Related Second Lien Claimholders" means, with respect to any Second Lien
               Collateral Agent, the Second Lien Claimholders for which such Second Lien Collateral Agent acts as the
               "collateral agent" (or other agent or similar representative) under the applicable Second Lien Documents.

                                "Required AHL Claim holders" means (a) at all times prior to the occurrence of the
               Discharge of ABL Obligations (other than the ABL Other Obligations), the ABL Claimholders holding
               more than 50% of the sum of (i) the aggregate outstanding principal an10unt of ABL Obligations
               (including participations in the face amount of the ABL Letters of Credit and any disbursements
               thereunder that have not been reimbursed, but excluding the ABL Other Obligations) plus (ii) the
               aggregate unfunded commitments to extend credit which, when funded, would constitute ABL
               Obligations (other than the ABL Other Obligations), and (b) at all times following the occurrence of the
               Discharge of ABL Obligations (other than the ABL Other Obligations), the ABL Claimholders holding
               more than 50% of the sum of (i) the then outstanding ABL Secured Hedging Obligations plus (ii) the then
               outstanding ABL Banking Services Obligations; provided that, in the case of both c lauses (a) and (b)
               above, in the event there are separate intercreditor arrangements between the holders of theABL
               Obligations (or their agents), the Required ABL Claimholders will mean the "Required ABL
               Claimholders" (or any similar tenn) or "Controlling Secured Parties" (or any similar term) as defined in
               the documentation providing such such separate intercreditor arrangements.

                                 "Required First Lien Claim holders" means (a) at all times prior to the occurrence of
               the Discharge of First Lien Obligations (othe r than the First Lien Other Obligations), the First Lien
               Claimholders holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
               First Lien Obligations (including participations in the face amount of the First Lien Letters of Credit and
               any disbursements thereunder that have not been re imbursed, but excluding the First Lien Othe r
               Obligations) plus (ii) the aggregate unfunded commitments to extend credit which, when funded, would
               constitute First Lien Obligations (other than the First Lien Other Obligations); and (b) at all times
               following the occurrence of the Discharge of First Lien Obligations (other than the First Lien Other

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               Obligations), the First Lien Claimholders holding more than 50% of the sum of (i) the then outstanding
               First Lien Secured Hedging Obligations plus (ii) the then outstanding First Lien Banking Se rvices
               Obligations; provided that, in the case of both clauses (a) and (b) above, in the event there are separate
               inte rcreditor arrangements among the holders of the First Lien Obligations (or their agents), the Required
               First Lien Claimholde rs will mean the "Required First Lien Claimholders" (or any similar te rm) or
               "Controlling Secured Parties" (or any similar tem1) as defined in the documentation providing such such
               separate intercreditor arrangements.

                                  "Required Second Lien Claimholders" means (a) at a ll times prior to the occurrence of
               the Discharge of Second Lien Obligations (other than the Second Lien Other Obligations), the Second
               Lie n Claimholders holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
               Second Lien Obligations plus (ii) the aggregate unfunded commitments to e:\.1:end credit which, whe n
               funded, would constitute Second Lien Obligations (othe r than the Second Lien Other Obligations), and
               (b) at a ll times following the occurrence of the Discharge of Second Lien Obi igations (other than the
               Second Lien Othe r Obligations), the Second Lien Claimholders holding more than 50% of the sum of
               (i) the then outstanding Second Lien Secured Hedging Obligations plus (ii) the then outstanding Second
               Lie n Banking Se rvices Obligations; provided that, in the case of both clauses (a) and (b) above, in the
               event there are separate intercreditor arrangements between the holders of the Second Lien Obligations
               (or their agents), the Required Second Lien Claimholders will mean the "Required Second Lien
               Claimholders" (or any similar term) or "Controlling Secured Parties" (or any similar te rm) as defined in
               the documentation providing such separate intercreditor arrangements.

                                "Required Term Loan Claimholders" means (a) until the Discharge of First Lien
               Obligations, the Required First Lien Claimholders and (b) thereafter, the Required Second Lien
               Claimholders .

                                 "Responsible Officer" of any Pe rson means the chief executive officer, the president, the
               chief financial officer, the treasure r, any assistant treasurer, any executive vice president, any senior vice
               president, any vice president or the chief ope rating officer of such Pe rson and any other individual or
               similar official thereof responsible for the administration of the obligations of such Person in respect of
               this Agreement.

                                "Second Lien Administrative Agent" has the meaning set forth in the Recitals to this
               Agreement.

                                "Second Lien Banking Services" means any of the following services provided to any
               Second Lien Obligor or any of its "subsidiaries" as defined in the Second Lien Credit Agreeme nt (or any
               similar tenn in any other Second Lien Financing Document) commercial credit cards, stored value cards,
               purchasing cards, treasury management services, netting services, overdraft protections, check drawing
               se rvices, automated payment se rvices (including depository, overdraft, controlled disburseme nt, ACH
               transactions, return items and interstate depository network services), employee credit card programs,
               cash pooling services and any arrangements or se rvices similar to any of the foregoing and/or otherwise in
               connection with cash management and deposit accounts.

                               "Second Lien Banking Services Agreement" means any documentation with a Second
               Lie n Claimholder governing any Second Lien Banking Services Obligations.

                                "Second Lien Banking Services Obligations" means any and all obligations of the
               Second Lien Obligors, whether absolute or contingent and however and whenever created, arising,
               evidenced or acquired (including a ll renewals, extensions and modifications thereof and substitutions
               therefor), in connection with Second Lien Banking Services, in each case, that constitute Second Lien

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               Obligations; provided that in no event shall any obligations constitute Second Lien Banking Services
               Obligations to the e>..ient such obligations constitute ABL Banking Services Obligations or First Lien
               Banking Services Obligations.

                                "Second Lien Claimholders" means, at any relevant time, the holders of Second Lien
               Obligations at that time, including the Second Lien Lenders, the Second Lien Administrative Agent, the
               Second Lien Collateral Agent, the other agents under the Second Lien Credit Agreement and any
               Additional Second Lien Obligations Claimholders.

                                "Second Lien Collateral" means (i) the "Collateral" as defined in the Second Lien
               Credit Agreement and (ii) any other assets and property of any Obligor, whether real, personal or mixed,
               with respect to which a Lien is granted or purported to be granted as security for any Second Lien
               Obligations or that is otherwise subject to a Lien securing any Second Lie n Obligations.

                              "Second Lien Collateral Agent" means the Second Lien Credit Agreement Collateral
               Agent and any Additional Second Lien Obligations Agent.

                                 "Second Lien Collateral Documents" means the "Collateral Documents" as defined in
               the Second Lien Credit Agreement and any other agreement, document or instrument pursuant to which a
               Lie n is granted or purported to be granted securing any Second Lien Obligations or unde r which rights or
               remedies with respect to such Liens are governed.

                                "Second Lien Credit Agreement" has the meaning set forth in the Recitals to this
               Agreement.

                                "Second Lien Credit Agreement Collateral Agent" has the meaning set forth in the
               Prean1ble to this Agreement.

                                "Second Lien Credit Agreement Obligations" means all "Secured Obligations" (or any
               similar term) as defined in the Second Lien Credit Agreement.

                                "Second Lien Documents" means (i) the Second Lien Financing Documents, (ii) the
               Second Lien Hedge Agreements governing Second Lien Secured Hedging Obligations and (iii) the
               Second Lien Banking Services Agreements, in each case, as Refinanced from time to time in accordance
               with the tenns thereof and subject to the tern1s he reof.

                                 "Second Lien Financing Documents" means the Second Lien Credit Agreement, the
               Second Lien Collateral Documents, the other "Loan Documents" as defined in the Second Lien Credit
               Agreement, any Additional Second Lien Obligations Agreement, and each of the other agreements,
               documents and instruments providing for or evidencing any other Second Lien Obligation (other than any
               Second Lien Other Obligation), and any other document or instrument executed or delivered at any time
               in connection with any Second Lien Obligations (other than any Second Lien Other Obligations),
               including any intercreditor or joinder agreement among any Second Lien Claimholders, to the extent such
               are effective at the relevant time, as each may be Refinanced from time to time in accordance with the
               tern1s thereof and subject to the terms hereof.

                               "Second Lien Hedge Agreement" means any agreement with respect to any Derivative
               Transaction between any Second Lien Obligor or any "subsidiary" as defined in the Second Lien Credit
               Agreement (or any similar term in any other Second Lien Document) and any Second Lien Claimholder.




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                              "Second Lien Hedging Obligations" means, with respect to any Second Lien Obligor or
               any "Subsidiary" as defined in the Second Lien Credit Agreement ( or any similar term in any other
               Second Lien Document), the obligations of such Person under any Second Lien Hedge Agreement.

                               "Second Lien Lenders" means the "Lenders" (or any similar term) under and as defined
               in the Second Lien Credit Agreement or any similar te rm in any Additional Second Lien Obligations
               Agreement.

                                   "Second Lien Obligations" means the Second Lien Credit Agreement Obligations and
               all "Secured Obligations" (or any similar term) as defined in any other Second Lien Financing Document.
               To the extent any payment by a Second Lien Obligor with respect to any Second Lien Obligation
               (whether by or on behalf of any Second Lien Obligor, as proceeds of security, enforcement of any right of
               setoff or othe rv, ise) is declared to be a fraudulent conveyance or a prefere nce in any respect, set aside or
               required to be paid to a debtor in possession, any ABL Clairnholder, any receiver or other Person, then the
               obligation or part thereof originally inte nded to be satisfied shall, for all purposes of this Agreement and
               the rights and obligations of the Second Lien Claimholde rs, be deemed to be reinstated and outstanding as
               if such payment had not occurred. In the event that any interest, fees, expenses or other amounts
               (including any interest accruing at the default rate or any Post-Petition Interest) to be paid pursuant to the
               Second Lien Financing Documents, the Second Lien Hedge Agreements governing Second Lien Secured
               Hedging Obligations or the Second Lien Banking Services Agreements are disallowed by order of any
               court of competent jurisdiction, including by order of a court presiding over an Insolvency or Liquidation
               Proceeding, such interest, fees, expenses and other an1ounts (including default interest and Post-Petition
               Interest) shall, as between the Claimholders, be deemed to continue to accrue and be added to the an1ount
               to be calculated as the "Second Lien Obligations."

                               "Second Lien Obligors" means, collectively, the "Loan Parties" (or any similar term) as
               defined in the Second Lien Credit Agreement and the "Loan Parties" (or any similar te rm) as defined in
               any othe r Second Lien Document.

                              "Second Lien Other Obligations" means the Second Lien Banking Services Obligations
               and the Second Lien Secured Hedging Obligations.

                                 "Second Lien Secured Hedging Obligations" means all Second Lien Hedging
               Obligations of the Second Lien Obligors, whethe r absolute, or contingent and howsoever and whenever
               created, arising, evidenced or acquired (including all renewals, extensions or modifications thereof and
               substitutions therefor), in each case, that constitute Second Lien Obligations.

                              "Senior Claimholders" means (a) with respect to the ABL Priority Collateral, the ABL
               Claimholders and (b) with respect to the Tenn Loan Priority Collateral, the Term Loan Claimholders.

                             "Senior Collateral Agent" means (a) with respect to the ABL Priority Collateral, the
               ABL Credit Agreement Collate ral Agent and (b) with respect to the Term Loan Priority Collateral, the
               Term Loan Collateral Agents.

                              "Senior Collateral Documents" means (a) with respect to the ABL Priority Collateral,
               the ABL Collateral Documents and (b) with respect to the Te rm Loan Priority Collateral, the Term Loan
               Collateral Documents.

                             "Senior Financing Documents" means (a) with respect to the ABL Priority Collateral,
               the ABL Financing Documents and (b) with respect to the Term Loan Priority Collateral, the Term Loan
               Financing Documents.

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                                "Senior Liens" means (a) with respect to the ABL Priority Collateral, the ABL Liens and
               (b) with respect to the Tenn Loan Priority Collateral, the Term Loan Liens.

                               "Senior Obligations" means (a) with respect to the ABL Priority Collateral, the ABL
               Obligations and (b) with respect to the Tenn Loan Priority Collateral, the Tenn Loan Obligations.

                              "Series" means, with respect to any Obligations, all Obligations secured by the same
               Collateral Documents and represented by the same Collateral Agent acting in the same capacity.

                              "Shared Collateral Documents" means any Collateral Document that is each of an ABL
               Collateral Document, a First Lien Collate ral Document and a Second Lien Collateral Document.

                                "Standstill Period" has the meaning set forth in Section 3.l(a)O).

                              "Software" means computer programs, source code, object code and supporting
               documentation including "software" as such term is defined in Article 9 of the UCC, as well as computer
               programs that may be construed as included in the definition of Goods.

                                "subsidiary" means, with respect to any Person, any corporation, partne rship, limited
               liability company, association, joint venture or other business entity of which more than 50% of the total
               voting power of stock or othe r ownership inte rests entitled (without regard to the occurrence of any
               contingency) to vote in the e lection of the Pe rson or Persons (whether directors, trustees or other Persons
               performing similar functions) having the power to direct or cause the direction of the management and
               policies thereof is at the time owned or controlled, directly or indirectly, by such Person or one or more of
               the other subsidiaries of such Person or a combination thereof; provided that in determining the
               percentage of ownership interests of any Person controlled by another Person, no ownership interests in
               the nature of a "qualifying share" of the former Person shall be deemed to be outstanding. Unless
               otherwise specified, "subsidiary" shall mean any subsidiary of the Top Borrower.

                                 "Tax and Trust Funds" means cash, cash equivalents or othe r assets that are comprised
               solely of (a) funds used for payroll and payroll taxes and other employee benefit payments to or for the
               benefit of any Obligor' s employees, (b) taxes required to be collected, remitted or withheld (including
               fede ral and state withholding taxes (including the employer' s share thereof)) and (c) any othe r funds
               which any Obligor holds in trust or as an escrow or fiduciary for the benefit of another Person which is
               not an Obligor in the ordinary course of business.

                               "Term Cash Proceeds Notice" shall mean a written notice de livered by the Directing
               Term Loan Collateral Agent to the ABL Credit Agreement Collateral Agent (a) stating that an "Event of
               Default" has occurred and is continuing under any Tenn Loan Document and specifying the relevant
               Event of Default and (b) identifying with reasonable detail any cash proceeds which may be deposited in
               any Deposit Account or Securities Account constituting Tem1 Loan Priority Collateral.

                                "Term Loan Claimholders" means the First Lien Claimholders and the Second Lien
               Claimholders.

                                "Term Loan Collateral" means the First Lien Collateral and the Second Lien Collateral .

                                "Term Loan Collateral Agent" means the First Lien Collateral Agents and the Second
               Lie n Collateral Agents.




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                             "Term Loan Collateral Documents" means the First Lien Collateral Documents and the
               Second Lien Collateral Documents.

                                "Term Loan DIP Financing" has the meaning set forth in Section 6.0 l(a).

                                 "Term Loan DIP Cap Amount" means 115% of the sum of (a) the sum of (w)
               $1,950,000,000, (x) the " Incremental Cap" (as defined in the First Lien Credit Agreement as of the date
               hereof) as of the applicable date of detern1ination, (y) $450,000,000 and (z) the "Incremental Cap" (as
               defined in the Second Lien Credit Agreement as of the date hereof) and (b) any accrued and unpaid
               inte rest (including interest accruing at the default rate specified in the applicable Tern1 Loan Financing
               Documents and any Post-Petition Inte rest) and premiums (including tender premiums and prepayment
               premiums) payable on account of any Te rm Loan Obligations and any underwriting discounts, fees,
               commissions and expenses (including original issue discount, upfront fees or initial yield paym ents),
               attorneys' fees, costs, expenses and indemnities paid or payable by any Obligor in connection with
               incurrence or issuance of any Term Loan Obligation or any Refinancing of any Term Loan Obligation in
               accordance with the terms of this Agreement.

                                "Term Loan Documents" means the First Lien Documents and the Second Lien
               Docume nts.

                              "Term Loan Financing Documents" means the First Lien Financing Documents and
               Second Lien Financing Documents.

                             "Term Loan Hedge Agreements" means the First Lien Hedging Agreements and the
               Second Lien Hedging Agreements.

                              "Term Loan Liens" means the Liens on the Collateral in favor of the Tenn Loan
               Claimholders under Te rm Loan Collateral Documents.

                                "Term Loan Obligations" means the First Lien Obligations and the Second Lien
               Obligations.

                               "Term Loan Other Obligations" means First Lien Other Obligations and Second Lien
               Other Obligations.

                                "Term Loan Priority Collateral" shall mean all interests of each Obligor in the
               following Collateral, in each case whether now owned or existing or hereafter acquired or arising and
               wherever located, including (a) all rights of each Obligor to receive moneys due and to become due unde r
               or pursuant to the following, (b) all rights of each Obligor to receive return of any premiums for or
               Proceeds of any insurance, indemnity, warranty or guaranty with respect to the following or to receive
               condemnation Proceeds with respect to the following, (c) all claims of each Obligor for damages arising
               out of or for breach of or default under any of the following, and ( d) all rights of each Obligor to
               tern1inate, amend, supplement, modify or waive perfonnance under any of the following, to perfonn
               thereunder and to compel performance and othenvise exercise all remedies the reunder:

                               (i)     all Tenn Proceeds Accounts, and all cash, money, securities, Instruments and
                       other investments deposited therein or credited thereto;

                                (ii)    all Equipment;

                                (iii)   all Fixtures;

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                                (iv)    all General Intangibles, including Contracts, together with all Contract Rights
                       arising thereunder (in each case other than General Intangibles evidencing or governing ABL
                       Priority Collateral);

                                (v)     all letters of credit (whether or not the respective letter of credit is evidenced by a
                       writing), Letter-of-Credit Rights, Instruments and Documents (except, in each case, to the e>,.i ent
                       evidencing or governing or attached or related to (to the extent so attached or related) ABL
                       Priority Collateral);

                               (vi)     all Inte llectual Property (other than Intellectual Property contemplated by
                       clauses (iv) and ( vii) of the definition of ABL Priority Collateral);

                            (vii)    except to the e>,.tent constituting or relating to, ABL Priority Collateral, all
                       Commercial Tort Claims;

                               (viii) all Pledged Assets and other Investment Property (except Investment Property
                       constituting ABL Priority Collateral pursuant to clause {iii) or (vii) of the definition thereof);

                               (ix)    all real property (including, if any, leasehold interests) on which the Obligors are
                       required to provide a Lien to the Tenn Claimholders pursuant to any Term Loan Financing
                       Document and any title insurance with respect to such real property (other than title insurance
                       actually obtained by the ABL Credit Agreement Collateral Agent in respect of such real property)
                       and the Proceeds thereof;

                               (x)    except to the e>,.tent constituting ABL Priority Collateral, all other personal
                       property (whether tangible or intangible) of such Obligor;

                                 (xi)    to the extent constituting or re lating to, any of the items referred to in the
                       preceding clauses (i) through hl, all insurance; provided that to the extent any of the foregoing
                       also re lates to ABL Priority Collateral only that portion related to the items referred to in the
                       preceding clauses (i) through hl as being included in the Term Loan Priority Collateral shall be
                       included in the Term Loan Priority Collateral;

                                (xii)    to the extent relating to any of the items referred to in the preceding clauses {i)
                       through (xi), all Supporting Obligations; provided that to the extent any of the foregoing also
                       relates to ABL Priority Collateral only that portion related to the items referred to in the
                       preceding clauses (i) through (xi) as being included in the Term Loan Priority Collateral shall be
                       included in the Tem1 Loan Priority Collateral;

                                (xiii) all books and records, including all books, databases, customer lists and records
                       related thereto and any General Intangibles at any time evidencing or relating to any of the
                       foregoing; provided that to the extent any of such material also relates to ABL Priority Collateral
                       only that portion related to the items referred to in the preceding clauses (i) through (xii) as being
                       included in the Te m1 Loan Priority Collateral shall be included in the Tenn Loan Priority
                       Collateral; and

                                (xiv) all cash Proceeds and, sole ly to the e>,.ient not constituting ABL Priority
                       Collateral, non-cash Proceeds, products, accessions to, substitutions or replacements for, rents
                       and profits of or in respect of any of the foregoing and all collateral security, guarantees and other
                       collateral support given by any Person with respect to any of the foregoing.


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                             "Term Proceeds Account" means any Deposit Account holding solely the Proceeds of
               Term Loan Priority Collateral.

                                "Top Borrower" has the meaning set forth in the Preamble to this Agreement.

                                 "Trademark" means any and a.II trademarks throughout the world, including the
               following: (a) a.II trade marks (including service marks), common law marks, trade names, trade dress,
               and logos, slogans and other indicia. of origin under the Requirements of Law of any jurisdiction in the
               world, and the registrations and applications for registration thereof and the goodwill of the business
               symbolized by the foregoing; (b) all renewals of the foregoing; (c) all income, royalties, damages, and
               payments now or hereafter due or payable with respect thereto, including damages, claims, and payments
               for pa.st and future infringements thereof; (d) a.II rights to sue for pa.st, present, and future infringements of
               the foregoing, including the right to settle suits involving claims and demands for royalties owing; and (e)
               all rights corresponding to any of the foregoing.

                                  "Trade Secrets" means, with respect to any Obligor, a.II of such Obligor' s right, title and
               inte rest in and to the following: (a) any and a.II confidential and proprietary information, including
               unpa.tented inventions, invention disclosures, engineering or other data, information, production
               procedures, know-how, financial data, customer lists, supplier lists, business and marketing plans,
               processes, schematics, algorithms, techniques, analyses, proposals, source code, data, data.bases and data
               collections; (b) all income, royalties, damages, and payments now or hereafter due or payable with respect
               thereto, including, without limitation, damages, claims and payments for past and future
               misappropriations or infringements thereof; (c) all rights to sue for pa.st, present and future infringements
               of the foregoing, including the right to settle suits involving claims and demands for royalties owing; and
               (d) all rights corresponding to any of the foregoing throughout the world

                                "UBS" has the meaning set forth in the Recitals to this Agreement.

                               "UCC" means the Uniform Commercial Code as in effect from time to time (except as
               otherwise specified) in any applicable state or j urisdiction.

                                1.2     Terms Genera.Hy. The definitions of terms in this Agreement shall apply equa.Jly
               to the singular and plural fom1s of the tenns defined . Whenever the context may require, any pronoun
               shall include the corresponding masculine, feminine and neuter fonns. The words "include," "includes"
               and "including" shall be deemed to be followed by the phrase "without limitation." The word "will" shall
               be construed to have the same meaning and effect as the word "shall." Unless the context requires
               otherwise:

                                (a)     any definition of or reference to any agreement, instrument or other document
                       herein shall be construed as referring to such agreement, instrument or other document as from
                       time to time permitted to be Refinanced or replaced in accordance with the terms hereof, in ea.ch
                       case to the extent so Refinanced or replaced;

                               (b)     any reference herein to any Person shall be construed to include such Person' s
                       permitted successors and assigns;

                               (c)      the words "herein," "he reof' and "hereunder," and words of similar import, shall
                       be construed to refer to this Agreement in its entirety and not to any particular provision hereof;

                               (d)      all references he rein to Sections, clauses or para.graphs shall be construed to refer
                       to Sections, clauses or paragraphs of this Agreement, unless otherwise specified;

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                               (e)      any reference to any law or regulation shall (i) include all statutory and
                       regulatory provisions consolidating, amending, replacing, interpreting or supplementing such law
                       or regulation, and (ii) unless othenvise specified, refer to such law or regulation as amended,
                       modified or supplemented from time to time; and

                                (f)     the words "asset" and " property" shall be construed to have the same meaning
                       and effect and to refer to any and all tangible and intangible assets and properties, including cash,
                       securities, accounts and contract rights.

               Notwithstanding anything to the contrary set forth in this Agreement, any reference herein to the ABL
               Financing Documents, the ABL Documents, the ABL Credit Agreement or any other ABL Document
               individually "as in effect on the date hereof," "as in effect on the date entered into" or words of similar
               meaning shall include a reference to any amendment or other modification of any such document that has
               been made in accordance with, or with respect to any matters that are not prohibited by, Section 5.3(a):
               provided that any statement here in to the effect that a capitalized te rm shall have the meaning as defined
               in an ABL Document "as in effect on the date hereof," "as in effect on the date ente red into" (or words of
               similar meaning) shall not include any changes to such tem1, if any, contained in any such amendment or
               modification. Notwithstanding anything to the contrary set forth in this Agreement, any reference here in
               to the Term Loan Financing Documents, the Tem1 Loan Documents or any of the Term Loan Credit
               Agreements or any other Term Loan Document individually "as in effect on the date hereof," "as in effect
               on the date entered into" or words of similar meaning shall include a reference to any amendment or other
               modification of any such document that has been made in accordance with, or with respect to any matters
               that are not prohibited by, Section 5.3(a); provided that any statement herein to the effect that a
               capitalized term shall have the meaning as defined in a Term Loan Document "as in effect on the date
               hereof," "as in effect on the date entered into" (or words of similar meaning) shall not include any
               changes to such term, if any, contained in any such amendment or modification.

                                1.3      DIP Cap Amounts. For avoidance of doubt, it is unde rstood and agreed that any
               increase in the aggregate Indebtedness for borrowed money constituting principal outstanding under the
               ABL Documents and the Te rm Loan Documents (in each case, including in any Refinancing thereof) after
               the date of the original incurrence or issuance of such Indebtedness solely as a result of a fluctuation in
               the exchange rate of the currency in which such Indebtedness is denominated shall be ignored for
               purposes of determining compliance with the ABL DIP Cap Amount and the Term DIP Loan Cap
               Amount, and any such incremental Indebtedness attributable to any such currency fluctuation shall be
               deemed to be an Obligation or a Term Loan Obligation, as applicable, for all purposes hereof.

                                SECTION 2.        Lien Priorities.

                                2 .1     Relative Priorities. Notwithstanding the date, time, method, manner or order of
               grant, attachment, recordation or perfection of any Liens on the Collateral securing the ABL Obligations
               or of any Liens on the Collateral securing the Tenn Loan Obligations, and notwithstanding any provision
               of the UCC or any other applicable law, or the ABL Documents or the Te rm Loan Documents, or any
               defect or deficiencies in, or failure to perfect or lapse in perfection of, or avoidance as a fraudulent
               conveyance or otherwise of, the Liens securing any of the Obligations or any other circumstance
               whatsoever, whethe r or not any Insolvency or Liquidation Proceeding has been commenced by or against
               any Obligor, each Collateral Agent, on behalf of itse lf and its Related Claimholders, hereby agrees that:

                               (a)      any Lien on the ABL Priority Collateral securing any ABL Obligations now or
                       hereafter held by or on behalf of the ABL Credit Agreement Collateral Agent, any other ABL
                       Claimholders or any agent or trustee therefor, regardless of how acquired, whether by grant,
                       possession, statute (including any judgment lien), operation of law, subrogation or othenvise,

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                       shall be senior in all respects and prior to any Lien on the ABL Priority Collateral securing any of
                       the Term Loan Obligations;

                                (b)      any Lien on the ABL Priority Collateral securing any Tenn Loan Obligations
                       now or hereafter held by or on behalf of any Tenn Loan Collateral Agent, any other Tenn Loan
                       Claim holders or any agent or trustee therefor, regardless of how acquired, whether by grant,
                       possession, statute (including any judgment lien), operation of law, subrogation or otherwise,
                       shall be j unior and subordinate in all respects to all Liens on the ABL Priority Collateral securing
                       any of the ABL Obligations;

                               (c)      all Liens on the ABL Priority Collateral securing any ABL Obligations shall be
                       and remain senior in all respects and prior to all Liens on the ABL Priority Collateral securing
                       any Te m1 Loan Obligations for all purposes, whether or not such Liens securing any ABL
                       Obligations are subordinated to any Lien on the ABL Priority Collateral securing any other
                       obligation of the Obligors or any othe r Person;

                               (d)      any Lien on the Tenn Loan Priority Collateral securing any Term Loan
                       Obligations now or hereafter held by or on behalf of any Tenn Loan Collateral Agent, any other
                       Term Loan Claimholde rs or any age nt or trustee therefor, regardless of how acquired, whethe r by
                       grant, possession, statute (including any judgment lien), operation oflaw, subrogation or
                       otherwise, shall be senior in all respects and prior to any Lien on the Tenn Loan Priority
                       Collateral securing any of the ABL Obligations;

                                (e)      any Lien on the Tenn Loan Priority Collateral securing any ABL Obligations
                       now or hereafter held by or on behalf of the ABL Credit Agreement Collate ral Agent, any other
                       ABL Claimholde rs or any agent or trustee the refor, regardless of how acquired, whether by grant,
                       possession, statute (including any judgment lien), operation of law, subrogation or otherwise,
                       shall be j unior and subordinate in all respects to all Liens on the Tem1 Loan Priority Collateral
                       securing any of the Tenn Loan Obligations; and

                                (f)     all Liens on the Term Loan Priority Collateral securing any Term Loan
                       Obligations shall be and remain senior in all respects and prior to all Liens on the Tenn Loan
                       Priority Collateral securing any ABL Obligations for all purposes, whether or not such Liens
                       securing any Term Loan Obligations are subordinated to any Lien on the Tenn Loan Priority
                       Collateral securing any othe r obligation of the Obligors or any other Person.

                                 2.2     Prohibition on Contesting Liens. The ABL Credit Agreement Collateral Agent,
               for itself and on behalf of its Related Claimholde rs, and each Te rm Loan Collate ral Agent, for itse lf and
               on behalf of its Related Claimholders, agrees that it and its Related Claimholders will not (and each
               hereby waives any right to) directly or indirectly contest or challenge, or support any other Person in
               contesting or challe nging, in any proceeding (including any Insolvency or Liquidation Proceeding), (i) the
               validity or enforceability of any ABL Document or any Tenn Loan Document, or any ABL Obligation or
               any Te rm Loan Obligation, (ii) the existence, validity, perfection, priority or enforceability of the Liens
               securing any ABL Obligations or any Te rm Loan Obligations or (iii) the relative rights and duties of the
               ABL Claimholders or the Tenn Loan Claimholde rs granted and/or established in this Agreement or any
               Collateral Document with respect to such Liens; provided that nothing in this Agreement shall be
               construed to prevent or impair the rights of any Senior Collate ral Agent or any othe r Senior Claimholder
               to enforce this Agreement or to exercise any of its remedies or rights hereunder, including the provisions
               of this Agreement relating to the priority of the Lie ns on the Collate ral in which a Senior Claimholder has
               a Senior Lien securing the Senior Obligations as provided in Sections 2.1 and 3 .1.


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                                  2.3    No New Liens. Subject to Section 2.6 hereof, the parties hereto agree that, so
               long as neithe r the Discharge of ABL Obligations nor the Discharge of Tenn Loan Obligations has
               occurred, (a) none of the Obligors shall grant or permit any additional Liens on any asset or property of
               any Obligor to secure any ABL Obligation unless it has granted, or concurrently therewith grants, through
               documentation in form and substance satisfactory to the Directing Term Loan Collateral Agent, a Lien on
               such asset or property of such Obligor to secure the Term Loan Obligations; and (b) none of the Obligors
               shall grant or permit any additional Liens on any asset or property of any Obligor to secure any Term
               Loan Obligation unless it has granted, or concurrently therewith grants, through documentation in form
               and substance satisfactory to the ABL Credit Agreement Collateral Agent, a Lien on such asset or
               property of such Obligor to secure the ABL Obligations. Subject to Section 2.6, so long as ne ither the
               Discharge of ABL Obligations nor the Discharge of Term Loan Obligations has occurred, whether or not
               any Insolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, the
               parties hereto agree that if any Claimholder shall acquire or hold any Lien on any assets of any Obligor
               securing any Obligation which assets are not also subject to the Lien of the other Claimholders under the
               other Collateral Documents, then, without limiting any other rights and remedies available to any
               Collateral Agent or the other Claimholders, the applicable Collateral Agent holding such Lien, on behalf
               of itself and its Related Claimholders, agrees that any an10unts received by or distributed to any of them
               pursuant to or as a result of Liens so granted shall be subject to Section 4.2.

                                2.4    Similar Liens and Agreements. In furthe rance of Sections 2.3 and 8.9, the ABL
               Credit Agreement Collateral Agent, for itself and on behalf of its Related Claimholders, and each Term
               Loan Collateral Agent, for itself and on behalf of its Related Claimholders, agrees, subject to the other
               provisions of this Agreement:

                               (a)      upon request by the ABL Credit Agreement Collateral Agent or the Directing
                       Term Loan Collateral Agent, to cooperate in good faith (and to direct their counsel to cooperate
                       in good faith) from time to time in order to determine the specific items included in the ABL
                       Collateral and the Term Loan Collateral and the steps taken to perfect their respective Liens
                       thereon and the identity of the respective parties obligated under the ABL Documents and the
                       Term Loan Documents; and

                               (b)       that the documents, agreements or instruments creating or evidencing the ABL
                       Collateral and the Tenn Loan Collateral and guaranties for the ABL Obligations and the Term
                       Loan Obligations, subject to Section 5.3(c), shall be in all material respects the same forms of
                       documents, agreements or instruments, other than w ith respect to the prio1ity of the Liens
                       thereunde r, the identity of the secured parties that are parties thereto or secured thereby and other
                       matters contemplated by this Agreement.

                                2.5      Nature of Obligations. The priorities of the Liens provided in Section 2.1 shall
               not be altered or otherwise affected by (a) any Refinancing of the Senior Obligations or the Junior
               Obligations or (b) any action or inaction which any of the Senior Claimholders or the Junior Claimholders
               may take or fail to take in respect of the Collateral. Each Junjor Collateral Agent, for itself and on behalf
               of its Related Claimholders, agrees and acknowledges that (i) a portion of the Senior Obligations may be
               revolving in nature and that the a.mount thereof that may be outstanding at any time or from time to time
               may be increased or reduced and subsequently reborrowed, (ii) the terms of the Senior Financing
               Documents and the Senior Obligations may be an1ended, supplemented or othenvise modified, and the
               Senior Obligations, or a portion thereof, may be Refinanced from time to time and (iii) the aggregate
               a.mount of the Senior Obligations may be increased, in each case, without notice to or consent by the
               Junior Collateral Agents or the Junior Claimholders and without affecting the provisions hereof, except as
               otherwise expressly set forth herein. As between the Borrowers and the other Obligors and the Junior
               Claimholders, the foregoing provisions will not limit or otherv..1ise affect the obligations of the Borrowers

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               and the Obligors contained in any Junior Financing Document with respect to the incurrence of additional
               Senior Obligations.

                                2.6      Certain Cash Collateral. Notwithstanding anything in this Agreement or any
               other ABL Document or Term Loan Document to the contrary, collateral consisting of cash and cash
               equivalents pledged to secure (i) ABL Obligations unde r any ABL Financing Document consisting of
               reimbursement obligations in respect of ABL Letters of Credit issued thereunder, (ii) ABL Obligations in
               respect of ABL Hedge Agreements to the extent pem1itted by the ABL Documents and the Tenn Loan
               Docume nts, (iii) Te m1 Loan Obligations unde r any Tenn Loan Financing Docume nt consisting of
               reimbursement obligations in respect of letters of credit issued thereunder and (iv) Term Loan Obligations
               under Term Loan Hedge Agreements to the extent pennitted by the ABL Documents and the Term Loan
               Docume nts, in each case shall be applied as specified in the re levant ABL Documents, the relevant Term
               Loan Document, the relevant ABL Hedge Agreement and/or the relevant Term Loan Hedge Agreement,
               as applicable, and w ill not constitute Collate ral hereunder.

                                2.7     [Reserved] .

                                 2.8      Tracing of Proceeds. The ABL Credit Agreement Collateral Agent, for itself and
               on be half of the ABL Claimholde rs, and each Term Loan Collateral Agent for itself and on behalf of its
               Related Claimholders, agree that prior to an issuance of any notice of any Enforcement Action by such
               Collateral Agent or any of its Related Claimholders to each other Collateral Agent ( unless a bankruptcy or
               insolvency "Event of Default" then exists under any Financing Document), any proceeds of Collateral,
               whether or not deposited in Deposit Accounts subject to control agreements, which are used by any
               Obligor to acquire other property which is Collateral shall not (solely as between the Collateral Agents
               and the Claimholders) be treated as Proceeds of Collateral for purposes of dete rmining the relative
               priorities in the Collateral which was so acquired. Notwithstanding anything to the contrary contained in
               this Agreement or any Tenn Loan Document, unle ss and until the earliest of (x) the Discharge of ABL
               Obligations, (y) the commencement of an Insolvency or Liquidation Proceeding w ith respect to any of the
               Obligors, or (z) a notice of an Enforcement Action is de livered by the Directing Tenn Loan Collateral
               Agent to the ABL Credit Agreement Collateral Agent, the ABL Credit Agreement Collateral Agent is
               hereby pem1itted to deem all collections and payments deposited in any Deposit Account or Securities
               Account (for the avoidance of doubt other than any Te nn Proceeds Account) to be Proceeds of ABL
               Priority Collateral and each Tenn Loan Collateral Agent, on behalf of itself and each other Tenn Loan
               Claimholder, consents to the application of such funds to the ABL Obligations, and no such funds
               credited to such account shall be subject to disgorgement or be deemed to be held in trust by the ABL
               Credit Agreement Collateral Agent for the benefit of any Term Loan Collateral Agent or any other Term
               Loan Claimholder: provided that w ith respect to any such funds that are identifiable proceeds of Term
               Loan Priority Collateral credited to any such account, with respect to which funds the ABL Credit
               Agreement Collateral Agent has received a Tenn Cash Proceeds Notice prior to the application of such
               funds by the ABL Credit Agree ment Collate ral Agent to the ABL Obligations, the ABL Credit
               Agreement Collateral Agent shall turn ove r any such misdirected proceeds of the Term Loan Priority
               Collateral to the Directing Tem1 Loan Collateral Agent.

                                SECTION 3.        Enforcement.

                                3.1     Exercise of Remedies.

                               (a)     Until the Discharge of Senior Obligations has occurred, whether or not any
               [nsolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, each of the
               Junior Collateral Agents, for itself and on behalf of its Related Claimholders, hereby agrees that it and its
               Related Claimholders:

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                                (1)     will not exercise or seek to exercise any rights or remedies (including setofl) with
                       respect to any Collateral in which a Junior Claimholder has a Junior Lie n or institute or
                       commence, or join with any Person in instituting or commencing, any other Enforcement Action
                       or any other action or proceeding with respect to such rights or remedies (including any action of
                       foreclosure, enforcement, collection or execution and any Insolvency or Liquidation Proceeding);
                       provided that the Directing Jw1ior Collateral Agent may (as between the Tem1 Loan Collateral
                       Agents, subject to the First Lien/Second Lien Intercreditor Agreement) commence an
                       Enforcement Action o r othe rwise exercise any or all such rights or remedies after the passage of a
                       period of at least 210 days since the Directing Senior Collateral Agent shall have received notice
                       from the Directing Junior Collateral Agent w ith respect to the acceleration by the Junior
                       Claimholders of any Series of the maturity of all then outstanding Junior Obligations of such
                       Series (and requesting that Enforcement Action be taken w ith respect to the Collateral in which a
                       Ju nior Claimholder has a Junior Lien) so long as the applicable "event of default" shall not have
                       been cured or waived (or the applicable acceleration rescinded) (the "Standstill Period");
                       provided , further that notwithstanding anything herein to the contra!)', in no event shall the Junior
                       Collate ral Agents or any other Junior Claimholde rs exercise any rights or remedies w ith respect
                       to any Collateral in which a Junior Claimholder has a Junior Lien or institute or commence, or
                       join with any Person in instituting or commencing, any other Enforcement Action w ith respect to
                       any Collate ral or any other action or proceeding with respect to such rights or remedies, if,
                       notwithstanding the expiration of the Standstill Period, either (A) the Directing Senior Collateral
                       Agent or any other Senior Claimholder shall have commenced and be diligently pursuing ( or shall
                       have sought or requested and be diligently pursuing relief from or modification of the automatic
                       stay or any other stay in any Insolvency or Liquidation Proceeding to enable the commencement
                       and the pursuit of) an Enforcement Action or other exercise of their rights or remedies in each
                       case with respect to all or any mate rial portion of the Collateral (with any determination of which
                       such Collateral to proceed against, and in what order, to be made by the Directing Senior
                       Collateral Agent or such Senior Claimholders in their reasonable judgment) or (B) any of the
                       Obligors is then a debtor in any Insolvency or Liquidation Proceeding.

                               (2)     will not contest, protest or object to any Enforcement Action brought by any
                       Senior Collateral Agent or any other Senior Claimholde r or any other exercise by any Senior
                       Collateral Agent or any other Senior Claimholder of any rights and remedies relating to the
                       Collateral in which a Senior Claimholder has a Senior Lien under the Se nior Financing
                       Documents o r otherwise ;

                               (3)      subject to their rights under clause (a)(l) above, will not o~ject to the forbearance
                       by any Senior Collate ral Agent or the other Se nior Claimholders from bringing or pursuing any
                       Enforcement Action or any other exercise of any rights or remedies relating to any Collateral in
                       which a Senior Claimholder has a Senior Lien, in each case so long as any proceeds received by
                       the Senior Collateral Agents or other Senior Claimholde rs w ith respect to such Collateral in
                       excess of those necesSal)' to achieve a Discharge of Senior Obligations are distributed in
                       accordance w ith Section 4. l ; and

                               (4)      will not take or rece ive any Collateral in which a Senior Claimholder has a
                       Senior Lien, or any proceeds of or payment w ith respect to any such Collateral, in connection
                       with any Enforcement Action or any other exercise of any right or remedy with respect to any
                       such Collateral or any Insolvency or Liquidation Proceeding in its capacity as a creditor or in
                       connection with any insurance policy award or any award in a condemnation or similar
                       proceeding (or deed in lieu of condemnation) w ith respect to any such Collate ral, in each case
                       unless and until the Discharge of Senior Obligations has occurred , except, (x) as between the First
                       Lien Credit Agreement Collate ral Agent and the Second Lien Credit Agreement Collateral Agent,

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                       as expressly permitted by the First Lien/Second Lien Intercreditor Agreement and (y) in
                       connection with any foreclosure expressly permitted by Section 3.1 (a)(l) to the extent such Junior
                       Collateral Agent and its Related Claimholders are permitted to retain the proceeds thereof in
                       accordance with Section 4.1.

                                Without limiting the generality of the foregoing, until the Discharge of Se nior
               Obligations has occurred, except as expressly provided in Sections 3.l(a)(l)_ 3.l(c) and 6.3(b). the sole
               right of each Junior Collateral Agent and the other Junior Claimholders with respect to any Collateral in
               which a Junior Claimholde r has a Junior Lien (othe r than inspection, monitoring, reporting and similar
               rights provided for in the Junior Financing Documents) is to hold a Lien on such Collateral pursuant to
               the Junior Collateral Documents for the period and to the e:\.1ent granted therein and to receive a share of
               the proceeds thereof, if any, after the Discharge of Senior Obligations has occurred.

                                For the avoidance of doubt, nothing contained in this Agreement shall prohibit (i) the
               exercise of rights by the ABL Credit Agreement Collateral Agent or the ABL Administrative Agent
               during a Cash Dominion Period (as defined in the ABL Credit Agreement}, including the notification of
               depository institutions or any other person to deliver proceeds of ABL Priority Collateral to the ABL
               Credit Agreement Collateral Agent or the ABL Administrative Agent, (ii) the reduction of advance rates
               or sub-limits by the ABL Administrative Agent, (iii) the imposition of any Reserve (as defined in the
               ABL Credit Agreement) by the ABL Administrative Agent, (iv) the cessation of lending pursuant to, and
               in accordance w ith, the provisions of the ABL Documents or (v) the consent by the ABL Credit
               Agreement Collateral Agent to any disposition by any Grantor of any of the ABL Priority Collateral or
               the Directing Tem1 Loan Collateral Agent to any disposition by any Grantor of any of the Term Loan
               Priority Collateral.

                                 (b)      Until the Discharge of Senior Obligations has occurred, whether or not any
               Insolvency or Liquidation Proceeding has been commenced by or against any Obligor, subject to
               Sections 3. l(a.)(l), 3_Jfil and 6.3(b), the Senior Collateral Agents and the othe r Senior Claimholders shall
               have the exclusive right to commence and maintain an Enforcement Action or otherwise exercise any
               rights and remedies with respect to the Collateral in which a Senior Claimholder has a Senior Lien
               (including set-off, recoupment and the right to "credit bid" their debt, except that the Junior Collateral
               Agents shall have the "credit bid" rights set forth in Section 3. l(c)(6)), and make determinations
               regarding the release, Disposition, or restrictions with respect to such Collateral, in ea.ch case without any
               consultation with or the consent of any Junior Collateral Agent or any other Junior Cla.imholder; provided
               that any proceeds received by any Senior Collateral Agent on account of such Collateral in excess of
               those necessary to achieve a Discharge of Senior Obligations are distributed in accordance with Section
               !l.. In commencing or maintaining any Enforcement Action or otherwise exercising rights and remedies
               with respect to any Collateral in which a Senior Claimholder has a Senior Lien, the Senior Collateral
               Agents and the other Senior Cla.imholders may enforce the provisions of the Senior Financing Documents
               and exercise rights and remedies thereunder, all in such order and in such manne r as they may determine
               in the exercise of their sole discretion in compliance with any applicable law and without consultation
               with any Junior Collateral Agent or any other Junior Cla.imholder and regardless of whether any such
               exercise is adverse to the inte rest of any Junior Claimholder. Such exercise and enforcement shall include
               the rights of an agent appointed by the Senior Claimholde rs to sell or othen:vise Dispose of Collateral in
               which a Senior Cla.imholder has a Senior Lien upon foreclosure, to incur expenses in connection with
               such sale or other Disposition, and to exercise all the rights and remedies of a secured creditor under the
               UCC or other applicable law and of a secured creditor under Debtor Relief Laws of any applicable
               jurisdiction.




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                             (c)        Notwithstanding the foregoing, each Junior Collateral Agent and any othe r Junior
               Claimholder may:

                               (I)      file a claim, proof of claim or statement of interest with respect to the Junior
                       Obligations: provided that an Insolvency or Liquidation Proceeding has been commenced by or
                       against any of the Obligors;

                                (2)     take any action in order to create, perfect, preserve or protect (but not enforce) its
                       Lien on the Collateral in which a Junior Claimholder has a Junior Lien to the extent (A) not
                       adverse to the priority status of the Liens on such Collateral securing the Senior Obligations, or
                       the rights of any Senior Collateral Agent or the other Senior Claimholders to exercise rights and
                       remedies in respect thereof, and (B) not othe rwise inconsiste nt w ith the tem1s of this Agreement,
                       including the automatic release of Liens provided in Section 5. I ;

                               (3)      file any necessary or appropriate responsive or defensive pleadings in opposition
                       to any motion, claim, adversary proceeding or other pleading made by any Person objecting to or
                       otherwise seeking the disallowance of the claims of the Junior Claimholders, including any
                       claims o r Liens secured by the Collateral in which a Junior Claimholder has a Junior Lien, if any,
                       in each case to the extent not inconsistent with the te rms of this Agreement;

                                (4)     vote on any plan ofreorganization, arrangement, compromise or liquidation, file
                       any proof of claim, make other filings and make any arguments and motions with respect to the
                       Junior Obligations and the Collate ral in which a Junior Claimholde r has a Junior Lien that are, in
                       each case, in accordance with the terms of this Agreement; provided that (A) no filing of any
                       claim or vote, or pleading relating to such claim or vote , to accept or rej ect a disclosure statement,
                       plan of reorganization, arrangement, compromise or liquidation, or any other document,
                       agreement or proposal similar to the foregoing by any Junior Collateral Agent or any other Junior
                       Claimholder in respect of such Collateral may be inconsistent with the tenns ofthis Agreement
                       and (B) neither any Junior Collateral Agent nor any other Junior Claimholder shall propose, vote
                       to accept, or otherwise support a plan of reorganization that is inconsistent w ith the terms of this
                       Agreement with respect to treatment of such Collateral;

                               (5)      exercise any of its rights or remedies w ith respect to the Collateral (after the
                       termination of the Standstill Pe riod to the extent permitted by Section 3.l{a)(I); and

                                (6)     bid for or purchase any Collate ral in which a Junio r Claimholde r has a Junior
                       Lien at any public, private or j udicial foreclosure upon such Collateral initiated by the Senior
                       Collateral Agents or any other Senior Claimholder, or any sale of any such Collate ral during an
                       Insolvency or Liquidation Proceeding; provided that any such bid may not include a "credit bid"
                       in respect of any Junior Obligations unless the cash proceeds of such bid are othe rwise sufficient
                       to cause the Discharge of Senior Obligations.

                                (d)       Subject to Sections 3. l(a)(l), 3. l(c) and 6.3(b) each Junior Collateral Agent, for
               itself and on behalf of its Related Claimholders:

                               (1)       agrees that it and its Re lated Claimholders will not take any action that would
                       hinder, delay, lin1it or prohibit any exercise of rights or remedies under the Senior Financing
                       Docume nts o r is othe rwise prohibited hereunder w ith respect to any Collateral in which a Junior
                       Claimholder has a Junior Lien, including any collection or Disposition of any such Collateral,
                       whether by foreclosure or otherwise, or that would limit, invalidate, avoid o r set aside any Lien
                       securing any Senior Obligations or any Senior Collate ral Docume nt or subordinate the priority of

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                       the Senior Obligations to the Junior Obligations with respect to such Collateral or grant the Liens
                       on such Collate ral securing the Junior Obligations equal ranking to the Liens securing the Senior
                       Obligations;

                                (2)     hereby waives any and all rights it or its Related Claimholders may have as a
                       junior Lien creditor or otherwise (whether arising under the UCC or under any othe r law) to
                       object to the manner in which the Senior Collateral Agents or the other Senior Claimholders seek
                       to enforce or collect the Senior Obligations or the Liens securing the Senior Obligations with
                       respect to the Collate ral in which a Junior Claimholde r has a Junior Lien, regardless of whether
                       any action or failure to act by or on behalf of any Senior Collateral Agent or any other Senior
                       Claim holders is adverse to the inte rest of any Junior Claimholders with respect to such Collateral;
                       and

                                (3)      hereby acknowledges and agrees that no covenant, agreement or restriction
                       contained in the Junior Collateral Documents or any othe r Junior Financing Document shall be
                       deemed to restrict in any way the rights and remedies of any Senior Collateral Agent or the other
                       Senior Claimholders with respect to the Collateral in which a Junior Claimholde r has a Junior
                       Lie n as set forth in this Agreement and the Senior Financing Documents.

                                 (e)       The Junior Collateral Agents and the other Junior Claimholders may exe rcise
               rights and remedies as unsecured creditors against the Obligors that have guaranteed or granted Liens to
               secure the Junior Obligations in accordance with the terms of the Junior Financing Documents and
               applicable law (other than initiating or joining in an involuntary case or proceeding under any Debtor
               Relief Law with respect to any Obligor, prior to the te m1ination of the Standstill Period; provided that (i)
               any such exercise shall not be inconsistent with the terms of this Agreement (including Sections 2.2 and
               ~) and (ii) in the event that any Junior Claimholder becomes a judgment Lien creditor in respect of any
               Collateral as a result of its enforcement of its rights as an unsecured creditor with respect to the Jw1ior
               Obligations, such judgment Lien shall be su~ject to the terms of this Agreement for all purposes
               (including in re lation to the Senior Obligations) as the other Liens securing the Junior Obligations are
               subject to this Agreement. Nothing in this Agreement shall prohibit the receipt by any Junior Collateral
               Agent or Junior Claimholde r of the required payments of principal, premium, interest, fees and other
               amounts due under the Junior Financing Documents so long as such receipt is not the direct or indirect
               result of the exercise by a Junior Collateral Agent or other Junior Claimholder of rights or remedies as a
               secured creditor in respect of Collateral in which a Junior Claimholder has a Junior Lien.

                                 3.2      Agreement among Term Loan Claimholders. Each Term Loan Collateral Agent,
               on behalf of itself and its Re lated Term Loan Claimholders, solely as among themse lves in such capacity
               and solely for their mutual benefit, hereby agrees that the Tem1 Loan Collateral Agent designated as the
               Directing Term Loan Collateral Age nt shall have the sole right and power, as among the Te rm Loan
               Collateral Agents and the other Term Loan Claimholders, to take and direct any right or remedy with
               respect to Term Loan Priority Collate ral in accordance with the te rms of this Agreement, the re levant
               Term Loan Collateral Docwnents and any other inte rcreditor agreement among the Directing Term Loan
               Collateral Agent and each other Term Loan Collateral Agent. The Directing Term Loan Collateral Agent
               shall be entitled to the benefit of all the exculpatory, indemnity and reimbursement provisions set forth in
               any Te rm Loan Document for the benefit of any "collate ral agent" (or any other agent or similar
               representative) with respect to any exercise by the Directing Tenn Loan Collateral Agent of any of the
               rights or remedies under this Agreement, including any such exercise of any right or remedy with respect
               to any Term Loan Priority Collateral, or any other action or inaction by it in its capacity as the Directing
               Term Loan Collateral Agent.



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                                 3 .3    Actions Upon Breach: Specific Perfonnance. If any Junior Claimholder, in
               contravention of the terms of this Agreement, in any way takes, attempts to or threate ns to take any action
               with respect to the Collate ral (including any attempt to realize upon or enforce any remedy with respect to
               this Agreement), or fails to take any action required by this Agreement, this Agreement shall create an
               irrebutable presumption and admission by such Junior Claimholder that relief against such Junior
               Claimholder by injunction, specific performance and/or other appropriate equitable relief is nece ssary to
               prevent irreparable hann to the Senior Claimholders, it being understood and agreed by each Junior
               Collateral Agent, on behalf of its Related Junior Claimholders, that (i) the Senior Claimholde rs' damages
               from actions of any Junior Claimholder may at that time be difficult to ascertain and may be irreparable
               and (ii) each Junior Claimholder waives any defense that the Obligors and/or the Senior Claimholders
               cannot demonstrate damage and/or be made ·whole by the awarding of damages. Each of the Senior
               Collateral Agents may demand specific performance of this Agreement. Each Junior Collateral Agent, on
               behalf of itself and its Related Junior Claimholde rs, hereby irrevocably waives any defense based on the
               adequacy of a remedy at law and any other defense which might be asse rted to bar the re medy of specific
               performance in any action which may be brought by any Senior Collateral Agent or any other Senior
               Claimholder. No provision of this Agreement shall constitute or be deemed to constitute a waiver by any
               Senior Collateral Agent on behalf of itself and its Related Senior Clainlholde rs of any right to seek
               dan1ages from any Person in connection w ith any breach or alleged breach of this Agreement.

                                SECTION 4.        Payments.

                                4.1      Application of Proceeds. So long as the Discharge of Senior Obligations has not
               occurred, whether or not any Insolvency or Liquidation Proceeding has been commenced by or against
               any Obligor, any Collate ral in which a Senior Claimholder has a Senior Lien or any Proceeds (w hether in
               cash or otherwise) thereofreceived in connection with any Enforcement Action or other exe rcise of rights
               or remedies by any Senior Collateral Agent or the other Senior Claimholders with respect to such
               Collateral (including any Disposition referred to in Section 5 .1) or any Insolvency or Liquidation
               Proceeding, shall be applied by the Directing Senior Collateral Agent to the Senior Obligations in
               accordance with the terms of the Senior Financing Documents, including any other intercreditor
               agreement among the Senior Collateral Agents. Upon the Discharge of Senior Obligations, the Directing
               Senior Collateral Agent shall deliver to the Directing Junior Collateral Agent any remaining Collate ral in
               which a Senior Claimholder has a Senior Lien and Proceeds thereof then held by it in the same fonn as
               received , with any necessary endorsements (such endorsements shall be w ithout recourse and w ithout
                representation or warranty) to the Directing Junior Collateral Agent, or as a court of competent
               jurisdiction may otherwise direct, to be applied by the Junior Collateral Agents to the Junior Obligations
               in accordance w ith the tem1s of the Junior Financing Documents, including any inte rcreditor agreement
               among the Junior Collateral Agents.

                                4.2     Pavments Over .

                                 (a)      So long as the Discharge of Senior Obligations has not occurred, whether or not
               any Insolvency or Liquidation Proceeding has been commenced by or against any Obligor, any Collateral
               in which a Senior Claimholde r has a Senior Lien or Proceeds thereof (including any assets or proceeds
               subject to Liens that have been avoided or otherwise invalidated (including as a result of failure to perfect
               or lack of perfection)), any assets or proceeds subject to Liens referred to in Section 2 .3, any amounts
               referred to in the last sentence of Section 6.3(b) or any other distribution (whether or not expressly
               characte rized as such) in respect of such Collateral (including in connection with any Disposition of any
               such Collateral) received by any Junior Collateral Agent or any other Junior Claimholders in connection
               with any Enforcement Action or any Insolvency or Liquidation Proceeding or other exercise of any right
               or remedy (including set-off or recoupment) relating to such Collateral in contravention of this Agreement
               or not in accordance with Section 4 .1, or received by any Junior Collateral Agent or any other Junior

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               Claimholders in connection with any insurance policy claim or any condemnation award (or deed in lieu
               of condemnation) in respect of such Collateral, in each case , shall be held in trust and forthwith paid over
               to the Directing Senior Collateral Agent for the benefit of the Senior Claimholders in the same fonn as
               received, with any necessary endorsements, or as a court of competent jurisdiction may otherwise direct.

                                 (b)     Except as otherwise set forth in Section 6.3 (or w ith respect to any
               Reorganization Securities which shall be subject to Section 6.6 and not this Section 4.2), so long as the
               Discharge of Senior Obligations has not occurred, if in any Insolvency or Liquidation Proceeding any
               Junior Collateral Agent or any other Junior Claimholders shall receive any distribution of money or other
               property in respect of or on account of the Collateral in which a Junior Claimholder has a Junior Lien
               (including any assets or proceeds subject to Lie ns that have been avoided or otherwise invalidated or any
               amounts referred to in the last sentence of Section 6. 3(b)), such money, othe r property or amounts shall
               be held in trust and forthwith paid over to the Directing Senior Collateral Agent for the benefit of the
               Senior Claimholders in the same fonn as received , w ith any necessary endorsements. Any Lien on
               Collateral in which a Junior Claimholder has a Junior Lien received by any Junior Collateral Agent or any
               other Junior Claimholders in respect of any of the Junior Obligations in any Insolvency or Liquidation
               Proceeding shall be subject to the te nns of this Agreement.

                                 (c)     Until the Discharge of Senior Obligations occurs, each Junior Collateral Agent,
               for itself and on behalf of its Related Claimholders, hereby irrevocably constitutes and appoints the
               Directing Senior Collate ral Agent and any officer or agent of the Directing Senior Collateral Agent, with
               full power of substitution, as its true and lawful attorney-in-fact with full irre vocable power and authority
               in the place and stead of such Junior Collateral Agent or any such Junior Claimholder or in the Directing
               Senior Collateral Agent's own nan1e , from time to time in the Directing Senior Collate ral Agent's
               discretion, for the purpose of carrying out the terms of this Section 4.2, to take any and all appropriate
               action and to execute any and all documents and instrun1ents which may be necessary to accomplish the
               purposes of this Section 4.2, including any endorsements or other instruments of transfer or release. This
               power is coupled w ith an inte rest and is irrevocable until the Discharge of Senior Obligations.

                                 4.3     Mixed Collateral Proceeds. Notwithstanding anything to the contrary contained
               above or in the definition of the ABL Priority Collateral or Term Loan Priority Collateral, in the event
               that Proceeds of Collate ral are received from (or are otherw ise attributable to the value of) a sale or other
               disposition of Collateral that involves a combination of ABL Prio rity Collate ral and Term Loan Priority
               Collateral, the portion of such Proceeds that shall be allocated as Proceeds of ABL Priority Collateral for
               purposes of this Agreement shall be an amount equal to the net book value of such ABL Priority
               Collateral (except in the case of Accounts (as described in clause (i) of the definition of ABL Priority
               Collateral, and excluding any Accounts to the extent excluded pursuant to said clause (i)) which amount
               shall be equal to the face amount of such Accounts). In addition, notw ithstanding anything to the
               contrary contained above or in the definition of the ABL Priority Collateral or Tenn Loan Priority
               Collateral, to the extent Proceeds of Collateral are Proceeds received from (or are otherwise attributable to
               the value of) the sale or disposition of all or substantially all of the capital stock of any of the Subsidiaries
               of Holdings which is an Obligor, or all or substantially all of the assets of any such Subsidiary, and in
               each case in connection with such sale the ABL Credit Agreement Collateral Agent releases its Liens on
               the ABL Priority Collate ral of such Subsidiary, then such Proceeds shall constitute (1) first, in an amount
               equal to the face amount of the Accounts (as described in clause (i) of the definition of ABL Priority
               Collateral, and excluding any Accounts to the extent excluded pursuant to said clause (i)) and the net
               book value of the Inventory owned by such Subsidiary at the time of such sale, ABL Priority Collateral
               and (2) second, to the extent in excess of the amounts described in preceding clause (1), Tenn Loan
               Priority Collateral.



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                                SECTIONS.            Other Agreements.

                                5.1     Releases .

                                  (a)      In connection with any Enforcement Action by the Directing Senior Collateral
               Agent or any other exercise by the Directing Senior Collateral Agent of rights or remedies in respect of
               the Collateral in which a Senior Claimholder has a Senior Lien (including any Disposition of any of such
               Collateral by any Obligor, with the consent of the Directing Senior Collateral Agent, after the occurrence
               and during the continuance of an "event of default" under the Senior Financing Documents), in each case,
               prior to the Discharge of Senior Obligations, the Directing Senior Collateral Agent is irrevocably
               authorized (at the cost of the Obligors in accordance with the terms of the applicable Senior Financing
               Docume nt and without any consent, sanction, authority or further confirmation from the Directing Junior
               Collateral Agent, any other Junior Claimholder or any Obligor): (i) to release any of its Lie ns on any part
               of such Collateral or any other claim over such Collateral that is the subject of such Enforcement Action,
               in which case the Junior Lie ns or any other claim over the asset that is the subject of such Enforcement
               Action, if any, of any Junior Collate ral Agent, for itself or for the benefit of the other Junior
               Claimholders, shall be automatically, unconditionally and simultaneously released to the same extent as
               the Liens or other claims of the Directing Senior Collateral Agent and each othe r Senior Collateral Agent
               are so released (and the Directing Senior Collateral Agent is irrevocably authorized to exe cute and deliver
               or enter into any release of such Liens or claims that may, in the discretion of the Directing Senior
               Collateral Agent, be considered necessary or reasonably desirable in connection with such releases); and
               (ii) if the Collateral that is the subject of such Enforcement Action consists of the equity interests of any
               Obligor, to release (x) such Obligor and any subsidiary of such Obligor from all or any part of its Senior
               Obligations, in which case such Obligor and any subsidiary of such Obligor shall be automatically,
               unconditionally and simultaneously released to the san1e extent from its Junior Obligations (it being
               understood that any Proceeds of such Enforcement Action with respect to such equity interests shall be
               dealt with in a manne r consiste nt with Section 4 .3), and (y) any Liens or othe r claims on any assets of
               such Obligor and any subsidiary of such Obligor, in which case the Junior Liens or other claims on such
               assets of each Junior Collateral Agent, for itself or for the benefit of its Related Claimholders, shall be
               automatically, unconditionally and simultaneously released to the same extent as such Senior Liens of the
               Directing Senior Collate ral Agent and each other Senior Collateral Agent are so released (and the
               Directing Senior Collateral Agent is irrevocably authorized to execute and deliver or enter into any
               release of such Liens or claims that may, in the discretion of the Directing Senior Collateral Agent, be
               considered necessary or reasonably desirable in connection with such releases). Each Junior Collateral
               Agent, for itself or on behalf of its Re lated Claimholders, promptly shall execute and delive r to the
               Directing Senior Collateral Agent or such Obligor such termination statements, releases and other
               documents as the Directing Senior Collateral Agent or such Obligor may request to effectively confirm
               the foregoing releases upon delivery to the Junior Collateral Agents of copies of such tennination
               statements, releases and othe r documents used to effect such releases with respect to the Collateral in
               which a Senior Claimholder has a Senior Lien securing the Senior Obligations from a Responsible Officer
               of the requesting party. In the case of any Disposition of any of the Collateral in which a Senior
               Claimholder has a Senior Lien that is subject to this Section 5. I(a) by the Directing Senior Collateral
               Agent or by any Obligor with the conse nt of the Directing Senior Collateral Agent (the party so Disposing
               of such Collateral being called the "Disposing Party"), the Disposing Party shall take reasonable care (as
               determined in the reasonable credit judgment of the Directing Senior Collateral Agent or the reasonable
               business judgment of such Obligor, as the case may be) to obtain a fair market price under the prevailing
               market conditions and with regard to all other relevant circumstances, including the distressed nature of
               such Disposition, and if the Disposing Party is an Obligor, to conduct such Disposition in a commercially
               reasonable manner (it being understood that in any case the Disposing Party shall have no obligation to
               postpone any such Disposition in order to achieve a higher price, and that any Disposition approved by
               any bankruptcy court in any Insolvency or Liquidation Proceeding shall be conclusively presumed to be

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               made at a fair market price and to have been conducted in a commercially reasonable manner). The
               proceeds of any such Disposition shall be applied in accordance with Section 4.1.

                                  (b)     If in connection with any sale, lease, exchange, transfer or other disposition
               (collectively, a "Disposition") of any Collateral by any Obligor pennitted under the tenns of both the
               Senior Financing Documents and the Junior Financing Documents (other than in connection with an
               Enforcement Action or other exercise of any Collateral Agent's rights or remedies in respect of the
               Collateral, which shall be governed by Section 5. l(a) above), the Directing Senior Collateral Agent or any
               other Senior Collateral Agent, for itself or on behalf of any of the other Se nior Claimholders, releases any
               of its Liens on any part of the Collateral in which a Senior Clairnholder has a Senior Lien, or releases any
               Obligor from its obligations under its guaranty of the Senior Obligations, in each case other than in
               connection with, or following, the Discharge of Senior Obligations, then the Liens, if any, of each Junior
               Collateral Agent, for itself or for the benefit of its Related Claimholders, on such Collateral, and the
               obligations of such Obi igor under its guaranty of the Junior Obligations, shall be automatically,
               unconditionally and simultaneously released; provided that such release by such Junior Collateral Agent,
               for itself or for the benefit of its Related Clairnholders, shall not extend to or otherwise affect any of the
               rights of the Junior Claimholders to the proceeds from any such Disposition. Each Junior Collateral
               Agent, for itself or on behalf of its Re lated Clairnholders, promptly shall execute and delive r to the
               Directing Senior Collateral Agent or such Obligor such tennination statements, releases and other
               documents as the Directing Senior Collateral Agent or such Obligor may request to effectively confinn
               the foregoing releases upon delivery to the Junior Collateral Agents of copies of such tennination
               statements, releases and other documents used to effect such release with respect to the Collateral in
               which a Senior Claimholder has a Senior Lien securing the Senior Obligations from a Responsible Officer
               of the Top Borrower or the Directing Senior Collateral Agent and an officer's certificate of a Responsible
               Officer of the requesting party stating that such disposition has been consummated in compliance with the
               terms of the Junior Financing Documents.

                                 (c)     Until the Discharge of Senior Obligations occurs, each Junior Collateral Agent,
               for itself and on behalf of its Related Clairnholders, hereby irrevocably constitutes and appoints the
               Directing Senior Collateral Agent and any officer or agent of the Directing Senior Collateral Agent, with
               full power of substitution, as its true and lawful attorney-in-fact with full irrevocable power and authority
               in the place and stead of such Junior Collateral Agent or such Junior Claimholders or in the Directing
               Senior Collateral Agent's own name, from time to time in the Directing Senior Collateral Agent's
               discretion, for the purpose of carrying out the te rms of this Section 5.1, to take any and all appropriate
               action and to execute any and all documents and instrun1ents which may be necessary to accomplish the
               purposes of this Section 5.1 , including any endorsements or other instruments of transfer or release. This
               power is coupled w ith an inte rest and is irrevocable until the Discharge of Senior Obligations.

                                 (d)     Until the Discharge of Senior Obligations occurs, to the extent that any Senior
               Collateral Agent or the other Senior Claimholders (i) have released any Lie n on Collateral in which a
               Senior Claimholder has a Senior Lien or any Obligor from its obligation under its guaranty and any such
               Liens or guaranty a.re later reinstated or (ii) obtain any additional guarantees from any Obligor or any
               Domestic Subsidiary of Holdings, then each Junior Collateral Agent, for itself and on behalf of its Re lated
               Cla.irnholders, shall be granted an additional guaranty.

                                5 .2    Insurance and Condemnation Awards. Until the Discharge of Senior Obligations
               has occurred, the Directing Senior Collateral Agent shall have the sole and exclusive right, subject to the
               rights of the Obligors w1der the Senior Financing Documents, to settle or adjust claims over any insurance
               policy covering the Collateral in which a Senior Claimholder has a Senior Lien in the event of any loss
               thereunder and to approve any award granted in any condemnation or similar proceeding (or any deed in
               lieu of condemnation) affecting such Collateral. Until the Discharge of Senior Obligations has occurred,

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               and subject to the rights of the Obligors unde r the Senior Financing Documents, all proceeds of any such
               policy and any such award ( or any payments w ith respect to a deed in lieu of condemnation) in respect of
               the Collateral in which a Senior Claimholder has a Senior Lien shall be paid to the Directing Senior
               Collateral Agent for the benefit of the Senior Claimholders pursuant to the te rms of the Senior Financing
               Docume nts, including any othe r inte rcreditor agreement among the Senior Collateral Agents (including,
               without limitation, for purposes of cash collateralization of commitments, Letters of Credit constituting
               Senior Obligations and obligations under Hedge Agreements governing any First Lien Secured Hedging
               Obligations constituting Senior Obligations) and the reafte r, if the Discharge of Senior Obligations has
               occurred, and subject to the rights of the Obligors under the Junior Financing Documents, to the Directing
               Junior Collateral Agent for the benefit of the Junior Claimholders to the extent required under the Junior
               Collateral Documents, and thereafter, if the Discharge of the Junior Obligations has occurred, to the
               owner of the subject property, as directed by the Top Borrower or as a court of competent j urisdiction
               may otherw ise direct. Until the Discharge of Senior Obligations has occurred, if any Junior Collateral
               Agent or any other Junior Claimholders shall, at any time, receive any proceeds of any such insurance
               policy or any such award or payment in respect of Collateral in which a Senior Claimholder has a Senior
               Lie n in contravention of this Agreement, it shall segregate and hold in trust and forthw ith pay such
               proceeds ove r to the Directing Senior Collateral Agent in accordance with the te rms of Section 4.2. To the
               extent that an insured loss covers or constitutes both ABL Priority Collateral and Term Loan Priority
               Collateral, then the ABL Credit Agreement Collateral Agent and the Directing Tem1 Loan Collateral
               Agent will work jointly and in good faith to collect, adjust or settle (subject to the rights of the relevant
               Obligors under the ABL Documents and the Tem1 Loan Financing Documents) under the relevant
               insurance policy, w ith the proceeds thereof being applied in accordance with the provisions of Section 4. I
               of this Agreement.

                                5.3     Amendments to Financing Documents.

                                (a)     Subject to, in the case of the Term Loan Documents, the First Lien/Second Lien
               Intercreditor Agreement and any other intercred itor agreement among the Term Loan Claimholders,
               Financing Documents may be amended, restated, amended and restated, supplemented or otherwise
               modified in accordance with their terms, and the Financing Documents and any Obligations thereunder
               may be Refinanced, in each case, without notice to, or the consent of any Collateral Agent or any other
               Claimholder, all without affecting the Lien subordination or other provisions of this Agreement: provided
               that the holders of such Refinancing debt bind themselves in a w riting addressed to the Collateral Agents
               and the other Claimholders to the terms of this Agreement or another intercreditor agreement that is
               reasonably satisfactory to the Collateral Agents, and any such amendment, restatement, an1endment and
               restatement, supplement, modification or Refinancing shall not, contravene the provisions of this
               Agreement or any other Financing Document.

                                (b)      In the event that any Senior Collateral Agent enters into any amendment,
               restatement, amendment and restatement, supplement or other modification in respect of or replaces any
               of the Senior Collateral Documents for purposes of adding to, or deleting from , or waiving or consenting
               to any departures from any provisions of any Senior Collateral Document or changing in any manner the
               rights of the applicable Senior Collateral Agent, the Senior Claimholders, or any Obligor thereunder, in
               each case in respect of the Collateral in which a Senior Claimholde r has a Senior Lien (including the
               release of any Liens on such Collateral securing the Senior Obligations), then such an1endment,
               restatement, amendment and restatement, supplement or other modification in a manner that is applicable
               to all Senior Claimholders and all Senior Obligations shall apply automatically to any comparable
               provisions of each Comparable Junior Collateral Document without the consent of any Junior Collateral
               Agent, Junior Claimholder or any Obligor; provided, however that (1) such amendme nt, restatement,
               amendment and restatement, supplement or other modification does not (A) remove assets subject to any
               Liens on the Collateral securing any of the Junior Obligations or release any such Liens, except to the

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               extent such release is permitted or required by Section 5 .1 and provided there is a concurrent release of
               the corresponding Liens securing the Senior Obligations, (B) affect the rights or duties of any Junior
               Collateral Agent without its consent or (C) otherwise materially adversely affect the rights of the
               applicable Junior Claimholders or the interest of the applicable Jw1ior Claimholders in such Collateral and
               not the Senior Collateral Agent or the Senior Claimholders that have a Senior Lien on the affected
               Collateral in a like manner, and (2) written notice of such amendment, restatement, amendment and
               restatement, supplement or other modification shall have been given to each Junior Collateral Agent
               within ten ( 10) Business Days of the effectiveness thereof (it being understood that the failure to deliver
               such notice shall not impair the effectiveness of any such amendment, restatement, an1endment and
               restatement, supplement or other modification).

                               5 .4    Confirmation of Subordination in Collateral Documents. (a) Each Term Loan
               Collateral Agent, on behalf of itself and its Related Claimholders, agrees that each Tenn Loan Collateral
               Docume nt shall include the following language (or language to similar effect approved by the ABL Credit
               Agreement Collateral Agent):

                                ''Notwithstanding anything herein to the contrary, the lien and security interest granted to
                                the Collateral Agent in the Collateral pursuant to this Ag reement and the exercise of any
                                right or remedy by the Collateral Agent hereunde r are subject to the provisions of the
                                ABL lntercreditor Agreement, dated as of November 8, 2016 (as amended, restated,
                                amended and restated, supplemented or otherwise modified from time to time, the " ABL
                                Intercreditor Agreement"), among UBS AG, Stanlford Branch, as ABL Credit Agreement
                                Collateral Agent, UBS AG, Stamford Branch, as First Lien Credit Agreement Collateral
                                Agent and Goldman Sachs Bank USA, as Second Lien Credit Agreement Collateral
                                Agent, and certain other Persons party or that may become party the reto from time to
                                time and acknowledged and agreed to by Dawn Intennediate Inc., a Delaware
                                corporation, Serta Simmons Bedding, LLC, a Delaware limited liability company, the
                                other borrowers party thereto and the other obligors party thereto. In the event of any
                                conflict between the terms of the ABL lntercredito r Agreement and this Agreement, the
                                tern1s of the ABL lntercreditor Agreement shall govern and control."

                               (b)      The ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
               Claimholders, agrees that each ABL Collateral Document shall include the following language (or
               language to similar effect approved by the Directing Term Loan Collateral Agent):

                                "Notwithstanding anything herein to the contrary, the lien and security interest granted to
                                the Collateral Agent in the Collateral pursuant to this Agreement and the exercise of any
                                right or remedy by the Collateral Agent hereunde r are subject to the provisions of the
                                ABL Intercreditor Agreement, dated as of November 8, 2016 (as amended, restated,
                                amended and restated, supplemented or otherwise modified from time to time, the "ABL
                                Intercreditor Agreement"), among UBS AG, Stan1ford Branch, as ABL Credit Agreement
                                Credit Collateral Agent, UBS AG, Stamford Branch, as First Lien Credit Agreement
                                Collateral Agent and Goldman Sachs Bank USA as Second Lien Credit Agreement
                                Collateral Agent, and certain other Pe rsons party or that may become party thereto from
                                time to time and acknowledged and agreed to by Daw n Intermediate Inc., a De laware
                                corporation, Serta Simmons Bedding, LLC, a Delaware limited liability company, the
                                other borrowers party thereto and the other obligors party thereto. ln the event of any
                                conflict between the terms of the ABL lntercreditor Agreement and this Agreement, the
                                tern1s of the ABL Inte rcreditor Agreement shall govern and control."



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                                5.5     Gratuitous Bailee/Agent for Perfection: Shared Collateral Documents.

                                 (a)      Each Collateral Agent agrees to hold that part ofthe Collateral that is in its
               possession or control (or in the possession or control of its agents or bailees) to the extent that possession
               or control thereof is taken to pe rfect a Lien thereon under the UCC or other applicable law (such
               Collateral being the "Pledged Collateral") as gratuitous bailee on behalf of and for the be nefit of each
               other Collateral Agent (such bailment being intended, among othe r things, to satisfy the requirements of
               Sections 8-106(d)(3), 8-30 I (a)(2) and 9-3 l 3(c) of the UCC) solely for the purpose of perfecting, or
               improving the priority of, the security interest granted under the Collateral Documents, subject to the
               tem1s and conditions of this Section 5.5: provided that, in the case of any such possession or control of
               Collateral by any Junior Collateral Age nt, the foregoing shall not be deemed to be a waiver of any
               restriction set forth herein on such possession or control or of any breach by such Junior Collateral Agent
               of any terms of this Agreement in respect of such posse ssion or control.

                               (b)       Until the Discharge of Senior Obligations has occurred, each Senior Collateral
               Agent shall be entitled to deal with the Pledged Collateral that constitutes Collateral in which it has a
               Senior Lien in accordance with the terms of the Senior Financing Documents as if the Liens of any Junior
               Collateral Agent under the Junior Collateral Documents did not exist. The rights of each Junior Collateral
               Agent in Collateral in which it has a Junior Lien shall at all times be subject to the tenns of this
               Agreement and to each Senior Collateral Agent's rights under the Senior Financing Documents.

                                (c)     No Collateral Agent shall have any obligation whatsoever to any Claimholde r to
               ensure that the Pledged Collateral is genuine or owned by any of the Obligors or to preserve rights or
               benefits of any Person with respect thereto except as expressly set forth in this Section 5.5 or, in the case
               of any Junior Collateral Agent, the other provisions he reof (including the turnover provisions set forth in
               Section 4.2). The duties or responsibilities of each Collateral Agent under this Section 5.5 shall be limited
               solely to holding the Pledged Collateral as bailee in accordance with this Section 5.5 and, in the case of
               any Senior Collateral Agent, delivering the Pledged Collateral to the Directing Junior Collateral Agent
               upon a Discharge of Senior Obligations as provided in paragraph (e) below or, in the case of any Junior
               Collateral Agent, delivering the Pledged Collateral to the Directing Senior Collateral Agent in accordance
               with the provisions hereof (including the turnover provisions set forth in Section 4.2).

                                  (d)    Each Collateral Agent, for itself and on behalf of its Related Claimholde rs,
               hereby waives and releases each other Collateral Agent and each other Claimholder from all claims and
               liabilities arising pursuant to any Collateral Agent' s role under this Section 5.5 as gratuitous bailee and
               gratuitous agent with respect to the Pledged Collateral: provided that, in the case of any possession or
               control of any Pledged Collateral in which a Senior Claimholder has a Senior Lien by any Junior
               Collateral Agent, the foregoing shall not be deemed to be a waiver of any restriction set forth herein on
               such possession or control or of any breach by such Junior Collateral Agent of any terms of this
               Agreement in respect of such possession or control. None of the Term Loan Collateral Agents or any
               other Te rm Loan Claimholders shall have by reason of the Term Loan Collateral Documents, the ABL
               Collateral Documents, the Shared Collateral Documents, this Agreement or any other document, a
               fiduciary relationship in respect of the ABL Credit Agreement Collateral Agent or any other ABL
               Claimholder, and it is understood and agreed that the inte rests of the Term Loan Collateral Agents and the
               other Te rm Loan Claimholders, on the one hand, and the ABL Credit Agreement Collateral Agent and the
               other ABL Claimholders, on the other hand, may differ and that the Term Loan Collateral Agents and the
               other Te rm Loan Claimholders shall be fully entitled to act in their own interest without taking into
               account the interests of the ABL Credit Agreement Collateral Agent or the other ABL Claimholders.
               Neither the ABL Credit Agreement Collateral Agent nor any other ABL Claimholde rs shall have by
               reason of the ABL Collate ral Documents, the Term Loan Collateral Documents, the Shared Collateral
               Documents, this Agreement or any other document, a fiduciary relationship in respect of any Term Loan

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               Collateral Agent or any other Term Loan Claimholder, and it is understood and agreed that the interests of
               the ABL Credit Agreement Collateral Agent and the other ABL Claimholders, on the one hand, and the
               Term Loan Collateral Agents and the other Te rm Loan Claimholders, on the other hand, may differ and
               that the ABL Credit Agreement Collate ral Agent and the other ABL Claimholders shall be fully entitled
               to act in the ir own interest without taking into account the interests of the Term Loan Collateral Agents or
               the other Term Loan Claimholders.

                                  (e)    Upon the Discharge of Senior Obligations, each Senior Collateral Agent shall
               deliver the remaining Pledged Collateral in its possession or control (if any) (or proceeds thereof) together
               with any necessary endorsements (such endorsement shall be without recourse and without any
               representation or warranty), first, to the Directing Junior Collate ral Agent, to the extent the Discharge of
               Junior Obligations has not occurred and second, upon the Discharge of Junior Obligations, to the Obligors
               to the extent no Obligations remain outstanding (in each case, so as to allow such Person to obtain
               possession or control of such Pledged Collateral) or as a court of competent jurisdiction may otherwise
               direct. Following the Discharge of Se nior Obligations, each Senior Collate ral Agent further agrees to
               take, at the expense of the Obligors (which expense reimbursement shall be subject to the provisions of
               the applicable Senior Financing Document), all other actions reasonably requested by the Directing Junior
               Collateral Agent in connection with the Directing Junior Collateral Agent obtaining a first-priority
               inte rest in the Pledged Collateral that is in such Senior Collateral Agent's possession or control.

                                 5.6     When Discharge of Obligations Deemed to Not Have Occurred. If, substantially
               concurrently with or after the Discharge of the Obligations of any Series having occurred, any Borrower
               or any other Obligor enters into any Refinancing of any Financing Document evidencing a Obligation of
               such Series , which Refinancing is permitted hereby and by the terms of the other Financing Documents,
               then such Discharge shall automatically be deemed not to have occurred for all purposes of this
               Agreement (other than with respect to any action taken as a result of the occurrence of such Discharge
               prior to the Refinancing of such Obligations), and the obligations under such Refinancing of such
               Financing Document shall automatically be treated as Obligations of the Refinanced Series for all
               purposes of this Agreement, including for purposes of the Lien priorities and rights in respect of
               Collateral set forth herein, and the New Senior Agent shall be a Collateral Agent of such Refinanced
               Series (and, if applicable in accordance with the definition of such te rm, the Directing Senior Collateral
               Agent or Directing Junior Collateral Agent) for all purposes of this Agreement. Upon receipt of a notice
               from any Borrower or any other Obligor stating that a Borrower or such other Obligor has entered into a
               Refinancing of any Financing Document (which notice shall include the identity of the new senior
               collateral agent (such agent, the "New Senior Agent")), each Collateral Agent shall promptly (a) enter
               into such documents and agreements (including amendments or supplements to, or amendment and
               restatement of, this Agreement) as such Borrower, such othe r Obligor or the New Senior Age nt shall
               reasonably request in order to provide to the New Senior Agent the rights contemplated hereby, in each
               case consistent in all mate rial respects with the terms of this Agreement, and (b) in the case of each Junior
               Collateral Agent only, de liver to the New Senior Agent (if it is the Directing Senior Collateral Agent) any
               Pledged Collateral in which the New Senior Agent is to have a Senior Lien held by it together with any
               necessary endorsements (or othervvise allow the New Senior Agent to obtain control of such Pledged
               Collateral). The Nevv Senior Agent shall agree in a writing addressed to the other Collateral Agents and
               the other Claimholder to be bound by the terms of this Agreement, for itself and on behalf of its Related
               Senior Claimholders.

                                5.7     [Reserved] .

                               5.8      Consent to License to Use Intellectual Property. Each Tem1 Loan Collateral
               Agent, on behalf of its Respective Claimholde rs (a) consents (without any representation, warranty or
               obligation whatsoever) to the grant by any Obligor to the ABL Credit Agreement Collateral Agent of a

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               non-exclusive royalty-free license to use, subject to any limitations and restrictions in any relevant ABL
               Collateral Document, for a period not to exceed 180 days ( commencing ·with the initiation of any
               enforcement of Liens by any of the Term Loan Collateral Agents (provided, in each case, that the ABL
               Credit Agreement Collateral Agent has received notice thereof) or the ABL Credit Agreement Collateral
               Agent) any Patent, Trademark or proprietary information of such Obligor that is subject to a Lien he ld by
               any Term Loan Collateral Agent (or any Patent, Trademark or proprietary information acquired by such
               purchaser, assignee or transferee from any Obligor, as the case may be) and (b) to the extent, if any, it has
               sufficient rights there in to do so, grants, in its capacity as a secured party (or as a purchaser, assignee or
               transferee, as the case may be), to the ABL Credit Agreement Collateral Agent a non-exclusive royalty-
               free lice nse to use for a period not to exceed 180 days (commencing with (x) the initiation of any
               enforcement of Liens by any Collateral Agent or (y) the purchase, assignment or transfer, as the case may
               be (provided, in each case, that the ABL Credit Agreement Collateral Agent has received notice thereof))
               any Pate nt, Trademark or proprietary information that is subject to a Lie n held by any Term Loan
               Collateral Agent (or subject to such purchase, assignment or transfer, as the case may be), in each case in
               connection with the enforcement of any Lien held by the ABL Credit Agreement Collateral Agent upon
               any Inventory or other ABL Priority Collateral of any Obligor and to the extent the use of such Patent,
               Trademark or proprietary information is necessary or appropriate, in the good faith opinion of the ABL
               Credit Agreement Collateral Agent, to process, ship, produce, store, complete, supply, lease, sell or
               otherwise dispose of any such Inventory in any lawful manner. The 180 day license periods shall be
               tolled during the pendency of any Insolvency or Liquidation Proceeding of any Obligor pursuant to which
               the ABL Credit Agreement Collateral Agent is effectively stayed from enforcing its rights and remedies
               with respect to the ABL Priority Collateral.

                                 5 .9     Access to Information. If any Tem1 Loan Collateral Agent takes actual
               possession of any documentation of an Obligor (whethe r such documentation is in the fom1 of a writing
               or is stored in any data equipment or data record in the physical possession of any Te rm Loan Collate ral
               Agent), then upon the reasonable request of the ABL Credit Agreement Collateral Agent and reasonable
               advance notice, the Term Loan Collateral Agents will permit the ABL Credit Agreement Collateral Agent
               or its representative to inspect and copy such documentation.

                                5.10     Access to Property to Process and Sell Inventory. (a) (i) If the ABL Credit
               Agreement Collateral Agent commences any action or proceeding with respect to any of its rights or
               remedies (including any action of foreclosure but excluding any exercise ofrights solely in connection
               with the occurrence and continuation of a Cash Dominion Period, as such tenn is defined in the ABL
               Credit Agreement (as in effect on the date hereof)), enforcement, collection or execution with respect to
               the ABL Priority Collateral (" ABL Priority Collateral Enforcement Actions") or if any Tem1 Loan
               Collateral Agent commences any action or proceeding with respect to any of its rights or remedies
               (including any action of foreclosure), enforcement, collection or execution with respect to the Tem1 Loan
               Priority Collateral, and such Term Loan Collate ral Agent (or a purchaser at a foreclosure sale conducted
               in foreclosure of any Lie ns of any Term Loan Collateral Agent) takes actual or constructive possession of
               Term Loan Priority Collateral of any Obligor ('T erm Loan Prioritv Collateral Enforcement Actions"),
               then the applicable Tenn Loan Claimholde rs shall (subj ect to, in the case of any Tem1 Loan Priority
               Collateral Enforcement Action, a prior written request by the ABL Credit Agreement Collateral Agent to
               the applicable Tenn Loan Collateral Agent (the ''Term Loan Priority Collateral Enforcement Action
               Notice")) (x) cooperate with the ABL Credit Agreement Collate ral Agent (and with its officers,
               employees, representatives and agents) in its efforts to conduct ABL Priority Collateral Enforcement
               Actions in the ABL Priority Collateral and to finish any work-in-process and process, ship, produce,
               store, complete, supply, lease, se ll or othe1wise handle, deal with, assemble or dispose of, in any lawful
               manner, the ABL Priority Collateral, (y) not hinder or restrict in any respect the ABL Credit Agreement
               Collateral Agent from conducting ABL Priority Collateral Enforcement Actions in the ABL Priority
               Collateral or from finishing any work-in-process or processing, shipping, producing, storing, completing,

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               supplying, leasing, selling or otherwise handling, dealing with, assembling or disposing of, in any lawful
               manne r, the ABL Priority Collateral, and (z) permit the ABL Credit Agreement Collateral Agent, its
               employees, agents, advisers and representatives, at the cost and expense of the ABL Claimholders, to
               enter upon and use the Tenn Loan Priority Collateral (including equipment, processors, computers and
               other machinery related to the storage or processing of records, documents or files and intellectual
               property), for a period commencing on (I) the date of the initial ABL Priority Collateral Enforcement
               Action or the date of deli very of the Tem1 Loan Priority Collateral Enforcement Action Notice, as the
               case may be, and (II) ending on the earlier of the date occurring 180 days thereafter and the date on which
               all ABL Priority Collateral ( other than ABL Priority Collateral abandoned by the ABL Credit Agreement
               Collateral Agent in writing) has been removed from the Te rm Loan Priority Collateral (such period, the
               "ABL Priority Collateral Processing and Sale Period"), for purposes of:

                                       (A)     assembling and storing the ABL Priority Collateral and completing the
                       processing of and turning into finished goods any ABL Priority Collateral consisting of work-in-
                       process;

                                       (B)       selling any or all of the ABL Priority Collateral located in or on such Te rm
                       Loan Priority Collate ral, whether in bulk, in lots or to custome rs in the ordinary course of business
                       or otherwise;

                                       (C)    removing and transporting any or all of the ABL Priority Collateral located
                       in or on such Term Loan Priority Collateral;

                                       (D)       otherwise processing, shipping, producing, storing, completing,
                       supplying, leasing, selling or otherwise handling, dealing with, assembling or disposing of, in any
                       lawful manner, the ABL Priority Collateral; and/or

                                        (E)     taking reasonable actions to protect, secure, and otherwise enforce the
                       rights or remedies of the ABL Claimholders and/or the ABL Credit Agreeme nt Collateral Agent
                       (including with respect to any ABL Priority Collateral Enforcement Actions) in and to the ABL
                       Priority Collateral ;

               provided, however, that nothing contained in this Agreement shall restrict the rights of any Term Loan
               Collateral Agent from se lling, assigning or otherwise transferring any Term Loan Priority Collateral prior
               to the expiration of such ABL Priority Collateral Processing and Sale Period if the purchaser, assignee or
               transferee thereof agrees in writing (for the benefit of the ABL Credit Agreement Collateral Agent and the
               ABL Claimholders) to be bound by the provisions of this Section 5 .10. Ifany stay or other order prohibiting
               the exercise of remedies with respect to the ABL Priority Collateral has been entered by a court of
               competent jurisdiction, such ABL Priority Collateral Processing and Sale Period shall be tolled during the
               pendency of any such stay or other order.

                                (ii)     During the pe riod of actual occupation, use and/or control by the ABL
                       Claimholders and/or the ABL Credit Agreement Collate ral Agent (or their respective employees,
                       agents, advisers and representatives) of any Term Loan Priority Collateral, the ABL Claimholders
                       and the ABL Credit Agreeme nt Collateral Agent shall be obligated to repair at their expense any
                       physical damage to such Term Loan Priority Collateral resulting from such occupancy, use or
                       control, and to leave such Term Loan Priority Collateral in substantially the same condition as it
                       was at the commencement of such occupancy, use or control, ordinary wear and tear excepted.
                       Notwithstanding the foregoing, in no event shall the ABL Claimholders or the ABL Credit
                       Agreement Collateral Agent have any liability to the Term Loan Claimholders pursuant to this
                       Section 5.IO(a) as a result of any condition (including any environmental condition, claim or

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                       liability) on or with respect to the Term Loan Priority Collateral existing prior to the date of the
                       exercise by the ABL Claimholders of the ir rights under this Section 5 .1 0(a) and the ABL
                       Claimholders shall have no duty or liability to maintain the Term Loan Priority Collateral in a
                       condition or manner better than that in which it was maintained prior to the use thereof by the
                       ABL Claimholders, or for any diminution in the value of the Te m1 Loan Priority Collateral that
                       results from ordinary wear and tear resulting from the use of the Tem1 Loan Priority Collateral by
                       the ABL Claimholders in the manner and for the time periods specified under this Section
                       5.l0(a). Without limiting the rights granted in this Section 5.l0(a), the ABL Claimholde rs shall
                       cooperate with the Term Loan Claimholders in connection with any efforts made by the Term
                       Loan Claimholders to sell the Te m1 Loan Priority Collateral.

                                  (b)    The ABL Claimholders shall (i) use the Term Loan Priority Collateral in
               accordance with applicable law; (ii) obtain insurance for damage to property and liability to persons,
               including property and liabi lity insurance, substantially similar to the insurance maintained by the
               Obligors, naming each of the Term Loan Collateral Agents as mortgagee, loss payee and additional
               insured, at no cost to the Tem1 Loan Claimholders, but only to the e:\.1:ent such insurance is not otherwise
               in effect; and (iii) indemnify the Term Loan Claimholders from any claim, loss, damage, cost or liability
               arising out of any claim asserted by any third party as a result of any acts or omissions by the ABL Credit
               Agreement Collateral Agent, or any of its agents or representatives, in connection with the exercise by the
               ABL Claimholders of thei r rights of access set forth in this Section 5.10. In no event shall any ABL
               Claimholders have any liability to the Term Loan Claimholders pursuant to this Section 5 .1 0(b) or
               otherwise as a result of any condition on or with respect to the Tem1 Loan Priority Collateral existing
               prior to the date of the exercise by the ABL Claimholders of the ir access rights under this Section 5. l 0(b),
               and the ABL Claimholders shall have no duty or liability to maintain the Tem1 Loan Priority Collate ral in
               a condition or manner better than that in which it was maintained prior to the access and/or use thereof by
               the ABL Claimholders.

                                 (c)      Each of the Term Loan Collateral Agents (x) shall, at the request of the ABL
               Credit Agreement Collateral Agent, provide reasonable cooperation to the ABL Credit Agreement
               Collateral Agent in connection with the manufacture, production, completion, handling, removal and sale
               of any ABL Priority Collate ral by the ABL Credit Agreement Collateral Agent as provided above and
               (y) shall be entitled to receive, from the ABL Credit Agreement Collateral Agent, fair compensation and
               reimbursement for their reasonable costs and expenses incurred in connection with such cooperation,
               support and assistance to the ABL Credit Agreement Collateral Agent. Each of the Tem1 Loan Collate ral
               Agents and/or any such purchaser (or its transferee or successor) shall not otherwise be required to
               manufacture, produce, complete, remove, insure, protect, store, safeguard, sell or deliver any Inventory
               subject to any Lien held by the ABL Credit Agreement Collateral Agent or to provide any support,
               assistance or cooperation to the ABL Credit Agreement Collateral Agent in respect thereof.

                                5.11    Obligor Consent. Each Obligor consents to the performance by each of the Term
               Loan Collateral Agents of the obligations set forth in Sections 5.8, 5.9 and 5. 10 and acknowledges and
               agrees that no Term Loan Claimholder shall ever be accountable or liable for any action taken or omitted
               by any ABL C laimholder or its or any of their office rs, employees, agents successors or assigns in
               connection the rewith or incidental the reto or in consequence thereof.

                                SECTION 6.        Insolvency or Liquidation Proceedings.

                                6.1     Finance and Sale Issues .

                                (a)     Until the Discharge of Term Loan Obligations has occurred, if any Obligor shall
               be subject to any Insolvency or Liquidation Proceeding and the Directing Term Loan Collateral Agent

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               shall desire to permit the use of "Cash Collateral" (as such tern1 is defined in Section 363(a) of the
               Bankruptcy Code or any similar Debtor Relief Law) constituting Term Loan Priority Collateral or to
               permit any Obligor to obtain financing, whether from the Tern1 Loan Claimholders or any other Person,
               under Section 364 of the Bankruptcy Code or any similar Debtor Relief Law, that is (i) senior or pari
               passu with the Lie ns on the Term Loan Priority Collateral securing the Te rm Loan Obligations and (ii)
               junior to the Liens on the ABL Priority Collateral securing the ABL Obligations (each a "Term Loan
               DIP Financing"), then the ABL Credit Agreement Collateral Agent, on behalf of itse lf and its Related
               Claimholders, agrees that it and its Related Claimholders will raise no objection to, or oppose or contest
               (or join with or support any third party opposing, objecting or contesting), such Cash Collateral use or
               Term Loan DIP Financing (including any proposed orders for such Cash Collate ral use and/or Term Loan
               DIP Financing which are acceptable to the Directing Te rm Loan Collate ral Agent) and it and its Related
               Claimholders will be deemed to have consented to such Cash Collateral use or Tern1 Loan DIP Financing
               (including such proposed orders), and to the ex'tent the Liens on the Term Loan Priority Collateral
               securing the Term Loan Obligations are subordinated to or pari passu with such Term Loan DIP
               Financing, the ABL Credit Agreement Collateral Agent will subordinate its Liens on the Term Loan
               Priority Collateral to the Lie ns securing such Te rm Loan DIP Financing (and all obligations relating
               thereto and any customary "carve-out" agreed to on behalf of the Term Loan Claimholde rs by the
               Directing Term Loan Collateral Agent) and to all adequate protection Liens granted to the Term Loan
               Claimholders on prope rty of the type constituting Term Loan Priority Collateral on the same basis as the
               Liens securing the ABL Obligations are subordinated to the Liens on the Tenn Loan Priority Collateral
               securing the Term Loan Obligations under this Agreement and will not request adequate protection or any
               other relief in connection the rewith (except as expressly agreed by the Directing Te m1 Loan Collate ral
               Agent or to the ex'tent pern1itted by Section 6.3); provided that (i) the aggregate principal amount of
               Indebtedness for borrowed money under such Term Loan DIP Financing plus the aggregate outstanding
               principal amount of Indebtedness for borrowed money under the Term Loan Financing Documents
               (which, for the avoidance of doubt, excludes any Tenn Loan Othe r Obligations) plus the aggregate face
               amount of any First Lien Letters of Credit (except any portion thereof that is no longe r available for
               drawing as a result of any disbursement thereunder that has been reimbursed) does not exceed the Term
               Loan DIP Cap Amount, (ii) the ABL Credit Agreement Collateral Agent and the other ABL Claimholders
               retain a Lien on the Collateral to secure the ABL Obligations, and, with respect to the ABL Priority
               Collateral only, with the same priority as existed prior to the commencement of the Insolvency or
               Liquidation Proceeding, (iii) the foregoing provisions of this Section 6. l(a) shall not prevent the ABL
               Credit Agreement Collateral Agent and the ABL Claimholders from o~j ecting to any provision in any
               Term Loan DIP Financing relating to any provision or content of a plan of reorganization or liquidation
               that are inconsiste nt with this Agreement and (iv) the tem1s of such Term Loan DIP Financing or such use
               of Cash Collateral do not require any Obligor to seek any approval for any plan of reorganization or
               liquidation that is inconsistent with the te rms of this Agreement.

                                        (b)      Until the Discharge of ABL Obligations has occurred, if any Obligor shall
               be subject to any Insolvency or Liquidation Proceeding and the ABL Credit Agreement Collateral Agent
               shall desire to permit the use of "Cash Collateral" (as such te rm is defined in Section 363(a) of the
               Bankruptcy Code or any similar Debtor Relief Law) constituting ABL Priority Collate ral or to permit any
               Obligor to obtain financing, whether from the ABL Claimholders or any other Person, under Section 364
               of the Bankruptcy Code or any similar Debtor Relief Law, that is (i) senior or pari passu with the Liens on
               the ABL Priority Collate ral securing the ABL Obligations and (ii) junior to the Liens on the Term Loan
               Priority Collateral securing the Term Loan Obligations (each a "ABL DIP Financing"), then each Term
               Loan Collate ral Agent, on behalf of itself and its Related Claimholders, agrees that it and its Related
               Claimholders will raise no objection to, or oppose or contest (or join with or support any third party
               opposing, o~jecting or contesting), such Cash Collateral use or ABL DIP Financing (including any
               proposed orders for such Cash Collate ral use and/or ABL DIP Financing which are acceptable to the ABL
               Credit Agreement Collateral Agent) and it and its Related Claimholders will be deemed to have consented

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               to such Cash Collateral use or ABL DIP Financing (including such proposed orders), and to the extent the
               Lie ns on the ABL Priority Collateral securing the ABL Obligations are subordinated to or pari passu with
               such ABL DIP Financing, each Tem1 Loan Collate ral Agent will subordinate its Liens on the ABL Priority
               Collateral to the Liens se curing such ABL DIP Financing (and all obligations relating thereto and any
               customary "carve-out" agreed to on behalf of the ABL Claimholders by the ABL Credit Agreement
               Collateral Agent) and to all adequate protection Liens granted to the ABL Claimholders on property of the
               type constituting ABL Priority Collateral on the same basis as the Liens securing the Tenn Loan Obligations
               are subordinated to the Lie ns on the ABL Priority Collate ral securing the ABL Obligations under this
               Agreement and will not request adequate protection or any other relief in connection therewith (except as
               expressly agreed by the ABL Credit Agreement Collateral Agent or to the extent pennitted by Section 6.3);
               provided that (i) the aggregate principal amount of Indebtedness for borrowed money unde r such ABL DIP
               Financing plus the aggregate outstanding principal amount of Indebtedness for borrowed money unde r the
               ABL Financing Docume nts (which, for the avoidance of doubt, excludes any ABL Othe r Obligations) plus
               the aggregate face amount of any ABL Letters of Credit (exce pt any portion thereof that is no longe r
               available for drawing as a result of any disbursement thereunder that has been reimbursed) does not exceed
               the ABL DIP Cap Amount, (ii) each Tenn Loan Collateral Agent and the other Tenn Loan Claimholders
               retain a Lien on the Collateral to secure the Tenn Loan Obligations, and, with respect to the Tenn Loan
               Priority Collateral only, with the same priority as existed prior to the commencement of the Insolvency or
               Liquidation Proceeding, (iii) the foregoing provisions of this Section 6. l(b) shall not prevent the Tenn Loan
               Collateral Agents and the Tenn Loan Claimholders from objecting to any provision in any ABL DIP
               Financing relating to any provision or content ofa plan of reorganization or liquidation that are inconsistent
               with this Agreement and (iv) the tem1s of such ABL D[P Financing or use of Cash Collateral do not require
               any Obligor to seek any approval for any plan of reorganization or liquidation that is inconsistent with the
               tem1s of this Agreement.

                                         (c)       Each Junior Collateral Agent, for itself and on behalf of its Re lated
               Claimholders, agrees that it and its Related Claimholders will not seek consultation rights in connection
               with, and will raise no objection or oppose or contest (or join with or support any third party objecting,
               opposing or contesting), a motion to sell, liquidate or otherwise Dispose of Collate ral in which the Junior
               Claimholders have a Junior Lien under Section 363 of the Bankruptcy Code if the requisite Senior
               Claimholders have consented to such sale, liquidation or other Disposition; provided that (1) to the extent
               the net cash proceeds of such sale or other Disposition are used to pay the principal amount of Indebtedness
               for borrowed money constituting Senior Obligations, or to reimburse disburseme nts under, or cash
               collateralize the face an10unt of, the Letters of Credit constituting Senior Obligations, the Liens of the Junior
               Claimholders shall attach to any remaining proceeds and (2) such motion does not impair the rights of the
               Junior Claimholders unde r Section 363(k) of the Bankruptcy Code; and provided, further, however, that
               the Junior Claimholders may assert any objection with respect to any proposed orders to retain professionals
               or set bid or related procedures in connection with such sale, liquidation or Disposition that may be raised
               by an unsecured creditor of the Obligors.

                                6.2      Relief from the Automatic Stav. Until the Discharge of Senior Obligations has
               occurred, each Junior Collateral Agent, on behalf of itself and its Related Claimholders agrees that none
               of them shall (a) seek (or support any other Person seeking) relief from or modification of the automatic
               stay or any other stay in any Insolvency or Liquidation Proceeding in respect of any of the Collateral in
               which a Junior Claimholde r has a Junior Lien, in each case without the prior written conse nt of the
               Directing Senior Collateral Agent, or (b) oppose (or support any other Person in opposing) any request by
               any Senior Collateral Agent for relief from or modification of such stay.




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                                6.3    Adequate Protection.

                              (a)      The ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
               Claimholders, agrees that none of them shall contest (or support any other Person contesting):

                               (i)    any request by any Term Loan Collateral Agent or the other Term Loan
                       Claimholders for adequate protection with respect to the Term Loan Priority Collateral unde r any
                       Debtor Relief Law; or

                                (ii)   any objection by any Term Loan Collateral Agent or the other Term Loan
                       Claimholders to any motion, relief, action or proceeding based on such Term Loan Collateral
                       Agent or the other Term Loan Claimholders claiming a lack of adequate protection with respect
                       to the Term Loan Priority Collateral.

                               (b)     Notwithstanding the foregoing provisions in Section 6.3(a), in any Insolvency or
               Liquidation Proceeding:

                                 (i)    if the Term Loan Claimholders (or any subset thereof) are granted adequate
                       protection with respect to the Term Loan Priority Collateral in the form of a Lien on additional or
                       replacement collateral in connection with any use of Cash Collateral or DIP Financing, then the
                       ABL Credit Agreement Collateral Agent, on behalf of itself and its Re lated Claimholders, may
                       seek or request adequate protection in the form of a Lien on such additional or replacement
                       collateral, which Lien will be subordinated to the Liens securing the Term Loan Obligations and
                       such use of Cash Collateral or DIP Financing (and all obligations relating the reto) on the same
                       basis as the other Liens securing the ABL Obligations are so subordinated to the Liens on the
                       Term Loan Priority Collateral securing the Term Loan Obligations under this Agreement; and

                                 (ii)    the ABL Credit Agreement Collateral Agent and the other ABL Claimholders
                       shall only be permitted to seek adequate protection with respect to their respective rights in the
                       Term Loan Priority Collateral in any Insolvency or Liquidation Proceeding in the form of (A)
                       additional collateral; provided that as adequate protection for the Tenn Loan Obligations, each
                       Term Loan Collateral Agent, on behalf of itse lf and its Related Claimholders, is also granted a
                       Lien on such additional collateral that is senior to any Lien granted to the ABL Credit Agreement
                       Collateral Agent and the other ABL Claimholders; (B) replacement Liens on the Term Loan
                       Priority Collateral; provided that as adequate protection for the Term Loan Obligations, each
                       Term Loan Collateral Agent, on behalf of itself and its Related Claimholders, is also granted
                       replacement Liens on the Tenn Loan Priority Collateral that are senior to any Lien granted to the
                       ABL Credit Agreement Collateral Agent and the other ABL Claimholde rs; (C) an administrative
                       expense claim in respect of the Tenn Loan Priority Collateral; provided that as adequate
                       protection for the Tenn Loan Obligations, each Term Loan Collateral Agent, on behalf of itself
                       and its Related Claimholders, is also granted an administrative expense claim that is senior and
                       prior to the administrative expense claim of the ABL Credit Agreement Collateral Agent and the
                       other ABL Claim.holders; (D) cash payments made with Te rm Loan Priority Collateral with
                       respect to current fees and expe nses; provided that (1) as adequate protection for the Term Loan
                       Obligations, each Term Loan Collateral Agent, on behalf of itself and its Related Claimholders, is
                       also granted cash payments made with Term Loan Priority Collateral with respect to current fees
                       and expenses and (2) each Te rm Loan Collateral Agent may object to the amounts offees and
                       expenses sought by the ABL Credit Agreement Collateral Agent and the other ABL
                       Claimholders; and (E) cash payme nts made with Term Loan Priority Collateral with respect to
                       inte rest on the ABL Obligations; provided that (1) as adequate protection for the Term Loan
                       Obligations, each Term Loan Collateral Agent, on behalf of itself and its Related Claimholders, is

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                       also granted cash payments made with Tenn Loan Priority Collateral with respect to interest on
                       the Term Loan Obligation represented by it, and (2) such cash payments do not exceed an amount
                       equal to the interest accruing on the principal amount of ABL Obligations outstanding on the date
                       such re lief is granted at the inte rest rate under the applicable ABL Documents and accruing from
                       the date the ABL Credit Agreement Collateral Agent is granted such re lief.

                              (c)      Each Tem1 Loan Collateral Agent, on behalfof itself and its Related
               Claimholders, agrees that none of them shall contest (or support any other Person contesting):

                               (i)    any request by the ABL Credit Agreement Collateral Agent or the other ABL
                       Claimholders for adequate protection with respect to the ABL Priority Collateral under any
                       Debtor Relief Law; or

                                (ii)    any objection by the ABL Credit Agreeme nt Collate ral Agent or the other ABL
                       Claimholders to any motion, relief, action or proceeding based on the ABL Credit Agreement
                       Collate ral Agent or the other ABL Claimholde rs claiming a lack of adequate protection with
                       respect to the ABL Priority Collateral.

                               (d)     Notwithstanding the foregoing provisions in Section 6.3(c), in any Insolvency or
               Liquidation Proceeding:

                                  (i)    if the ABL Claimholders (or any subset thereof) are granted adequate protection
                       with respect to the ABL Priority Collateral in the fonn of a Lien on additional or replacement
                       collate ral in connection with any use of Cash Collate ral or DIP Financing, then each Term Loan
                       Collateral Agent, on behalf of itself and its Related Claimholders, may seek or request adequate
                       protection in the fonn of a Lien on such additional or replacement collateral, which Lien will be
                       subordinated to the Liens securing the ABL Obligations and such use of Cash Collateral or DIP
                       Financing (and all obligations relating thereto) on the same basis as the other Liens securing the
                       Term Loan Obligations are so subordinated to the Liens on the ABL Priority Collate ral securing
                       the ABL Obligations unde r this Agreement; and

                                 (ii)    each Term Loan Collateral Agent and the other Term Loan Claimholde rs shall
                       only be permitted to seek adequate protection with respect to their respective rights in the ABL
                       Priority Collateral in any Insolvency or Liquidation Proceeding in the fom1 of (A) additional
                       collate ral; provided that as adequate protection for the ABL Obligations, the ABL Credit
                       Agreement Collateral Agent, on behalf of itse lf and its Related Claimholders, is also granted a
                       Lien on such additional collateral that is senior to any Lien granted to the Term Loan Collateral
                       Agents and the other Term Loan Claimholde rs; (B) replace ment Liens on the ABL Priority
                       Collateral: provided that as adequate protection for the ABL Obligations, the ABL Credit
                       Agreement Collateral Agent, on behalf of itself and its Re lated Claimholders, is also granted
                       replacement Liens on the ABL Priority Collateral that are senior to any Lien granted to the Term
                       Loan Collateral Agents and the other Term Loan Claimholders; (C) an administrative expense
                       claim in respect of the ABL Priority Collateral; provided that as adequate protection for the ABL
                       Obligations, the ABL Credit Agreeme nt Collate ral Agent, on behalf of itself and its Re lated
                       Claimholders, is also granted an administrative expense claim that is senior and prior to the
                       administrative expense claim of the Term Loan Collateral Agents and the other Term Loan
                       Claimholde rs; (D) cash payments made with ABL Priority Collate ral with respect to current fees
                       and expenses: provided that (1) as adequate protection for the ABL Obligations, the ABL Credit
                       Agreement Collateral Agent, on behalf of itself and its Re lated Claimholders, is also granted cash
                       payments made with ABL Priority Collateral with respect to current fees and expenses and (2)
                       each ABL Collate ral Agent may object to the amounts offees and expenses sought by the Term

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                       Loan Collateral Agents and the other Tenn Loan Claimholders; and (E) cash payments made with
                       ABL Priority Collateral with respect to interest on the Tem1 Loan Obligations; provided that (l)
                       as adequate protection for the ABL Obligations, the ABL Credit Agreement Collate ral Agent, on
                       behalf of itself and its Related Claimholders, is also granted cash payments made with ABL
                       Priority Collateral with respect to inte rest on the ABL Obligation represented by it, and (2) such
                       cash payments do not exceed an amount equal to the interest accruing on the principal an10unt of
                       Term Loan Obligations outstanding on the date such relief is granted at the interest rate under the
                       applicable Te rm Loan Documents and accruing from the date the Term Loan Collateral Agents
                       are granted such relief.

                                 6.4      No Waiver. Subject to Section 6.7(b), nothing contained herein shall prohibit or
               in any way limit any Senior Collateral Agent or any other Senior Claimholder from objecting in any
               Insolvency or Liquidation Proceeding or otherwise to any action taken by any Junior Collateral Agent or
               any othe r Junior Claimholders, including the seeking by any Junior Collateral Agent or any other Jw1ior
               Claimholde rs of adequate protection or the asserting by any Junior Collate ral Age nt or any other Junior
               Claimholders of any of its rights and remedies under the Junior Financing Documents or otherwise, in
               each case in respect of such Junior Claimholder' s Liens in respect of the Collate ral in which a Junior
               Claimholder has a Junior Lien . Without limiting the foregoing, notwithstanding anything herein to the
               contrary, the Senior Claimholders shall not be deemed to have consented to, and expressly retain their
               rights to object to, the grant of adequate protection in the form of cash payments to the Junior
               Claimholders made pursuant to Section 6.3(b) or .{g1 as applicable.

                                 6 .5   Reinstatement. If any Senior Claimholder of any Series is required in any
               Insolvency or Liquidation Proceeding or otherwise to tum over or other.vise pay to the estate of any
               Obligor any amount paid in respect of its Senior Obligations (a "Recovery"), then such Senior
               Claimholder shall be entitled to a reinstatement of its Senior Obligations with respect to a.JI such
               recove red amounts on the date of such Recovery, and from and after the date of such reinstateme nt the
               Discharge of such Series of Senior Obligations and the Discharge of such Series of Term Loan
               Obligations or the Discharge of ABL Obligations, as applicable, shall be deemed not to have occurred for
               a.JI purposes hereunder. If this Agreement shall have been te rminated prior to such Recovery, this
               Agreement shall be reinstated in full force and effect, and such prior termination shall not diminish,
               release, discharge, impair or other.vise affect the obligations of the parties hereto from such date of
               reinstatement. Any amounts received by any Junior Collateral Agent or any other Junior Claimholder on
               account of the Junior Obligations afte r the termination of this Agreement shall, upon a reinstateme nt of
               this Agreement pursuant to this Section 6.5, be held in trust for and paid over to the Directing Senior
               Collateral Agent for the benefit of the Senior Claimholders, for application to the reinstated Senior
               Obligations. This Section 6.5 shall survive tem1ination of this Agreement.

                                 6.6     Reorganization Securities. If, in any Insolvency or Liquidation Proceeding, debt
               obligations of the reorganized debtor secured by Liens upon any prope rty of the reorganized debtor are
               distributed pursuant to a plan of reorganization, arrangement, compromise or liquidation or similar
               dispositive restructuring plan, both on account of ABL Obligations and on account of Term Loan
               Obligations, then, to the e)rtent the debt obligations distributed on account of the ABL Obligations and on
               account of the Term Loan Obligations are secured by Liens upon the same property, the provisions of this
               Agreement will survive the distribution of such debt obligations pursuant to such plan and will apply with
               like effect to the Liens securing such debt obligations.

                                6.7     Post-Petition Interest.

                                (a)      Each Junior Collateral Agent, for itself and on behalf of its Related Claimholders,
               agrees that neither it nor its Related Claimholde rs shall oppose or seek to challenge (or join with any other

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               Person opposing or challenging) any claim by any Senior Collateral Agent or any other Senior
               Claimholder for allowance in any Insolvency or Liquidation Proceeding of Senior Obligations consisting
               of Post-Petition Inte rest to the extent of the value of the Senior Claimholders' Lien on the Collateral in
               which a Senior Claimholder has a Senior Lien. Regardless of whether any such claim for Post-Petition
               Inte rest is allowed or allowable, and without limiting the gene rality of the other provisions of this
               Agreement, this Agreement expressly is intended to include, and does include the "rule of explicitness,"
               and is intended to provide the Senior Claimholders with the right to receive payment of all Post-Petition
               Interest through distributions made pursuant to the provisions of this Agreement on account of the
               Collateral in which a Senior Claimholder has a Senior Lien even though such Post-Petition Interest may
               not be not allowed or allowable against the bankruptcy estate of any Borrower or any other Obligor under
               Section 502(b)(2) or Section 506(b) of the Bankruptcy Code or under any other provision of the
               Bankruptcy Code or any other Debtor Relief Law.

                                (b)    Subject to Sections 6.3(b) and (d), none of any Senior Collateral Agent nor any
               of its Related Claimholders shall oppose or seek to challenge any claim by any Junior Collate ral Agent or
               any othe r Junior Claimholder for allowance in any Insolvency or Liquidation Proceeding of Junior
               Obligations consisting of Post-Petition Inte rest to the extent of the value of the Lien of any Junior
               Collateral Agent, on behalf of the Junior Claimholders, on the Junior Claimholders Lien on the Collateral
               in which a Junior Claimholder has a Junior Lien (after taking into account the an10unt of the Senior
               Obligations).

                               6.8      Waivers. (a) Each Junior Collateral Agent, for itself and on behalf of its Related
               Junior Claimholders, waives any claim it or its Related Claimholders may hereafter have against any
               Senior Claimholder arising out of (a) the election of any Senior Claimholder of the application of
               Section 111 l(b)(2) of the Bankruptcy Code with respect to any Collateral in which a Senior Claimholder
               has a Senior Lien or (b) any cash collateral or financing arrangement, or any grant of a security interest in
               connection with the Collateral in which a Senior Claimholde r has a Senior Lien, in any Insolvency or
               Liquidation Proceeding so long as such actions are not in express contravention of the tem1s of this
               Agreement.

                                 (b)      Each Junior Collateral Agent, for itself and on behalf of its Related Claimholders,
               agrees that it will not assert or enforce any claim under Section 506(c) of the Bankruptcy Code or any
               similar provision of any othe r Debtor Relief Law senior to or on a parity with the Senior Liens on the
               Collateral in which a Senior Claimholder has a Senior Lien securing the Senior Obligations for costs or
               expenses of preserving or disposing of any such Collateral.

                                 6.9     Separate Grants of Securitv and Separate Classification. Each Junior Collateral
               Agent, for itself and on behalf of its Re lated Claimholders, and each Senior Collateral Agent, for itself
               and on behalf of its Related Claimholde rs, acknowledges and agrees that:

                               (a)     the grants of Liens pursuant to the Senior Collateral Documents and the Junior
                       Collateral Documents constitute, and, in the case of the Shared Collateral Documents, are
                       intended to constitute, two separate and distinct grants of Liens; and

                               (b)      because of, among other things, their differing rights in the Collateral, the Junior
                       Obligations are fundamentally differe nt from the Senior Obligations and must, subject to
                       applicable law, be separately classified in any plan of reorganization proposed or adopted in an
                       Insolvency or Liquidation Proceeding.

                                  To further effectuate the intent of the parties as provided in the immediate ly preceding
               sentence, if it is held that the claims of the Senior Claimholders and the Junior Claimholders in respect of

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               any Collateral constitute only one secured claim (rather than separate classes of senior and junior secured
               claims), then each of the parties hereto hereby acknowledges and agrees that, subject to Sections 2.1 and
               t i all distributions shall be made as if there were separate classes of senior and junior secured claims
               against the Obligors in respect of such Collateral with the effect being that, to the e:\.1:e nt that the
               aggregate value of the Collateral in which a Senior Claimholder has a Senior Lien is sufficie nt (for this
               purpose ignoring all claims held by the Junior Claimholders), the Senior Claimholders shall be entitled to
               receive, in addition to amounts distributed to them in respect of principal, pre-petition interest and other
               claims, all amounts owing (or that would be owing if there were such se parate classes of senior and junior
               secured claims) in respect of Post-Petition Interest, including any additional interest payable pursuant to
               the Senior Financing Documents arising from or related to a default, regardless of whether any such claim
               is allowed or allowable in any Insolvency or Liquidation Proceeding, before any distribution is made in
               respect of the claims he ld by the Junior Claimholders with respect to such Collateral, with each Junior
               Collate ral Agent, for itself and on be half of its Re lated Claimholders, he reby acknowledging and agreeing
               to tum over to the Directing Senior Collateral Agent, for itself and on behalf of the Senior Claimholders,
               such Collateral or proceeds of such Collateral or any othe r distribution (whether or not e xpressly
               characte rized as such) i.n respect of such Collate ral, othe rwise received or receivable by them to the e:\.1:ent
               necessary to effectuate the intent of this sentence, even if such turnover has the effect of reducing the
               claim or recove ry of the Junior Claimholders.

                                6.10     Effectivene ss in lnsolvencv or Liquidation Proceedings. The parties
               acknowledge that this Agreement is a "subordination agreement" under Section 510(a) of the Bankruptcy
               Code and under comparable provisions of any other applicable Debtor Relief Law, which will be effective
               before, during and after the commencement of any Insolvency or Liquidation Proceeding. All references
               in this Agreement to any Obligor will include such Person as a debtor-in-possession and any receiver or
               trustee for such Person in any Insolvency or Liquidation Proceeding.

                                SECTION 7.          Reliance; Waivers; Etc .

                                7.1     Reliance . Othe r than any re liance on the te rms of this Agreement, each ABL
               Collateral Agent, on behalf of itself and its Related Claimholders, acknowledges that it and its Related
               Claimholders have, independently and without reliance on any Term Loan Collateral Agent or any other
               Term Loan Claimholder, and based on documents and information deemed by them appropriate, made
               their own credit analysis and decision to enter into each of the ABL Documents (as applicable) and be
               bound by the tem1s of this Agreement, and they will continue to make their own credit decision in ta.king
               or not taking any action under the ABL Documents or this Agreement. Each Te rm Loan Collate ral
               Agent, on behalf of itself and its Related Claimholders, acknowledges that it and its Related Claimholders
               have, independently and without reliance on the ABL Credit Agreement Collateral Agent or any other
               ABL Claimholde r, and based on documents and information deemed by them appropriate, made their
               own credit analysis and decision to enter into each of tl1e Tenn Loan Documents and be bound by the
               terms of this Agreement, and they will continue to make their own credit decision in taking or not ta.king
               any action under the Te rm Loan Documents or this Agreement.

                                7.2      No Warranties or Liabilitv.

                                (a)      Each ABL Collateral Agent, on behalf of itself and its Re lated Claimholders,
               acknowledges and agrees tilat, except as set forth in Section 8.14, no Term Loan Collateral Agent or othe r
               Term Loan Claimholders have made any express or implied representation or warranty, including with
               respect to the execution, validity, legality, completeness, collectability or enforceability of any of the
               Term Loan Documents, the ownership of any Collateral or the perfection or priority of any Liens thereon.
               The Tenn Loan Claimholders will be entitled to manage and supervise their respective e:\.1:ensions of


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               credit under the Tenn Loan Documents in accordance w ith law and as they may otherwise , in their sole
               discretion, deem appropriate.

                                  (b)     Each Tem1 Loan Collateral Agent, on behalfof itself and its Related
               Claimholders, acknowledges and agrees that, except as set forth in Section 8.14, neither the ABL Credit
               Agreement Collateral Agent nor other ABL Claimholde rs have made any express or implied
               representation or warranty, including with respect to the execution, validity, legality, completeness,
               collectability o r enforceability of any of the ABL Documents, the ownership of any Collateral or the
               perfection or priority of any Liens the reon. The ABL Claimholde rs w ill be entitled to manage and
               supervise their respective loans and el\.iensions of credit under the ABL Documents in accordance with
               law and as they may otherw ise, in the ir sole discretion, deem appropriate.

                               (c)      The Term Loan Collateral Agents and the other Te m1 Loan Claimholders shall
               have no duty to the ABL Collateral Agents or any of the other ABL Claimholders, and the ABL Credit
               Agreement Collateral Agent and the othe r ABL Claimholders shall have no duty to the Te rm Loan
               Collateral Agents or any of the other Term Loan Claimholde rs, to act or refrain from acting in a manne r
               which allows, or results in, the occurrence or continuance of an event of default or default under any
               agreements w ith any Obligor (including the ABL Financing Docume nts and the Term Loan Financing
               Documents, but in each case other than this Agreement), regardless of any knowledge thereof which they
               may have or be charged with.

                               7.3      No Waiver of Lien Priorities .

                                (a)     No right of the Senior Collateral Agents or any other Senior Claimholders, or any
               of them, to enforce any provision of this Agreement or of any Senior Financing Document with respect to
               their Liens on the Collateral in which a Senior Claimholder has a Senior Lien shall at any time in any ·way
               be prejudiced or impaired by any act or failure to act on the part of any Obligor or by any act or failure to
               act by any Senior Collateral Agent or any other Senior Claimholder, or by any noncompliance by any
               Person with the tem1s, provisions and covenants of this Agreement, any of the Senior Financing
               Docume nts or any of the Junior Financing Documents, regardless of any knowledge thereof which the
               Senior Collateral Agents or the other Senior Claimholders, or any of them, may have or be otherwise
               charged with.

                                 (b)      Without in any way limiting the generality of the foregoing paragraph (a) (but
               subject to the rights of the Senior Obligors under the Senior Financing Documents and subject to the
               provisions of Section 5.3(a)), the Senior Collateral Agents and the other Senior Claimholders, or any of
               them, may at any time and from time to time in accordance with the Senior Financing Documents and/or
               applicable law, without the consent of, or notice to, any Junior Collateral Agent or any other Junior
               Claimholders, without incurring any liabilities to any Junior Collateral Agent or any other Junior
               Claimholders and w ithout impairing or re leasing the Lien priorities and other benefits provided in this
               Agreement (even if any right of subrogation or other right or remedy of any Junior Collateral Agent or
               any othe r Junior Claimholders is affected , impaired or extinguished thereby) do any one or more of the
               follow ing:

                               (1)      make loans and advances to any Obligor o r issue, provide or obtain Letters of
                       Credit for the account of any Obligor or otherwise extend credit to any Obligor, in any amount
                       and on any terms, whether pursuant to a commitment or as a discretionary advance and whethe r
                       or not any default or event of default or failure of condition is then continuing;

                             (2)       change the manne r, place or terms of payme nt of, or change or extend the time of
                       payment of, or amend, renew, exchange, increase or alte r the terms of, any of the Senior

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                         Obligations or any Lien on any Collateral in which a Senior Clairnholder has a Senior Lien or
                         guaranty thereof or any liability of any Obligor, or any liability incurred directly or indirectly in
                         respect thereof (including any increase in or extension of the Senior Obligations, without any
                         restriction as to the tenor or tenns of any such increase or extension) or otherwise amend, renew,
                         exchange, extend, modify or supplement in any manner any Liens he ld by any Senior Collateral
                         Agent or any of the other Senior Clairnholders, the Senior Obligations or any of the Senior
                         Financing Documents;

                                 (3)     sell, exchange, release, surrender, realize upon, enforce or otherwise deal with in
                         any manner and in any order any part of the Collateral in which a Senior Claimholder has a
                         Senior Lien or any liability of any Obligor to any Senior Collateral Agent or any other Senior
                         Claimholders, or any liabi lity incurred directly or indirectly in respect thereof;

                                 (4)      settle or compromise any Senior Obligation or any other liability of any Obligor
                         or any security the refor or any liability incurred directly or indirectly in respect thereof and apply
                         any sums by whomsoever paid and however realized to any liability (including the Senior
                         Obligations) in any manne r or order;

                                 (5)      exercise or delay in or refrain from exercising any right or remedy against any
                         Obligor or any security or any other Person or with respect to any security, elect any remedy and
                         otherwise deal freely with any Obligor or any Collateral in which a Senior Clairnholder has a
                         Senior Lien and any security and any guarantor or any liability of any Obligor to the Senior
                         Claimholders or any liability incurred directly or indirectly in respect thereof; and

                                (6)     release or discharge any Senior Obligation or any guaranty thereof or any
                         agreement or obligation of any Obligor or any other Person or entity with respect thereto.

                                  (c)     Until the Discharge of Senior Obligations, each Junior Collateral Agent, on
                behalf of itself and its Related Claimholders, agrees not to assert and hereby waives, to the fullest ex'tent
                pennitted by law, any right to demand, request, plead or otherwise assert or otherwise claim the benefit
                of, any marshalling, appraisal, valuation or other similar right that may otherwise be available under
                applicable law with respect to the Collateral on which it has a Junior Lien or any other similar rights a
                junior secured creditor may have under applicable law.

                                   7. 4   Waiver of Liabi Iitv.

                                   (a)     Each Junior Collateral Agent, on behalf of itself and its Related Claimholders,
                agrees that the Senior Collateral Agents and the other Senior Claimholders shall have no liability to any
                Junior Collateral Agent or any other Junior Claimholders, and each Junior Collateral Agent, on behalf of
                itself and its Related Junior Claimholders, hereby waives any claim against any Senior Collateral Agent
                or any other Senior Clairnholder, arising out of any and all actions which any Senior Collateral Agent or
                any other Senior Claimholders may take or pe rmit or omit to take with respect to: (i) the Se nior
                Financing Documents (including, without limitation, any failure to perfect or obtain perfected security
                inte rests in the Collateral in which a Senior Claimholder has a Senior Lien), (ii) the collection of the
                Senior Obligations or (iii) the foreclosure upon, or sale, liquidation or other Disposition of, any Collateral
                in which a Senior Claimholder has a Senior Lien. Each Junior Collateral Agent, on behalf of itself and its
                Related Claimholders, also agrees that the Senior Collateral Agents and the other Senior Claimholders
                have no duty, express or implied, fiduciary or otherwise, to them in respect of the maintenance or
                preservation of the Collateral in which a Senior Claimholder has a Senior Lien, the Senior Obligations or
                otherwise. Neither the Senior Collateral Agents nor any other Senior Claimholder nor any of their
                respective directors, officers, employees or agents will be liable for failure to demand, collect or realize

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               upon any of the Collateral in which a Senior Claimholder has a Senior Lien or for any delay in doing so,
               or will be under any obligation to sell or otherwise Dispose of any such Collateral upon the request of any
               Obligor or upon the request of any Junior Collateral Agent, any other Junior Claimholder or any other
               Person or to take any other action whatsoeve r with regard to such Collateral or any part thereof. Without
               limiting the foregoing, each Junior Collateral Agent, on behalf of itse lf and its Related Claimholders,
               agrees that neither any Senior Collate ral Agent nor any other Senior Claimholde r (in directing its Senior
               Collateral Agent to take any action with respect to the Collateral in which a Senior Claimholder has a
               Senior Lien) shall have any duty or obligation to realize first upon any Collateral in which a Senior
               Claimholder has a Senior Lien or to sell or othen vise Dispose of all or any portion of such Collateral in
               any man.ner, including as a result of the application of the principles of marshaling or othen:vise, that
               would maximize the return to any Senior Claimholders or any Junior Claimholders, notwithstanding that
               the order and timing of any such realization, sale or other Disposition may affect the an10unt of proceeds
               actually received by such Claimholders from such realization, sale or other Disposition.

                                 (b)      With respect to its share of the ABL Obligations, UBS shall have and may
               exercise the same rights and powers here under as, and shall be subject to the same obligations and
               liabilities as and to the extent set forth herein for, any other ABL Claimholde r, all as if UBS were not the
               ABL Credit Agreement Collateral Agent. With respect to its share of the First Lien Obligations, UBS
               shall have and may exe rcise the same rights and powers hereunder as, and shall be subject to the same
               obligations and liabilities as and to the extent set forth herein for, any other First Lien Claimholder, all as
               if UBS were not the First Lien Credit Agreement Collateral Agent. With respect to its share of the
               Second Lien Obligations, GS shall have and may exercise the same rights and powers hereunder as, and
               shall be subject to the same obligations and liabilities as and to the eJ\.1ent set forth he rein for, any other
               Second Lien Claimholder, all as if GS were not the Second Lien Credit Agreement Collateral Agent. The
               tern1 "Claimholders" or any similar tern1 shall, unless the context clearly othe rwise indicates, include
               UBS and GS, each in its individual capacity as a Claimholde r. UBS, GS and their respective Affiliates
               may lend money to, and generally engage in any kind of business with, the Obligors or any of their
               Affiliates as if UBS were not acting as the ABL Credit Agreement Collateral Agent, UBS we re not acting
               as the First Lien Credit Agreement Collateral Agent and GS were not acting as the Second Lien Credit
               Agreement Collateral Agent and without any duty to account therefor to any other Claimholder.

                                 7.5     Obligations Unconditional. All rights, interests, agreements and obligations of
               the ABL Credit Agreement Collateral Agent and the othe r ABL Claimholders and the Term Loan
               Collateral Agents and the other Te rm Loan Claimholders, respectively, hereunder (including the Lien
               priorities established hereby) shall remain in full force and effect irrespective of:

                             (a)        any lack of validity or enforceability of any ABL Documents or any Te rm Loan
                       Docume nts;

                                (b)      any change in the time, manner or place of payment of, or, subject to the
                       limitations set forth in Section 5. 3, in any othe r te rms of, all or any of the ABL Obligations or
                       Term Loan Obligations, or any amendment or waiver or other modification, including any
                       increase in the amount thereof, whether by course of conduct or otherwise, of the tem1s of any
                       ABL Document or any Term Loan Document;

                                (c)      any exchange of any security interest in any Collateral or any other collateral, or
                       any amendment, waiver or other modification, whethe r in writing or by course of conduct or
                       otherwise, of all or any of the ABL Obligations or Te rm Loan Obligations or any guaranty
                       thereof;



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                              (d)      the commencement of any Insolvency or Liquidation Proceeding in respect of
                       any Obligor; or

                                (e)    any other circumstances which otherwise might constitute a defense available to,
                       or a discharge of, any Obligor in respect of the ABL Credit Agreement Collateral Agent, any
                       other ABL Claimholder, the ABL Obligations, any Te rm Loan Collateral Agent, any other Term
                       Loan Claimholder or the Term Loan Obligations in respect of this Agreement.

                                SECTIONS.            Miscellaneous.

                                8.1     Conflicts.

                               (a)      Subject to Section 8.1 (b). in the event of any conflict or inconsistency between
               the provisions of this Agreement and the provisions of the ABL Documents or the Te rm Loan
               Docume nts, the provisions of this Agreement shall govern and control.

                                 (b)     The parties hereto acknowledge, authorize and consent to the entry by the Tern1
               Loan Collateral Agents into the First Lien/Second Lie n Intercreditor Agreement and any other
               inte rcreditor agreement sole ly among the Term Loan Collateral Agents (or any subset of them). In the
               event of any conflict or inconsistency between the provisions of this Agreement and the provisions of the
               First Lien/Second Lien Intercreditor Agreement or such other intercreditor agreement with respect to the
               rights and obligations of the Tern1 Loan Collateral Agents and the other Term Loan Claimholders (or any
               subset of them) to each other in respect of the Term Loan Collateral, the provisions of the First
               Lien/Second Lien Intercreditor Agreement or such other intercreditor agreement shall control.

                                 8.2     Effectiveness: Continuing Nature ofthis Agreement: Severabilitv. This
               Agreement shall become effective when executed and delivered by the parties hereto. This is a
               continuing agreement of Lien subordination and each of the ABL Claimholders and the Term Loan
               Claimholders may continue, at any time and without notice to any Term Loan Collateral Agent or any
               other Te rm Loan Claimholder or any ABL Collateral Agent or any other ABL Claimholder, to e>..'tend
               credit and other financial accommodations and lend monies to or for the benefit of any Obligor
               constituting ABL Obligations and/or Term Loan Obligations in reliance hereon. Each Term Loan
               Collateral Agent, on behalf of itself and its Related Claimholders, hereby waives any right it may have
               under applicable law to revoke this Agreement or any of the provisions of this Agreement. Each ABL
               Collateral Agent, on behalf of itself and its Related Claimholders, he reby waives any right it may have
               under applicable law to revoke this Agreement or any of the provisions of this Agreement. The terms of
               this Agreement shall survive, and shall continue in full force and effect, in any Insolvency or Liquidation
               Proceeding. Any provision ofthis Agreement that is prohibited or unenforceable in any jurisdiction shall
               not invalidate the remaining provisions hereof, and any such prohibition or unenforceability in any
               jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction. All
                references to any Obligor shall include such Obligor as debtor and debtor-in-possession and any receiver,
               trustee or similar Person for any Obligor (as the case may be) in any Insolvency or Liquidation
               Proceeding. This Agreement shall terminate and be ofno further force and effect:

                               (a)      with respect to the ABL Credit Agreement Collateral Agent, the other ABL
                       Claimholders and the ABL Obligations, upon the Discharge of ABL Obligations, subject to
                       Section 5.6 and the rights of the ABL Claimholders under Section 6.5; and

                              (b)     with respect to any Term Loan Collateral Agent, the other Tenn Loan
                       Claimholders and the Tem1 Loan Obligations of any Series, upon the Discharge of such Series of
                       Term Loan Obligations.

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               Notwithstanding the foregoing, such tennination shall not relieve any such party of its obligations
               incurred hereunde r prior to the date of such termination.

                                 8.3      Amendments: Waivers. Neither this Agreement nor any provision hereof may be
               amended, modified or waived except pursuant to an agreement or agreements in writing entered into by
               the ABL Credit Agreement Collateral Agent and each Te rm Loan Collateral Agent then party hereto;
               provided that (a) the ABL Credit Agreement Collateral Agent and the Directing Term Loan Collateral
               Agent may, at the reasonable expense of the Obligors and w ithout the w ritten consent of any other ABL
               Claimholder, any other Te rm Loan Claimholder or any Obligor, agree to any amendment to or other
               modifications of this Agreement for the purpose of giving effect to Section 8.21 or any Refinancing of
               any ABL Obligations or Term Loan Obligations, (b) any Additional Lien Obligations Agent may become
               party hereto by execution and delivery of a Joinder Agreement in the form of Exhibit B hereto in
               accordance with the provisions of Section 8.21 and (c) additional Obligors may be added as parties hereto
               upon the execution and delivery of a counterpart of the lntercreditor Joinder Ag reement in the fom1 of
               Exhibit A hereto in accordance with the provisions of Section 8.1 8. Each of the ABL Credit Agreement
               Collateral Agent and the Directing Tem1 Loan Collateral Agent shall execute and deliver an amendment
               or othe r modification of this Agreement at the other's request to pem1it new creditors to become a party
               hereto as set forth in the proviso to the immediately preceding sentence. Notwithstanding the provisions
               of any other ABL Document or Te nn Loan Document, the ABL Credit Agreement Collateral Agent and
               the Directing Te rm Loan Collateral Agent may, with the consent of the Top Borrower, make any
               amendments, restatements, amendment and restatements, supplements o r other modifications to this
               Agreement to correct any ambiguity, defect or inconsistency contained herein w ithout the consent of any
               other Person. Each ·waiver of the terms of this Agreement, if any, shall be a waiver only w ith respect to
               the specific instance involved and shall in no way impair the rights of the parties making such waiver or
               the obligations of the other parties owed to such party in any other respect or at any other time.
               Notwithstanding the foregoing, no Obligor shall have any right to consent to or approve any amendment,
               modification or waiver of any provision of this Agreement except (x) to the extent such Obligor's rights
               are directly and adversely affected by such amendment, modification or waiver, (y) to the e'-1:ent reducing
               the rights or increasing the obligations of such Obligor or (z) any an1endment, modification or waiver of
               the ABL DIP Cap Amount or the Te rm Loan DCP Cap Amount, if the effect of such amendment,
               modification or waiver is to reduce the amount thereof from the amount thereof in effect on the date
               hereof; provided, however, that the Top Borrower shall be given notice of any amendment, modification
               or waiver of this Agreement promptly after the effectiveness the reof (it being understood that the failure
               to deliver such notice to the Top Borrower shall in no way impact the effectiveness of any such
               amendment, modification or waiver). To the extent pem1itted by the provisions of the ABL Financing
               Docume nts and the Term Loan Documents, the Borrowers may incur additional ABL Obligations unde r
               one or more debt facilities junior to the ABL Credit Agreement ("Junior ABL Obligations"). In
               connection w ith any such incurrence this Agreement shall be amended, at the Borrowers' expense (to the
               extent provided in the applicable Financing Documents), to join the agent or re presentative of such Junior
               ABL Obligations (a "Junior ABL Agent") as a party hereto on behalf of itself and the holders of such
               Junior ABL Obligations and to make other necessary an1endments to iliis Agreement where customary
               and appropriate. Such amendments shall provide that upon any such Junior ABL Agent becoming a party
               hereto, all obligations of such Series of Junior ABL Obligations shall be secured by a Lien on the
               Collateral in accordance with tile terms hereof and the Junior ABL Agent and the holders of such Junior
               ABL Obligations shall be subject to the tenns of this Agreement to the same e,_1:ent vis-a-vis the Tenn
               Loan Claimholders and Tenn Loan Collateral Agents as the ABL Lenders and ABL Credit Agreement
               Collateral Agent are bound hereby.

                               8.4    lnfonnation Concerning Financial Condition of the Obligors and their
               Subsidiaries. The ABL Credit Agreement Collateral Agent and the other ABL Claimholders, on the one
               hand, and the Term Loan Collateral Agents and the other Term Loan Claimholders, on the other hand,

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             shall be responsible for keeping themselves informed of (a) the financial condition of the Obligors and
             their subsidiaries and all endorse rs and/or guarantors of the ABL Obligations or the Tem1 Loan
             Obligations and (b) all other circumstances bearing upon the risk of nonpayment of the ABL Obligations
             or the Tenn Loan Obligations. ll1e ABL Credit Agreement Collateral Agent, the Tenn Loan Collateral
             Agents, the ABL Claimholders and the Term Loan Claimholders shall have no duty to advise any other
             party of information known to it or them regarding such condition or any such circumstances or
             otherwise. In the event the ABL Credit Agreement Collateral Agent, any Term Loan Collateral Agents,
             any ABL Claimholde rs or any Term Loan Claimholders, in its or the ir sole discretion, undertakes at any
             time or from time to time to provide any such information to any other party, it or they shall be w1der no
             obligation:

                              (i)     to make, and such person shall not make, any express or implied representation
                     or warranty, including with respect to the accuracy, completeness, truthfulness or validity of any
                     such information so provided;

                            (ii)    to provide any additional information or to provide any such information on any
                     subsequent occasion;

                             (iii)   to undertake any investigation; or

                             (iv)    to disclose any information, which pursuant to accepted or reasonable
                     commercial finance practices, such party wishes to maintain confidential or is otherwise required
                     to maintain confidential.

                                8.5    Subrogation. With respect to the value of any payments or distributions in cash,
             property or other assets that any Junior Collateral Agent or any other Junior Claimholder pays ove r to the
             Senior Collateral Agents or the other Senior Claimholders under the terms of this Agreement, such Junior
             Collateral Agent or such other Junior Claimholder shall be subrogated to the rights of each Senior
             Collateral Agent and the other Senior Claimholders; provided that each Junior Collateral Agent, on behalf
             of itself and its Related Claimholders, hereby agrees that neither it nor its Related Claimholders shall
             assert or enforce any such rights of subrogation it may acquire with respect to its Liens on the Collateral
             in which a Junior Claimholder has a Junior Lien as a result of any payment hereunder until the Discharge
             of Senior Obligations has occurred . Each Obligor acknowledges and agrees that the value of any
             payments or distributions in cash, property or other assets rece ived by any Junior Collateral Agent or the
             other Junior Claimholders and paid over to the Senior Collateral Agents or the other Senior Claimholders
             pursuant to, and applied in accordance with, this Agreement, shall not relieve or reduce any of the Junior
             Obligations under the Junior Financing Documents.

                              8.6      Application of Pavments. All payments received by any Senior Collateral Agent
             or the other Senior Claimholders may be applied, reversed and reapplied, in whole or in part, to such part
             of the Senior Obligations as the Senior Claimholders, in their sole discretion, deem appropriate. Each
             Junior Collateral Agent, on behalf of itself and its Related Claimholders, consents to any extension or
             postponement of the time of payment of the Senior Obligations or any part thereof and to any other
             indulgence with respect thereto, to any substitution, exchange or re lease of any security which may at any
             time secure any part of the Senior Obligations and to the addition or release of any other Person primarily
             or secondarily liable therefor.

                              8.7    SUBM]SSION TO JURISDICTION: WAIVERS .

                        (a)   EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL
             AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY

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               IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS (AND THEIR)
               PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY U.S. FEDERAL OR NEW YORK
               STATE COURT SITTING IN THE BOROUGH OF MANHATTAN, IN THE CITY OF NEW
               YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT OR ANY ACTION
               OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, AND
               AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING
               SHALL BE HEARD AND DETERMINED EXCLUSIVELY IN SUCH NEW YORK STATE OR,
               TO THE EXTENT PERMITTED BYLAW, IN SUCH FEDERAL COURT. EACH OF THE
               PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON
               BEHALF OF ITS RELATED CLAIMHOLDERS) AGREES THAT SERVICE OF ANY
               PROCESS, SUMMONS, NOTICE OR DOCUMENTS BY REGISTERED MAIL ADDRESSED
               TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF PROCESS AGAINST SUCH
               PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT.
               EACH OF THE PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR
               ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY IRREVOCABLY
               AND UNCONDITIONALLY WAIVES ANY OBJECTION TO THE LA YING OF VENUE OF
               ANY SUCH SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT AND ANY
               CLAIM THAT ANY SUCH SUIT, ACTION OR PROCEEDING HAS BEEN BROUGHT IN AN
               INCONVENIENT FORUM. EACH OF THE PARTIES HERETO (IN THE CASE OF EACH
               COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
               CLAIMHOLDERS) AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
               PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
               JlJDGMENT OR IN ANY OTHER MANNER PROVIDED BYLAW.

                            (b)  TO THE EXTENT PERMITTED BY LAW, EACH PARTY HERETO (IN
               THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
               RELATED CLAIMHOLDERS) HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF
               ANY AND ALL PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS
               MAY BE MADE BY REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF
               MAIL) DffiECTED TO IT AT ITS ADDRESS FOR NOTICES AS PROVIDED FOR IN
               SECTION 8.8. EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL AGENT,
               FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY WAIVES
               ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
               WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
               COMMENCED HEREUNDER THAT SERVICE OF PROCESS WAS INVALID AND
               INEFFECTIVE. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
               PARTY TO THIS AGREEMENT TO SERVE PROCESS IN ANY OTHER MANNER
               PERMITTED BYLAW.

                           (c)  EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES (IN THE
               CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
               CLAIMHOLDERS), TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
               RIGHT IT (OR THEY) MAY HAVE TO A TRIAL BY JURY IN ANY SUIT, ACTION,
               PROCEEDING OR COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR ANY
               OTHER THEORY) DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
               THIS AGREEMENT, ANY ABL DOCUMENT OR TERM LOAN DOCUMENT OR THE
               TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY. EACH PARTY HERETO (IN
               THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
               RELATED CLAIMHOLDERS) (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
               ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE,
               THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO

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               ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE
               OTHER PARTIES HERETO HA VE BEEN INDUCED TO ENTER INTO THIS AGREEMENT
               BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
               SECTION.

                                  8.8     Notices. All notices to the ABL Claimholders and the Term Loan Claimho lders
               pennitted or required under this Agreement shall also be sent to the related ABL Collateral Agent and the
               related Tenn Loan Collateral Agent, respectively (and, for this purpose, (i) the ABL Credit Agreement
               Collateral Agent shall be deemed to be an agent for the ABL Secured Hedging Obligations and ABL
               Banking Services Obligations, (ii) the Directing First Lien Collateral Agent shall be deemed to be an
               agent for the First Lien Secured Hedging Obligations and the First Lien Bankjng Services Obligations,
               and (iii) the Directing Second Lien Collateral Agent shall be deemed to be an agent for the Second Lien
               Secured Hedging Obligations and the Second Lien Banking Services Obligations). Unless otherwise
               specifically provided herein, any notice hereunder shall be in w riting and may be personally served, sent
               by facsimile or sent by other e lectronic transmission or United States mail or courie r service and shall be
               deemed to have been given when delive red in person or by courier service and signed for against receipt
               thereof, upon rece ipt of facsimile or other electronic transmission, or three (3) Business Days after
               depositing it in the United States mail with postage prepaid and properly addressed. For the purposes
               hereof, the addresses of the parties hereto shall be as set forth be low each party's name on the signature
               pages hereto, or, as to each party, at such othe r address as may be designated by such party in a written
               notice to all of the other parties.

                                 8.9      Further Assurances. The ABL Credit Agreement Collateral Agent, on behalf of
               itself and its Related C laimholders, and each Term Loan Collateral Agent, on behalf of itself and its
               Related Clairnho lders, and each Obligor, agrees that each of them shall take such further action and shall
               execute and deliver such additional documents and instruments (in recordable form, if requested) as the
               ABL Credit Agreement Collate ral Agent or the Directing Te rm Loan Collate ral Agent may reasonably
               request to effectuate the terms of and the Lien priorities contemplated by this Agreement.

                           8.10  CHOICE OF LAW. THIS AGREEMENT, AND ANY CLAIM,
               CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS AGREEMENT
               (WHETHER IN TORT, CONTRACT (AT LAW OR TN EQUITY) OR OTHERWISE), SHALL BE
               GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE LAWS
               OF THE STATE OF NEW YORK.

                                 8.11   Binding on Successors and Assigns. This Agreement shall be binding upon the
               ABL Credit Agreement Collateral Agent, the ABL Clairnholders, each First Lien Collateral Agent, the
               other First Lien Claimholders, each Second Lien Collateral Agent, the other Second Lien Claimholders
               and their respective successors and permitted assigns. If the ABL Credit Agreeme nt Collateral Age nt,
               any First Lien Collateral Agent or any Second Lien Collateral Agent resigns or is replaced purswmt to the
               ABL Documents, the First Lien Documents or the Second Lien Documents, as applicable, its successor
               shall be deemed to be a party to this Agreement and shall have all the rights of, and be subject to all the
               obligations of, this Agreement.

                               8.12     Headings. Section headings and the Table of Contents used herein are for
               convenience of reference only, are not part of this Agreement and shall not affect the construction of, or
               be taken into consideration in interpreting, this Agreement.

                                 8.13    Counterparts. 111is Agreement may be executed in counterparts (and by different
               parties hereto in different counterparts), each of which shall constitute an original, but all of which when
               taken together shall constitute a single contract. Delivery of an executed counterpart of a signature page

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               of this Agreement or any document or instrument delivered in connection herewith by facsimile or other
               electronic transmission (including " .pdf' or " .tiff' format) shall be effective as delive ry of a manually
               executed counterpart of this Agreement or such othe r document or instrument, as applicable.

                                  8.14    Authorization: Binding Effect on Claimholders. By its signature, each Person
               executing this Agreement on behalf of a party hereto represents and warrants to the other parties hereto
               that it is duly authorized to execute this Agreement. Each ABL Claimholder and each Tenn Loan
               Claimholder, by its acceptance of the benefits of the ABL Documents and Te m1 Loan Documents, as the
               case may be, shall be deemed to have agreed to be bound by the agreements made herein, including the
               agreements made by any Collateral Agent on its behalf.

                                8.15    Exclusive Means of Exercising Rights under this Agreement.

                                 (a)     The ABL Claimholders shall be deemed to have irrevocably appointed the ABL
               Credit Agreement Collateral Agent as their exclusive agent hereunder. Consistent with such appointment,
               the ABL Claimholders furthe r shall be deemed to have agreed that only the ABL Credit Agreement
               Collateral Agent (and not any individual claimholder or group of claimholders) as agent for the ABL
               Claimholders, or any of the ABL Credit Agreement Collateral Agent's agents, shall have the right on their
               behalf to exercise any rights, powers, and/or remedies under or in connection with this Agreement
               (including bringing any action to interpret or otherwise enforce the provisions of this Agreement);
               provided that (i) holders of the ABL Secured Hedging Obligations and the ABL Banking Services
               Obligations may exe rcise customary netting and set off rights under the ABL Hedge Agreements and
               ABL Banking Services Agreements to which they are, respectively, a party, (ii) cash collateral may be
               held pursuant to the terms of the ABL Documents (including any relating to ABL Hedge Agreements)
               and any such individual ABL Claimholder may act against such cash collateral in accordance with the
               tem1s of the rele vant ABL Document or applicable law and (iii) the ABL Claimholders may exercise
               customary rights of setoff against depository or other accounts maintained with them in accordance with
               the terms of the relevant ABL Document or applicable law. Specifically, but w ithout limiting the
               ge nerality of the foregoing, no ABL Claimholder or group of ABL Claimholders, other than the ABL
               Credit Agreement Collateral Agent (acting at the direction of, or pursuant to a grant of authority by, the
               Required ABL Claimholders), shall be entitled to take or file, and shall be precluded from taking or filing
               (whether in any Insolvency or Liquidation Proceeding or otherwise), any action, judicial or otherwise, to
               enforce any right or power or pursue any remedy under this Agreement (including any declaratory
               judgment or other action to inte rpret or otherwise enforce the provisions of this Agreement), except solely
               as provided in the proviso in the immediately preceding sentence.

                                 (b)     The Tenn Loan Claimholders shall be deemed to have irrevocably appointed the
               Directing Term Loan Collateral Agent as their exclusive agent hereunder. Consistent with such
               appointment, the Term Loan Claimholders further shall be deemed to have agreed that only the Directing
               Term Loan Collateral Agent (and not any individual claimholder or group of claimholde rs) as agent for
               the Tem1 Loan Claimholders, or any of the Directing Te rm Loan Collate ral Agent' s agents, shall have the
               right on their behalf to exercise any rights, powers, and/or remedies under or in connection with this
               Agreement (including bringing any action to interpret or otherwise enforce the provisions of this
               Agreement); provided that, subject to the limitations, restrictions and other agreements set forth herein, (i)
               holde rs of First Lien Secured Hedging Obligations, First Lien Banking Services Obligations, the Second
               Lien Secured Hedging Obligations and the Second Lien Banking Services Obligations may exercise
               customary netting and set off rights unde r the First Lien Hedge Agreements, the First Lien Banking
               Services Agreements, the Second Lien Hedge Agreements and Second Lien Banking Services
               Agreements to which they are, respectively, a party, (ii) cash collateral may be held pursuant to the terms
               of the Term Loan Documents (including any relating to First Lien Hedge Agreements or Second Lien
               Hedge Agreements) and any such individual Term Loan Claimholder may act against such cash collateral

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               in accordance with the terms of the relevant Term Loan Document or applicable law and (iii) the Term
               Loan Claimholders may exercise customary rights of setoff against depository or other accounts
               maintained with them in accordance with the terms of the relevant Term Loan Document or applicable
               law. Specifically, but without limiting the generality of the foregoing, each Te rm Loan Claimholder or
               group of Tem1 Loan Claimholders, other than the Directing Term Loan Collate ral Agent (acting at the
               direction of, or pursuant to a grant of authority by, the Required Term Loan Claimholders), shall not be
               entitled to take or file , but instead shall be precluded from taking or filing (whether in any Insolvency or
               Liquidation Proceeding or otherwise), any action, judicial or othe rwise, to enforce any right or powe r or
               pursue any remedy under this Agreement (including any declaratory judgment or other action to interpret
               or otherwise enforce the provisions of this Agreement), except solely as provided in the proviso in the
               immediately pre ceding sentence.

                                 8.16     No Third Partv Beneficiaries: Provisions Solelv to Define Relative Rights. This
               Agreement and the rights and benefits hereof shall inure to the benefit of each of the parties hereto and its
               respective succe ssors and assigns and shall inure to the benefit of each of the ABL Claimholders and the
               Term Loan Claimholders. The provisions of this Agreement are and are intended solely for the purpose
               of defining the relative rights of the ABL Credit Agreement Collate ral Agent and the other ABL
               Claimholders, on the one hand, and the Tem1 Loan Collateral Agent and the other Term Loan
               Claimholders, on the other hand. None of the Obligors shall have any rights hereunder and no Obligor
               may rely on the te rms he reof, othe r than any provision he reof expressly prese rving any right of, or
               directly affecting, any Obligor under this Agreement, including the definition of "ABL DIP Cap Amount"
               and "Term Loan DIP Cap Amount", Sections 3.1 (as to the definition of "Sta.ndstill Period"), 4.1 , ti, 5.2,
               5.3, 5.4, 5.6, 5.8, i2, 5.10, i l, 6.2, L..1, 8.1, U, 8.3, M, 8.7, M , 8.9, 8.10, 8.11, 8.13, 8.14, 8.15, this
               Section 8.16, Sections 8.17, 8.18, and 8.21. Nothing in this Agreement is intended to or shall impair the
               obligations of the Obligors, which are absolute and unconditional, to pay the ABL Obligations and the
               Term Loan Obligations as and w hen the same shall become due and payable in accordance with their
               tem1s.

                                    8 .17    No Indirect Actions. Unless otherwise expressly stated, if a party may not take
               an action under this Agreement, then it may not take that action indirectly, or support any other Person in
               taking that action directly or indirectly. "Taking an action indirectly" means taking an action that is not
               expressly prohibited for the party but is intended to have substantially the san1e effects as the prohibited
               action; provided that notwithstanding the foregoing, nothing in this Section 8.17 shall be deemed to limit
               the right of any party hereto to vote on any plan of reorganization, arrangement, compromise or
               liquidation or similar dispositive restructuring plan in any Insolvency or Liquidation Proceeding to the
               e:>..1:e nt not inconsistent with the tenns of this Agreement.

                               8.18    Obligors: Additional Obligors . It is understood and agreed that Holdings, the
               Borrowers and each other Obligor on the date of this Agreement shall constitute the original Obligors
               party hereto. The original Obligors hereby covenant and agree to cause each subsidiary of Holdings
               which becomes a "Subsidiary Guarantor" as defined in the ABL Credit Ag reement, the First Lien Credit
               Agreement or the Second Lien Credit Agreement (or any similar tem1 in any other First Lien Financing
               Docume nt or Second Lien Financing Document) afte r the date he reof to become a party hereto (as an
               Obligor) by duly executing and delivering a counterpart of the Intercreditor Joinder Agreement in the
               form of Exhibit A hereto to the ABL Credit Agreement Collateral Agent and the Directing Tenn Loan
               Collateral Agent in accordance with the relevant provisions of the relevant ABL Financing Documents
               and/or Term Loan Financing Documents, as applicable. The parties hereto further agree that,
               notwithstanding any failure to take the actions required by the immediately preceding sentence, each
               Person which becomes a "Subsidiary Guarantor" as defined in the ABL Credit Agreeme nt, the First Lien
               Credit Agreement or the Second Lien Credit Agreement (or any similar te rm in any othe r ABL Financing
               Document or Term Loan Financing Document) at any time shall be subject to the provisions hereof as

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               fully as if same constituted an Obligor party hereto and had complied with the requirements of the
               immediately pre ceding sentence.

                                 8.19    Right of Collateral Agent to Continue. Any Person serving as a First Lien
               Collateral Agent shall be entitled to continue, including to continue to perform his, her or its rights,
               obligations and duties, as a First Lie n Collateral Agent, notwithstanding whether any such Pe rson has
               served or is serving as the ABL Credit Agreement Collateral Agent. Without limiting the generality of
               the preceding sentence of this Section 8.19, any Person serving as a First Lien Collateral Agent shall be
               entitled to continue to so serve in such capacity (including to continue to perform any of such First Lien
               Collateral Agent's rights, obligations, and/or duties) even if any such Person has resigned as the ABL
               Credit Agreement Collateral Agent, but such resignation has not become effective for any reason,
               including because a successor Second Lien Collateral Agent has not been appointed or has accepted such
               appointment, w ithout any liability to any of the Claimholders by virtue of any such resignation and any of
               the circumstances relating in any manner whatsoever to such resignation.

                                8.20     Claimholders. Notwithstanding anything to the contrary in this Agreeme nt, it is
               understood and agreed that this Agreement only applies to the Claimholders in their capacities as holders
               of the Obligations. Without limiting the foregoing, this Agreement does not restrict or apply to the
               Claimholders in their capacities as holders of any Indebtedness or other obligations of the Obligors other
               than the Obligations (or any Reorganization Securities issued as contemplated by Section 6.6), or in their
               capacities as holders of equity inte rests of the Obligors.

                                  8.21   Additional Lien Obligations. Subject to the tem1s and conditions of this
               Agreement and each Financing Document, the Obligors w ill be pe rmitted from time to time to designate
               as an additional holde r of First Lien Obligations and/or Second Lien Obligations he reunder each Person
               that is, or that becomes or is to become, the holder of any Additional Lien Obligations (or the Additional
               Liens Obligations Agent in respect of such Additional Liens Obligations). Upon the issuance or
               incurrence of any such Additional Lien Obligations:

                               (a)      The Top Borrower shall deliver to each of the Collateral Agents a certificate of a
                       Responsible Officer stating that the applicable Obligors intend to enter or have entered into an
                       Additional Lien Obligations Agreement and certifying that the issuance or incurrence of such
                       Additional Lien Obligations and the Liens securing such Additional Lien Obligations are
                       permitted by the ABL Financing Documents, the First Lien Financing Documents, the Second
                       Lien Financing Documents and each then existing Additional First Lien Obligations Agreement
                       and Additional Second Lien Obligations Agreement. Each of the Additional Lien Obligations
                       Agents, the ABL Credit Agreement Collateral Agent, the First Lien Collateral Agents and the
                       Second Lien Collateral Agents shall be entitled to rely conclusively on the determination of the
                       Top Borrower that such issuance and/or incurre nce is permitted unde r the ABL Financing
                       Documents, the First Lien Financing Documents, the Second Lien Financing Documents and
                       each then existing Additional First Lien Obligations Agreement and Additional Second Lien
                       Obligations Agreeme nt if such determination is set forth in such officer's certificate delivered to
                       the ABL Credit Agreement Collateral Agent, the First Lien Collateral Agents and the Second
                       Lie n Collateral Agents: provided , however, that such determination w ill not affect whethe r or not
                       the Obligors have complied with their undertakings in the ABL Financing Documents, the First
                       Lien Financing Documents, the Second Lien Financing Documents or any then existing
                       Additional First Lien Obligations Agreement or Additional Second Lien Obligation Agreement;

                               (b)     the Additional Liens Obligations Agent for such Additional Lien Obligations
                       shall execute and deliver to the ABL Credit Agreement Collateral Agent, the First Lien Collateral
                       Agent and the Second Lien Collateral Agent a Joinder Agreement in the form attached hereto as

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                       Exhibit B acknowledging that such Additional Liens Obligations and the holders of such
                       Additional Liens Obligations shall be bound by the terms hereof to the extent applicable to the
                       Claimholders, and

                                (c)     the ABL Credit Agreement Collateral Agent and each existing Term Loan
                       Collateral Agent shall promptly enter into such documents and agreements (including
                       amendments, restatements, amendments and restatements, supplements or other modifications to
                       this Agreement) as the ABL Credit Agreement Collateral Agent or any existing Tenn Loan
                       Collateral Agent (but no other ABL Claimholder or Term Loan Claimholder) or the Additional
                       Lien Obligations Agent may reasonably request in order to provide to it the rights, remedies and
                       powers and authorities contemplated he reby, in each case consistent in all respects with the terms
                       of this Agreement; provided that, for the avoidance of doubt and notwithstanding anything in this
                       Agreement to the contrary, it is understood and agreed that any such amendment, restatement,
                       amendment and restatement, supplement or other modification to this Agreement requested
                       pursuant to this clause (c) may be entered into by the ABL Credit Agreement Collateral Agent
                       and the existing Term Loan Collateral Agents without the consent of any other ABL Claimholder
                       or Te rm Loan Claim holder to effect the provisions of this Section 8.2 1 and may contain
                       additional intercreditor terms applicable solely to the holders of such Additional Lien Obligations
                       vis-a-vis the holders of the relevant obligations hereunder or the holders of such Additional Lien
                       Obligations vis-a-vis the ABL Credit Agreement Collateral Agent and the ABL Claimholders or
                       the Directing Term Loan Collateral Agent and the Tenn Loan Claimholders, as applicable.

               Notwithstanding the foregoing, nothing in this Agreement will be construed to allow any Obligor to incur
               additional Indebtedness unless otherwise permitted by the terms of each applicable ABL Financing
               Document, First Lien Financing Document, Second Lien Document and each then existing Additional
               First Lien Obligations Agreement and Additional Second Lien Obligations Agreement.

                                 8.22     Additional Intercreditor Agreements. Subject to Section 8.l(b) of this
               Agreement, each party hereto agrees that the First Lien Claimholders (as among themse lves) and the
               Second Lien Clairnholders (as among themselves) may each enter into intercreditor agreements (or
               similar arrangements) with the applicable First Lien Collateral Agents or Second Lien Collateral Agents,
               as the case may be, governing the rights, benefits and privileges as among the First Lien Claimholders in
               respect of any or all of the First Lien Collateral, this Agreement and the First Lien Collateral Documents
               or as an10ng the Second Lien Clairnholders in respect of any or all of the Second Lien Collateral, this
               Agreement or the Second Lien Collateral Documents, as the case may be, including as to the application
               of proceeds of any Collateral, voting rights, control of any Collateral and waivers with respect to any
               Collateral, in each case so long as the tenns thereof do not violate or conflict with the terms of this
               Agreement or the ABL Documents or the First Lien Documents or the Second Lien Documents, as
               applicable. In any event, if a respective intercreditor agreement (or similar arrangement) exists, the
               provisions thereof shall not be (or be construed to be) an amendment, modification or othe r change to this
               Agreement or any ABL Document or any other First Lien Document or Second Lien Docume nt, and the
               provisions of this Agreement and the ABL Documents, the other First Lien Documents and Second Lien
               Docume nts shall remain in full force and effect in accordance with the terms he reof and thereof (as such
               provisions may be amended, modified or otherwise supplemented from time to time in accordance with
               the terms thereof, including to give effect to any intercreditor agreement (or similar arrangement)).

                                                       [Signature pages follow]




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                                IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
               first written above.

                                                              UBS AG, STAMFORD BRANCH,
                                                              as ABL Credit Agreement Collateral Agent


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              Address for Notices:
                                                              Attention:
                                                              Tel.:
                                                              Email:




                                                              UBS AG, STAMFORD BRANCH,
                                                              as First Lien Credit Agreement Collateral Agent


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              Address for Notices:
                                                              Attention:
                                                              Tel.:
                                                              Email:




                                           [Signature Page to ABL Intercreditor Agreement]




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                                                      GOLDMAN SACHS BANK USA,
                                                      as Second Lien Credit Agreement Collateral Agent


                                                      By:
                                                            Name:
                                                            Title:


                                                      Address for Notices:
                                                      Attention:
                                                      Tel. :
                                                      Email:




                                   [Signature Page to ABL Intercreditor Agreement]




Confidential                                                                                     SSB LCM 00002430
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  Confidential                                                                            SSB_ADVERSARY00002430
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             Acknowledged and Agreed to by:

             Holdings


             DAWN INTERMEDIATE, INC.


             By:
                   Name:
                   Title:


             Borrowers


             SERTA SIMMONS BEDDING, LLC


             By:
                   Name:
                   Title:


             NATIONAL BEDDING COMPANY L.L.C.


             By:
                   Name:
                   Title:




             SSB MANUFACTURING COMPANY


             By:
                   Name:
                   Title:




                                        [Signature Page to ABL lntercreditor Agreement)




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               Other ObligQlli.




               By:
                      Name:
                      Title:


               Address for Notices to Obligors:
               Tel.:
               Fax:
               Attn:
               Email:




                                            [Signature Page to ABL Intercreditor Agreement]




Confidential                                                                                       SSB LCM 00002432
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                                                                                                                 EXHIBIT A
                                     FORM OF INTERCREDITOR JOIN DER AGREEMENT

                                 Reference is made to the ABL Intercreditor Agreement dated as of November 8, 2016 (as
               amended, restated, amended and restated, supplemented or otherwise modified from time to time, the
               "lntercreditor Agreement"), among UBS AG, STAMFORD BRANCH, in its capacity as ABL Credit
               Agreement Collateral Agent, UBS AG, STAMFORD BRANCH, in its capacity as the First Lie n Credit
               Agreement Collateral Agent and GOLDMAN SACHS BANK USA, as the Second Lien Credit
               Agreement Collateral Agent (in each case, as defined therein), each othe r FIRST LIEN COLLATERAL
               AGENT that is from time to time party thereto and each other SECOND LIEN COLLATERAL AGENT
               that is from time to time party thereto and acknowledged and agreed to by DAWN INTERMEDIATE,
               INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a Delaware limited liability
               company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company AND SSB
               MANUFACTURING COMPANY, a Delaware corporation and the other OBLIGORS (as defined
               there in) from time to time party the reto. Capitalized tenns used but not defined herein shall have the
               meanings assigned to such terms in the Intercreditor Agreement.

                              This Intercreditor Joinder Agreement, dated as of [ •] [ • ], 20[•] (this "Joinder
               Agreement"), is being delivered pursuant to requirements of the Intercreditor Agreement.

                                 1.      Joinder. The unde rsigned, [ • ], a [•], hereby agrees to become party to the
                       Jmcrcreditor Agreement as an Obligor thereunder for all purposes thereof on the terms set forth
                       therein, and to be bound by the terms, conditions and provisions of the Intercreditor Agreement as
                       folly as if the undersigned had executed and delivered the Intercreditor Agreement as of the date
                       thereof.

                                2.       Agreements. The undersigned Obligor hereby agrees, for the enforceable benefit
                       of all existing and future ABL Claimholders, First Lien Claimholders and Second Lien
                       Claimholders that the unde rsigned is bound by the terms, conditions and provisions of the
                       Intercreditor Agreement to the extent set forth therein.

                                3.      Counterparts. This Joinde r Agreement may be executed in two or more
                       counterparts, each of which shall be deemed to be an original, and all of which, when taken
                       together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                       Agreement by facsimil e transmission or other e lectronic transmission (including " .pdf', " .tiff'' or
                       similar format) shall be effective as delivery of a manually executed counterpart of this Joinder
                       Agreement.

                            4.    Governing Law. THIS JOINDER AGREEMENT AND ANY CLAIM,
                       CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOIND ER
                       AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                       OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                       ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                              6.        Miscellaneous. The provisions of Section 8 of the Intercreditor Agreement shall
                       apply with like effect to thjs Joinder Agreement.

                                                         [Signature pages follow]




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                                IN WITNESS WHEREOF, the undersigned has caused this Joinder Agreement to be duly
               executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
               by its authorized representative, as of the date first written above.

                                                                  [NAME OF OBLIGOR],
                                                                  as an Obligor


                                                                  By:
                                                                        Name:
                                                                        Title:




               Acknowledged and Agreed to by:

               UBS AG, STAMFORD BRANCH,
               as ABL Credit Agree ment Collateral Agent


               By:
                     Name:
                     Title:

               By:
                     Name:
                     Title:


               UBS AG, STAMFORD BRANCH,
               as First Lien Credit Agreement Collateral Agent,


               By:
                     Name:
                     Title:

               By:
                     Name:
                     Title:


               GOLDMAN SACHS BANK USA,
               as Second Lien Credit Agreement Collateral Agent,


               By:
                     Name:
                     Title:




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                                                                                                               EXHlBITB
                 FORM OF INTERCREDITOR JOINDER AGREEMENT -ADDITIONAL INDEBTEDNESS

                                Reference is made to the ABL Intercreditor Agreement dated as of November 8, 2016 (as
               amended, restated, amended and restated, supplemented or otherwise modified from time to time, the
               "lntercreditor Agreement"), among UBS AG, STAMFORD BRANCH, in its capacity as ABL Credit
               Agreement Collateral Agent, UBS AG, STAMFORD BRANCH, in its capacity as the First Lien Credit
               Agreement Collateral Agent and GOLDMAN SACHS BANK USA, as the Second Lien Credit
               Agreement Collateral Agent (in each case, as defined therein), each other FIRST LIEN COLLATERAL
               AGENT that is from time to time party thereto and each other SECOND LIEN COLLATERAL AGENT
               that is from time to time party thereto and acknowledged and agreed to by DAWN INTERMEDIATE,
               INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a Delaware limited liability
               company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company AND SSB
               MANUFACTURING COMPANY, a Delaware corporation and the other OBLIGORS (as defined
               therein) from time to time party the reto. Capitalized terms used but not defined herein shall have the
               meanings assigned to such terms in the Intercreditor Agreement.

                              This Intercreditor Joinder Agreement, dated as of [ •] [ • ], 20[•] (this "Joinder
               Agreement"), is being delivered pursuant to requirements of the Intercreditor Agreement.

                              The undersigned Additional [First/Second] Lien Obligations Agent (the "New Collateral
               Agent") is executing this Joinder Agreement in accordance with the requirements of the Intercreditor
               Agreement.

                                1.      Joinder. In accordance with Section 8.21 of the Intercreditor Agreement, the
                       New Collateral Agent by its signature below becomes a [First/Second] Lien Collateral Agent,
                       under, and it and the re lated [First/Second] Lien Claimholders represented by it hereby become
                       subject to and bound by, the Intercreditor Agreement with the same force and effect as if the New
                       Collateral Agent had originally been named therein as a [First/Second] Lien Collateral Agent, and
                       the New Collateral Agent, on behalf of itself and each other [First/Second] Lien Claimholder
                       represented by it, hereby agrees to all the terms and provisions of the Intercreditor Agreement.
                       Each reference to a "Collate ral Agent", "Term Loan Collateral Agent" or "[First/Second] Lien
                       Collateral Agent" in the Intercreditor Agreement shall be deemed to include the New Collateral
                       Agent and each reference to " [First/Second] Lien Claimholders" or "Term Loan Claimholders"
                       shall include the [First/Second] Lien Claimholders represented by such New Collateral Agent.
                       The Intercreditor Agreement is hereby incorporated herein by reference.

                                2.       Representations and Warranties. The New Collateral Agent represents and
                       warrants to the other Collateral Agents and Claimholders that (i) it has full power and authority to
                       enter into this Joinder Agreement, in its capacity as [agent][trustee], (ii) this Joinder Agreement
                       has been duly authorized, executed and delivered by it and constitutes its legal, valid and binding
                       obligation, enforceable against it in accordance with its terms and the terms of the Intercreditor
                       Agreement and (iii) the [First/Second] Lien Obligations Agreements relating to such Additional
                       [First/Second] Lie n Obligations provide that, upon the New Collateral Agent' s entry into this
                       Agreement, the [First/Second] Lien Claimholders in respect of such Additional [First/Second]
                       Lien Obligations will be subject to and bound by the provisions of the Intercreditor Agreement as
                       [First/Second] Lie n Claimholders.

                               3.       Counterparts. This Joinder Agreement may be executed in two or more
                       counterparts, each of which shall be deemed to be an original, and all of which, when taken
                       together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                       Agreement by facsimile transmission or other electronic transmission (including " .pdf', " .tiff" or
                                                                   A-l

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                         similar format) shall be effective as delivery of a manually executed counte rpart of this Joinder
                         Agreement.

                              4.    Governing Law . THIS JOINDER AGREEMENT AND ANY CLAIM,
                         CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOINDER
                         AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                         OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                         ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                                6.        Miscellaneous. The provisions of Section 8 of the lntercreditor Agreement shall
                         apply with like effect to this Joinder Agreement.

                                                          [Signature pages follow]




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                                IN WITNESS WHEREOF, the unde rsigned has caused this Joinder Agreement to be duly
               executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
               by its authorized representative, as of the date first written above.

                                                              [NAME OF NEW COLLATERAL AGENT],
                                                              as a [First/Second] Lien Collateral Agent


                                                              By:
                                                                      Name :
                                                                      Title:

                                                              Address for notices:




                                                                      Attention of: _ _ _ _ _ _ _ _ _ _ __

                                                                      Telecopy:_ _ _ _ _ _ _ _ _ _ _ __




               Acknowledged by:

               UBS AG, STAMFORD BRANCH,
               as ABL Credit Agreement Collateral Agent


               By:
                      Name:
                      Title:

               By:
                      Name:
                      Title:




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               UBS AG, STAMFORD BRANCH,
               as First Lien Credit Agreement Collateral Agent,


               By:
                      Name:
                      Title:

               By:
                      Name:
                      Title:

               GOLDMAN SACHS BANK USA,
               as Second Lien Credit Agreement Collateral Agent,


               By:
                      Name:
                      Title:




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                                                                                             EXHIBIT G-2

                                                             [FORMOF]
                                         FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT

                                                          [See attached.]




                                                              G-2-1
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                                                                    FORM OF

                                                 FIRST LIEN INTERCREDITOR AGREEMENT

                                                                      Among

                                                         DAWN INTERMEDIATE, INC.,
                                                                   as Holdings,

                                                     SERTA SIMMONS BEDDING, LLC,
                                                               as the Top Borrower,

                                                          the other Grantors party hereto,

                                                        UBS AG, STAMFORD BRANCH,
                                         as First Lien Credit Agreement Collateral Agent for the First Lien
                                                         Credit Agreement Secured Parties,



                                               as the Initial Additional First Lien Collateral Agent,



                                                as the Initial Additional Authorized Representative,

                                                                        and

                  each additional Authorized Representative and additional Collateral Agent from time to time party hereto




                                                             dated as of[_], 201_




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                        FIRST LIEN TNTERCREDITOR AGREEMENT, dated as of[_], 201_] (as amended, restated,
               amended and restated, extended, supplemented or otherwise modified from time to time, this " Agreement"),
               among Dawn Intermediate, Inc., a Delaware corporation ("Holdings"), Serta Simmons Bedding, LLC, a
               Delaware limited liability company ("SSB" or the "Top Borrower"), National Bedding Company L.L.C., an
               Illinois limited liability company ("National Bedding"), SSB Manufacturing Company, a Delaware
               corporation (" SSB Manufacturing"), the other Grantors (as defined below) from time to time party hereto, UBS
               AG, STAMFORD BRANCH ("UBS"), as collateral agent for the First Lien Credit Agreement Secured Parties
               (as defined below) (in such capacity and together with its successors in such capacity, the " First Lien Credit
               Agreement Collateral Agent"), [ ], as collateral agent for the Initial Additional First Lien Secured Parties (as
               defined below) (in such capacity and together with its successors in such capacity, the " Initial Additional First
               Lien Collateral Agent"), [ ], as Authorized Representative for the Initial Additional First Lien Secured Parties
               (as defined below) (in such capacity and together with its successors in such capacity, the "Initial Additional
               Authorized Representative") and each additional Authorized Representative and additional Collateral Agent
               from time to time party hereto for the other Additional First Lien Secured Parties of the Series (as each such
               term is defined below) with respect to which it is acting in such capacity.

                        In consideration of the mutual agreements herein contained and other good and valuable consideration,
               the receipt and sufficiency of which are hereby acknowledged, the First Lien Credit Agreement Collateral
               Agent (for itself and on behalf of the First Lien Credit Agreement Secured Parties), the Initial Additional
               Authorized Re presentative (for itself and on behalf of the Initial Additional First Lien Secured Parties) and each
               additional Authorized Representative (for itself and on behalf of the Additional First Lien Secured Parties of
               the applicable Series) agree as follows:

                                                                 ARTICLE I

                                                                  Definitions

                        SECTION 1.01 Certain Defined Terms. Capitalized terms used but not otherwise defined herein have
               the meanings set forth in the First Lien Credit Agreement (as defined below) or, if defined in the New York
               UCC, the meanings specified therein. As used in this Agreement, the following terms have the meanings
               specified below:

                       "Additional First Lien Collateral Agent" means (a) in the case of the Initial Additional First Lien
               Obligations, the Initial Additional First Lien Collateral Agent and (b) in the case of any other Series of
               Additional First Lien Obligations that becomes subject to this Agreement after the date hereof, the Additional
               Senior Class Debt Collateral Agent for such Series named in the applicable Joinder Agreement.

                        "Additional First Lien Documents" means, with respect to the Initial Additional First Lien Obligations
               or any Series of Additional Senior Class Debt, the notes, indentures, credit agreements, collateral agreements,
               security documents, guarantees and other operative agreements evidencing or governing such Inde btedness and
               the Liens securing such Indebtedness, including the Initial Additional First Lien Documents and the Additional
               First Lien Security Documents and each other agreement entered into for the purpose of securing the Initial
               Additional First Lien Obligations or any Series of Additional Senior Class Debt; provided that, in each case, the
               Indebtedness thereunder (other than the Additional First Lien Obligati ons) has been designated as Additional
               Senior Class Debt pursuant to Section 5 .13 hereto.

                         "Additional First Lien Obligations" means collectively ( 1) the Initial Additional First Lien Obligations
               and (2) all amounts owing pursuant to the tenus of any Series of Additional Senior Class Debt designated as
               Additional First Lien Obligations pursuant to Section 5.13 after the date hereof, including, without limitation,
               the obligation (including guarantee obligations) to pay principal, premium, interest, fees, expenses (including
               interest, fees and expenses that accrne after the commencement of a Bankrnptcy Case, regardless of ·whether
               such interest, fees and expenses are an allowed claim under such Bankrnptcy Case), letter of credit
               commissions, reimbursement obligations, charges, attorneys costs, indemn ities, penalties, reimbursements,
               damages and other amounts payable by a Grantor under any Additional First Lien Docume nt (including
               guarantees of the foregoing).


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                        "Additional First Lien Secured Party" means the holders of any Additional First Lien Obligations and
               any Authorized Representative and Additional First Lien Collateral Agent with respect thereto and the
               beneficiaries of each indemnification obligation tmdertaken by each Borrower and the other Grantors under
               any related Additional First Lien Document, and shall include the Initial Additional First Lien Secured Parties
               and the Additional Senior Class Debt Parties.

                        "Additional First Lien Security Document" means any collateral agreement, security agreement or any
               other document now existing or entered into after the date hereof that creates or purports to create, Liens on any
               assets or properties of any Grantor to secure any of the Additional First Lien Obligations.

                         "Additional Senior Class Debt" has the meaning assigned to such term in Section 5.13.

                       "Additional Senior Class Debt Collateral Agent" has the meaning assigned to such term m
               Section 5.13.

                         "Additional Senior Class Debt Parties" has the meaning assigned to such term in Section 5.13.

                         "Additional Senior Class Debt Representative" has the meaning assigned to such term in Section 5 .13.

                         "Agreement" has the meaning assigned to such term in the introductory paragraph of hereto.

                        "Applicable Authorized Representative" means, with respect to any Shared Collateral, (i) until the
               earlier of (x) the Discharge of First Lien Credit Agreement Obligations and (y) the Non-Controlling Authorized
               Representative Enforcement Date, the First Lien Credit Agreement Administrative Agent and (ii) from and
               after the earlier of (x) the Discharge of First Lien Credit Agreement Obligations and (y) the Non-Controlling
               Authorized Representative Enforcement Date, the Major Non-Controlling Authorized Representative.

                         "Authorized Representative" means, at any time, (i) in the case of any First Lien Credit Agreement
               Obligations or the First Lien Credit Agreement Secured Parties, the First Lien Credit Agreement Administrative
               Agent, (ii) in the case of the Initial Additional First Lien Obligations or the Initial Additional First Lien Secured
               Parties, the Initial Additional Authorized Representative, and (iii) in the case of any other Series of Additional
               First Lien Obligations or Additional First Lien Secured Parties that become subject to this Agreement after the
               date hereof, the Additional Senior Class Debt Representative for such Series named in the applicable Joinder
               Agreement.

                         "Bankruptcy Case" has the meaning assigned to such term in Section 2.05(b).

                         "Bankruptcy Code" means Title 11 of the United States Code, as amended.

                          "Bankruptcy Law" means the Bankruptcy Code and any similar federal, state or foreign law for the
               re lief of debtors.

                         "Borrowers" means collectively, SSB, National Bedding and SSB Manufacturing.

                         "Closing Date" means November 8, 2016.

                       "Collateral" means all assets and properties subject to, or purported to be subject to, Liens created
               pursuant to any First Lien Security Document to secure one or more Series of First Lien Obligations.

                       "Collateral Agent" means (i) in the case of any First Lien Credit Agreement Obligations, the First Lien
               Credit Agreement Collateral Agent, (ii) in the case of the Initial Additional First Lien Obligations, the Initial
               Additional First Lien Collateral Agent and (iii) in the case of any other Series of Additional First Lien
               Obligations that become subject to this Agreement after the date hereof, the Additional Senior Class Debt
               Collateral Agent for such Series named in the applicable Joinder Agreement.

                      "Contingent First Lien Obligation" means, at any time, First Lien Obligations for taxes, costs,
               indemnifications, reimbursements, damages and other contingent liabilities (excluding (a) the principal of, and


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               interest and premium (if any) on, and fees and expenses relating to, any First Lien Obligation and (b)
               contingent reimbursement obligations in respect of amounts that may be drawn under outstanding letters of
               credit) in respect of which no assertion of liability (whether oral or written) and no claim or demand for
               payment (whether oral or written) has been made (and, in the case of First Lien Obligations for
               indemnification, no notice for indemnification has been issued by the indemnitee) at such time.

                        "Controlling Collateral Agent" means, with respect to any Shared Collateral, (i) until the earlier of (x)
               the Discharge of First Lien Credit Agreement Obligations and (y) the Non-Controlling Authorized
               Representative Enforcement Date with respect to such Shared Collateral, the First Lien Credit Agreement
               Collateral Agent and (ii) from and after the earlier of (x) the Discharge of First Lien Credit Agreement
               Obligations and (y) the Non-Controlling Authorized Representative Enforcement Date with respect to such
               Shared Collateral, the Additional First Lien Collateral Agent for the Series of Additional First Lien Obligations
               represented by the Major Non-Controlling Authorized Representative.

                        "Controlling Secured Parties" means, with respect to any Shared Collateral, (i) at any time when the
               First Lien Credit Agreement Collateral Agent is the Controlling Collateral Agent with respect to such Shared
               Collateral, the First Lien Credit Agreement Secured Parties and (ii) at any other time, the Series of First Lien
               Secured Parties whose Authorized Representative is the Applicable Authorized Representative for such Shared
               Collateral.

                         "DIP Financing" has the meaning assigned to such term in Section 2.05(b).

                         "DIP Financing Liens" has the meaning assigned to such term in Section 2.05(b).

                         "DIP Lenders" has the meaning assigned to such term in Section 2.05(b).

                         "Discharge" means, with respect to any Shared Collateral and any Series of First Lien Obligations, the
               date on which (i) such Series of First Lien Obligations have been paid in full in cash (other than any
               Contingent First Lien Obligations) and are no longer secured and no longer required to be secured by such
               Shared Collateral pursuant to the terms of the documentation governing such Series of First Lien Obligations
               or, with respect to any obligations and liabilities under Secured Hedge Agreements or Treasury Services
               Agreements secured by the Collateral Documents for such Series of First Lien Obligations, any of (x) such
               obligations and liabilities under Secured Hedge Agreements and Treasury Services Agreements have been paid
               in foll in cash (other than obligations and liabilities under Treasury Services Agreements and Secured Hedge
               Agreements not due and payable), (y) such obligations and liabilities under Secured Hedge Agreements and
               Treasury Services Agreements shall have been cash collateralized on tern1s satisfactory to each applicable
               counterparty (or other arrangements satisfactory to the applicable counterparty shall have been made) (other
               than obligations and liabilities under Treasury Services Agreements and Secured Hedge Agreements not due
               and payable) or (z) such obligations and liabilities under Secured Hedge Agreements and Treasury Services
               Agreements are no longer secured and no longer required to be secured by such Shared Collateral pursuant to
               the terms of the documentation governing such Series of First Lien Obligations (other than obligations and
               liabilities under Treasury Services Agreements and Secured Hedge Agreements not due and payable), (ii) any
               letters of credit issued pursuant to documentation governing such Series of First Lien Obligations shall either
               have expired or have been terminated (other than letters of credit that are cash collateralized or back-stopped or
               deemed reissued under another facility, in each case, in the amount and form required under the applicable
               Series of First Lien Obligations) and (iii) all commitments under such Series of First Lien Obligations have
               terminated. The term "Discharged" shall have a corresponding meaning.

                        "Discharge of First Lien Credit Agreement Obligations" means, with respect to any Shared Collateral,
               the Discharge of the First Lien Credit Agreement Obligations with respect to such Shared Collateral; provided
               that the Discharge of First Lien Credit Agreement Obligations shall not be deemed to have occurred in
               connection with a Refmancing of such First Lien Credit Agreement Obligations with Additional First Lien
               Obligations secured by such Shared Collateral under an Additional First Lien Document which has been
               designated in writing by the First Lien Credit Agreement Administrative Agent (under the First Lien Credit



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               Agreement so Refinanced) to the Additional First Lien Collateral Agents and each other Authorized
               Representative as the " First Lien Credit Agreement" for purposes of this Agreement.

                       "Event of Default" means an " Event of Default" (or similarly defined tenn) as defined in any Secured
               Credit Document.

                        "First Lien Credit Agreement Administrative Agent" means the "Administrative Agent" as defined in
               the First Lien Credit Agreement and shall include any s uccessor administrative agent (including as a result of
               any Refmancing or other modification of the First Lien Credit Agreement permitted by Section 2.15 thereof).

                       "First Lien Credit Agreement Collateral Agent" has the meaning assigned to such term in the
               introductory paragraph of this Agreement.

                       "First Lien Credit Agreement" means the First Lien Term Loan Agreement, dated as of the Closing
               Date, among, inter alios, Holdings, the Borrowers, UBS, as First Lien Credit Agreement Administrative Agent
               and each lender from time to time party thereto, as amended, restated, amended and restated, e>..1:ended,
               supplemented or otherwise modified from time to time.

                        " First Lien Credit Agreement Collateral Documents" means the First Lien Security Agreement, the
               other " Collateral Documents" (or similarly defmed term) as defmed in the First Lien Credit Agreement and
               each other agreement entered into in favor of the First Lien Credit Agreement Collateral Agent for the purpose
               of securing and/or perfecting any First Lien Credit Agreement Obligations.

                        "First Lien Credit Agreement Obligations" means all "Secured Obligations" (or similarly defined term)
               as defined in the First Lien Credit Agreement.

                        "First Lien Credit Agreement Secured Parties" means the "Secured Parties" (or similarly defined term)
               as defined in the First Lien Credit Agreement.

                       "First Lien Obligations" means, collectively, (i) the First Lien Credit Agreement Obligations and (ii)
               each Series of Additional First Lien Obligations.

                       "First Lien Secured Parties" means (i) the First Lien Credit Agreement Secured Parties and (ii) the
               Additional First Lien Secured Parties with respect to each Series of Additional First Lien Obligations.

                        " First Lien Security Agreement'' means the " Security Agreement" (or similarly defined term) as
               defined in the First Lien Credit Agreement.

                     " First Lien Security Documents" means, collectively, (i) the First Lien Credit Agreement Collateral
               Documents and (ii) the Additional First Lien Security Documents.

                        "Grantors" means Holdings, the Borrowers and each of the Subsidiary Guarantors (as defmed in the
               First Lien Credit Agreement) and each other parent entity or subsidiary of the Top Borrower which has granted
               a security interest pursuant to any First Lien Security Document to secure any Series of First Lien Obligations
               (including any such Person which becomes a party to this Agreement as contemplated by Section 5.16). The
               Grantors existing on the date hereof are set forth in Annex l hereto.

                         "Holdings" has the meaning assigned to such term in the introductory paragraph hereto.

                         "Impairment'' has the meaning assigned to such term in Section 1.03.

                       "Initial Additional Authorized Representative" has the meaning assigned to such tenn m the
               introductory paragraph hereto.

                         "Initial Additional First Lien Agreement" mean that certain [Indenture] [Other Agreement], dated as of
               [__J, among the relevant Borrower, [the Subsidiary Guarantors identified therein,] and [ ], as [trnstee], as
               amended, restated, amended and restated, extended, supplemented or otherwise modified from time to time.


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                       "Initial Additional First Lien Collateral Agent" has the meanmg assigned to such tenn m the
               introductory paragraph hereto.

                        "Initial Additional First Lien Documents" means the Initial Additional First Lien Agreement, the [debt
               securities issued] [loans made] thereunder, the Initial Additional First Lien Security Agreement and any
               collateral agreements, security documents, guarantees and other operative agreements evidencing or governing
               the Indebtedness thereunder, and the Liens securing or purporting to secure, such Indebtedness.

                       "Initial Additional First Lien Obligati ons" means the [Obligations] as such term is defined in the Initial
               Additional First Lien [Agreement] [Security Agreement].

                         "Initial Additional First Lien Secured Parties" means the Initial Additional First Lien Collateral Agent,
               the Initial Additional Authorized Representative and the holders of the Initial Additional First Lien Obligations
               issued pursuant to the Initial Additional First Lien Agreement.

                        "Initial Additional First Lien Securitv Agreement" means the security agreement, dated as of the date
               hereof, among the relevant Borrowers, the Initial Additional First Lien Collateral Agent and the other parties
               thereto, as amended, restated, amended and restated, extended, supplemented or otherwise modified from time
               to time.

                         "Insolvency or Liquidation Proceeding" means:

                                 ( 1)     any case commenced by or against any Borrower or any other Gran tor under any
                         Bankruptcy Law, any other proceeding for the reorganization, recapitalization or adjustment or
                         marshalling of the assets or liabilities of any Borrower or any other Grantor, any receivership or
                         assignment for the benefit of creditors relating to any Borrower or any other Grantor or any similar
                         case or proceeding (including any such proceeding under applicable corporate law) relative to any
                         Borrower or any other Grantor or its creditors, as such, in each case whether or not voluntary;

                                   (2)     any liquidation, dissolution, marshalling of assets or liabilities or other winding up of
                         or relating to any Borrower or any other Grantor, in each case whether or not voluntary and whether or
                         not involving bankruptcy or insolvency; or

                                  (3)     any other proceeding of any type or nature in which substantially all claims of
                         creditors of any Borrower or any other Grantor are determined and any payment or distribution is or
                         may be made on account of such claims.

                         " lnten 1ening Creditor" has the meaning assigned to such term in Section 2.0l(a).

                        "Joinder Agreement" means a joinder to this Agreement substantially in the form of Annex II hereto
               or such other form as shall be approved by the Controlling Collateral Agent.

                          "Lien" means any mortgage, pledge, hypothecation, assignment, deposit arrangement, encumbrance,
               lien (statutory or other), charge, or preference, priority or other security interest or preferential arrangement of
               any kind or nature whatsoever (including any conditional sale or other title retention agreement, any easement,
               right of way or other encumbrance on title to Real Property, and any Capitalized Lease having substantially the
               same economic effect as any of the foregoing); provided that in no event shall an operating lease in and of
               itse lf be deemed to be a Lien.

                        "Major Non-Controlling Authorized Representative" means, with respect to any Shared Collateral, the
               Authorized Representative of the Series of Additional First Lien Obligations that constitutes the largest
               outstanding principal amount of any then outstanding Series of Additional First Lien Obligations with respect
               to such Shared Collateral; provided, however, that if there are two outstanding Series of Additional First Lien
               Obligations which have an equal outstanding principal amount, the Series of Additional First Lien Obligations
               with the earlier maturity date shall be considered to have the larger outstanding principal amount for purposes
               of this definition.


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                         "National Bedding" has the meaning assigned to such tenn in the introductory paragraph hereto.

                     ''New York UCC" means the Uniform Commercial Code as from time to time in effect in the State of
               New York.

                       ' 'Non-Controlling Authorized Representative" means, at any time with respect to any Shared
               Collateral, any Authorized Representative that is not the Applicable Authorized Representative at such time
               with respect to such Shared Collateral.

                        ''Non-Controlling Authorized Representative Enforcement Date" means, w ith respect to any Non-
               Controlling Authorized Representative, the date which is 180 days (throughout which 180 day pe riod such
               Non-Controlling Authorized Representative was the M~jor Non-Controlling Authorized Representative) after
               the occurrence of both (i) an Event of Default (under and as defined in the Additional First Lien Document
               under which such Non-Controlling Authorized Representative is the Authorized Representative) and (ii) each
               Collateral Agent' s and each other Authorized Representative' s receipt of written notice from such Non-
               Controlling Authorized Representative certifying that (x) such Non-Controlling Authorized Representative is
               the M~jor Non-Controlling Authorized Representative and that an Event of Default (under and as defmed in
               the Additional First Lien Document under w hich such Non-Controlling Authorized Representative is the
               Authorized Representative) has occurred and is continuing and (y) the Additional First Lien Obligations of the
               Series w ith respect to which such Non-Controlling Authorized Representative is the Authorized Re presentative
               are currently due and payable in full (whether as a result of acceleration thereof or otherwise) in accordance
               with the terms of the applicable Additional First Lien Document; provided that the Non-Controlling
               Authorized Representative Enforcement Date shall be s tayed and shall not occur and shall be deemed not to
               have occurred with respect to the Shared Collateral (1) at any time the First Lien Credit Agreement Collateral
               Agent, the Applicable Authorized Representative or the Controlling Collateral Agent has commenced and is
               diligently pursuing any enforcement action with respect to the Shared Collateral or a material portion thereof
               or (2) at any time any Grantor which has granted a security interest in any Shared Collateral is then a debtor
               under or with respect to (or otherwise su~ject to) any Insolvency or Liquidation Proceeding.

                       ''Non-Controlling Secured Parties" means, with respect to any Shared Collateral, the First Lien
               Secured Parties which are not Controlling Secured Parties with respect to such Shared Collateral.

                       "Possessory Collateral" means any Shared Collateral in the possession and/or control of any Collateral
               Agent (or its agents or bailees), to the extent that possession and/or control thereof perfects a Lien thereon
               under the Uniform Commercial Code of any jurisdiction. Possessory Collateral includes, without limitation,
               any Certificated Securities, Promissory Notes, Instruments, and Chattel Paper, in each case, delivered to or in
               the possession of and/or under the control of any Collateral Agent under the terms of the First Lien Security
               Documents.

                         "Proceeds" has the meaning assigned to such term in Section 2.0l(a).

                        "Refinance" means, in respect of any indebtedness, to refinance, extend, renew, defease, amend,
               increase, modify, supplement, restructure, refund, replace or repay such inde btedness, or to issue other
               indebtedness or e nte r into alternative financing arrangements, in exchange or replacement for such
               indebtedness (in w hole or in part), including by adding or replacing lenders, creditors, agents, borrowers and/or
               guarantors, and including in each case, but not limited to, after the original instrument giving r ise to such
               indebtedness has been terminated and including, in each case, through any credit agreement, indenture or other
               agreement. "Refinanced" and "Refinancing" have correlative meanings.

                        "Secured Credit Document" means (i) the First Lien Credit Agreement and each Loan Document (or
               similarly defined term) (as defined in the First Lien Credit Agreement), (ii) each Initial Additional First Lien
               Document, and (iii) each Additional First Lien Document for Additional First Lien Obligations incurred after
               the date he reof.




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                        "Secured Hedge Agreement" means any Hedge Agreement evidencing Secured Hedging Obligations
               (or equivalent tenn under any Additional First Lien Document).

                        "Series" means (a) with respect to the First Lien Secured Parties, each of (i) the First Lien Credit
               Agreement Secured Parties (in their capacities as such), (ii) the Initial Additional First Lien Secured Parties (in
               their capacities as such), and (iii) the Additional First Lien Secured Parties (in their capacities as such) that
               become subject to this Agreement after the date hereof that are represented by a common Authorized
               Representative (in its capacity as such for such Additional First Lien Secured Parties) and (b) with respect to
               any First Lien Obligations, each of (i) the First Lien Credit Agreement Obligations, (ii) the Initial Additional
               First Lien Obligations, and (iii) the Additional First Lien Obligations incurred after the date hereof pursuant to
               any Additional First Lien Document, the holders of which, pursuant to any Joinder Agreement, are to be
               represented hereunder by a common Authorized Representative ( in its capacity as such for such Additional
               First Lien Obligations).

                        "Shared Collateral" means, at any time, Collateral in which the holders of two or more Series of First
               Lien Obligations (or their respective Authorized Representatives or Collateral Agents on behalf of such
               holders) hold or purport to hold a valid security interest at such time. If more than two Series of First Lien
               Obligations are outstanding at any time and the holders of less than all Series of First Lien Obligations hold or
               purport to hold a valid security interest in any Collateral at such time, then such Collateral shall constitute
               Shared Collateral for those Series of First Lien Obligations that hold or purport to hold a valid security interest
               in such Collateral at such time and shall not constitute Shared Collateral for any Series which does not have or
               purport to have a valid security interest in such Collateral at such time.

                         "SSB" has the meaning assigned to such term in the introductory paragraph hereto.

                         "SSB Manufacturing" has the meaning assigned to such term in the introductory paragraph hereto.

                         "Top Borrower" has the meaning assigned to such term in the introductory paragraph hereto.

                        "Treasurv Services Agreement" means any agreement that evidences Banking Services Obligations
               (or equivalent term under any Additional First Lien Document).

                         "UBS" has the meaning assigned to such term in the introductory paragraph hereto.

                        SECTION 1.02 Terms Generallv. The definitions of terms herein shall apply equally to the singular
               and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
               corresponding masculine, feminine and neuter forms . The words " include", " includes" and "including" shall
               be deemed to be followed by the phrase "without limitation" . The word "will" shall be construed to have the
               same meaning and effect as the word " shall". Unless the context requires otherwise, (i) any definition of or
               reference to any agreement, instrnment, other document, statute or regulation herein shall be construed as
               referring to such agreement, instrument, other document, statute or regulation as from time to time amended,
               supplemented or othen:vise modified, (ii) any reference herein to any Person shall be construed to include such
               Person' s successors and assigns, but shall not be deemed to include the subsidiaries of such Person unless
               express reference is made to such subsidiaries, (iii) the words "hereto", "herein", " hereof' and "hereunder'',
               and words of similar import, shall be construed to refer to this Agreement in its entirety and not to any
               particular provision hereof, ( iv) all references herein to Articles, Sections and Annexes shall be construed to
               refer to Articles, Sections and Annexes of this Agreement, (v) unless othen:vise expressly qualified herein, the
               words "asset" and " property" shall be construed to have the same meaning and effect and to refer to any and all
               tangible and intangible assets and properties, including cash, securities, accounts and contract rights and (vi)
               the term "or" is not exclusive.

                       SECTION 1.03 Impairments. It is the intention of the First Lien Secured Parties of each Series that
               the holders of First Lien Obligations of such Series (and not the First Lien Secured Parties of any other Series)
               bear the risk of (i) any determinati on by a court of competent jurisdiction that (x) any of the First Lien
               Obligations of such Series are unenforceable under applicable law or are subordinated to any other obligations


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               (other than another Series of First Lien Obligations), (y) any of the First Lien Obligations of such Series do not
               have a valid and perfected security interest in any of the Collateral securing any other Series of First Lien
               Obligations and/or (z) any intervening security interest exists securing any other obligations (other than
               another Series of First Lien Obligations) on a basis ranking prior to the security interest of such Series of First
               Lien Obligations but junior to the security interest of any other Series of First Lien Obligations or (ii) the
               existence of any Collateral for any other Series of First Lien Obligations that is not Shared Collateral for such
               Series (any such condition referred to in the foregoing clauses (i) or (ii) with respect to any Series of First Lien
               Obligations, an " Impairment" of such Series): provided that the existence of a maximum claim with respect to
               any Material Real Estate Asset (as defined in the First Lien Credit Agreement) subject to a mortgage that
               applies to all First Lien Obligations shall not be deemed to be an Impairment of any Series of First Lien
               Obligations. In the event of any Impairment with respect to any Series of First Lien Obligations, the results of
               such Impairment shall be borne solely by the holders of such Series of First Lien Obligations, and the rights of
               the holders of such Series of First Lien Obligations (including, without limitation, the right to receive
               distributions in respect of such Series of First Lien Obligations pursuant to Section 2.01) set forth herein shall
               be modified to the extent necessary so that the effects of such Impairment are borne solely by the holders of the
               Series of such First Lien Obligations subject to such lmpainnent. Additionally, in the event the First Lien
               Obligations of any Series are modified pursuant to applicable law (including, without limitation, pursuant to
               Section 1129 of the Bankruptcy Code or any other provision of any Bankruptcy Law), any reference to such
               First Lien Obligations or the First Lien Security Documents governing such First Lien Obligations shall refer
               to such obligations or such documents as so modified.

                                                                     ARTICLE II

                                               Priorities and Agreements with Respect to Shared Collateral

                         SECTION 2.01 Priority of Claims.

                        (a)      Anything contained herein or in any of the Secured Credit Documents to the contrary
               notwithstanding (but subject to Section 1.03), if an Event of Default has occurred and is continuing, and the
               Controlling Collateral Agent or any First Lien Secured Party is taking action to enforce rights in respect of any
               Shared Collateral, or any distribution is made in respect of any Shared Collateral in any Bankruptcy Case of
               any Borrower or any other Grantor or any First Lien Secured Party receives any pay ment pursuant to any
               intercreditor agreement (other than this Agreement) with respect to any Shared Collateral, the proceeds of any
               sale, collection or other liquidation of any such Shared Collateral by the Controlling Collateral Agent or any
               other First Lien Secured Party on account of such enforcement of rights or remedies or distribution in respect
               thereof in any Bankruptcy Case or any payment received by the Controlling Collateral Agent or any other First
               Lien Secured Party pursuant to any such intercreditor agreement (other than this Agreement) with respect to
               such Shared Collateral (subject, in the case of any such payment or distribution, to the sentence immediately
               following) (all proceeds of any sale, collection or other liquidation of any Collateral and all proceeds of any
               such payment or distribution being collectively referred to as " Proceeds"), shall be applied (i) FIRST, to the
               payment in full in cash of all amounts owing to each Collateral Agent (in its capacity as such and, in the case
               of the First Lien Credit Agreement Collateral Agent, in its capacity as First Lien Credit Agreement
               Administrative Agent) pursuant to the terms of any Secured Credit Document, (ii) SECOND, subject to
               Section 1.03, to the payment in full in cash of the First Lien Obligations of each Series on a ratable basis, with
               such Proceeds to be applied to the First Lien Obligations of a given Series in accordance with the tem1s of the
               applicable Secured Credit Documents and (iii) THIRD after Discharge of all First Lien Obligations, to the
               Borrowers and the other Grantors or their successors or assigns, as their interests may appear, or to
               whomsoever may be lawfully entitled to receive the same, or as a court of competent jurisdiction may direct.
               If, despite the provisions of this Section 2.0l(a), any First Lien Secured Party shall receive any payment or
               other recovery in excess of its portion of payments on account of the First Lien Obligations to which it is then
               entitled in accordance with this Section 2.0l(a), such First Lien Secured Party shall hold such payment or
               recovery in trust for the benefit of all First Lien Secured Parties in accordance with Section 2.03(b) for
               distribution in accordance with this Section 2. 0 I (a). Notwithstanding the foregoing, with respect to any
               Shared Collateral for which a third party (other than a First Lien Secured Party) has a lien or security interest


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               that is junior in priority to the security interest of any Series of First Lien Obligations but senior (as determined
               by appropriate legal proceedings in the case of any dispute) to the security interest of any other Series of First
               Lien Obligations (such third party, an "Intervening Creditor"), the value of any Shared Collateral or Proceeds
               allocated to such Intervening Creditor shall be deducted on a ratable basis solely from the Shared Collateral or
               Proceeds to be distributed in respect of the Series of First Lien Obligations with respect to which such
               Impairment exists.

                        (b)     Notwithstanding the date, time, method, manner or order of grant, attachment or perfection of
               any Liens securing any Series of First Lien Obligations granted on the Shared Collateral and notwithstanding
               any provision of the Uniform Commercial Code of any jurisdiction, or any other applicable law or the Secured
               Credit Documents or any defect or deficiencies in the Liens securing the First Lien Obligations of any Series or
               any other circumstance whatsoever (but, in each case, subject to Section 1.03), each First Lien Secured Party
               hereby agrees that the Liens securing each Series of First Lien Obligations on any Shared Collateral shall be of
               equal priority.

                         SECTION 2.02 Actions with Respect to Shared Collateral: Prohibition on Contesting Liens.

                        (a)      Only the Controlling Collateral Agent shall act or refrain from acting with respect to any
               Shared Collateral (including with respect to any intercreditor agreement with respect to any Shared Collateral).
               At any time when the First Lien Credit Agreement Collateral Agent is the Controlling Collateral Agent, no
               Additional First Lien Secured Party shall or shall instruct any Collateral Agent to, and no Collateral Agent that
               is not the Controlling Collateral Agent shall, commence any judicial or non-judicial foreclosure proceedings
               with respect to, seek to have a trustee, receiver, liquidator or similar official appointed for or over, attempt any
               action to take possession of, exercise any right, remedy or po·wer with respect to, or otherwise take any action
               to enforce its security interest in or realize upon, or take any other action available to it in respect of, any
               Shared Collateral (including with respect to any intercreditor agreement with respect to any Shared Collateral),
               whether under any Additional First Lien Security Document, applicable law or otherwise, it being agreed that
               only the First Lien Credit Agreement Collateral Agent, acting in accordance with the First Lien Credit
               Agreement Collateral Documents, shall be entitled to take any such actions or exercise any such remedies with
               respect to Shared Collateral at such time.

                        (b)      With respect to any Shared Collateral at any time when the First Lien Credit Agreement
               Collateral Agent is not the Controlling Collateral Agent, (i) the Controlling Collateral Agent shall act only on
               the instructions of the Applicable Authorized Representative, (ii) the Controlling Collateral Agent shall not
               follow any instructions with respect to such Shared Collateral (including with respect to any intercreditor
               agreement with respect to any Shared Collateral) from any Non-Controlling Authorized Representative (or any
               other First Lien Secured Party other than the Applicable Authorized Representative) and (iii) no Non-
               Controlling Authorized Representative or other First Lien Secured Party (other than the Applicable Authorized
                Representative) shall or shall instruct the Controlling Collateral Agent to, commence any judicial or non-
               judicial foreclosure proceedings with respect to, seek to have a trustee, receiver, liquidator or similar official
               appointed for or over, attempt any action to take possession of, exercise any right, remedy or power with
               respect to, or othervvise take any action to enforce its security interest in or realize upon, or take any other
               action available to it in respect of, any Shared Collateral (including with respect to any intercreditor agreement
               with respect to any Shared Collateral), ·w hether under any First Lien Security Document, applicable law or
               otherwise, it being agreed that only the Controlling Collateral Agent, acting on the instructions of the
               Applicable Authorized Representative and in accordance with the applicable Additional First Lien Security
               Documents, shall be entitled to take any such actions or exercise any such remedies with respect to Shared
               Collateral.

                       (c)       Notwithstanding the equal priority of the Liens securing each Series of First Lien Obligations
               with respect to any Shared Collateral, the Controlling Collateral Agent may deal with the Shared Collateral as if
               such Controlling Collateral Agent had a senior and exclusive Lien on such Shared Collateral. No Non-
               Controlling Authorized Representative or Non-Controlling Secured Party will contest, protest or object (or
               support any other Person in contesting, protesting or objecting) to any foreclosure proceeding or action brought


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               by the Controlling Collateral Agent, the Applicable Authorized Representative or any Controlling Secured
               Party or any other exercise by the Controlling Collateral Agent, the Applicable Authorized Representative or
               any Controlling Secured Party of any rights and remedies relating to the Shared Collateral, or to cause the
               Controlling Collateral Agent to do so. The foregoing shall not be construed to limit the rights and priorities of
               any First Lien Secured Party, the Controlling Collateral Agent or any Authorized Representative with respect to
               any Collateral not constituting Shared Collateral.

                       (d)      Each of the First Lien Secured Parties agrees that it will not ( and hereby waives any right to)
               question or contest or support any other Person in contesting, in any proceeding (including any Insolvency or
               Liquidation Proceeding), the perfection, priority, validity, attachment or enforceability of a Lien held by or on
               behalf of any of the First Lien Secured Parties in all or any part of the Collateral, or the provisions of this
               Agreement: provided that nothing in this Agreement shall be construed to prevent or impair the rights of any
               Collateral Agent or any Authorized Representative to enforce this Agreement.

                         SECTION 2.03 No Interference: Pavment Over.

                         (a)       Each First Lien Secured Party agrees that (i) it will not challenge or question in any
               proceeding the validity or enforceability of any First Lien Obligations of any Series or any First Lien Security
               Document or the validity, attachment, perfection or priority of any Lien under any First Lien Security
               Document or the validity or enforceability of the priorities, rights or duties established by or other provisions of
               this Agreement; (ii) it ·will not take or cause to be taken any action the purpose or intent of which is, or could
               be, to interfere, hinder or delay, in any manner, whether by judicial proceedings or otherwise, any sale, transfer
               or other disposition of the Shared Collateral by the Controlling Collateral Agent, (iii) except as provided in
               Section 2.02, it shall have no right to (A) direct the Controlling Collateral Agent or any other First Lien
               Secured Party to exercise, and shall not exercise, any right, remedy or power with respect to any Shared
               Collateral (including pursuant to any intercreditor agreement) or (B) consent to the exercise by the Controlling
               Collateral Agent or any other First Lien Secured Party of any right, remedy or power with respect to any Shared
               Collateral, (iv) it will not institute any suit or assert in any suit, bankruptcy, insolvency or other proceeding any
               claim against the Controlling Collateral Agent or any other First Lien Secured Party seeking damages from or
               other relief by way of specific performance, instructions or otherwise with respect to any Shared Collateral, and
               none of the Controlling Collateral Agent, any Applicable Authorized Representative or any other First Lien
               Secured Party shall be liable for any action taken or omitted to be taken by the Controlling Collateral Agent,
               such Applicable Authorized Representative or other First Lien Secured Party with respect to any Shared
               Collateral in accordance with the provisions of this Agreement, (v) if not the Controlling Collateral Agent, it
               will not seek, and hereby waives any right, to have any Shared Collateral or any part thereof marshaled upon
               any foreclosure or other disposition of such Collateral and (vi) it will not attempt, directly or indirectly, whether
               by judicial proceedings or otherwise, to challenge the enforceability of any provision of this Agreement;
               provided that nothing in this Agreement shall be construed to prevent or impair the rights of any of the
               Controlling Collateral Agent or any other First Lien Secured Party to enforce this Agreement.

                        (b)       Each First Lien Secured Party hereby agrees that if it shall obtain possession of any Shared
               Collateral or shall realize any proceeds or payment in respect of any such Shared Collateral, pursuant to any
               First Lien Security Document or by the exercise of any rights available to it under applicable law or in any
               Insolvency or Liquidation Proceeding or through any other exercise of remedies (including pursuant to any
               intercreditor agreement), at any time prior to the Discharge of each of the First Lien Obligations, then it shall
               hold such Shared Collateral, proceeds or payment in trust for the other First Lien Secured Parties and promptly
               transfer such Shared Collateral, proceeds or payment, as the case may be, to the Controlling Collateral Agent,
               to be distributed in accordance with the provisions of Section 2.01 hereof.

                         SECTION 2.04 Release of Liens: Power of Attorney.

                       (a)     lf, at any time the Controlling Collateral Agent forecloses upon or otherwise exercises
               remedies against any Shared Collateral resulting in a sale or disposition thereof, then (whether or not any
               Insolvency or Liquidation Proceeding is pending at the time) the Liens in favor of each other Collateral Agent


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               for the benefit of each Series of First Lien Secured Parties upon such Shared Collateral will automatically be
               released and discharged as and when, but only to the extent, such Liens of the Controlling Collateral Agent on
               such Shared Collateral are released and discharged; provided that (i) the Liens in favor of each Collateral Agent
               for the benefit of each related Series of First Lien Secured Parties secured by such Shared Collateral attach to
               any such Proceeds of such sale or disposition with the same priority vis-a-vis all the other First Lien Secured
               Parties as existed prior to the commencement of such sale or other disposition, and any such Liens shall remain
               subject to the terms of this Agreement until application thereof pursuant to Section 2.01 and (ii) any proceeds
               of any Shared Collateral realized therefrom shall be applied pursuant to Section 2.01.

                       (b)       Each Collateral Agent and Authorized Representative agrees to execute and deliver (at the
               sole costs and expense of the Grantors) all such authorizations and other instruments as shall reasonably be
               requested by the Controlling Collateral Agent to evidence and confinn any release of Shared Collateral
               provided for in this Section.

                        (c)     Each Non-Controlling Authorized Representative and Collateral Agent that is not the
               Controlling Collateral Agent, for itself and on behalf of the First Lien Secured Parties of the Series for whom it
               is acting, hereby irrevocably appoints the Controlling Collateral Agent and any officer or agent of the
               Controlling Collateral Agent, which appointment is coupled with an interest with full power of substitution, as
               its true and lawful attorney-in-fact with full irrevocable power and authority in the place and stead of such
               Non-Controlling Authorized Representative, Collateral Agent or First Lien Secured Party, to take any and all
               appropriate action and to execute any and all documents and instruments which may be necessary to
               accomplish the purposes of this Agreement, including the exercise of any and all remedies under each First
               Lien Security Document with respect to Shared Collateral and to evidence and confirm any release of Shared
               Collateral provided for in this Section 2.04.

                         SECTION 2.05 Certain Agreements with Respect to Bankruptcv or Insolvency Proceedings.
                        (a)      This Agreement shall continue in full force and effect notwithstanding the commencement of
               any Insolvency or Liquidation Proceeding. The parties hereto acknowledge that the provisions of this
               Agreement are intended to be enforceable as contemplated by Section 51 0(a) of the Bankrnptcy Code. All
               references herein to any Grantor shall include such Grantor as a debtor-in-possession and any receiver or
               trnstee for such Grantor.

                        (b)      If any Borrower and/or any other Grantor shall become subject to a case or proceeding (a
               "Bankruptcv Case") under the Bankruptcy Code or any other Bankrnptcy Law and shall, as debtor(s)-in-
               possession, move for approval of financing ("DIP Financing") to be provided by one or more lenders (the "DIP
               Lenders") to such Borrower or such Grantor under Section 364 of the Bankrnptcy Code or any equivalent
               provision of any other Bankrnptcy Law or the use of cash collateral under Section 363 of the Bankruptcy Code
               or any equivalent provision of any other Bankrnptcy Law, each First Lien Secured Party (other than any
               Controlling Secured Party or the Authorized Representative of any Controlling Secured Party) agrees that it
               will not raise, join or support any objection to any such financing or to the Liens on the Shared Collateral
               securing the same ("DIP Financing Liens") or to any use of cash collateral that constitutes Shared Collateral,
               unless the Controlling Collateral Agent (acting on the instructions of the Applicable Authorized
               Representative) shall then oppose or object (or join in or support any objection) to such DIP Financing or such
               DIP Financing Liens or use of cash collateral (and (i) to the extent that such DIP Financing Liens are senior to
               the Liens on any such Shared Collateral for the benefit of the Controlling Secured Parties, each Non-
               Controlling Secured Party will subordinate its Liens with respect to such Shared Collateral on the same terms
               as the Liens of the Controlling Secured Parties (other than any Liens of any First Lien Secured Parties
               constituting DIP Financing Liens) are subordinated thereto, and (ii) to the extent that such DIP Financing Liens
               rank pari passu with the Liens on any such Shared Collateral granted to secure the First Lien Obligations of
               the Controlling Secured Parties, each Non-Controlling Secured Party will confinn the priorities with respect to
               such Shared Collateral as set forth herein), in each case so long as (A) the First Lien Secured Parties of each
               Series retain the benefit of their Liens on all such Shared Collateral pledged to the DIP Lenders, including
               proceeds thereof arising after the commencement of such proceeding, with the same priority vis-a-vis all the



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               other First Lien Secured Parties (other than any Liens of the First Lien Secured Parties constituting DIP
               Financing Liens) as existed prior to the commencement of the Bankruptcy Case, (B) the First Lien Secured
               Parties of each Series are granted Liens on any additional collateral pledged to any First Lien Secured Parties
               as adequate protection or otherwise in connection with such DIP Financing or use of cash collateral, with the
               same priority vis-a-vis the First Lien Secured Parties (other than any Liens of any First Lien Secured Parties
               constituting DIP Financing Liens) as set forth in this Agreement, (C) if any amount of such DIP Financing or
               cash collateral is applied to repay any of the First Lien Obligations, such amount is applied pursuant to Section
               2.01 , and (D) if any First Lien Secured Parties are granted adequate protection, including in the fonn of
               periodic payments, in connection with such DIP Financing or use of cash collateral, the proceeds of such
               adequate protection are applied pursuant to Section 2.01; provided that this Agreement shall not limit the right
               of the First Lien Secured Parties of each Series to object to the grant of a Lien to secure the DIP Financing over
               any Collateral subject to Liens in favor of the First Lien Secured Parties of such Series or its Authorized
               Representative that shall not constitute Shared Collateral; and provided, further, that the First Lien Secured
               Parties receiving adequate protection shall not object to any other First Lien Secured Party receiving adequate
               protection comparable to any adequate protection granted to such First Lie n Secured Parties in connection with
               a DIP Financing or use of cash collateral.

                         SECTION 2.06 Reinstatement. In the event that any of the First Lien Obligations shall be paid in full
               and such payment or any part thereof shall subsequently, for whatever reason (including an order or judgment
               for disgorgement of a preference or other avoidance action under the Bankruptcy Code, or any similar law, or
               the settlement of any claim in respect thereof), be required to be returned or repaid, the terms and conditions of
               this Article II shall be fully applicable thereto until all such First Lien Obligations shall again have been paid in
               full in cash.

                        SECTION 2. 07 Insurance. As between the First Lien Secured Parties, the Controlling Collateral
               Agent (acting at the direction of the Applicable Authorized Representative) shall have the right to adjust or
               settle any insurance policy or claim covering or constituting Shared Collateral in the event of any loss
               thereunder and to approve any award granted in any condemnation, expropriation or similar proceeding
               affecting the Shared Collateral.

                        SECTION 2.08 Refinancings, etc. The First Lien Obligations of any Series may, subject to the
               limitations set forth in the then extant Secured Credit Documents, be increased, extended, renewed, replaced,
               restated, supplemented, restructured, repaid, refunded, Refinanced (in whole or in part) or otherw·ise amended
               or modified from time to time, in each case, ·without notice to, or the consent (except to the extent a consent is
               otherwise required to pe m1it the Refinancing transaction under any Secured Credit Document) of any First Lien
               Secured Party of any other Series, all without affecting the priorities provided for in Section 2.0 l(a) or the other
               provisions hereof; provided that the Authorized Representative and Collateral Agent of the holders of any such
               Refinancing indebtedness shall have executed a Joinder Agreement on behalf of the holders of such
               Refinancing indebtedness.

                         SECTION 2.09 Possessory Collateral Agent as Gratuitous Bailee and Agent for Perfection.

                         (a)      The Possessory Collateral shall be delivered to the Controlling Collateral Agent and the
               Controlling Collateral Agent agrees to hold any Shared Collateral constituting Possessory Collateral in its
               possession or control (or in the possession or control of its agents or bailees) as gratuitous bailee and non-
               fiduciary agent for the benefit of each other First Lien Secured Party for which such Possessory Collateral is
               Shared Collateral and any assignee solely for the purpose of perfecting the security inte rest granted in such
               Possessory Collateral, if any, pursuant to the applicable First Lien Security Documents, in each case, subject to
               the terms and conditions of this Section 2.09: provided that at any time the existing Controlling Collateral
               Agent ceases to be the Controlling Collateral Agent hereunder, the outgoing Controlling Collateral Agent shall
               (at the sole cost and expense of the Granto rs), at the request of the Additional First Lien Collateral Agent that is
               the new Controlling Collateral Agent, promptly deliver all PossessOI")' Collateral to such Additional First Lien
               Collateral Agent together with any necessary endorseme nts (or otherwise allow such Additional First Lien
               Collateral Agent to obtain control of such Possessory Collateral). Each Borrower and the other Grantors shall


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               take such further action as is required to effectuate the transfer contemplated hereby and shall indemnify each
               Collateral Agent for loss or damage suffered by such Collateral Agent as a result of such transfer except for
               loss or damage suffered by such Collateral Agent as a result of its own willful misconduct, gross negligence or
               bad faith (as determined by a court of competent jurisdiction in a final, non-appealable judgment).

                        (b)       The Controlling Collateral Agent agrees to hold any Shared Collateral constituting Possessory
               Collateral, from time to time in its possession, as gratuitous bailee and non-fiduciary agent for the benefit of
               each other First Lien Secured Party and any assignee, solely for the purpose of perfecting the security interest
               granted in such Possessory Collateral, if any, pursuant to the applicable First Lien Security Documents, in each
               case, subject to the tenus and conditions of this Section 2.09.

                        (c)      The duties or responsibilities of the Controlling Collateral Agent and each other Collateral
               Agent under this Section 2.09 shall be limited solely to holding any Shared Collateral constituting Possessory
               Collateral as gratuitous bailee and non-fiduciary agent for the benefit of each other First Lien Secured Party for
               purposes of perfecting the Lien held by such First Lien Secured Parties thereon.

                         SECTION 2. 10 Amendments to Securitv Documents.
                        (a)     Without the prior written consent of the First Lien Credit Agreement Collateral Agent, each
               Additional First Lien Secured Party agrees that no Additional First Lien Security Document may be amended,
               supplemented or otherwise modified or entered into to the extent such an1endment, supplement or modification,
               or the terms of any new Additional First Lien Security Document would be prohibited by any of the terms of
               this Agreement.

                       (b)      Without the prior written consent of the Additional First Lien Collateral Agents, the First Lien
               Credit Agreement Collateral Agent agrees that no First Lien Credit Agreement Collateral Document may be
               amended, supplemented or otherwise modified or entered into to the extent such amendment, supplement or
               modification, or the terms of any new First Lien Credit Agreement Collateral Document would be prohibited
               by any of the terms of this Agreement.

                       (c)      In making determinations required by this Section 2.10, each Collateral Agent may
               conclusively rely on a certificate of a Responsible Officer of the Top Borrower stating that such amendment is
               permitted by Sections 2.l0(a) or (hl as the case may be.

                                                                ARTICLE III

                                               Existence and Amounts of Liens and Obligations



                         SECTION 3 .01 Determinations with Respect to Amounts of Liens and Obligations. Whenever a
               Collateral Agent or any Authorized Representative shall be required, in connection with the exercise of its
               rights or the perfonnance of its obligations hereunder, to determine the existence or amount of any First Lien
               Obligations of any Series, or the Shared Collateral subject to any Lien securing the First Lien Obligations of
               any Series, it may request that such information be furnished to it in writing by each other Authorized
               Representative or Collateral Agent and shall be entitled to make such determination or not make any
               determination on the basis of the information so furnished ; provided, however, that if an Authorized
               Representative or a Collateral Agent shall fail or refuse reasonably promptly to provide the requested
                information, the requesting Collateral Agent or Authorized Representative shall be enti tled to make any such
               detennination by such method as it may, in the exercise of its good faith judgment, determine, including by
               re liance upon a certificate of the Top Borrower. Each Collateral Agent and each Authorized Representative
               may rely conclusively, and shall be fully protected in so relying, on any determination made by it in
               accordance with the provisions of the preceding sentence (or as otherwise directed by a court of competent
               jurisdiction) and shall have no liability to any Grantor, any First Lien Secured Party or any other person as a
               result of such detenuination.


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                                                                 ARTICLE TV

                                                       The Controlling Collateral Agent

                         SECTION 4.0 1 Authoritv.

                       (a)      Nonvithstanding any other provision of this Agreement, nothing herein shall be construed to
               impose any fiduciary or other duty on any Controlling Collateral Agent to any Non-Controlling Secured Party
               or any other Person, regardless of whether an Event of Default has occurred or is continuing, or give any Non-
               Controlling Secured Party the right to direct any Controlling Collateral Agent, except that each Controlling
               Collateral Agent shall be obligated to distribute proceeds of any Shared Collateral in accordance with Section
               2.01 hereof.

                         (b)      In furtherance of the foregoing, each Non-Controlling Secured Party acknowledges and
               agrees that the Controlling Collateral Agent shall be entitled, for the benefit of the First Lien Secured Parties,
               to sell, transfer or otherwise dispose of or deal with any Shared Collate ral as provided herein and in the First
               Lien Security Documents, as applicable, pursuant to which the Controlling Collateral Agent is the collateral
               agent and/or administrative agent for such Shared Collateral, without regard to any rights to which the Non-
               Controlling Secured Parties would othe rwise be entitled as a result of the First Lie n Obligations held by such
               Non-Controlling Secured Parties. Without limiting the foregoing, each Non-Controlling Secured Party agrees
               that none of the Controlling Collateral Agent, the Applicable Authorized Representative or any other First Lien
               Secured Party shall have any duty or obligation first to marshal or realize upon any type of Shared Collateral
               (or any other Collate ral securing any of the First Lien Obligations), or to sell, dispose of or otherwise liquidate
               all or any portion of such Shared Collateral (or any othe r Collateral securing any First Lien Obligations), in
               any manner that would maximize the return to the Non-Controlling Secured Parties, notwithstanding that the
               order and timing of any such realization, sale, disposition or liquidation may affect the amount of proceeds
               actually received by the Non-Controlling Secured Parties from such realization, sale, disposition or liquidation.
               Except w ith respect to any actions expressly prohibited or required to be taken by this Agreement, each of the
               First Lien Secured Parties waives any claim it may now or hereafter have against any Collateral Agent or the
               Authorized Representative of any other Se ries of First Lien Obligations or any other First Lien Secured Party
               of any other Series arising out of (i) any actions which any Collateral Agent, Authorized Representative or the
               First Lien Secured Parties take or omit to take (including, actions w ith respect to the creation, perfection or
               continuation of Lie ns on any Collateral, actions with respect to the foreclosure upon, sale, release or
               depreciation of, or failure to realize upon, any of the Collateral and actions with respect to the collection of any
               claim for all or any part of the First Lien Obligations from any account debtor, guarantor or any other party) in
               accordance with the First Lien Security Documents or any other agreement related thereto or to the collection
               of the First Lien Obligations or the valuation, use, protection or release of any security for the First Lien
               Obligations, (ii) any election by any Applicable Authorized Representative or any holders of First Lien
               Obligations, in any proceeding instituted unde r the Bankruptcy Code, of the application of Section 1111 (b) of
               the Bankruptcy Code or (iii) subject to Section 2.05, any borrowing by, or grant of a security interest or
               administrative expense priority under Section 364 of the Bankruptcy Code or any equivalent provision of any
               other Bankruptcy Law, by the Loan Parties or any of their subsidiaries, as debtor-in-possession.
               Notwithstanding any other provision of this Agreement, the Controlling Collateral Agent shall not accept any
               Shared Collateral in full or partial satisfaction of any First Lien Obligations pursuant to Section 9-620 of the
               Uniform Commercial Code of any jurisdiction, without the consent of each Authorized Representative
               re presenting holders of First Lien Obligations for whom such Collate ral constitutes Shared Collateral.

                        SECTION 4.02 Rights as a First Lien Secured Party. The Person serving as the Controlling
               Collateral Agent herew1der shall have the same rights and powers in its capacity as a First Lien Secured Party
               under any Series of First Lien Obligations that it holds as any other First Lien Secured Party of such Series and
               may exercise the same as though it were not the Controlling Collateral Agent and the tenu "First Lien Secured
               Party" or "First Lien Secured Parties" or (as applicable) "First Lien Credit Agreement Secured Party", " First
               Lien Credit Agreement Secured Parties", "Additional First Lien Secured Party", "Additional First Lien
               Secured Parties", " Initial Additional First Lien Secured Party" or "Initial Additional First Lien Secured


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               Parties" shall, if applicable and unless otherwise expressly indicated or unless the context otherwise requires,
               include the Person serving as the Controlling Collateral Agent hereunder in its individual capacity. Such
               Person and its Affiliates may accept deposits from , lend money to, act as the financial advisor or in any other
               advisory capacity for and generally engage in any kind of business with any Borrower or any subsidiary or
               other Affiliate thereof as if such Person were not the Controlling Collateral Agent hereunder and without any
               duty to account therefor to any other First Lien Secured Party.

                         SECTION 4.03 Exculpatory Provisions.

                        (a)     The Controlling Collateral Agent shall not have any duties or obligations except those
               expressly set forth herein and in the other First Lien Security Documents to which it is a party. Without
               limiting the generality of the foregoing, the Controlling Collateral Agent:

                                   (i)      shall not have any duty to take any discretionary action or exercise any discretionary
               powers, except discretionary rights and powers expressly contemplated hereby or by the other First Lien
               Security Documents that the Controlling Collateral Agent is required to exercise as directed in writing by the
               Applicable Authorized Representative; provided that the Controlling Collateral Agent shall not be required to
               take any action that, in its opinion or the opinion of its counsel, may expose the Controlling Collateral Agent to
               liability or that is contrary to any First Lien Security Document or applicable law;

                                (ii)     shall not, except as expressly set forth herein and in the other First Lien Security
               Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any information
               relating to any Borrower or any of its Affiliates that is communicated to or obtained by the Person serving as
               the Controlling Collateral Agent or any of its Affiliates in any capacity;

                                  (iii)   shall not be liable for any action taken or not taken by it (A) with the consent or at
               the request of the Applicable Authorized Representative or (B) in the absence of the willful misconduct, gross
               negligence, bad faith or material breach of this Agreement by the Controlling Collateral Agent or any affiliate,
               director, officer, employee, counsel, agent or attorney-in-fact of the Controlling Collateral Agent (in each case,
               as detem1ined by a court of competent jurisdiction in a fina l, non-appealable judgment) or (C) in reliance on a
               certificate of a Responsible Officer of the Top Borrower stating that such action is permitted by the terms of
               this Agreement (it being understood and agreed that the Controlling Collateral Agent shall be deemed not to
               have knowledge of any Event of Default under any Series of First Lien Obligations unless and until notice
               describing such Event of Default is given to the Controlling Collateral Agent by the Authorized Representative
               of such First Lien Obligations or the Top Borrower); shall not be responsible for or have any duty to ascertain
               or inquire into (A) any statement, warranty or representation made in or in connection with this Agreement or
               any other First Lien Security Document, (B) the contents of any certificate, report or other document delivered
               hereunder or thereunder or in connection herewith or therewith, (C) the performance or observance of any of
               the covenants, agreements or other tenns or conditions set forth herein or therein or the occurrence of any
               default, (D) the validity, enforceability, effectiveness or genuineness of this Agreement, any other First Lien
               Security Document or any other agreement, instrument or document, or the creation, perfection or priority of
               any Lien purported to be created by the First Lien Security Documents, (E) the existence, value or the
               sufficiency of any Collateral for any Series of First Lien Obligations, or (F) the satisfaction of any condition
               set forth in any Secured Credit Document, other than to confirm receipt of items expressly required to be
               delivered to the Controlling Collateral Agent; and

                                 (iv)    with respect to the First Lien Credit Agreement or any Additional First Lien
               Document, may conclusively assume that the Gran tors have complied with all of their obligations thereunder
               unless advised in writing by the Authorized Representative thereunder to the contrary specifically setting forth
               the alleged violation.

                       (b)     Each First Lien Secured Party acknowledges that, in addition to acting as the initial
               Controlling Collateral Agent, UBS also serves as Administrative Agent (under, and as defined in, the First
               Lien Credit Agreement), and each First Lien Secured Party hereby waives any right to make any objection or
               claim against UBS (or any successor Controlling Collateral Agent or any of their respective counsel) based on

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               any alleged conflict of interest or breach of duties arising from the Controlling Collateral Agent also serving as
               the First Lien Credit Agreement Collateral Agent.

                         SECTION 4.04 Reliance by Controlling Collateral Agent. The Controlling Collateral Agent shall be
               entitled to rely upon, and shall not incur any liability for relying upon, any notice, request, certificate, consent,
               statement, instnunent, document or other writing (including any electronic message, internet or intranet
               website posting or other distribution) believed by it to be genuine and to have been signed, sent or otherwise
               authenticated by the proper Person. The Controlling Collateral Agent also may rely upon any statement made
               to it orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
               liability for relying thereon. The Controlling Collateral Agent may consult with legal counsel (who may
               include, but shall not be limited to, counsel for any Grantor or counsel for the Applicable Authorized
               Representative), independent accountants and other experts selected by it, and shall not be liable for any action
               taken or not taken by it in accordance with the advice of any such counsel, accountants or experts.

                         SECTION 4.05 Delegation of Duties. The Controlling Collateral Agent may perfonn any and all of
               its duties and exercise its rights and powers hereunder or under any other First Lien Security Document by or
               through any one or more sub-agents appointed by the Controlling Collateral Agent. The Controlling Collateral
               Agent and any such sub-agent may perform any and all of its duties and exercise its rights and powers by or
               through their respective Affiliates. The exculpatory provisions of this Article shall apply to any such sub-
               agent and to the Affiliates of the Controlling Collateral Agent and any such sub-agent.

                        SECTION 4 .06 Non Reliance on Controlling Collateral Agent and Other First Lien Secured Parties.
               Each First Lien Secured Party acknowledges that it has, independently and without re liance upon the
               Controlling Collateral Agent, any Authorized Representative or any other First Lien Secured Party or any of
               their Affiliates and based on such documents and information as it has deemed appropriate, made its own
               credit analysis and decision to enter into this Agreement and the other Secured Credit Documents. Each First
               Lien Secured Party also acknowledges that it will, independently and without reliance upon the Controlling
               Collateral Agent, any Authorized Representative or any other First Lien Secured Party or any of their Affiliates
               and based on such documents and infonnation as it shall from time to time deem appropriate, conti nue to make
               its own decisions in taking or not taking action under or based upon this Agreement, any other Secured Credit
               Document or any related agreement or any document furnished hereunder or thereunder.

                                                                  ARTICLEV

                                                                 Miscellaneous

                        SECTION 5. 01 Notices. All notices and other communications provided for herein shall be in
               writing and shall be delivered by hand or overnight courier service, mailed by certified or registered mail or
               sent by telecopy, as follows:

                                (a)      if to the First Lien Credit Agreement Collateral Agent or to the Authorized
                         Representative for the First Lien Credit Agreement Secured Parties, to it at UBS AG, Stamford
                         Branch, Attention : Structured Finance Processing, 600 Washington Blvd., 9th Floor, Stamford,
                         Connecticut 06901 (Fax No. (203) 719-3888; E-mail: Agency-UBSAmericas@ubs.com);

                                 (b)     if to the Initial Additional First Lien Collateral Agent or the Initial Additional
                         Authorized Representative, to it at[_ _ ___,, Attention of [      ] (Fax No. [ ]);

                                  (c)      if to any other additional Authorized Representative, to it at the address set forth in
                         the applicable Joinder Agreement.

                        Unless otherwise specifically provided herein, any notice or other communication herein required or
               permitted to be given shall be in writing and, may be personally served, telecopied, electronically mailed or
               sent by courier service or U.S. mail and shall be deemed to have been given when delivered in person or by
               courier service, upon receipt of a telecopy or electronic mail or upon receipt via U.S. mail (registered or


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               certified, with postage prepaid and properly addressed). For the purposes hereof, the addresses of the parties
               hereto shall be as set forth above or, as to each party, at such other address as may be designated by such party
               in a written notice to all of the other parties.

                        Any party hereto may change its address or telecopy number for notices and other communications
               hereunder by notice to the other parties party hereto. All notices and other communications given to any party
               hereto in accordance with the provisions of this Agreement shall be deemed to have been given on the date of
               receipt (if a Business Day) and on the next Business Day thereafter (in all other cases) if delivered by hand or
               overnight courier service or sent by telecopy or on the date three Business Days after dispatch by certified or
               registered mail if mailed, in each case delivered, sent or mailed (properly addressed) to such party as provided
               in this Section 5.01 or in accordance with the latest unrevoked direction from such party given in accordance
               with this Section 5.01. To the extent agreed to in writing among each Collateral Agent and each Authorized
               Representative from time to time and upon notification to the Top Borrower, notices and other
               communications may also be delivered by e-mail to the e-mail address of a representative of the applicable
               person provided from time to time by such person.

                         SECTION 5.02 Waivers: Amendment Joinder Agreements.

                        (a)       No failure or delay on the part of any party hereto in exercising any right or power hereunder
               shall operate as a waiver thereof, nor shall any single or partial exercise of any such right or power, or any
               abandonment or discontinuance of steps to enforce such a right or power, preclude any other or further exercise
               thereof or the exercise of any other right or power. The rights and remedies of the parties hereto are
               cumulative and are not exclusive of any rights or remedies that they would otherwise have. No waiver of any
               provision of this Agreement or consent to any departure by any party therefrom shall in any event be effective
               unless the same shall be pem1itted by Section 5.02(b). and then such waiver or consent shall be effective only
               in the specific instance and for the purpose for which given. No notice or demand on any party hereto in any
               case shall entitle such party to any other or further notice or demand in similar or other circumstances.

                        (b)      Neither this Agreement nor any provision hereof may be terminated, waived, amended or
               modified (other than pursuant to any Joinder Agreement or any Supplement contemplated by Section 5.16)
               except pursuant to an agreement or agreements in writing entered into by each Authorized Representative and
               each Collateral Agent (and with respect to any such termination, waiver, amendment or modification which by
               the terms of this Agreement requires any Borrower' s consent or which increases the obligations or reduces the
               rights of or otherwise materially adversely affects any Borrower or any other Grantor, with the consent of the
               Top Borrower).

                       (c)      Notwithstanding the foregoing, without the consent of any First Lien Secured Party, any
               Authorized Representative may become a party hereto by execution and delivery of a Joinder Agreement in
               accordance with Section 5.13 and upon such execution and delivery, such Authorized Representative and the
               Additional First Lien Secured Parties and Additional First Lien Obligations of the Series for which such
               Authorized Representative is acting hereunder agree to be bound by, and shall be subject to, the terms hereof.

                        (d)     Notwithstanding the foregoing, in connection with any Refinancing of First Lien Obligations
               of any Series, or the incurrence of Additional First Lien Obligations of any Series, the Collateral Agents and
               the Authorized Representatives then party hereto shall enter (and are hereby authorized to enter without the
               consent of any other First Lien Secured Party or any Loan Party), at the request of any Collateral Agent, any
               Authorized Representative or the Top Borrower, into such amendments or modifications of this Agreement as
               are reasonably necessary to reflect such Refinancing or such incurrence in compliance with the Secured Credit
               Documents and are reasonably satisfactory to each such Collateral Agent and each such Authorized
               Representative, provided that any Collateral Agent or Authorized Representative may condition its execution
               and delivery of any such amendment or modification on a receipt of a certificate from a Responsible Officer of
               the Top Borrower to the effect that such Refinancing or incurrence is permitted by the then existing Secured
               Credit Documents.




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                        SECTION 5. 03 Parties in Interest. This Agreement shall be binding upon and inure to the benefit of
               the First Lien Secured Parties hereto and their respective successors and permitted assigns, as well as the other
               First Lien Secured Parties, all of whom are intended to be bound by, and to be third party beneficiaries of, this
               Agreement. Except as specifically set forth in Section 5. 02(b) and Section 5.12, no other person, including the
               Borrowers, Grantors or any other creditors thereof shall have or be entitled to assert rights or benefits
               hereunder.

                        SECTION 5. 04 Survival of Agreement. All covenants, agreements, representations and warranties
               made by any party in this Agreement shall be considered to have been relied upon by the other parties hereto
               and shall survive the execution and delivery of this Agreement.

                       SECTION 5.05 Counterparts. This Agreement may be executed by one or more of the parties to
               this Agreement on any number of separate counterparts, and all of said counterparts taken together shall be
               deemed to constitute one and the same instrument. Delivery of an executed signature page of this Agreement
               by facsimile, pdf. or other electronic transmission shall be effective as delivery of a manually executed
               counterpart hereof.

                         SECTION 5.06 Severabilitv. Any provision of this Agreement that is he ld to be invalid, illegal or
               unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such invalidity ,
               illegality or unenforceability without affecting the validity, legality or enforceability of the remaining
               provisions hereof, and the invalidity in any jurisdiction shall not invalidate or render unenforceable such
               provision in any other jurisdiction. The parties shall endeavor in good faith negotiations to replace the
               invalid, illegal or unenforceable provisions with valid provisions the economic effect of which comes as close
               as possible to that of the invalid, illegal or unenforceable provisions.

                     SECTION 5.07 GOVERNING LAW.   THIS AGREEMENT AND THE RIGHTS AND
               OBLIGATIONS OF THE PARTIES UNDER THIS AGREEMENT SHALL BE GOVERNED BY, AND
               CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
               YORK.

                        SECTION 5.08 Submission to Jurisdiction Waivers: Consent to Service of Process. Each party
               hereto (and in the case of Collateral Agent and each Authorized Representative, on behalf of itself and the First
               Lien Secured Parties of the Series for whom it is acting) irrevocably and unconditionally:

                                 (a)     submits for itself and its property in any legal action or proceeding relating to this
                         Agreement and the First Lien Security Documents, or for recognition and enforcement of any
                         judgment in respect thereof, to the exclusive jurisdiction of the courts of the State of New York in the
                         City of New York, Borough of Manhattan, the courts of the United States for the Southern District of
                         New York, and, in each case, appellate courts from any thereof;

                                  (b)     consents and agrees that any such action or proceeding shall be brought in such
                         courts and irrevocably waives (to the extent permitted by applicable law) any objection that it may now
                         or hereafter have to the venue of any such action or proceeding in any such court or that such action or
                         proceeding was brought in an inconvenient court and agrees not to plead or claim the same;

                                 (c)      agrees that service of process in any such action or proceeding may be effected by
                         mailing a copy thereof by registered or certified mail (or any substantially similar fonu of mail),
                         postage prepaid, to such Person (or its Authorized Representative) at the address set forth in Section
                         5.01;

                                 (d)     agrees that nothing here in shall affect the right of any other party hereto (or any First
                         Lien Secured Party) to effect service of process in any other manner permitted by law; and




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                                  (e)     waives, to the maximum extent not prohibited by law, any right it may have to claim
                         or recover in any legal action or proceeding referred to in this Section 5.08 any special, exemplary,
                         punitive or consequential damages.

                     SECTION 5.09 WAIVER OF JURY TRIAL. EACH PARTY TO THIS AGREEMENT HEREBY
               EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND, ACTION OR
               CAUSE OF ACTION ARISING UNDER THIS AGREEMENT OR IN ANYWAY CONNECTED WITH OR
               RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM
               WITH RESPECT TO THIS AGREEMENT, OR THE TRANSACTIONS RELATED THERETO, IN EACH
               CASE WHETHER NOW EXISTING OR HEREAFTER ARISING, AND WHETHER FOUNDED IN
               CONTRACT OR TORT OR OTHERWISE; AND EACH PARTY HEREBY AGREES AND CONSENTS
               THAT ANY SUCH CLAIM, DEMAND, ACTION OR CAUSE OF ACTION SHALL BE DECIDED BY
               COURT TRIAL WITHOUT A JURY, AND THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN
               ORIGINAL COUNTERPART OR A COPY OF THlS SECTION 5.09 WITH ANY COURT AS WRITTEN
               EVIDENCE OF THE CONSENT OF THE SIGNATORIES HERETO TO THE WAIVER OF THEIR RIGHT
               TO TRIAL BY JURY.

                       SECTION 5 .10 Headings. Article, Section and Annex headings used herein are for convenience of
               reference only, are not part of this Agreement and are not to affect the construction of, or to be taken into
               consideration in interpreting, this Agreement.

                     SECTION 5 .11 Conflicts. In the event of any conflict or inconsistency between the provisions of this
               Agreement and the provisions of any of the First Lien Security Documents or any of the other Secured Credit
               Documents, the provisions of this Agreement shall control to the extent of the conflict or inconsistency.

                          SECTION 5 .12 Provisions Solely to Define Relative Rights. The provisions of this Agreement are
               and are intended solely for the purpose of defining the relative rights of the First Lien Secured Parties in
               re lation to one another. None of the Borrowers, any other Grantor or any other creditor thereof shall have any
               rights or obligations hereunder, except as expressly provided in this Agreement (provided that nothing in this
               Agreement (other than Section 2.04, 2.05, 2.08, 2.09 or Article V) is intended to or will amend, waive or
               otherwise modify the provisions of the First Lien Credit Agreement or any Additional First Lien Documents),
               and none of the Borrowers or any other Grantor may rely on the terms hereof (other than Sections 2.04, 2.05,
               2.08, 2.09 and Article V). Nothing in this Agreement is intended to or shall impair the obligations of any
               Grantor, which are absolute and unconditional, to pay the First Lien Obligations as and when the same shall
               become due and payable in accordance with their terms.

                         SECTION 5 .13 Additional Senior Debt. To the extent, but only to the extent permitted by the
               provisions of each of the then-extant Secured Credit Documents, any Borrower may incur additional
               indebtedness after the date hereof that is secured on an equal and ratable basis by the Liens securing the First
               Lien Obligations on a first lien basis (such indebtedness referred to as "Additional Senior Class Debt"). Any
               such Additional Senior Class Debt may be secured by a Lien and may be Guaranteed by the Grantors on a
               senior basis (which Lien shall rank on a pari passu basis with the Liens on the Shared Collateral securing all
               other First Lien Obligations that are secured on a first lien basis), in each case under and pursuant to the
               Additional First Lien Documents, if and subject to the condition that the Authorized Representative of any
               such Additional Senior Class Debt (each, an "Additional Senior Class Debt Representative"), acting on behalf
               of the holders of such Additional Senior C lass Debt and the collateral agent for the holders of such Additional
               Senior Class Debt (each, an "Additional Senior Class Debt Collateral Agent") (such Additional Senior Class
               Debt Representative, Additional Senior Class Debt Collateral Agent and holders in respect of any Additional
               Senior Class Debt being referred to as the "Additional Senior Class Debt Parties"), becomes a party to this
               Agreement as an Authorized Representative and Collateral Agent, as applicable, by satisfying the conditions
               set forth in clauses (i) through (iv) of the immediately succeeding paragraph.




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                       Tn order for an Additional Senior Class Debt Representative and Additional Senior Class Debt
               Collateral Agent to become a party to this Agreement as an Authorized Representative and Collateral Agent, as
               applicable,

                                  (i)     such Additi onal Senior Class Debt Representative, such Additional Senior C lass Debt
                         Collateral Agent, each Collateral Agent, each Authorized Representative and each Grantor shall have
                         executed and delivered a Joinder Agreement (with such changes as may be reasonably approved by the
                         Controlling Collateral Agent and Additional Senior Class Debt Representative) pursuant to w hich such
                         Additional Senior Class Debt Representative becomes an Authorized Representative hereunder, such
                         Additional Senior Class Debt Collateral Agent becomes a Collateral Agent hereunder and the
                         Additional Senior Class Debt in respect of which suc h Additional Senior Class De bt Representative is
                         the Authorized Representative constitu tes Additional First Lie n Obligations and the related Additio nal
                         Senior Class Debt Parties become subject hereto and bound hereby as Additional First Lie n Secured
                         Parties;

                                  (ii)    the Borrowers shall have (x) de livered to each Authorized Representative and each
                         Collateral Agent true and complete copies of each of the Additional First Lien Documents relating to
                         such Additional Senior Class Debt, certified as being true and correct by a Responsible Officer of the
                         Top Borrower and (y) ide ntified in a certificate of a Responsible Officer the obligations to be
                         designated as Additional First Lien Obligations and the initial aggregate princ ipal amount or face
                         amount thereof and certified that such obligations are permitte d to be incurred and secured on a par;
                         passu basis with the the n-extant First Lien Obligations and by the terms of the then extant Secured
                         Credit Documents;

                                  (iii)    all filings, recordations and/or ame ndments or supple ments to the First Lie n Security
                         Documents necessary or desirable in the reasonable judgment of such Additional Senior Class Debt
                         Collateral Agent to confirm and perfect the Liens securing the relevant obligations relating to such
                         Additional Senior C lass Debt shall have been made, executed and/or delivered (or, with respect to any
                         such filings or recordations, acceptable provisio ns to perfom1 such filings or recordations shall have
                         been taken in the reasonable judgment of such Additional Senior Class Debt Collateral Agent), and all
                         fees and taxes in connection the rewith shall have been paid (or acceptable provisions to make such
                         payments have been taken in the reasonable judgment of such Additional Senior Class Debt Collateral
                         Agent); and

                                  (iv)    the Additional First Lien Documents, as applicable, relating to such Additional Senior
                         Class Debt shall provide, in a manner reasonably satisfactory to each Collateral Agent, that each
                         Additio nal Senior Class Debt Party with respect to such Additional Senior Class Debt w ill be subject
                         to and bound by the provisions of this Agreement in its capacity as a holder of such Additional Senior
                         Class Debt.

                       SECTION 5.14 Agent Capacities. Except as expressly provided here in or in the First Lien Credit
               Agreement Collateral Documents, UBS is acting in the capacities of First Lien Credit Agreement
               Administrative Agent and First Lien Credit Agreement Collateral Agent solely for the First Lien Credit
               Agreement Secured Parties. Except as expressly provided herein or in the Initial Additional First Lien Security
               Documents, [ ] is acting in the capacity of Initial Additional First Lien Collateral Agent solely for the Initial
               Additional First Lien Secure d Parties. Except as e xpressly se t forth here in, no ne of the First Lien Credit
               Agreeme nt Administrative Agent, the First Lien Credit Agreement Collateral Agent or any Additional First
               Lien Collateral Agent shall have any duties or obligations in respect of any of the Collateral, all of such duties
               and obligations, if any, being subject to and governed by the applicable Secured Credit Documents.

                        SECTION 5 .15 Integration. This Agreement together with the other Secured Credit Documents and
               the First Lien Security Documents represents the agreement of each of the Grantors and the First Lien Secured
               Parties w ith respect to the subject matter hereof and there are no promises, undertakings, representations or
               warranties by any Grantor, the First Lien Credit Agreement Collate ral Agent, or any other First Lie n Secured



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               Party relative to the subject matter hereof not expressly set forth or referred to herein or in the other Secured
               Credit Documents.

                        SECTION 5.16 Additional Grantors. The Top Borrowe r agrees that, if any subsidiary shall become a
               Grantor after the date hereof, they will promptly cause such subsidiary to become party hereto by executing
               and delivering an instrnment in the fom1 of Annex TTL Upon such execution and de livery, such subsidiary w ill
               become a Grantor hereunder with the same force and effect as if originally named as a Grantor herein. The
               parties hereto further agree that, notwithstanding any failure to take the actions required by the immediately
               preceding sentence, each Person which becomes a Grantor at any time (and any security granted by any such
               Person) shall be subject to the provisions hereof as fully as if same constituted a Grantor party hereto and had
               complied w ith the requirements of the immediately preceding sentence. The execution and delivery of such
               instrument shall not require the consent of any other party hereunder, and will be acknowledged by the First
               Lie n Credit Agreement Collateral Agent, the Initial Additional Authorized Representative and each additional
               Authorized Representative. The rights and obligations of each Grantor hereunder shall remain in full force and
               effect notwithstanding the addition of any new Grantor as a party to this Agreement.




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                        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by their
               respective authorized officers as of the day and year first above written.
                                                              UBS AG, STAMFORD BRANCH,
                                                              as First Lien Credit Agreement Collateral Agent




                                                              By : - - - - - - - - - - - - - -
                                                                Name:
                                                                Title:


                                                                   ],
                                                              as Initial Additional First Lien Collateral Agent and as
                                                              Initial Additional Authorized Representative
                                                              By : - - - - - - - - - - - - - -
                                                                   Name:
                                                                   Title:




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                                                     DAWN INTERMEDIATE, INC.



                                                     By: - - - - - - - - - - - - - -
                                                            Name:
                                                            Title:


                                                     SERTA SIMMONS BEDDING, LLC



                                                     By : - - - - - - - - - - - - - -
                                                            Name:
                                                            Title:


                                                     NATIONAL BEDDING COMPANY L.L.C.



                                                     By : - - - - - - - - - - - - - -
                                                            Name:
                                                            Title:


                                                     SSB MANUFACTURING COMPANY



                                                     By :
                                                            --------------
                                                            Name :
                                                            Title:




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                                                                                       ANNEXI
                                                     Grantors



               [•]




                                                    ANNEX 1-1
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                                                                                                                                     ANNEX II
                        [FORM OF) JOINDER NO. [ ] dated as of [ J , 201_ to the FIRST LIEN INTERCREDITOR
               AGREEMENT dated as of [ ], 20[ ] (the "First Lien lntercreditor Agreement"), among Dawn Intennediate,
               Inc., a Delaware corporation ("Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability
               company ("SSB" or the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability
               company ("National Bedding"), SSB Manufacturing Company, a Delaware corporation (" SSB
               Manufacturing"), and certain subsidiaries and affiliates of the Top Borrower (each, a " Grantor"), UBS AG,
               STAMFORD BRANCH, as First Lien Credit Agreement Collateral Agent for the First Lien Credit Agreement
               Secured Parties under the First Lien Security Documents (in such capacity, the " First Lien Credit Agreement
               CollateraI Agent"), [ ] as Authorized Representative, and the additional Authorized Representatives and
               Collateral Agents from time to time a party thereto. 1

                       A.       Capitalized tenns used herein but not otherwise defined herein shall have the meanings
               assigned to such tenns ii1 the First Lien lntercreditor Agreement.

                        B.       As a condition to the ability of the Borrowers to incur Additional First Lien Obligations and
               to secure such Additional Senior Class Debt with the liens and security interests created by the Additional First
               Lien Security Documents relating thereto, the Additional Senior Class Debt Representative in respect of such
               Additional Senior Class Debt is required to become an Authorized Representative, the Additional Senior Class
               Debt Collateral Agent is respect of such Additional Senior Class Debt is required to become a Collateral
               Agent, and such Additional Senior Class Debt and the Additional Senior Class Debt Parties in respect thereof
               are required to become subject to and bound by, the First Lien lntercreditor Agreement. Section 5 .13 of the
               First Lien lntercreditor Agreement provides that such AdditionaI Senior Class Debt Representative may
               become an Authorized Representative, such Additional Senior Class Debt Collateral Agent may become a
               Collateral Agent and such Additional Senior Class Debt and such AdditionaI Senior Class Debt Parties may
               become subject to and bound by the First Lien lntercreditor Agreement as Additional First Lien Obligations
               and Additional First Lien Secured Parties, respectively, upon the execution and delivery by the Additional
               Senior Class Debt Representative and the Additional Senior Class Debt Collateral Agent of an instrument in
               the fonn of this Joinder Agreement and the satisfaction of the other conditions set forth in Section 5 .13 of the
               First Lien lntercreditor Agreement. The undersigned Additional Senior Class Debt Representative (the ' 'New
               Representative") and Additional Senior Class Debt Collateral Agent (the "New Collateral Agent") is executing
               this Joinder Agreement in accordance with the requirements of the First Lien lntercreditor Agreement and the
               First Lien Security Documents.

                      Accordingly, each Collateral Agent, each Authorized Representative and the New Representative and
               the New Collateral Agent agree as follows:

                         SECTION 1.      In accordance with Section 5.13 of the First Lien lntercreditor Agreement, the New
               Representative by its signature below becomes an Authorized Representative under, the New Collateral Agent
               by its signature below becomes a Collateral Agent under, and the related Additional Senior Class Debt and
               AdditionaI Senior Class Debt Parties become subject to and bound by, the First Lien lntercreditor Agreement
               as Additional First Lien Obligations and Additional First Lien Secured Parties, with the same force and effect
               as if the New Representative had originally been nan1ed therein as an Authorized Representative and the New
               Collateral Agent had originally been named therein as Collateral Agent, and each of the New Representative
               and the New Collateral Agent, on its behalf and on behalf of such Additional Senior Class Debt Parties, hereby
               agrees to all the terms and provisions of the First Lien lntercreditor Agreement applicable to it as Authorized
               Representative or Collateral Agent, as applicable and to the Additional Senior Class Debt Parties that it
               represents as AdditionaI First Lien Secured Parties. Each reference to an "Authorized Representative" in the
               First Lien lntercreditor Agreement shall be deemed to include the New Representative. Each reference to a



                    In the event of the Refmancit1g oft11e First L ien Credit Agreement Obligations, revise to reflect joinder by a new First Lien
                    Credit Agreement Collateral Agent


                                                                        ANNEX II-I
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               "Collateral Agent" in the First Lien Intercreditor Agreement shall be deemed to include the New Collateral
               Agent. The First Lien Intercreditor Agreement is hereby incorporated herein by reference.

                        SECTION 2.        Each of the New Representative and the New Collateral Agent represents and
               warrants to each Collateral Agent, each Authorized Representative and the other First Lien Secured Parties,
               individually, that (i) it has full power and authority to enter into this Joinder, in its capacity as
               [trustee/administrative agent and collateral agent] under [describe new facility], (ii) this Joinder has been duly
               authorized, executed and delivered by it and constitutes its legal, valid and binding obligation, enforceable
               against it in accordance with its terms, except as enforceability may be limited by applicable bankruptcy,
               insolvency or similar laws affecting the enforcement of creditors' rights generally or by equitable principles
               relating to enforceability and (iii) the Additional First Lien Documents relating to such Additional Senior Class
               Debt provide that, upon the Ne,.v Representative's entry into this Agreement, the Additional Senior Class Debt
               Parties in respect of such Additional Senior Class Debt will be subject to and bound by the provisions of the
               First Lien Intercreditor Agreement as Additional First Lien Secured Parties.

                        SECTION 3.       This Joinder may be executed in counterparts, each of which shall constitute an
               original, but all of which when taken together shall constitute a single contract. This Joinder shall become
               effective when each Collateral Agent shall have received a counterpart of this Joinder that bears the signatures
               of the New Representative and the New Collateral Agent. Delivery of an executed signature page to this
               Joinder by telecopy, .pdf or other electronic imaging means shall be effective as delivery of a manually signed
               counterpart of this Joinder.

                        SECTION 4.        Except as expressly supplemented hereby, the First Lien Intercreditor Agreement
               shall remain in full force and effect.

                    SECTION 5.  THIS JOINDER AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
               HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED AND lNTERPRETED IN
               ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                        SECTION 6.        In case any one or more of the provisions contained in this Joinder should be held
               invalid, illegal or tmenforceable in any respect, no party hereto shall be required to comply with such provision
               for so long as such provision is held to be invalid, illegal or unenforceable, but the validity, legality and
               enforceability of the remaining provisions contained herein and in the First Lien Intercreditor Agreement shall
               not in any way be affected or impaired. The parties hereto shall endeavor in good-faith negotiations to replace
               the invalid, illegal or unenforceable provisions with valid provisions the economic effect of which comes as
               close as possible to that of the invalid, illegal or unenforceable provisions.

                        SECTION 7.      All communications and notices hereunder shall be in writing and given as provided
               in Section 5.01 of the First Lien Intercreditor Agreement. All communications and notices hereunder to the
               New Representative or the New Collateral Agent shall be given to it at its address set forth below its signature
               hereto.

                       SECTION 8.        Each Borrower agrees to reimburse each Collateral Agent and each Authorized
               Representative for its reasonable out-of-pocket expenses in connection ·with this Joinder, including the
               reasonable fees, other charges and disbursements of counsel, in each case as required by the applicable Secured
               Credit Documents.




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                        IN WITNESS WHEREOF, the New Representative has duly executed this Joinder to the First Lien
               Intercreditor Agreement as of the day and year first above written.



                                                             [NAME OF NEW REPRESENTATIVE], as
                                                             [  ] for the holders of
                                                             [     ],
                                                             By:
                                                                         Name:
                                                                         Title:


                                                             Address for notices:




                                                             attention of:
                                                             Telecopy:


                                                             [NAME OF NEW COLLATERAL AGENT], as
                                                             collateral agent for the holders of
                                                             [          ],

                                                             By:
                                                                         Name:
                                                                         Title:


                                                             Address for notices:




                                                             attention of:
                                                             Telecopy:




                                                           ANNEX Il-3
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               Acknowledged by:

               UBS AG, STAMFORD BRANCH,
               as the First Lien Credit Agreement Collateral Agent,

               By:
                         Name:
                         Title:

               By:
                         Name:
                         Title:


               [    ],
               as Authorized Representative,



               By:
                         Name:
                         Title:


               [OTHER AUTHORIZED REPRESENTATNES]




                                                               ANNEX Il-4
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               DAWN INTERMEDIATE, INC. , as Holdings



               By:
                         Name:
                         Title:


               SERTA SIMMONS BEDDING, LLC, as the Top Borrower



               By:
                         Name:
                         Title:




               NATIONAL BEDDING COMPANY L.L.C., as a Borrower



               By:
                         Name:
                         Title:


               SSB MANUFACTURING COMPANY, as a Borrower



               By:
                         Name:
                         Title:


               THE OTHER GRANTORS

               [•]
               By:
                         Name:
                         Title:




                                                       ANNEX Il-5
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                                                                                                                       ANNEX III

                        SUPPLEMENT NO. [ ] dated as of [ ] , 20[ ], to the FIRST LIEN INTERCREDITOR
               AGREEMENT dated as of [ ] , (the " First Lien Inte rcreditor Agreement"), among Dawn Intennediate, Inc., a
               Delaware corporation ("Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company
               (" SSB" or the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company
               (" National Bedding"), SSB Manufacturing Company, a Delaw are corporation (" SSB Manufacturing"), and
               certain subsidiaries and affiliates of the Top Borrower (each, a "Grantor"), UBS AG, STAM FORD BRANCH,
               as collateral agent under the First Lien Credit Agreement, [ ] , as Authorized Representative, and the
               additional Authorized Representatives and Collateral Agents from time to time party thereto.

                       A.       Capitalized terms used herein and not otherwise defmed herein shall have the meanings
               assigned to such terms i11 the First Lie n Intercreditor Agreement.

                        B.       The Grantors have entered into the First Lien Intercreditor Agreement. Pursuant to the First
               Lie n Credit Agreement and certain Additional First Lien Documents, certain newly acquired or organized
               subsidiaries of the Top Borrower are required to ente r into the First Lie n Inte rcreditor Agreement. Section
               5.16 of the First Lie n Intercreditor Agreement provides that such subsidiaries may become party to the First
               Lien Intercreditor Agreement by execution and delivery of an instrument in the form of this Supplement. The
               undersigned subsidiary (the " New Grantor") is executing this Supplement in accordance with the requirements
               of the First Lien Credit Agreement and the Additional First Lien Documents.

                         Accordingly, each Authorized Representative and the New Subsidiary Grantor agree as follows:

                       SECTION 1.         In accordance with Section 5 .16 of the First Lien Intercreditor Agreement, the New
               Grantor by its signature below becomes a Grantor under the First Lien Intercreditor Agreement with the same
               force and effect as if originally named therein as a Grantor, and the New Grantor he re by agrees to all the terms
               and provisions of the First Lien Intercreditor Agreement applicable to it as a Grantor thereunder. Each
               reference to a " Grantor" in the First Lien Intercreditor Agreement shall be deemed to include the New Grantor.
               The First Lien Intercreditor Agreement is hereby incorporated herein by reference.

                        SECTION 2.       The New Grantor represents and warrants to each Authorized Representative and the
               other First Lien Secured Parties that (i) it has the full power and authority to ente r into this Supplement and (ii)
               this Supplement has been duly authorized, executed and delivered by it and constitutes its legal, valid and
               binding obligation, e nforceable against it in accordance w ith its tenns, except as such enforceability may be
               limited by Bankruptcy Law and by general principles of equity.

                        SECTION 3.       This Supplement may be executed in counterparts, each of which shall constitute an
               original, but all of which when taken together shall constitute a single contract. This Supplement shall
               become effective when each Authorized Representative shall have received a counterpart of this Supplement
               that bears the signature of the New Grantor. Delivery of an executed signature page to this Supplement by
               facsimile transmission or other electronic method shall be as effective as delivery of a manually signed
               counterpart of this Supplement.

                        SECTION 4.        Except as expressly supplemented hereby, the First Lien Intercreditor Agreement
               shall remain in full force and effect.

                     SECTION 5. THTS SUPPLEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
               PARTIES HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
               ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                        SECTION 6.       In case any one or more of the provis ions contained in this Supplement should be
               held invalid, illegal or unenforceable in any respect, no party hereto shall be required to comply with such
               provision for so long as such provision is held to be invalid, illegal or unenforceable, but the validity, legality
               and enforceability of the remaining provisions contained herein and in the First Lien Intercreditor Agreement
               shall not in any way be affected or impaired. The parties hereto shall endeavor in good-faith negotiations to


                                                                  ANNEX IIl-1
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               replace the invalid, illegal or unenforceable provisions with valid provisions the economic effect of which
               comes as close as possible to that of the invalid, illegal or unenforceable provisions.

                        SECTION 7.      All communications and notices hereunder shall be in writing and given as provided
               in Section 5.01 of the First Lien Intercreditor Agreement. All communications and notices hereunder to the
               New Grantor shall be given to it in care of the Top Borrower as specified in the First Lien Intercreditor
               Agreement.

                       SECTION 8.       The Top Borrower agrees to reimburse each Authorized Representative for its
               reasonable out-of-pocket expenses in connection with this Supplement, including the reasonable fees, other
               charges and disbursements of counsel for each Authorized Representative as required by the applicable
               Secured Credit Documents.

                       IN WITNESS WHEREOF, the New Grantor, and each Authorized Representative have duly executed
               this Supplement to the First Lien Intercreditor Agreement as of the day and year first above written.

                                                                   [NAME OF NEW SUBSIDIARY GRANTOR]

                                                                   By:
                                                                            Name:
                                                                            Title:

               Acknowledged by:

               UBS AG, STAMFORD BRANCH,
               as the First Lien Credit Agreement Collateral Agent and Authorized Representative,



               By:
                         Name:
                         Title:



               By:
                         Name:
                         Title:

               [       ],
               as the Initial Additional Authorized Representative [and the Initial Additional First Lien Collateral Agent and],


               By:
                         Name:
                         Title:

               [OTHER AUTHORIZED REPRESENT ATNES]




                                                                ANNEX III-2
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                                                                                     EXHIBIT G-3

                                                           [FORMOF]
                                             FIRST LIEN INTERCREDITOR AGREEMENT

                                                         [See attached.]




                                                             G-3-1
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                                             FIRST LIEN INTERCREDITOR AGREEMENT

                                                                  among

                                                     DAWN INTERMEDIATE, LLC,
                                                            as Holdings,

                                                 SERTA SIMMONS BEDDING, LLC,
                                                       as the Top Borrower,

                                                      the other Grantors party hereto,

                                                    UBS AG, STAMFORD BRANCH,

                            as Priority First Lien Credit Agreement Collateral Agent for the Priority First Lien
                  Credit Agreement Secured Parties and as the Priority First Lien Credit Agreement Administrative Agent,

                                                    UBS AG, STAMFORD BRANCH

                                   as the Existing First Lien Collateral Agent for the Existing First Lien
                                                              Secured Parties,
                                               and as the Existing Authorized Representative,

                                                                    and

                 each additional Authorized Representative and additional Collateral Agent from time to time party hereto




                                                         dated as of June 22, 2020




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                        FIRST LTEN INTERCREDITOR AGREEMENT, dated as of June 22, 2020 (as amended, restated,
               amended and restated, extended, supplemented or otherwise modified from time to time, this " Agreement"),
               among Dawn Intermediate, LLC, a Delaware limited liability company ("Holdings"), Serta Simmons Bedding,
               LLC, a Delaware limited liability company ("SSB" or the "Top Borrower"), National Bedding Company
               L.L.C., an Illinois limited liability company ("National Bedding"), SSB Manufacturing Company, a Delaware
               corporation ("SSB Manufacturing" ), the other Grantors (as defined below) from time to time party hereto,
               UBS AG, Stamford Branch ("UBS"), as Authorized Representative for the Priority First Lien Credit
               Agreement Secured Parties (as defined below) (in such capacity and together with its successors in such
               capacity, the "Priority First Lien Credit Agreement Administrative Agent"), UBS, as collateral agent for the
               Priority First Lien Credit Agreement Secured Parties (as defined below) (in such capacity and together with its
               successors in such capacity, the "Priority First Lien Credit Agreement Collateral Agent"), UBS, as collateral
               agent for the Existing First Lien Secured Parties (as defined below) (in such capacity and together with its
               successors in such capacity, the "Existing First Lien Collateral Agent"), UBS, as Authorized Representative for
               the Existing First Lien Secured Parties (as defined below) (in such capacity and together with its successors in
               such capacity, the "Existing Authorized Representative") and each additional Authorized Representative and
               additional Collateral Agent from time to time party hereto for the other Additional First Lien Secured Parties
               of the Series (as each such term is defmed below) with respect to which it is acting in such capacity.

                        1n consideration of the mutual agreements herein contained and other good and valuable consideration,
               the receipt and sufficiency of which are hereby acknowledged, the Priority First Lien Credit Agreement
               Collateral Agent (for itself and on behalf of the Priority First Lien Credit Agreement Secured Parties), the
               Existing Authorized Representative (for itself and on behalf of the Existing First Lien Secured Parties) and each
               additional Authorized Representative (for itself and on behalf of the Additional First Lien Secured Parties of
               the applicable Series) agree as follows:

                                                                 ARTICLE I

                                                                 Definitions

                        SECTION 1.01 Certain Defined Terms. Capitalized terms used but not otherwise defined herein have
               the meanings set forth in the Priority First Lien Credit Agreement (as defmed below) or, if defmed in the New
               York UCC, the meanings specified therein. As used in this Agreement, the following tenns have the meanings
               specified below:

                        "ABL lntercreditor Agreement" means the "ABL lntercreditor Agreement" (or similarly defined term)
               as defined in the Priority First Lien Credit Agreement

                       "Additional First Lien Collateral Agent" means (a) in the case of the Existi ng First Lien Obligations,
               the Existing First Lien Collateral Agent and (b) in the case of any other Series of Additional First Lien
               Obligations that becomes subject to this Agreement after the date hereof, the Additional Senior Class Debt
               Collateral Agent for such Series named in the applicable Joinder Agreement.

                       "Additional First Lien Documents" means, with respect to the Existing First Lien Obligations or any
               Series of Additional Senior Class Debt, the notes, indentures, credit agreements, collateral agreements, security
               documents, guarantees and other operative agreements evidencing or governing such Indebtedness and the
               Liens securing such Indebtedness, including the Existing First Lien Documents and the Additional First Lien
               Security Documents and each other agreement entered into for the purpose of securing the Existing First Lien
               Obligations or any Series of Additional Senior Class Debt; provided that, in each case, the Indebtedness
               thereunder (other than the Existing First Lien Obligations) has been designated as Additional Senior Class Debt
               pursuant to Section 5.13 hereto.

                        "Additional First Lien Obligations" means collectively ( 1) the Existing First Lien Obligations and (2)
               all amounts owing pursuant to the terms of any Series of Additional Senior Class Debt designated as Additional
               First Lien Obligations pursuant to Section 5.13 after the date hereof, including, without limitation, the
               obligation (including guarantee obligations) to pay principal, premium, interest, fees, expenses (including




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               interest, fees and expenses that accrue after the commencement of a Bankruptcy Case, regardless of whether
               such interest, fees and expenses are an allowed claim under such Bankruptcy Case), letter of credit
               commissions, reimbursement obligations, charges, attorneys costs, indem11ities, penalties, reimbursements,
               damages and other amounts payable by a Grantor under any Additional First Lien Document (including
               guarantees of the foregoing).

                        "Additional First Lien Secured Partv" means the holders of any Additional First Lien Obligations and
               any Authorized Representative and Additional First Lien Collateral Agent with respect thereto and the
               beneficiaries of each indemnification obligation undertaken by each Borrower and the other Grantors under
               any related Additional First Lien Document, and shall include the Existing First Lien Secured Parties and the
               Additional Senior Class Debt Parties.

                        "Additional First Lien Securitv Document" means any collateral agreement, security agreement or any
               other document now existing or entered into after the date hereof that creates or purports to create, Liens on any
               assets or properties of any Gran tor to secure any of the Additional First Lien Obligations.

                       "Additional Senior Class Debt" has the meaning assigned to such term in Section 5.13.

                       "Additional Senior Class Debt Collateral Agent" has the meaning assigned to such term in
               Section 5.13.

                       "Additional Senior Class Debt Parties" has the meaning assigned to such tenn in Section 5.13.

                       "Additional Senior Class Debt Representative" has the meaning assigned to such tenn in Section 5.13.

                       "Agreement" has the meaning assigned to such tenn in the introductory paragraph of hereto.

                        "Applicable Authorized Representative" means, with respect to any Shared Collateral, (i) until the
               Discharge of Priority First Lien Credit Agreement Obligations, the Priority First Lien Credit Agreement
               Administrative Agent, (ii) from and after the Discharge of Priority First Lien Credit Agreement Obligations
               until a Discharge of Existing First Lien Credit Agreement Obligations has occurred, the Existing Authorized
               Representative and (iii) from and after the Discharge of Existing First Lien Credit Agreement Obligations, the
               M~jor Non-Controlling Authorized Representative.

                        "Authorized Representative" means, at any time, (i) in the case of any Priority First Lien Credit
               Agreement Obligations or the Priority First Lien Credit Agreement Secured Part·ies, the Priority First Lien
               Credit Agreement Administrative Agent, (ii) in the case of the Existing First Lien Obligations or the Existing
               First Lien Secured Parties, the Existing Authorized Representative, and (iii) in the case of any other Series of
               Additional First Lien Obligations or Additional First Lien Secured Parties that become subject to this
               Agreement after the date hereof, the Additional Senior Class Debt Representative for such Series named in the
               applicable Joinder Agreement.

                       "Bankruptcy Case" has the meaning assigned to such term in Section 2.05(b).

                       "Bankruptcy Code" means Title 11 of the United States Code, as amended.

                          "Bankruptcy Law" means the Bankruptcy Code and any similar federal, state or foreign law for the
               re lief of debtors.

                       "Borrowers" means collectively, SSB, National Bedding and SSB Manufacturing.

                       "Closing Date" means November 8, 2016.

                       "Collateral" means all assets and properties subject to, or purported to be subject to, Liens created
               pursuant to any First Lien Security Document to secure one or more Series of First Lien Obligations.




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                        "Collateral Agent" means (i) in the case of any Priority First Lien Credit Agreement Obligations, the
               Priority First Lien Credit Agreement Collateral Agent, (ii) in the case of the Existing First Lien Obligations, the
               Existing First Lien Collateral Agent and (iii) in the case of any other Series of Additional First Lien Obligations
               that become subject to this Agreement after the date hereof, the Additional Senior Class Debt Collateral Agent
               for such Series named in the applicable Joinder Agreement.

                        "Contingent First Lien Obligation" means, at any time, First Lien Obligations for taxes, costs,
               indemnifications, reimbursements, damages and other contingent liabilities (excluding (a) the principal of, and
               interest and premium (if any) on, and fees and expenses relating to, any First Lien Obligation and (b)
               contingent reimbursement obligations in respect of amounts that may be drawn under outstanding letters of
               credit) in respect of which no assertion of liability (whether oral or written) and no claim or demand for
               payment (whether oral or written) has been made (and, in the case of First Lien Obligations for
               indemnification, no notice for indemnification has been issued by the indemnitee) at such time.

                         "Controlling Collateral Agent" means, with respect to any Shared Collateral, (i) tmtil the Discharge of
               Priority First Lien Credit Agreement Obligations, the Priority First Lien Credit Agreement Collateral Agent,
               (ii) from and after the Discharge of Priority First Lien Credit Agreement Obligations, until a Discharge of
               Existing First Lien Credit Agreement Obligations has occurred, the Existing First Lien Collateral Agent and
               (iii) from and after the Discharge of Existing First Lien Credit Agreement Obligations, the Additional First
               Lien Collateral Agent for the Series of Additional First Lien Obligations represented by the Ma,jor Non-
               Controlling Authorized Representative.

                        "Controlling Secured Parties" means, with respect to any Shared Collateral, (i) at any time when the
               Priority First Lien Credit Agreement Collateral Agent is the Controlling Collateral Agent with respect to such
               Shared Collateral, the Priority First Lien Credit Agreement Secured Parties and (ii) at any time when the
               Existing First Lien Collateral Agent is the Controlling Collateral Agent with respect to such Shared Collateral,
               the Existing First Lien Secured Parties and (iii) at any other time, the other Additional First Lien Secured
               Parties that are represented by the then applicable Ma,jor Non-Controlling Representative.

                       "DIP Financing" has the meaning assigned to such term in Section 2.05(b).

                       "DIP Financing Liens" has the meaning assigned to such term in Section 2.05(b).

                       "DIP Lenders" has the meaning assigned to such term in Section 2.05(b).

                        "Direction of the Priority First Lien Credit Agreement Required Lenders" means a written direction or
               instruction from Priority First Lien Credit Agreement Lenders constituting the Priority First Lien Credit
               Agreement Required Lenders which may be in the fom1 of an email or other form of written communication
               and which may come from any Specified Lender Advisor. Any such email or other communication from a
               Specified Lender Advisor shall be conclusively presumed to have been authorized by a written direction or
               instruction from the Priority First Lien Credit Agreement Required Lenders and such Specified Lender
               Advisor shall be conclusively presumed to have acted on behalf of and at the written direction or instruction
               from the Priority First Lien Credit Agreement Required Lenders. For the avoidance of doubt, with respect to
               each reference here in to (i) documents, agreements or other matters being "satisfactory," "acceptable,"
               "reasonably satisfactory" or " reasonably acceptable" (or any expression of similar import) to the Required
               Lenders, such determination may be communicated by a Direction of the Priority First Lien Credit Agreement
               Required Lenders as contemplated above and/or (ii) any matter requiring the consent or approval of, or a
               determination by, the Priority First Lien Credit Agreement Required Lenders, such consent, approval or
               detennination may be communicated by a Direction of the Priority First Lien Credit Agreement Required
               Lenders as contemplated above.

                       "Discharge" means, with respect to any Shared Collateral and any Series of First Lien Obligations, the
               date on which (i) such Series of First Lien Obligations have been paid in full in cash (other than any
               Contingent First Lien Obligations) and are no longer secured and no longer required to be secured by such
               Shared Collateral pursuant to the terms of the documentation governing such Series of First Lien Obligations


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               or, with respect to any obligations and liabilities under Secured Hedge Agreements or Treasury Services
               Agreements secured by the Collateral Documents for such Series of First Lien Obligations, any of (x) such
               obligations and liabilities under Secured Hedge Agreements and Treasury Services Agreements have been paid
               in foll in cash (other than obligations and liabilities under Treasury Services Agreements and Secured Hedge
               Agreements not due and payable), (y) such obligations and liabilities under Secured Hedge Agreements and
               Treasury Services Agreements shall have been cash collateralized on terms satisfactory to each applicable
               counterparty (or other arrangements satisfactory to the applicable counterparty shall have been made) (other
               than obligations and liabilities under Treasury Services Agreements and Secured Hedge Agreements not due
               and payable) or (z) such obligations and liabilities under Secured Hedge Agreements and T reasury Services
               Agreements are no longer secured and no longer required to be secured by such Shared Collateral pursuant to
               the terms of the documentation governing such Series of First Lien Obligations (other than obligations and
               liabilities under Treasury Services Agreements and Secured Hedge Agreements not due and payable), (ii) any
               letters of credit issued pursuant to documentation governing such Series of First Lien Obligations shall either
               have expired or have been terminated (other than letters of credit that are cash collateralized or back-stopped or
               deemed reissued under another facility, in each case, in the amount and form required under the applicable
               Series of First Lien Obligations) and (iii) all commitments under such Series of First Lien Obligations have
               terminated. The term "Discharged" shall have a corresponding meaning.

                        "Discharge of Existing First Lien Credit Agreement Obligations" means, with respect to any Shared
               Collateral, the Discharge of the Existing First Lien Obligations with respect to such Shared Collateral; provided
               that the Discharge of First Lien Credit Agreement Obligations shall not be deemed to have occurred in
               connection with a Refinancing of such Existing First Lien Obligations with Additional First Lien Obligations
               secured by such Shared Collateral under an Additional First Lien Document which has been designated in
               writing by the Existing First Lien Credit Agreement Administrative Agent (under the Existing First Lien Credit
               Agreement so Refinanced) to the Additional First Lien Collateral Agents and each other Authorized
               Representative as the "Existing First Lien Credit Agreement" for purposes of this Agreement.

                       "Discharge of Priority First Lien Credit Agreement Obligations" means, with respect to any Shared
               Collateral, the Discharge of the Priority First Lien Credit Agreement Obligations with respect to such Shared
               Collateral: provided that the Discharge of Priority First Lien Credit Agreement Obligations shall not be deemed
               to have occurred in connection with a Refinancing of such Priority First Lien Credit Agreement Obligations
               with Additional First Lien Obligations secured by such Shared Collateral under an Additional First Lien
               Document which has been designated in writing by the Priority First Lien Credit Agreement Administrative
               Agent (under the Priority First Lien Credit Agreement so Refinanced) to the Additional First Lien Collateral
               Agents and each other Authorized Representative as the "Priority First Lien Credit Agreement" for purposes of
               this Agreement.

                       "Event of Default" means an " Event of Default" (or similarly defined tenn) as defined in any Secured
               Credit Document.

                       "Existing Authorized Representative" has the meaning assigned to such tem1 i11 the introductory
               paragraph hereto.

                         "Existing First Lien Agreement Administrative Agent" means the " Administrative Agent" as defined
               in the Existing First Lien Credit Agreement and shall include any successor administrative agent (including as
               a result of any Refinancing).

                        "Existing First Lien Credit Agreement" means the First Lien Term Loan Agreement, dated as of the
               Closing Date, among, inter alios, Holdings, the Borrowers, UBS, as First Lien Credit Agreement
               Administrative Agent and each lender from time to time party thereto, as amended, restated, amended and
               restated, extended, supplemented or otherwise modified from time to time.

                       "Existing First Lien Collateral Agent" has the meaning assigned to such term in the introductory
               paragraph hereto.



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                         "Existing First Lien Agreement Collateral Documents" means the Existing First Lien Security
                Agreement, the other "Collateral Docume nts" as defined in the First Lien Agreement and each other agreement
                entered into in favor of the Existing First Lien Collateral Agent for the purpose of securing and/or perfecting
                any Existing First Lien Obligations.

                        "Existing First Lien Docume nts" means the Existing First Lien Credit Agreement, the loans made
                thereunder, the Existing First Lien Security Agreement and any collateral agreements, security documents,
                guarantees and other operative agreements evidencing or governing the Indebtedness thereunder, and the Liens
                securing or purporting to secure, such Indebtedness.

                         "Existing First Lien Obligations" means all Secured Obligations as such term is defined in the Existing
                First Lien Credit Agreement.

                        "Existing First Lien Secured Parties" means the " Secured Parties" as defined in the Existing First Lien
                Credit Agreement.

                         " Existing First Lien Security Agreement" means the "Security Agreement" (or similarly defined term)
                as defined in the Existing First Lien Credit Agreement

                          " First Lien Obligations" means, collectively, (i) the Priority First Lien Credit Agreement Obligations,
                (ii) the Existing First Lien Obligations and (iii) each other Series of Additional First Lie n Obligations.

                      " First Lien/Second Lien Intercreditor Agreement" means the " First Lien/Second Lien lntercreditor
                Agreement" (or similarly defined tenn) as defined in the Priority First Lien Credit Agreement

                        " First Lien Secured Parties" means (i) the Priority First Lien Credit Agreement Secured Parties, (ii) the
                Existing First Lien Secured Parties and (iii) the Additional First Lie n Secured Parties with respect to each other
                Series of Additional First Lie n Obligations.

                         " First Lien Security Docmnents" means, collectively, (i) the Priority First Lien Credit Agreement
                Collateral Documents, (ii) the Existing First Lien First Lien Credit Agreement Collateral Documents and (ii) the
                Additional First Lien Security Documents.

                         "Grantors" means Holdings, the Borrowers and each of the Subsidiary Guarantors (as defined in the
                Priority First Lien Credit Agreement) and each other parent entity or subsidiary of the Top Borrower which has
                granted a security interest pursuant to any First Lie n Security Document to secure any Series of First Lien
                Obligations (including any such Person which becomes a party to this Agreement as contemplated by Section
                5 .16). The Granto rs existing on the date hereof are set forth in Annex I hereto.

                        " Holdings" has the meaning assigned to such term in the introductory paragraph hereto.

                        "Insolvency or Liquidation Proceeding" means:

                                (1)      any case commenced by or against any Borrower or any other Gran tor under any
                        Bankruptcy Law, any other proceeding for the reorganization, recapitalization or adjustment or
                        marshalling of the assets or liabilities of any Borrower or any other Grantor, any receivership or
                        assignment for the benefit of creditors relating to any Borrower or any other Grantor or any similar
                        case or proceeding (including any such proceeding under applicable corporate law) relative to any
                        Borrowe r or any other Grantor or its creditors, as such, in each case whether or not voluntary;

                                  (2)     any liquidation, dissolution, marshalling of assets or liabilities or other winding up of
                        or relating to any Borrower or any other Grantor, in each case whether or not voluntary and whether or
                        not involving bankruptcy or insolvency; or

                                 (3)     any other proceeding of any type or nature in which substantially all claims of
                        creditors of any Borrower or any other Grantor are de te rmined and any paym ent or distribution is or
                        may be made on account of such claims.


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                        "Joinde r Agreement" means a joinder to this Agreement substantially in the fonn of Annex TT hereto
               or such other fonn as shall be approved by the Controlling Collateral Agent.

                         "Lie n" means any mortgage, pledge, hypothecation, assignment, deposit arrange ment, e ncumbrance,
               lien (statutory or other), charge, or preference, priority or other security interest or preferential arrangement of
               any kind or nature whatsoever (including any conditional sale or other title retention agreement, any easeme nt,
               right of way or other encumbrance on title to Real Property, and any Capitalized Lease having substantially the
               same economic effect as any of the foregoing); provided that in no event shall an operating lease in and of
               itself be deemed to be a Lien.

                        "Major Non-Controlling Authorized Representative" means, with respect to any Shared Collateral, for
               so long as the Discharge of Existing First Lien Credit Agreement Obligations has not occurred, the Existing
               Authorized Representative and, from and after the Discharge of Existi11g First Lien Credit Agreement
               Obligations, the Authorized Representative of the Series of Additional First Lien Obligations that constitutes
               the largest outstanding princ ipal amount of any then outstanding Series of Additio nal First Lien Obligations
               with respect to such Shared Collateral; provided, however, that if there are two outstanding Series of
               Additional First Lien Obligations which have an equal outstanding principal amount, the Series of Additional
               First Lien Obligations with the e arlier maturity date shall be considered to have the larger outstanding principal
               amount for purposes of this definition.

                       ' 'National Bedding" has the meaning assigned to such term in the introductory paragraph hereto.

                     ' 'New York UCC" means the U nifo rm Commercial Code as from time to time in effect in the State of
               New York.

                        ''Non-Controlling Authorized Representative" means, at any time w ith respect to any Shared
               Collateral, any Authorized Representative that is not the Applicable Authorized Representative at such time
               with respect to such Shared Collateral.

                       ''Non-Controlling Secured Parties" means, with respect to any Shared Collateral, the First L ie n
               Secured Parties which are not Controlling Secured Parties with respect to such Shared Collateral.

                       "Possessorv Collateral" means any Shared Collateral in the possession and/or control of any Collateral
               Agent (or its agents or bailees), to the extent that possession and/or control thereof perfects a Lien thereon
               under the Uniform Commercial Code of any jurisdiction. Possessory Collateral includes, without limitation,
               any Certificated Securities, Promissory Notes, Ins truments, and Chattel Pape r, in each case, de livered to or in
               the possession of and/or under the control of any Collate ral Agent under the te nns of the First Lien Security
               Documents.

                        "Priority First Lien Credit Agreement" me ans the Super-Priority Tenn Loan Agreement, dated as of
               June 22, 2020, among, inter alios, Holdings, the Borrowers and UBS, as administrative agent and collateral
               agent, as amended, restated, ame nded and restated, extended, supplemented or otherwise modified from time to
               time.

                       "Prioritv First Lien Credit Agreement Administrative Agent" means the "Adm inistrative Agent" as
               defined in the Priority First Lien Credit Agreement and shall include any successor administrative agent,
               including as a result of any Refinancing.

                       " Priority First Lien Credit Agreement Collateral Agent" has the meaning assigned to such term in the
               introductory paragraph of this Agreeme nt.

                        "Pr iority First Lien Credit Agreement Collateral Documents" means the Priority First Lien Security
               Agreeme nt, the othe r "Collateral Doc uments" (or s imilarly defined term) as defined in the Priority First Lie n
               Credit Agreeme nt and each othe r agreeme nt e ntered into in favor of the Priority First Lien Credit Agreement
               Collateral Agent for the purpose of securing and/or perfecting any Prio rity First Lien Credit Agreement
               Obligations.


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                         "Priority First Lien Credit Agreement Lenders" means all "Lenders" as defined in the Priority First
                 Lien Credit Agreement.

                          "Priority First Lien Credit Agreement Obligations" means all " Secured Obligations" (or similarly
                 defined tenn) as defined in the Priority First Lien Credit Agreement.

                          "Prioritv First Lien Credit Agreement Required Lenders" means "Required Lenders" as defined in the
                 Priority First Lien Credit Agreement.

                          "Priority Firs t Lien Credit Agreement Secured Parties" means the " Secured Parties" (or similarly
                 defined tenn) as defined in the Priority First Lien Credit Agreement.

                          "Priority First Lien Security Agreement" means the " Security Agreement" (or s imilarly defined tenn)
                 as defined in the Priority First Lien Credit Agrnement.

                         "Proceeds" has the meaning assigned to such term in Section 2.0l(a).

                          "Refinance" means, in respect of any indebtedness, to refinance, extend, renew, defease, amend,
                 increase, modify, supplement, restnicture, refund, replace or repay such inde btedness, or to issue other
                 indebtedness or enter into alternative financing arrangements, in exchange or replacement for such
                 indebtedness (in whole or in part), including by adding or replacing lenders, creditors, agents, borrowers and/or
                 guarantors, and including in each case, but not limited to, after the original instrument giving rise to such
                 indebtedness has been terminated and including, in each case, through any credit agreement, indenture or other
                 agreement. "Refinanced" and "Refinancing" have correlative meanings.

                         "Secured Credit Document" means (i) the Priority First Lien Credit Agreement and each Loan
                 Document (or similarly defined tenn) (as defined in the Priority First Lien Credit Agreement), (ii) each
                 Existing First Lien Document, and (iii) each Additional First Lien Document for Additional First Lien
                 Obligations incurred after the date hereof.

                          "Secured Hedge Agreement" means any Hedge Agreement evidencing Secured Hedging Obligations
                 (or equivalent tenn under any Additional First Lien Document).

                          "Series" means (a) with respect to the First Lien Secured Parties, each of (i) the Priority First Lien
                 Credit Agreement Secured Parties (in their capacities as such), (ii) the Existing First Lien Secured Parties (in
                 their capacities as such), and (iii) the Additional First Lien Secured Parties (in their capacities as such) that
                 become subject to this Agreement after the date hereof that are represented by a common Authorized
                 Representative (in its capacity as such for such Additional First Lien Secured Parties) and (b) with respect to
                 any First Lien Obligations, each of (i) the Priority First Lien Credit Agreement Obligations, (ii) the Existing
                 First Lien Obligations, and (iii) the Additional First Lien Obligations incurred after the date hereof pursuant to
                 any Additional First Lien Document, the holders of which, pursuant to any Joinder Agreement, are to be
                 represented hereunder by a common Authorized Representative (in its capacity as such for such Additional
                 First Lien Obligations).

                         "Shared Collateral" means, at any time, "Collateral" (as defmed in the Priority First Lien Security
                 Agreement) or any other Shared Collateral Documents or any other assets and properties subject to Liens created
                 pursuant to any First Lien Security Document to secure one or more Series of First Lien Obligations.

                          "Shared Collateral Documents" means the Collateral Documents (as defined in the Priority First Lien
                 Credit Agreement or any similar term in any Refinancing thereof), and each other agreement entered into in
                 favor of any Collateral Agent for the purpose of securing any Priority First Lien Credit Agreement Obligations,
                 any Existing First Lien Obligations or any other Additional First Lien Obligations.

                          "Specified Lender Advisors" means all " Specified Lender Advisors" (or similarly defined term) as
                 defined in the Priority First Lien Credit Agreement.



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                       "SSB" has the meaning assigned to such tem1 in the introductory paragraph hereto.

                       "SSB Manufacturing" has the meaning assigned to such term in the introductory paragraph hereto.

                        "Subsequent Exchange Term Loans" means any " Subsequent Exchange Term Loans" as defined
               in the Priority First Lien Credit Agreement.

                       "Top Borrower" has the meaning assigned to such term in the introductory paragraph hereto.

                        "Treasury Services Agreement" means any agreement that evidences Banking Services Obligations
               (or equivalent tenu under any Additional First Lien Document).

                       "UBS" has the meaning assigned to such term in the introductory paragraph hereto.

                        SECTION 1.02 Tenns Generallv. The definitions of tenns herein shall apply equally to the singular
               and plural forms of the tem1s defined. Whenever the context may require, any pronoun shall include the
               corresponding masculine, feminine and neuter forms. The words " include", " includes" and "including" shall
               be deemed to be followed by the phrase "without limitation" . The word "will" shall be construed to have the
               same meaning and effect as the word " shall". Unless the context requires otherwise, (i) any definition of or
               reference to any agreement, instrument, other document, statute or regulation herein shall be constrned as
               referring to such agreement, instrument, other document, statute or regulation as from time to time amended,
               supplemented or othern,ise modified, (ii) any reference herein to any Person shall be construed to include such
               Person's successors and assigns, but shall not be deemed to include the subsidiaries of such Person unless
               express reference is made to such subsidiaries, (iii) the words "hereto", "herein", " hereof' and "hereunder",
               and words of similar import, shall be construed to refer to this Agreement in its entirety and not to any
               particular provision hereof, (iv) all references herein to Articles, Sections and Annexes shall be construed to
               refer to Articles, Sections and Annexes of this Agreement, (v) unless otherw·ise expressly qualified herein, the
               words "asset" and "property" shall be construed to have the same meaning and effect and to refer to any and all
               tangible and intangible assets and properties, including cash, securities, accounts and contract rights and (vi)
               the term "or" is not exclusive.

                                                                ARTICLE II

                                        Priorities and Agreements with Respect to Shared Collateral

                       SECTION 2.01 Priority of Claims and Priority of Liens.

                        (a)      Anything contained herein or in any of the Secured Credit Documents to the contrary
               notw ithstanding, in the event that the Collateral Agent o r any First Lien Secured Party receives any
               payment or distribution to be applied to the First Lien Obligations (other than (i) so long as no Event of
               Default then exists, payments at the maturity date thereof as in effect on the date of this agreement (or in
               the case of Additional First Lien Obligations entered into after the date he reof, the date of the applicable
               Joinder Agreement), (ii) regularly scheduled payments of interest and amortization payments pursuant to
               the Existing First Lien Credit Agreement or other Additional First Lien Document and/or (iii) any
               payments or distributions made to any Existing First Lien Secured Party to faci litate or effectuate
               Subsequent Exchange Term Loans as and to the extent permitted pursuant to Section 2.22 of the Priority
               First Lien Credit Agreement) from the Grantors or arising from the Shared Collateral, whether arising
               from payments by the Grantors, realization on Shared Collateral, setoff, or otherwise (including any
               payment pursuant to any intercreditor agreement (other than this Agreement, but including the First
               Lien/Second Lien Intercreditor Agreement)), and whether or not an Event of Default shall have occurred
               and be continuing, and including any such proceeds received as a result of any payment or distribution
               made by a Grantor in an Insolvency or Liquidation Proceeding (collectively, all such proceeds of Shared
               Collateral (including such proceeds received in an Insolvency or Liquidation Proceeding) be ing
               collective ly referred to as "Proceeds"), shall be applied (i) flRST, to payment of that portion of the


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               Priority First Lien Obligations constituting fees, indemnities, expenses and other amounts (other than
               principal and interest) payable to the Priority First Lien CollateraJ Agent in its capacity as CollateraJ
               Agent hereunder and under the Priority First Lien Security Agreement, until paid in full, (ii) SECOND, to
               payment of Priority First Lien Credit Agreement Obligations owing to the Priority First Lien Cred it
               Agreement Secured Parties and, if applicable, the Specified Lender Advisors (as defined in the Priority
               First Lien Credit Agreement) in accordance w ith the terms of the Priority First Lien Credit Agreement,
               until paid in full, (iii) THIRD, ratably to payment of Existing First Lien Obligations owing to the Existing
               First Lien Secured Parties in accordance with the terms of the Existing First Lien Documents and
               AdditionaJ First Lien Obligations (other than the Existing First Lien Obligations) owing to the Additional
               First Lie n Secured Parties (other than the Existing First Lien Secured Parties) on a ratable basis, w ith such
               Proceeds to be applied to such Additional First Lien Obligations (other than the Existing First Lien
               Obligations) of a given Se ries in accordance with the tenns of the applicable Secured Credit Documents,
               until paid in full , and (v) FOURTH, after pay me nt of all First Lien Obligations, to the Borrowers and the
               other Grantors or their successors or assigns, as their interests may appear, or to whomsoever may be
               lawfully entitled to receive the same, or as a court of competent jurisdiction may direct. If, despite the
               provisions of this Section 2.0I(a), any First Lien Secured Party shall receive any payment or other
               recovery in excess of its portion of payments on account of the First Lien Obligations to which it is then
               entitled in accordance w ith this Section 2.0 l(a), such First Lien Secured Party shall hold such payment or
               recovery in trust for the benefit of all First Lien Secured Parties for distribution in accordance w ith this
               Section 2.0l(a).

                        (b)      It is acknowledged that the First Lien Obligations of any Series may, subject to the limitations
               set forth in the then extant Secured Credit Documents, be increased, extended, renewed, replaced, restated,
               supplemented, restructured, repaid, refunded, Refinanced or otherwise amended or modified from time to time,
               all without affecting the payment priorities set forth in Section 2.0l(a) or the provisions of this Agreement
               defining the relative rights of the First Lien Secured Parties of any Series.

                        (c)      Notwithstanding the date, time, method, manner or order of grant, attachment or perfection of
               any Liens securing any Series of First Lien Obligations granted on the Shared Collateral and notw ithstanding
               any provision of the Unifonn Commercial Code of any jurisdiction, or any other applicable law or the Secured
               Credit Documents or any defect or deficiencies in the Liens securing the First Lien Obligations of any Series or
               any other circumstance whatsoever, each First Lien Secured Party hereby agrees that the Liens securing each
               Series of First Lien Obligations on any Shared Collateral shall be of equal priority.

                        SECTION 2.02 Actions with Respect to Shared Collateral: Prohibition on Contesting Liens.

                        (a)       Only the Controlling Collateral Agent shall act or refrain from acting with respect to any
               Shared Collateral (including with respect to any intercreditor agreement with respect to any Shared Collateral).
               At any time when the Priority First Lien Credit Agreement Collateral Agent is the Controlling Collateral Agent,
               no Additional First Lien Secured Party shall or shall instruct any Collateral Agent to, and no Collateral Agent
               that is not the Controlling Collateral Agent shall, commence any judicial or non-judicial foreclosure
               proceedings with respect to, seek to have a trustee, receiver, liquidator or similar official appointed for or over,
               attempt any action to take possession of, exercise any right, remedy or power with respect to, or other.vise take
               any action to enforce its security interest in or realize upon, or take any other action available to it i11 respect of,
               any Shared Collateral (including with respect to any intercreditor agreement with respect to any Shared
               Collateral), whether under any Additional First Lien Security Document, applicable law or other.vise, it being
               agreed that only the Priority First Lien Credit Agreement Collateral Agent, acting in accordance with the
               Priority First Lien Credit Agreement Collateral Documents, shall be enti tled to take any such actions or exercise
               any such remedies with respect to Shared Collateral at such time.

                        (b)     With respect to any Shared Collateral at any time when the Priority First Lien Credit
               Agreement Collateral Agent is not the Controlling Collateral Agent, (i) the Controlling Collateral Agent shall
               act only on the instructions of the Applicable Authorized Representative, (ii) the Controlling Collateral Agent


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               shall not follow any instructions with respect to such Shared Collateral (including ·with respect to any
               intercreditor agreeme nt with respect to any Shared Collate ral) from any Non-Controlling Authorized
               Representative (or any other First Lien Secured Party other than the Applicable Authorized Represe ntative) and
               (iii) no Non-Controlling Authorized Represe ntative or othe r First Lien Secured Party (other than the Applicable
               Authorized Representative) shall or shall instruct the Controlling Collateral Agent to, colllJilence any j udicial or
               non-judicial foreclosure proceedings with respect to, seek to have a trustee, receiver, liquidator or similar
               official appointed for or o ver, attempt any action to take possession of, exercise any right, remedy or power
               with respect to, or othe r.vise take any action to enforce its sec urity inte rest in or realize upon, or take any othe r
               action available to it in respect of, any Shared Collateral (including w ith respect to any inte rcreditor agree ment
               with respect to any Shared Collate ral), whethe r unde r any First Lien Security Document, applicable law or
               otherv, ise, it being agreed that only the Controlling Collateral Agent, acting on the instructions of the
               Applicable Authorized Representative and in accordance with the applicable Additional First Lien Security
               Documents, shall be entitled to take any such actions or exercise any such remedies with respect to Shared
               Collateral.

                         (c)     N otwithstanding the equal priority of the Liens securing each Series of First Lien Obligations
               with respect to any S hared Collate ral, the Controlling Collateral Agent may de al with the Shared Collateral as if
               such Controlling Collateral Agent had a senior and exclusive Lie n on such Shared Collateral. No N on-
               Controlling Authorized Represe ntative or Non-Controlling Secured Party will contest, protest o r object (or
               support any other Person in contesting, protesting or objecting) to any foreclosure proceeding or action brought
               by the Controlling Collateral Agent, the Applicable Authorized Representative or any Controlling Secured
               Party o r any other exercise by the Controlling Collateral Agent, the Applicable Authorized Representative or
               any Controlling Secured Party of any rights and remedies relating to the Shared Collateral, or to cause the
               Controlling Collateral Agent to do so. The foregoing shall not be construed to limit the rights and priorities of
               any First Lie n Secured Party, the Controlling Collateral Age nt or any Authorized Representative with respect to
               any Collateral not constituting Shared Collateral.

                        (d)      Each of the First Lie n Secure d Parties agrees that it will not (and here by waives any right to)
               question or contest o r support any other Person in contesting, in any proceeding (including any Insolvency or
               Liquidation Proceeding), the pe rfection, priority, va lidity, attachment or enforceability of a Lien held by or on
               be half of any of the First Lie n Secured Parties in all or any part of the Shared Collate ral, or the provisions of
               this Agreement; provided that nothing in this Agreeme nt shall be construe d to preve nt or impair the rights of
               any Collateral Age nt or any Authorized Representative to enforce this Agre ement.

                        SECTION 2.03 N o Interference: Pavment Over.

                         (a)        Each First Lien Secured Party agrees that (i) it will not challe nge or question in any
               proceeding the validity or enforceability of any First Lien Obligations of any Series or any First Lien Security
               Document or the validity, attachment, perfection or priority of any Lien under any First Lien Security
               Document or the validity or e nforceability of the priorities, rights or duties established by or other provisions of
               this Agreement; (ii) it will not take or cause to be taken any action the purpose or intent of which is, or could
               be, to interfere, hinder or de lay, in any manner, whe ther by judicial proceedings or othe rw ise, any sale, transfer
               or other disposition of the Shared Collate ral by the Controlling Collateral Age nt, (iii) except as provided in
               Section 2.02, it shall have no right to (A) direct the Controlling Collateral Age nt or any other First Lie n
               Secured Party to exercise, and shall not exercise, any right, remedy or power with respect to any Shared
               Collateral (including pursuant to any intercreditor agreement) o r (B) consent to the exercise by the Controlling
               Collateral Agent or any other First Lien Secured Party of any right, remedy or power with respect to any Shared
               Collate ral, (iv) it will not institute any suit or assert in any suit, bankruptcy, insolvency or othe r proceeding any
               claim against the Controlling Collateral Agent or any other First Lie n Secured Party seeking damages from or
               other relief by way of specific pe rformance, instructions or o the r.vise with respect to any Shared Collateral, and
               none of the Controlling Collateral Agent, any Applicable Authorized Representative or any other First Lien
               Secured Party shall be liable for any action taken or omitted to be taken by the Controlling Collateral Agent,
               such Applicable Authorized Representative or other First Lien Secured Party with respect to any Shared
               Collateral in accordance with the provisions of this Agreement, (v) if not the Controlling Collateral Agent, it


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               will not seek, and hereby waives any right, to have any Shared Collateral or any part thereof marshaled upon
               any foreclosure or other disposition of such Shared Collateral and (vi) it will not attempt, directly or indirectly,
               whether by judicial proceedings or otherwise, to challenge the enforceability of any provision of this
               Agreement: provided that nothing in this Agreement shall be construed to prevent or impair the rights of any of
               the Controlling Collateral Agent or any other First Lien Secured Party to enforce this Agreement.

                        (b)       Each First Lien Secured Party hereby agrees that if it shall obtain possession of any Shared
               Collateral or shall realize any proceeds or payment in respect of any such Shared Collateral, pursuant to any
               First Lien Security Document or by the exercise of any rights available to it under applicable law or in any
               Insolvency or Liquidation Proceeding or through any other exercise of remedies (including pursuant to any
               intercreditor agreement), at any time prior to the Discharge of each of the First Lien Obligations, then it shall
               hold such Shared Collateral, proceeds or payment in trust for the other First Lien Secured Parties and promptly
               transfer such Shared Collateral, proceeds or payment, as the case may be, to the Controlling Collateral Agent,
               to be distributed in accordance with the provisions of Section 2.01 hereof.

                       SECTION 2.04 Release of Liens: Power of Attorney.
                        (a)      If, at any rime the Controlling Collateral Agent forecloses upon or otherwise exercises
               remedies against any Shared Collateral resulting in a sale or disposition thereof, then (whether or not any
               Insolvency or Liquidation Proceeding is pending at the time) the Liens in favor of each other Collateral Agent
               for the benefit of each Series of First Lien Secured Parties upon such Shared Collateral will automatically be
               released and discharged as and when, but only to the e)\,1ent, such Liens of the Controlling Collateral Agent on
               such Shared Collateral are released and discharged; provided that (i) the Liens in favor of each Collateral Agent
               for the benefit of each related Series of First Lien Secured Parties secured by such Shared Collateral attach to
               any such Proceeds of such sale or disposition with the same priority vis-a-vis all the other First Lien Secured
               Parties as existed prior to the commencement of such sale or other disposition, and any such Liens shall remain
               subject to the terms of this Agreement until application thereof pursuant to Section 2.01 and (ii) any proceeds
               of any Shared Collateral realized therefrom shall be applied pursuant to Section 2.01.

                       (b)       Each Collateral Agent and Authorized Representative agrees to execute and deliver (at the
               sole costs and expense of the Grantors) all such authorizations and other instruments as shall reasonably be
               requested by the Controlling Collateral Agent to evidence and confirm any release of Shared Collateral
               provided for in this Section.

                        (c)     Each Non-Controlling Authorized Representative and Collateral Agent that is not the
               Controlling Collateral Agent, for itself and on behalf of the First Lien Secured Parties of the Series for whom it
               is acting, hereby irrevocably appoints the Controlling Collateral Agent and any officer or agent of the
               Controlling Collateral Agent, which appointment is coupled with an i11terest with full power of substitution, as
               its true and lawful attorney-in-fact with full irrevocable power and authority in the place and stead of such
               Non-Controlling Authorized Representative, Collateral Agent or First Lien Secured Party, to take any and all
               appropriate action and to execute any and all documents and instruments which may be necessary to
               accomplish the purposes of this Agreement, including the exercise of any and all remedies under each First
               Lien Security Document with respect to Shared Collateral and to evidence and confirm any release of Shared
               Collateral provided for in this Section 2.04.

                       SECTION 2.05 Certain Agreements with Respect to Bankruptcy or Insolvency Proceedings.

                        (a)      This Agreement shall continue in full force and effect notw ithstanding the commencement of
               any Insolvency or Liquidation Proceeding. The parties hereto acknowledge that the provisions of this
               Agreement are intended to be enforceable as contemplated by Section 510(a) of the Bankruptcy Code. All
               references herein to any Grantor shall include such Grantor as a debtor-in-possession and any receiver or
               trustee for such Grantor.

                      (b)    If any Borrower and/or any other Grantor shall become subject to a case or proceeding (a
               "Bankruptcy Case") under the Bankruptcy Code or any other Bankrnptcy Law and shall, as debtor(s)-in-




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               possession, move for approval of financing ("DIP Financing") to be provided by one or more lenders (the "DIP
               Lenders") to such Borrower or such Grantor under Section 364 of the Bankruptcy Code or any equivalent
               provision of any other Bankruptcy Law or the use of cash collateral under Section 363 of the Bankruptcy Code
               or any equivalent provision of any other Bankruptcy La·w, each First Lien Secured Party (other than any
               Controlling Secured Party or Authorized Representative of any Controlling Secured Party)agrees that it will not
               raise, join or support any objection to or in any manner oppose, and that it consents to and shall at all times
               consent to, any DIP Financing and to the Liens on the Shared Collateral securing the same ("DIP Financing
               Liens") and to any use of cash collateral that constitutes Shared Collateral that is provided, proposed or
               approved by the Controlling Secured Parties (including, in the case of the Priority First Lien Credit Agreement
               Secured Parties, the Priority First Lien Credit Agreement Required Lenders in their capacities as such or the
               Controlling Collateral Agent (acting at the direction of the Controlling Secured Parties (including, in the case
               of the Priority First Lien Credit Agreement Secured Parties, at the Direction of the Priority First Lien Credit
               Agreement Required Lenders). With respect to any DIP Financing, DIP Financing Liens and any use of cash
               collateral that constitutes Shared Collateral that is not provided, proposed or approved by the Controlling
               Secured Parties (including, in the case of the Priority First Lien Credit Agreement Secured Parties, Priority
               First Lien Credit Agreement Required Lenders in their capacities as such or the Controlling Collateral Agent
               (acting at the direction of the Controlling Secured Parties (including, in the case of the Priority First Lien
               Credit Agreement Secured Parties, at the Direction of the Priority First Lien Credit Agreement Required
               Lenders), each of the other First Lien Secured Parties agrees that it will raise no o~jection to, or in any manner
               oppose, any such DIP Financing, any such DIP Financing Liens and any such use of cash collateral that
               constitutes Shared Collateral unless the Controlling Collateral Agent (acting at the direction of the Controlling
               Secured Parties (including, in the case of the Priority First Lien Credit Agreement Secured Parties, at the
               Direction of the Priority First Lien Credit Agreement Required Lenders) shall then oppose or object to such
               DIP Financing, such DIP Financing Liens or such use of cash collateral. Additionally, each Authorized
               Representative that is not the Applicable Authorized Representative and each First Lien Secured Party that is
               not a Controlling Secured Party agrees that none of them shall in such capacities provide or propose any DIP
               Financing (for the avoidance of doubt, other than with respect to any First Lien Secured Parties that are also
               Controlling Secured Parties, in each case, acting in their capacity as Controlling Secured Parties). To the
               extent (I) that any such DTP Financing Liens are senior to the Liens on any such Shared Collateral for the
               benefit of the Controlling Secured Parties, each Non-Controlling Secured Party will subordinate its Liens with
               respect to such Shared Collateral on the same terms as the Liens of the Controlling Secured Parties (other than
               any Liens of any First Lien Secured Parties constituting DIP Financing Liens) are subordinated thereto, and
               (II) such DTP Financing Liens rank pari passu with the Liens on any such Shared Collateral granted to secure
               the First Lien Obligations of the Controlling Secured Parties, each Non-Controlling Secured Party will confirm
               the priorities with respect to such Shared Collateral as set forth herein, in each case so long as (A) the First
               Lien Secured Parties of each Series retain the benefit of their Liens on all such Shared Collateral pledged to the
               DIP Lenders, including proceeds thereof arising after the commencement of such proceeding, with the same
               priority vis-a-vis all the other First Lien Secured Parties (other than any Liens of the First Lien Secured Parties
               constituting DTP Financing Liens) as existed prior to the commencement of the Bankruptcy Case, (B) the First
               Lien Secured Parties of each Series are granted Liens on any additional collateral pledged to any First Lien
               Secured Parties as adequate protection or otherwise in connection with such DIP Financing or use of cash
               collateral with the same priority vis-a-vis the First Lien Secured Parties (other than any Liens of any First Lien
               Secured Parties constituting DIP Financing Liens) as set forth in this Agreement, (C) if any amount of such
               DIP Financing or cash collateral is applied to repay any of the First Lien Obligations, such amount is applied
               pursuant to Section 2.01, and (D) if any First Lien Secured Parties are granted adequate protection, including
               in the form of periodic payments, in connection ·with such DIP Financing or use of cash collateral, the proceeds
               of such adequate protection are applied pursuant to Section 2.01: provided that the First Lien Secured Parties
               receiving adequate protection shall not object to any other First Lien Secured Party receiving adequate
               protection comparable to any adequate protection granted to such First Lien Secured Parties in connection with
               a DIP Financing or use of cash collateral.

                       SECTION 2.06 Reinstatement. In the event that any of the First Lien Obligations shall be paid in full
               and such payment or any part thereof shall subsequently, for whatever reason (including an order or judgment


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               for disgorge ment of a prefere nce or othe r avoidance action under the Bankruptcy Code, or any similar law, or
               the settlement of any claim in respect the reof), be required to be returned or repaid, the terms and conditions of
               this Article JI shall be fully applicable thereto until all such First Lien Obligati ons shall again have been paid in
               full in cash.

                        SECTION 2.07 Insurance. As between the First Lien Secured Parties, the Controlling Collateral
               Agent (acting at the direction of the Applicable Authorized Representative) shall have the right to adjust or
               settle any insurance policy or claim covering or constituting Shared Collateral in the event of any loss
               thereunder and to approve any award granted in any condemnation, expropriation or similar proceeding
               affecting the Shared Collateral.

                        SECTION 2.08 Refinancings, etc. The First Lien Obligations of any Series may, subject to the
               limitations set forth in the then extant Secured Credit Docume nts, be increased, extended, renewed, replaced,
               restated, supplemented, restrnctured, repaid, refunded, Refinanced (in whole or in part) or othe rvvise amended
               or modified from time to time, in each case, without notice to, or the consent (except to the extent a consent is
               otherwise required to pe rmit the Refinancing transaction under any Secured Credit Document) of any First Lie n
               Secured Party of any other Series, all w ithout affecting the priorities provided for in Section 2.0 l{a) or the other
               provisions hereof; provided that the Authorized Representative and Collateral Agent of the holders of any such
               Refinancing indebtedness shall have executed a Joinder Agreement on behalf of the holders of such
               Refinancing indebtedness.

                        SECTION 2.09 Possessory Collateral Agent as Gratuitous Bailee and Agent for Perfection.
                         (a)      The Possessory Collateral shall be delivered to the Controlling Collateral Agent and the
               Controlling Collateral Agent agrees to hold any Shared Collateral constituting Possessory Collateral in its
               possession or control (or in the possession or control of its agents or bailees) as gratuitous bailee and non-
               fiduciary agent for the benefit of each other First Lien Secured Party for which such Possessory Collateral is
               Shared Collateral and any assignee solely for the purpose of perfecting the security inte rest granted in such
               Possessory Collateral, if any, pursuant to the applicable First Lien Security Documents, in each case, subject to
               the terms and conditions of this Section 2.09; provided that at any time the existing Controlling Collateral
               Agent ceases to be the Controlling Collateral Agent he reunder, the outgoing Controlling Collateral Agent shall
               (at the sole cost and expense of the Grantors), at the request of the Additional First Lien Collateral Agent that is
               the new Controlling Collateral Agent, promptly deliver all Possessory Collateral to such Additional First Lien
               Collateral Agent toge ther with any necessary endorsements (or otherwise allow such Additional First Lien
               Collateral Agent to obtain control of such Possessory Collateral). Each Borrower and the other Grantors shaU
               take such further action as is required to effectuate the transfer contemplated he re by and shall indemnify each
               Collateral Agent for loss or damage suffered by such Collateral Agent as a result of such transfer except for
               loss or damage suffered by such Collateral Agent as a result of its own w illful misconduct, gross negligence or
               bad faith (as determined by a court of competent jurisdiction in a final, non-appealable judgment).

                        (b)       The Controlling Collateral Agent agrees to hold any Shared Collateral constituting Possessory
               Collateral, from time to time in its possession, as gratuitous bailee and non-fiduciary agent for the benefit of
               each other First Lien Secured Party and any assignee, solely for the purpose of perfecting the security interest
               granted in such Possessory Collateral, if any, pursuant to the applicable First Lien Security Documents, in each
               case, subject to the tenns and conditions of this Section 2.09.

                        (c)      The duties or responsibilities of the Controlling Collateral Agent and each other Collateral
               Agent under this Section 2.09 shall be limited solely to holding any Shared Collateral constituting Possessory
               CollateraI as gratuitous bailee and non-fiduciary agent for the benefit of each other First Lien Secured Party for
               purposes of perfecting the Lien held by such First Lien Secured Parties thereon.

                        SECTION 2. IO Amendments to Security Documents.
                       (a)    Without the prior written consent of the Priority First Lien Credit Agreement Collateral
               Agent, each Additional First Lie n Secured Party agrees that no Additional First Lie n Security Document may


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               be amended, supplemented or otherwise modified or entered into to the extent such amendment, supplement or
               modification, or the tem1s of any new Additional First Lien Security Document would be prohibited by any of
               the terms of this Agreement.

                        (b)     Without the prior written consent of the Additional First Lien Collateral Agents, the Priority
               First Lien Credit Agreement Collateral Agent agrees that no Priority First Lien Credit Agreement Collateral
               Document may be amended, supplemented or otherwise modified or entered into to the extent such
               amendment, supplement or modification, or the terms of any new Priority First Lien Credit Agreement
               Collateral Document would be prohibited by any of the terms of this Agreement.

                       (c)      In making determinations required by this Section 2.10, each Collateral Agent may
               conclusively rely on a certificate of a Responsible Officer of the Top Borrower stating that such amendment is
               permitted by Sections 2.l0(a) or {hl as the case may be.

                                                                ARTICLE III

                                              Existence and Amounts of Liens and Obligations



                          SECTION 3 .01 Determinations with Respect to Amounts of Liens and Obligations. Whenever a
               CollateraI Agent or any Authorized Representative shall be required, in connection with the exercise of its
               rights or the perfonnance of its obligations hereunder, to determine the existence or amount of any First Lien
               Obligations of any Series, or the Shared Collateral subject to any Lien securing the First Lien Obligations of
               any Series, it may request that such information be furnished to it in ·writing by each other Authorized
               Representative or Collateral Agent and shall be entitled to make such determination or not make any
               determination on the basis of the information so furnished ; provided, however, that if an Authorized
               Representative or a Collateral Agent shall fail or refuse reasonably promptly to provide the requested
                information, the requesting Collateral Agent or requesting Authorized Representative shall be enti tled to make
               any such detennination by such method as it may, in the exercise of its good faith j udgment, detem1ine,
                including by reliance upon a certificate of the Top Borrower. Each Collateral Agent and each Authorized
               Representative may re ly conclusively, and shall be fully protected in so relying, on any detennination made by
                it in accordance with the provisions of the preceding sentence (or as otherwise directed by a court of competent
               jurisdiction) and shall have no liability to any Grantor, any First Lien Secured Party or any other person as a
               result of such determination.

                                                                ARTICLE IV

                                                      The Controlling Collateral Agent

                       SECTION 4. 01 Authority.

                        (a)     Notwithstanding any other provision of this Agreement, nothing herein shall be construed to
               impose any fiduciary or other duty on any Controlling Collateral Agent to any Non-Controlling Secured Party
               or any other Person, regardless of whether an Event of Default has occurred or is continuing, or give any Non-
               Controlling Secured Party the right to direct any Controlling Collateral Agent, except that each Controlling
               Collateral Agent shall be obligated to distribute proceeds of any Shared Collateral in accordance with Section
               2.01 hereof.

                         (b)      In furtherance of the foregoing, each Non-Controlling Secured Party acknowledges and
               agrees that the Controlling Collateral Agent shall be entitled, for the benefit of the First Lien Secured Parties,
               to sell, transfer or otherwise dispose of or deal with any Shared Collateral as provided herein and in the First
               Lien Security Documents, as applicable, pursuant to which the Controlling Collateral Agent is the collateral
               agent and/or administrative agent for such Shared Collateral, without regard to any rights to which the Non-
               Controlling Secured Parties would otherwise be entitled as a result of the First Lien Obligations held by such


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